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                        Exhibit 1
          Case
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  S-1 1 kenvues-1.htm S-1

                                                  As filed with the Securities and Exchange Commission on January 4, 2023.

                                                                                                                                                           Registration No. 333-


                                                                       UNITED STATES
                                                           SECURITIES AND EXCHANGE COMMISSION
                                                                    Washington, D.C. 20549


                                                                         FORM S-1
                                                               REGISTRATION STATEMENT UNDER
                                                                 THE SECURITIES ACT OF 1933


                                                                             Kenvue Inc.
                                                                    (Exact name of registrant as specified in its charter)

                          Delaware                                                      2844                                                     XX-XXXXXXX
                (State or other jurisdiction of                            (Primary Standard Industrial                                       (I.R.S. Employer
               incorporation or organization)                              Classification Code Number)                                     Identification Number)

                                                                            199 Grandview Road
                                                                             Skillman, NJ 08558
                                                                               (732) 524-0400
                              (Address, including zip code, and telephone number, including area code, of registrant’s principal executive offices)


                                                                              Thibaut Mongon
                                                                                 Kenvue Inc.
                                                                           199 Grandview Road
                                                                            Skillman, NJ 08558
                                                                               (732) 524-0400
                                     (Name, address, including zip code, and telephone number, including area code, of agent for service)


                                                                                        Copies to:

                                 Michael E. Mariani                                                                                John B. Meade
                            Cravath, Swaine & Moore LLP                                                                        Roshni Banker Cariello
                                  Worldwide Plaza                                                                            Davis Polk & Wardwell LLP
                                 825 Eighth Avenue                                                                             450 Lexington Avenue
                                New York, NY 10019                                                                              New York, NY 10017
                                   (212) 474-1000                                                                                   (212) 450-4000

  Approximate date of commencement of proposed sale to the public: As soon as practicable after this registration statement becomes effective.
  If any of the securities being registered on this Form are to be offered on a delayed or continuous basis pursuant to Rule 415 under the Securities Act of 1933 check the
  following box: ☐
  If this Form is filed to register additional securities for an offering pursuant to Rule 462(b) under the Securities Act, please check the following box and list the
  Securities Act registration statement number of the earlier effective registration statement for the same offering. ☐
  If this Form is a post-effective amendment filed pursuant to Rule 462(c) under the Securities Act, check the following box and list the Securities Act registration
  statement number of the earlier effective registration statement for the same offering. ☐
  If this Form is a post-effective amendment filed pursuant to Rule 462(d) under the Securities Act, check the following box and list the Securities Act registration
  statement number of the earlier effective registration statement for the same offering. ☐
  Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, smaller reporting company, or an emerging growth
  company. See the definitions of “large accelerated filer,” “accelerated filer,” “smaller reporting company,” and “emerging growth company” in Rule 12b-2 of the
  Exchange Act.
  Large accelerated filer ☐                   Accelerated filer ☐                              Non-accelerated filer ☒                   Smaller reporting company ☐
                                                                                                                                         Emerging growth company ☐
  If an emerging growth company, indicate by check mark if the registrant has elected not to use the extended transition period for complying with any new or revised
  financial accounting standards provided pursuant to Section 7(a)(2)(B) of the Securities Act. ☐


  The registrant hereby amends this registration statement on such date or dates as may be necessary to delay its effective date until the registrant shall file a
  further amendment which specifically states that this registration statement shall thereafter become effective in accordance with Section 8(a) of the Securities
  Act of 1933 or until this registration statement shall become effective on such date as the Securities and Exchange Commission, acting pursuant to said
  Section 8(a), may determine.



https://www.sec.gov/Archives/edgar/data/1944048/000162828023000234/kenvues-1.htm                                                                                            1/337
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  The information in this preliminary prospectus is not complete and may be changed. We may not sell these securities until the registration
  statement filed with the Securities and Exchange Commission is effective. This preliminary prospectus is not an offer to sell these securities
  and is not soliciting an offer to buy these securities in any jurisdiction where the offer or sale is not permitted.

                                                               Subject to Completion, Dated January 4, 2023
  Preliminary Prospectus

                                                                                            Shares




                                                                                 Kenvue Inc.
                                                                                 Common Stock


       This is an initial public offering of shares of the common stock of Kenvue Inc. We are offering        shares of our common stock to be sold in this
  offering.

       Prior to this offering, there has been no public market for shares of our common stock. We estimate that the initial public offering price per share
  of our common stock will be between $           and $      . We intend to apply to list our shares of common stock on the New York Stock Exchange
  (the “NYSE”) under the symbol “KVUE”.

       Upon completion of this offering, Johnson & Johnson will continue to own            % of the voting power of our shares of common stock eligible to
  vote in the election of our directors (or     % if the underwriters exercise in full their option to purchase additional shares of our common stock from
  us to cover over-allotments). As a result, we will be a “controlled company” as defined under the corporate governance rules of the NYSE. See
  “Management—Controlled Company Exemption.”

      Investing in shares of our common stock involves risks. See “Risk Factors” beginning on page 20 to read about factors you should
  consider before purchasing shares of our common stock.

      Neither the Securities and Exchange Commission nor any state securities commission or other regulatory body has approved or
  disapproved of these securities or passed upon the accuracy or adequacy of this prospectus. Any representation to the contrary is a criminal
  offense.

                                                                                                                           Per Share             Total
  Initial public offering price                                                                                       $                    $
  Underwriting discounts and commissions(1)                                                                           $                    $
  Proceeds to us, before expenses                                                                                     $                    $
  ________________
  (1) See “Underwriting” for a description of compensation to be paid to the underwriters

      We have granted the underwriters an option for a period of 30 days from the date of this prospectus to purchase up to an additional         shares of
  our common stock from us at the initial public offering price less the underwriting discounts and commissions to cover over-allotments.

       The underwriters expect to deliver the shares of common stock against payment in New York, New York on or about                 .



  Goldman Sachs & Co. LLC                                                                                                                  J.P. Morgan


                                                                              Prospectus dated   .




https://www.sec.gov/Archives/edgar/data/1944048/000162828023000234/kenvues-1.htm                                                                         3/337
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  However, the ability of LTL to successfully reorganize and resolve all Talc-Related Liabilities will depend on various factors and is subject to risks and
  uncertainties, including the ability to reach agreements with representatives of the claimants on the terms of a plan of reorganization that satisfies
  applicable legal requirements and to obtain the requisite court approvals of such plan. In addition, certain claimants alleging exposure to talc or talc-
  containing products have opposed LTL’s efforts to resolve Talc-Related Liabilities in the bankruptcy proceedings, and there is a risk that the claimants
  may succeed in preventing LTL from doing so. As a result, LTL may not be able to successfully reorganize, and we cannot predict with certainty the
  amount of Talc-Related Liabilities that LTL or Johnson & Johnson will be required to pay, whether in connection with the bankruptcy proceedings or
  otherwise.

       It is also possible that various parties will seek to bring and will be successful in bringing claims against us, including by raising allegations that
  we are liable for the Talc-Related Liabilities. Although, under the Separation Agreement, Johnson & Johnson will agree to indemnify us for the Talc-
  Related Liabilities and any costs associated with resolving such claims, we cannot assure you that the indemnity from Johnson & Johnson will be
  sufficient to protect us against the full amount of these liabilities or that Johnson & Johnson will be able to fully satisfy its indemnification obligations.
  See “—Risks Related to Our Relationship with Johnson & Johnson—In connection with the Separation, Johnson & Johnson will indemnify us for
  certain liabilities. However, we cannot assure you that the indemnity will be sufficient to protect us against the full amount of such liabilities or that
  Johnson & Johnson’s ability to satisfy its indemnification obligation will not be impaired in the future.”

       Furthermore, we have been, and may continue to be, subject to claims arising out of the sale of talc-based Johnson’s Baby Powder that do not
  constitute Talc-Related Liabilities, including claims relating to the sale of talc-based Johnson’s Baby Powder outside the United States or Canada. We
  are currently subject to a few such claims which are in early stages, and as such, we cannot reasonably estimate any probable loss relating to such
  claims. While we believe we have substantial defenses to these claims, it is not feasible to predict the ultimate outcome of these litigations. Although
  we have discontinued the sale of talc-based Johnson’s Baby Powder in certain markets, including the United States and Canada, and the sale of talc-
  based Johnson’s Baby Powder will be discontinued globally in 2023, we presently sell talc-based Johnson’s Baby Powder in certain other markets
  around the world. Given this, we may be subject to additional claims related to the sale of talc-based Johnson’s Baby Powder in markets where we
  presently sell this product, as well as additional claims related to the sale of talc-based Johnson’s Baby Powder in markets where we have discontinued
  this product (such as in the United States and Canada), including potential governmental inquiries, investigations, claims and consumer protection
  cases from state attorneys general. We expect that these other claims, whether currently pending or made in the future, would not be resolved by LTL’s
  bankruptcy filing and that any related liabilities would not be covered by Johnson & Johnson’s indemnification obligations under the Separation
  Agreement. As a result, it is possible that these additional claims could adversely affect our business, results of operations or financial condition.

      In addition, Johnson & Johnson has received inquiries, subpoenas and requests to produce documents regarding talc matters from various U.S.
  governmental authorities and is also subject to consumer protection cases and investigations from state attorneys general.

    We may not be able to successfully establish, maintain, protect and enforce intellectual property rights that are, in the aggregate, material to our
    business.

       We rely on a combination of intellectual property rights, including our trademarks, trade secrets, patents and copyrights, as well as rights to third-
  party intellectual property pursuant to licenses and other contracts, to establish, maintain, protect and enforce the intellectual property and proprietary
  information used in our business.

       We may not be able to establish, maintain, protect or enforce our own intellectual property rights or, where appropriate, license in intellectual
  property rights necessary to support new product introductions. In addition, intellectual property is territorial, and, even if such rights are protected in
  the United States, the laws of other countries in which our products are or may be sold do not universally protect intellectual property rights to the
  same extent or in the same way as U.S. intellectual property laws. Public policy, both within and outside the United States, has often become
  increasingly unfavorable toward certain classes of intellectual property rights. We cannot be




                                                                               41




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                        Exhibit 2
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                                                                         Page 1
                      SUPERIOR COURT OF NEW JERSEY
                    LAW DIVISION - MIDDLESEX COUNTY
                      DOCKET NO. MID-L-3095-18 AS
                              CIVIL ACTION

            MARIA FOLEY AND JOSEPH              :
            FOLEY, HUSBAND AND WIFE,            :
                                                :
                                Plaintiffs,     :
                                                :
                         vs.                    :
                                                :
            AVON PRODUCTS, INC., et             :
            al.,                                :
                                                :
                                Defendants.     :
            (CAPTION CONTINUED ON FOLLOWING PAGE)
            ------------------------------
                                  - - -
                        Friday, February 15, 2019
                                  - - -
                         Oral sworn videotaped deposition
            of NANCY MUSCO, held at the law offices of
            Drinker, Biddle & Reath LLP, 105 College Road
            East, Princeton, New Jersey commencing at
            10:11 a.m. before Sharon L. Martin,
            Registered Professional Reporter, Certified
            Court Reporter-NJ, Notary Public.


                                     - - -
                            MAGNA LEGAL SERVICES
                                (866) 624-6221
                               www.MagnaLS.com
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                                                          Page 2                                                            Page 3
      1         SUPERIOR COURT OF NEW JERSEY                        1         SUPERIOR COURT OF NEW JERSEY
               LAW DIVISION - MIDDLESEX COUNTY                               LAW DIVISION - MIDDLESEX COUNTY
      2         DOCKET NO MID-L-600-18 AS                           2         DOCKET NO MID-L-6805-16 AS
                   CIVIL ACTION                                                  CIVIL ACTION
      3                                                             3
          LISA FRACE, INDIVIDUALLY :                                    ANITA GRABOWSKI and ALFRED :
      4   AND AS REPRESENTATIVE OF :                                4   GRABOWSKI, HUSBAND and   :
          THE ESTATE OF CAROLE     :                                    WIFE,                 :
      5   DICERBO, DECEASED,     :                                  5                     :
                           :                                                     Plaintiffs, :
                                                                    6                     :
      6           Plaintiffs, :
                                                                              vs            :
                           :                                        7                     :
      7        vs            :                                          BRENNTAG NORTH AMERICA, et :
                           :                                        8   al ,               :
      8   BRENNTAG NORTH AMERICA, et :                                                    :
          al,               :                                       9            Defendants :
      9                    :                                       10
                  Defendants :                                          ---------------------------------------------
     10                                                            11
     11   ---------------------------------------------            12
     12                                                            13         SUPERIOR COURT OF NEW JERSEY
                  SUPERIOR COURT OF NEW JERSEY                               LAW DIVISION - MIDDLESEX COUNTY
     13        LAW DIVISION - MIDDLESEX COUNTY                     14         DOCKET NO MID-L-2456-18 AS
                  DOCKET NO MID-L-4252-18 AS                                     CIVIL ACTION
     14               CIVIL ACTION                                 15
     15   VICMAR GATMAITAN,            :                                ROBERT GREENE, III,    :
          INDIVIDUALLY AND AS           :                          16   INDIVIDUALLY AND AS      :
     16   REPRESENTATIVE OF THE           :                             ADMINISTRATOR OF THE ESTATE :
          ESTATE OF MELISSA E        :                             17   OF DEBORAH GREENE BRAKE, :
     17   ROONEY, DECEASED,          :                                  DECEASED; STEPEHEN A       :
                               :
                                                                   18   BRAKE; AND THE INDIVIDUAL :
                                                                        HEIRS OF THE ESTATE OF    :
     18               Plaintiffs, :                                19   DEBORAH GREENE BRAKE,        :
                               :                                                         :
     19            vs            :                                 20           Plaintiffs, :
                               :                                                         :
     20   IMERYS TALC AMERICA, INC , :                             21        vs            :
          et al ,                :                                                       :
     21                        :                                   22   BRENNTAG NORTH AMERICA, et :
                      Defendants :                                      al ,              :
     22                                                            23                    :
     23                                                                         Defendants :
     24                                                            24
     25   (CAPTION CONTINUED ON FOLLOWING PAGE)                    25   (CAPTION CONTINUED ON FOLLOWING PAGE)


                                                          Page 4                                                            Page 5
      1         SUPERIOR COURT OF NEW JERSEY                        1         SUPERIOR COURT OF NEW JERSEY
               LAW DIVISION - MIDDLESEX COUNTY                               LAW DIVISION - MIDDLESEX COUNTY
      2         DOCKET NO MID-L-4826-18 AS                          2         DOCKET NO MID-L-7049-16 AS
                   CIVIL ACTION                                                  CIVIL ACTION
      3                                                             3
                                                                        D'ANGELA M MCNEILL-GEORGE, :
          EMMA GRIFFIN AND WALTER :                                 4                    :
      4   GRIFFIN, HUSBAND AND WIFE, :                                          Plaintiff, :
                           :                                        5                    :
      5           Plaintiffs, :                                              vs            :
                           :                                        6                    :
      6        vs            :                                          BRENNTAG NORTH AMERICA, et :
                           :                                        7   al ,              :
      7   CYPRUS AMAX MINERALS      :                                           Defendants :
          COMPANY, et al ,      :                                   8
      8                    :                                        9   ---------------------------------------------
                  Defendants :                                     10          SUPERIOR COURT OF NEW JERSEY
                                                                             LAW DIVISION - MIDDLESEX COUNTY
      9                                                            11          DOCKET NO MID-L-598-18 AS
     10   ---------------------------------------------                              CIVIL ACTION
     11          SUPERIOR COURT OF NEW JERSEY                      12
               LAW DIVISION - MIDDLESEX COUNTY                          LORETTA SELVAGGIO,                       :
     12          DOCKET NO MID-L-5368-17 AS                        13                         :
                       CIVIL ACTION                                                 Plaintiff, :
     13                                                            14                         :
          MATTHEW HODJERA and SYLVIA :                                          vs              :
     14   DUFF-PETO,               :                               15                         :
                              :                                         BRENNTAG NORTH AMERICA, et :
                                                                   16   al ,                   :
     15              Plaintiffs, :
                                                                                              :
                              :                                    17               Defendants :
     16           vs            :                                  18   ---------------------------------------------
                              :                                    19          SUPERIOR COURT OF NEW JERSEY
     17   BORGWARNER MORSE TEC, LLC, :                                       LAW DIVISION - MIDDLESEX COUNTY
          et al ,               :                                  20          DOCKET NO MID-L-6635-17 AS
     18                       :                                                      CIVIL ACTION
                     Defendants :                                  21
     19                                                                 LEONARD E WENDOWSKI, SR , :
     20                                                            22   AND KATHLEEN WENDOWSKI, :
     21                                                                 HUSBAND AND WIFE,       :
                                                                   23              Plaintiff, :
     22
                                                                                vs           :
     23                                                            24   IMERYS TALC AMERICA, INC , :
     24                                                                 et al ,              :
     25   (CAPTION CONTINUED ON FOLLOWING PAGE)                    25              Defendants :



                                                                                                                  2 (Pages 2 to 5)
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                                                                  Page 6                                                            Page 7
      1    A P P E A R A N C E S:                                           1   A P P E A R A N C E S (CONTINUED):
      2                                                                     2
      3     COHEN, PLACITELLA, ROTH, P C                                    3    O'TOOLE, SCRIVO, FERNANDEZ, WEINER,
            BY: CHRISTOPHER PLACITELLA, ESQUIRE                                    VAN LIEU, LLC
      4        JARED M PLACITELLA, ESQUIRE                                  4    BY: LESLIE ELLIS LOMBARDY, ESQUIRE
               LEA CALLAHAN, PARALEGAL                                           (via telephone)
      5     Two Commerce Square                                             5    14 Village Park Road
            2001 Market Street, Suite 2900                                       Cedar Grove, NJ 07009
      6     Philadelphia, PA 19103
                                                                            6    (973) 239-5700
                                                                                 llombardy@oslaw com
            (215) 567-3500                                                  7    Counsel for the Defendant,
      7     cplacitella@cprlaw com                                               Colgate-Palmolive Co
            jmplacitella@cprlaw com                                         8
      8     Counsel for the Plaintiffs                                      9
      9                                                                          RAWLE & HENDERSON, LLP
     10     SKADDEN, ARPS, SLATE, MEAGHER & FLOM, LLP                      10    BY: LINDA DOBBINS, ESQUIRE
            BY: RICHARD T BERNARDO, ESQUIRE                                      (via telephone)
     11        ANDREW KARP, ESQUIRE                                        11    The Widener Building
            4 Times Square                                                       One South Penn Square
     12     New York, NY 10036                                             12    Philadelphia, PA 19107
            (212) 735-3453                                                       (215) 575-4303
     13     richard bernardo@skadden com                                   13    ldobbins@rawle com
            andrew karp@skadden com                                              Counsel for the Defendant, Cyprus Amax
     14     Counsel for the Defendant, Johnson &                           14    Minerals Company
            Johnson                                                        15
     15                                                                    16    HAWKINS, PARNELL & YOUNG, LLP
     16                                                                          BY: ELIZABETH KELLY, ESQUIRE
            McGIVNEY, KLUGER & COOK, P C                                   17    (via telephone)
     17     BY: JONATHAN C LEE, ESQUIRE                                          600 Lexington Avenue, 8th Floor
                                                                           18    New York, NY 10022
            18 Columbia Turnpike
                                                                                 (646) 589-8722
     18     Florham Park, NJ 07932                                         19    ekelly@hpylaw com
            (973) 822-1110                                                       Counsel for the Defendant, Revlon, Inc
     19     jlee@mkclaw us com                                             20
            Counsel for the Defendant, Whittaker,                          21
     20     Clark & Daniels                                                                ---
     21                                                                    22
     22                                                                    23   A L S O P R E S E N T:
     23                                                                    24
     24                                                                          Thomas Karwacki, The Videotape Operator
     25                                                                    25


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       1         WITNESS INDEX                                              1        E X H I B I T S (CONTINUED)
       2                                                                    2
       3   TESTIMONY OF: NANCY MUSCO                                        3   EXHIBIT NAME DESCRIPTION                     PAGE
       4   EXAMINATION             PAGE                                     4
       5                                                                    5   Exhibit P-9 Unidentified documents 290
             By Mr C Placitella             12                              6   Exhibit P-10 Deposition transcript 290
       6                                                                                  of Nancy Musco
                                                                            7
       7                 ---
       8                                                                        Exhibit P-11 Complaint             291
                                                                            8
                    EXHIBITS                                                    Exhibit P-12 Complaint             291
       9                                                                    9
      10                                                                        Exhibit P-13 Complaint             291
           EXHIBIT NAME DESCRIPTION                        PAGE            10
      11                                                                        Exhibit P-14 Notes               291
      12   Exhibit P-1 Letter dated           11                           11
                     September 13, 2018,                                   12
      13             Corporate Deposition                                       (**Exhibits P-6 through P-14 were retained
                     Notice and Request for                                13   by Mr C Placitella)
      14             Production of Documents                               14
      15   Exhibit P-2 Chart                71                             15   Exhibit J&J-8 April 15, 1969 Memo      65
      16   Exhibit P-3 Trial transcript of John 183                        16   Exhibit J&J-172 Deposition transcript 207
                     Hopkins, Ph D                                                        of Glenn A Hemstock
      17                                                                   17
           Exhibit P-4    Handwritten document       173                        Exhibit J&J-173 Continuation deposition 208
      18                                                                   18             transcript of Glenn
                                                                                          Hemstock
           Exhibit P-5    Ad               181                             19
      19
                                                                                Exhibit J&J-188 Stipulation of Dismissal 224
           Exhibit P-6 Depositions and testimony 288                       20
      20             of Dr Hopkins                                              Exhibit J&J-195 Affidavit          266
      21   Exhibit P-7 Testimonies and         288                         21
                     interrogatories for Selby                                  Exhibit J&J-277 Answers to Plaintiffs' 173
      22             and Krushinski                                        22             Supplemental
      23   Exhibit P-8A Documents sent to        289                                      Interrogatories
                     Dr Hopkins                                            23
      24                                                                        Exhibit J&J-282 (Not attached)         262
           Exhibit P-8B Documents sent to           289                    24
      25             Dr Hopkins                                            25



                                                                                                            3 (Pages 6 to 9)
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       1        E X H I B I T S (CONTINUED)                         1                ---
       2                                                            2            (Exhibit P-1, Letter dated
       3   EXHIBIT NAME DESCRIPTION                     PAGE
       4                                                            3   September 13, 2018, Corporate Deposition
           Exhibit J&J-294 Deposition transcript 202                4   Notice and Request for Production of
       5             of Roger N. Miller                             5   Documents, is marked for identification.)
       6   Exhibit J&J-412 Handwritten document 34
       7   Exhibit J&J-436 Deposition transcript 210                6                ---
                     Of Peter N. Gale                               7            THE VIDEOTAPE OPERATOR: We are
       8                                                            8   now on the record.
           Exhibit J&J-446 Agreement           274
       9                                                            9            This begins videotape number
           Exhibit J&J-448 Memo              154                   10   one in the deposition of Nancy Musco in the
      10                                                           11   Matter of the Estate of Maria Foley versus
           Exhibit J&J-450 Letter           152
      11                                                           12   Avon Products, Inc., et al., in the Superior
           Exhibit J&J-452 Memo              155                   13   Court of New Jersey, Law Division, Middlesex
      12                                                           14   County, Docket number MID-L-3095-18 AS.
           Exhibit J&J-453 Document entitled      170
      13             George Lee's Talc Files
                                                                   15            Today is Friday, February 15,
      14   Exhibit J&J-456 Memo               282                  16   2019 and the time is 10:11 a.m.
      15   Exhibit J&J-483 Memo               203                  17            This deposition is being taken
      16   Exhibit J&J-486 Privilege log       74
      17   Exhibit J&J-488 Chart             146
                                                                   18   at 105 College Road East, Princeton, New
      18                                                           19   Jersey at the request of Cohen, Placitella &
                      ---                                          20   Roth.
      19
      20
                                                                   21            The videographer is Thomas
      21                                                           22   Karwacki of Magna Legal Services.
      22                                                           23            And the court reporter is
      23
      24
                                                                   24   Sharon Martin of Magna Legal Services.
      25                                                           25            Appearance of counsel will be


                                                         Page 12                                          Page 13
       1     noted on the stenographic record.                      1      Q. Okay.
       2              Will the court reporter please                2              MR. C. PLACITELLA: Can you
       3     swear in the witness?                                  3   please give the witness P-1?
       4                   ---                                      4   BY MR. C. PLACITELLA:
       5              NANCY MUSCO, having been duly                 5      Q. P-1 is the deposition notice for
       6     sworn, was examined and testified as follows:          6   this case. And if you can go to the notice
       7              THE VIDEOTAPE OPERATOR: You                   7   itself, it asks that Johnson & Johnson
       8     may proceed.                                           8   produce the representative with the most
       9                   ---                                      9   knowledge concerning discovery responses
      10                EXAMINATION                                10   historically provided by Johnson & Johnson
      11                   ---                                     11   and Windsor Minerals concerning the asbestos
      12     BY MR. C. PLACITELLA:                                 12   content of talc, Johnson's Baby Powder or
      13       Q. Good morning, Miss Musco. How are                13   Shower to Shower sold by Johnson & Johnson,
      14     you?                                                  14   Windsor Minerals or Eastern Magnesia Talc
      15       A. Good morning.                                    15   Company.
      16       Q. We're here together again.                       16          Do you see that?
      17           You're here -- last time I took                 17      A. Yes.
      18     your deposition you were taken as a fact              18      Q. Okay.
      19     witness in this case; do you recall that?             19      A. That's what it says.
      20       A. Yes, I do.                                       20      Q. Are you that person?
      21       Q. And today you understand that you                21      A. Yes, I am.
      22     are here testifying not as a fact witness,            22      Q. Okay. And how is it -- why are you
      23     but on behalf of Johnson & Johnson as their           23   the person most qualified to respond to
      24     corporate representative, correct?                    24   this -- to this -- notice?
      25       A. Yes.                                             25              MR. BERNARDO: Object to the


                                                                                    4 (Pages 10 to 13)
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       1    form of the question.                            1      A. I'm here to talk about the --
       2             THE WITNESS: In my career with          2   the -- as we said, as it says here in the
       3    Johnson & Johnson, in the specific time          3   notice. Not here to talk about any dangers
       4    period, I was the person who would be            4   of talc, because talc used in cosmetic
       5    involved in supply -- or helping to supply       5   application of Johnson's Baby Powder is safe.
       6    the answers to said interrogatories.             6      Q. All right. You know that you are
       7    BY MR. C. PLACITELLA:                            7   here to talk about what information Johnson &
       8       Q. Okay. Now, and you understand that         8   Johnson had in its possession concerning the
       9    you are here to answer questions as Johnson &    9   asbestos content of talc and whether that
      10    Johnson, the corporation, not Nancy Musco,      10   information was provided in response to
      11    correct?                                        11   discovery in lawsuits historically, correct?
      12       A. Correct.                                  12             MR. BERNARDO: Object to the
      13       Q. Okay. And you understand that             13   form of the question.
      14    information that we will address includes       14             THE WITNESS: Yes, that's
      15    what information Johnson & Johnson had in its   15   correct.
      16    possession over time concerning the potential   16   BY MR. C. PLACITELLA:
      17    hazards associated with the talc that it        17      Q. Okay. Can you tell me everything
      18    sold, correct?                                  18   you did in order to prepare for today's
      19             MR. BERNARDO: Object to the            19   deposition?
      20    form of the question.                           20      A. Yes, I did a lot. I -- most
      21             THE WITNESS: I am here to talk         21   important thing is I looked at the documents
      22    about the documents associated with this and    22   that you presented to me last time to help
      23    the discovery responses.                        23   ensure that they had been looked at by the
      24    BY MR. C. PLACITELLA:                           24   company. I looked at depositions, testimony
      25       Q. So the answer is yes?                     25   of Dr. Hopkins. I spoke to one of the people

                                               Page 16                                              Page 17
       1    responsible for conducting the searches to       1   of Mr. Hopkins' testimony.
       2    help ensure that we had all the information      2            (Reporter clarification.)
       3    available for you that you requested. And I      3            MR. BERNARDO: Of Dr. Hopkins'
       4    also spoke directly with Dr. Hopkins.            4   testimony.
       5       Q. Okay. And when did you speak to            5            THE WITNESS: I don't know what
       6    Dr. Hopkins?                                     6   Dr. Hopkins said in his testimony, no.
       7       A. Last week.                                 7   BY MR. C. PLACITELLA:
       8       Q. And what was the substance of your         8      Q. So you never had a conversation
       9    conversation with him?                           9   where he said under oath before a jury who is
      10       A. We spoke specifically about the           10   listening to a case right now that the
      11    documents that you and I had discussed in our   11   information that you supplied that you swore
      12    last deposition.                                12   to was true was incomplete and inaccurate --
      13       Q. Did he tell you that he testified         13            MR. BERNARDO: Object.
      14    in a case that's ongoing in California right    14   BY MR. C. PLACITELLA:
      15    now?                                            15      Q. -- you never knew that?
      16       A. I know that he is, yes.                   16            MR. BERNARDO: Object to the
      17       Q. Did you know that he testified in         17   form of the question and the characterization
      18    that case that the information that you         18   of Dr. Hopkins' testimony.
      19    supplied in answers to interrogatories was      19            Do you have the testimony to
      20    inaccurate --                                   20   show her --
      21             MR. BERNARDO: Object to form.          21            MR. C. PLACITELLA: I'm going
      22    BY MR. C. PLACITELLA:                           22   to get there.
      23       Q. -- and incomplete?                        23            MR. BERNARDO: -- Mr.
      24             MR. BERNARDO: Object to the            24   Placitella?
      25    form of the question and the characterization   25            Okay.

                                                                             5 (Pages 14 to 17)
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       1              THE WITNESS: I did not discuss         1   discussed, what do you mean by that?
       2    Dr. Hopkins' testimony that you're referring     2      A. They were brought up at my last
       3    to.                                              3   deposition.
       4    BY MR. C. PLACITELLA:                            4         I wanted to discuss these with
       5       Q. If he was asked specifically about         5   Dr. Hopkins to help ensure that he was
       6    sworn information that you provided under        6   familiar with them and that he had answered
       7    oath in a trial, wouldn't you have hoped as      7   the questions.
       8    part of your preparation that that's             8      Q. Okay. And did he tell you that
       9    something that he would have told you?           9   when I deposed him that a chart was created
      10       A. He and I discussed the specifics of       10   concerning what was in the documents?
      11    the documents that you had asked for and        11      A. We did not discuss his testimony at
      12    specifically what's involved in the notice      12   all. We discussed those particular
      13    that you provided.                              13   documents.
      14       Q. So how long did you talk to               14      Q. Okay. So you spoke with
      15    Dr. Hopkins?                                    15   Dr. Hopkins, who is the person -- who was the
      16       A. Close to an hour.                         16   other person you spoke with?
      17       Q. Okay. And you went over all of the        17      A. Miss Pam Downs (phonetic).
      18    documents with him?                             18      Q. And who is she and what was her
      19       A. I went over specific documents.           19   job?
      20       Q. What documents were those?                20      A. She is one of the people
      21       A. So many documents. They were              21   responsible for the searches of all of their
      22    specific documents that Dr. Hopkins had and     22   pertinent documents.
      23    that were pertinent to the issues. As I         23      Q. Okay. And what was the substance
      24    said, the ones that you and I discussed.        24   of your discussion with her?
      25       Q. And when you say the ones you and I       25      A. I wanted to be comfortable in the

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       1    way that she conducted the search and just       1              MR. BERNARDO: Object to the
       2    help reassure myself that she had looked in      2   form of the question.
       3    all the different avenues.                       3              THE WITNESS: I looked at them.
       4       Q. Approximately how much time have           4   I -- I had counsel pull out which ones were
       5    you spent preparing for today's deposition?      5   pertinent for me, because there's so many for
       6       A. Approximately six, seven days.             6   me to go through. It would almost be
       7       Q. Six or seven days, eight hours a           7   impossible. I looked at so that I would know
       8    day?                                             8   which documents were pertinent.
       9       A. Approximately.                             9   BY MR. C. PLACITELLA:
      10       Q. And you were compensated for that?        10      Q. Okay. So am I under -- my
      11       A. Yes, I was compensated for my time.       11   understanding correct that you began at
      12       Q. At what rate?                             12   Johnson & Johnson in approximately 1983?
      13       A. $185 an hour.                             13      A. 1982.
      14       Q. Okay. And can you tell me                 14      Q. 1982.
      15    specifically what documents you reviewed in     15          And when you started there you were
      16    preparation for today's deposition?             16   the person who worked in -- on Johnson's Baby
      17       A. As I mentioned earlier, any of the        17   Powder in the Marketing Department?
      18    documents that you asked for, made sure that    18      A. No, I was actually part of
      19    they were provided to you. And anything that    19   regulatory, which was part of Research and
      20    had to do with the alleged asbestos content     20   Development.
      21    of talc.                                        21      Q. Right.
      22       Q. So you looked at all documents            22          And what was your job
      23    related to asbestos testing for the Johnson &   23   responsibilities?
      24    Johnson talc?                                   24      A. My job responsibilities when I
      25       A. I --                                      25   first started was responding to consumers,


                                                                             6 (Pages 18 to 21)
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       1    whether it be by letter or phone with any        1   indicated, were also the person in charge of
       2    questions, concerns that they had about any      2   gathering information to answer questions
       3    of the Johnson's baby products.                  3   that Johnson & Johnson was required to answer
       4       Q. Including any talc-related product?        4   fully and honestly when sued over injuries
       5       A. Yes.                                       5   alleged to have occurred from exposure to
       6       Q. Okay. And you had that                     6   baby powder, correct?
       7    responsibility from 1982 until 2001?             7             MR. BERNARDO: Object to the
       8       A. Approximately.                             8   form of the question.
       9       Q. Okay.                                      9             THE WITNESS: Could you
      10       A. 2000ish, yeah.                            10   rephrase that, please?
      11       Q. Okay. And in 2001 you went to work        11   BY MR. C. PLACITELLA:
      12    for the R&D Department; is that correct?        12      Q. Sure.
      13       A. Yes, it was part of the R&D               13          You were the person in charge of
      14    Department.                                     14   gathering information needed to answer
      15       Q. But your job basically stayed the         15   questions that were required to answer
      16    same, although you were in the R&D              16   discovery responses, fully and honestly, when
      17    Department --                                   17   Johnson & Johnson was sued over exposure to
      18       A. Some of the same responsibilities,        18   talc, correct?
      19    yes.                                            19      A. As part of my responsibilities I
      20       Q. And you were the person in charge         20   would work with counsel to direct them to the
      21    of communicating to the public and health       21   appropriate people to answer whatever
      22    care professionals information related to the   22   questions may have been put forth.
      23    safety of Johnson's Baby Powder, correct?       23      Q. And those cases involved lung
      24       A. I was one of the people, yes.             24   disease, such as cancer and -- lung cancer
      25       Q. Okay. You, as I think you                 25   and ovarian cancer, correct?

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       1        A. There were some allegations of            1   answer based on their expertise or what
       2    that, yes.                                       2   information they had.
       3        Q. All right. In fact, you were the          3   BY MR. C. PLACITELLA:
       4    point person for gathering discovery for         4      Q. And you were aware that Johnson &
       5    litigation historically at Johnson & Johnson,    5   Johnson was sued many times in cases alleging
       6    correct?                                         6   injury from its talc-related products,
       7              MR. BERNARDO: Object to the            7   correct?
       8    form of the question.                            8            MR. BERNARDO: Object to the
       9              THE WITNESS: I did not gather          9   form of the question.
      10    the information. As I said, I -- I helped       10            THE WITNESS: I was aware that
      11    counsel and told them the people that would     11   there were cases, yes.
      12    be most appropriate to answer their             12   BY MR. C. PLACITELLA:
      13    questions.                                      13      Q. All right. You understood that
      14    BY MR. C. PLACITELLA:                           14   information that was available to answer
      15        Q. And you started that sometime in         15   questions in one case would be relevant to
      16    the early 1980s?                                16   answer similar questions in other cases,
      17        A. Yes.                                     17   correct?
      18        Q. Okay. And you were aware of the          18            MR. BERNARDO: Object to the
      19    records that were used that were available to   19   form of the question.
      20    respond to discovery, correct?                  20            THE WITNESS: Yes, it could be.
      21              MR. BERNARDO: Object to the           21   BY MR. C. PLACITELLA:
      22    form of the question.                           22      Q. Am I correct that the information
      23              THE WITNESS: Well, there were         23   concerning what happened in prior cases came
      24    no specific records. Again, I directed          24   from the Legal Department and that those
      25    counsel to the appropriate people who would     25   files were in the possession of the Legal


                                                                             7 (Pages 22 to 25)
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       1    Department?                                      1   that you became aware that Johnson & Johnson
       2        A. Could you rephrase that?                  2   had a -- any kind of litigation hold for talc
       3        Q. Sure.                                     3   cases related to exposure to Johnson &
       4           When you were responding in a -- in       4   Johnson talc products?
       5    a case, you knew that the Legal Department       5             MR. BERNARDO: Object to the
       6    had information from prior cases, correct?       6   form of the question.
       7              MR. BERNARDO: Object to the            7             THE WITNESS: I don't remember
       8    form of the question.                            8   any specific dates.
       9              THE WITNESS: Again, I don't            9   BY MR. C. PLACITELLA:
      10    know specifically what information the Legal    10      Q. What is the first evidence that you
      11    Department may have had. But when they          11   have, when I say "you," Johnson & Johnson, as
      12    needed to have a specific answer, I would       12   to when a litigation hold was first imposed
      13    help direct them to the person most             13   in talc-related litigation?
      14    appropriate to answer that.                     14             MR. BERNARDO: Object to the
      15    BY MR. C. PLACITELLA:                           15   form of the question, beyond the scope of the
      16        Q. All right. And at some point in          16   notice and what we tendered this witness for.
      17    time you became aware of something known as a   17             You can answer in your personal
      18    litigation hold, correct?                       18   capacity, if you know.
      19        A. I'm familiar with that, yes.             19             THE WITNESS: No, I do not
      20        Q. What is a litigation hold?               20   know.
      21        A. My understanding of that is when         21   BY MR. C. PLACITELLA:
      22    our counsel would let us -- anybody in the      22      Q. So you as Johnson & Johnson here to
      23    company hold to any documents related to a      23   talk about the historic discovery responses
      24    specific legal case.                            24   have no idea when a litigation hold was first
      25        Q. Okay. And when is the first time         25   imposed, correct?

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       1              MR. BERNARDO: Same objection.          1      Q. Okay. When asked to provide
       2              THE WITNESS: Not the specific          2   information, am I correct that Johnson &
       3    dates, no.                                       3   Johnson recognizes -- well, let me ask, that
       4    BY MR. C. PLACITELLA:                            4   there is a material difference between
       5       Q. Okay. So am I correct that the             5   certifying that there is no evidence
       6    person charged with -- well, strike that.        6   whatsoever and that there is evidence, but
       7          You understand that discovery is a         7   that you don't believe the evidence is
       8    pretrial process where the parties are           8   accurate?
       9    required to provide information relative to      9             MR. BERNARDO: Object to the
      10    the allegations and defendant -- and defenses   10   form of the question.
      11    asserted in a case?                             11             THE WITNESS: Could you ask
      12       A. I understand that discovery may be        12   that again, please?
      13    specific questions presented by the             13   BY MR. C. PLACITELLA:
      14    plaintiffs for the defendants to answer.        14      Q. Sure.
      15       Q. What is your understanding                15         You're asked a question about
      16    concerning Johnson & Johnson's obligations      16   whether evidence exists. You understand
      17    when responding truthfully and fully to         17   there is a difference, you, Johnson &
      18    questions posed to it in litigation?            18   Johnson, about whether the evidence exists at
      19              MR. BERNARDO: Object to the           19   all versus that there is evidence, but you
      20    form of the question. Call for --               20   just don't believe that it's accurate --
      21    conclusion.                                     21             MR. BERNARDO: Object.
      22              THE WITNESS: I fully                  22   BY MR. C. PLACITELLA:
      23    understand that they should and do answer       23      Q. -- or reliable?
      24    truthfully and completely.                      24             MR. BERNARDO: Object to the
      25    BY MR. C. PLACITELLA:                           25   form of the question.

                                                                             8 (Pages 26 to 29)
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       1    BY MR. C. PLACITELLA:                            1      A. You're asking if there's any
       2       Q. Do you understand the difference?          2   evidence that there is asbestos in the talc
       3       A. I'm not sure I understand the              3   of Johnson's Baby Powder.
       4    question.                                        4      Q. Right.
       5       Q. Okay. So let's try to break it             5         And what -- and if there is testing
       6    down.                                            6   related to whether Johnson & Johnson talc
       7          When you're asked, Is there any            7   contained asbestos, is that evidence in your
       8    evidence that you got here today by car;         8   mind --
       9    what's your understanding of that question?      9             MR. BERNARDO: Object.
      10              MR. BERNARDO: Object to the           10   BY MR. C. PLACITELLA:
      11    form of the question.                           11      Q. -- to Johnson & Johnson?
      12              THE WITNESS: That, you know,          12             MR. BERNARDO: Object to the
      13    the answer that I got here by car.              13   form of the question.
      14    BY MR. C. PLACITELLA:                           14             THE WITNESS: Any, any evidence
      15       Q. So can there be circumstantial            15   would be something, yes.
      16    evidence that you got here by car?              16   BY MR. C. PLACITELLA:
      17          Do I have to have the car in front        17      Q. Right.
      18    of me or the photo of you driving the car?      18      A. If there were.
      19       A. If you didn't believe me.                 19      Q. So, for example, if a -- if a test
      20       Q. Okay. So my question to you is            20   was run to determine whether Johnson's Baby
      21    when Johnson & Johnson is asked in discovery,   21   Powder contained asbestos and there were
      22    Is there any evidence of asbestos content in    22   results from that test, that would be
      23    Johnson & Johnson talc; what is your            23   evidence, correct?
      24    understanding as to what's being asked of       24             MR. BERNARDO: Object to the
      25    you?                                            25   form of the question.

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       1               THE WITNESS: Yes.                     1   withhold information with the objective of
       2    BY MR. C. PLACITELLA:                            2   obtaining dismissals of cases that were filed
       3       Q. Okay. You understand that                  3   against Johnson & Johnson, correct?
       4    Johnson & Johnson had a duty to provide          4            MR. BERNARDO: Object to the
       5    accurate and complete information when           5   form of the question.
       6    responding to discovery in talc litigation,      6            THE WITNESS: This seems like a
       7    correct?                                         7   legal question and I'm not equipped to answer
       8               MR. BERNARDO: Object to the           8   that.
       9    form of the question.                            9   BY MR. C. PLACITELLA:
      10               THE WITNESS: Yes.                    10      Q. I'm not asking you -- I'm saying
      11    BY MR. C. PLACITELLA:                           11   you, Johnson & Johnson, not Nancy Musco,
      12       Q. Okay. You understand that if              12   understood that it was wrong to withhold
      13    Johnson & Johnson did not provide accurate      13   information with the objective of obtaining
      14    and complete information, citizens could lose   14   dismissals of cases for lawsuits filed
      15    the rights that were given to them to proceed   15   against Johnson & Johnson, correct?
      16    to trial, correct?                              16      A. Again, that's a -- seems to me like
      17               MR. BERNARDO: Object to the          17   a legal conclusion. No.
      18    form of the question, calls for a legal         18      Q. "No" what?
      19    conclusion.                                     19      A. I can't -- I can't answer that,
      20               THE WITNESS: I -- I can't            20   because I don't know what that means.
      21    answer that legal-wise. I don't understand      21      Q. So you don't know, Johnson &
      22    that.                                           22   Johnson does not know whether it's wrong to
      23    BY MR. C. PLACITELLA:                           23   withhold information with the objective of
      24       Q. You understand, you, Johnson &            24   obtaining dismissals of lawsuits, Johnson &
      25    Johnson understood that it was wrong to         25   Johnson doesn't know that?

                                                                             9 (Pages 30 to 33)
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       1             MR. BERNARDO: Object to the            1      Q. Is there --
       2    form of the question.                           2      A. I know that you wrote down some
       3             THE WITNESS: I cannot comment          3   things.
       4    on any legal conclusions or any legal           4      Q. Okay. So let me see if I can...
       5    directions.                                     5   See if this refreshes your memory.
       6    BY MR. C. PLACITELLA:                           6             MR. C. PLACITELLA: Where's
       7       Q. When you were working on issues           7   your audio?
       8    concerning the safety of talc, you were         8             (At which time the following
       9    repeatedly -- well, let's just --               9   audio recording is played for the witness.)
      10             MR. C. PLACITELLA: Can you            10             "QUESTION: Did the talc that
      11    give me 412?                                   11   was used in any J&J Baby Powder product ever
      12             MR. BERNARDO: Do you have a           12   contain any amount of asbestos; do you see
      13    copy for me?                                   13   that?
      14             MR. C. PLACITELLA: Yeah, I            14             "ANSWER: Yeah, I see that.
      15    will, absolutely.                              15             "QUESTION: That was a question
      16             Here's one for you, for the           16   that -- or questions like that that you were
      17    record.                                        17   called upon to answer as part of your job at
      18             (Exhibit J&J-412, Handwritten         18   Johnson & Johnson, correct?
      19    document, is marked for identification.)       19             "ANSWER: Yes.
      20    BY MR. C. PLACITELLA:                          20             "QUESTION: Okay. And that
      21       Q. Now, I'm going to -- what's marked       21   question was raised over and over again by
      22    here as Musco-1, do you recall this exhibit    22   people outside of Johnson & Johnson from
      23    from the last time that we were together and   23   almost the time you started working there,
      24    I took your deposition?                        24   correct?
      25       A. I don't recall specifically.             25             "UNIDENTIFIED COUNSEL: Object

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       1    to the form of the question.                    1       Q. Am I correct that the question that
       2              "You can answer. Excuse me.           2   was asked of you over and over again when you
       3              "ANSWER: I know it was a              3   worked for Johnson & Johnson in one way or
       4    question that we received, yes."                4   another was did the talc that was used in any
       5              (At which time the audio              5   J&J product ever contain any amount of
       6    playback is concluded.)                         6   asbestos?
       7    BY MR. C. PLACITELLA:                           7       A. We were asked lots of different
       8       Q. Do you recall giving that                 8   questions through the years, not specifically
       9    testimony?                                      9   always in that form.
      10              MR. BERNARDO: Object to the          10       Q. Do you --
      11    form of the question and the playing of the    11       A. But, yes.
      12    prior testimony.                               12       Q. Okay. And that same question or
      13              THE WITNESS: Yes, I do.              13   questions like that was asked over and over
      14              (Reporter clarification.)            14   in litigation related to asbestos -- strike
      15              MR. BERNARDO: And the playing        15   that.
      16    of the prior testimony. I'll move my mic.      16          That same question was asked of
      17    Object to the form of the question and the     17   Johnson & Johnson or questions like that in
      18    playing of the prior testimony.                18   litigation related to Johnson's Baby Powder,
      19    BY MR. C. PLACITELLA:                          19   correct?
      20       Q. Do you recall giving that                20       A. Yes, I believe that's the question.
      21    testimony?                                     21       Q. Okay. And that was the -- one
      22       A. I did.                                   22   of -- that was a question that you were the
      23       Q. Is that testimony fair and               23   point person for gathering information on to
      24    accurate?                                      24   respond to, correct?
      25       A. Yes.                                     25             MR. BERNARDO: Object to the


                                                                          10 (Pages 34 to 37)
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       1    form of the question.                            1   form of the question.
       2              THE WITNESS: I worked with             2              THE WITNESS: That's the
       3    counsel to provide specific -- help provide      3   position of the company, that there's no
       4    specific answers to specific questions that      4   asbestos used in the cosmetic talc of
       5    would be related to a Complaint.                 5   Johnson's Baby Powder.
       6    BY MR. C. PLACITELLA:                            6   BY MR. C. PLACITELLA:
       7       Q. And the answer to the question, Did        7      Q. My question is, that was the answer
       8    the talc that was used in any Johnson &          8   that was provided every time the question was
       9    Johnson Baby Powder product ever contain any     9   asked in the context of a lawsuit, correct?
      10    amount of asbestos; when you answer it,         10              MR. BERNARDO: Object to the
      11    always was, There is no evidence that           11   form of the question.
      12    Johnson's Baby Powder contained any amount of   12              THE WITNESS: I do not know if
      13    asbestos. There never was and there never       13   that was the specific answer that was
      14    will be.                                        14   provided each time.
      15          That was your response, correct?          15   BY MR. C. PLACITELLA:
      16              MR. BERNARDO: Object to the           16      Q. All right. You know that when that
      17    form of the question.                           17   question was asked that Johnson & Johnson
      18              THE WITNESS: That's correct.          18   always took the possession -- took position
      19    BY MR. C. PLACITELLA:                           19   in litigation that there is no evidence that
      20       Q. Okay. And when Johnson & Johnson          20   Johnson's Baby Powder contained any amount of
      21    was asked the same question in litigation       21   asbestos, correct?
      22    they gave the same response, that is, there     22              MR. BERNARDO: Object to the
      23    is no evidence that Johnson's Baby Powder       23   form of the question.
      24    contained any amount of asbestos, correct?      24              THE WITNESS: The position of
      25              MR. BERNARDO: Object to the           25   Johnson & Johnson is that there is no

                                               Page 40                                              Page 41
       1    asbestos in the cosmetic talc of Johnson's       1            THE WITNESS: Our intent was to
       2    Baby Powder.                                     2   inform whomever was asking that there is no
       3    BY MR. C. PLACITELLA:                            3   asbestos in the cosmetic talc.
       4       Q. So the answer to my question is            4            MR. C. PLACITELLA: I'm going
       5    yes?                                             5   to go to video.
       6       A. Yes.                                       6   BY MR. C. PLACITELLA:
       7       Q. Okay. And when you, Johnson &              7      Q. I'm going to show you your
       8    Johnson told the public that there is no         8   testimony from last time.
       9    evidence that Johnson's Baby Powder contained    9            (At which time the following
      10    any amount of asbestos and there never was      10   audio recording is played for the witness.)
      11    and there never will be, it was your intent,    11            "QUESTION: And when you had
      12    that is, you, Johnson & Johnson, to convey      12   these conversations, for example, with the
      13    that there was zero chance of exposing          13   mothers and the consumers, your intent was to
      14    families to asbestos by using Johnson's Baby    14   convey to them that there was zero chance of
      15    Powder, correct?                                15   exposing their families to asbestos at any
      16       A. The -- the position is that there's       16   level using Johnson's Baby Powder, correct?
      17    no asbestos in the cosmetic talc. So            17            "ANSWER: I -- my job was to
      18    Johnson's Baby Powder would not be exposing     18   reassure them that they could feel safe and
      19    anyone to asbestos.                             19   comfortable using Johnson's Baby Powder,
      20       Q. Your intent was to convey that            20   because it does not contain asbestos.
      21    there was zero chance of exposing families to   21            "QUESTION: Right:
      22    asbestos by using Johnson's Baby Powder,        22            "So there was zero chance of
      23    correct?                                        23   exposing their families to asbestos by using
      24              MR. BERNARDO: Object to the           24   Johnson's Baby Powder, that was your intent
      25    form of the question.                           25   to convey to them, correct?

                                                                           11 (Pages 38 to 41)
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       1             "ANSWER: That's correct.                1   Johnson's Baby Powder, correct?
       2             "QUESTION: Okay."                       2            MR. BERNARDO: Same objection.
       3             (At which time the audio                3            THE WITNESS: I can't answer
       4    playback is concluded.)                          4   that.
       5    BY MR. C. PLACITELLA:                            5            MR. C. PLACITELLA: Okay. Go
       6       Q. Do you recall giving that                  6   back to the video, please.
       7    testimony?                                       7            That's fine.
       8       A. I see that's what I said.                  8   BY MR. C. PLACITELLA:
       9       Q. Okay.                                      9     Q. Do you know what the National
      10          Am I correct that you're aware that       10   Toxicology --
      11    Johnson & Johnson also told the Federal         11            THE VIDEOTAPE OPERATOR: You
      12    Government there was never any evidence of      12   have to let me...
      13    asbestos in Johnson's Baby Powder?              13            MR. C. PLACITELLA: Go ahead.
      14             MR. BERNARDO: Object to the            14            THE VIDEOTAPE OPERATOR: Go
      15    form of the question, beyond the scope of the   15   ahead.
      16    notice.                                         16   BY MR. C. PLACITELLA:
      17             You can answer in your                 17     Q. Do you know what the National
      18    individual capacity.                            18   Toxicology Program was?
      19             THE WITNESS: I cannot speak            19     A. Yes. I --
      20    about specific conversations, but there is no   20     Q. What was that?
      21    asbestos in the cosmetic talc.                  21     A. I'm familiar with it.
      22    BY MR. C. PLACITELLA:                           22     Q. Was that a branch of the Federal
      23       Q. My question was, you knew that            23   Government?
      24    Johnson & Johnson told the Federal Government   24     A. No, it was not.
      25    there was never any evidence of asbestos in     25     Q. Had nothing to do with the Federal

                                              Page 44                                              Page 45
       1    Government?                                      1   met.
       2       A. It worked with the Federal                 2   BY MR. C. PLACITELLA:
       3    Government, yes, but I -- I can't tell you       3      Q. Yeah. And what was your answer?
       4    all the specifics of it.                         4              MR. BERNARDO: Object to the
       5       Q. Okay. Did you tell the National            5   form of the question, asked and answered.
       6    Toxicology Program that there was no evidence    6              THE WITNESS: Whatever you have
       7    of asbestos in Johnson's Baby Powder?            7   on record.
       8              MR. BERNARDO: Object to the            8   BY MR. C. PLACITELLA:
       9    form of the question, beyond the scope of the    9      Q. Okay. Well, let's see if this
      10    notice.                                         10   refreshes your memory.
      11              You can answer in your                11              MR. BERNARDO: Before we
      12    individual capacity.                            12   refresh her memory, let me just interject.
      13              THE WITNESS: I'm -- there were        13              Mr. Placitella, the notice is
      14    meetings with the NTP, yes.                     14   very clear what the scope of this deposition
      15    BY MR. C. PLACITELLA:                           15   is. And statements made to the Federal
      16       Q. And you told them, you, Johnson &         16   Government is well outside the scope of this
      17    Johnson, told the NTP that there was no         17   notice. This witness is being prepared to
      18    evidence whatsoever of asbestos in Johnson's    18   testify --
      19    Baby Powder, correct?                           19              MR. C. PLACITELLA: Well, we'll
      20              MR. BERNARDO: Object to the           20   let a judge decide that, Mr. Bernardo.
      21    form of the question.                           21              MR. BERNARDO: Let me finish my
      22              THE WITNESS: My understanding         22   objection.
      23    that we're to talk about today the things       23              This witness is not being
      24    that you specifically put in the notice. I      24   tendered to testify on behalf of the company
      25    believe we talked about that last time we       25   with respect to statements to the Federal


                                                                           12 (Pages 42 to 45)
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       1   Government.                                       1   position asserted that there was never any
       2            I'm trying not to interrupt the          2   evidence of asbestos in the talc used in
       3   deposition and letting her answer if she          3   Johnson's Baby Powder?
       4   knows in her individual capacity, but I just      4               "UNIDENTIFIED COUNSEL: Object
       5   want to make sure that my question is clear.      5   to the form of the question.
       6   And you're absolutely right, a judge can          6               "QUESTION: Just asking if you
       7   decide it.                                        7   know. It's not a fight.
       8   BY MR. C. PLACITELLA:                             8               "UNIDENTIFIED COUNSEL: Well,
       9      Q. When you say "individual capacity,"         9   it's a -- it's a hard question to follow, but
      10   you were working for Johnson & Johnson on the    10   you can answer if you understand it.
      11   National Toxicology Project, were you not?       11               "ANSWER: Well, the basis was
      12      A. I was not specifically working on          12   that there's no asbestos in the talc used in
      13   the project, that was part of my                 13   Johnson's Baby Powder."
      14   responsibilities.                                14               (At which time the audio
      15      Q. Right.                                     15   playback is concluded.)
      16         Well, let me show you your                 16   BY MR. C. PLACITELLA:
      17   testimony from the last time.                    17       Q. Do you recall giving that
      18            THE VIDEOTAPE OPERATOR: Stand           18   testimony?
      19   by.                                              19               MR. BERNARDO: Same objection.
      20            (At which time the following            20               THE WITNESS: That's -- that's
      21   audio recording is played for the witness.)      21   my voice, yes.
      22            "QUESTION: My question to you           22   BY MR. C. PLACITELLA:
      23   was, did you know that one of the primary        23       Q. Okay. Now, based upon your
      24   bases for battling the issue of talc before      24   research and knowledge, when does Johnson &
      25   the National Toxicology Project was the          25   Johnson say that the first lawsuit was filed

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       1    against it alleging injury from exposure to      1   when was the first lawsuit filed against
       2    talc?                                            2   Johnson & Johnson alleging injury from
       3              MR. BERNARDO: Object to the            3   exposure to talc sourced by mines owned by
       4    form of the question.                            4   Johnson & Johnson?
       5    BY MR. C. PLACITELLA:                            5             MR. BERNARDO: Same objection.
       6       Q. When was the first lawsuit filed?          6             THE WITNESS: Again, I cannot
       7       A. My recollection, in the late '90s.         7   give you dates.
       8       Q. It's your belief that the first            8   BY MR. C. PLACITELLA:
       9    lawsuit alleging injury from exposure to talc    9      Q. Did you do any research or speak to
      10    was the late '90s?                              10   anybody to find out when the first lawsuits
      11       A. I can't give you exact dates when         11   relating to baby powder were filed against
      12    any lawsuits were filed.                        12   Johnson & Johnson?
      13       Q. Okay. I'm not asking you, Nancy           13             MR. BERNARDO: Same objection.
      14    Musco. I'm asking you, Johnson & Johnson.       14             THE WITNESS: Not specific
      15    When was the first lawsuit filed against you,   15   dates, no.
      16    Johnson & Johnson, alleging injury from         16   BY MR. C. PLACITELLA:
      17    exposure to talc sold by Johnson & Johnson?     17      Q. Why not?
      18              MR. BERNARDO: Object to the           18             MR. BERNARDO: Same objection.
      19    form of the question, beyond the scope of the   19             THE WITNESS: Any of the
      20    notice.                                         20   research that I did in preparation today was
      21              You can answer in your                21   specifically for the information that is
      22    individual capacity, if you know.               22   noted in the -- the -- the notice. I didn't
      23              THE WITNESS: Do not know.             23   get into specific dates.
      24    BY MR. C. PLACITELLA:                           24   BY MR. C. PLACITELLA:
      25       Q. Okay. When was the -- Johnson --          25      Q. Well, but the notice asks for your

                                                                           13 (Pages 46 to 49)
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       1    information on your historical responses. So     1       Q. Well, who was in charge of the
       2    how can you figure out what the information      2   litigation involving Johnson & Johnson talc
       3    was on historical responses if you don't know    3   products at Johnson & Johnson?
       4    when the first lawsuit was filed?                4             MR. BERNARDO: Same objection.
       5       A. Because it was -- my concentration         5             THE WITNESS: Different people.
       6    was on the responses, not on specific dates.     6   BY MR. C. PLACITELLA:
       7       Q. Okay. Well, let me ask you this,           7       Q. Well, who's the person that you
       8    do you know how John -- Johnson & Johnson        8   reported to when you -- when you were working
       9    Corporate was kept in the loop concerning        9   on the cases?
      10    lawsuits involving baby powder?                 10             MR. BERNARDO: Object to the
      11              MR. BERNARDO: Object to the           11   form of the question, same objection.
      12    form of the question.                           12             THE WITNESS: I did not report
      13              Again, I'm going to renew my          13   to a specific person.
      14    objection. Chris, I'm trying not to be          14   BY MR. C. PLACITELLA:
      15    obstructive this early in the deposition, but   15       Q. So as you sit here testifying on
      16    this is really well beyond what we understood   16   behalf of Johnson & Johnson, it's your
      17    from the words in the notice the scope of       17   testimony that you don't know who was in
      18    this deposition was to be.                      18   charge of the talc litigation inside of
      19              But if you know that in your          19   Johnson & Johnson?
      20    individual capacity, please go ahead and        20             MR. BERNARDO: Object to the
      21    answer.                                         21   form of the question. And this witness is
      22              THE WITNESS: I would assume           22   not being tendered to testify as to who was
      23    that they would be filed with the -- with the   23   in charge of litigation or any other
      24    Law Department in the company.                  24   litigation matters, other than the discovery
      25    BY MR. C. PLACITELLA:                           25   responses.

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       1              THE WITNESS: As I said, there          1   specific role.
       2    were -- there were different people.             2   BY MR. C. PLACITELLA:
       3    BY MR. C. PLACITELLA:                            3      Q. Was he general counsel at the time?
       4       Q. Well, what people do you remember?         4             MR. BERNARDO: Object to the
       5       A. I could give you names, but, again,        5   form of the question.
       6    I didn't come prepared to talk about             6             THE WITNESS: I already told
       7    different names.                                 7   you, I don't know his exact title or his
       8       Q. Well, give me the names.                   8   role.
       9       A. One of the lawyers was John                9   BY MR. C. PLACITELLA:
      10    O'Shaughnessy.                                  10      Q. Who was the person, if you know --
      11       Q. Okay. Did you have interaction            11   well, you should know, who was the person in
      12    with John O'Shaughnessy concerning discovery    12   charge of gathering evidence to supply
      13    responses in talc-related cases?                13   answers to discovery in talc cases involving
      14              MR. BERNARDO: Object to the           14   Johnson & Johnson?
      15    form of the question.                           15      A. There'd be many different people
      16              And go ahead and answer, but          16   involved in that.
      17    just please be mindful of privileged            17      Q. But who was the person in charge?
      18    communications. You can answer the question.    18      A. I don't know who the person in
      19              THE WITNESS: Mr. O'Shaughnessy        19   charge was. We would prepare questions
      20    and I would have conversations, yes.            20   accordingly and we were working with counsel.
      21    BY MR. C. PLACITELLA:                           21      Q. So was it the lawyer that was in
      22       Q. And what was his role?                    22   charge?
      23              MR. BERNARDO: Object to the           23             MR. BERNARDO: Object to the
      24    form of the question.                           24   form of the question.
      25              THE WITNESS: I don't know his         25   BY MR. C. PLACITELLA:


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       1       Q. Was it Mr. O'Shaughnessy the one           1             MR. BERNARDO: Object to the
       2    that was in charge?                              2   form of the question.
       3       A. I don't think it's a question of in        3             THE WITNESS: There would not
       4    charge. We all collaborated. As I told you       4   necessarily be evidence that was gathered.
       5    earlier, that I worked with Mr. O'Shaughnessy    5   It was in many times the form of responses
       6    to help direct him to appropriate people.        6   from individual person that might be most
       7       Q. You say "we all collaborated,"             7   knowledgeable. So there was no particular
       8    who's "we all"?                                  8   evidence that related to each question.
       9       A. A lot of different people in the           9   BY MR. C. PLACITELLA:
      10    company.                                        10      Q. Well, you never turned over any
      11       Q. So you don't have any names?              11   evidence in response to discovery?
      12       A. It would depend on the specific           12      A. That was not my role. And as I
      13    questions asked.                                13   said earlier, counsel would have
      14       Q. So you don't remember any of the          14   conversations with the appropriate people.
      15    names?                                          15   And there's -- their answers were based on
      16       A. I can tell you about different            16   their own expertise.
      17    names. They'd be different names at             17      Q. My question is, you're here for --
      18    different times.                                18   as Johnson & Johnson, not Nancy Musco. And
      19       Q. Okay. When the evidence was               19   I'm asking you, Johnson & Johnson, where did
      20    gathered, where was it stored?                  20   you store the evidence that was gathered in
      21              MR. BERNARDO: Object to the           21   order to respond to discovery in talc-related
      22    form of the question.                           22   cases?
      23    BY MR. C. PLACITELLA:                           23             MR. BERNARDO: Object to the
      24       Q. In responding to discovery, where         24   form of the question, already answered.
      25    was the evidence stored?                        25             THE WITNESS: I think it's

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       1    important for you to understand that there's     1   no information that Johnson & Johnson
       2    not necessarily a pile of evidence that goes     2   actually turned over any documentary evidence
       3    with each question.                              3   in any talc-related case?
       4             Those questions are responded           4            MR. BERNARDO: Object to the
       5    to by the person most knowledgeable of that      5   form of the question.
       6    area, which is based on their experience,        6            THE WITNESS: What I was
       7    their expertise, years of it.                    7   responding to were the -- the process that
       8    BY MR. C. PLACITELLA:                            8   we -- how we prepared answers for specific
       9       Q. Listen to my question.                     9   questions and interrogatories. And there's
      10          When evidence was gathered up,            10   no hard evidence to go with each question.
      11    physical evidence, where was it stored within   11   BY MR. C. PLACITELLA:
      12    Johnson & Johnson when it was used to respond   12      Q. Well, was there hard evidence with
      13    to discovery in litigation?                     13   any of the questions that you recall that
      14             MR. BERNARDO: Object to the            14   you've researched?
      15    form of the question, asked and answered        15      A. I don't recall that there were.
      16    twice already.                                  16      Q. Okay. And after the discovery
      17             THE WITNESS: I'm trying to             17   responses were provided, where were those
      18    answer your question that there was not         18   discovery responses stored at Johnson &
      19    evidence or piles of information, papers to     19   Johnson?
      20    go with the responses. Those were based on      20            MR. BERNARDO: Object to the
      21    the individuals' expertise.                     21   form of the question.
      22             This is what they did all the          22            THE WITNESS: Most probably
      23    time.                                           23   with the Complaint file.
      24    BY MR. C. PLACITELLA:                           24   BY MR. C. PLACITELLA:
      25       Q. So, as you sit here today, you have       25      Q. And where was that?


                                                                           15 (Pages 54 to 57)
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       1       A. It could be with the Legal                 1   then be stored after they were made
       2    Department.                                      2   available?
       3       Q. Who was in charge of overseeing the        3      A. They could be stored in different
       4    Complaint file?                                  4   places.
       5              MR. BERNARDO: Object to the            5      Q. Where were they stored?
       6    form of the question.                            6      A. If there was --
       7              THE WITNESS: I would assume it         7            MR. BERNARDO: Object to the
       8    would be, you know, the Legal Department, but    8   form of the question.
       9    I don't know specific person, the files.         9            THE WITNESS: If there were
      10    BY MR. C. PLACITELLA:                           10   documents, they could be stored in a legal --
      11       Q. When Johnson & Johnson -- I just          11   internally in a legal department or maybe
      12    want to be clear, when Johnson & Johnson was    12   with outside counsel.
      13    sued in a talc-related case, is it Johnson &    13   BY MR. C. PLACITELLA:
      14    Johnson's testimony that no physical evidence   14      Q. Okay. Now, did you understand that
      15    was ever gathered and turned over to the        15   Johnson & Johnson was involved -- strike
      16    Plaintiffs in a lawsuit, as far as your         16   that.
      17    research demonstrated?                          17         Am I correct that Johnson & Johnson
      18              MR. BERNARDO: Object, object          18   was sued in talc cases that involved both
      19    to the form of the question and                 19   industrial talc and cosmetic talc?
      20    characterization of her prior testimony.        20      A. Yes.
      21              THE WITNESS: If there had been        21      Q. And you understand that the
      22    specific documents that were requested, they    22   cosmetic and industrial talcs came from the
      23    would be made available, yes.                   23   same mine?
      24    BY MR. C. PLACITELLA:                           24            MR. BERNARDO: Object to the
      25       Q. And where would those documents           25   form of the question.

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       1              THE WITNESS: I know they can           1   form of the question.
       2    come from the same mine, but not necessarily     2            THE WITNESS: I'm here today
       3    the same location.                               3   to -- you know, as said in the notice, to
       4    BY MR. C. PLACITELLA:                            4   talk about cosmetic talk.
       5       Q. So do you understand, for example,         5   BY MR. C. PLACITELLA:
       6    that the talc that was used in Johnson's Baby    6      Q. So the -- what's the answer to my
       7    Powder came from the same mine that              7   question?
       8    industrial talc came from that was sold by       8          You understand that Johnson &
       9    Johnson & Johnson?                               9   Johnson provided discovery responses
      10              MR. BERNARDO: Object to the           10   indicating that the cosmetic and the
      11    form of the question. Again, outside the        11   industrial talc came from the exact same
      12    scope of the notice and what this witness is    12   mine --
      13    being tendered for.                             13            MR. BERNARDO: Object.
      14              But if you know you can answer        14   BY MR. C. PLACITELLA:
      15    in your individual capacity.                    15      Q. -- correct?
      16              THE WITNESS: I can't get into         16            MR. BERNARDO: Object to the
      17    industrial talc, because I'm here to talk       17   form of the question.
      18    about cosmetic talc, as set forth in the        18            If there's a specific response
      19    notice.                                         19   to show the witness, I think that would make
      20    BY MR. C. PLACITELLA:                           20   this process quicker, and easier and more
      21       Q. Well, you understand you provided         21   accurate.
      22    discovery responses that indicate that the      22            MR. C. PLACITELLA: Please
      23    industrial talc and the cosmetic talc came      23   don't, don't do that.
      24    from the exact same source, correct?            24            MR. BERNARDO: Please don't
      25              MR. BERNARDO: Object to the           25   do --

                                                                          16 (Pages 58 to 61)
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       1             MR. C. PLACITELLA: It's not --          1             THE WITNESS: I -- I --
       2             MR. BERNARDO: -- what you're            2             MR. BERNARDO: Object to the
       3    doing.                                           3   form of the question.
       4              MR. C. PLACITELLA: It's not --         4             THE WITNESS: I don't know
       5    it's not proper under our rules. You're here     5   that, no.
       6    under pro hac vice admission. Please don't       6   BY MR. C. PLACITELLA:
       7    do that. Okay?                                   7      Q. Do you -- do you -- have you ever
       8              Your -- your responses are to          8   heard of the Hammondsville mine?
       9    form and for form only.                          9      A. I have heard of it, yes.
      10              MR. BERNARDO: Well --                 10      Q. You understand that that was a
      11              MR. C. PLACITELLA: Otherwise          11   source of talc for Johnson's Baby Powder?
      12    we'll get the judge on the phone and we'll      12      A. I believe so, yes.
      13    deal with you. Okay?                            13      Q. Do you understand that that was
      14              MR. BERNARDO: That's fine.            14   also a source of talc for industrial talc
      15              MR. C. PLACITELLA: All right.         15   sold by Johnson & Johnson?
      16              MR. BERNARDO: But --                  16             MR. BERNARDO: Object to the
      17              MR. C. PLACITELLA: Can you            17   form of the question.
      18    read my question back, please?                  18             THE WITNESS: Again, it may
      19              (At which time the following          19   have been. I'm not the authority on anything
      20    question is read:                               20   about the mines.
      21              "QUESTION: You understand that        21   BY MR. C. PLACITELLA:
      22    Johnson & Johnson provided discovery            22      Q. Okay. Have you ever heard of the
      23    responses indicating that the cosmetic and      23   Johnson mine?
      24    the industrial talc came from the exact same    24      A. Yes, I have.
      25    mine?")                                         25      Q. Do you understand that that was a

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       1    source of cosmetic talc for Johnson's Baby       1   individual capacity, if you know.
       2    Powder?                                          2             THE WITNESS: I don't know.
       3             MR. BERNARDO: Object to the             3             MR. C. PLACITELLA: Can you
       4    form of the question.                            4   give me number 8?
       5             THE WITNESS: I believe so.              5             (Exhibit J&J-8, April 15, 1969
       6    BY MR. C. PLACITELLA:                            6   Memo, is marked for identification.)
       7       Q. Now, you understand that the               7             MR. BERNARDO: Are these marked
       8    possibility that Johnson & Johnson was likely    8   as exhibits already, Chis? Already marked --
       9    to -- was going to be sued over Johnson &        9             MR. C. PLACITELLA: Yeah, I've
      10    Johnson's baby powder dated back to the         10   premarked.
      11    1960s, correct?                                 11             MR. BERNARDO: Okay, great.
      12       A. Could you rephrase --                     12             And what is -- what number is
      13             MR. BERNARDO: Object --                13   this?
      14             THE WITNESS: -- that question?         14             MR. C. PLACITELLA: This is
      15             MR. BERNARDO: Object to the            15   J&J-8.
      16    form of the question.                           16             MR. BERNARDO: Okay.
      17    BY MR. C. PLACITELLA:                           17             MR. C. PLACITELLA: It's an
      18       Q. The possibility of facing lawsuits        18   April 15, 1969 memo on Johnson & Johnson
      19    involving Johnson & Johnson was recognized by   19   stationery from Dr. Thompson.
      20    Johnson & Johnson going back to the 1960s,      20   BY MR. C. PLACITELLA:
      21    correct?                                        21      Q. Do you know who Dr. Thompson was?
      22             MR. BERNARDO: Object to the            22      A. No, I do not.
      23    form of the question, beyond the scope of the   23      Q. You don't know that he was the
      24    notice.                                         24   Medical Director of Johnson & Johnson at any
      25             You can answer in your                 25   point in time?


                                                                           17 (Pages 62 to 65)
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                                               Page 66                                             Page 67
       1       A. Other than I see MD after his name,        1   existence of pulmonary disease is increasing,
       2    I did not know that.                             2   it is not inconceivable that we could become
       3       Q. What about Mr. Ashton, do you know         3   involved in litigation in which pulmonary
       4    who he was?                                      4   fibrosis or other changes might be rightfully
       5       A. I believe he worked for the                5   or wrongfully attributed to inhalation of our
       6    company, yes.                                    6   powder formulations. It might be that
       7       Q. Do you know that he worked for the         7   someone in the Law Department should be
       8    company on talc?                                 8   consulted with regard to the defensibility of
       9       A. I know that.                               9   our position in the event that such a
      10       Q. Do you know he worked on talc             10   situation could ever arise.
      11    lawsuits?                                       11          Is this the first time you ever
      12             MR. BERNARDO: Object to the            12   heard that?
      13    form of the question.                           13              MR. BERNARDO: Object to the
      14             THE WITNESS: I do not know             14   form of the question.
      15    that specifically, no.                          15              THE WITNESS: I have read this
      16    BY MR. C. PLACITELLA:                           16   before.
      17       Q. Do you know that he was known in          17   BY MR. C. PLACITELLA:
      18    the company as Mr. Talc?                        18       Q. You did?
      19       A. No.                                       19       A. Mm-hmm.
      20             MR. BERNARDO: Object to the            20       Q. Okay. And in what context?
      21    form of the -- okay.                            21       A. In my preparation for this
      22    BY MR. C. PLACITELLA:                           22   deposition.
      23       Q. Okay. You go to the second page --        23       Q. Okay. And why did you look at this
      24    where Dr. Thompson writes, Since the usage of   24   in preparation for today's deposition?
      25    these products is so widespread, and the        25       A. Because these are a part of the

                                               Page 68                                             Page 69
       1    documents concerning the content of asbestos.    1   insurers?
       2       Q. Okay. And do you know how long             2             MR. BERNARDO: Object to the
       3    after Dr. Thompson predicted that Johnson &      3   form of the question.
       4    Johnson would be sued in a baby powder case      4             Chris, we're just getting so
       5    or a talc case Johnson & Johnson was actually    5   beyond the scope of the notice. You know,
       6    sued for the first time?                         6   maybe we talk at a break, because maybe we do
       7              MR. BERNARDO: Object to the            7   need to get Judge Viscomi on the phone --
       8    form of the question.                            8             MR. C. PLACITELLA: Sure.
       9              THE WITNESS: No, I do not.             9             MR. BERNARDO. This deposition
      10    BY MR. C. PLACITELLA:                           10   is not about legal duties, legal holds. This
      11       Q. Okay. Do you understand that when         11   deposition, as we understood it, is about
      12    Johnson & Johnson is sued over a product that   12   written responses to discovery. And this
      13    it manufactures that it's put on notice that    13   witness is being tendered for that. I'm
      14    people were making complaints in a court of     14   allowing her if she knows the answers in her
      15    law that they believe they were injured from    15   individual capacity. But I just want to make
      16    those products?                                 16   it very clear, we are not designating her as
      17              MR. BERNARDO: Object to the           17   the corporate representative on these topics.
      18    form of the question.                           18             MR. C. PLACITELLA: Well,
      19              THE WITNESS: I believe that's         19   actually, when we were in the judge's
      20    the process, yes.                               20   chambers and Mr. Guard (phonetic) was there,
      21    BY MR. C. PLACITELLA:                           21   the judge specifically told Mr. Guard, he
      22       Q. Okay. When that happened do you           22   saw -- she saw this deposition as relevant to
      23    know whether there was a reporting              23   the issue of spoliation, in addition to the
      24    requirement for Johnson & Johnson to provide    24   notice. So... And we're going to talk about
      25    that information to its auditors or its         25   that.


                                                                           18 (Pages 66 to 69)
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                                               Page 70                                             Page 71
       1              MR. BERNARDO: Okay. We will.           1   think we ought to discuss this off the
       2              MR. C. PLACITELLA: Okay.               2   record --
       3    BY MR. C. PLACITELLA:                            3            MR. C. PLACITELLA: Mm-hmm.
       4       Q. So when is the first discovery             4            MR. BERNARDO: -- so we can
       5    response, what year was that from that you       5   have some understanding here.
       6    reviewed in preparing for today's deposition?    6            MR. C. PLACITELLA: Why don't
       7       A. I don't recall the exact years.            7   we mark this. Do you have an extra copy?
       8       Q. Well, do you have them with you?           8            MR. BERNARDO: Can probably get
       9       A. Yes, we have -- I -- I had asked           9   something copied at a break.
      10    counsel to do a chart so that I could           10            MR. C. PLACITELLA: Sure.
      11    remember, but I don't have it in front of me    11             (Exhibit P-2, Chart, is marked
      12    right now.                                      12   for identification.)
      13       Q. Okay.                                     13            MR. C. PLACITELLA: I'll put it
      14              MR. C. PLACITELLA: Can -- do          14   over here. Can you switch this to Elmo?
      15    we have the chart and I --                      15            THE VIDEOTAPE OPERATOR: Yes.
      16              MR. BERNARDO: Yeah.                   16   Stand by.
      17              MR. C. PLACITELLA: -- can take        17   BY MR. C. PLACITELLA:
      18    a look at it.                                   18      Q. So --
      19              MR. BERNARDO: And, Chris,             19             MR. BERNARDO: I'm sorry. What
      20    when -- I don't want to interrupt your          20   number is this marked as?
      21    questioning, but we've been going for about     21            THE COURT REPORTER: P-2.
      22    an hour. When you're at a breaking point,       22            MR. C. PLACITELLA: This is
      23    just let us know.                               23   marked P-2. It was just handed to me by
      24              MR. C. PLACITELLA: Mm-hmm.            24   counsel.
      25              MR. BERNARDO: Because I also          25   BY MR. C. PLACITELLA:

                                               Page 72                                             Page 73
       1       Q. Can you tell me what this is and           1   that you found of a lawsuit involving talc or
       2    why it was prepared?                             2   Johnson's Baby Powder?
       3       A. I had asked counsel to prepare this        3             MR. BERNARDO: Object to the
       4    for me, just to really satisfy my curiosity      4   form of the question.
       5    of the cases that you had cited in your          5             THE WITNESS: These were all
       6    notice.                                          6   lawsuits.
       7       Q. When you say "curiosity," what were        7             I actually was able to review
       8    you curious about?                               8   interrogatories for both Shelby and then
       9       A. I wanted to know specifically what         9   there's a second page of Krushinski.
      10    the injuries were that were alleged in these    10   BY MR. C. PLACITELLA:
      11    Complaints, similar to what I would do when I   11      Q. That wasn't my question.
      12    worked at the company.                          12         My question is, what is the first
      13       Q. Okay. And the first record you            13   record that you found concerning a -- or that
      14    found of a Complaint involving baby powder      14   you reviewed in terms of date or a year of a
      15    was the Gambino case in 1983?                   15   lawsuit involving talc sold by Johnson &
      16              MR. BERNARDO: Object to the           16   Johnson?
      17    form of the question.                           17         Is it 1983?
      18              THE WITNESS: No, these --             18             MR. BERNARDO: Object to the
      19              MR. BERNARDO: Characterization        19   form of the question.
      20    of her prior testimony.                         20             THE WITNESS: Well, that's the
      21              THE WITNESS: These were the           21   year, that first year that's mentioned here,
      22    list of the Complaints that you had mentioned   22   yes.
      23    in your notice.                                 23   BY MR. C. PLACITELLA:
      24    BY MR. C. PLACITELLA:                           24      Q. So the answer is yes?
      25       Q. Well, what was the first record           25             MR. BERNARDO: Object to the

                                                                          19 (Pages 70 to 73)
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       1    form of the question.                            1   BY MR. C. PLACITELLA:
       2               THE WITNESS: Yes, it would be         2       Q. And you see that the first, the
       3    1983.                                            3   first date here is, at least on this exhibit,
       4               MR. C. PLACITELLA: Okay. So           4   is 2/10/1971; do you see that?
       5    can you...                                       5             MR. BERNARDO: Can you see it
       6               (Exhibit J&J-486, Privilege           6   on there?
       7    log, is marked for identification.)              7             THE WITNESS: I see that it's
       8    BY MR. C. PLACITELLA:                            8   highlighted here.
       9        Q. Now, I'm going to show you what's         9   BY MR. C. PLACITELLA:
      10    been marked Johnson & Johnson-486. I'll give    10       Q. And the description says,
      11    it to your attorney first.                      11   Attachment to letter from counsel to client
      12               MR. BERNARDO: And I'll object        12   regarding talc samples in connection with
      13    to this and state that this witness is not      13   ongoing and anticipated litigation.
      14    being tendered to testify as to what I          14          Do you see that?
      15    believe is a privilege log.                     15       A. I see that's highlighted here.
      16               BY MR. C. PLACITELLA: Right.         16       Q. Do you see -- do you see on the
      17               And I'm going to tell you which      17   next one there's another entry, 4/9/1971, and
      18    I -- this is -- this is the privilege log, an   18   it talks about, Attachment by counsel
      19    excerpt from the privilege log supplied by      19   pursuant to pending and anticipated
      20    Johnson & Johnson in these cases. And what      20   litigation regarding Johnson's Baby Powder.
      21    we did is we sorted it by date involving        21          Do you see that?
      22    lawsuits related to baby powder.                22             MR. BERNARDO: Object to the
      23    BY MR. C. PLACITELLA:                           23   form of the question.
      24        Q. Can you take a look at that?             24             THE WITNESS: I see those
      25               MR. BERNARDO: Same objection.        25   words. I can't see the date.

                                              Page 76                                              Page 77
       1    BY MR. C. PLACITELLA:                            1   Johnson & Johnson involving baby powder from
       2       Q. Well, the date is over here,               2   1971?
       3    4/9/71. See it?                                  3             MR. BERNARDO: Object to the
       4       A. Okay.                                      4   form of the question.
       5       Q. Okay. And did you know that                5             THE WITNESS: My understanding
       6    Johnson & Johnson was sued over baby powder      6   was that I was here today to talk about the
       7    in 1971?                                         7   specific things in your notice. And I
       8              MR. BERNARDO: Object to the            8   prepared my chart because of the specific
       9    form of the question. Again, outside the         9   cases that you have.
      10    scope of the notice and not tendering --        10   BY MR. C. PLACITELLA:
      11    outside the scope of the notice and not         11      Q. No, ma'am, that's not what you are
      12    tendering this witness for this topic, this     12   here to talk about.
      13    corporate representative.                       13         You are here to talk about, the
      14              THE WITNESS: I don't know what        14   corporate representative concerning the
      15    this is. You said something about               15   discovery responses historically provided by
      16    privileged. I don't even know what that         16   Johnson & Johnson concerning the asbestos
      17    means. So I don't know what I'm looking at.     17   content of talc, Johnson's Baby Powder or
      18    BY MR. C. PLACITELLA:                           18   Shower to Shower.
      19       Q. It means that these are documents         19         Do you see that?
      20    that your lawyer withheld from production,      20      A. Yes, I see that.
      21    because they say that they are privileged.      21      Q. Historical responses mean, as long
      22    But they are -- the log itself is still         22   as you've been sued. There's not any
      23    evidential that the cases took place.           23   limitation by the number of the cases that I
      24           Did you ever -- were you ever            24   set forth and I knew about.
      25    provided any files from lawsuits against        25         You understand that, right?


                                                                           20 (Pages 74 to 77)
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       1              MR. BERNARDO: Object to the            1   files, lawsuit files concerning baby powder
       2    form of the question.                            2   from 1971, correct?
       3              THE WITNESS: You're saying             3      A. I did not specifically review any
       4    that there's no limitation.                      4   of those, no.
       5    BY MR. C. PLACITELLA:                            5      Q. They were not provided to you?
       6      Q. Right.                                      6             MR. BERNARDO: Object to the
       7          So what you did, is the only thing         7   form of the question.
       8    that you did to prepare for today's              8             THE WITNESS: That's correct.
       9    deposition is to look at information that I      9   BY MR. C. PLACITELLA:
      10    asked you to bring with you, correct?           10      Q. All right. Where are those records
      11      A. No.                                        11   from 1971?
      12              MR. BERNARDO: Object to the           12             MR. BERNARDO: Object to the
      13    form of the question.                           13   form of the question.
      14              THE WITNESS: That's -- that's         14             THE WITNESS: I do not know.
      15    incorrect, that's not all I did.                15   BY MR. C. PLACITELLA:
      16    BY MR. C. PLACITELLA:                           16      Q. Okay. Well, I'm not asking you,
      17      Q. Okay.                                      17   I'm asking Johnson & Johnson.
      18      A. I told you earlier, you know, the          18          Johnson & Johnson, where are the
      19    depositions, the testimonies that I reviewed,   19   records from the lawsuits from 1971 involving
      20    my conversations for almost an hour with        20   Johnson's Baby Powder, where are they?
      21    Dr. Hopkins. Most importantly, to reassure      21             MR. BERNARDO: Object to the
      22    myself that he has seen everything that has     22   form of the question.
      23    been provided and that there was nothing new    23             THE WITNESS: I do not know.
      24    that the company has not seen.                  24   They could be in different places.
      25      Q. Okay. Well, no one showed you any          25   BY MR. C. PLACITELLA:

                                               Page 80                                              Page 81
       1       Q. Like where?                                1   form of the question.
       2       A. If -- they could be with their             2             THE WITNESS: I see that
       3    outside counsel files. If there were actual      3   this is here. I can't tell you where
       4    discoveries even filed for any of these, I --    4   these -- these files were specifically,
       5    I don't know.                                    5   because I did not come prepared to speak
       6       Q. Let's go down to 1972. Do you see          6   about these.
       7    there's an entry for 1972 concerning pending     7   BY MR. C. PLACITELLA:
       8    and anticipated litigation?                      8      Q. Well, you are here to talk about
       9       A. I see that. It says that, yes.             9   the historical discovery responses. How do
      10              MR. BERNARDO: Object to the           10   you know whether there were historical
      11    form of the question.                           11   discovery responses if you never looked at
      12    BY MR. C. PLACITELLA:                           12   the files?
      13       Q. Where are the file -- the lawsuit         13      A. Well, what I did do is speak to one
      14    files related to Johnson & Johnson from 1972?   14   of the people that is involved in doing
      15              MR. BERNARDO: Object to the           15   searches for us to make sure that we had
      16    form of the question.                           16   everything available. And this is -- there
      17              THE WITNESS: My answer would          17   were no discovery responses in these cases.
      18    be the same.                                    18   I'm not prepared to speak about them.
      19    BY MR. C. PLACITELLA:                           19      Q. How do you know there were no
      20       Q. What about, do you see where it           20   discovery responses in these cases?
      21    says that you were sued in 1973 and that a      21      A. I'm -- I believe that we're here
      22    memorandum was prepared concerning Johnson's    22   today to talk about the specific scope. And
      23    Baby Powder regulatory matters in 1973; where   23   I guess we're interpreting it different. It
      24    are those files?                                24   sounds to be like we are.
      25              MR. BERNARDO: Object to the           25      Q. So what about 1974, do you see that

                                                                           21 (Pages 78 to 81)
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       1    Johnson & Johnson was sued in talc cases in     1      Q. Okay. And you see where it talks
       2    1974, according to their own responses?         2   about pending litigation?
       3      A. That's what it says there, yes.            3      A. I can't see it.
       4      Q. Okay. And you see, if you turn it          4      Q. Sorry.
       5    over, they were sued in 1976?                   5      A. I see that --
       6      A. I see those dates, yes.                    6      Q. See that?
       7      Q. Okay. You see they were sued in            7      A. -- what it says, yes.
       8    1977?                                           8      Q. And it talks about a case called
       9      A. Again, I see those dates.                  9   Westfall; do you see that?
      10      Q. You see that they were sued in            10      A. Yes, I see that.
      11    1978?                                          11      Q. What do you know about the Westfall
      12      A. I see that, yes.                          12   case?
      13      Q. Okay. Do you see that they were           13      A. I believe that had to do with
      14    sued in baby powder litigation in 1979?        14   industrial talc.
      15             MR. BERNARDO: Object to the           15      Q. Okay. Did you review the files
      16    form of the question.                          16   related to the Westfall case?
      17             THE WITNESS: I see all this,          17      A. I -- I -- vaguely familiar with it
      18    yes.                                           18   when I saw that it had to deal with
      19    BY MR. C. PLACITELLA:                          19   industrial talc. I didn't feel that that was
      20      Q. Okay. And I'll ask you during the         20   within the scope of this.
      21    break to look at this -- well, let me just     21      Q. Did you know that the Westfall case
      22    ask you about some specific cases.             22   involved talc from the mines that you say
      23          Listed here in this log is 1981; do      23   were used in baby powder?
      24    you see that?                                  24             MR. BERNARDO: Object to the
      25      A. I see what you highlighted, yes.          25   form of the question and the characterization

                                              Page 84                                              Page 85
       1    of prior testimony.                             1            THE WITNESS: No, I think it's
       2              THE WITNESS: As I said, I -- I        2   important that this was about industrial
       3    am not an authority on what mines were used.    3   talc. And that was not my interpretation of
       4              Well, I do know specifically          4   the notice today.
       5    the cosmetic talc used in Johnson's Baby        5   BY MR. C. PLACITELLA:
       6    Powder does not contain asbestos.               6      Q. Did you skip the Westfall case
       7    BY MR. C. PLACITELLA:                           7   because you, Johnson & Johnson, knew that
       8       Q. What was my question?                     8   there was proof in that case that there was
       9       A. You would have to repeat that back        9   asbestos in the mine owned by Johnson &
      10    to me.                                         10   Johnson?
      11       Q. Do you have any idea what my             11            MR. BERNARDO: Object to the
      12    question was?                                  12   form of the question.
      13       A. You asked me if I was familiar with      13            THE WITNESS: No, I did not.
      14    Westfall.                                      14   BY MR. C. PLACITELLA:
      15       Q. What's that got to do with whether       15      Q. You knew that, though, right?
      16    it has asbestos?                               16            MR. BERNARDO: Objection.
      17          Was that my question?                    17   BY MR. C. PLACITELLA:
      18              MR. BERNARDO: Object to the          18      Q. You knew that the mine that was
      19    form of the question.                          19   owned by Johnson & Johnson that was the issue
      20    BY MR. C. PLACITELLA:                          20   in the Westfall case had asbestos in it,
      21       Q. Or were you just, you know, wound        21   right?
      22    up and going to just give a response?          22            MR. BERNARDO: Object to the
      23              MR. BERNARDO: Object to the          23   form of the question.
      24    form of the question, that's completely        24   BY MR. C. PLACITELLA:
      25    inappropriate.                                 25      Q. You knew that?


                                                                          22 (Pages 82 to 85)
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       1          You, Johnson & Johnson knew that?          1   familiar with the dates, no.
       2       A. No, I did not. I did not go into           2   BY MR. C. PLACITELLA:
       3    detail with this, because it was industrial      3      Q. Okay. And you don't any of the
       4    talc.                                            4   records and did not review any of the records
       5       Q. Okay. What about the next page,            5   related to any of the cases on this privilege
       6    from 1982 the Joly case?                         6   log, other than what is marked on P-2?
       7          What do you know about the Joly            7            MR. BERNARDO: Object to the
       8    case?                                            8   form of the question.
       9       A. I don't know anything about it.            9   BY MR. C. PLACITELLA:
      10       Q. You're sure about that?                   10      Q. Is that fair?
      11       A. This is the first I'm seeing it.          11      A. Yes.
      12       Q. You're sure about that?                   12      Q. And other than the records, the
      13       A. I don't recollect anything on this,       13   cases that are marked or set forth in P-2,
      14    no.                                             14   you have no idea whatsoever, that is you,
      15       Q. So you did not review any records         15   Johnson & Johnson, where the records are
      16    concerning the Joly case?                       16   related to the lawsuits filed against
      17       A. It's not familiar to me, no.              17   Johnson & Johnson from 1971 until 2010 --
      18       Q. So before coming here today, were         18            MR. BERNARDO: Object to the --
      19    you aware that Johnson & Johnson was sued in    19   BY MR. C. PLACITELLA:
      20    a talc case, according to their own privilege   20      Q. -- correct?
      21    log from 1971 until 2010, each and every        21            MR. BERNARDO: Object to the
      22    year, except 1975?                              22   form of the question. Beyond the scope of
      23              MR. BERNARDO: Object to the           23   the notice.
      24    form of the question.                           24            You can answer in your
      25              THE WITNESS: No, I'm not              25   individual capacity if you know.

                                               Page 88                                              Page 89
       1              THE WITNESS: I don't know.             1             THE VIDEOTAPE OPERATOR: The
       2    BY MR. C. PLACITELLA:                            2   time is 11:20 a m. We're off the record.
       3       Q. And you have no idea what discovery        3             (Brief recess.)
       4    responses were proffered by Johnson & Johnson    4             THE VIDEOTAPE OPERATOR: Time
       5    in any of the lawsuits that are referenced in    5   is 11:42 a m. We are on the record.
       6    the log marked P-487 [verbatim]?                 6             MR. C. PLACITELLA: Okay, thank
       7              MR. BERNARDO: Object to the            7   you.
       8    form of the question.                            8   BY MR. C. PLACITELLA:
       9              THE WITNESS: Is that large             9      Q. I have to ask the question. I hope
      10    thing 487?                                      10   I know the answer.
      11    BY MR. C. PLACITELLA:                           11         Am I fair to -- is it fair to
      12       Q. Yes.                                      12   assume you didn't discuss your deposition
      13       A. This is the first I've seen this.         13   during the break?
      14       Q. So in preparing for today's               14      A. We did not.
      15    deposition, your attorneys never provided you   15      Q. Okay. Good.
      16    any records related to discovery responses      16         You said before you spoke to Pamela
      17    from any case on this exhibit, other than       17   Downs and she did the search.
      18    what you have marked here as P-2; is that       18         What exactly did she search?
      19    fair?                                           19      A. My understanding is that she
      20              MR. BERNARDO: Object to the           20   search -- searched, excuse me, for the
      21    form of the question.                           21   documents that you have listed in the second
      22              THE WITNESS: As I said, this          22   part of the deposition -- of the notice that
      23    is the first I had seen this document.          23   you had served us.
      24              MR. C. PLACITELLA: Okay. Why          24      Q. Okay. And what did, what did she
      25    don't we take a break now.                      25   use to search; was it a computer, was it a


                                                                           23 (Pages 86 to 89)
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       1    database, what?                                  1   BY MR. C. PLACITELLA:
       2       A. She used search terms. I know that         2      Q. But she didn't search for all
       3    she searched by name. She searched by --         3   historical discovery responses in talc cases
       4    excuse me, she searched by product.              4   that were provided by Johnson & Johnson, I
       5       Q. So she -- when she conducted her           5   take it?
       6    search, she didn't look at all lawsuits          6      A. That's my understanding.
       7    historically that Johnson & Johnson was          7      Q. And she certainly didn't search for
       8    involved with concerning talc, only the          8   any of the cases that are set forth in this
       9    lawsuits that were mentioned on P-1; is that     9   log, 486, other than what's on your list,
      10    fair?                                           10   correct?
      11       A. My understanding is that she did          11      A. I don't believe so, no.
      12    the search for the documents that you           12      Q. Where would the information be
      13    requested.                                      13   stored for the lawsuits that were set forth
      14       Q. Okay. So in your preparing                14   on the log, 486?
      15    information concerning historical discovery     15      A. They could be in various places. I
      16    responses, you never went beyond the specific   16   don't know specifically where they would be.
      17    cases that we were aware of and that were       17      Q. Well, is it in the Legal
      18    listed on P-1 correct?                          18   Department?
      19              MR. BERNARDO: Object to the           19      A. Some of it could be in the Legal
      20    form of the question.                           20   Departments if -- if there were any documents
      21              THE WITNESS: My concentration         21   associated with it. And they also could be
      22    was on what is listed in the first part of      22   in outside counsels.
      23    your notice. And we ensured that Miss Downs     23      Q. Well, we know that there were
      24    had searched for everything that was involved   24   documents associated with it, right? Because
      25    in part 2. Excuse me.                           25   they actually list the documents. So, for

                                               Page 92                                             Page 93
       1    example, you know, in this first entry, the      1   comment on any of this.
       2    first two entries, it lists documents. So        2   BY MR. C. PLACITELLA:
       3    they know that there were documents in the       3       Q. Regarding Johnson's Baby Powder
       4    Legal Department, correct?                       4   litigation, right?
       5               MR. BERNARDO: Object, object          5       A. That's what it says, yes.
       6    to the form of the question.                     6       Q. So according to this, there were
       7               THE WITNESS: As I told you            7   documents apparently in the department, in
       8    earlier, this is the first time I've seen        8   the Legal Department related to a case file
       9    this. It says Privilege Description. I           9   in 1971 --
      10    don't know really what that means. Does it      10             MR. BERNARDO: Object.
      11    mean they're documents or not? I don't know.    11   BY MR. C. PLACITELLA:
      12    BY MR. C. PLACITELLA:                           12       Q. -- correct?
      13       Q. Well, let's just look at it. It           13             MR. BERNARDO: Object to the
      14    says, Attachment prepared by counsel.           14   form of the question.
      15           Attachment is not an apple or an         15             THE WITNESS: You're reading
      16    orange, right?                                  16   what it says here.
      17           It's a piece of paper, right?            17   BY MR. C. PLACITELLA:
      18       A. It says attachment here, yes.             18       Q. And, for example, the very first
      19       Q. All right. Pursuant to pending and        19   entry on here talks about letters concerning
      20    anticipated litigation.                         20   samples in connection with ongoing and
      21           You understand that means current        21   anticipated litigation; do you see that?
      22    cases and cases in the future?                  22       A. That's what it says, yes.
      23               MR. BERNARDO: Object to the          23       Q. Well, what -- who had -- who
      24    form of the question.                           24   retained talc samples related to litigation,
      25               THE WITNESS: Again, I can't          25   to your knowledge?

                                                                           24 (Pages 90 to 93)
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       1              MR. BERNARDO: Object to the            1   cannot answer on any of these cases. I'm not
       2    form of the question.                            2   familiar.
       3    BY MR. C. PLACITELLA:                            3   BY MR. C. PLACITELLA:
       4        Q. Is that the Legal Department?             4      Q. Now, in your preparation and in the
       5        A. I don't know. I don't -- I can't          5   knowledge of Johnson & Johnson, do you have a
       6    comment on this today.                           6   record or any information of a single case
       7        Q. Well, what does J&J know about talc       7   where Johnson & Johnson turned over asbestos
       8    samples that were involved in litigation as      8   testing data prior to 2017?
       9    set forth in their own privilege log?            9             MR. BERNARDO: Object to the
      10              MR. BERNARDO: Object to the           10   form of the question.
      11    form of the question. Beyond the scope of       11             THE WITNESS: Could you repeat
      12    the notice.                                     12   that question?
      13              You can answer in your                13   BY MR. C. PLACITELLA:
      14    individual capacity, if you know.               14      Q. Yes, ma'am.
      15              THE WITNESS: I can't answer           15         Am I correct -- well, strike that.
      16    that.                                           16         Do you have any evidence that
      17    BY MR. C. PLACITELLA:                           17   Johnson & Johnson turned over in a lawsuit
      18        Q. So in preparing historical -- to be      18   involving talc testing data related to
      19    here today to talk about historical discovery   19   asbestos and talc prior to 2017?
      20    responses, you have no information whatsoever   20      A. If it was requested, Johnson &
      21    about samples that were part of the             21   Johnson would have turned it over.
      22    litigation discovery process, correct?          22      Q. When does your research -- or when
      23              MR. BERNARDO: Object, object          23   does Johnson & Johnson maintain is the first
      24    to the form of the question.                    24   time that it turned over testing data
      25              THE WITNESS: I -- again, I            25   concerning asbestos in Johnson & Johnson talc

                                               Page 96                                              Page 97
       1    in litigation?                                   1   form of the question.
       2           When is the first time that               2   BY MR. C. PLACITELLA:
       3    happened?                                        3      Q. You saw that, right?
       4       A. I -- again, it would be whenever it        4      A. I don't know this, no.
       5    was requested.                                   5      Q. Okay. That would be wrong,
       6       Q. But from your knowledge, so you            6   wouldn't you say?
       7    believe that the first time it was requested     7             MR. BERNARDO: Object to the
       8    it was turned over?                              8   form of the question.
       9              MR. BERNARDO: Object to the            9             THE WITNESS: I can't -- I
      10    form of the question.                           10   can't comment on that.
      11              THE WITNESS: If there were            11   BY MR. C. PLACITELLA:
      12    specific documents requested, they would have   12      Q. I mean, that would be a wrong thing
      13    been. I -- we're talking generally so I         13   to do if you had testing data concerning
      14    don't know the answer to this.                  14   asbestos in a talc and you withheld it and
      15    BY MR. C. PLACITELLA:                           15   asserted privilege as a -- as a reason for
      16       Q. Well, you know, for example, when         16   not turning it over, correct?
      17    lawyers in cases involving cancer and baby      17             MR. BERNARDO: Object, object
      18    powder ask for testing data, Johnson &          18   to the form of the question.
      19    Johnson took the position that they weren't     19             THE WITNESS: If Johnson &
      20    going to turn it over because it was            20   Johnson knew that anything about any of its
      21    privileged.                                     21   products were dangerous, they would take
      22              MR. BERNARDO: Object.                 22   steps to correct that.
      23    BY MR. C. PLACITELLA:                           23   BY MR. C. PLACITELLA:
      24       Q. You know that, right?                     24      Q. Ma'am, that wasn't my question.
      25              MR. BERNARDO: Object to the           25         My question was, if you had

                                                                           25 (Pages 94 to 97)
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       1    information in your possession, that's you,      1   wrong or right?
       2    Johnson & Johnson, concerning testing data on    2             MR. BERNARDO: Object to the
       3    asbestos and talc that was requested in a        3   form of the question.
       4    lawsuit, it would be wrong not to turn that      4             THE WITNESS: No, I'm not
       5    over, correct?                                   5   saying that.
       6               MR. BERNARDO: Object to the           6             I'm just saying that if there
       7    form of the question.                            7   had been a legal decision as to why some
       8               THE WITNESS: I just have to           8   evidence or whatever you're asking for was
       9    say, if it were requested they would turn        9   not given, I -- I can't even comment on that.
      10    over whatever was appropriate.                  10   All I can say is that if there was ever
      11    BY MR. C. PLACITELLA:                           11   anything concrete and scientific saying that
      12       Q. Right.                                    12   any product was unsafe, Johnson & Johnson
      13           And if they didn't turn it over,         13   would not hide that.
      14    that would be wrong, correct?                   14   BY MR. C. PLACITELLA:
      15               MR. BERNARDO: Object to the          15      Q. When you say "concrete and
      16    form of the question.                           16   scientific," what do you mean by that?
      17               THE WITNESS: I can't say wrong       17      A. I mean that scientific evidence
      18    or right, or whatever legal basis there would   18   that had been peer reviewed, that had been
      19    be. So I can't comment on that.                 19   researched, Johnson & Johnson would take
      20    BY MR. C. PLACITELLA:                           20   steps to do something about the products.
      21       Q. Okay. You, Johnson & Johnson,             21      Q. When you say peer review, what do
      22    can't testify or attest to whether it would     22   you mean by that?
      23    be wrong or right to turn over asbestos         23      A. Peer reviewed means that the -- the
      24    testing data if requested in a lawsuit;         24   particular expertise have reviewed a
      25    Johnson & Johnson doesn't know if that's        25   particular medical journal or whatever it

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       1    has -- whatever it is and made comments on       1             You can answer in your
       2    it.                                              2   individual capacity --
       3        Q. So unless -- so if you have               3            MR. C. PLACITELLA: Is that an
       4    evidence in your possession about asbestos in    4   objection to form?
       5    baby powder, you're saying you don't have to     5            MR. BERNARDO: I'm -- given the
       6    turn it over unless it's commented on or         6   way you're conducting this deposition,
       7    reviewed by a medical journal?                   7   Mr. Placitella, I think I'm entitled to point
       8              MR. BERNARDO: Object to the            8   out that your questions are well beyond the
       9    form of the question.                            9   scope, and clarify the extent to which we are
      10    BY MR. C. PLACITELLA:                           10   tendering this witness as a corporate
      11        Q. Is that what you're saying?              11   representative. So it is beyond form, but I
      12              MR. BERNARDO: Object to the           12   think --
      13    form of the question.                           13             MR. C. PLACITELLA: Okay.
      14              THE WITNESS: That's not what I        14            MR. BERNARDO: -- it's
      15    said.                                           15   appropriate under the circumstances.
      16    BY MR. C. PLACITELLA:                           16   BY MR. C. PLACITELLA:
      17        Q. All right. So what I'm asking you,       17      Q. You understand that you're here to
      18    if you have evidence in your possession         18   talk about the historical discovery responses
      19    related to testing of asbestos in baby          19   provided by Johnson & Johnson, correct?
      20    powder, what was your obligation in             20      A. My --
      21    litigation to turn that over?                   21      Q. In lawsuits, correct?
      22              MR. BERNARDO: Object to the           22      A. My understanding is that I'm here
      23    form of the question. She's not here in the     23   today to talk about -- or the way that I have
      24    capacity as a lawyer. She's not -- this is      24   interpreted the notice to be, which there
      25    not within the scope of the notice.             25   seems to be some disagreement with.

                                                                         26 (Pages 98 to 101)
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       1           So it's specifically discovery            1   comment. I'm asking you, Johnson & Johnson.
       2    responses concerning the asbestos content of     2          Johnson & Johnson does not know
       3    talc, Johnson & Johnson's Baby Powder, Shower    3   whether it turned over asbestos testing
       4    to Shower.                                       4   evidence in lawsuits when requested?
       5       Q. Correct.                                   5          Johnson & Johnson doesn't know
       6           So if Johnson & Johnson had               6   that?
       7    information in its possession concerning         7      A. I'm representing Johnson & Johnson,
       8    asbestos content in baby powder, it would        8   yes. Because Johnson & Johnson is a company,
       9    have been wrong to not turn that over in a       9   not a person. But it is not -- I do not know
      10    lawsuit, correct?                               10   this, yes.
      11              MR. BERNARDO: Object to the           11      Q. So Johnson & Johnson does not know?
      12    form of the question.                           12             MR. BERNARDO: Object to the
      13              THE WITNESS: Again, I -- I            13   form of the question, beyond the scope of the
      14    feel comfortable that Johnson & Johnson has     14   notice.
      15    turned over everything that has been            15             THE WITNESS: This is not what
      16    requested.                                      16   I was prepared to speak about today.
      17    BY MR. C. PLACITELLA:                           17   BY MR. C. PLACITELLA:
      18       Q. Every time it was asked for?              18      Q. You are here to talk about the
      19              MR. BERNARDO: Object to the           19   historical responses. And I'm saying,
      20    form of the question.                           20   historically, you don't know whether
      21              THE WITNESS: I can't comment          21   Johnson & Johnson has actually turned over
      22    on other cases, on other notices or anything.   22   the evidence and when is the first time it
      23    I don't know anything about that.               23   turned over the evidence?
      24    BY MR. C. PLACITELLA:                           24      A. No, I do not know.
      25       Q. Okay. I'm not asking you to               25      Q. So Johnson & Johnson has no idea

                                             Page 104                                             Page 105
       1    when the first time it turned over in the        1          Does Johnson & Johnson know
       2    context of a lawsuit asbestos testing            2   anything about the Joly case?
       3    evidence, correct?                               3              MR. BERNARDO: Object to the
       4              MR. BERNARDO: Object, object           4   form of the question.
       5    to the form of the question. This witness is     5              THE WITNESS: I'm not here
       6    not being tendered to address this.              6   today to prepare to speak about the Joly
       7              And she can answer in her              7   case.
       8    individual capacity, if she knows.               8   BY MR. C. PLACITELLA:
       9              THE WITNESS: I do not know.            9      Q. What about the Yuhas case, did you
      10    BY MR. C. PLACITELLA:                           10   ever hear of that?
      11       Q. What do you know about the Joly           11      A. No, I did not.
      12    case?                                           12      Q. Does Johnson & Johnson know
      13       A. I told you earlier, I'm not               13   anything about the Edley case?
      14    familiar with that case.                        14      A. I'm not familiar with the cases
      15       Q. You're certain?                           15   that you're citing now.
      16       A. I don't remember it.                      16      Q. You do know something about the
      17       Q. You have no personal involvement in       17   Gambino case?
      18    the case?                                       18      A. I've heard of the name, yes.
      19       A. I didn't say that. I don't                19      Q. What do you know about the Gambino
      20    remember. It's been, what? Ten years, at        20   case?
      21    least, that I've been out of the company. So    21      A. That is one of the ones that was
      22    I -- and what year is this? I don't even        22   listed, which you requested documents, but
      23    know.                                           23   I -- that's why I had asked for that chart,
      24       Q. Well, you're here to talk about --        24   to refresh myself, because the top of my
      25    you're Johnson & Johnson.                       25   head, I don't remember what Gambino was.

                                                                       27 (Pages 102 to 105)
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       1       Q. Well, where are the records related        1      Q. What did you review in connection
       2    to the Gambino case?                             2   with the Gambino case?
       3              MR. BERNARDO: Object to the            3      A. As I said, I just reviewed the
       4    form of the question.                            4   Complaint and that was all that was
       5              THE WITNESS: If there were any         5   available.
       6    records, they -- they would have been            6      Q. Okay. So do you know what the
       7    provided to you as requested.                    7   source of the talc was that was at issue in
       8    BY MR. C. PLACITELLA:                            8   the Gambino case?
       9       Q. Well, did you review records               9            MR. BERNARDO: Object to the
      10    related to the Gambino case?                    10   form of the question.
      11       A. I did review the Complaint, that's,       11            THE WITNESS: I'm not familiar
      12    again, why, you know, the composite and the     12   with the sources of the talc for each
      13    chart so I could just remember. I wanted to     13   specific case, no.
      14    know what the Complaint was.                    14   BY MR. C. PLACITELLA:
      15       Q. So other than the Gambino                 15      Q. What happened to the plaintiff in
      16    Complaint, you didn't review anything else as   16   the Gambino case?
      17    related to the Gambino case in order to         17         What happened to that case?
      18    testify here today?                             18            MR. BERNARDO: Object to the
      19              MR. BERNARDO: Object to the           19   form of the question.
      20    form of the question.                           20            THE WITNESS: I don't remember.
      21    BY MR. C. PLACITELLA:                           21   BY MR. C. PLACITELLA:
      22       Q. Correct?                                  22      Q. Were the records from the Gambino
      23       A. I reviewed the documents for              23   case when the case was over preserved?
      24    which -- or the cases for which there were      24            MR. BERNARDO: Object to the
      25    documents and discovery responses, yes.         25   form of the -- object to the form of the

                                             Page 108                                            Page 109
       1    question.                                        1   with the Selby case?
       2             THE WITNESS: If there were              2      A. If there were any discovery
       3    records for when a case was over, I would        3   responses for Selby.
       4    have to believe that they were preserved,        4      Q. And what -- what is it -- what do
       5    yes.                                             5   you remember of -- from the discovery
       6    BY MR. C. PLACITELLA:                            6   responses?
       7       Q. Okay. Where?                               7      A. I think the important thing about
       8       A. I -- I don't know specifically.            8   this, this was a talcosis case.
       9    They might even be outside counsel.              9      Q. That's all you remember from the
      10       Q. What about the Selby case, what do        10   discovery?
      11    you know about that?                            11      A. Yes.
      12       A. Again, I know that was one of the         12      Q. Okay. And what happened to the
      13    ones listed.                                    13   Selby case?
      14       Q. And what do you know about the            14      A. I don't know.
      15    Selby case?                                     15      Q. Okay. Have you ever heard of a
      16       A. May I have the -- the chart that...       16   case called Andonian?
      17             THE COURT REPORTER: Here you           17      A. No, I have not.
      18    go.                                             18      Q. What about a case filed by Fae
      19             THE WITNESS: Thank you.                19   Miller?
      20             Now, what it says here, that I         20      A. No, not familiar.
      21    was most interested in the Complaint that was   21      Q. What about the Coker case?
      22    filed and this is talcosis. It was filed in     22      A. Coker is -- is one of the ones
      23    1993.                                           23   listed in your notice.
      24    BY MR. C. PLACITELLA:                           24      Q. Okay. And what do you know about
      25       Q. What did you review in connection         25   the Coker case?

                                                                      28 (Pages 106 to 109)
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       1       A. The Coker case was -- alleged              1   reassured myself that all searches were as
       2    injury was peritoneal mesothelioma. And it       2   thorough as could be. And -- and there
       3    was filed in 1997.                               3   were -- there's no more information about the
       4       Q. What else do you know?                     4   Coker case.
       5       A. That is all I know about it.               5   BY MR. C. PLACITELLA:
       6       Q. What do you know about the                 6      Q. Other than a Complaint?
       7    discovery responses provided in the Coker        7      A. Yes.
       8    case?                                            8      Q. What about the Durham case; did you
       9              MR. BERNARDO: Object to the            9   ever hear of that?
      10    form of the question.                           10      A. No, I'm not familiar with that.
      11             THE WITNESS: I do not know if          11      Q. What about the Cooper case, what do
      12    there were discovery responses.                 12   you know about the Cooper case?
      13    BY MR. C. PLACITELLA:                           13      A. Seems that it was a rash was the
      14       Q. You're the person here to testify         14   alleged complaint in 1986.
      15    about this, with the most knowledge             15      Q. What happened to the Cooper case?
      16    concerning the historical discovery responses   16      A. I do not know.
      17    and you know nothing about the discovery        17      Q. Where -- did you review any
      18    responses; is that what you're saying?          18   discovery responses related to the Cooper
      19              MR. BERNARDO: Object to the           19   case?
      20    form of the question and the characterization   20      A. If they had been made available, I
      21    of her testimony.                               21   would have. And I don't believe they were
      22              THE WITNESS: No, I'm not              22   available.
      23    saying that.                                    23      Q. Okay. What about the Cunningham
      24              Remember, I -- I talked about         24   case, what do you know about that?
      25    how we did the searches and -- and I            25      A. That we couldn't find anything on

                                             Page 112                                             Page 113
       1    the Cunningham case.                             1   BY MR. C. PLACITELLA:
       2       Q. So you know nothing?                       2       Q. Well, what kind of search was done
       3       A. Yes.                                       3   for the Kreppel case?
       4             MR. BERNARDO: Object --                 4       A. The same that I already explained
       5    BY MR. C. PLACITELLA:                            5   to you was done on all the cases. They were
       6       Q. What about the --                          6   searched by as many terms as -- as provided.
       7             MR. BERNARDO: -- to the form            7       Q. So you didn't review any discovery
       8    of the question.                                 8   responses related to the Kreppel case?
       9    BY MR. C. PLACITELLA:                            9       A. If they had been made available, I
      10       Q. -- Kreppel case?                          10   would have reviewed them, and there were none
      11       A. I don't know that name.                   11   available.
      12       Q. K-r-e-p-p-e-l, you know nothing           12       Q. What about the Lopez case, what do
      13    about that?                                     13   you know about that?
      14       A. Oh, Kreppel. I thought you said...        14       A. The same thing, it's -- I think
      15       Q. Right.                                    15   it's important to note that it's industrial
      16       A. Yeah, that something was filed in         16   talc, but I don't have any more information.
      17    1988, but they could not identify it.           17       Q. How do you know that?
      18       Q. So you have no records, Johnson &         18       A. That was what was obvious, you
      19    Johnson has no records related to the Kreppel   19   know, set forth in the actual Complaint.
      20    case?                                           20       Q. So the only thing you had related
      21             MR. BERNARDO: Object to the            21   to the Lopez case was the Complaint?
      22    form of the question.                           22       A. That was all that was available.
      23             THE WITNESS: Nothing could be          23   Again, I saw this was industrial talc, so I
      24    found internally. Again, something may have     24   did not go any further with this. But if
      25    been in outside counsel files.                  25   there were any discovery responses or


                                                                       29 (Pages 110 to 113)
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       1    anything else associated with any of these      1   accurate, to your knowledge, correct?
       2    cases, it would have been made available to     2            MR. BERNARDO: Object to the
       3    me and to you.                                  3   form of the question.
       4        Q. What about the Ritter case, what do      4            THE WITNESS: Would you ask
       5    you know about that?                            5   that question again?
       6        A. Same thing, this is industrial           6   BY MR. C. PLACITELLA:
       7    talc.                                           7      Q. Sure.
       8        Q. Okay. And what discovery responses       8         You actually certified answers to
       9    did you review?                                 9   interrogatories in some cases, correct?
      10        A. If there had been discovery             10      A. From time to time, yes.
      11    responses I would have reviewed them, and I    11      Q. And when you did that, you swore
      12    believe none were available. And, again,       12   under oath that the information that you were
      13    it's industrial talc.                          13   provided was true and accurate, to the best
      14        Q. What about the Roberts case?            14   of your knowledge, correct?
      15        A. This is -- this concerns a              15      A. Yes.
      16    deodorant product, chronic lesions of the      16      Q. And you agree with me that when
      17    armpits.                                       17   swearing under oath, the information that
      18        Q. I don't care about that.                18   you're swearing to is only as good as the
      19           What about the case of Sheldon          19   information that you're provided, correct?
      20    Sullivan, what do you know about that?         20      A. I mean, I took it very seriously
      21        A. We don't know much. The Complaint       21   when I would sign anything and swear that.
      22    did not specify what the injury was.           22   And I felt confident that the people that I
      23        Q. Am I correct that when you actually     23   directed counsel to speak with would provide
      24    at least in one case swore under oath that     24   the right answers.
      25    information you were providing was true and    25      Q. Did you ever testify under oath

                                             Page 116                                            Page 117
       1   that the -- that when swearing under oath the    1             MR. C. PLACITELLA: Sure.
       2   information you were swearing to was only as     2             Tell me when you're ready.
       3   good as the information you were provided?       3             THE VIDEOTAPE OPERATOR: Stand
       4      A. No, I did not swear to that.               4   by. The time is 12:05 p.m. Off the record.
       5             MR. C. PLACITELLA: I'm going           5             (Off-the-record discussion.)
       6   to go video, please.                             6             THE VIDEOTAPE OPERATOR: Time
       7             (At which time the following           7   is 12:06 p.m. on the record. Stand by. Go
       8   audio recording is played for the witness.)      8   ahead.
       9             "QUESTION: So if you're                9             (At which time the following
      10   getting information about the product, the      10   audio recording is played for the witness.)
      11   information --                                  11             "QUESTION: So if you're
      12             (Multiple speakers,                   12   getting -- ")
      13   unintelligible crosstalk.)                      13             MR. BERNARDO: Still not coming
      14             MR. BERNARDO: Is this supposed        14   up.
      15   to be video?                                    15             "QUESTION: -- information
      16             THE WITNESS: There's no video.        16   about the product the information -- "
      17             "ANSWER: Yes, from our -- our         17             MR. BERNARDO: There you go.
      18   scientists, I believe and trust their           18             "QUESTION: -- the information
      19   expertise, yes."                                19   that you're providing is only as good as the
      20             (At which time the audio              20   information that's been provided to you,
      21   playback is concluded.)                         21   correct?
      22             MR. C. PLACITELLA: She's not          22             "ANSWER: Yes, from our -- our
      23   seeing the video.                               23   scientists, I believe and trust their
      24             THE COURT REPORTER: Can we cue        24   expertise, yes.")
      25   that up again, because...                       25             (At which time the audio


                                                                      30 (Pages 114 to 117)
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       1   playback is concluded.)                           1   charge of responding to consumer inquiries
       2   BY MR. C. PLACITELLA:                             2   and answering -- and certifying
       3      Q. Do you recall that testimony?               3   interrogatories about talc safety, there were
       4             THE VIDEOTAPE OPERATOR: Okay,           4   discussions about the dangers of Johnson's
       5   counsel.                                          5   Baby Powder you were never privy to, correct?
       6   BY MR. C. PLACITELLA:                             6      A. There -- I don't think there were
       7      Q. So the information that you relay           7   discussions about the dangers of Johnson's
       8   in answering interrogatories is only as good      8   Baby Powder. In our normal course of
       9   as the information provided to you, correct?      9   business, we would always discuss our
      10             MR. BERNARDO: Object to the            10   products, ensuring that they are safe. So,
      11   form of the question.                            11   yeah, there would be discussions, but not
      12             THE WITNESS: I wouldn't use            12   that it was unsafe.
      13   "only."                                          13             MR. C. PLACITELLA: Okay. Can
      14             As I said before, that I -- I          14   I go to the video, please?
      15   trust these people. I worked with them for       15             THE VIDEOTAPE OPERATOR: Stand
      16   years. These weren't just somebody down the      16   by. Go ahead, sir.
      17   street that I grabbed and said, You know,        17             (At which time the following
      18   would you answer this?                           18   audio recording is played for the witness.)
      19             These were people who were             19             "QUESTION: And they had
      20   experts in their fields. And that's why they     20   discussions outside of your presence about
      21   were chosen.                                     21   the dangers or problems associated with baby
      22   BY MR. C. PLACITELLA:                            22   powder and those were never communicated to
      23      Q. Well, let me ask you some questions        23   you as the person who was in charge of
      24   about that.                                      24   dealing with the public as it relates to baby
      25          Even though you were the person in        25   powder, right?

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       1             "UNIDENTIFIED COUNSEL: Same             1            MR. BERNARDO: Object to the
       2    objection, compound, vague and ambiguous.        2   form of the question.
       3              "You can answer.                       3            THE WITNESS: As -- as I said,
       4              "ANSWER: There may have been           4   I did answer you, that I did not review any
       5    conversations that I was not privy to, yes."     5   of that. That was not my role.
       6              (At which time the audio               6   BY MR. C. PLACITELLA:
       7    playback is concluded.)                          7      Q. Even when you certified information
       8    BY MR. C. PLACITELLA:                            8   about asbestos testing evidence under oath,
       9       Q. Do you recall giving that                  9   correct?
      10    testimony?                                      10            MR. BERNARDO: Object to the
      11       A. That's me.                                11   form of the question.
      12       Q. Am I correct that although you were       12            THE WITNESS: The same thing.
      13    the person who certified answers to             13   I felt comfortable. I could verify, nothing
      14    interrogatories, no asbestos testing evidence   14   was jumping out at me as wrong. It was the
      15    was ever provided to you, correct?              15   company's position that there was no asbestos
      16       A. That was not my role. They -- they        16   in the cosmetic talc used in Johnson's Baby
      17    could have shown me study and research. And     17   Powder. And I felt very comfortable in the
      18    I really wouldn't understand it. That's why     18   people who answered the questions.
      19    we had experts who would understand it.         19   BY MR. C. PLACITELLA:
      20    That's who we relied on.                        20      Q. What was my question?
      21       Q. All right. Let me ask the question        21      A. Repeat it, please.
      22    again.                                          22      Q. Do you have any idea what it was?
      23           Am I correct that no asbestos            23      A. You asked me if I had ever seen or
      24    testing evidence was ever provided to you in    24   reviewed any of the studies. There was no
      25    any capacity, correct?                          25   reason for me to.

                                                                       31 (Pages 118 to 121)
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       1       Q. Even though you were certifying            1   company, because the company can't sign. But
       2    under oath about what was or was not in the      2   I started the process by sending counsel to
       3    studies?                                         3   speak with those who could best answer. So I
       4             MR. BERNARDO: Object to the             4   knew right up front that the right people
       5    form.                                            5   were involved.
       6    BY MR. C. PLACITELLA:                            6      Q. The answer to my question is,
       7       Q. There was no reason for you to look        7   ma'am, when you certified interrogatories
       8    at them --                                       8   under oath, under penalty of perjury, and
       9       A. I --                                       9   said they were true and accurate, to the best
      10       Q. -- or even see them?                      10   of your knowledge, you never reviewed a
      11       A. I wasn't certifying what was in or        11   single piece of paper before doing so,
      12    not in the studies. I was certifying that       12   correct?
      13    these questions had been answered. Again, I     13             MR. BERNARDO: Object to the
      14    directed counsel to speak with those who        14   form of the question, asked and answered.
      15    could most expertly answer the questions.       15             THE WITNESS: If there were
      16       Q. Ma'am, you certified under oath           16   papers involved, I did not review them, no.
      17    under penalty of perjury that the information   17   BY MR. C. PLACITELLA:
      18    provided was true and accurate, to the best     18      Q. And you swore under oath that the
      19    of your knowledge, did you not?                 19   sources from what -- where Johnson Baby --
      20       A. Yes, that's correct.                      20   where Johnson & Johnson got its baby powder
      21       Q. And in doing that you never               21   never contained either asbestos or Tremolite;
      22    reviewed a single piece of paper before         22   you swore to that, correct?
      23    making that certification, correct?             23             MR. BERNARDO: Object to the
      24       A. That's correct. That was not my           24   form of the question.
      25    role to do it. I was representing the           25             THE WITNESS: I verified the

                                             Page 124                                             Page 125
       1    answers that were given to those questions.      1   form of the question.
       2    BY MR. C. PLACITELLA:                            2             THE WITNESS: I really don't
       3       Q. Verify means you just signed them?         3   remember what specific person answered the
       4       A. No, I did not just sign them. As I         4   specific questions that were involved in a
       5    said, if anything ever jumped out at me, but     5   specific interrogatory for a specific
       6    I had the experts answer those questions.        6   Complaint.
       7       Q. You never reviewed any evidence            7   BY MR. C. PLACITELLA:
       8    whatsoever before swearing under oath that       8      Q. Well, was it a scientist or a
       9    there was no evidence of asbestos or             9   lawyer?
      10    Tremolite in Johnson's Baby Powder, correct?    10      A. No, it was always a scientist.
      11              MR. BERNARDO: Object to the           11      Q. Okay. Who?
      12    form of the question.                           12         Who told you that, that there was
      13              THE WITNESS: I did not review         13   never any evidence whatsoever?
      14    any specific documents, but, again, the         14      A. The different scientists that I
      15    people that I had answer these questions were   15   worked with through the years. As I said,
      16    the right people to answer them and most        16   there was not one specific one that was
      17    knowledgeable. And...                           17   always the answer for.
      18    BY MR. C. PLACITELLA:                           18         These -- these were based on not
      19       Q. Who's the person who told you that        19   just one particular case. These would be
      20    there was no evidence of asbestos in            20   studies, and research, and different
      21    Johnson's -- or Tremolite in Johnson's talc     21   experiments and everything that were going
      22    that you based your certification under         22   on, ongoing. So it wasn't just, Aha, there's
      23    penalty of perjury on?                          23   a question here, let's go find the answer.
      24          Who is that person?                       24         We were -- as a company, this was
      25              MR. BERNARDO: Object to the           25   our responsibility to be doing all the time.

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       1      Q. Am I correct that ultimately what           1   communicated, it was not you; is that fair?
       2   was provided and what you swore to was            2            "UNIDENTIFIED COUNSEL: Object
       3   decided by the Johnson & Johnson lawyers --       3   to the form of the question.
       4            MR. BERNARDO: Object to the              4            "You may answer.
       5   form of the question.                             5            "THE WITNESS: They -- since it
       6   BY MR. C. PLACITELLA:                             6   was a legal matter, they were the appropriate
       7      Q. -- correct?                                 7   person to make the final decisions."
       8      A. No. The responses were provided             8            (At which time the audio
       9   by, again, the experts in response to the         9   playback is concluded.)
      10   particular questions of the Complaint.           10   BY MR. C. PLACITELLA:
      11      Q. Ma'am, the lawyers ultimately              11      Q. Do you recall giving that
      12   decided what was going to be communicated in     12   testimony?
      13   lawsuits related to baby powder, not you,        13      A. That was me in the video.
      14   correct?                                         14      Q. Okay. In the answers to
      15      A. It's not me or the lawyers. It's           15   interrogatories that you swore to, did you
      16   the excerpts for the particular question.        16   ever mention the names of any of the
      17            MR. C. PLACITELLA: All right.           17   scientists that you said provided the
      18   Can we go to video, please?                      18   information that there was no asbestos,
      19            THE VIDEOTAPE OPERATOR: Stand           19   evidence of asbestos in the Johnson & Johnson
      20   by. Okay.                                        20   talc?
      21            (At which time the following            21            MR. BERNARDO: Object to the
      22   audio recording is played for the witness.)      22   form of the question.
      23            "QUESTION: So the lawyers made          23            THE WITNESS: Are you referring
      24   a determination as to what was going to be       24   to the specific interrogatories?
      25   communicated and what was not going to be        25   BY MR. C. PLACITELLA:

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       1       Q. Anytime.                                   1   information provided under oath was true and
       2           I couldn't find any, so I'm asking        2   accurate, correct?
       3    you if you have any recollection.                3         You never did that?
       4       A. If -- if the question asked for a          4      A. No, there was no need to.
       5    specific person, it was provided.                5      Q. What they did is they had the
       6       Q. So unless it was asked for a               6   person from Marketing just sign the
       7    specific person, you never provided the basis    7   interrogatories without ever reviewing a
       8    for your verification that there was no          8   single document, correct?
       9    evidence of asbestos in Johnson's Baby Powder    9      A. No, that's --
      10    in lawsuits involving Johnson & Johnson         10            MR. BERNARDO: Object to the
      11    talc --                                         11   form of the question.
      12              MR. BERNARDO: Object.                 12            THE WITNESS: That's incorrect.
      13    BY MR. C. PLACITELLA:                           13   As I explained to you, that the appropriate
      14       Q. -- correct?                               14   person would be answering the question, that
      15              MR. BERNARDO: Object to the           15   these weren't just some people who just
      16    form of the question.                           16   happened to be down the hall. The specific,
      17              THE WITNESS: There -- again,          17   whether it was a scientist, whoever was
      18    if there was a question where they required a   18   necessary to answer the question.
      19    specific person's name, yes. Other than         19   BY MR. C. PLACITELLA:
      20    that, there was no need to.                     20      Q. But as Johnson & Johnson sits here
      21    BY MR. C. PLACITELLA:                           21   today, they can't identify a single scientist
      22       Q. Okay. So you, Johnson & Johnson,          22   who provided the information that was put in
      23    when you were verifying discovery in lawsuits   23   sworn discovery responses that -- for the
      24    involving Johnson & Johnson talc, you did not   24   basis for there was no evidence of asbestos
      25    have any scientist certify that the             25   in Johnson & Johnson talc, correct?

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       1              MR. BERNARDO: Object to the            1   responding -- and certifying answers to
       2    form of the question.                            2   interrogatories; is that what you're saying?
       3              THE WITNESS: There definitely          3      A. No. As I explained earlier, my
       4    was basis for that. We had many different        4   role was not to speak directly to the
       5    scientists. I believe you've spoken to one       5   internal experts. My role was to suggest and
       6    of them, Dr. Hopkins.                            6   direct counsel to speak to those experts.
       7    BY MR. C. PLACITELLA:                            7   And they may have had those conversations.
       8       Q. That wasn't my question.                   8   It would be different people for different
       9           As Johnson & Johnson sits here            9   responses.
      10    today under oath on behalf of the               10      Q. Okay. So now we're getting
      11    corporation, you can't identify a single        11   somewhere.
      12    scientist that provided information that        12          When you verified the
      13    justified your swearing under oath that there   13   interrogatories under oath, you never had a
      14    was no evidence whatsoever of asbestos in any   14   conversation with any of the scientists,
      15    Johnson & Johnson talc product, correct?        15   correct?
      16              MR. BERNARDO: Object to the           16      A. Not for that specific case, but I
      17    form of the question.                           17   have worked with those scientists --
      18              THE WITNESS: As I said, there         18      Q. No, ma'am.
      19    were no names that required it. So asking       19      A. -- 30 years and so I knew that they
      20    for different complaints, different             20   would be the right person.
      21    interrogatories, I could sit here and give      21      Q. All right. So that's -- that's --
      22    you a lot of different names. I just            22   that's where I'm -- let's be very specific
      23    mentioned one for you.                          23   here. When you certified interrogatories
      24    BY MR. C. PLACITELLA:                           24   under penalty of perjury indicating that
      25       Q. Oh, so you spoke to Dr. Hopkins in        25   there was no asbestos or no evidence of

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       1    asbestos in any Johnson & Johnson talc           1      Q. Okay. But in answering discovery
       2    product, you, Nancy Musco, never had a           2   under oath and swearing to the veracity of a
       3    conversation with any scientist in that          3   statement provided that there was no evidence
       4    regard, correct?                                 4   of asbestos in Johnson's Baby Powder, in that
       5              MR. BERNARDO: Object to the            5   capacity you never spoke to a single
       6    form of the question.                            6   scientist, correct?
       7              THE WITNESS: As I said, I had          7             MR. BERNARDO: Object to the
       8    many conversations with them throughout my       8   form of the question.
       9    everyday work. And that is why I asked them      9             THE WITNESS: There was no need
      10    to speak to counsel to respond to that.         10   for me to have a conversation with them at
      11    BY MR. C. PLACITELLA:                           11   that particular time, because I was familiar
      12       Q. All right, all right. That's not          12   with what they knew and understood. And I
      13    my question, ma'am.                             13   knew what their answers would be.
      14          I'm saying when you had to answer         14   BY MR. C. PLACITELLA:
      15    and certify a specific question, is there any   15      Q. Let me ask --
      16    evidence of asbestos in Johnson's Baby          16             MR. C. PLACITELLA: Can you
      17    Powder, you, in answering that question never   17   read my question back, please?
      18    spoke to a single scientist, correct?           18             (At which time the following
      19              MR. BERNARDO: Object to the           19   question is read:
      20    form of the question.                           20             "QUESTION: But in answering
      21              THE WITNESS: Again, not in            21   discovery under oath and swearing to the
      22    relation to that specific question. But         22   veracity of a statement provided that there
      23    throughout my tenure at Johnson & Johnson,      23   was no evidence of asbestos in Johnson's Baby
      24    yes, I did.                                     24   Powder, in that capacity you never spoke to a
      25    BY MR. C. PLACITELLA:                           25   single scientist, correct?")


                                                                       34 (Pages 130 to 133)
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       1              MR. BERNARDO: Object to the            1              MR. BERNARDO: Object.
       2    form of the question.                            2   BY MR. C. PLACITELLA:
       3    BY MR. C. PLACITELLA:                            3      Q. In other words, the chain of
       4        Q. Can you answer that question,             4   information was that the scientists provided
       5    please?                                          5   the information to Johnson & Johnson's
       6        A. As I said, for that specific -- a         6   lawyers and then Johnson & Johnson put
       7    specific answer, I did not have a                7   that -- lawyers put that information down in
       8    conversation.                                    8   response to discovery and then you certified
       9          My role was to ensure that counsel         9   that it was true and accurate, correct?
      10    was speaking to the correct person to answer    10      A. Yes, the process would be that the
      11    it.                                             11   counsel would have conversations with the
      12          The reason that I went with those         12   expert. The expert would provide their
      13    people was because of those many                13   answers, and counsel compile it all and then
      14    conversations I had throughout my tenure.       14   provided it back to whomever requested it.
      15        Q. Okay.                                    15   But they did not change the answer or address
      16        A. I spoke to them often.                   16   the answer, no.
      17        Q. What was my question, ma'am?             17      Q. "No," what?
      18        A. You asked me if I spoke with them        18      A. No, they -- they were the ones who
      19    each time that there was a question. No, I      19   put it all together to communicate it to
      20    did not. I spoke to them many times             20   whomever had requested it originally. But it
      21    throughout my tenure.                           21   was the experts who provided, the internal
      22        Q. Okay. And the -- what was                22   experts who provided the answers.
      23    ultimately included in an answer, a discovery   23      Q. When you swore under oath that
      24    response came through Johnson & Johnson's       24   there was no evidence whatsoever of asbestos
      25    lawyers, correct?                               25   in Johnson's Baby Powder, that was based upon

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       1    an answer that was put down by the lawyers       1   Johnson & Johnson Baby Powder product,
       2    who spoke to the experts, correct?               2   correct?
       3               MR. BERNARDO: Object to form          3            MR. BERNARDO: Object to the
       4    of question.                                     4   form of the question.
       5               THE WITNESS: Everybody I              5            THE WITNESS: Could you repeat
       6    worked with, we knew the company's position.     6   that question?
       7    I verified that everything that was written      7            MR. C. PLACITELLA: Can you
       8    there was consistent with that position.         8   read it back, please?
       9    BY MR. C. PLACITELLA:                            9   BY MR. C. PLACITELLA:
      10       Q. When you say "company's position,"        10      Q. And when I say "you," I mean
      11    what do you mean by that?                       11   Johnson & Johnson.
      12       A. That there is no asbestos in the          12            (At which time the following
      13    cosmetic talc used for Johnson's Baby Powder.   13   question is read:
      14       Q. There's no evidence of asbestos,          14            "QUESTION: I'm looking at your
      15    there never was and there never will be;        15   answer to P -- I want to go to Musco-1, it
      16    isn't that the company position?                16   was your position in responding to discovery
      17       A. Yes, in the cosmetic talc used for        17   under oath that there was no evidence, no
      18    Johnson's Baby Powder.                          18   studies and no reports indicating that there
      19       Q. You -- excuse me.                         19   was asbestos in any Johnson & Johnson Baby
      20           It was -- I'm looking at your            20   Powder product, correct?")
      21    answer to P -- I want to go to Musco-1, it      21            THE WITNESS: That's correct.
      22    was your position in responding to discovery    22   BY MR. C. PLACITELLA:
      23    under oath that there were never any -- there   23      Q. Okay. And that's what was told to
      24    was no evidence, no studies and no reports      24   you by Dr. Hopkins, correct?
      25    indicating that there was asbestos in any       25      A. It wasn't a question of just told

                                                                       35 (Pages 134 to 137)
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       1    to me. We discussed the various documents        1   form of the question.
       2    that you had presented. My purpose of the        2             THE WITNESS: I don't know what
       3    conversation with Dr. Hopkins was to reaffirm    3   Dr. Hopkins said, so I -- I can't comment on
       4    that he was familiar with everything, that       4   that. But consistent that there is not
       5    there was nothing new that plaintiffs had        5   asbestos in the cosmetic talc used in
       6    provided, and that he was familiar with all      6   Johnson's Baby Powder.
       7    the different paperwork and documents.           7   BY MR. C. PLACITELLA:
       8       Q. So, as you sit here today, in              8      Q. Your statement is there's no
       9    preparing for this deposition, you were not      9   evidence. And there never was any evidence
      10    aware that Dr. Hopkins in trial, under oath,    10   of asbestos in any Johnson & Johnson cosmetic
      11    testified that there were, in fact, reports     11   talc product, correct?
      12    or studies indicating there was asbestos in     12      A. Yes.
      13    Johnson & Johnson talc, correct?                13      Q. That's your position?
      14              MR. BERNARDO: Object to the           14      A. Yes.
      15    form of the question.                           15      Q. And that's what you swore to
      16    BY MR. C. PLACITELLA:                           16   repeatedly under oath in answering
      17       Q. You're not aware of that?                 17   interrogatories and in your deposition,
      18       A. I'm not aware specifically what           18   correct?
      19    Dr. Hopkins said or didn't say in his           19             MR. BERNARDO: Object to the
      20    testimony.                                      20   form of the question and the characterization
      21       Q. And if he would have said that,           21   of prior testimony.
      22    that would be completely at odds with what      22             THE WITNESS: Yes.
      23    you testified to here under oath and in         23   BY MR. C. PLACITELLA:
      24    swearing to answers to interrogatories, true?   24      Q. And that's what Johnson & Johnson
      25              MR. BERNARDO: Object to the           25   asserts here, before this jury, under oath

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       1   that there was never any reports or evidence      1   to play it for you.
       2   that there was asbestos in any Johnson &          2             MR. BERNARDO: Well, I
       3   Johnson talcum powder product, correct?           3   understand that, I'm asking --
       4      A. That's correct.                             4             (At which time the following
       5            MR. C. PLACITELLA: Can we go             5   audio recording is played for the witness.)
       6   to the video, please?                             6             "ANSWER: Repeat the question,
       7            THE VIDEOTAPE OPERATOR: Stand            7   please.
       8   by.                                               8             "QUESTION: Yes.
       9   BY MR. C. PLACITELLA:                             9             "Do you know for a fact studies
      10      Q. Do you recognize the person on             10   have indicated asbestos in your talc, which
      11   this --                                          11   you claim is asbestos-free, true?
      12            THE VIDEOTAPE OPERATOR: Go              12             "ANSWER: Studies have
      13   ahead.                                           13   reported."
      14   BY MR. C. PLACITELLA:                            14             (At which time the audio
      15      Q. Do you recognize the person on this        15   playback is concluded.)
      16   screen?                                          16             (Unintelligible by reporter.)
      17      A. Yes, I do.                                 17             (Reporter clarification.)
      18      Q. Who is that?                               18             THE WITNESS: Yeah, it's hard
      19      A. That's Dr. John Hopkins.                   19   for me to understand, too.
      20      Q. Okay. I want to play you his               20             MR. C. PLACITELLA: We'll do it
      21   testimony.                                       21   again.
      22            MR. BERNARDO: Do you happen to          22             (Off-the-record discussion.)
      23   have the transcript she can read while           23             (At which time the following
      24   she's --                                         24   audio recording is played for the witness.)
      25            MR. C. PLACITELLA: I'm going            25             "ANSWER: Repeat the question,

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       1    please.                                          1   before and he and I did not discuss his
       2             "QUESTION: Yes.                         2   testimony, no.
       3             "Do you know for a fact studies         3   BY MR. C. PLACITELLA:
       4    have indicated asbestos in your talc, which      4      Q. That's completely at odds with what
       5    you claim is asbestos-free, true?                5   you just testified to, isn't it?
       6             "ANSWER: Studies have                   6            MR. BERNARDO: Object to the
       7    reported, yes."                                  7   form of the question.
       8             (At which time the audio                8            THE WITNESS: No, it's not.
       9    playback is concluded.)                          9   BY MR. C. PLACITELLA:
      10    BY MR. PLACITELLA:                              10      Q. How is it consistent?
      11       Q. Dr. Hopkins never -- Dr. Hopkins          11      A. You know, again, I can't comment on
      12    never told you that he testified in a court     12   what Dr. Hopkins said here. But, yeah, our
      13    of law that, in fact, there were studies that   13   understanding that there are studies, we're
      14    reported asbestos in the talc that you say is   14   not saying that they are right or complete,
      15    asbestos-free?                                  15   but, yeah, there have been studies saying
      16             MR. BERNARDO: Object to the            16   that.
      17    form.                                           17      Q. All right. So there is evidence of
      18    BY MR. C. PLACITELLA:                           18   asbestos in the Johnson & Johnson Baby Powder
      19       Q. Correct?                                  19   and by the way of studies, correct?
      20             MR. BERNARDO: Object.                  20            MR. BERNARDO: Object to the
      21    BY MR. C. PLACITELLA:                           21   form of the question.
      22       Q. You never saw this before?                22            THE WITNESS: You know, I'm not
      23             MR. BERNARDO: Object to the            23   an expert on that, the studies, but
      24    form of the question.                           24   Dr. Hopkins is and he can best explain that
      25             THE WITNESS: I never saw this          25   to you.

                                             Page 144                                             Page 145
       1    BY MR. C. PLACITELLA:                            1   that would be unfair to all involved. And I
       2       Q. Ma'am, you said there were no              2   don't want to -- I -- I can't comment on what
       3    studies, no evidence, but, in fact, we now       3   he said.
       4    know based on Dr. Hopkins' sworn testimony       4   BY MR. C. PLACITELLA:
       5    that there, in fact, are studies and that        5      Q. Well, isn't it unfair to all
       6    they were testified to by the corporate          6   involved, ma'am, the fact that you never had
       7    representative for Johnson & Johnson before a    7   a conversation with Dr. Hopkins about whether
       8    jury, correct?                                   8   he knew that there were studies and he
       9       A. Yes, we've just taken his testimony        9   testified that there were studies; isn't that
      10    out of context. So I don't know what came       10   unfair?
      11    before, after. And I don't want to comment      11             MR. BERNARDO: Object to the
      12    on his testimony.                               12   form of the question.
      13       Q. You know now for the first time,          13             THE WITNESS: Dr. Hopkins and I
      14    ma'am, that Johnson & Johnson has stated        14   discussed, went through different research,
      15    under oath in a court of law, that despite      15   experiments, studies that were done. I
      16    what you said and what you testified to on      16   wanted to make sure that he was familiar with
      17    behalf of Johnson & Johnson here that there     17   them, because he's the best person to talk
      18    are, in fact, studies demonstrating that        18   about them, I'm not.
      19    there was asbestos in the talc that you say     19   BY MR. C. PLACITELLA:
      20    was asbestos-free, correct?                     20      Q. So it was unfair to you, wasn't it,
      21              MR. BERNARDO: Object to the           21   if Dr. Hopkins testified under oath that
      22    form of the question.                           22   there were, in fact, studies showing there
      23              THE WITNESS: I don't want to          23   was asbestos in the Johnson & Johnson product
      24    take Dr. Hopkins' testimony out of context.     24   and that was never relayed to you, correct?
      25    I don't know what came before or after. And     25          That was unfair to you?


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       1              MR. BERNARDO: Object to the            1   and you saw this the last time we were here,
       2    form of the question.                            2   correct?
       3              THE WITNESS: No, it was not            3      A. I believe so.
       4    unfair.                                          4      Q. And after testifying -- and I think
       5    BY MR. C. PLACITELLA:                            5   the last time we were here you said that you
       6       Q. Okay. You thought that was okay?           6   never had seen this chart before you gave
       7       A. Again, I don't want to comment on          7   your deposition, correct?
       8    his testimony, because I don't know what came    8      A. That's correct.
       9    before or after.                                 9      Q. Okay. And you actually knew
      10       Q. Okay. Now --                              10   nothing about this chart, correct?
      11              MR. C. PLACITELLA: Do you have        11      A. I had not seen it before.
      12    the chart? The chart, mm-hmm.                   12      Q. And you know now that this chart
      13              (Exhibit J&J-488, Chart, is           13   was prepared at the deposition of Dr. Hopkins
      14    marked for identification.)                     14   live at the deposition, you know that,
      15    BY MR. C. PLACITELLA:                           15   correct?
      16       Q. I'm going to show you what has been       16      A. No, I don't know what it was used
      17    marked Hopkin -- J&J-488.                       17   for.
      18          You've seen this before?                  18      Q. Have you -- when you spoke to
      19              MR. C. PLACITELLA: You can --         19   Dr. Hopkins and you were preparing for this
      20    I only have two, they're big.                   20   deposition, did you review this chart with
      21              We'll go to Elmo, please.             21   him?
      22    BY MR. C. PLACITELLA:                           22      A. No, I did not.
      23       Q. You have in front of you                  23      Q. All right. Did you review the
      24    Exhibit 488, which was marked as Exhibit 28     24   chart at all?
      25    in Dr. Hopkins' deposition. Did you ever --     25      A. No, I did not.

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       1       Q. So even though you were asked about        1      Q. Okay. Any comments that
       2    this chart in the last deposition, you took      2   Dr. Hopkins had concerning the chart?
       3    no steps to -- in preparing for today's          3      A. I see Dr. Hopkins' --
       4    deposition concerning the -- the veracity of     4      Q. Do you see that?
       5    historical discovery responses to look at        5      A. -- comments.
       6    this chart or any of the evidence mentioned      6      Q. Okay.
       7    in this chart, correct?                          7            (Reporter clarification.)
       8              MR. BERNARDO: Object, object           8            THE WITNESS: I see
       9    to the form of the question.                     9   Dr. Hopkins' comments.
      10              THE WITNESS: I did not look at        10   BY MR. C. PLACITELLA:
      11    this specific chart. I looked at different      11     Q. All right. But in testifying under
      12    evidence, but I did not look at this specific   12   oath that there was no evidence whatsoever of
      13    chart.                                          13   asbestos in any Johnson & Johnson talc
      14    BY MR. C. PLACITELLA:                           14   product, you never discussed the chart that
      15       Q. Okay. And, for example, this chart        15   he created with him concerning that evidence,
      16    has the -- it's in chronological order, it      16   correct?
      17    has the date; do you see that?                  17            MR. BERNARDO: Object to the
      18       A. I see that, yes.                          18   form of the question.
      19       Q. The entity that did the test,             19            THE WITNESS: As I said, I did
      20    right, the author, correct?                     20   not discuss the specific chart.
      21       A. I see that, yes.                          21   BY MR. C. PLACITELLA:
      22       Q. The test method, what was tested,         22      Q. And this was not a chart that you
      23    what the test actually revealed; do you see     23   were shown in preparation for your deposition
      24    that?                                           24   today, correct?
      25       A. I see that.                               25            MR. BERNARDO: Object to the

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       1    form of the question.                            1   would assume that they're in this book.
       2              THE WITNESS: No, it was not.           2      Q. Okay. And prior to your deposition
       3              MR. C. PLACITELLA: Black book.         3   last time, although you were the person that
       4    BY MR. C. PLACITELLA:                            4   swore under oath concerning Johnson &
       5       Q. This was marked at your last               5   Johnson's historical discovery responses, you
       6    deposition as Musco-2. It's heavy, so I only     6   had never seen a single one of those
       7    brought one copy.                                7   documents marked in Musco-2, correct?
       8           Do you, do you -- do you want to          8      A. That's correct. My role wasn't to
       9    flip through it?                                 9   look at the specific studies.
      10       A. I see what it is.                         10      Q. Right.
      11       Q. Do you recall this book?                  11      A. But to ensure that the correct
      12       A. I know that there was a large book.       12   people were response in -- responding.
      13    Yes.                                            13      Q. When you swore under oath that
      14       Q. And what's in that book?                  14   there was no evidence whatsoever, no one ever
      15       A. It looks like an awful lot of             15   showed you any of the studies or documents
      16    scientific information.                         16   that are in Musco-2, correct?
      17       Q. And did you discuss with anybody          17      A. I don't know everything that's in
      18    from your -- between your last deposition and   18   here, but I did not look at any specific
      19    this deposition the information that's in       19   studies in response to the depositions.
      20    that book?                                      20             MR. C. PLACITELLA: Let's --
      21       A. I don't know exactly what's in this       21   give me 450.
      22    book. I certainly didn't go through this.       22             MR. BERNARDO: When you're at a
      23    But, yes, we -- we discussed specific           23   stopping place for lunch, we've been going
      24    information. I had conversations with           24   about an hour.
      25    Dr. Hopkins about specific studies. And I       25             MR. C. PLACITELLA: All right.

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       1    BY MR. C. PLACITELLA:                            1   didn't remember Joly at all.
       2      Q. I want to show you what has been            2      Q. Okay. Bruce Semple, MD, he was the
       3    marked as Exhibit 450.                           3   Medical Director?
       4             MR. BERNARDO: I'm sorry, what           4      A. Yes, he was.
       5    was the exhibit number, please?                  5      Q. And you had dealings with him,
       6             MR. C. PLACITELLA: 450.                 6   correct?
       7             (Exhibit J&J-450, Letter, is            7      A. Yes, I did.
       8    marked for identification.)                      8      Q. Okay. And George Lee is who?
       9    BY MR. C. PLACITELLA:                            9      A. I believe he was one of our
      10      Q. 450 is a letter from George Lee to         10   research scientists.
      11    Roger Miller concerning the Joly case. Do       11      Q. Okay. And Roger Miller was the
      12    you see that?                                   12   President of Windsor Minerals owned by
      13      A. I see it says that, yes.                   13   Johnson & Johnson, correct?
      14      Q. And it's dated December 3, 1982,           14      A. That's my recollection, yes.
      15    correct?                                        15      Q. Okay. And what the research
      16      A. Correct.                                   16   scientist is writing to Dr. Miller and asking
      17      Q. This is not a document that was            17   if he has any information concerning ongoing
      18    provided to you by counsel, correct?            18   studies; do you see that?
      19             MR. BERNARDO: Object to the            19      A. That's what it says.
      20    form of the question.                           20      Q. Did you in your research on
      21             THE WITNESS: That's correct.           21   historical discovery responses come across
      22    BY MR. C. PLACITELLA:                           22   any of the ongoing studies that were
      23      Q. But you know about this case from          23   referenced here in this letter?
      24    your own knowledge, right?                      24      A. I'm not familiar with what -- what
      25      A. No. As I told you earlier, I               25   he's referencing here, so...

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       1            MR. C. PLACITELLA: Give me             1   doesn't it?
       2    448.                                           2      A. The Joly case is indicated here,
       3             (Exhibit J&J-448, Memo, is            3   yes.
       4    marked for identification.)                    4      Q. All right. And the Complaint
       5             MR. C. PLACITELLA: I want to          5   number for the Joly case is 02043; do you see
       6    switch it, this is 448.                        6   that?
       7    BY MR. C. PLACITELLA:                          7      A. That's what it says, yes.
       8      Q. 448 is a May 10, 1985 memo entitled       8      Q. Okay. Now, you know, do you not,
       9    Ingestions and Inhalations - Johnson's Baby    9   that Johnson & Johnson actually acknowledged
      10    Powder, January 1982 to January 1985.         10   internally that Joly who filed a lawsuit
      11         Do you see that?                         11   against Johnson & Johnson was injured from
      12      A. Yes, I do.                               12   Johnson & Johnson's talc; you know that,
      13      Q. And you are copied, correct?             13   correct?
      14      A. Yes, I am.                               14             MR. BERNARDO: Object to the
      15      Q. And the Medical Director for             15   form of the question.
      16    Johnson & Johnson is copied, correct?         16             THE WITNESS: I don't know
      17      A. Yes.                                     17   that, no.
      18      Q. And who is Mr. McTernan?                 18             MR. C. PLACITELLA: Okay. Can
      19      A. She is the --                            19   you give me 452, please?
      20      Q. Or she.                                  20             (Exhibit J&J-452, Memo, is
      21      A. -- Director of Regulatory.               21   marked for identification.)
      22      Q. So she's the Director of                 22   BY MR. C. PLACITELLA:
      23    Regulatory?                                   23      Q. 452 is a June 17, 1985 memo from
      24      A. That's correct.                          24   Patricia Mills, who said was in charge of
      25      Q. And this references the Joly case,       25   Regulatory?

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       1        A. No.                                     1             And she can answer in her
       2        Q. Who she was what -- who?                2   personal capacity. We're not tendering her
       3    [Verbatim]                                     3   to talk about specific lawsuits --
       4        A. She was a nurse reporting to me at      4             MR. C. PLACITELLA: Well, we'll
       5    the time in Medical Services.                  5   let the judge.
       6        Q. Okay. And copied on this                6             MR. BERNARDO: I think that's
       7    memorandum is you --                           7   what happens with objections.
       8        A. Correct.                                8             MR. C. PLACITELLA: Okay, okay.
       9        Q. -- correct?                             9   BY MR. C. PLACITELLA:
      10          And the memo went to the Medical        10      Q. And the title is Ingestions and
      11    Director at Johnson & Johnson, correct?       11   Inhalations Requiring Medical Attention,
      12        A. Bruce Semple, that's correct.          12   Johnson's Baby Powder; do you see that?
      13        Q. All right.                             13      A. That's what it says.
      14              MR. BERNARDO: I'm not going to      14      Q. And under Complaint 2 -- 02043,
      15    interrupt each time, because I just want a    15   there's one for inhalation; do you see that?
      16    running objection to the use of these         16      A. That's correct.
      17    documents. My position, it's outside the      17      Q. And that's Miss Joly, correct?
      18    scope of the notice --                        18      A. That's what it comes back to, yes,
      19             MR. C. PLACITELLA: Oh, yeah,         19   seems to be.
      20    it's way outside the scope.                   20      Q. All right. That's the person who
      21             MR. BERNARDO: She can --             21   filed a lawsuit against you, correct?
      22             MR. C. PLACITELLA: It's              22      A. I assume it's the same person.
      23    directly related.                             23      Q. Right.
      24              MR. BERNARDO: Let me finish my      24         And it says, History: Consumer
      25    objection.                                    25   used Johnson's Baby Powder for years since

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       1    unable to use deodorant due to allergies.        1      Q. Okay. And nowhere in any memo did
       2          Do you see that?                           2   Johnson & Johnson dispute that, correct?
       3       A. That's what it says.                       3             MR. BERNARDO: Object to the
       4       Q. And what it says is, Findings:             4   form of the question. Again, outside the
       5    Scarring of lung tissue was noted on X-ray.      5   scope of the notice.
       6    Pulmonary function studies revealed very         6             THE WITNESS: I don't know if
       7    severe obstruction of the small airways.         7   that was the purpose of this memo.
       8    Consumer did not respond to bronchodilators.     8   BY MR. C. PLACITELLA:
       9    Talc crystals were identified in the             9      Q. You have no recollection of this
      10    consumer's sputum.                              10   information being provided by the person who
      11          Correct?                                  11   worked for you to the Medical Director of
      12       A. That's what --                            12   Johnson & Johnson ever being disputed,
      13             MR. BERNARDO: Object to the            13   correct?
      14    form of the question.                           14             MR. BERNARDO: Object to the
      15             THE WITNESS: That's what it            15   form of the question.
      16    says.                                           16             THE WITNESS: I -- until you
      17    BY MR. C. PLACITELLA:                           17   put this in front of me, I didn't remember
      18       Q. Correct?                                  18   anything about Joly. It was, what?
      19          And -- and under Outcome, this is         19   Thirty-three years ago.
      20    the memo to the Medical Director of Johnson &   20   BY MR. C. PLACITELLA:
      21    Johnson and copied to you, under Outcome it     21      Q. Right.
      22    talks about lung damage due to long-term        22         And you didn't -- and you were not
      23    inhalation of talc from Johnson's Baby          23   provided any of the information from the Joly
      24    Powder, correct?                                24   case in order to -- to testify here today,
      25       A. That's what it says.                      25   correct?

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       1             MR. BERNARDO: Object to the             1      A. That's what it says.
       2    form of the -- of the question.                  2      Q. All right. And it talks about
       3             THE WITNESS: That's correct.            3   memos concerning the Joly case, correct?
       4    BY MR. C. PLACITELLA:                            4      A. That's what it says.
       5       Q. Okay. Clearly, your lawyers knew           5      Q. Okay. In fact, there are many
       6    about the Joly case, correct?                    6   memos related to the Joly case, correct?
       7             MR. BERNARDO: Object to the             7      A. The name is mentioned a few times,
       8    form of the question.                            8   yes.
       9             THE WITNESS: I do not know.             9      Q. So, clearly, if your lawyers put
      10             MR. C. PLACITELLA: Well, can           10   this on a log of information they weren't
      11    you give me the privilege log, please.          11   going to turn over, they had knowledge of the
      12             Can we go to the Elmo, please?         12   Joly case, correct?
      13    BY MR. C. PLACITELLA:                           13            MR. BERNARDO: Object to the
      14       Q. So I'm going to go back to the log.       14   form of the question.
      15    See where it says here, 1/16/1982?              15            THE WITNESS: I don't know what
      16       A. Yes.                                      16   the purpose of this log is.
      17       Q. Okay. And there's information from        17   BY MR. C. PLACITELLA:
      18    George Lee. He wasn't a lawyer, by the way,     18      Q. Well, you're the person testifying
      19    right?                                          19   on historical discovery responses and you
      20       A. No.                                       20   have no idea what a privilege log purpose is?
      21       Q. Okay. And it went to John Beidler.        21            MR. BERNARDO: Object to the
      22    Who's that?                                     22   form of the question.
      23       A. I believe he's an attorney.               23            THE WITNESS: I'm not a lawyer.
      24       Q. And it was also copied to the             24   BY MR. C. PLACITELLA:
      25    Medical Director, correct?                      25      Q. You don't know that certain

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       1    information is being withheld in this case       1   information about privilege logs provided in
       2    under claim of privilege related to lawsuits     2   this litigation, that is not within the scope
       3    against Johnson & Johnson?                       3   of the notice. She can answer in her
       4              MR. BERNARDO: Object to the            4   individual capacity, but she's not here as a
       5    form of the question, beyond the scope of the    5   corporate representative of Johnson & Johnson
       6    notice.                                          6   with respect to this question.
       7              She can answer in her                  7             MR. C. PLACITELLA: With all
       8    individual capacity.                             8   due respect, she's here on the historical
       9    BY MR. C. PLACITELLA:                            9   discovery responses provided by Johnson &
      10        Q. You're asking -- I'm asking you on       10   Johnson in talc litigation.
      11    behalf of Johnson & Johnson.                    11             So I'm going to ask the
      12              MR. BERNARDO: And I --                12   question again.
      13    BY MR. C. PLACITELLA:                           13   BY MR. C. PLACITELLA:
      14        Q. Johnson & Johnson does not know          14      Q. Johnson -- you, Johnson & Johnson
      15    what a privilege log is?                        15   are saying here under oath that you have no
      16              MR. BERNARDO: This witness --         16   idea that information was being withheld
      17    BY MR. C. PLACITELLA:                           17   under claim of privilege in the Joly case,
      18        Q. In responding to historical              18   correct?
      19    discovery responses, Johnson & Johnson does     19             MR. BERNARDO: Object to the
      20    not know when responding to discovery whether   20   form of the question. Same objection as
      21    it is withholding information or not; is that   21   before.
      22    what you're saying?                             22             You can answer in your
      23              MR. BERNARDO: Object to the           23   individual capacity, if you know.
      24    form of the question. This witness is not       24             THE WITNESS: I don't know.
      25    being tendered to explain or provide            25   BY MR. C. PLACITELLA:

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       1       Q. When you were being asked to               1         And you were copied?
       2    prepare for this deposition, even though         2       A. Yes, I was.
       3    there was information that was withheld, so      3       Q. And even though you were copied and
       4    Johnson & Johnson's lawyers obviously know       4   it involved the Medical Director at Johnson &
       5    that the case existed, they didn't supply you    5   Johnson, in preparing for today's deposition
       6    with a single piece of paper related to the      6   no information was provided for you about
       7    Joly case, correct?                              7   this case, which, by the way, predates any
       8              MR. BERNARDO: Object to the            8   case that's on your list, correct?
       9    form of the question.                            9            MR. BERNARDO: Object to the
      10              THE WITNESS: I did not review         10   form of the question.
      11    the Joly case, no.                              11            THE WITNESS: There seemed to
      12    BY MR. C. PLACITELLA:                           12   be several questions there. Could you ask
      13       Q. Even though the Johnson & Johnson         13   that again?
      14    Medical Director got a memo indicating that     14   BY MR. C. PLACITELLA:
      15    Miss Joly was injured from Johnson & Johnson    15       Q. Well, let me ask you this, this
      16    Baby Powder --                                  16   case was pending at least in 1982, correct?
      17              MR. BERNARDO: Object --               17       A. 1982 is listed there.
      18    BY MR. C. PLACITELLA:                           18       Q. Right.
      19       Q. -- correct?                               19         The first case on your list is from
      20              MR. BERNARDO: Object to the           20   what date?
      21    form of the question, same objection.           21         1983, correct?
      22              THE WITNESS: This is a memo           22       A. That's what I have, yes.
      23    informing him of the case.                      23       Q. All right. So Johnson & Johnson's
      24    BY MR. C. PLACITELLA:                           24   attorneys had information in their possession
      25       Q. Right.                                    25   concerning a lawsuit filed by someone that

                                                                       42 (Pages 162 to 165)
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       1    Johnson & Johnson acknowledged internally was    1   focus on discovery responses of the Johnson &
       2    hurt by baby powder and never showed you that    2   Johnson Defendants.
       3    information in preparation for today's           3             The company made significant
       4    deposition --                                    4   efforts to try and identify what could
       5              MR. BERNARDO: Object to the            5   reasonably be identified. You and I spoke
       6    form --                                          6   about exactly what we did and what we didn't
       7    BY MR. C. PLACITELLA:                            7   do for purposes of this deposition.
       8       Q. -- correct?                                8             We also spoke about the fact
       9              MR. BERNARDO: -- of the                9   that we would try and prepare this witness.
      10    question.                                       10   And we wanted copies of responses that would
      11              THE WITNESS: My understanding         11   be the subject.
      12    is that this is not within the scope, and I     12             We in good faith, I, in
      13    don't have the answer.                          13   particular, provided you with a letter that
      14              MR. C. PLACITELLA: Okay. We           14   specified what we did identify pursuant to
      15    can take a break now.                           15   those responses.
      16              MR. BERNARDO: Before we go on         16             You, in response provided us
      17    break, with all due respect, I just want to     17   some documents that the witness looked at the
      18    make an objection on the record, for the        18   other day.
      19    record.                                         19             We did not discuss any of these
      20              Mr. Placitella, you and I had         20   types of questions. This witness is not
      21    numerous conversations about this deposition.   21   prepared to address them, as you can see,
      22    And, in fact, we filed a motion for             22   because this was not at all what our
      23    protective order with respect to this           23   understanding of what this deposition would
      24    deposition. We withdrew the motion with the     24   be.
      25    understanding that this deposition would        25             I note that we have been now

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       1    going for several hours and you've not yet       1   Johnson provide in terms of historical
       2    shown the witness a single discovery response    2   discovery responses. And it is highly
       3    regarding the asbestos content of talc.          3   relevant, highly relevant that there were
       4               I know you have your position         4   numerous cases that involved Johnson Baby
       5    and you're welcome to set it on the record,      5   Powder and Johnson's talc powder where no
       6    but because these depositions end up in other    6   information is known by Johnson & Johnson
       7    places, I just wanted to clarify what our        7   according to this witness. She is Johnson &
       8    position is.                                     8   Johnson. She had the responsibility. She is
       9               MR. C. PLACITELLA: First of           9   the one who said she ordered the searches.
      10    all, your statement is incomplete.              10   And, clearly, there was information available
      11               What I said was that I would         11   in this case, directly related, because it's
      12    provide you with any documents that I found     12   right on your privilege log to Johnson &
      13    outside of what you had already produced        13   Johnson cases that were never shown to her
      14    related to litigation, which I did. So if I     14   and that were produced.
      15    did an independent examination and found it     15             Moreover, it is troubling that
      16    in some court file, I gave it to you.           16   there are documents related to actual cases
      17               I also indicated and we had an       17   involving Johnson & Johnson Baby Powder that
      18    agreement that any documents that were          18   this witness was aware of and not prepared to
      19    produced by Johnson & Johnson were fair game    19   testify to.
      20    for this witness. And any documents that        20             So that's the completion of the
      21    were used in any trials or depositions of       21   statement.
      22    Johnson & Johnson representatives were fair     22             MR. BERNARDO: Actually, I
      23    game.                                           23   think it isn't, Mr. Placitella. And we could
      24               There is nothing unfair. This        24   go on, and we won't for some time. But I
      25    is a -- information on what did Johnson &       25   will just say that I disagree with what


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       1    you're characterizing, what we discussed,        1   was what?
       2    because we did have a specific discussion        2      A. My recollection is he worked in
       3    about what the purpose of this deposition        3   R&D.
       4    was. But if we need to, we'll just let the       4      Q. Okay. And what's CIS?
       5    judge address that. I -- suffice it to say       5      A. Don't know.
       6    that I disagree with what you're saying.         6      Q. And according to this document, as
       7              MR. C. PLACITELLA: Well, let's         7   of July 1988, George Lee had a file on the
       8    do that.                                         8   Joly case, correct?
       9              Okay. How long do you need for         9      A. I have never seen this document
      10    lunch?                                          10   before. So all I see that it says Joly talc
      11              THE VIDEOTAPE OPERATOR: The           11   suit.
      12    time is 12:53 p m. Off the record.              12      Q. Right.
      13              (Luncheon recess.)                    13      A. I don't know what he had or didn't
      14              THE VIDEOTAPE OPERATOR: The           14   have.
      15    time is now 1:51 p m. We are on the record.     15      Q. So where's that information?
      16              MR. C. PLACITELLA: Okay. Can          16             MR. BERNARDO: Object to the
      17    you give me 453?                                17   form of the question.
      18              (Exhibit J&J-453, Document            18             THE WITNESS: I do not know.
      19    entitled George Lee's Talc Files, is marked     19   BY MR. C. PLACITELLA:
      20    for identification.)                            20      Q. Was that information from the Joly
      21    BY MR. C. PLACITELLA:                           21   talc suit ever made available to you when you
      22       Q. 453 is a document entitled George         22   were certifying interrogatory answers on
      23    Lee's Talc Files, Transferred to CIS            23   behalf of Johnson & Johnson?
      24    July 1988.                                      24      A. If there was information available,
      25           And George Lee I think you told me       25   I would have reviewed it. I don't know what

                                             Page 172                                             Page 173
       1    information was or was not --                    1      Q. Okay. And...
       2       Q. I thought you told me you never --         2             MR. C. PLACITELLA: Give me
       3       A. -- involved in this.                       3   277.
       4       Q. I thought you told me you never            4             (Exhibit J&J-277, Answers to
       5    reviewed the information?                        5   Plaintiffs' Supplemental Interrogatories, is
       6       A. I didn't.                                  6   marked for identification.)
       7       Q. So --                                      7             MR. C. PLACITELLA: By the way,
       8              (Reporter clarification.)              8   can you go to the Elmo for a second?
       9              THE WITNESS: Didn't, did not.          9   BY MR. C. PLACITELLA:
      10    BY MR. C. PLACITELLA:                           10      Q. So in responding to -- into
      11       Q. Okay. So although there was a Joly        11   discovery in the course of litigation, did
      12    talc suit file in 1988, Johnson & Johnson has   12   Johnson & Johnson see a difference in saying
      13    no idea where it is --                          13   there is no evidence versus there is
      14              MR. BERNARDO: Object --               14   evidence, but we, Johnson & Johnson, don't
      15    BY MR. C. PLACITELLA:                           15   believe it's reliable; do you see that as
      16       Q. -- correct?                               16   different?
      17              MR. BERNARDO: Object to the           17             MR. BERNARDO: Object to the
      18    form of the question.                           18   form of the question.
      19              THE WITNESS: I do not know            19             THE WITNESS: It's hard for me
      20    where it is, no.                                20   to answer, taken out of context, but, yes,
      21    BY MR. C. PLACITELLA:                           21   they're different sentences.
      22       Q. Now, one of the cases that you            22             MR. C. PLACITELLA: Can we mark
      23    certified interrogatory answers in was the      23   this next, please?
      24    Krushinski case, correct?                       24             (Exhibit P-4, Handwritten
      25       A. That's correct.                           25   document, is marked for identification.)


                                                                       44 (Pages 170 to 173)
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       1              MR. C. PLACITELLA: 277,                1             MR. BERNARDO: Object to the --
       2    please.                                          2   object to the form of the question.
       3    BY MR. C. PLACITELLA:                            3             THE WITNESS: No, I didn't say
       4       Q. Do you recognize 277 as a set of           4   that's the only time we were sued. I said
       5    interrogatories that you certified as true       5   that was what I had interrogatories.
       6    and accurate under oath in the Krushinski        6   BY MR. C. PLACITELLA:
       7    case?                                            7      Q. Well, it says, Has Johnson &
       8       A. Yes, this appears to be that.              8   Johnson ever received notice of any claim,
       9       Q. And I'm going to direct you to             9   correct?
      10    interrogatory number 19, which asks if you      10      A. Yes.
      11    were basically ever sued before in a            11      Q. And the only two cases that you
      12    Johnson's Baby Powder case; do you see that?    12   listed were Selby and Gambino, correct?
      13       A. I'd have to read it --                    13      A. No, I have all these cases here.
      14       Q. Go ahead.                                 14      Q. No, no.
      15       A. -- to see exactly.                        15      A. I --
      16       Q. Go ahead.                                 16      Q. Ma'am, I'm asking you --
      17       A. (At which time the Witness reviews        17      A. Oh.
      18    the document.)                                  18      Q. -- when you certified under oath,
      19          Okay.                                     19   under penalty of perjury whether Johnson &
      20       Q. Do you see that?                          20   Johnson was ever sued in a baby powder case,
      21       A. Yes, I do.                                21   you certified under oath that the only two
      22       Q. And in response to whether you were       22   cases were the Selby case and the Gambino
      23    sued before in a Johnson's Baby Powder case,    23   case, correct?
      24    you list the Selby case and the Gambino case,   24             MR. BERNARDO: Object, object
      25    correct?                                        25   to the form of the question. It's beyond the

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       1    scope of the notice, insofar as it's not a       1      Q. -- case, wasn't it?
       2    question that has anything to do with the        2      A. I think it was talcosis, I'm not
       3    asbestos content of talc.                        3   sure.
       4              But go ahead and answer if             4      Q. Well, it asks for anything on
       5    you can.                                         5   talcosis, doesn't it?
       6              MR. C. PLACITELLA: Well, we'll         6         If they developed talcosis or
       7    get there.                                       7   fibrosis, right?
       8              MR. BERNARDO: I'm sure you             8         That's what was asked of you.
       9    will.                                            9      A. That's what it says, yes.
      10    BY MR. C. PLACITELLA:                           10      Q. So why didn't you include the Joly
      11       Q. Go ahead.                                 11   case? You certainly knew about it, you
      12       A. Those two cases are listed in the         12   worked on it.
      13    response, yes.                                  13             MR. BERNARDO: Object to the
      14       Q. Okay. You never mentioned the Joly        14   form of the question.
      15    case, correct?                                  15             THE WITNESS: There may not
      16       A. There is no mention of it here, no.       16   have been any more information, I -- to
      17       Q. Why not?                                  17   provide.
      18              MR. BERNARDO: Same objection.         18   BY MR. C. PLACITELLA:
      19              THE WITNESS: I think because          19      Q. Ma'am, I just showed you documents
      20    it was a different kind of case.                20   from the Johnson & Johnson's file, did I not?
      21    BY MR. C. PLACITELLA:                           21   Showing that Joly filed a lawsuit in 1982
      22       Q. Well, it was a pulmonary                  22   before the Gambino case and that the
      23    fibrosis --                                     23   Johnson & Johnson Medical Director, as well
      24       A. That's not what they were                 24   as yourself, knew about it?
      25    asking for.                                     25             MR. BERNARDO: I object to the

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       1    form of the question.                            1   have me here today and to speak about.
       2    BY MR. C. PLACITELLA:                            2      Q. Ma'am, I'm asking you, you swore
       3       Q. Right?                                     3   under oath, under penalty of perjury that
       4             MR. BERNARDO: Beyond the scope          4   these were the only two cases. And I'm
       5    of the notice.                                   5   asking you why you didn't mention the Joly
       6             THE WITNESS: Our -- my                  6   case?
       7    understanding is that the Joly case was not      7            MR. BERNARDO: Object to the
       8    within the scope of the notice.                  8   form of the question.
       9    BY MR. C. PLACITELLA:                            9            THE WITNESS: Again, it's not
      10       Q. Ma'am, why didn't you answer              10   within the scope.
      11    correctly under oath interrogatory 19 in the    11   BY MR. C. PLACITELLA:
      12    Krushinski case and indicate that you, in       12      Q. So you didn't answer the
      13    fact, knew about the Joly case?                 13   information under oath, because it's not in
      14             MR. BERNARDO: Object to --             14   the scope of the notice here?
      15    BY MR. C. PLACITELLA:                           15      A. I -- I don't know why it was not
      16       Q. Why not?                                  16   mentioned specifically in here. My
      17             MR. BERNARDO: Object to the            17   understanding was we were not to talk --
      18    form of the question, beyond the scope of the   18   going to be talking about these other cases,
      19    notice.                                         19   Joly that you keep talking about. I don't
      20             THE WITNESS: Again, my                 20   know why it was not specifically mentioned
      21    understanding is it's not within the scope of   21   here.
      22    the notice.                                     22      Q. Well, it certainly should have
      23    BY MR. C. PLACITELLA:                           23   been, right?
      24       Q. Scope of what notice?                     24            MR. BERNARDO: Object to the
      25       A. The notice that you presented to          25   form of the question.

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       1    BY MR. C. PLACITELLA:                            1             (Exhibit P-5, Ad, is marked for
       2      Q. You swore under oath that you knew          2   identification.)
       3    about it.                                        3   BY MR. C. PLACITELLA:
       4              MR. BERNARDO: Object to the            4      Q. So I read this, I read this ad. I
       5    form of the question.                            5   think it was in the New York Times and you,
       6              THE WITNESS: I can't say               6   Johnson & Johnson states, that if you had any
       7    whether it should have been or not.              7   reason to believe talc was unsafe, it would
       8    BY MR. C. PLACITELLA:                            8   never have been on your shelves, correct?
       9       Q. I mean, your Medical Director              9      A. That's correct.
      10    actually had a memo to him saying that, what?   10      Q. Okay. So, but the Medical Director
      11    That the person had fibrosis?                   11   had notice as far back as 1985 that someone
      12          Do we have it?                            12   using your baby powder had scarring of the
      13          Here, let's go back and look at it.       13   lung that was evident on X-ray, very severe
      14          Scarring of the lung tissue was           14   obstruction of small airways, did not respond
      15    noted on X-ray. Consumer did not respond to     15   to bronchodilators and actually found your
      16    bronchodilators.                                16   talc in the consumer's sputum, but you never
      17          You certainly knew about it,              17   took it off the market, right?
      18    correct?                                        18             MR. BERNARDO: Object to the
      19              MR. BERNARDO: Object to the           19   form of the question.
      20    form of the question.                           20             THE WITNESS: It was not taken
      21              THE WITNESS: My name is on the        21   off market, no.
      22    memo, yes.                                      22   BY MR. C. PLACITELLA:
      23              MR. C. PLACITELLA: And by the         23      Q. Now, back to the Krushinski case,
      24    way, can you give me that other document        24   if you can go to interrogatory number 17. In
      25    while we're here. No, the one on the ad.        25   interrogatory number 17 it says, Describe in

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       1    detail all processes, procedures and testing    1       Q. Okay.
       2    performed upon the talc used in the             2             MR. C. PLACITELLA: Now, can
       3    manufacture of Johnson's Baby Powder to         3   you give me Dr. Hopkins' testimony?
       4    reduce or eliminate the existence of            4             (Exhibit P-3, Trial transcript
       5    asbestos, tremolite or other contaminants in    5   of John Hopkins, Ph.D., is marked for
       6    Johnson's Baby Powder.                          6   identification.)
       7          Correct?                                  7   BY MR. C. PLACITELLA:
       8       A. That's what it says, yes.                 8       Q. I'm going to give you the chance to
       9       Q. And you verified under oath that to       9   look at the testimony of Dr. Hopkins that's
      10    the best of defendant's knowledge talc used    10   given during the trial that's going on now,
      11    in the manufacture of Johnson & Johnson's      11   specifically about your answer under oath.
      12    Baby Powder never contained asbestos in any    12   I'll give you a chance to take a look at it.
      13    form, or tremolite. Defendant's sources of     13   And we've marked it P-3. Give it to counsel
      14    talc were selected for their lack of           14   first.
      15    contaminants and further, testing was          15             MR. BERNARDO: And I'm going to
      16    performed over a significant number of years   16   object your asking the witness to review
      17    by outside laboratories which verified that    17   somebody's trial testimony in real time to
      18    defendant's talc sources did not contain       18   determine what was said, particularly since
      19    asbestos or tremolite.                         19   it was a long trial with a lot of testimony.
      20          Do you see that?                         20   And I don't think any of us know here whether
      21       A. Yes, I do.                               21   there was additional to this or otherwise.
      22       Q. Okay. Do you recall swearing to          22             But subject to that
      23    that under oath?                               23   objection...
      24       A. That's -- that's part of the             24             Do you have another copy of
      25    interrogatories, yes.                          25   that, Chris?

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       1              MR. C. PLACITELLA: I have one         1      Q. Under 105, where it talks about
       2    copy, but I put it up there so everyone can     2   your interrogatory number 17. "Those are the
       3    see it.                                         3   answers," "they are," "turn back to number
       4    BY MR. C. PLACITELLA:                           4   17;" do you see it?
       5       Q. When they're talking about -- here        5      A. Just a minute. I want to get the
       6    and I'll put the copy up right next to it.      6   full context of it. Okay.
       7              MR. BERNARDO: Can you give her        7         (At which time the Witness reviews
       8    an opportunity to read it?                      8   the document.)
       9    BY MR. C. PLACITELLA:                           9             MR. BERNARDO: Let me also
      10       Q. Yeah, take your time, take your          10   object. I'm not sure how much the witness
      11    time.                                          11   has read. And you certainly can ask her
      12       A. (At which time the Witness reviews       12   questions. But I recall that that testimony
      13    the document.)                                 13   was interrupted by a long encounter with
      14       Q. What do you want to look at it?          14   Judge Seligman and that it was subsequently
      15       A. Well, I was looking at the left          15   re-addressed again.
      16    side --                                        16             So, again, I'm raising my
      17       Q. No, I want you to look at the            17   objection to asking this witness here in real
      18    transcript.                                    18   time to read trial testimony that is fairly
      19       A. -- and then it changed.                  19   lengthy and comment on it.
      20              MR. BERNARDO: He wants you to        20             MR. C. PLACITELLA: Well, the
      21    look at the whole section that pertains to     21   problem is that she said she consulted
      22    that answer so you can answer.                 22   Dr. Hopkins and relied upon him. So I want
      23              THE WITNESS: Yeah.                   23   to see whether Dr. Hopkins was telling her
      24              So where are we starting?            24   the truth.
      25    BY MR. C. PLACITELLA:                          25             MR. BERNARDO: Well...

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       1              MR. C. PLACITELLA: Or whether          1   preparing for today's deposition, one of them
       2    Johnson & Johnson ever conveyed to this          2   was Dr. Hopkins; did you say that?
       3    witness the truth --                             3      A. Yes.
       4              MR. BERNARDO: Well --                  4      Q. Okay. And he was also one of the
       5              MR. C. PLACITELLA: -- in -- in         5   people that was relied upon in swearing to
       6    getting this deposition prepared.                6   interrogatories under oath, correct?
       7              MR. BERNARDO: The truth is in          7      A. He has -- he -- we may have
       8    the entirety of Mr. Hopkins' testimony.          8   consulted with him with different times,
       9              MR. C. PLACITELLA: Okay.               9   since I -- as I told you earlier, I don't
      10              MR. BERNARDO: Not the two or          10   remember exactly.
      11    three pages that the witness has just had the   11      Q. Right.
      12    opportunity to read.                            12         And in your sworn answers to
      13              And I don't think your                13   interrogatories under oath, you say, To the
      14    characterization of the testimony earlier       14   best of defendant's knowledge, in
      15    today is the truth, but...                      15   interrogatory 7 [verbatim], talc used in the
      16              MR. C. PLACITELLA: Well, you          16   manufacture of Johnson & Johnson's Baby
      17    know what, you can ask her anything you want    17   Powder never contained asbestos in any form,
      18    on redirect.                                    18   or tremolite.
      19              MR. BERNARDO: I'm just                19         Correct?
      20    commenting on the process here and the          20      A. You just said number 7?
      21    procedure and I object to that.                 21      Q. 17.
      22              MR. C. PLACITELLA: Okay.              22      A. Oh, 17, okay.
      23    BY MR. C. PLACITELLA:                           23      Q. Then it goes on to say, Defendant's
      24       Q. Did you not testify when you              24   sources of talc were selected for their lack
      25    started that the person you relied upon in      25   of contaminants and were further tested --

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       1    and further, testing was performed over a        1             MR. BERNARDO: Object to the
       2    significant number of years by outside           2   form of the question.
       3    laboratories who verified the defendant's        3             THE WITNESS: Yes.
       4    talc sources did not contain asbestos or         4   BY MR. C. PLACITELLA:
       5    tremolite.                                       5      Q. Okay. And he then asks, And we
       6          That's what you swore to, right?           6   know, do we not -- we know, do we not,
       7       A. That's what it says, yes.                  7   Dr. Hopkins, that the Battelle
       8       Q. Okay. And Dr. Hopkins under oath           8   Laboratories -- do you know who they are?
       9    before a jury just this past month is            9      A. No, I don't.
      10    directed to your response, your sworn           10      Q. No one ever told you about the
      11    response, number 17; do you see that?           11   Battelle Laboratories?
      12       A. It appears that way. It's hard for        12      A. I -- I know the names, but I'm not
      13    me to follow.                                   13   going to know which laboratory is which.
      14       Q. Well, if you look it says, it says,       14      Q. Okay. At least for the Italian
      15    As we read -- the first sentence here, I want   15   talc, actually verified that the Italian talc
      16    to read the second sentence of that answer.     16   tanning source of talc [verbatim] -- for
      17          And does not that track exactly           17   Johnson & Johnson did contain tremolite,
      18    your answer, where it says, Defendant's         18   correct?
      19    sources of talc were selected for their lack    19          And his answer was, the Battelle
      20    of contaminants?                                20   reports from the '50s did mention trace
      21          It's the exact duplicate, correct?        21   tremolite.
      22       A. It's the same sentence, yes.              22          And the question is, And it did so
      23       Q. Right.                                    23   in hundreds of tests, correct?
      24          And he says it goes to number 17,         24          And his answer was, Yes. In
      25    which is your interrogatory answer, correct?    25   several hundred tests, they reported trace

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       1    tremolite.                                      1   that an honest and forthright witness can
       2            Correct?                                2   provide a simple answer to a simple question?
       3        A. That's what it says, yes.                3             MR. BERNARDO: Object to the
       4        Q. And despite that information in the      4   form of the question. It's not an
       5    possession of Johnson & Johnson that several    5   appropriate question.
       6    hundred tests showed trace tremolite,           6             THE WITNESS: To a simple
       7    Johnson & Johnson asked you to certify under    7   question, yes.
       8    oath that there was never any evidence          8   BY MR. C. PLACITELLA:
       9    whatsoever of tremolite, correct?               9      Q. Okay. And I am asking you, ma'am,
      10                MR. BERNARDO: Object, object       10   that when you swore under oath, under penalty
      11    to the form of the question, the               11   of perjury in the Krushinski case that there
      12    characterization of the response.              12   was no evidence whatsoever of tremolite in
      13                THE WITNESS: I mean, I think       13   the Johnson products, Johnson & Johnson never
      14    it's -- it's important to understand that,     14   told you about the tests they had as
      15    just like you're taking the testimony out of   15   testified to by Dr. Hopkins that there were
      16    context, you're taking this particular         16   hundreds of tests showing tremolite in the
      17    question out of context. And as for            17   talc used in Johnson -- you were never told
      18    anything, I would like to look at the          18   that, correct?
      19    Complaint it relates to, rather than just a    19             MR. BERNARDO: Object to the
      20    question on its own. And that's what I did     20   form of the question.
      21    in my preparation.                             21             THE WITNESS: I think it's
      22    BY MR. C. PLACITELLA:                          22   important to understand whether we're talking
      23        Q. Ma'am, I'm going to ask you the         23   about tremolite or tremolite asbestos, which
      24    question again.                                24   is what I wanted to make clear when I looked
      25            Do you believe me -- do you believe    25   at this Complaint. And this Complaint

                                             Page 192                                            Page 193
       1    specifically mentions the type of asbestos,     1      A. I -- I can't go into the
       2    one included as tremolite asbestos.             2   configuration. I know it's the different
       3             I mean, it is confusing, I will        3   shapes and all, but one is asbestos and one
       4    grant that. But at the time this litigation     4   is not.
       5    was talking about tremolite, we were always     5      Q. Ma'am, tell me what exactly you
       6    talking about tremolite asbestos.               6   know when you swore under oath that there was
       7    BY MR. C. PLACITELLA:                           7   no evidence of tremolite, what you understood
       8       Q. Ma'am, what's the difference              8   the difference to be?
       9    between tremolite and tremolite asbestos?       9      A. My understanding is that this --
      10       A. Obviously, a big difference.             10      Q. Ma'am, when you swore under oath --
      11       Q. What's the difference, ma'am?            11             MR. BERNARDO: Object to the
      12          What's your understand -- what is        12   form. She --
      13    Johnson --                                     13   BY MR. C. PLACITELLA:
      14       A. One is asbestos and one is not.          14      Q. -- when you answered the
      15       Q. Ma'am, what is the difference            15   interrogatories --
      16    between tremolite and tremolite asbestos?      16             MR. BERNARDO: Chris, you asked
      17          What is Johnson & Johnson's              17   her a question and she started answering and
      18    understanding of the difference, since you     18   you interrupted her.
      19    said that?                                     19   BY MR. C. PLACITELLA:
      20       A. One is asbestos and one is not.          20      Q. When you answered under oath in the
      21       Q. What makes it different?                 21   Krushinski case, what was your understanding
      22             MR. BERNARDO: Object.                 22   at that time between the difference between
      23    BY MR. C. PLACITELLA:                          23   tremolite and tremolite asbestos?
      24       Q. What differentiation, asbestos           24             MR. BERNARDO: Object to the
      25    tremolite versus non-asbestos tremolite?       25   form of the question.


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       1              THE WITNESS: As I just said to        1   form of the question and to the statement,
       2    you, the difference is one is asbestos and      2   the characterization of the words on the
       3    one is not. And at the time of this             3   paper there.
       4    interrogatory, which was specifically           4             THE WITNESS: Yeah, that's not
       5    answered in response to a Complaint, it was     5   what it said. It says any form of asbestos
       6    dealing with tremolite asbestos.                6   or tremolite.
       7    BY MR. C. PLACITELLA:                           7   BY MR. C. PLACITELLA:
       8       Q. This answer asks you the existence        8       Q. Correct.
       9    of asbestos or tremolite, does it not; isn't    9          So when we're talking about
      10    that the question?                             10   asbestos, they were saying any form, and then
      11       A. Yeah, and I admitted, it's               11   they asked about tremolite in addition,
      12    confusing. It could have been worded better.   12   correct?
      13       Q. Could have been worded better?           13          The question did not ask you
      14       A. Yes.                                     14   asbestos tremolite, it's asked about
      15       Q. How do you word mistruths better?        15   tremolite, correct?
      16              MR. BERNARDO: Object to the          16       A. My understanding and our
      17    form of the question.                          17   understanding at the time is we were talking
      18              THE WITNESS: It's not a              18   about tremolite asbestos, because I don't
      19    mistruth.                                      19   know -- I -- would have been talking about
      20    BY MR. C. PLACITELLA:                          20   non-asbestos tremolite. We were -- the
      21       Q. So you believe that when you said        21   litigations would address tremolite asbestos,
      22    there's never any -- there's no evidence and   22   that's why I went back to the Complaint to
      23    it never contained any form of tremolite,      23   make sure because it is confusing.
      24    that was an accurate statement?                24       Q. So your testimony today is that
      25              MR. BERNARDO: Object to the          25   when you provided the interrogatory answers

                                            Page 196                                             Page 197
       1    in the Krushinski case, you understood the      1      Q. The truth of the matter is you
       2    difference between what you thought was         2   don't know anything about tremolite, what's
       3    tremolite and tremolite asbestos in every       3   fibrous, what's not fibrous, what's asbestos
       4    way, correct?                                   4   and what's not asbestos, true?
       5              MR. BERNARDO: Object to the           5      A. Well, I had conversations with
       6    form of the question.                           6   Dr. Hopkins specifically about this, because,
       7              THE WITNESS: I'm saying that I        7   as I said, it's confusing. And I believe he
       8    understood the word tremolite to mean           8   addressed it if you saw his entire testimony.
       9    tremolite asbestos, because it was a            9      Q. Okay. So you did read his entire
      10    litigation about that.                         10   testimony?
      11    BY MR. C. PLACITELLA:                          11      A. I did not read his entire -- I
      12        Q. Okay. And when you answered that,       12   read -- I read his testimony. But do I
      13    you -- you -- did you know what fibrous        13   remember everything that's in there? No.
      14    tremolite was?                                 14      Q. Oh, so you were given Dr. Hopkins'
      15        A. That's -- that's kind of beyond         15   testimony in preparation for today's
      16    what I understand. I don't know.               16   deposition?
      17        Q. Well, did you know that under           17      A. Yes, as I told you earlier, I did
      18    Johnson & Johnson's definition of fibrous      18   read some of his deposition and some of his
      19    tremolite that that's asbestos, did you know   19   testimony. Not all of it, nor do I remember
      20    that?                                          20   everything that was said.
      21              MR. BERNARDO: Object to the          21      Q. Do you remember reading his
      22    form of the question.                          22   testimony in the Levitt case that I put in
      23              THE WITNESS: I -- that's not         23   front of you?
      24    my specialty, I don't know.                    24      A. No, I don't remember.
      25    BY MR. C. PLACITELLA:                          25             MR. BERNARDO: Mr. Placitella,

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       1    for the record, we provided you with a box       1   Johnson's Baby Powder.
       2    of -- which will clarify what she did and        2      Q. And is it your position that when
       3    didn't read of the testimony that she read.      3   you signed this under oath, Johnson & Johnson
       4    BY MR. C. PLACITELLA:                            4   had no evidence in its possession that there
       5       Q. Okay. So it's your testimony that          5   was fibrous tremolite in the Johnson's talc
       6    when you said no evidence of tremolite, you      6   products?
       7    meant asbestos tremolite; that's your            7             MR. BERNARDO: Object to the
       8    testimony?                                       8   form of the question.
       9       A. Yes.                                       9             THE WITNESS: As I said
      10       Q. Okay. And at that point in time           10   earlier, I can't get into fibrous or not
      11    you had no information whatsoever available     11   fibrous. I don't know what that means.
      12    to Johnson & Johnson that any test done of      12   BY MR. C. PLACITELLA:
      13    any Johnson & Johnson Baby Powder ever found    13      Q. Well, in making this shouldn't you
      14    asbestos containing tremolite; is that          14   know that when -- when it's referred to as
      15    your -- is that your testimony?                 15   fibrous tremolite, Johnson & Johnson
      16       A. No. My testimony is that there was        16   considered that asbestos?
      17    no tremolite asbestos.                          17         Shouldn't you know that?
      18       Q. Ma'am, when you signed under oath,        18      A. No. Again, that's why we have
      19    under penalty of perjury this answer, is it     19   experts to be able to answer those things.
      20    your testimony that Johnson & Johnson had no    20      Q. Okay. Now, when I asked you
      21    evidence whatsoever of any tests showing that   21   questions about this very question in our
      22    there was asbestos containing tremolite in      22   last deposition, you never, ever mentioned,
      23    its baby powder or talc products?               23   did you, anything about a difference in your
      24       A. Yes, the position is that there is        24   perception between asbestos and non-asbestos
      25    no tremolite asbestos in the cosmetic talc of   25   tremolite, correct?

                                             Page 200                                             Page 201
       1        A. I don't remember exactly what I           1   let's talk about -- we'll come back to that.
       2    said.                                            2          By the way, so you looked -- you
       3        Q. Do I need to show it to you?              3   looked at the Krushinski discovery responses.
       4        A. If you would like to.                     4   What other cases did you actually look at the
       5        Q. Okay. Well, we'll take a break and        5   discovery responses?
       6    I'll show it to you.                             6      A. Well, as indicated, we looked at
       7           And it was after you met with the         7   Selby and Krushinski.
       8    lawyers, now you came up with the explanation    8      Q. That's -- those are the only two?
       9    that there's a difference when you answered      9      A. Those are the only two that they
      10    the question between asbestos tremolite and     10   had discovery responses available for.
      11    non-asbestos tremolite, correct?                11      Q. So out of the thousands of cases
      12              MR. BERNARDO: Object to the           12   that Johnson & Johnson has been involved in
      13    form of the question.                           13   since 1972, you only looked at two sets of
      14              THE WITNESS: No, I -- I didn't        14   discovery responses in order to prepare for
      15    come up with this. Actually, you asked me a     15   today's deposition?
      16    lot of different questions last time we met.    16              MR. BERNARDO: Object to the --
      17    And there was some of those things that I       17   BY MR. C. PLACITELLA:
      18    didn't have answers to. So I don't like         18      Q. Is that fair?
      19    being like that, and I wanted to clarify        19              MR. BERNARDO: Object to the
      20    things. So I did ask to speak -- to see         20   form of the question.
      21    different documents and that's why I had the    21              THE WITNESS: I don't know
      22    conversation, one of the reasons I had the      22   whether there were thousands, but it is our
      23    conversation with Dr. Hopkins.                  23   understanding according to the notice that
      24    BY MR. C. PLACITELLA:                           24   you provided, and these were the discovery
      25        Q. Okay. Well, we'll do some -- okay,       25   responses that were available.

                                                                       51 (Pages 198 to 201)
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       1    BY MR. C. PLACITELLA:                            1   Miller given in the Westfall case.
       2       Q. So, to your knowledge, from the            2         Do you see that?
       3    time Johnson & Johnson became involved in        3      A. That's what it says, yes.
       4    baby powder litigation from 1972 until the       4      Q. And Roger Miller was the President
       5    present -- up till the time you're preparing     5   of Windsor Minerals, right?
       6    for this deposition, there are only two sets     6      A. I believe so, yes.
       7    of discovery responses made available to you?    7      Q. And did your lawyers ever share
       8              MR. BERNARDO: Object to the            8   this deposition with you?
       9    form of the question.                            9      A. No, I did not see this.
      10    BY MR. C. PLACITELLA:                           10      Q. Okay. And if you look at the
      11       Q. Is that right?                            11   second page, do you see that Johnson &
      12       A. There are only two that I looked          12   Johnson had actually had lawyers there at
      13    at, yes.                                        13   this deposition for Windsor?
      14       Q. Okay. Now --                              14      A. I guess that's what that means.
      15              MR. C. PLACITELLA: Give me            15      Q. Okay. And when is the first time
      16    294.                                            16   that Johnson & Johnson was given notice of
      17              (Exhibit J&J-294, Deposition          17   the Westfall case?
      18    transcript of Roger N. Miller, is marked for    18            MR. BERNARDO: Object to the
      19    identification.)                                19   form of the question, beyond the scope of the
      20              MR. BERNARDO: What was the            20   notice.
      21    number, Chris?                                  21            You can answer in your
      22              MR. C. PLACITELLA: 294.               22   individual capacity, if you know.
      23              MR. BERNARDO: Thank you.              23            THE WITNESS: I don't know.
      24    BY MR. C. PLACITELLA:                           24            (Exhibit J&J-483, Memo, is
      25       Q. 294 is the deposition of Roger            25   marked for identification.)

                                             Page 204                                             Page 205
       1    BY MR. C. PLACITELLA:                            1      Q. Okay. And in addition to the
       2      Q. 483 is a memo from July 5, 1981 on          2   Italian talc?
       3    Johnson & Johnson stationery, entitled Talc      3             MR. BERNARDO: Object to the
       4    Suit, Westfall versus Metropolitan Talc.         4   form of the question. Again, beyond the
       5          Do you see that?                           5   scope of the notice.
       6       A. That's what it says, yes.                  6             If you know in your individual
       7      Q. And it says, Background:                    7   capacity.
       8    Metropolitan Talc (our former source of          8             THE WITNESS: I don't know.
       9    domestic ground Italian talc) is being sued      9   BY MR. C. PLACITELLA:
      10    by survivors of Mr. Westfall. His autopsy       10      Q. Well, it says "Italian talc" right
      11    report alleges his death was due to             11   on the top, right? It's on your letterhead.
      12    mesothelioma.                                   12      A. Is there a question? I'm sorry.
      13          Do you see that?                          13      Q. Yeah. It says Italian talc right
      14       A. That's correct, that's what it            14   on the top, right?
      15    says.                                           15      A. Background, it says our former
      16      Q. At some point in time, Johnson &           16   source of domestic ground Italian talc.
      17    Johnson actually became a defendant in the      17      Q. Right.
      18    Westfall case, did it not?                      18         And you're aware, I assume, that
      19      A. I don't know.                              19   the -- there were scientists who testified
      20       Q. Okay.                                     20   with Johnson & Johnson's lawyers present that
      21      A. I do know that this involved               21   they found asbestos in the Johnson mine,
      22    industrial talc, that's all I know.             22   correct? You knew that?
      23      Q. It involved industrial talc out of         23             MR. BERNARDO: Object to the
      24    the Johnson mine, correct?                      24   form of the question, beyond the scope of the
      25       A. Yes.                                      25   notice. Not answering in her corporate


                                                                       52 (Pages 202 to 205)
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       1    capacity.                                       1             (Exhibit J&J-172, Deposition
       2               (Reporter clarification.)            2   transcript of Glenn A. Hemstock, is marked
       3               MR. BERNARDO: Sorry.                 3   for identification.)
       4    Objecting it's beyond the scope of the          4   BY MR. C. PLACITELLA:
       5    notice, the witness is not responding as a      5      Q. I'll show you what has been marked
       6    corporate representative on this issue.         6   J&J-172. This is the deposition of Glenn
       7               MR. C. PLACITELLA: Well,             7   Hemstock taken in the Westfall case.
       8    that's -- that's your -- we'll see what the     8             MR. BERNARDO: And same
       9    judge says. Okay?                               9   objection to asking the witness about
      10               MR. BERNARDO: I'm just making       10   depositions. It's beyond the scope of the
      11    my objection and noting it.                    11   notice. And she's not read the deposition.
      12    BY MR. C. PLACITELLA:                          12   BY MR. C. PLACITELLA:
      13       Q. You knew that, right?                    13      Q. And it's versus Windsor Minerals as
      14       A. I don't know that.                       14   one of the defendants, correct?
      15       Q. So you never knew before you came        15      A. That's what it says.
      16    here today that Johnson & Johnson's lawyers    16      Q. Okay. And if you go to the third
      17    sat in a deposition where the scientists who   17   page, it actually indicates that Johnson &
      18    did the tests on the Johnson & Johnson mine    18   Johnson's general counsel was at the
      19    said they found asbestos in the mine; you      19   deposition, right?
      20    never knew that?                               20             MR. BERNARDO: Object to the
      21               MR. BERNARDO: Object to the         21   form of the question.
      22    form of the question, same objection.          22             THE WITNESS: A name is listed
      23               THE WITNESS: I don't know.          23   there, yes.
      24               MR. C. PLACITELLA: Give me          24   BY MR. C. PLACITELLA:
      25    172.                                           25      Q. So he certainly knew and Johnson &

                                            Page 208                                             Page 209
       1    Johnson certainly knew what information was     1   with respect to all of these deposition
       2    revealed in that deposition, correct?           2   transcripts.
       3       A. The lawyer's name is listed there,        3             THE WITNESS: I see them there,
       4    yes.                                            4   yes.
       5       Q. Did you ever have any dealings with       5   BY MR. C. PLACITELLA:
       6    John Beidler?                                   6      Q. And I flipped to page 17 of the
       7       A. I knew of him, yes.                       7   deposition. You see where the scientist is
       8       Q. Did he ever tell you that he              8   asked, "Now, you testified that your
       9    attended depositions where scientists           9   department has tested both the processed talc
      10    testified they found asbestos in the Vermont   10   and the raw talc ore from the Emtal mine for
      11    mines once owned by Johnson & Johnson?         11   the presence of chrysotile asbestos; is that
      12                MR. BERNARDO: Object to the        12   correct?
      13    form of the question.                          13         "ANSWER: Yes.
      14                THE WITNESS: No, he did not.       14         "Has your department in its
      15                (Exhibit J&J-173, Continuation     15   research found chrysotile asbestos in both
      16    deposition transcript of Glenn Hemstock, is    16   processed talc and raw ore from the Emtal
      17    marked for identification.)                    17   mine?
      18    BY MR. C. PLACITELLA:                          18         "ANSWER: Yes."
      19       Q. Okay. Let me show you 173, which         19         Do you see that?
      20    is the continuation of Dr. Hemstock's          20             MR. BERNARDO: Same objection.
      21    deposition.                                    21             THE WITNESS: I see it says
      22           I'll show you on the second page,       22   that, yes.
      23    you'll see that Johnson & Johnson's lawyers    23   BY MR. C. PLACITELLA:
      24    are there at the deposition again?             24      Q. That information was never relayed
      25                MR. BERNARDO: Same objection       25   to you as the person who was either

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       1    testifying here today or certified              1          "WITNESS: Scanning electron
       2    interrogatory answers on behalf of Johnson &    2   microscopy, transmission electron microscopy,
       3    Johnson, correct?                               3   selected area diffraction.
       4       A. I have not seen this before, no.          4          "Where did you perform those tests?
       5              MR. C. PLACITELLA: Can you            5          "Georgia Tech.
       6    give me 436, please?                            6          "When were those tests performed?
       7              (Exhibit J&J-436, Deposition          7          "Late fall '78 and January and
       8    transcript of Peter N. Gale, is marked for      8   February of '79, I believe.
       9    identification.)                                9          "Do you recall today what those
      10    BY MR. C. PLACITELLA:                          10   tests revealed?
      11       Q. I'm going to show you the                11          "I recall that there were fibers
      12    deposition of Peter Gale, who is another       12   found in those talcs, yes.
      13    scientist who testified in the case.           13          "Did you identify the nature,
      14              MR. BERNARDO: Same objection         14   mineralogic nature of the fibers that were
      15    with respect to this testimony, as also with   15   found?
      16    respect to the other testimonies.              16          "ANSWER: Yes.
      17    BY MR. C. PLACITELLA:                          17          "What was the nature of those
      18       Q. All right. And you can see on the        18   fibers?
      19    second page that the lawyers for Johnson &     19          "ANSWER: I determined those fibers
      20    Johnson were at this deposition as well?       20   were chrysotile fibers.
      21       A. I see the names listed, yes.             21          "QUESTION: How did you determine
      22       Q. Okay. And if you go to page 19, he       22   those fibers were chrysotile fibers?
      23    talks about the studies he did himself. He     23          "ANSWER: Using selected area
      24    says, "What analysis did you run on the        24   electron diffraction in conjunction with
      25    second round of studies?                       25   transmission electron microscopy."

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       1           Do you see that?                         1   BY MR. C. PLACITELLA:
       2              MR. BERNARDO: Object to the           2      Q. Let me ask you the question this
       3    form of the question. And object to your        3   way to keep it moving, do you know that that
       4    reading into the transcript --                  4   case was settled confidentially under oath --
       5    BY MR. C. PLACITELLA:                           5             MR. BERNARDO: Object to the
       6       Q. Do you see that?                          6   form of the question.
       7              MR. BERNARDO: -- excerpts of          7   BY MR. C. PLACITELLA:
       8    deposition testimony.                           8      Q. -- by Johnson & Johnson?
       9              THE WITNESS: I see that, yes.         9      A. I do not know that.
      10    BY MR. C. PLACITELLA:                          10      Q. Now, in the same year that these
      11       Q. And before today and in responding       11   scientists testified under oath with
      12    to all these interrogatories under oath, no    12   Johnson & Johnson lawyers present, you were
      13    one ever told you from Johnson & Johnson,      13   sued in the Gambino case, right?
      14    even though you knew the lawyers, that there   14             MR. BERNARDO: Object to the
      15    was testimony of scientists under oath that    15   form of the question, beyond the scope of the
      16    found asbestos in the Vermont mines once       16   notice.
      17    owned by Johnson & Johnson, correct?           17             THE WITNESS: I don't know what
      18       A. We did not review these                  18   year what happened.
      19    testimonies.                                   19   BY MR. C. PLACITELLA:
      20       Q. So is the answer correct, you were       20      Q. Well, what did your chart say about
      21    never told?                                    21   Gambino?
      22       A. We did not review these specific         22      A. Gambino is listed as 1983.
      23    testimonies.                                   23      Q. And that's the date of this
      24              MR. C. PLACITELLA: Now, give         24   deposition, correct?
      25    me 441.                                        25      A. I have to go back to the deposition

                                                                      54 (Pages 210 to 213)
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       1    and see that.                                    1      A. I see it says that.
       2        Q. 1983?                                     2      Q. And according to your earlier
       3        A. Okay.                                     3   testimony, your lawyers didn't have any other
       4        Q. Okay. So in the same years that           4   information on Gambino to provide to you,
       5    the scientists testified that the mines once     5   correct?
       6    owned by Johnson & Johnson contained             6             MR. BERNARDO: Object to the
       7    asbestos, you were sued in Middlesex County,     7   form of the question.
       8    New Jersey in the Gambino case, correct?         8             THE WITNESS: There were no
       9              MR. BERNARDO: Object to the            9   discovery records.
      10    form of the question, beyond the scope of the   10             MR. C. PLACITELLA: Okay. Can
      11    notice. This witness isn't being tendered as    11   you give me the...
      12    a corporate representative on the subject of    12   BY MR. C. PLACITELLA:
      13    litigation.                                     13      Q. Well, I want to show you again the
      14              You can go ahead answer in your       14   log of documents not turned over. There were
      15    personal capacity.                              15   plenty of documents related to the Gambino
      16    BY MR. C. PLACITELLA:                           16   case, you were just never shared them, were
      17        Q. Here, I put it up there for you,         17   you?
      18    it's 291; do you see it?                        18             MR. BERNARDO: Object to the
      19        A. All I know is the years are the          19   form of the question.
      20    same.                                           20   BY MR. C. PLACITELLA:
      21        Q. Right. In Middlesex County,              21      Q. According to your own privilege
      22    New Jersey; do you see that?                    22   log, the -- the log that you put in this
      23        A. I see it says that, yes.                 23   courthouse, there were plenty of documents
      24        Q. And it involved Johnson's Baby           24   related to the Gambino case --
      25    Powder, correct?                                25             MR. BERNARDO: Object to the

                                             Page 216                                             Page 217
       1    form of the question.                            1   Johnson & Johnson.
       2    BY MR. C. PLACITELLA:                            2       Q. And, also, Mr. Ashton was involved?
       3       Q. -- correct?                                3       A. I see the names there.
       4              MR. BERNARDO: Are you pointing         4       Q. Well, Mr. Ashton certainly knew
       5    to a discovery response in there, Chris? I       5   about the testing that showed asbestos in
       6    can't read it from here.                         6   Johnson's Baby Powder, right?
       7              MR. C. PLACITELLA: I'm                 7              MR. BERNARDO: Object to the
       8    point -- I'm pointing to your entry that         8   form of the question. Again, I object to
       9    there were memorandums, memorandums,             9   this whole line of questioning and asking
      10    memorandums, memorandums.                       10   this witness about a privilege log generated
      11              MR. BERNARDO: But you're not          11   by lawyers in litigation, Chris. You know
      12    pointing to a discovery response? I just        12   that's inappropriate. You know it's not
      13    want to be able to see it.                      13   within the scope of this notice.
      14    BY MR. C. PLACITELLA:                           14              MR. C. PLACITELLA: No, I think
      15       Q. There were plenty of documents            15   it's totally within the scope.
      16    never shared with you, that's all I'm asking.   16              MR. BERNARDO: I think it's
      17              MR. BERNARDO: Object to the           17   completely inappropriate. And you know this
      18    form of the question.                           18   witness is not here to address privilege
      19              THE WITNESS: I was not shared         19   logs, lawsuits filed or other --
      20    any interrogatories, no.                        20              MR. C. PLACITELLA: Okay.
      21    BY MR. C. PLACITELLA:                           21              MR. BERNARDO: -- kinds of
      22       Q. Okay. And you see here who was            22   questions that you've been asking for an hour
      23    involved in defending the Gambino case. Who     23   now.
      24    is Donald Jones?                                24              MR. C. PLACITELLA: Okay.
      25       A. He's one of the scientists,               25   BY MR. C. PLACITELLA:

                                                                       55 (Pages 214 to 217)
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                                            Page 218                                             Page 219
       1       Q. What happened to Mr. Gambino's            1   form of the question.
       2    case, do you know? Mrs. Gambino's case?         2   BY MR. C. PLACITELLA:
       3             MR. BERNARDO: Object to the            3      Q. Did you know that?
       4    form of the question, outside the scope of      4            MR. BERNARDO: Beyond the scope
       5    the notice.                                     5   of the notice.
       6             THE WITNESS: I don't know.             6            THE WITNESS: I don't even know
       7    BY MR. C. PLACITELLA:                           7   what that means.
       8       Q. It was non-suited, wasn't it?             8   BY MR. C. PLACITELLA:
       9             MR. BERNARDO: Object to the            9      Q. Okay. And you didn't look at a
      10    form of the question.                          10   single document other than the Complaint
      11    BY MR. C. PLACITELLA:                          11   related to the Gambino case, correct?
      12       Q. Do know what non-suit means?             12      A. I -- my understanding was that we
      13       A. No, I do not.                            13   were to talk about discovery responses, and
      14       Q. It means it was dismissed because        14   there were no discovery responses.
      15    the information -- they didn't have the        15      Q. I want to get right to that now.
      16    information necessary to move forward. Did     16            MR. C. PLACITELLA: Give me
      17    you know that?                                 17   188.
      18       A. I told you, I did not know the           18            THE WITNESS: Where are we on
      19    outcome.                                       19   time, as far as a break?
      20       Q. Did you -- did you know that your        20            MR. BERNARDO: You want to take
      21    lawyer stated in court in California           21   a break?
      22    concerning the Gambino case that the lawsuit   22            THE WITNESS: Yes, please.
      23    was ultimately dismissed without               23            MR. BERNARDO: Chris, we've
      24    adjudication?                                  24   been -- we have been going about an hour.
      25             MR. BERNARDO: Object to the           25   Can we take --

                                            Page 220                                             Page 221
       1             MR. C. PLACITELLA: Can we take         1       Q. So Johnson & Johnson doesn't know
       2    less than a half hour break this time?          2   anything about the Edley case?
       3             MR. BERNARDO: We have not been         3             MR. BERNARDO: Object to the
       4    taking half hour breaks. We try to be very      4   form of the question, beyond the scope of the
       5    conscious. We came in four minutes after our    5   notice.
       6    45-minute lunch.                                6             THE WITNESS: In preparation
       7             MR. C. PLACITELLA: Okay. Take          7   for today, I did not review that case.
       8    a break. Go ahead.                              8   BY MR. C. PLACITELLA:
       9             THE VIDEOTAPE OPERATOR: The            9       Q. Well, Johnson & Johnson certainly
      10    time is 2:41 p m. Off the record.              10   knew about the Edley case, correct?
      11             (Brief recess.)                       11             MR. BERNARDO: Object.
      12             THE VIDEOTAPE OPERATOR: The           12             THE WITNESS: I did not review
      13    time is 2:58 p m. On the record.               13   it for today, no.
      14    BY MR. C. PLACITELLA:                          14   BY MR. C. PLACITELLA:
      15       Q. Okay. So in preparation for              15       Q. Did you know that the Edley case
      16    today's deposition, did your -- or did you     16   was filed in the same courthouse as the
      17    review the information concerning the Edley    17   Gambino case?
      18    case?                                          18       A. I did not --
      19       A. I'm not familiar with that.              19             MR. BERNARDO: Object to the
      20             (Reporter clarification.)             20   form of the question.
      21             MR. C. PLACITELLA: Edley,             21             THE WITNESS: -- review that
      22    E-d-l-e-y.                                     22   question for -- that case for today.
      23    BY MR. C. PLACITELLA:                          23   BY MR. C. PLACITELLA:
      24       Q. You're not familiar with that?           24       Q. Okay. Did you know it was filed by
      25       A. No.                                      25   a well respected lawyer named Ronald Grayzel?


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                                             Page 222                                             Page 223
       1             MR. BERNARDO: Object to the             1             MR. BERNARDO: That's exactly
       2    form of the question.                            2   right.
       3             THE WITNESS: I did not review           3            MR. C. PLACITELLA: No, that
       4    that case for today.                             4   says you. Well, the judge will decide that.
       5    BY MR. C. PLACITELLA:                            5   BY MR. C. PLACITELLA:
       6      Q. Do you know what information                6     Q. So Johnson & Johnson, as you sit
       7    Mr. Grayzel asked for in terms of the            7   here today, knows nothing about the Edley
       8    asbestos content of the talc sold by             8   case --
       9    Johnson & Johnson?                               9            MR. BERNARDO: Object to the --
      10       A. I did not review that case, so I'm        10   BY MR. C. PLACITELLA:
      11    not familiar with it.                           11     Q. -- correct?
      12       Q. Well, not -- but you're not here as       12            MR. BERNARDO: -- form of the
      13    you, Nancy Musco. You're here as Johnson &      13   question.
      14    Johnson.                                        14            THE WITNESS: I did not review
      15          Does Johnson & Johnson know --            15   that case.
      16             MR. BERNARDO: Object --                16   BY MR. C. PLACITELLA:
      17    BY MR. C. PLACITELLA:                           17     Q. You knew, Johnson & Johnson, did
      18       Q. -- what happened in the Edley case?       18   you not, that the Edley case has been brought
      19             MR. BERNARDO: Object to the            19   up in multiple trials related to Johnson's
      20    form of the question, beyond the scope of the   20   Baby Powder; you knew that, right?
      21    notice. She's not here as a corporate           21            MR. BERNARDO: Object to the
      22    representative with respect to the Edley        22   form of the question.
      23    case.                                           23            THE WITNESS: I did not review
      24             MR. C. PLACITELLA: That says           24   that case, so I don't know anything about it.
      25    you.                                            25   BY MR. C. PLACITELLA:

                                             Page 224                                             Page 225
       1      Q. You know that courts have ruled             1      Q. Do you see that was an Affidavit
       2   that the Edley case was relevant to the           2   executed in the Edley case in Middlesex
       3   Johnson & Johnson Baby Powder cases; you know     3   County, New Jersey in 1987; do you see that?
       4   that, right?                                      4             MR. BERNARDO: Object to the
       5             MR. BERNARDO: Object to the             5   form of the question.
       6   form.                                             6             THE WITNESS: I see Middlesex.
       7   BY MR. C. PLACITELLA:                             7   I don't see the date.
       8      Q. You, Johnson & Johnson, you know            8   BY MR. C. PLACITELLA:
       9   that?                                             9      Q. And did you know that Johnson &
      10      A. I --                                       10   Johnson used this Affidavit to get -- to
      11             MR. BERNARDO: The witness is           11   obtain a dismissal from Mr. Edley who claimed
      12   not speaking on behalf of Johnson & Johnson      12   that he was injured from Johnson's talc; did
      13   with respect to this question.                   13   you know that?
      14             THE WITNESS: I did not review          14             MR. BERNARDO: Object to the
      15   this case.                                       15   form of the question, beyond the scope of the
      16   BY MR. C. PLACITELLA:                            16   notice.
      17      Q. Okay.                                      17             THE WITNESS: I did not review
      18             (Exhibit J&J-188, Stipulation          18   the Edley case.
      19   of Dismissal, is marked for identification.)     19   BY MR. C. PLACITELLA:
      20   BY MR. C. PLACITELLA:                            20      Q. Okay. You see Mr. Miller when he
      21      Q. I want to give you 188. And I ask          21   says he was President of Windsor Minerals;
      22   you to look at the third page, which is the      22   that's accurate, correct?
      23   Affidavit written by Roger Miller.               23      A. I see that's what it says, yes.
      24          Do you see that?                          24      Q. And he says that in his paragraph 2
      25      A. I see that's what it says, yes.            25   that, The exclusive business of Windsor


                                                                          57 (Pages 222 to 225)
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       1    Minerals is, and has been the last 18 years,     1   to under oath in paragraph 3 is, All of the
       2    the mining and milling of talc from a single     2   talc mined by Windsor Minerals, Inc., whether
       3    mining district in Windsor, Vermont. That        3   it is ultimately sold to industrial users or
       4    mining district is the exclusive source of       4   used in Johnson's Baby Powder, is sampled and
       5    talc for all of the Johnson's Baby Powder        5   tested for the presence of asbestos.
       6    sold in the United States.                       6          Do you see that?
       7          Did you know that?                         7              MR. BERNARDO: Same objection.
       8              MR. BERNARDO: Object to the            8              THE WITNESS: That's what it
       9    form of the question. Object to this             9   says.
      10    Affidavit as outside of the scope of the        10   BY MR. C. PLACITELLA:
      11    notice. And object to this witness answering    11       Q. He does not distinguish between
      12    in her representative capacity.                 12   industrial and baby powder, does he, in terms
      13              THE WITNESS: I did not review         13   of source and testing?
      14    this.                                           14              MR. BERNARDO: Same objection.
      15    BY MR. C. PLACITELLA:                           15              THE WITNESS: That's what it
      16       Q. It says, In addition to supplying         16   says here.
      17    the talc for Johnson's Baby Powder, Windsor     17   BY MR. C. PLACITELLA:
      18    Minerals also sells a portion of its product    18       Q. And he says, No evidence of the
      19    to independent industrial users.                19   presence of asbestos in Windsor Minerals'
      20          Do you see that?                          20   product has ever been revealed by this
      21              MR. BERNARDO: Same objection.         21   testing; do you see that?
      22              THE WITNESS: That's what's            22              MR. BERNARDO: Same objection.
      23    written here.                                   23              THE WITNESS: That's what the
      24    BY MR. C. PLACITELLA:                           24   sentence says.
      25       Q. Okay. And what Mr. Miller swears          25   BY MR. C. PLACITELLA:

                                             Page 228                                             Page 229
       1       Q. And then what he does is, to back          1   Minerals is a lie, isn't it?
       2    that statement up he says, See Exhibit A, and    2              MR. BERNARDO: Object to the
       3    he attaches a report from McCrone, correct?      3   form of the question, same objection.
       4               MR. BERNARDO: Same objection.         4              THE WITNESS: I'm not prepared
       5               THE WITNESS: I see there's a          5   to answer this.
       6    report here, yes.                                6   BY MR. C. PLACITELLA:
       7    BY MR. C. PLACITELLA:                            7      Q. Okay.
       8       Q. And who is McCrone?                        8              MR. C. PLACITELLA: Can you
       9       A. I believe it's a testing service.          9   give me 28?
      10       Q. All right. And that Affidavit is a        10   BY MR. C. PLACITELLA:
      11    lie, isn't it?                                  11      Q. By the way -- oops, can we go back?
      12               MR. BERNARDO: Object to the          12   You see on the first page, the letter written
      13    form of the question, beyond the scope of the   13   to the lawyer for Mr. Edley by Johnson &
      14    notice. The witness is not answering in her     14   Johnson; do you see that? It says --
      15    capacity as a corporate representative with     15      A. Do we have that document here?
      16    respect to these questions.                     16      Q. Yeah, it's right, it's right in
      17    BY MR. C. PLACITELLA:                           17   front of your documents.
      18       Q. Ma'am, that Affidavit is a lie;           18      A. This one.
      19    isn't it?                                       19      Q. Look at the first page, 188.
      20       A. I have never seen this before and I       20          It says, Enclosed please find an
      21    can't comment on it.                            21   Affidavit on behalf of Windsor Minerals,
      22       Q. Well, you know what the information       22   signed by Roger Miller, President of Windsor
      23    was, you're here to testify on what the         23   Minerals since 1968. Also enclosed you will
      24    historical discovery responses have been.       24   find an assay from a McCrone Environmental.
      25    That Affidavit from the President of Windsor    25   I trust these documents will now enable you

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       1   to sign a dismissal as was done in the Yuhas     1   that?
       2   case.                                            2            MR. BERNARDO: Object to the
       3         Do you see that?                           3   form of the question. She's not testifying
       4            MR. BERNARDO: Object to the             4   on behalf of Johnson & Johnson with respect
       5   form of the question.                            5   to a topic that is wildly outside the scope
       6            THE WITNESS: That's what it             6   of the notice.
       7   says.                                            7            THE WITNESS: I'm not here
       8   BY MR. C. PLACITELLA:                            8   prepared to talk about the Yuhas case.
       9      Q. Remember before you said you didn't        9   BY MR. C. PLACITELLA:
      10   know anything about Yuhas case. Now we know,    10      Q. It says, I trust these documents
      11   right? The Yuhas case was dismissed as well,    11   will now enable you to sign a dismissal as
      12   wasn't it?                                      12   was done in the Yuhas. I've taken the
      13      A. I --                                      13   liberty of drafting the dismissal and
      14            MR. BERNARDO: Object to the            14   enclosing same for your signature along with
      15   form of the question.                           15   a self-addressed stamped envelope.
      16            THE WITNESS: -- don't know             16         Do you see that?
      17   anything about the Yuhas case.                  17      A. I see that sentence, yes.
      18   BY MR. C. PLACITELLA:                           18      Q. And the very first page of this
      19      Q. You don't know that an Affidavit          19   document is the Stipulation of Dismissal
      20   was prepared by Johnson & Johnson in the        20   signed by the lawyer for Mr. Edley after he
      21   Yuhas case saying there was no evidence that    21   got the Miller Affidavit, right?
      22   ever revealed the presence of asbestos and      22            MR. BERNARDO: Object to the
      23   that was responsible for getting that case      23   form of the question, beyond the scope of the
      24   dismissed; you didn't know that?                24   notice. The witness is not answering in her
      25         You, Johnson & Johnson don't know         25   corporate representative capacity.

                                            Page 232                                             Page 233
       1    BY MR. C. PLACITELLA:                           1       Q. Okay. Now focusing on the word
       2       Q. So Mr. Edley gave up his rights to        2   "revealed," got that?
       3    proceed with his lawsuit after he received      3       A. I see that word, yes.
       4    the Affidavit from the President of Windsor     4       Q. Okay. Now, can you go to this
       5    Minerals, right?                                5   Hopkin -- this chart Hopkins-28, please?
       6              MR. BERNARDO: Same objection.         6          Do you see on Hopkins-28 created at
       7              THE WITNESS: I -- I can't             7   the Hopkins dep there's a paragraph that
       8    comment on that.                                8   talks about what the test revealed?
       9    BY MR. C. PLACITELLA:                           9       A. I see that, yes.
      10       Q. The very first page talks about          10       Q. Okay. And let's just -- because --
      11    supplemental answers to supplemental           11   because Mr. Miller relied on the McCrone
      12    interrogatories; do you see that? The letter   12   testing for his Affidavit, let's just talk
      13    to Mr. Grayzel.                                13   and look at the McCrone tests. Okay? To see
      14       A. Yes.                                     14   if that was the only test. No test ever
      15       Q. Where are those interrogatories?         15   revealed any evidence. Okay.
      16       A. I am not here prepared to talk           16          So let's go to 1971; do you see
      17    about this. I don't know.                      17   that?
      18       Q. Okay. So can we go to -- do you          18             MR. BERNARDO: Object to the
      19    see this -- this -- this statement here by     19   form of the question.
      20    the President of Windsor Minerals, No          20             THE WITNESS: I -- there's --
      21    evidence of the presence of asbestos in        21   yeah, there's a couple things under 1971.
      22    Windsor Mineral product has ever been          22   BY MR. C. PLACITELLA:
      23    revealed by this testing.                      23       Q. Right.
      24          Do you see that?                         24          And do you see where it says the
      25       A. I see that sentence.                     25   testing entity is McCrone?

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       1       A. Yes.                                       1   this document and this summary of the
       2       Q. And do you see where it says that          2   document. It's not in front of the witness,
       3    the product that was tested was Shower to        3   that's been created by Plaintiff's counsel.
       4    Shower?                                          4   This is well beyond the scope of the notice.
       5       A. Yes.                                       5             MR. C. PLACITELLA: That's
       6       Q. Okay. And do you see where it              6   absolutely a false statement. And I'm --
       7    says, Fiber of chrysotile, was very clear.       7   I'm -- and please don't do that, please don't
       8    Medicated powder we found one fiber of           8   do that. You are violating the court rules
       9    chrysotile, Shower to Shower. We feel            9   and please don't do that.
      10    strongly it may be chrysotile. Chrysotile is    10             MR. BERNARDO: You are
      11    very low. Final report, Shower to Shower,       11   violating the court rules by asking the
      12    the fiber content of Shower to Shower is        12   witness questions that are so wildly beyond
      13    quite low in comparison to previous samples     13   the scope of what this deposition is.
      14    investigated. We found three suspect fibers.    14             MR. C. PLACITELLA: Okay.
      15    Of these two were found one field and           15   Well, you know what, we'll let Judge Viscomi
      16    probably have the same source, very possibly    16   make that decision. Okay?
      17    contamination. It is still questionable         17             MR. BERNARDO: You've said that
      18    whether they are chrysotile. We have,           18   several times. I'm happy to do that.
      19    however, found traces of chrysotile in G-11,    19             MR. C. PLACITELLA: So...
      20    one of the additives to Shower to Shower, and   20             MR. BERNARDO: I'm just
      21    this might be a possible source of the          21   preserving a record for my client.
      22    contaminant fibers.                             22   BY MR. C. PLACITELLA:
      23          Do you see that?                          23      Q. And you see over here where it says
      24              MR. BERNARDO: Object to the           24   Hopkins Comments?
      25    form of the question. Object to the use of      25      A. I see those words.

                                             Page 236                                             Page 237
       1        Q. And you see he has no comments,           1      Q. Correct?
       2    correct?                                         2      A. Again, I can't comment on this.
       3               MR. BERNARDO: Object to the           3      Q. Okay. Let's go down to 10/12/1971.
       4    form of the question, same objection.            4   Again, testing entity was McCrone, correct?
       5    BY MR. C. PLACITELLA:                            5      A. That's what it says, yes.
       6        Q. And you see where here it says,           6      Q. And it went to Goudie. Who's
       7    Satisfies Johnson & Johnson's definition of      7   Goudie?
       8    asbestos and the answer is yes; do you see       8      A. I don't know.
       9    that?                                            9      Q. Okay. And, again, this was tested
      10               MR. BERNARDO: Object to the          10   Shower to Shower, correct?
      11    form of the question.                           11            MR. BERNARDO: Same objection
      12               THE WITNESS: I can't comment         12   to this whole line of questioning.
      13    on these. I don't know what this means.         13            THE WITNESS: You're reading
      14    It's all taken out of context. I'm -- I         14   what's here, yes.
      15    don't know what any of this means.              15   BY MR. C. PLACITELLA:
      16    BY MR. C. PLACITELLA:                           16      Q. Right.
      17        Q. Ma'am, this particular study was         17         And what the chart says the test
      18    never referenced or alluded to in the Miller    18   revealed was traces of chrysotile in one of
      19    Affidavit that said, No, the evidence -- the    19   the additives, correct?
      20    presence of asbestos was never revealed by      20      A. Those are the words that are here.
      21    any test, right?                                21      Q. And under the top -- under the --
      22           This was not part of that?               22   under the column whether that satisfies the
      23               MR. BERNARDO: Object to the          23   definition of asbestos of Johnson & Johnson,
      24    form of the question, same objection.           24   the answer is yes, correct?
      25    BY MR. C. PLACITELLA:                           25            MR. BERNARDO: Object to the

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       1    form of the question.                            1   you, like I did the last time, that all of
       2              THE WITNESS: The word "yes" is         2   those tests are set forth in that binder.
       3    written here, but I cannot interpret on what     3   Did you look through that binder before you
       4    any of this means.                               4   came here today?
       5    BY MR. C. PLACITELLA:                            5      A. I knew that the binder existed, I
       6       Q. All right. And this is nowhere             6   knew that it involves tests, but I did not
       7    referenced in the dep -- in the Affidavit of     7   look at every single one of them, no.
       8    Mr. Miller, is it?                               8      Q. Before you came here and testified
       9       A. I can't comment on this chart.             9   under oath that there is no evidence
      10       Q. Ma'am, these -- this test that's          10   whatsoever of asbestos in baby powder, you
      11    set forth in this chart is nowhere referenced   11   never went back and looked at the binder that
      12    in the Affidavit of Mr. Miller concerning       12   was shown to you last time under oath?
      13    what was found in Johnson's Baby Powder,        13      A. Actually, I did better and had the
      14    correct?                                        14   conversation with Dr. Hopkins, because I
      15              MR. BERNARDO: Object to the           15   could look at this all the time and it
      16    form of the question.                           16   wouldn't mean anything to me. So I wanted to
      17              THE WITNESS: I don't see this         17   make sure that he was familiar with all the
      18    mentioned there, no.                            18   things that you're referencing.
      19    BY MR. C. PLACITELLA:                           19      Q. Well, the last time you were with
      20       Q. And, ma'am, you know that that            20   me, you were told that that chart was created
      21    binder that's in front of you has all of        21   at the deposition of Dr. Hopkins, right?
      22    these tests in there, correct?                  22      A. I don't remember this chart.
      23       A. I don't know -- I cannot tell you         23      Q. You don't remember that chart?
      24    everything that's in that binder.               24      A. You're saying you showed it to me,
      25       Q. Well, I'm going to represent to           25   I don't remember. And I don't --

                                             Page 240                                             Page 241
       1       Q. Do I need to play the video that           1             THE WITNESS: -- see the...
       2    shows you that you knew about it?                2   BY MR. C. PLACITELLA:
       3       A. If you say you did. I said I don't         3      Q. In fact, none of these tests that
       4    remember.                                        4   we've simply looked at on the first page of
       5       Q. All right. And you never discussed         5   this document were ever referenced by you or
       6    this chart or any of its contents with           6   Johnson & Johnson in any answer to
       7    Dr. Hopkins in preparation for today's           7   interrogatory ever, correct?
       8    deposition, correct?                             8             MR. BERNARDO: Object, object
       9             MR. BERNARDO: Object to the             9   to the form of the question.
      10    form of the question.                           10   BY MR. C. PLACITELLA:
      11    BY MR. C. PLACITELLA:                           11      Q. Correct?
      12       Q. Correct?                                  12      A. If they were pertinent to the
      13             MR. BERNARDO: Characterization         13   question asked in the interrogatory, they
      14    of what this witness says she's done.           14   would have been mentioned. But since they
      15             THE WITNESS: No. As I said, I          15   were not, I imagine they were not pertinent
      16    did not discuss this specific chart, no.        16   to --
      17    BY MR. C. PLACITELLA:                           17      Q. So when you were asked questions
      18       Q. Okay. Let's go down to 11/11/1971.        18   under oath in interrogatories whether there
      19    Another McCrone test using TEM for Shower to    19   was any evidence of asbestos, you didn't
      20    Shower. The results of that test are            20   think that any of the documents that are set
      21    mentioned nowhere in the Miller Affidavit,      21   forth in this chart have any relevance
      22    correct?                                        22   whatsoever?
      23       A. I did not --                              23             MR. BERNARDO: Object to the
      24             MR. BERNARDO: Object to the            24   form of the question.
      25    form of the question.                           25             THE WITNESS: I know that the

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       1    experts who provided those answers don't         1   samples contained an insignificant amount of
       2    depend on just documents standing alone, that    2   tremolite, tremolite rods; do you see that?
       3    they use their experience and their              3      A. That's what it says.
       4    expertise, along with any science that's         4      Q. And under the chart where does it
       5    available.                                       5   satisfy the definition of asbestos under
       6    BY MR. C. PLACITELLA:                            6   Johnson & Johnson, the answer is yes,
       7      Q. Yes, ma'am.                                 7   correct?
       8          And nowhere did you ever turn over         8             MR. BERNARDO: Object to the
       9    before 19 -- before 2017 any of these tests,     9   form of the question, same objection as
      10    you, Johnson & Johnson, correct?                10   prior.
      11             MR. BERNARDO: Object to the            11             THE WITNESS: I see the word
      12    form of the question, outside of the scope of   12   "yes."
      13    the notice.                                     13   BY MR. C. PLACITELLA:
      14             If you know in your individual         14      Q. Right.
      15    capacity, you can answer.                       15          But even though there -- as
      16             THE WITNESS: No, I don't know.         16   according to Dr. Hopkins's chart, a test from
      17    BY MR. C. PLACITELLA:                           17   1972 showing what Johnson & Johnson deems
      18      Q. Okay, that's 1971.                         18   satisfying its definition of asbestos in baby
      19          Let's go to 1972, another test by         19   powder, you never referenced that in your
      20    McCrone. Do you see where they use TEM          20   answer to interrogatories in Krushinski,
      21    looking for the asbestos, presence of           21   correct?
      22    asbestos in Johnson's Baby Powder; do you see   22      A. These -- these were not written
      23    that?                                           23   specifically in answer to any of those
      24      A. I see that's written, yes.                 24   answers.
      25      Q. And what they found was both               25      Q. Okay. You never referenced this,

                                             Page 244                                             Page 245
       1    correct?                                         1   credible and available.
       2       A. Again, I don't know what this is.          2      Q. Okay. And this test was never
       3    You keep referring to it as Dr. Hopkins'         3   referenced in -- in -- in Mr. Miller's
       4    chart. Yes, you may have showed it to me, I      4   Affidavit, correct, this McCrone test, when
       5    don't remember. But I don't know what each       5   he said no presence ever revealed --
       6    column means. The entire testing is not          6             MR. BERNARDO: Object to the
       7    here. So I -- I can't -- I can't comment         7   form --
       8    here.                                            8   BY MR. C. PLACITELLA:
       9       Q. Yes, ma'am.                                9      Q. -- correct?
      10          What I asked you was when you             10             MR. BERNARDO: -- of the
      11    answered the interrogatories in the             11   question.
      12    Krushinski case under oath, you never           12   BY MR. C. PLACITELLA:
      13    referenced a 10/27/72 test from McCrone         13      Q. Wasn't, wasn't referenced, right?
      14    finding samples of tremolite rods that          14      A. It's not referenced, no.
      15    Johnson & Johnson admits satisfies its          15      Q. Okay. Let's go to the next McCrone
      16    definition of asbestos, correct?                16   test.
      17             MR. BERNARDO: Object to the            17         Here's one from 1974. And that was
      18    form of the question.                           18   done, it says McCrone, Lee. This was done at
      19             THE WITNESS: I did not provide         19   the Hammondsville ore; do you see that?
      20    the answers.                                    20      A. I see that, where it says, yes.
      21    BY MR. C. PLACITELLA:                           21      Q. And it says, Chrysotile fibers
      22       Q. Right.                                    22   suppression was indicated. Dartmouth finds
      23       A. As I explained, I had the experts,        23   amphibole 100 to 200 parts per million in the
      24    the internal experts provide the answers and    24   ore and 9,000 in the ore. McCrone finds
      25    they would have used whatever science was       25   chrysotile in ore and finished product.

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       1          Do you see that?                           1      Q. Let's go to the next McCrone test,
       2             MR. BERNARDO: Object to the             2   4/24/74.
       3    form of the question, beyond the scope of the    3          By the way, did Dr. Hopkins tell
       4    notice. The witness is not responding in her     4   you about any of this when you had this
       5    corporate representative capacity --             5   conversation with him?
       6    BY MR. C. PLACITELLA:                            6      A. We didn't discuss his chart, as you
       7       Q. Do you see that?                           7   refer to it.
       8             MR. BERNARDO: -- to these               8      Q. Well, did he tell you about any of
       9    questions.                                       9   these tests that found asbestos by McCrone?
      10             THE WITNESS: All I could tell          10      A. He did not talk about any kind of
      11    you is that's what it says.                     11   tests that found asbestos.
      12    BY MR. C. PLACITELLA:                           12      Q. Okay. And here it talks about a
      13       Q. And under the column does it              13   test done of the Argonaut mine. And it says
      14    satisfy Johnson & Johnson's definition of       14   again, TEM finds chrysotile and fibrous
      15    asbestos, the answer is yes --                  15   tremolite; do you see that?
      16             MR. BERNARDO: Same objection.          16      A. That's what it says.
      17    BY MR. C. PLACITELLA:                           17      Q. And that satisfies Johnson &
      18       Q. -- correct?                               18   Johnson's definition of asbestos, right?
      19       A. I see the word "yes."                     19      A. The word "yes" is written there.
      20       Q. Okay. Not referenced anywhere in          20      Q. Okay. And then there's another
      21    Mr. Miller's Affidavit, correct?                21   test by McCrone in 1974, correct?
      22             MR. BERNARDO: Same objection.          22      A. Yes.
      23             THE WITNESS: I see that it's           23             MR. BERNARDO: Objection.
      24    not.                                            24   BY MR. C. PLACITELLA:
      25    BY MR. C. PLACITELLA:                           25      Q. And another one under that in 1974,

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       1    correct?                                         1   responses that were provided historically by
       2              MR. BERNARDO: Just a running           2   Johnson & Johnson. Discovery responses that
       3    objection to this entire chart, so I don't       3   you certified and others certified, you
       4    keep interrupting, on the basis that I           4   understand that, correct?
       5    explained before.                                5      A. Yes.
       6              THE WITNESS: That's what's             6      Q. And no interrogatory ever certified
       7    written here.                                    7   as true and accurate under oath by Johnson &
       8    BY MR. C. PLACITELLA:                            8   Johnson that you're aware of ever mentioned
       9       Q. Okay. And then another test in             9   any of these tests by McCrone, correct?
      10    October 1974, correct?                          10             MR. BERNARDO: Object to the
      11       A. I see that, yes.                          11   form of the question.
      12       Q. And another one by McCrone in --          12             THE WITNESS: As I said
      13    and -- strike that.                             13   earlier, there was no specific questions that
      14           And all the tests done by McCrone        14   asked about any kind of testing. The answers
      15    in 1974 when you go to the column, does the     15   were based on the internal experts'
      16    test satisfy the definition of asbestos, it     16   experience, expertise and the accurate
      17    all is yes, right?                              17   science.
      18       A. The word "yes" is written there,          18             MR. C. PLACITELLA: Can you
      19    but I don't know what that means. I don't       19   read my question back, please, and see if I
      20    know what these testing mean, testing means.    20   can get an answer to it?
      21    Dr. Hopkins could describe this in much         21             (At which time the following
      22    better words than I could. I don't know what    22   question is read:
      23    any of this means.                              23             "QUESTION: And no
      24       Q. Yes, ma'am. But we're here to             24   interrogatory ever certified as true and
      25    determine the veracity of the discovery         25   accurate under oath by Johnson & Johnson that


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       1    you're aware of ever mentioned any of these      1   his Affidavit. And on McCrone tests alone, I
       2    tests by McCrone, correct?")                     2   have one, two, three, four, five, six, seven,
       3               THE WITNESS: That's correct.          3   eight, nine, ten, 11, 12, 13 tests that were
       4    They did not answer these -- they did not        4   never mentioned by McCrone, that were never
       5    cite these specifically, no.                     5   mentioned in the Miller Affidavit, correct?
       6    BY MR. C. PLACITELLA:                            6            MR. BERNARDO: Object to the
       7       Q. Okay. And then in 1975, according          7   form of the question, same objection with
       8    to this, there's another test by McCrone,        8   respect to scope as I've made numerous times.
       9    correct?                                         9            (Reporter clarification.)
      10           And it says, Confirmed asbestos,         10            MR. BERNARDO: That I've made
      11    low to medium, bundles of amphiboles and that   11   numerous times.
      12    satisfied Johnson & Johnson's definition of     12            THE WITNESS: I -- I cannot
      13    asbestos, right?                                13   comment on the Affidavit. I'm not here to
      14               MR. BERNARDO: Object to the          14   talk about that, that particular Affidavit,
      15    form of the question.                           15   nor this chart.
      16               THE WITNESS: Again, the word         16   BY MR. C. PLACITELLA:
      17    "yes" is written there. I don't know what       17      Q. And, ma'am, I'm not going to
      18    any of this means.                              18   belabor the point here, but in 1983 there was
      19    BY MR. C. PLACITELLA:                           19   another McCrone test, correct?
      20       Q. Okay. And, again, in 1975 another         20            MR. BERNARDO: Same objection.
      21    test by McCrone, fibers of asbestos, answer     21            THE WITNESS: That's what it
      22    yes, correct?                                   22   says.
      23       A. Those are the words written.              23   BY MR. C. PLACITELLA:
      24       Q. Okay. Now we're up to 1975, that's        24      Q. And then another McCrone test in
      25    ten years -- 12 years before Miller executed    25   '84, correct?

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       1            MR. BERNARDO: Same objection.            1      Q. And, actually, when you looked at
       2            THE WITNESS: That's what it              2   the 1983 and '84 tests, right, Miller himself
       3    says.                                            3   received the tests that satisfied Johnson &
       4    BY MR. C. PLACITELLA:                            4   Johnson's definition of asbestos, according
       5       Q. And another McCrone test in 1986?          5   to this chart, correct?
       6              MR. BERNARDO: Same objection.          6              MR. BERNARDO: Object to the
       7    BY MR. C. PLACITELLA:                            7   form of the question.
       8       Q. Correct?                                   8              THE WITNESS: I can't interpret
       9              MR. BERNARD: Same objection,           9   this, this chart. And I'm not here to talk
      10    same objection.                                 10   about it.
      11              THE WITNESS: That's what it           11   BY MR. C. PLACITELLA:
      12    says.                                           12      Q. Okay. So I ask you again, Miss
      13    BY MR. C. PLACITELLA:                           13   Musco, is Mr. Miller's Affidavit a lie?
      14       Q. Correct?                                  14              MR. BERNARDO: Object to the
      15       A. That's what it says.                      15   form of the question.
      16       Q. All right. And what Miller did, he        16   BY MR. C. PLACITELLA:
      17    cited a single test by McCrone for the          17      Q. Based on what you've seen here
      18    evidence that asbestos was never found in any   18   today.
      19    Johnson & Johnson product and omitted every     19      A. I'm not here today to talk about
      20    other McCrone test on this chart, correct?      20   Mr. Miller's Affidavit. I can't comment.
      21              MR. BERNARDO: Object to the           21      Q. Ma'am, you are here as designated
      22    form of the question.                           22   as Johnson & Johnson's representative on the
      23              THE WITNESS: I cannot comment         23   veracity of discovery responses provided
      24    on the Miller Affidavit, nor this chart.        24   historically in talc litigation. You
      25    BY MR. C. PLACITELLA:                           25   understand that, correct?

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       1       A. I believe that there's a                   1         Do you think Johnson is -- does
       2    misunderstanding about the scope of our --       2   Johnson & Johnson think that's okay?
       3    our notice, yes.                                 3            MR. BERNARDO: Object to the
       4       Q. Ma'am, I asked you those questions         4   form of the question, same objection with
       5    when we started. Can we agree that every         5   respect to scope.
       6    test up until Miller signed his Affidavit in     6            THE WITNESS: I -- I can't
       7    1987 was never referenced, every test in this    7   answer that kind of question.
       8    chart, not one was referenced in Miller's        8   BY MR. C. PLACITELLA:
       9    Affidavit when he certified under oath to get    9      Q. I'm asking does Johnson & Johnson
      10    Mr. Edley's case dismissed, not one of these    10   believe it was okay to file an Affidavit in
      11    tests was ever referenced, correct?             11   this very state, in Middlesex County and get
      12             MR. BERNARDO: Objection to the         12   somebody to give up their rights, saying
      13    form of the question, beyond the scope. This    13   there's no evidence whatsoever, when they had
      14    witness is not here as a corporate              14   evidence from the same company over and over
      15    representative with respect to that             15   for more than a decade; do you think that was
      16    Affidavit.                                      16   right on behalf of Johnson & Johnson?
      17             THE WITNESS: I -- I cannot             17            MR. BERNARDO: Object to the
      18    comment on the Affidavit.                       18   form, same objection with respect to the
      19    BY MR. C. PLACITELLA:                           19   scope.
      20       Q. You think that's okay to do that?         20            THE WITNESS: I can't comment
      21             MR. BERNARDO: Same objection.          21   on the Affidavit.
      22    BY MR. C. PLACITELLA:                           22   BY MR. C. PLACITELLA:
      23       Q. To swear under oath to get some --        23      Q. So Johnson & Johnson cannot comment
      24    get somebody to give up their rights and only   24   on whether it was proper to use an Affidavit
      25    provide half the truth?                         25   saying there was no evidence whatsoever to

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       1    get somebody's case dismissed, when it           1             "QUESTION: So Johnson &
       2    clearly had evidence to the contrary in its      2   Johnson cannot comment on whether it was
       3    possession; is that what you're saying?          3   proper to use an Affidavit saying there was
       4             MR. BERNARDO: You've --                 4   no evidence whatsoever to get somebody's case
       5    answered -- asked the question several times.    5   dismissed, when it clearly had evidence to
       6    She's answered it. We've objected based upon     6   the contrary in its...")
       7    the scope. You're --                             7   BY MR. C. PLACITELLA:
       8             MR. C. PLACITELLA: Please               8       Q. Can you answer that?
       9    don't do this.                                   9       A. I -- I -- it didn't sound like it
      10             MR. BERNARDO: Don't tell me            10   was completed.
      11    "please don't do this."                         11             THE COURT REPORTER: I need a
      12             MR. C. PLACITELLA: Please.             12   minute.
      13             MR. BERNARDO: You're beginning         13             MR. C. PLACITELLA: Take your
      14    to become harassing, Mr. Placitella.            14   time. You know what, let me just keep moving
      15             MR. C. PLACITELLA: Okay.               15   I'll make you...
      16    Well, can you pull out -- do you have his       16             (Off-the-record discussion.)
      17    Affidavit?                                      17   BY MR. C. PLACITELLA:
      18    BY MR. C. PLACITELLA:                           18       Q. Did you know that the reason that
      19       Q. Ma'am, can you answer my question?        19   Mr. Hopkins never told you about the Miller
      20       A. Would you please repeat the               20   Affidavit or the tests that were missing was
      21    question?                                       21   because he filed the same Affidavit in other
      22             MR. C. PLACITELLA: Could you           22   cases?
      23    repeat the question, please?                    23             MR. BERNARDO: Object to the
      24             (At which time the following           24   form.
      25    question is read:                               25   BY MR. C. PLACITELLA:


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       1       Q. Did you know he filed the same             1            MR. BERNARDO: Object to the
       2    Affidavit in other cases?                        2   form of the question.
       3              MR. BERNARDO: Object to the            3            THE WITNESS: I can't even
       4    form of the question.                            4   answer that, that wouldn't be my role. I
       5              THE WITNESS: I can't answer            5   don't have complete information. I don't
       6    that, because I'm not familiar with the          6   know enough about it.
       7    Affidavit, because I'm not here to talk about    7   BY MR. C. PLACITELLA:
       8    that. It was my understanding that this was      8      Q. Ma'am, could you just move that
       9    not within the scope of the notice.              9   book in -- in front of the camera so the
      10    BY MR. C. PLACITELLA:                           10   camera can pick it up, please?
      11       Q. Ma'am, given the evidence that's on       11      A. Are you referring to the --
      12    Hopkins-28, would you sign that Affidavit?      12      Q. Yes, ma'am.
      13              MR. BERNARDO: Object to the           13         That's the book of testing
      14    form of the question, same as before.           14   documents that go along with this chart; you
      15              THE WITNESS: Are you referring        15   know that, right?
      16    to the original --                              16            MR. BERNARDO: Object to the
      17    BY MR. C. PLACITELLA:                           17   form of the question.
      18       Q. The Affidavit signed by Miller in         18            THE WITNESS: That's what you
      19    the Edley case, would you sign that Affidavit   19   have said, yes.
      20    in order to get Mr. Edley to dismiss his        20   BY MR. C. PLACITELLA:
      21    case, would you sign it?                        21      Q. And have you gone back and verified
      22              MR. BERNARDO: Objection.              22   that when you swore to answers to
      23    BY MR. C. PLACITELLA:                           23   interrogatories under oath that you never
      24       Q. Given everything that we've gone          24   referenced a single one of the tests in that
      25    through?                                        25   book?

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       1              MR. BERNARDO: Object to the            1   There's no specific set of studies that goes
       2    form of the question.                            2   with each answer.
       3              THE WITNESS: I told you                3   BY MR. C. PLACITELLA:
       4    earlier, I could go back and read every one      4      Q. All right. Let me ask the question
       5    of them, but it wouldn't make that much sense    5   again, please.
       6    to me, because this is not my expertise,         6          When you answered interrogatories
       7    which is why I had the conversation with         7   under oath and others did the same thing on
       8    Dr. Hopkins to ensure that he has read them.     8   behalf of Johnson & Johnson, you can't point
       9    He's the expert. And that he understands         9   to a single instance where any of the results
      10    them.                                           10   that are in that book were ever supplied or
      11    BY MR. C. PLACITELLA:                           11   referenced by Johnson & Johnson, correct?
      12       Q. Ma'am, that wasn't my question.           12      A. Well, I can't speak for others who
      13          My question was, am I correct that        13   have provided answers, but I can speak for
      14    when you swore to interrogatories under oath    14   what I did. And, again, I did not go back
      15    on behalf of Johnson & Johnson and others       15   and look at each one of these. Again, I
      16    swore to interrogatories under oath of          16   trusted the people that I asked to respond to
      17    Johnson & Johnson, none of the tests in that    17   the questions.
      18    book were ever supplied or referenced in any    18      Q. Ma'am, we'd like to finish --
      19    way, correct?                                   19             MR. BERNARDO: Listen to his
      20              MR. BERNARDO: Object to the           20   question.
      21    form of the question.                           21   BY MR. C. PLACITELLA:
      22              THE WITNESS: It -- it was not         22      Q. -- at some point in time, okay?
      23    appropriate to do that, because, again, we      23             MR. BERNARDO: It's getting
      24    had the experts answering the questions based   24   late, but just listen to his question.
      25    on their information and their knowledge.       25   BY MR. C. PLACITELLA:

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       1       Q. Ma'am, please.                             1            THE WITNESS: No, I do not.
       2          When you answered interrogatories          2   BY MR. C. PLACITELLA:
       3    under oath, you never supplied or referenced     3      Q. You have in front of you another
       4    any of the studies that are set forth in that    4   Affidavit signed by Roger Miller a year after
       5    book in front of you, true?                      5   the Edley Affidavit in the Andonian case,
       6       A. No, I did not.                             6   correct?
       7       Q. And as you sit here today, you             7            MR. BERNARDO: Object to the
       8    don't have any evidence that anybody else at     8   form of the question.
       9    Johnson & Johnson when they were certifying      9            THE WITNESS: I see those
      10    answers to interrogatories referenced or        10   names, yes.
      11    supplied any of the testing documents in that   11   BY MR. C. PLACITELLA:
      12    book in front of you, correct?                  12      Q. Right. And, again, Roger Miller
      13       A. Not in direct response, no.               13   states under oath, All of the talc mined by
      14             MR. C. PLACITELLA: Now, can            14   Windsor Minerals, Inc. has been regularly
      15    you give me 282?                                15   sampled or tested for the presence of
      16             (Exhibit J&J-282, is marked for        16   asbestos. No evidence of the presence of
      17    identification.)                                17   asbestos in Windsor Minerals' product has
      18    BY MR. C. PLACITELLA:                           18   ever been revealed by this testing.
      19       Q. Do you know how many times                19         Correct?
      20    Johnson & Johnson filed affidavits in courts    20      A. That's what it says.
      21    of law indicating that there was no evidence    21      Q. And if I go to --
      22    whatsoever in order to get people's cases       22            MR. C. PLACITELLA: Where is
      23    dismissed?                                      23   the chart?
      24             MR. BERNARDO: Object to the            24   BY MR. C. PLACITELLA:
      25    form of the question.                           25      Q. By 1988 according to the Hopkins

                                             Page 264                                             Page 265
       1    chart, there were one, two, three, four,         1             MR. BERNARDO: Object to the
       2    five, six, seven, eight, nine, ten, 11, 12,      2   form of the question. Object, beyond the
       3    13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23,      3   scope of the notice.
       4    24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34,      4             You can answer in your
       5    35, 36, 37, 38, 39, 40, 41, 42, 43, 44, 45;      5   individual capacity, if you can.
       6    do you see that? Forty-five entries on           6             THE WITNESS: I can't comment
       7    Dr. Hopkins' chart talking about testing         7   on it.
       8    evidence on asbestos, correct?                   8   BY MR. C. PLACITELLA:
       9              MR. BERNARDO: Object to the            9      Q. None of the tests referenced on the
      10    form of the question, beyond the scope of the   10   chart up until the time he signed this
      11    notice.                                         11   Affidavit in 1988 are referenced anywhere in
      12              You can answer in your                12   his Affidavit, correct?
      13    individual capacity, if you can.                13             MR. BERNARDO: Same objection.
      14              THE WITNESS: I heard you count        14             THE WITNESS: I'm not prepared
      15    them up to those numbers, but...                15   to comment on the Affidavit or any of the
      16    BY MR. C. PLACITELLA:                           16   testing on the chart.
      17       Q. Well, do you want to count it again       17   BY MR. C. PLACITELLA:
      18    and see if I got it right?                      18      Q. Ma'am, all I'm asking you is any of
      19       A. It's not necessary for me. I              19   the testing listed on the chart, any of them
      20    cannot comment on this chart.                   20   reflected anywhere in his Affidavit?
      21       Q. And not one of the tests set forth        21             MR. BERNARDO: Same objection.
      22    in that chart or in that book are referenced    22             THE WITNESS: I do not see them
      23    anywhere on the Andonian Affidavit filed by     23   listed here, no.
      24    Roger Miller in order to get cases dismissed,   24   BY MR. C. PLACITELLA:
      25    correct?                                        25      Q. Okay.

                                                                       67 (Pages 262 to 265)
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                                             Page 266                                             Page 267
       1              MR. C. PLACITELLA: Now, can            1     A. I don't know for sure.
       2    you give me 195, please?                         2     Q. And he was known --
       3              (Exhibit J&J-195, Affidavit, is        3            MR. C. PLACITELLA: Okay. Let
       4    marked for identification.)                      4   me -- can we go to the Elmo, please? Sorry.
       5    BY MR. C. PLACITELLA:                            5   BY MR. C. PLACITELLA:
       6        Q. 195.                                      6     Q. This is in the privilege log chart.
       7              MR. BERNARDO: Same objection           7   Do you see here talks about the Westfall
       8    with respect to the use of the document.         8   case?
       9    BY MR. C. PLACITELLA:                            9            MR. BERNARDO: I'll renew my
      10        Q. Is an Affidavit --                       10   objection with respect --
      11              MR. BERNARDO: I won't repeat          11   BY MR. C. PLACITELLA:
      12    it, same objection with respect to the use of   12     Q. Do you see that?
      13    this document.                                  13            MR. BERNARDO: With respect --
      14    BY MR. C. PLACITELLA:                           14            THE WITNESS: I see --
      15        Q. -- signed by William Ashton in           15            MR. BERNARDO: -- to the use of
      16    Somerset County, New Jersey, do you see that?   16   the privilege log.
      17        A. I see it's an Affidavit. And I see       17   BY MR. C. PLACITELLA:
      18    Mr. Ashton's name.                              18     Q. Okay.
      19        Q. And Mr. Ashton is one of the             19     A. I see what you've highlighted.
      20    scientists who was knowledgeable and who        20     Q. All right. And do you see if you
      21    worked on the talc litigation, correct?         21   go across that William Ashton was involved in
      22        A. He was assigned to Johnson &             22   the case; do you see that?
      23    Johnson, yes.                                   23     A. I see his name that you're
      24        Q. In fact, he was involved in the          24   highlighting.
      25    defense of the Westfall case, correct?          25     Q. And he corresponded with the

                                             Page 268                                             Page 269
       1    lawyers in the Westfall case, correct?           1   his Affidavit that he has been involved in
       2       A. I see you're highlighting names. I         2   the talc business for Johnson & Johnson for
       3    don't know what this all means.                  3   35 years, correct?
       4       Q. And also involved according to this        4      A. That's what it says.
       5    log was the Medical Director for Johnson &       5      Q. Okay. And he's been to the talc
       6    Johnson, he was involved in the Westfall case    6   deposits and knows all about them, correct?
       7    according to this log, correct?                  7      A. It says he was actively involved.
       8       A. I see you have highlighted those           8      Q. Okay. And then can you go to the
       9    names.                                           9   next page of his Affidavit? He says, From
      10       Q. Okay. So William Ashton clearly           10   the 1940s to the 1980s, talc mined in Vermont
      11    knew what was going on in the Westfall case,    11   and specifically, the talc mined by Engelhard
      12    as did the Medical Director for Johnson &       12   (and its predecessors) from the talc mine
      13    Johnson, correct?                               13   located in Johnson, Vermont has been
      14             MR. BERNARDO: Object to the            14   considered to be talc free from contamination
      15    form of the question.                           15   of asbestos.
      16             THE WITNESS: I can't comment.          16         Do you see that?
      17    This was the first time I saw this. I don't     17             MR. BERNARDO: Object to the
      18    know what it is and I was not here today to     18   form of the question, same objection --
      19    talk about this.                                19   BY MR. C. PLACITELLA:
      20    BY MR. C. PLACITELLA:                           20      Q. Do you see that?
      21       Q. Okay. Well, let's look at --              21             MR. BERNARDO: -- with respect
      22             MR. C. PLACITELLA: Can we go           22   to this Affidavit and the scope of this
      23    back to the iPad, please?                       23   notice.
      24    BY MR. C. PLACITELLA:                           24   BY MR. C. PLACITELLA:
      25       Q. Ashton states in the beginning of         25      Q. Do you see that?

                                                                       68 (Pages 266 to 269)
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                                             Page 270                                             Page 271
       1       A. I see that's what those sentences          1   BY MR. C. PLACITELLA:
       2    say.                                             2       Q. Right.
       3       Q. That's a lie, right?                       3           It was a videotaped deposition of
       4              MR. BERNARDO: Object to the            4   Alfred Chidester; do you see that?
       5    form of the question.                            5       A. That's what it says.
       6              THE WITNESS: I cannot comment          6       Q. And when he attaches the
       7    on this. I was not here today prepared to        7   deposition, he doesn't reference at all the
       8    talk about this. It's...                         8   depositions of the scientists who testified
       9    BY MR. C. PLACITELLA:                            9   in the Westfall case who said they found
      10       Q. Well, you were here again today,          10   asbestos in the mine, does he?
      11    designated as to the veracity of the            11               MR. BERNARDO: Object to the
      12    discovery responses historically by Johnson &   12   form of the question.
      13    Johnson, correct?                               13               THE WITNESS: I'm not here
      14       A. It is my understanding that this is       14   today to talk about this. So I have no idea
      15    not within the scope of what I was here today   15   what he did or didn't do or why he did or
      16    to talk about.                                  16   didn't do.
      17       Q. Okay. And if you look in the              17   BY MR. C. PLACITELLA:
      18    Affidavit, Mr. Ashton actually attaches one     18       Q. Ma'am, why don't you take a look at
      19    of the depositions from the Westfall case,      19   the Affidavit and see if he attaches anywhere
      20    correct?                                        20   the transcripts of the actual scientists who
      21              MR. BERNARDO: Object to the           21   did the testing and who've testified under
      22    form of the question, same objection with       22   oath, as we went through before, that they
      23    respect to the scope.                           23   found asbestos in the mine. Take a look, see
      24              THE WITNESS: It says that's           24   if it's there.
      25    what it is.                                     25       A. I don't see any other testimony,

                                             Page 272                                             Page 273
       1    no.                                              1     Q.    Yes, ma'am.
       2       Q. He certainly didn't attach the             2     A.    -- "Mr. Talc"?
       3    testimony of Dr. Hemstock that I put up here     3     Q.    Yes, ma'am.
       4    on the screen, who testified that he found       4     A.    I know him as Mr. Ashton.
       5    chrysotile asbestos in the mine, did he?         5         I -- I can't comment on this. I
       6             MR. BERNARDO: Object to the             6   did not come here today to discuss this.
       7    form of the question. Object to the use of       7      Q. Do you know how many cases were
       8    this Affidavit. And this testimony is beyond     8   dismissed for people by -- that -- how many
       9    the scope of this notice.                        9   cases this Affidavit caused to be dismissed?
      10             THE WITNESS: I have not seen           10             MR. BERNARDO: Object to the
      11    this before. My understanding it is beyond      11   form of the question, beyond the scope.
      12    the scope. And I'm -- I would have to read      12             You can answer in your personal
      13    this whole thing.                               13   capacity if you can.
      14    BY MR. C. PLACITELLA:                           14             THE WITNESS: I do not know.
      15       Q. Okay. And, ma'am, so when this            15   BY MR. C. PLACITELLA:
      16    Mr. Talc, Johnson & Johnson's Mr. Talc stated   16      Q. Do you think this was an okay thing
      17    under oath in an Affidavit that the talc and    17   to do?
      18    the mine was asbestos-free, that was a fib,     18             MR. BERNARDO: Same objection.
      19    right?                                          19   BY MR. C. PLACITELLA:
      20             MR. BERNARDO: Object to the            20      Q. The Chief Scientist in talc for
      21    form of the question. Same objection with       21   Johnson & Johnson, does Johnson & Johnson
      22    respect to the scope.                           22   think this was an okay thing to do, to file
      23             THE WITNESS: Are you referring         23   an Affidavit saying there's no evidence,
      24    to Mr. Ashton when you say --                   24   when, in fact, he was involved in the lawsuit
      25    BY MR. C. PLACITELLA:                           25   himself and saw the evidence, think that's

                                                                        69 (Pages 270 to 273)
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                                             Page 274                                             Page 275
       1    okay?                                            1   BY MR. C. PLACITELLA:
       2            MR. BERNARDO: Same objection.            2      Q. Take a second, because it's big.
       3            THE WITNESS: I can't answer              3         Can you take a look at that,
       4    that.                                            4   please?
       5    BY MR. C. PLACITELLA:                            5         446 is an Agreement between Cypress
       6      Q. Well, I'm not asking if you can             6   Minerals and Johnson & Johnson, dated
       7    answer. I'm asking you, Johnson & Johnson,       7   January 6, 1989; do you see that?
       8    do you think that's okay --                      8             MR. BERNARDO: Object to the
       9            MR. BERNARDO: Same objection.            9   form of the question, beyond the scope of the
      10    BY MR. C. PLACITELLA:                           10   notice.
      11      Q. -- to do that?                             11   BY MR. C. PLACITELLA:
      12            MR. BERNARDO: Not here to               12      Q. That was during the time that you
      13    answer questions beyond the scope of the        13   were working on the talc cases, right?
      14    notice.                                         14      A. This is during the time that I was
      15            THE WITNESS: I can't answer             15   employed by Johnson & Johnson, yes.
      16    that.                                           16      Q. Okay. And according to Exhibit I,
      17    BY MR. C. PLACITELLA:                           17   Johnson & Johnson was named in numerous cases
      18      Q. You can't or you won't?                    18   as of 1989, correct?
      19      A. I'm not here today to talk about           19             MR. BERNARDO: Object to the
      20    that.                                           20   form of the question.
      21      Q. Okay.                                      21             THE WITNESS: I've never seen
      22            MR. C. PLACITELLA: Can you              22   this before. I don't know how to read it.
      23    give me 446?                                    23   This doesn't seem to be within scope. And so
      24            (Exhibit J&J-446, Agreement, is         24   I can't comment.
      25    marked for identification.)                     25   BY MR. C. PLACITELLA:

                                             Page 276                                             Page 277
       1       Q. Ma'am, there's -- mentioned is the         1   notice. She's not here as a corporate
       2    Andonian case, correct?                          2   representative with respect to the litigation
       3       A. I see that name.                           3   profile.
       4       Q. All right. That's the Affidavit            4            THE WITNESS: All I can see is
       5    that I just showed you, right --                 5   what you point out to me in the numbers and I
       6       A. Yes, you did.                              6   have not seen this before.
       7       Q. -- from Mr. Miller?                        7   BY MR. C. PLACITELLA:
       8           And then there's another one, the         8      Q. And you have not reviewed in
       9    Miller case; do you see that?                    9   preparation for today's deposition any of the
      10       A. I see those names.                        10   discovery responses from any of those 1,800
      11       Q. Okay. And in preparing for today's        11   cases, correct?
      12    deposition, did you look at any of the          12            MR. BERNARDO: Object to the
      13    discovery from any of those cases?              13   form of the question.
      14              MR. BERNARDO: Object to the           14            THE WITNESS: It is my
      15    form of the question.                           15   understanding that these were not within the
      16              THE WITNESS: No, I did not.           16   scope of the notice.
      17    BY MR. C. PLACITELLA:                           17   BY MR. C. PLACITELLA:
      18       Q. Okay. And if you look at the next         18      Q. And how do you say that?
      19    page, do you see that they actually detail      19      A. Excuse me?
      20    where the cases are filed and they total that   20      Q. Why is that?
      21    as of 1989 there were 1,827 cases involving     21         Why is that?
      22    Windsor at that point in time; do you see       22         Why aren't they in the scope?
      23    that?                                           23      A. Because that was not our
      24              MR. BERNARDO: Object to the           24   interpretation of this and there seems to be
      25    form of the question, beyond the scope of the   25   some misunderstanding about that.

                                                                       70 (Pages 274 to 277)
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       1       Q. So you are -- Johnson & Johnson,           1   Johnson & Johnson, or you were the point
       2    you have an interpretation or is that            2   person, destroyed all the records they had --
       3    something the lawyer told you?                   3            MR. BERNARDO: Object.
       4              MR. BERNARDO: Object to the            4   BY MR. C. PLACITELLA:
       5    form of the question.                            5      Q. -- at the mine, correct?
       6              THE WITNESS: That is my                6            MR. BERNARDO: Object to the
       7    understanding.                                   7   form of the question, outside the scope of
       8    BY MR. C. PLACITELLA:                            8   the notice. This witness is not here to
       9       Q. Okay. So when you prepared for             9   testify with respect to documentation from
      10    today's deposition, you didn't look at any of   10   the mine.
      11    the discovery responses from any of these       11   BY MR. C. PLACITELLA:
      12    1,800 cases, correct?                           12      Q. Ma'am, you understand that part of
      13       A. That's correct.                           13   the obligation of a company is to turn over
      14       Q. Okay. And you didn't even know            14   the records it has in the context of
      15    about the false affidavits that Roger Miller    15   discovery, correct?
      16    filed in connection with these cases, did       16      A. I know that their obligation is to
      17    you?                                            17   turn over whatever is requested.
      18              MR. BERNARDO: Object to the           18      Q. And to keep, when they're sued over
      19    form of the question, characterization of the   19   and over again, to keep those records,
      20    Affidavit.                                      20   correct?
      21              THE WITNESS: I can't comment          21            MR. BERNARDO: Object.
      22    one way or the other on the affidavits.         22   BY MR. C. PLACITELLA:
      23    BY MR. C. PLACITELLA:                           23      Q. You know that?
      24       Q. Okay. Now, at this same period of         24            MR. BERNARDO: Object to the
      25    time while you were handling these cases,       25   form of the question, calls for a legal

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       1    conclusion.                                      1   corporate representative of Johnson & Johnson
       2              (Reporter clarification.)              2   that all of the records related to the mine
       3              MR. BERNARDO: Calls for a              3   were actually destroyed in 1989 while
       4    legal conclusion. This witness is not here       4   litigation was pending?
       5    to testify with respect to legal hold            5          You did not know that before you
       6    obligations.                                     6   came here today?
       7              THE WITNESS: I don't know the          7             MR. BERNARDO: Object to the
       8    specifics of any requirements.                   8   form of the question.
       9    BY MR. C. PLACITELLA:                            9             Chris, I've said this many
      10       Q. Ma'am, when you certified answers         10   times and I'm going to begin to instruct the
      11    to interrogatories under oath in the            11   witness not to answer, because this is
      12    Krushinski case, you did it without the         12   nothing short of harassment.
      13    benefit of any of the documents that were       13             MR. C. PLACITELLA: Yeah, well,
      14    kept at the mine where the product came out,    14   we'll see.
      15    right?                                          15             MR. BERNARDO: No, no, let me
      16              MR. BERNARDO: Object to the           16   finish.
      17    form of the question.                           17             You know she is not here to
      18              THE WITNESS: As I've -- I've          18   address this. We've made that abundantly
      19    already addressed, that there were no           19   clear.
      20    specific documents that were in response to     20             MR. C. PLACITELLA: I know what
      21    the questions. That we relied upon the          21   you think.
      22    knowledge and the expertise of the particular   22             MR. BERNARDO: You continue --
      23    people who answered the questions.              23   it's not what I think.
      24    BY MR. C. PLACITELLA:                           24             MR. C. PLACITELLA: That's what
      25       Q. Ma'am, no one ever told you as the        25   you think.


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       1              MR. BERNARDO: It's what we've          1         Who's R. Denton?
       2    told you. And we've made it abundantly           2      A. I don't know.
       3    clear. And you're now asking her questions       3      Q. To W. Ashton. That's Bill Ashton,
       4    about legal holds and documents that you well    4   right?
       5    know the response and position on.               5      A. I would assume so.
       6              MR. C. PLACITELLA: Okay, okay.         6      Q. He's the same Ashton who executed
       7    BY MR. C. PLACITELLA:                            7   the Affidavit we just went through, correct?
       8       Q. Ma'am, did you know that when you          8      A. Yes, he is.
       9    were certifying answers to interrogatories       9      Q. Okay. And on page 3 of the
      10    that all of the documents related to the        10   Johnson & Johnson memo it states, quote, The
      11    Hammondsville mine were destroyed; did you      11   specifics of the mining operation at
      12    know that?                                      12   Hammondsville are uncertain, as most of the
      13              MR. BERNARDO: Object to the           13   pre-Luzenac records were destroyed by the
      14    form of the question and the                    14   mine management just -- staff, just prior to
      15    characterization.                               15   the J&J divestiture and the Cyprus purchase.
      16              THE WITNESS: I don't know             16         Do you see that?
      17    anything about documents at the mines.          17            MR. BERNARDO: Object to the
      18    BY MR. C. PLACITELLA:                           18   form of the question.
      19       Q. I'm going to show you what's been         19   BY MR. C. PLACITELLA:
      20    marked J&J-456.                                 20      Q. Do you see that?
      21              (Exhibit J&J-456, Memo, is            21            MR. BERNARDO: Outside the
      22    marked for identification.)                     22   scope of the notice and object to --
      23    BY MR. C. PLACITELLA:                           23            (Multiple speakers,
      24       Q. J&J-456 is a memo from R. Denton on       24   overlapping, unintelligible crosstalk.)
      25    Johnson & Johnson letterhead.                   25   BY MR. C. PLACITELLA:

                                             Page 284                                             Page 285
       1       Q. Is today the first time that you           1   is not what I'm here to discuss.
       2    learned --                                       2   BY MR. C. PLACITELLA:
       3              THE COURT REPORTER: I'm sorry,         3       Q. Ma'am, I'm asking you a question.
       4    I didn't get the tail end of his objection.      4         When you certified interrogatories
       5              MR. BERNARDO: Sorry. And               5   under oath, is this the first time that you
       6    objected to asking the witness about this        6   learned that the documents from the mine, the
       7    document. She's not answering in a corporate     7   Hammondsville mine that was the source for
       8    capacity.                                        8   the baby powder were destroyed? It's a yes
       9    BY MR. C. PLACITELLA:                            9   or no answer.
      10       Q. Is today the first time that you          10            MR. BERNARDO: Object to the
      11    learned that when you were certifying           11   form of the question.
      12    interrogatories under oath that the documents   12            THE WITNESS: I'm trying to
      13    concerning the mining operation of              13   answer you. I am not here today to talk
      14    Hammondsville were destroyed before you ever    14   about this. This is the first I have seen
      15    answered the interrogatory?                     15   it.
      16              MR. BERNARDO: Object to the           16            MR. C. PLACITELLA: Okay.
      17    form.                                           17   Let's take a break.
      18    BY MR. C. PLACITELLA:                           18            THE VIDEOTAPE OPERATOR: The
      19       Q. Today's the first time you learned        19   time is 3:56 p m., off the record.
      20    that?                                           20            (Brief recess.)
      21              MR. BERNARDO: Object to the           21            THE VIDEOTAPE OPERATOR: Time
      22    form of the question, same objections as        22   is 4:18 p.m., on the record.
      23    before.                                         23            MR. BERNARDO: So
      24              THE WITNESS: I have not seen          24   Mr. Placitella and I discussed how much more
      25    this before. It's my understanding that this    25   time he believes he needs to take this


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       1    deposition. And I believe he indicated at        1             MR. C. PLACITELLA: We agree.
       2    least several more hours.                        2             MR. BERNARDO: Look at that.
       3              I also have a direct                   3   See what happens on a Friday afternoon.
       4    examination that I would like to do of the       4             MR. C. PLACITELLA: We can
       5    witness.                                         5   always agree to disagree.
       6              Miss Musco during the break            6             MR. BERNARDO: Well, do you
       7    told me that she's been here all day and         7   want to ask her to -- or how do you --
       8    getting tired. And that if we're going to        8             MR. C. PLACITELLA: Well, I
       9    have to continue, she would prefer to do that    9   want to just go through these documents,
      10    on a separate date.                             10   identify them and have them marked and this
      11              Mr. Placitella and I obviously        11   way we'll save time next time.
      12    from the transcript disagree as to what the     12             MR. BERNARDO: Do you
      13    proper scope of this deposition is and should   13   understand what he's asking you to do?
      14    be, but we will sort that out among ourselves   14             THE WITNESS: Yes.
      15    and possibly or probably with Judge Viscomi.    15   BY MR. C. PLACITELLA:
      16              I will reserve my right to do a       16      Q. So the first one is --
      17    direct exam of Miss Musco.                      17             MR. BERNARDO: So let me just
      18              But, otherwise, we agree that         18   for the record point out that -- that we
      19    after marking and having Miss Musco describe    19   brought with us today a banker's box of
      20    the box of documents that she has brought       20   various binders and other documents that
      21    with her today, we will adjourn for today and   21   Miss Musco had reviewed or otherwise
      22    meet and confer as to the remainder of the      22   considered in connection with her preparation
      23    deposition.                                     23   for today's deposition. And we're going to
      24              Is that a fair                        24   have Miss Musco describe each of them for the
      25    characterization, Mr. Placitella?               25   record.

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       1             (Exhibit P-6, Depositions and           1   And -- yeah.
       2    testimony of Dr. Hopkins, is marked for          2   BY MR. C. PLACITELLA:
       3    identification.)                                 3      Q. Just identify the exhibit number.
       4    BY MR. C. PLACITELLA:                            4      A. Oh, sorry.
       5       Q. All right. What's that marked,             5      Q. Please.
       6    P-6?                                             6      A. P-7.
       7       A. Yeah, P-6.                                 7      Q. Okay.
       8       Q. All right. Marked P-6, what's P-6?         8            MR. BERNARDO: Please make sure
       9       A. P-6 is the depositions and                 9   your description is complete for the record.
      10    testimony of Dr. Hopkins, which I reviewed.     10            THE WITNESS: Yes, these
      11       Q. Okay. Did you look at any of the          11   include testimonies and interrogatories of
      12    ones I took?                                    12   for Selby and Krushinski, the specific
      13       A. Excuse me?                                13   complaints.
      14             MR. BERNARDO: Matter of fact,          14            (Exhibit P-8A, Documents sent
      15    I think she did.                                15   to Dr. Hopkins, is marked for
      16    BY MR. C. PLACITELLA:                           16   identification.)
      17       Q. Did you look at the ones I took?          17            (Exhibit P-8B, Documents sent
      18       A. Oh, I was most interested in those.       18   to Dr. Hopkins, is marked for
      19       Q. Okay. So then you know all about          19   identification.)
      20    the chart.                                      20            THE WITNESS: These are
      21             (Exhibit P-7, Testimonies and          21   already --
      22    interrogatories for Selby and Krushinski, is    22   BY MR. C. PLACITELLA:
      23    marked for identification.)                     23      Q. No, stick... Just --
      24             THE WITNESS: Okay. These are           24      A. Oh, sorry. P-8.
      25    the specific interrogatories of Selby.          25      Q. Mm-hmm.


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       1       A. Oh, P-8A, P-8B. And if you put            1   yeah, 28th.
       2    them together these should be everything        2            MR. BERNARDO: You can just
       3    that's contained in your big binder of all      3   identify all of these together.
       4    the documents that were sent to Dr. Hopkins.    4            THE WITNESS: Yeah, these were
       5             (Exhibit P-9, Unidentified             5   specific complaints that I asked to see,
       6    documents, is marked for identification.)       6   Selby, Krushinski and Westfall.
       7             THE WITNESS: P-9, these were           7            (Exhibit P-11, Complaint, is
       8    the specific documents I believe that you       8   marked for identification.)
       9    sent us, yes, like, two days ago, yes. What     9            (Exhibit P-12, Complaint, is
      10    they are, I don't know.                        10   marked for identification.)
      11    BY MR. C. PLACITELLA:                          11            (Exhibit P-13, Complaint, is
      12       Q. You don't know what's in there?          12   marked for identification.)
      13       A. It looks like a lot of scientific        13            THE WITNESS: Oh, I'm sorry,
      14    stuff.                                         14   P-13, I keep forgetting, 11, 12, and 13.
      15       Q. So am I correct that you didn't          15            (Exhibit P-14, Notes, is marked
      16    review any of that in preparation --           16   for identification.)
      17       A. Yes, I went through it all.              17            THE WITNESS: These were the
      18       Q. Oh, you did?                             18   notes that I took during my conversation with
      19       A. Yeah.                                    19   Dr. Hopkins, P-14.
      20       Q. Oh, okay.                                20            MR. BERNARDO: That's
      21             (Exhibit P-10, Deposition             21   everything.
      22    transcript of Nancy Musco, is marked for       22   BY MR. C. PLACITELLA:
      23    identification.)                               23     Q. Is that everything?
      24             THE WITNESS: P-10 would be the        24            MR. BERNARDO: That's
      25    transcript of my deposition in November 28,    25   everything that's in the box.

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       1    BY MR. C. PLACITELLA:                           1            CERTIFICATE
       2       Q. All right. We have to work out a          2        I, Sharon L. Martin, a Notary Public,
       3    day. Thank you for -- have a good weekend.      3   Certified Court Reporter of the State of New
       4            MR. PLACITELLA: Happy                   4   Jersey, Registered Professional Reporter, do
       5    birthday.                                       5   hereby certify that prior to the commencement
       6            (Off-the-record discussion.)            6   of the examination,
       7             THE VIDEOTAPE OPERATOR: This           7               NANCY MUSCO
       8    concludes the deposition. The time is           8   was duly sworn by me to testify to the truth,
       9    4:24 p m. We're off the record.                 9   the whole truth and nothing but the truth.
      10            (Witness excused.)                     10   I do further certify that the foregoing is a
      11            (Testimony concluded at                11   true and accurate transcript of the testimony
      12    4:24 p m.)                                     12   as taken stenographically by and before me at
      13                                                   13   the time, place and on the date hereinbefore
      14                                                   14   set forth.
      15                                                   15   I do further certify that I am neither a
      16                                                   16   relative nor employee nor attorney nor
      17                                                   17   counsel of any of the parties to this action,
      18                                                   18   and that I am neither a relative nor employee
      19                                                   19   of such attorney or counsel and that I am not
      20                                                   20   financially interested in this action.
      21                                                   21     _____________________________________
      22                                                   22     SHARON L. MARTIN, RPR, CCR-NJ-XI02021
      23                                                   23     Notary Public
      24                                                   24     My Commission Expires September 25, 2021
      25                                                   25     Date: 2/19/2019


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                    LAW DIVISION - MIDDLESEX COUNTY
                      DOCKET NO. MID-L-3095-18 AS
                                - - -

                                                       :
             MARIA FOLEY AND JOSEPH FOLEY,             :
             husband and wife,                         :
                                                       :
                         Plaintiffs,                   :
                                                       :
                         vs.                           :
                                                       :
             AVON PRODUCTS, INC., et al.,              :
                                                       :
                         Defendants.                   :
                                                       :
             (Caption continued on following           :
             page)                                     :
                               - - -
                       Friday, March 8, 2019
                               - - -

                                  VOLUME II

                       Videotaped deposition of NANCY
             MUSCO, taken pursuant to Notice at the l
             Middlesex County Courthouse, 56 Paterson
             Street, New Brunswick, New Jersey 08901,
             commencing at 10:19 AM, on the above date,
             before Constance S. Kent, Certified Court
             Reporter and Notary Public for the State of
             New Jersey.

                                  * * *
                            MAGNA LEGAL SERVICES
                              (866) 624-6221
                              www.MagnaLS.com
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        1            SUPERIOR COURT OF NEW JERSEY
                   LAW DIVISION - MIDDLESEX COUNTY
        2              DOCKET NO. MID-L-600-18 AS
        3    LISA FRACE, Individually      :
             and as representative of the :
        4    Estate of Carole DiCerbo,     :
             deceased.                     :
        5                                  :
                        Plaintiffs,        :
        6                                  :
                        vs.                :
        7                                  :
             BRENNTAG NORTH AMERICA,       :
        8    et al.,                       :
                                           :
        9               Defendants.        :
             -------------------------------------------
       10
                      SUPERIOR COURT OF NEW JERSEY
       11           LAW DIVISION - MIDDLESEX COUNTY
                      DOCKET NO. MID-L-4252-18 AS
       12
             VICMAR GATMAITAN,                   :
       13    individually and as                 :
             Representative of the               :
       14    Estate OF MELISSA E.                :
             ROONEY,deceased,                    :
       15                                        :
                         Plaintiffs,             :
       16                                        :
                         vs.                     :
       17                                        :
             IMERYS TALC AMERICA, INC.,          :
       18    et al.,                             :
                                                 :
       19                Defendants.             :
       20
       21
       22
       23
       24
       25     (Caption continued on following page.)
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        1            SUPERIOR COURT OF NEW JERSEY
                   LAW DIVISION - MIDDLESEX COUNTY
        2            DOCKET NO. MID-L-4826-18 AS
        3    EMMA GRIFFIN and WALTER      :
             GRIFFIN, husband and wife,   :
        4                                 :
                       Plaintiffs,        :
        5                                 :
                       v.                 :
        6                                 :
             CYPRUS AMAX MINERALS         :
        7    COMPANY, et al.,             :
                                          :
        8              Defendants.        :
             _______________________________________
        9
                      SUPERIOR COURT OF NEW JERSEY
       10           LAW DIVISION - MIDDLESEX COUNTY
                      DOCKET NO. MID-L-5368-17 AS
       11
             MATTHEW HODJERA and            :
       12    SYLVIA DUFF-PETO,              :
                                            :
       13                Plaintiffs,        :
                                            :
       14                v.                 :
                                            :
       15    BORGWARNER MORSE TEC,          :
             LLC, et al,                    :
       16                                   :
                         Defendants.        :
       17
       18
       19
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       24
       25    (Caption continued on following page.)
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                    LAW DIVISION - MIDDLESEX COUNTY
        2             DOCKET NO. MID-L-6805-18 AS
        3
             ANITA GRABOWSKI and ALFRED   :
        4    GRABOWSKI, husband and wife, :
                                          :
        5              Plaintiffs,        :
                                          :
        6              v.                 :
                                          :
        7    BRENNTAG NORTH AMERICA,      :
             et al.,                      :
        8                                 :
                       Defendants.        :
        9
             ___________________________________________
       10
       11            SUPERIOR COURT OF NEW JERSEY
                   LAW DIVISION - MIDDLESEX COUNTY
       12            DOCKET NO. MID-L-2456-18 AS
       13    ROBERT GREENE, III,          :
             individually and as          :
       14    Administrator of the         :
             Estate of Deborah            :
       15    Greene Brake, deceased,      :
             Stephen A. Brake, and        :
       16    the individual heirs of      :
             the Estate of Deborah        :
       17    Green Brake,                 :
                                          :
       18              Plaintiffs,        :
                                          :
       19              v.                 :
                                          :
       20    BRENNTAG NORTH AMERICA,      :
             et al.,                      :
       21                                 :
                       Defendants.        :
       22
       23
       24
       25    (Captioned continued on following page.)
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                   LAW DIVISION - MIDDLESEX COUNTY
        2            DOCKET NO. MID-L-7049-16 AS
        3    D'ANGELA M. McNEILL-         :
             GEORGE,                      :
        4                                 :
                       Plaintiff,         :
        5                                 :
                       v.                 :
        6                                 :
             BRENNTAG NORTH AMERICA,      :
        7    et al.,                      :
                                          :
        8              Defendants.        :
             ___________________________________________
        9
                     SUPERIOR COURT OF NEW JERSEY
       10          LAW DIVISION - MIDDLESEX COUNTY
                      DOCKET NO. MID-L-598-18 AS
       11
             LORETTA SELVAGGIO,           :
       12                                 :
                       Plaintiff,         :
       13                                 :
                       v.                 :
       14                                 :
             BREENTAG NORTH AMERICA,      :
       15    et al.,                      :
                                          :
       16              Defendants.        :
             ___________________________________________
       17
                     SUPERIOR COURT OF NEW JERSEY
       18          LAW DIVISION - MIDDLESEX COUNTY
                     DOCKET NO. MID-L-6635-18 AS
       19
             LEONARD E. WENDOWSKI, SR.,     :
       20    and KATHLEEN WENDOWSKI,        :
             husband and wife,              :
       21                                   :
                        Plaintiff,          :
       22                                   :
                        v.                  :
       23                                   :
             IMERYS TALC AMERICA, INC.,     :
       24    et al.,                        :
                                            :
       25            Defendants.            :
                           MAGNA LEGAL SERVICES
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                                                                       Page 299
        1    A P P E A R A N C E S:
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       12               andrew.karp@skadden.com
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       13               Johnson
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       20               VAN LIEU, LLC
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                            MAGNA LEGAL SERVICES
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                                                                       Page 300
        1               APPEARANCES, continued
        2
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       12
       13               ALSO PRESENT:
       14
                        Lea Callahan, Paralegal
       15
                        Ray Moore, Video Specialist
       16
       17
       18
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                            MAGNA LEGAL SERVICES
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                                                                         Page 301
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        6          By Mr. Placitella                              306
        7          By Mr. Bernardo                                425
        8          By Mr. Placitella                              446
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       20         Exhibit        Binder                            318
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                                 Baby Products Company
       25
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        4                       to Plaintiffs' Special
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        5                       Interim-Disco-00000062
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        7         J&J-326       entitled, "CTFA response
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        8                       Coalition Citizen's
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        9                       000021285 through 322
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       19         Exhibit       Hobson documents                   401
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                  Exhibit       Reuters article                    408
       21         J&J-482       entitled, "Johnson &
                                Johnson knew for decades
       22                       that asbestos lurked in
                                its baby powder"
       23
                  Exhibit       Affidavit of John                  415
       24         J&J-230       Hopkins
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        3                          -   -   -
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        7    87     20        88    17
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       10    Request for Production of Documents
       11    Page Line        Page Line          Page Line
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       14
       15    Stipulations
       16    Page Line        Page Line          Page Line
       17    None
       18
       19
       20    Question Marked
       21    Page Line        Page Line          Page Line
       22    None
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       25
                            MAGNA LEGAL SERVICES
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                                                                       Page 305
        1                   THE VIDEOGRAPHER:      We are now
        2    on the record.
        3                   This begins DVD No. 1 in the
        4    deposition of Nancy Musco, in the matter of
        5    Foley versus Avon Products Incorporated, et
        6    al., in the Superior Court of New Jersey,
        7    Law Division, Middlesex County, Docket No.
        8    MID-L-3095-18.
        9                   Today is March 8th, 2019, and
       10    the time is 10:19 AM.
       11                   This deposition is being taken
       12    at 56 Paterson Street, New Brunswick, New
       13    Jersey, at the request of Cohen, Placitella
       14    and Roth.
       15                   The videographer is Ray Moore
       16    of Magna Legal Services and the court
       17    reporter is Connie Kent of Magna Legal
       18    Services.
       19                   Counsel will be noted on the
       20    stenographic record.
       21                   Will the court reporter please
       22    swear in the witness.
       23                   NANCY MUSCO, having been first
       24    duly sworn, was examined and testified as
       25    follows:
                            MAGNA LEGAL SERVICES
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                                                                       Page 306
        1                           -   -   -
        2                  E X A M I N A T I O N
        3                           -   -   -
        4    BY MR. PLACITELLA:
        5           Q.      Okay.    Good morning, Ms. Musco.
        6    How are you?
        7           A.      Good morning.
        8           Q.      We're here for the second day
        9    of your deposition.
       10                   I think last time we were
       11    together you told us that you spent
       12    approximately six to seven business days
       13    preparing for your deposition; is that
       14    correct?
       15           A.      That is correct.
       16           Q.      Okay.   And since the last
       17    deposition, did you review any additional
       18    documents?
       19           A.      I reviewed my deposition from
       20    that day.
       21           Q.      Other than the deposition you
       22    gave your first day, did you review
       23    anything else?
       24           A.      I reviewed some complaint
       25    files, yes.
                            MAGNA LEGAL SERVICES
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                                                                       Page 307
        1            Q.     Okay.   What specifically did
        2    you review?
        3            A.     I specifically asked to see the
        4    Joly file.
        5            Q.     Okay.   And is there a Joly
        6    file?
        7            A.     When I say the file, I wanted
        8    to see what the actual complaint was in
        9    that case.
       10            Q.     So when you said you reviewed
       11    the Joly file, the only thing you asked for
       12    was the complaint, nothing else?
       13            A.     Well, I was curious to see what
       14    the complaint was.       In this case it was not
       15    talcosis, I believe it was an acute
       16    bronchitis.
       17            Q.     Did you understand my question?
       18            A.     I believe so, yes.
       19            Q.     Okay.   My question to you was:
       20    Did you review -- did you ask to see
       21    anything other than the complaint filed?
       22            A.     I asked to see the complaint
       23    filed, that was it.
       24            Q.     Did you ask to see any of the
       25    discovery from the Joly case?
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                                                                       Page 308
        1           A.       No, I did not because when I
        2    saw the complaint and saw it was acute
        3    bronchitis, I didn't think it was within
        4    the scope.
        5           Q.       Okay.   Let me ask the question
        6    again:      Did you ask to see any of the
        7    discovery from the Joly case?
        8                    MR. BERNARDO:    Object to the
        9    form of the question.
       10                   THE WITNESS:     No, I did not.
       11    BY MR. PLACITELLA:
       12           Q.      Okay.    And you understand that
       13    the Joly case involved alleged injury to
       14    exposure to baby powder, correct?
       15           A.      That was the alleged
       16    allegation, yes.
       17           Q.      In addition to the Joly
       18    complaint, what other documents did you
       19    look at?
       20           A.      As I said earlier, my
       21    deposition from last time we met.
       22           Q.      So just the Joly complaint and
       23    your deposition?
       24           A.      That's correct.
       25           Q.      Okay.    And did you speak to any
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                                                                       Page 309
        1    fact witnesses?
        2           A.      No, I did not.
        3           Q.      Okay.   Did you discuss your --
        4    the substance of your testimony with
        5    Counsel?
        6           A.      In general terms, yes.
        7           Q.      Okay.   Did anything that -- any
        8    of those discussions cause you to change
        9    your testimony in any material way?
       10                   MR. BERNARDO:     Object to the
       11    form of the question.
       12                   THE WITNESS:     No.
       13    BY MR. PLACITELLA:
       14           Q.      Okay.   And how much more time
       15    did you spend between the last deposition
       16    and today's deposition preparing?
       17           A.      It was about three hours.
       18           Q.      Three hours.
       19                   And during the last -- it's
       20    been about three weeks since you were
       21    deposed the last time?
       22           A.      I believe so, yes.
       23           Q.      Did you check with the Law
       24    Department for any responsive answers that
       25    were called for that we discussed the last
                            MAGNA LEGAL SERVICES
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                                                                       Page 310
        1    time in your deposition?
        2           A.      No, I had no communications
        3    with them.
        4           Q.      Did you check -- the last time
        5    you told us that there -- there may be
        6    materials that were responsive with outside
        7    counsel.
        8                   Do you recall that?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     Yes.
       12    BY MR. PLACITELLA:
       13           Q.      Okay.   Did you check with
       14    outside counsel to determine what
       15    responsive materials were in possession of
       16    your lawyers?
       17           A.      No, I did not check with any
       18    outside counsels.
       19           Q.      Last time you told us you
       20    verified interrogatories on more than one
       21    occasion.
       22                   Do you recall that?
       23           A.      Yes.
       24           Q.      Did you look for any additional
       25    interrogatories that you verified in
                            MAGNA LEGAL SERVICES
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                                                                       Page 311
        1    addition to the Krushinski case?
        2           A.      No, I did not.
        3           Q.      Why not?
        4           A.      Because I did not believe that
        5    they were within the scope.
        6           Q.      Okay.   And you, the witness,
        7    were making a determination about what was
        8    within and not within the scope of the
        9    subpoena served on Johnson & Johnson?
       10           A.      Yes, my interpretation of it
       11    and also with advice of Counsel.
       12           Q.      Okay.   Now, last time we
       13    addressed a number of topics.         We addressed
       14    Johnson & Johnson litigation history.
       15                   Do you recall that?
       16           A.      Yes.
       17           Q.      Okay.   We addressed discovery
       18    Johnson -- discovery responses that Johnson
       19    & Johnson says they were able to locate.
       20                   Do you recall that?
       21           A.      Yes.
       22           Q.      Okay.   We addressed
       23    representations that were made in some of
       24    those discovery responses.
       25                   Do you recall that?
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                                                                       Page 312
        1           A.      Yes.
        2           Q.      Okay.   We also discussed the
        3    basis for the representations that were
        4    made in Johnson & Johnson's discovery
        5    responses, correct?
        6           A.      Yes.
        7           Q.      Okay.   Now, you understand
        8    that -- and during the course of that
        9    deposition, both you and your counsel
       10    objected to the scope of a number of
       11    questions that I asked you, correct?
       12           A.      Yes.
       13                   MR. BERNARDO:     Object to the
       14    form of the question.
       15    BY MR. PLACITELLA:
       16           Q.      Correct?
       17           A.      Yes.
       18           Q.      Okay.   And you understand that
       19    we appeared before the court here in
       20    Middlesex County to address the concerns
       21    raised by your counsel, correct?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24                   THE WITNESS:     I understand that
       25    there was a conversation, yes.
                            MAGNA LEGAL SERVICES
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                                                                       Page 313
        1    BY MR. PLACITELLA:
        2            Q.     And you understand that that's
        3    why we're here in the courthouse having
        4    your deposition taken as opposed to
        5    Counsel's office, correct?
        6                   MR. BERNARDO:     Object to the
        7    form of the question.
        8                   THE WITNESS:     I know that the
        9    venue was changed at the suggestion of the
       10    court, but...
       11    BY MR. PLACITELLA:
       12            Q.     Okay.   Well -- so I'm going to
       13    tell you what I'm going to do today so
       14    we're all on the same page.         I'm going to
       15    address the objections that you raised
       16    directly and see if we can sort them out.
       17    Okay?
       18            A.     Okay.
       19                   MR. BERNARDO:     Objection.
       20    BY MR. PLACITELLA:
       21            Q.     And I'm going to hope to make
       22    clear exactly what information you reviewed
       23    in preparation for your deposition and what
       24    was made available to you.         Okay?
       25            A.     Okay.
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                                                                       Page 314
        1                   MR. BERNARDO:     Object to the
        2    form of the question.
        3    BY MR. PLACITELLA:
        4           Q.      And when I'm done with that,
        5    I'm going to finish going through the
        6    information that we believe is relevant to
        7    this deposition.       Okay?
        8           A.      Okay.
        9           Q.      Okay.    So the last time we were
       10    together, at the end of the deposition,
       11    you, Johnson & Johnson, produced a number
       12    of binders that were in a Bankers box.
       13                   Do you recall that?
       14           A.      Yes, I do.
       15           Q.      And you testified that those
       16    binders were documents that you reviewed
       17    and considered in conjunction with your
       18    preparation for the deposition, correct?
       19                   MR. BERNARDO:     Object to the
       20    form of the question and the
       21    characterization of her testimony.
       22                   THE REPORTER:     I'm sorry.     Can
       23    we go off the record for a second?
       24                   THE VIDEOGRAPHER:      The time is
       25    now 10:27 AM.      We're going off the record.
                            MAGNA LEGAL SERVICES
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                                                                       Page 315
        1                   (Discussion held off the
        2    record.)
        3                   THE VIDEOGRAPHER:      The time is
        4    now 10:28 AM.      We are back on the record.
        5    BY MR. PLACITELLA:
        6           Q.      You and your counsel
        7    represented at the end of the deposition
        8    that the binders that you produced were
        9    documents that you reviewed and considered
       10    in connection with your preparation for the
       11    deposition, correct?
       12                   MR. BERNARDO:     Object to the
       13    form of the question.
       14                   THE WITNESS:     Yes, there were a
       15    number of binders that were in that box,
       16    yes.
       17    BY MR. PLACITELLA:
       18           Q.      Okay.   And that you also sent
       19    all of those binders with -- to John
       20    Hopkins and had a conversation about them,
       21    correct?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24                   And Mr. Placitella, if we could
       25    be specific because there are a lot of
                            MAGNA LEGAL SERVICES
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                                                                       Page 316
        1    binders and I don't think her testimony was
        2    that all of them were sent.
        3                   I'm just asking that you let
        4    her see so we can be clear as to what was
        5    sent and not sent to have a clear record.
        6                   MR. PLACITELLA:      Okay.
        7    BY MR. PLACITELLA:
        8           Q.      So you have all the binders in
        9    front of you to your right.
       10                   Do you see them?
       11           A.      I see binders, yes.
       12           Q.      Okay.   And do we need to go
       13    through them again so we're all on the
       14    same --
       15           A.      Well, I need to be familiar
       16    with what specifically they are, yes.
       17           Q.      Okay.   So why don't we start
       18    with the lowest numbered binder, which I
       19    think is 6.
       20           A.      Yes, 6 is the lowest.
       21           Q.      Okay.   So what is 6?
       22           A.      It is the deposition of
       23    Dr. Hopkins --
       24           Q.      Okay.
       25           A.      -- and testimony.
                            MAGNA LEGAL SERVICES
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                                                                       Page 317
        1           Q.      And you reviewed that?
        2           A.      I reviewed that, yes.       This --
        3    I did not send this or we did not send this
        4    to Dr. Hopkins, but I reviewed it.
        5           Q.      Okay.   And then the next binder
        6    is what?
        7           A.      This would be P-7.
        8           Q.      Uh-huh.    And P-7 is what?
        9           A.      This looks to be different
       10    complaint cases, first one being Selby.
       11           Q.      Do you recall reviewing this
       12    binder?
       13           A.      Yes.
       14           Q.      Okay.   And did you send this to
       15    Dr. Hopkins?
       16           A.      No.
       17           Q.      Okay.   But it was one of the
       18    binders that you --
       19           A.      It was in the box that we
       20    presented to you.
       21           Q.      And that you relied upon?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24    BY MR. PLACITELLA:
       25           Q.      You reviewed it in preparation
                            MAGNA LEGAL SERVICES
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                                                                       Page 318
        1    for your deposition?
        2           A.      I reviewed, yes.
        3           Q.      Okay.   And what's the next
        4    numbered binder?
        5           A.      P-8A.
        6           Q.      All right.     Is there an 8A and
        7    an 8B?
        8           A.      Yes, there is.
        9           Q.      And what are they collectively?
       10           A.      They are a lot of it looks like
       11    testing material.
       12           Q.      And this -- did you review 8A
       13    and 8B in preparation for your deposition?
       14           A.      I did not review each one of
       15    these, but I was familiar with these and I
       16    believe these were sent to Dr. Hopkins.
       17           Q.      And then you had a conversation
       18    with Dr. Hopkins about those binders?
       19           A.      We had a conversation -- a
       20    specific conversation about certain
       21    testing.
       22           Q.      But -- so those binders were
       23    produced as documents you relied upon for
       24    your deposition, correct?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 319
        1    form of the question.
        2                   THE WITNESS:     I looked at them,
        3    I cannot tell you everything that's in
        4    them, and they were a basis, yes.
        5    BY MR. PLACITELLA:
        6           Q.      Okay.    And all those binders
        7    were also sent to -- those binders were
        8    sent to Dr. Hopkins, correct?
        9           A.      Yes, 8A and 8B.
       10           Q.      Okay.    And you identified them
       11    at the end of the last deposition as part
       12    of your reliance materials, correct?
       13                   MR. BERNARDO:     Object to the
       14    form of the question.
       15                   THE WITNESS:     They're part of
       16    what I saw, yes.
       17    BY MR. PLACITELLA:
       18           Q.      Okay.    And then what's the next
       19    numbered --
       20           A.      P-9.
       21           Q.      P-9 is what?
       22           A.      This was something that you
       23    sent to -- to my counsel right before our
       24    last deposition I believe.
       25           Q.      Right.    You understand that I
                            MAGNA LEGAL SERVICES
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                                                                       Page 320
        1    had an agreement with your counsel that any
        2    document that Johnson & Johnson did not
        3    produce directly and was not admitted into
        4    a trial or prior deposition that I located
        5    I would send to Counsel so they could share
        6    it with you.
        7                   You understand that, correct?
        8                   MR. BERNARDO:     Object to the
        9    form of the question.
       10                   THE WITNESS:     I don't know
       11    exactly what your agreement was.
       12    BY MR. PLACITELLA:
       13            Q.     Okay.   Well, did you review
       14    that binder?
       15            A.     I did see this, yes.
       16            Q.     Okay.   Now, in the last
       17    deposition, you were asked specific
       18    questions about the Edley -- the Edley
       19    case.
       20                   Do you recall that?
       21            A.     I remember the name.
       22            Q.     Correct?
       23            A.     I remember that name, yes.
       24            Q.     Okay.   In fact, I asked you
       25    multiple questions about the Edley case,
                            MAGNA LEGAL SERVICES
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                                                                       Page 321
        1    correct?
        2             A.    I believe so.
        3             Q.    And every time I asked you a
        4    question about the Edley case, your
        5    response to me was basically you don't know
        6    anything about the Edley case, you've never
        7    seen anything about the Edley case,
        8    correct?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     Yes, because my
       12    understanding was it was not within the
       13    scope of the notice.
       14    BY MR. PLACITELLA:
       15           Q.      Okay.   Well, let's make sure
       16    we're on the same page here.         So if --
       17                   MR. PLACITELLA:      Do you have
       18    the iPad?
       19    BY MR. PLACITELLA:
       20           Q.      Under oath on page 105, you
       21    state:    I'm not familiar with the cases,
       22    and that includes the Edley and the Yuhas
       23    case, right?
       24           A.      That's correct.
       25           Q.      Okay.   And then on page 220 and
                            MAGNA LEGAL SERVICES
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                                                                       Page 322
        1    221, you were asked again whether in
        2    preparation for the deposition you ever
        3    reviewed any information concerning the
        4    Edley case and you said no, correct?
        5           A.      That's correct.
        6           Q.      And then on 21, I said:
        7                   "So Johnson & Johnson doesn't
        8    know anything about the Edley case?"
        9                   Mr. -- Mr. Bernardo objected
       10    that it was beyond the scope, and you said:
       11                   "In preparation for today, I
       12    did not review that case."
       13                   Correct?
       14                   MR. BERNARDO:     Objection to the
       15    form of the question.
       16                   THE WITNESS:     That's correct.
       17    BY MR. PLACITELLA:
       18           Q.      And you repeated again in
       19    response to questions on 221, that you knew
       20    nothing about the Edley case, correct?
       21           A.      That's correct.
       22           Q.      And then on -- I'm sorry.
       23    That's the problem.       Then on 2 -- page
       24    223 or 224, I asked you -- and 225, I asked
       25    you questions about an affidavit that was
                            MAGNA LEGAL SERVICES
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                                                                       Page 323
        1    filed in the Edley case by Roger Miller.
        2                   Do you recall that?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5                   And I'm just going to renew the
        6    same objections I made in the transcript
        7    that you're referring to --
        8                   MR. PLACITELLA:      Okay.
        9                   MR. BERNARDO: -- so as not to
       10    interrupt these questions.
       11                   MR. PLACITELLA:      All right.
       12    BY MR. PLACITELLA:
       13           Q.      Correct?    I asked you about the
       14    Miller affidavit --
       15           A.      Yes, you did.
       16           Q.      -- from the Edley case?
       17                   And I showed you the affidavit
       18    and you said you didn't know anything about
       19    it, right?
       20                   MR. BERNARDO:     Object to the
       21    form of the question.
       22                   THE WITNESS:     I was not
       23    familiar with it, no.
       24    BY MR. PLACITELLA:
       25           Q.      Okay.   And then on page 227, I
                            MAGNA LEGAL SERVICES
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                                                                       Page 324
        1    asked you again about the Miller affidavit
        2    submitted in the Edley case.
        3                   Do you see that?
        4           A.      Yes.
        5                   MR. BERNARDO:     Object to the
        6    form of the question.       Same objection.
        7    BY MR. PLACITELLA:
        8           Q.      And then again your counsel
        9    objected and you said you didn't know
       10    anything about it, right?
       11                   MR. BERNARDO:     Object to the
       12    form of the question.       Same objection.
       13                   THE WITNESS:     Yes, because I
       14    did not believe it was in the scope, so I
       15    had not reviewed it, no.
       16    BY MR. PLACITELLA:
       17           Q.      Okay.   Can you go to the 8A
       18    binder, please?
       19                   This is one of the binders you
       20    reviewed in preparation for your
       21    deposition, correct?
       22           A.      This was the basis of one --
       23    one of -- some of the conversations that I
       24    had in preparation for this.
       25           Q.      Okay.
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                                                                       Page 325
        1           A.      Yes.
        2           Q.      And under 8A, can you go to tab
        3    33, please?
        4           A.      33 in 8A?
        5           Q.      33 in 8A.
        6                   Now, 33 in the -- in your
        7    binder, 8A, is captioned in the Edley case,
        8    correct?
        9           A.      I'm not seeing that it says
       10    Edley here.     Oh, yes, okay.
       11           Q.      Edley.    And can you turn to the
       12    next page in your binder?        You see there's
       13    an affidavit in the Edley case?
       14           A.      Yes.
       15           Q.      Right?    And that affidavit is
       16    sworn to by Roger Miller, correct?
       17           A.      I see that, yes.
       18           Q.      All right.     And the date for
       19    that affidavit -- and that's his signature,
       20    and the date for that affidavit is 1991,
       21    correct?
       22           A.      Yes.
       23           Q.      Okay.    And he was the president
       24    of your mining company, correct?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 326
        1    form of the question and beyond the scope
        2    of the notice.
        3                   The witness can answer in her
        4    personal capacity, and I'll assert this for
        5    any questions on --
        6                   MR. PLACITELLA:      You can assert
        7    all you want, but --
        8                   MR. BERNARDO:     Mr.
        9    Placitella --
       10                   MR. PLACITELLA:      -- it's in her
       11    review materials.
       12                   I just want to make clear so I
       13    court that listens to your objections about
       14    scope understands exactly what we're
       15    talking about.
       16                   MR. BERNARDO:     And I appreciate
       17    that, Mr. Placitella.       I'm not trying to
       18    pick a fight here and you seem to be
       19    getting angry.
       20                   MR. PLACITELLA:      I'm not angry.
       21                   MR. BERNARDO:     But you
       22    interrupted my objection, and I'm simply
       23    trying to preserve it for the record so
       24    that I don't repeat it and interrupt your
       25    questioning.
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                                                                       Page 327
        1                   So I'm asking for a running
        2    objection with respect to questions about
        3    this affidavit.
        4                   MR. PLACITELLA:      Okay.    You
        5    have any running objection you want about
        6    what's ever in the books that she reviewed.
        7    How's that?
        8                   MR. BERNARDO:     Thank you.
        9                   MR. PLACITELLA:      Okay.
       10    BY MR. PLACITELLA:
       11           Q.      So what he says is:
       12                   "I'm the president of Windsor
       13    Minerals."
       14                   Correct?
       15           A.      I see that in the second
       16    paragraph, yes.
       17           Q.      And what he says is that:
       18                   "The exclusive business of
       19    Windsor Minerals has been for the last
       20    18 years, the mining and milling of talc
       21    from a single mining district in Windsor,
       22    Vermont."
       23                   Correct?
       24           A.      That's what it says here.
       25           Q.      Okay.   And:
                            MAGNA LEGAL SERVICES
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                                                                       Page 328
        1                   "The mining district is the
        2    exclusive source for all of the Johnson's
        3    Baby Powder sold in the United States."
        4                   Correct?
        5           A.      That's what it says here.
        6           Q.      Okay.   It says:
        7                   "In addition to supplying the
        8    talc for Johnson's Baby Powder, Windsor
        9    Minerals also sells a portion of its
       10    product to independent industrial users."
       11                   Correct?
       12           A.      That's what it says.
       13           Q.      Okay.   And what he swears to
       14    under oath, he says:
       15                   "All of the talc mined by
       16    Windsor Minerals, Inc., whether it is
       17    ultimately sold to industrial users or used
       18    in Johnson's Baby Powder, is sampled and
       19    tested for the presence of asbestos."
       20                   Correct?
       21           A.      That's what he says.
       22           Q.      And he swears under oath:
       23                   "No evidence of the presence of
       24    asbestos in Windsor Minerals product has
       25    ever been revealed by this testing."
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                                                                       Page 329
        1                   Correct?
        2           A.      That's what it says, yes.
        3           Q.      Okay.   And then this affidavit
        4    was then used to have Mr. Edley, right here
        5    in this courthouse, dismiss his lawsuit
        6    based upon the representations made by
        7    Windsor Minerals and Johnson & Johnson,
        8    correct?
        9                   MR. BERNARDO:     Object to --
       10    object to the form of the question.           Well
       11    beyond the scope of the notice.
       12                   You can answer in your
       13    individual capacity.
       14                   THE WITNESS:     I -- that seems
       15    to be a legal question.        I don't know what
       16    was used or what wasn't used.
       17    BY MR. PLACITELLA:
       18           Q.      Okay.   Well, let's go to the
       19    cover letter that's in your binder.
       20                   You see there's a binder
       21    here -- a letter on July 23rd, 1997?
       22           A.      Which tab is that?
       23           Q.      It's still under tab 33.
       24                   MR. BERNARDO:     And same
       25    objection with respect to the use of this
                            MAGNA LEGAL SERVICES
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                                                                       Page 330
        1    document and questions pertaining to it.
        2                   MR. PLACITELLA:      You can have a
        3    running objection to every question I ask
        4    about what's in her binder.
        5                   MR. BERNARDO:     Okay.      From time
        6    to time --
        7                   MR. PLACITELLA:      You don't have
        8    to keep doing it.
        9                   MR. BERNARDO:     From time to
       10    time, I will renew it.
       11                   MR. PLACITELLA:      Okay.
       12                   THE WITNESS:     What are you
       13    referring to here?
       14    BY MR. PLACITELLA:
       15           Q.      The July 23rd, 1987 letter.
       16           A.      I see that, yes.
       17           Q.      Okay.    And these -- this is
       18    from your lawyers to Ronald Grayzel, who
       19    has an office right here in Edison,
       20    New Jersey.
       21                   Do you see that?
       22           A.      I see that's the address here,
       23    yes.
       24           Q.      Right.    And your lawyer's
       25    offices are right here two blocks from the
                            MAGNA LEGAL SERVICES
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                                                                       Page 331
        1    courthouse.
        2                   Do you see that?
        3           A.      I don't -- I see that there's
        4    some of the addresses.        I don't even know
        5    who any of these people are, so that's what
        6    it says here.
        7           Q.      And it says:
        8                   "Dear Mr. Grayzel, Enclosed
        9    please find the affidavit on behalf of
       10    Windsor Minerals signed by Roger Miller,
       11    president of Windsor Minerals since 1968.
       12    Also enclosed you'll find an assay from
       13    McCrone Environmental Services."
       14                   Do you see that?
       15           A.      That's what it says.
       16           Q.      "I trust that these documents
       17    will now enable you to sign a dismissal as
       18    was done in the Yuhas file."
       19                   Do you see that?
       20           A.      That's what it says.
       21           Q.      Okay.   And then if you go to
       22    the first page in your tab 33, on the same
       23    exact date that your letter was sent,
       24    Mr. Grayzel signed a stipulation of
       25    dismissal with prejudice dismissing his
                            MAGNA LEGAL SERVICES
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                                                                       Page 332
        1    client's case against your company,
        2    correct?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5                   THE WITNESS:     That's what it
        6    says here.
        7    BY MR. PLACITELLA:
        8           Q.      Right.    Now, you also stated in
        9    your prior deposition that you have no
       10    knowledge of the Yuhas case and what
       11    happened to it, correct?
       12           A.      And that's correct.
       13           Q.      But actually you do know what
       14    happened to it because in your tab 33, your
       15    lawyers make clear what happened to the
       16    Yuhas file, it was dismissed just like the
       17    Edley case, correct?
       18                   MR. BERNARDO:     Object --
       19    BY MR. PLACITELLA:
       20           Q.      That's what it says.
       21                   MR. BERNARDO:     Object to the
       22    form of the question.
       23                   THE WITNESS:     That's what it
       24    says here, yes.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 333
        1           Q.      Now, do you recall I asked you
        2    last time whether Mr. Miller had signed
        3    other similar affidavits during the course
        4    of the litigation that were used to get
        5    people to dismiss their cases.
        6                   Do you recall that?
        7           A.      I don't recall that specific
        8    question, no.
        9           Q.      Do you recall whether I asked
       10    you about the Faye Miller case?
       11           A.      I don't remember that, no.
       12           Q.      Can you go to your binder, P-9.
       13    P-9, if you flip to, like, the third page
       14    is an affidavit in the Faye Miller case
       15    signed by Roger Miller.
       16                   Do you see that?      I put it up
       17    on the screen.
       18           A.      I see that on the screen, yes.
       19           Q.      All right.     And again, Roger
       20    Miller states under oath:
       21                   "All of the talc mined by
       22    Windsor Minerals has been regularly sampled
       23    and tested for the presence of asbestos.
       24    No evidence of the presence of asbestos in
       25    Windsor Minerals product has ever been
                            MAGNA LEGAL SERVICES
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                                                                       Page 334
        1    revealed by this testing."
        2                   Correct?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5    BY MR. PLACITELLA:
        6           Q.      That's what he says, right?
        7                   MR. BERNARDO:     Beyond the
        8    scope.
        9                   You can answer in your
       10    individual capacity if you can.
       11                   THE WITNESS:     I see that it
       12    says that there, yes.
       13    BY MR. PLACITELLA:
       14           Q.      Okay.   And the last time we
       15    were together, you also testified under
       16    oath that the only thing you reviewed in
       17    reference to the Gambino case was the
       18    complaint as that was all that was
       19    available.
       20                   Do you recall that testimony?
       21           A.      I remember talking about the
       22    Gambino, yes.      And I reviewed -- or I --
       23    the things that I reviewed were any
       24    responses to discovery questions or
       25    interrogatories.
                            MAGNA LEGAL SERVICES
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                                                                       Page 335
        1           Q.      Okay.   So let's -- let's look
        2    at, to be clear, what your testimony was as
        3    it related to the Gambino case.
        4                   On page 105, I first raised the
        5    Gambino case with you.        I said:
        6                   "What do you know about the
        7    Gambino case?"
        8                   And you wrote (sic):
        9                   "That is the one -- one of the
       10    ones that was listed which you requested
       11    documents, but I -- that's why I asked for
       12    that chart, to refresh myself, because the
       13    top of my head (sic), I don't remember what
       14    Gambino was."
       15                   Do you remember that?
       16           A.      Yes.
       17           Q.      Okay.   And then on page 214, I
       18    asked you additional questions about the
       19    Gambino case, and 215.        And I asked you:
       20                   "So in the same years that the
       21    scientists testified that the mines once
       22    owned by Johnson & Johnson contained
       23    asbestos, you were sued in Middlesex County
       24    in the Gambino case, correct?"
       25                   Mr. -- Mr. Bernardo objects to
                            MAGNA LEGAL SERVICES
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                                                                       Page 336
        1    the scope of my question, and I said:
        2                   "Here, I put it up there for
        3    you.    It's 291.      Do you see that?
        4                   "All I know is the years are
        5    the same.
        6                   "Right.     In Middlesex County,
        7    New Jersey.     Do you see that?
        8                   "I see that, yes.
        9                   "And it involved baby powder,
       10    correct?
       11                   "Answer:    I see that.
       12                   "And according to your earlier
       13    testimony, your lawyers didn't have any
       14    other information on Gambino to provide to
       15    you."
       16                   And you said under oath:
       17                   "There were no discovery
       18    records."
       19                   Do you recall that testimony?
       20            A.     Yes.
       21            Q.     Okay.
       22                   MR. PLACITELLA:      Can you give
       23    me J&J 316, please?
       24    BY MR. PLACITELLA:
       25            Q.     J&J-316 is the Gambino file
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                                                                       Page 337
        1    obtained from the Middlesex County
        2    Courthouse, and if you flip through it,
        3    there are interrogatory answers on behalf
        4    of Johnson & Johnson.
        5                   Do you see that?
        6                   MR. BERNARDO:     Object to the
        7    form of the question.
        8                   I'm also going to object,
        9    Chris, because, for purposes of allowing
       10    the witness to be prepared, it was my
       11    understanding, and perhaps I misunderstood,
       12    that we had an agreement that if you were
       13    going to ask the witness questions about
       14    documents that you found or obtained from a
       15    court file, that they would be provided in
       16    advance so the witness would have an
       17    opportunity to review them.
       18                   Having made that objection, the
       19    witness can respond as she can.
       20                   MR. PLACITELLA:      Well, I'm
       21    going to put a response to that on the
       22    record when somebody reads this.
       23                   Our agreement was I would
       24    provide you any documents that I located
       25    that weren't used in prior Johnson &
                            MAGNA LEGAL SERVICES
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                                                                       Page 338
        1    Johnson depositions or admitted at trial
        2    against Johnson & Johnson.         That was our
        3    agreement.
        4    BY MR. PLACITELLA:
        5           Q.      Ms. Musco, did you know that
        6    this -- that these sets of interrogatories
        7    were testified to by Dr. Hopkins in his
        8    deposition?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     No.
       12    BY MR. PLACITELLA:
       13           Q.      Did you know that they were
       14    actually used in trial here in Middlesex
       15    County in this very courtroom?
       16           A.      No, I do not know that.
       17           Q.      And when you said that there
       18    were no discovery responses available in
       19    the Gambino case under oath, these were
       20    responses that were never supplied to you,
       21    and I'm talking about you, I mean Johnson &
       22    Johnson's representative --
       23                   MR. BERNARDO:     Object --
       24    BY MR. PLACITELLA:
       25           Q.      -- correct?
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                                                                       Page 339
        1                   MR. BERNARDO:     Object to the
        2    form of the question.
        3                   THE WITNESS:     I did not see
        4    these before, no.
        5    BY MR. PLACITELLA:
        6           Q.      Okay.   So when you testified
        7    before under oath that Johnson & Johnson
        8    did not have any discovery responses as it
        9    related to the Gambino case, that was, in
       10    fact, a false statement, correct?
       11                   MR. BERNARDO:     Object to the
       12    form of the question.
       13                   THE WITNESS:     To the best of my
       14    understanding, it was true at the time.
       15    BY MR. PLACITELLA:
       16           Q.      But what -- but it really was a
       17    false statement, ma'am.        I'm not talking
       18    about you, Nancy Musco, I'm talking about
       19    Johnson & Johnson.       You're here on behalf
       20    of Johnson & Johnson, and clearly Johnson &
       21    Johnson had this information in its
       22    possession when you testified the first
       23    time that there were no discovery responses
       24    available from the Gambino case, correct?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 340
        1    form of the question and to the
        2    characterization of her prior testimony.
        3                   THE WITNESS:     I don't know
        4    that.
        5    BY MR. PLACITELLA:
        6            Q.     Okay.   You -- last time I asked
        7    you about --
        8                   MR. PLACITELLA:      Do you have
        9    the Hopkins chart?
       10    BY MR. PLACITELLA:
       11            Q.     Last time I asked you some
       12    questions about a chart that Dr. Hopkins
       13    prepared during his testimony.
       14                   Do you recall that?
       15            A.     Yes.
       16            Q.     And what you told me under oath
       17    was that you never looked at the Hopkins
       18    chart in preparation for your deposition,
       19    correct?
       20            A.     That was correct, yes.
       21            Q.     And you said that you were
       22    never shown the Hopkins chart in
       23    preparation for your deposition, correct?
       24            A.     I had not seen it specifically,
       25    no.
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                                                                       Page 341
        1           Q.      And you further testified under
        2    oath that you never discussed the Hopkins
        3    chart with Dr. Hopkins himself, correct?
        4           A.      No, I did not.
        5           Q.      Okay.    Now, can you go to book
        6    8B?   And can you turn to tab 78, please?
        7                   Now, in your book that you gave
        8    me last -- at the end of the last
        9    deposition -- are you with me?          Are you on
       10    tab 78?     Yes?
       11           A.      I am.
       12           Q.      And what you have on tab 78 is
       13    a chart with Exhibit No. Hopkins 28,
       14    correct?
       15           A.      That's what it says, yes.
       16           Q.      Okay.    And what you have in
       17    front of you, can you hold it up, is the
       18    big version of that chart so you can read
       19    it, correct?       I have one here.
       20           A.      It looks to be the same, yes.
       21           Q.      All right.     Hopkins-28, right?
       22           A.      That's what it's called, yes.
       23           Q.      Hopkins-28, the big version I
       24    have, is the blowup of the same chart in
       25    your book tab No. 78, correct?
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                                                                       Page 342
        1           A.      Yes.
        2           Q.      Okay.   And the last time we
        3    were together I asked you questions about
        4    the Westfall case.
        5                   Do you recall that?
        6           A.      Yes, I do.
        7           Q.      Okay.   And I think you said
        8    that you were vaguely familiar with the
        9    Westfall case, is that fair?
       10           A.      Yes.
       11           Q.      And that you denied any
       12    knowledge that the mine at issue in the
       13    Westfall case had asbestos in it, correct?
       14                   MR. BERNARDO:     Object to the
       15    form of the question, beyond the scope of
       16    the notice, and the witness --
       17                   THE REPORTER:     I'm sorry, sir?
       18                   MR. BERNARDO:     Object to the
       19    form of the question, beyond the scope of
       20    the notice.
       21                   The witness may answer in her
       22    personal capacity if she knows.
       23                   THE WITNESS:     What was the
       24    question?
       25    BY MR. PLACITELLA:
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                                                                       Page 343
        1           Q.      In your -- well, let's just go
        2    to your testimony.
        3                   I asked you on page 85:
        4                   "You knew the mine that was
        5    owned by Johnson & Johnson that was the
        6    issue in the Westfall case had asbestos in
        7    it."
        8                   Mr. Bernardo objected.        I
        9    responded again:
       10                   "You knew that?"
       11                   And your response was:
       12                   "No, I did not.      I did not go
       13    into that detail with this because it was
       14    industrial talc."
       15                   Do you see that?
       16           A.      Yes.
       17           Q.      Okay.   And I then asked you if
       18    you ever read the deposition of the
       19    scientist who was deposed in the -- in the
       20    Westfall case.
       21                   Do you recall that?
       22           A.      Specifically, no.
       23           Q.      Okay.   Well, let's go to your
       24    testimony.
       25                   You see that on page 206, I
                            MAGNA LEGAL SERVICES
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                                                                       Page 344
        1    said:
        2                   "You never knew before you came
        3    here today that Johnson & Johnson's lawyers
        4    sat in a deposition where the scientists
        5    who did the tests on the Johnson & Johnson
        6    mine said they found asbestos in the mine?
        7    You never knew that?"
        8                   And then there was an objection
        9    by Mr. Bernardo, artfully so, and --
       10                   MR. BERNARDO:     Which he renews
       11    here.
       12                   MR. PLACITELLA:      Which he can
       13    renew here all he wants.        Thank you.
       14    BY MR. PLACITELLA:
       15            Q.     And I handed you the transcript
       16    of Dr. Glen Hemstock.
       17                   Do you see that?
       18            A.     I see that, yes.
       19            Q.     And then when I handed it to
       20    you, your attorney, Mr. Bernardo said:
       21                   "And the same objection to
       22    asking the witness about depositions.           It's
       23    beyond the scope and she's not read the
       24    deposition."
       25                   Do you see that?
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                                                                       Page 345
        1           A.      Yes.
        2           Q.      Okay.   And then I actually
        3    pulled out the Hemstock deposition and
        4    showed it to you and showed you where the
        5    general counsel from Johnson & Johnson was
        6    sitting in a deposition.
        7                   Do you recall that?
        8           A.      I recall you showing me that,
        9    yes.
       10           Q.      Okay.
       11                   MR. BERNARDO:     Same objections
       12    as stated in that transcript.
       13    BY MR. PLACITELLA:
       14           Q.      And do you recall that I --
       15    that I --
       16                   MR. BERNARDO:     Same objections
       17    as stated in that transcript.
       18    BY MR. PLACITELLA:
       19           Q.      That I pointed to you on page
       20    17 of the transcript, and showed you where
       21    the scientist testified under oath that he
       22    found asbestos in the Johnson mine?
       23                   Do you see that?
       24           A.      I see that conversation --
       25           Q.      Okay.
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                                                                       Page 346
        1            A.     -- from last time, yes.
        2            Q.     And I asked you:
        3                   "That information was never
        4    relayed to you as the person who was either
        5    testifying here today or who certified
        6    interrogatory answers on behalf of Johnson
        7    & Johnson, correct?"
        8                   And your answer to me was,
        9    under oath:
       10                   "I have not seen this before,
       11    no. "
       12                   Correct?
       13            A.     I had not seen what you showed
       14    me, no.
       15            Q.     Okay.   Can you go to, in your
       16    book, in your reliance book, 8B, tab 55.
       17                   You see at tab 55 in your
       18    reliance materials --
       19            A.     I see --
       20            Q.     -- is the deposition in the
       21    Westfall case of Glen Hemstock?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24    BY MR. PLACITELLA:
       25            Q.     Do you see that?
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                                                                       Page 347
        1            A.     I see that.
        2            Q.     Okay.   And do you see that
        3    present at the deposition was the general
        4    counsel for Johnson & Johnson?
        5            A.     Where -- where am I seeing
        6    that?
        7            Q.     The third page, you flip it
        8    over, and in your book it says, John M.
        9    Beidler, Esquire, General Counsel, Johnson
       10    & Johnson.
       11                   Do you see that?
       12            A.     Yes.
       13            Q.     Okay.   And then if you flip to
       14    your tab 57, there's the continuation of
       15    Dr. Hemstock's deposition in the Westfall
       16    case, correct?
       17            A.     That's what it says, yes.
       18            Q.     Okay.   And if you turn to page
       19    17 of the deposition in your book.           Got it?
       20            A.     Yes.
       21            Q.     The scientist is asked:
       22                   "Now, you testified that your
       23    department has tested both processed talc
       24    and raw talc ore from the Emtal mine for
       25    the presence of chrysotile asbestos; is
                            MAGNA LEGAL SERVICES
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        1    that correct?
        2                   "Answer:    Yes.
        3                   "Has your department in its
        4    research found chrysotile asbestos in both
        5    processed talc and raw ore from the Emtal
        6    mine?
        7                   "Answer:    Yes."
        8                   Do you see that?
        9            A.     I see it says that, yes.
       10            Q.     Okay.   Now, in your deposition
       11    at page 268, I asked you under oath if you
       12    had any information related to the
       13    affidavit signed by your scientist, William
       14    Ashton.
       15                   Do you recall that?
       16            A.     Yes.
       17                   MR. BERNARDO:      Object to the
       18    form of the question, and a running
       19    objection with respect to this affidavit
       20    beyond the scope --
       21                   MR. PLACITELLA:      Okay.
       22                   MR. BERNARDO:      -- of the
       23    notice.
       24    BY MR. PLACITELLA:
       25            Q.     Do you see that?
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                                                                       Page 349
        1                   MR. BERNARDO:     She can answer
        2    in her individual capacity.
        3                   THE REPORTER:     I'm so sorry.
        4    Can we go off the record?
        5                   THE VIDEOGRAPHER:      The time is
        6    now 11:05 AM.      We are going off the record.
        7                   (Discussion held off the
        8    record.)
        9                   THE VIDEOGRAPHER:      The time is
       10    now 11:07 AM.      We are back on the record.
       11    BY MR. PLACITELLA:
       12           Q.      Okay.    So I'm going to go to --
       13    I asked you questions, if you recall, about
       14    what was attached to Dr. Ashton's
       15    affidavit, and I asked you whether he
       16    had -- attached to that affidavit was
       17    testimony from the Westfall case.
       18                   Do you recall that?
       19           A.      I recall discussing IT, yes.
       20           Q.      Okay.    And do you recall your
       21    telling me you had no idea what was
       22    attached to the Ashton affidavit?
       23           A.      I had not seen it before.
       24           Q.      Right.    And what you testified
       25    to under oath was that you had -- you had
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                                                                       Page 350
        1    never seen and had -- did not have the
        2    Ashton affidavit available to you, correct?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5                   THE WITNESS:     I believe I told
        6    you in the beginning when we talked about
        7    Westfall that because it was dealing with
        8    industrial talc, I did not feel it was
        9    within -- within the scope of the notice
       10    that you had sent.
       11    BY MR. PLACITELLA:
       12           Q.      Ma'am, you testified under oath
       13    that you had never seen the Ashton
       14    affidavit and you didn't know anything
       15    about it, correct?
       16                   MR. BERNARDO:     Object to the
       17    form of the question.
       18                   THE WITNESS:     Yes, that's
       19    correct.
       20    BY MR. PLACITELLA:
       21           Q.      Okay.   So can we go to your
       22    reliance materials on 8B, No. 53.
       23                   MR. BERNARDO:     Object to the
       24    form of the question.
       25    BY MR. PLACITELLA:
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                                                                       Page 351
        1           Q.      And actually, in your reliance
        2    materials under tab 53 is the Ashton
        3    affidavit, correct?
        4                   MR. BERNARDO:     Object to the
        5    form of the question.
        6                   THE WITNESS:     That's what it
        7    says here.
        8    BY MR. PLACITELLA:
        9           Q.      Okay.   And what Dr. Ashton says
       10    in his affidavit is:
       11                   "From the 1940s through the
       12    1980s, talc mined in Vermont, and
       13    specifically the talc mined by Engelhard
       14    and its predecessors from the talc mine
       15    located in Johnson, Vermont, (the Johnson
       16    mine), has been considered to be talc-free
       17    from contamination by asbestos."
       18                   Correct?
       19           A.      That's what it says.
       20           Q.      Okay.   And in paragraph 8 of
       21    your executive's affidavit, Mr. Ashton, he
       22    talks about attaching the testimony of
       23    Dr. Chidester.
       24                   Do you see that?
       25           A.      I see it says that.
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                                                                       Page 352
        1           Q.      It says:
        2                   "Dr. Chidester stated that he
        3    never found veins of chrysotile asbestos in
        4    talc located in Vermont."
        5                   Do you see that?
        6           A.      I see that sentence, yes.
        7           Q.      Okay.   And then what one of the
        8    documents that you, Johnson & Johnson,
        9    attached to this affidavit was the
       10    deposition of Dr. Chidester from the
       11    Westfall case, correct?
       12                   MR. BERNARDO:     Object to the
       13    form of the question.       Also object to the
       14    use of this document, beyond the scope of
       15    the notice.
       16                   THE WITNESS:     I guess that's
       17    attached.     I -- I don't know.
       18    BY MR. PLACITELLA:
       19           Q.      And that's the same case -- the
       20    same docket number as the Hemstock
       21    deposition that you have also attached to
       22    your reliance materials as tab 57, right?
       23                   MR. BERNARDO:     Object to the
       24    form of the question.
       25                   THE WITNESS:     I don't know.
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                                                                       Page 353
        1    BY MR. PLACITELLA:
        2           Q.      Well, let's take a look.        I
        3    flipped it for you.       You see Westfall,
        4    Docket No. 0269?
        5           A.      Yes, I see it says that.
        6           Q.      Right.    You see the Chidester
        7    deposition, Docket No. 0269 in your
        8    reliance materials?
        9           A.      Uh-huh, yes.
       10           Q.      Okay.    Now, when you attached
       11    that affidavit -- when you attached that
       12    transcript to the -- to the -- to your
       13    affidavit, I mean, you, Johnson & Johnson,
       14    you knew that Dr. Chidester had told you
       15    privately that he actually found asbestos
       16    in Vermont mines, correct?
       17                   MR. BERNARDO:      Object to the
       18    form of the question, beyond the scope of
       19    the notice.
       20                   You can answer in your
       21    individual capacity if you can.
       22                   THE WITNESS:     I know nothing
       23    about that, no.
       24    BY MR. PLACITELLA:
       25           Q.      Okay.    Well --
                            MAGNA LEGAL SERVICES
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                                                                       Page 354
        1                   MR. PLACITELLA:        Can you give
        2    me P-7?
        3    BY MR. PLACITELLA:
        4           Q.      Can you go to your binder P-7,
        5    please?
        6                   P-7, by the way, was this one
        7    of the reliance documents that you sent to
        8    Dr. Hopkins?
        9                   MR. BERNARDO:     Objection to the
       10    form of the question.
       11                   THE WITNESS:     No.    8A and 8B
       12    were sent to Dr. Hopkins.
       13    BY MR. PLACITELLA:
       14           Q.      Okay.   So can we go to tab 25?
       15           A.      In P-7?
       16           Q.      Yes, in P-7.     You see tab 25 in
       17    P-7 are actually your answers to
       18    interrogatories in the Westfall case?
       19                   Do you see that?
       20           A.      Yes, they seem to be.
       21           Q.      Okay.   And if you go to page
       22    5 -- there's a thing that says, "As to AH
       23    Chidester."
       24                   Do you see that?
       25           A.      Yes.
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                                                                       Page 355
        1           Q.      And it says, under Q5:
        2                   "Have you ever found asbestos
        3    present in any testing of minerals taken
        4    from Vermont?"
        5                   Do you see that?
        6           A.      I see that question, yes.
        7           Q.      And he -- and the response from
        8    Dr. Chidester is:
        9                   "Yes.   Asbestos is not found
       10    in -- is not found in a mineral, asbestos
       11    was tested by chemical analysis, x-ray and
       12    differential thermo analysis.         The asbestos
       13    found was chrysotile."
       14                   Correct?
       15                   MR. BERNARDO:     Object to the
       16    form of the question, beyond the scope of
       17    the notice.
       18                   She can answer in her
       19    individual capacity if she can.
       20                   THE WITNESS:     I see all that
       21    written here.
       22    BY MR. PLACITELLA:
       23           Q.      That statement is directly
       24    contrary to the sworn affidavit of Johnson
       25    & Johnson in the Ashton affidavit saying
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                                                                       Page 356
        1    asbestos was never found in Vermont,
        2    correct?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5                   THE WITNESS:     I can't answer
        6    because it's taken out of content (sic).            I
        7    don't know what came before or after.
        8    BY MR. PLACITELLA:
        9           Q.      Okay.   Well, what content (sic)
       10    do you need?     These are your answers.
       11                   MR. BERNARDO:     Object to the
       12    form of the question.
       13                   THE WITNESS:     The complete
       14    studies and what he's referring to and --
       15    BY MR. PLACITELLA:
       16           Q.      Well, where are they?
       17           A.      Well, what was done, when I
       18    talked to Dr. Hopkins, I wanted to make
       19    sure that he was familiar with any
       20    allegations and evidence that had been
       21    brought forth, and so we had conversations
       22    about all this and really renewed my
       23    understanding that there is no asbestos in
       24    the cosmetic talc used in Johnson's Baby
       25    Powder.
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                                                                       Page 357
        1             Q.    Okay.   Ma'am, your -- I move to
        2    strike your answer as non-responsive.
        3                   Let me move further to Section
        4    C, page 9.
        5                   Do you see that?      In your
        6    answers to interrogatories.         Do you see
        7    that?
        8             A.    I see Section C, yes.
        9             Q.    And you see this goes -- and
       10    it -- these are questions as it relates to
       11    Dr. Frederick Pooley.
       12                   Do you see that?
       13            A.     I see that name, yes.
       14            Q.     He's your expert, right?
       15                   MR. BERNARDO:     Object to the
       16    form of the question.
       17                   THE WITNESS:     I don't know who
       18    he is.
       19    BY MR. PLACITELLA:
       20            Q.     He -- well, you signed lots of
       21    interrogatories with his name in it, didn't
       22    you?
       23                   MR. BERNARDO:     Object to the
       24    form of the question.
       25                   THE WITNESS:     I did not sign
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                                                                       Page 358
        1    interrogatories with his name.
        2    BY MR. PLACITELLA:
        3            Q.     You're sure?
        4            A.     I don't remember doing that.
        5            Q.     Okay.     You don't know that he
        6    served as a consulting expert to Johnson &
        7    Johnson in talc cases from the 1980s well
        8    into the 2000s?        You didn't know that?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     I don't remember
       12    his name specifically, no.
       13    BY MR. PLACITELLA:
       14            Q.     Did you know that he testified
       15    as little as a year ago on behalf of
       16    Johnson & Johnson under oath in -- in
       17    New York?
       18            A.     He may have.     I don't know
       19    that.
       20            Q.     Okay.    Did you -- you see here
       21    where it talks about what he did?          It asks
       22    if he ever actually looked at the tissue of
       23    Mr. Westfall as the expert for Johnson &
       24    Johnson?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 359
        1    form of the question.
        2    BY MR. PLACITELLA:
        3           Q.      See here it says:
        4                   "How many tissue samples were
        5    you" -- "were obtained from the autopsy
        6    specimen for testing?"
        7                   Do you see that?
        8           A.      I see that question, yes.
        9           Q.      And it says:
       10                   "The tissue specimen from the
       11    left lung included a mixture of lung tissue
       12    and also tumor material."
       13                   Do you see that?
       14           A.      I see the sentence, yes.
       15           Q.      Okay.   And in question 5, they
       16    asked you to detail the procedures that
       17    were used in looking at the tissue and what
       18    was found.
       19                   Do you see that?
       20           A.      I'm reading it now.
       21           Q.      And it talks about that they
       22    took a sample and they used x-rays and
       23    cameras and took all kinds of pictures, and
       24    they also used a transmission electron
       25    microscope.
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                                                                       Page 360
        1                   Do you see that?
        2                   MR. BERNARDO:     Object to the
        3    form of the question, beyond the scope of
        4    the notice.
        5                   The witness can answer in her
        6    individual capacity if she can.
        7                   THE WITNESS:     I see that that's
        8    what they're talking about, yes.
        9    BY MR. PLACITELLA:
       10            Q.     Okay.   And on the next page,
       11    they talk about:
       12                   "The definition of fibrous
       13    particles adopted for the first stage
       14    examination was that of a particle with a
       15    3-to-1 axial ratio."
       16                   Do you see that?
       17                   MR. BERNARDO:     Object to the
       18    form.
       19                   THE WITNESS:     I see it says
       20    that, yes.
       21    BY MR. PLACITELLA:
       22            Q.     It says:
       23                   "In total, over 200 fibrous
       24    particles were detected, analyzed and
       25    sized, and the results are shown in Table 1
                            MAGNA LEGAL SERVICES
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                                                                       Page 361
        1    attached to these answers."
        2                   Do you see that?
        3           A.      I see it says that, yes.
        4           Q.      And it says:
        5                   "It can be seen in Table 1 that
        6    the asbestos minerals were chrysotile,
        7    amosite, tremolite and crocidolite."
        8                   Do you see that?
        9           A.      I see that, yes.
       10           Q.      And it says:
       11                   "They were detected in dust" --
       12    "dust extracts with chrysotile being the
       13    most commonly observed fiber, followed by
       14    amosite, while fibers of tremolite and
       15    crocidolite were scarce."
       16                   Do you see that?
       17                   MR. BERNARDO:     Object to the
       18    form of the question, beyond the scope of
       19    the notice.
       20                   The witness can answer in her
       21    individual capacity if she can.
       22                   THE WITNESS:     I see these
       23    sentences, yes.
       24    BY MR. PLACITELLA:
       25           Q.      Okay.   And if you flip to A-12,
                            MAGNA LEGAL SERVICES
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                                                                       Page 362
        1    they asked Dr. Pooley if he ever took any
        2    photographs of what he saw.
        3                   Do you see that?
        4                   MR. BERNARDO:     Same objection.
        5                   THE WITNESS:     Yes.
        6    BY MR. PLACITELLA:
        7            Q.     And it says -- he asks the
        8    photographs -- the lawyers have the
        9    photographs, right?
       10            A.     It says they're in the custody
       11    of counsel, yes.
       12            Q.     Okay.   So where are those
       13    photographs today?
       14                   MR. BERNARDO:     Object to the
       15    form of the question.
       16                   THE WITNESS:     I guess they're
       17    in the custody of counsel.
       18    BY MR. PLACITELLA:
       19            Q.     Okay.   And if we flip to the
       20    end, you can see Table 1.        You see where it
       21    says:
       22                   "Number of fibers per gram
       23    times ten to the sixth in dried tissue."
       24                   Do you see that?
       25                   MR. BERNARDO:     Same objections.
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                                                                       Page 363
        1                   THE WITNESS:     I see it says
        2    that, yes.
        3    BY MR. PLACITELLA:
        4           Q.      Right.    So in a gram of
        5    Mr. Westfall's tissue, your expert found 29
        6    million chrysotile fibers, right?
        7           A.      I can't comment on this.        I
        8    don't understand any of this.         This is not
        9    within my expertise.
       10           Q.      He also found 9,400,000 talc
       11    fibers, correct, in the lung of
       12    Mr. Westfall?
       13                   MR. BERNARDO:     Same objections.
       14                   THE WITNESS:     Again, I can't
       15    interpret what this table is.
       16    BY MR. PLACITELLA:
       17           Q.      And he also found tremolite in
       18    the lung of Mr. Westfall, correct?
       19           A.      No, I cannot comment on what
       20    any of this is.
       21           Q.      Okay.    Now, in --
       22                   MR. PLACITELLA:      Give me back
       23    8A and 8B.
       24    BY MR. PLACITELLA:
       25           Q.      When you, Johnson & Johnson,
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                                                                       Page 364
        1    signed the affidavit -- when William Ashton
        2    signed the affidavit on behalf of Johnson &
        3    Johnson, he never mentioned the fact that
        4    he was aware, as was your general counsel,
        5    that the scientists in the Westfall case
        6    found chrysotile asbestos in the Johnson
        7    mine, correct?      It was never mentioned.
        8                   MR. BERNARDO:     Object to the
        9    form of the question, beyond the scope of
       10    the notice.
       11                   The witness can answer in her
       12    individual capacity if she knows.
       13                   THE WITNESS:     I can't comment
       14    on that.
       15    BY MR. PLACITELLA:
       16           Q.      Okay.   Now, that would be a
       17    non-truth.     Do you agree?
       18                   MR. BERNARDO:     Object to the
       19    form of the question.       Same objection.
       20    BY MR. PLACITELLA:
       21           Q.      Well, let me ask you the
       22    question this way:       Do you think that was
       23    an okay thing to do, you, Johnson &
       24    Johnson, to do that, to have -- to sign an
       25    affidavit saying there was no proof, there
                            MAGNA LEGAL SERVICES
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                                                                       Page 365
        1    was no evidence, when you had the person
        2    signing the affidavit with contrary
        3    information?
        4                   MR. BERNARDO:     Object to the
        5    form of the question, beyond the scope.
        6    BY MR. PLACITELLA:
        7            Q.     Was that okay?
        8            A.     I can't answer that question.
        9            Q.     Well, why not?      You're Johnson
       10    & Johnson.     You're here to talk about what
       11    you did right and what you did wrong.
       12                   MR. BERNARDO:     Object to the
       13    form.
       14    BY MR. PLACITELLA:
       15            Q.     Are you saying that it was okay
       16    or not okay --
       17                   MR. BERNARDO:     Object to the
       18    form of the question.
       19    BY MR. PLACITELLA:
       20            Q.     -- to have your executive sign
       21    this affidavit saying there was no proof
       22    when, in fact, you know there was proof?
       23                   MR. BERNARDO:     Object to the
       24    form of the question.
       25                   THE WITNESS:     I don't know that
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                                                                       Page 366
        1    there indeed is proof, and I can't answer
        2    that.
        3    BY MR. PLACITELLA:
        4            Q.     Well, do I have to show you
        5    anything other than the transcripts that
        6    you didn't attach to your affidavit or the
        7    interrogatory answers that your company
        8    filled out to tell you -- show what the
        9    truth was?
       10                   MR. BERNARDO:     Object to the
       11    form of the question.
       12                   THE WITNESS:     The proof is a
       13    scientific proof, and I have had
       14    conversations with the scientists who have
       15    reviewed that, and I'm -- I'm comfortable
       16    with what we have always believed.
       17    BY MR. PLACITELLA:
       18            Q.     So you talked to scientists who
       19    reviewed the transcripts here and your own
       20    interrogatory answers and they told you
       21    everything you did was fine, is that what
       22    you're saying?
       23                   MR. BERNARDO:     Object to the
       24    form of the question, beyond the scope of
       25    the notice.
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                                                                       Page 367
        1                   THE WITNESS:     That's not what
        2    I'm saying, no.
        3    BY MR. PLACITELLA:
        4             Q.    Okay.   Now, you know, right,
        5    you, Johnson & Johnson, know that you used
        6    this affidavit to extricate yourself and
        7    have thousands of cases dismissed that you
        8    were involved in?
        9                   MR. BERNARDO:     Object to --
       10    BY MR. PLACITELLA:
       11           Q.      That was the point, you knew
       12    that, correct?
       13                   MR. BERNARDO:     Object to the
       14    form of the question.
       15                   Mr. Placitella, you asked her
       16    this line of questioning at the last
       17    deposition and I objected to it, you asked
       18    her this question about an hour ago and she
       19    said she doesn't know, and you asked it
       20    again.
       21                   I think this is becoming
       22    argumentative and harassing and I do
       23    question whether at a break we ought to ask
       24    Judge Viscomi to discuss this because I
       25    don't think this is appropriate in light of
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                                                                       Page 368
        1    the testimony that's been given.
        2                   MR. PLACITELLA:      Okay.    Please,
        3    don't do that.      If you want to make a
        4    speaking objection, dismiss the witness
        5    from the stand.        Okay?   Let's not do that.
        6    BY MR. PLACITELLA:
        7             Q.    Now, you know, you, Johnson &
        8    Johnson know -- let me just -- can you go
        9    to your 8 -- your tab -- your folder 8B
       10    again?    And can you go to tab 58?
       11                   First of all, before we do
       12    that, I apologize.       Can you go to tab 54?
       13    Tab 54 in your reliance materials is a
       14    privilege log of Johnson & Johnson.
       15                   Do you see that?
       16                   MR. BERNARDO:     Object to the
       17    form of the question.
       18                   THE WITNESS:     I see it says
       19    that, yes.
       20    BY MR. PLACITELLA:
       21           Q.      Okay.    And do you see all of
       22    these entries related to Ashton?
       23           A.      I see what you're highlighting,
       24    yes.
       25           Q.      And you see that they pre- --
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                                                                       Page 369
        1                   MR. PLACITELLA:      Let's do that
        2    after the break.
        3    BY MR. PLACITELLA:
        4           Q.      And now, if you go to your tab
        5    58, please, in your binder?         You see this
        6    is a letter from May 17th, 1989?
        7                   This is in your binder,
        8    correct?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     Yes, it's in the
       12    binder.
       13    BY MR. PLACITELLA:
       14           Q.      Okay.   And can you see here
       15    that what's sent to these lawyers is the
       16    affidavit of -- your affidavit, your
       17    Johnson & Johnson affidavit, and what's
       18    represented is:
       19                   "The unequivocal conclusion as
       20    set forth in Ashton affidavit is that the
       21    talc from the Johnson Vermont mine did not
       22    contain asbestos."
       23                   Do you see that?
       24                   MR. BERNARDO:     Object to the
       25    form of the question, beyond the scope of
                            MAGNA LEGAL SERVICES
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                                                                       Page 370
        1    the notice.
        2                   The witness can answer in her
        3    individual capacity if she can.
        4                   THE WITNESS:     I see those
        5    words, yes.
        6    BY MR. PLACITELLA:
        7            Q.     And then what is urged here is
        8    that:
        9                   "After you review this
       10    affidavit, will you voluntarily agree to
       11    voluntarily dismiss your case?"
       12                   Do you see that?
       13            A.     I see it says that, yes.
       14            Q.     Now, can you go to P-9 again?
       15    Folder P-9.
       16                   MR. BERNARDO:     Chris, when
       17    you're at a breaking point.
       18                   MR. PLACITELLA:      I'm almost
       19    done.
       20                   MR. BERNARDO:     We've been going
       21    for over an hour.
       22                   MR. PLACITELLA:      I'm almost
       23    done.
       24                   MR. BERNARDO:     That's fine.
       25    BY MR. PLACITELLA:
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                                                                       Page 371
        1           Q.      P-9 is an -- the first page is
        2    an August 4th, 1992 letter.
        3                   Do you see that?
        4           A.      I'm sorry?
        5           Q.      In your folder -- in your book,
        6    P-9?
        7           A.      In P-9.
        8           Q.      Right?
        9           A.      Where in P-9 is it?
       10           Q.      The very first -- the flip-side
       11    of the very first page.
       12           A.      Oh, okay.    Yes, I see that.
       13           Q.      It says:
       14                   "We recently learned that your
       15    firm voluntarily dismissed Windsor
       16    Mineral," that's you, right, Johnson &
       17    Johnson, Windsor Mineral, right?
       18                   MR. BERNARDO:     Object to the
       19    form of the question, beyond the scope of
       20    the notice.
       21                   The witness can answer in her
       22    individual capacity if she can.
       23    BY MR. PLACITELLA:
       24           Q.      That's you, right?       Windsor
       25    Minerals is you?
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                                                                       Page 372
        1             A.    Yes.
        2             Q.    Okay.
        3                   "From the Akron cases some time
        4    ago after reviewing an affidavit supplied
        5    by Windsor."
        6                   Do you see that?
        7             A.    It says that, yes.
        8             Q.    Okay.   It says:
        9                   "No evidence of the presence of
       10    asbestos in Windsor Minerals' product has
       11    ever been revealed by this testing."
       12                   That's right out of Miller's
       13    affidavit, correct?
       14                   MR. BERNARDO:     Object to the
       15    form of the question.       Same objections with
       16    respect to scope.
       17    BY MR. PLACITELLA:
       18           Q.      Right out of your president's
       19    affidavit?
       20           A.      I can't comment on that.
       21           Q.      Okay.   And can you see that the
       22    affidavit is right on the very next page,
       23    ma'am?    It's the Faye Miller affidavit that
       24    we went through that was in your other
       25    reliance materials, and the quote is
                            MAGNA LEGAL SERVICES
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                                                                       Page 373
        1    directly from paragraph 4 of your company's
        2    affidavit:
        3                   "No evidence of the presence of
        4    asbestos in Windsor Minerals' products has
        5    ever been revealed by this testing."
        6                   And that's what's quoted in
        7    this letter asking these lawyers to dismiss
        8    their cases; is that right?
        9                   MR. BERNARDO:     Same objection.
       10                   THE WITNESS:     They -- they
       11    attached that, yes.
       12    BY MR. PLACITELLA:
       13           Q.      And do you recall last time we
       14    actually went through and I showed you the
       15    dismissal notices filed in the Miller case
       16    that were -- do you remember us doing that?
       17           A.      Yes.
       18           Q.      Okay.
       19                   MR. PLACITELLA:      This is a good
       20    time to break.
       21                   THE VIDEOGRAPHER:      The time is
       22    now 11:32 AM.      We are going off the record.
       23                   (Recess.)
       24                   THE VIDEOGRAPHER:      The time is
       25    now 11:46 AM.      We are back on the record.
                            MAGNA LEGAL SERVICES
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                                                                       Page 374
        1    BY MR. PLACITELLA:
        2           Q.      Okay.    I just have a few more
        3    questions on this then I'm going to move
        4    on.
        5                   MR. PLACITELLA:      Can you give
        6    me the Elmo?
        7    BY MR. PLACITELLA:
        8           Q.      Going back to your affidavit,
        9    when I say you, I mean Johnson & Johnson,
       10    that affidavit was signed by your
       11    Mr. Ashton on May 8th, 1989, correct?
       12           A.      That appears to be the name and
       13    the date, yes.
       14           Q.      Okay.    And if you go to the
       15    next tab in your reliance materials --
       16           A.      Would you tell me what tab it
       17    is again, please?
       18           Q.      Yes, ma'am, 54.
       19                   MR. BERNARDO:     Object to the
       20    form of the question.
       21    BY MR. PLACITELLA:
       22           Q.      8B-54.    That's the log -- your
       23    log.   It has an Exhibit No. 69.
       24                   Do you know what that exhibit
       25    number is from, by the way?
                            MAGNA LEGAL SERVICES
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                                                                       Page 375
        1            A.     I have no idea, and I don't
        2    even know what a privilege log is.
        3            Q.     Okay.   Well, you see in your
        4    privilege log on the same date, May 8,
        5    1989.
        6                   Do you see that?
        7            A.     I see what you're pointing to.
        8            Q.     Okay.   And you see where it's
        9    from an Ira Dembrow?
       10                   Do you see that?
       11            A.     I see that name, yes.
       12            Q.     To William Ashton.
       13                   Do you see that?
       14            A.     I see the name, yes.
       15            Q.     To John O'Shaughnessy?
       16                   Do you see that?
       17            A.     Yes.
       18            Q.     He's the one of the lawyers who
       19    worked with you in defending the talc
       20    cases, right?
       21            A.     Yes, he's one of the lawyers I
       22    worked with.
       23            Q.     Bruce Sempel, he was your
       24    medical director?
       25            A.     That's correct.
                            MAGNA LEGAL SERVICES
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                                                                       Page 376
        1            Q.      Howard Sloan, who is he?
        2            A.      I don't know.
        3            Q.      Okay.   And then again on the
        4    same date is another memo between
        5    Mr. Dembrow, Mr. Ashton, your lawyer and
        6    your medical director, correct?
        7            A.      I see those names listed, yes.
        8            Q.      Okay.   And then there are a
        9    number of other entries leading up to
       10    May 8th.
       11                    Do you see that?
       12            A.      I see lots of different dates,
       13    yes.
       14            Q.      Okay.   And then keeping in mind
       15    those names, Dembrow, Sloan.         Do you see
       16    that?
       17                    If you go to your tab --
       18                    MR. PLACITELLA:     What's the tab
       19    number?      Hold on.
       20    BY MR. PLACITELLA:
       21            Q.      If you go to your tab No. 58,
       22    this is a letter that attaches the
       23    affidavit.
       24                    Do you recall that?      We just
       25    went through that?
                            MAGNA LEGAL SERVICES
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                                                                       Page 377
        1             A.    We just talked about this, yes.
        2             Q.    All right.
        3                   MR. BERNARDO:     Same objections
        4    as previously noted.
        5    BY MR. PLACITELLA:
        6             Q.    And you see that Mr. Dembrow
        7    and Mr. Sloan, the people on your privilege
        8    log, are on this letter?
        9             A.    I saw the name Sloan before.         I
       10    don't know about who the other people are.
       11           Q.      Dembrow?    Do you remember I
       12    showed you he --
       13           A.      Yeah.
       14           Q.      He corresponded with Mr. Ashton
       15    the day it was signed?
       16           A.      I see those names, yes.
       17           Q.      And he was one of the people
       18    who was corresponding with Mr. Ashton along
       19    with Mr. O'Shaughnessy and your medical
       20    director.
       21                   Do you recall that?
       22           A.      I saw those names on that log,
       23    but again, I don't know what any of that
       24    means.
       25           Q.      Okay.
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                                                                       Page 378
        1                   MR. PLACITELLA:      So give me my
        2    notes back.
        3    BY MR. PLACITELLA:
        4            Q.     Okay.   New subject.
        5                   Last time we spoke about -- or
        6    you mentioned the Selby case.
        7                   Do you recall that?
        8                   Well, before that.       Do you
        9    recall last time we went through various
       10    discovery responses that spanned from,
       11    like, 1971 to 1992?
       12                   Do you recall that?
       13            A.     I recall I was talking about
       14    different complaints, yes.
       15                   MR. BERNARDO:     Can we go off
       16    the record for a moment?
       17                   MR. PLACITELLA:      Yeah.
       18                   THE VIDEOGRAPHER:      The time
       19    is --
       20                   MR. BERNARDO:     I just want to
       21    make sure you understand your outline is
       22    being --
       23                   MR. PLACITELLA:      That's okay.
       24    Thank you.     Nothing to be hidden here.
       25                   MR. BERNARDO:     I just wanted
                            MAGNA LEGAL SERVICES
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                                                                       Page 379
        1    you to know.
        2                   MR. PLACITELLA:      Okay.    But
        3    thank you.
        4                   MR. BERNARDO:     And me.
        5                   MR. PLACITELLA:      That's fine.
        6    Thank you, though.
        7    BY MR. PLACITELLA:
        8           Q.      And we ended up in 1992.
        9                   Do you recall that?
       10           A.      I don't remember the specific
       11    dates, no.
       12           Q.      All right.     The Faye Miller
       13    case was 1992.      Do you remember we went
       14    through them, the Faye Miller case?
       15           A.      I remember we now discussed
       16    that, yes.
       17           Q.      Okay.   And then the next case I
       18    wanted to talk to you about was from 1993
       19    and that was the Selby case.
       20                   Do you recall that?
       21           A.      Yes.
       22           Q.      And that's one of the responses
       23    that you reviewed, correct?
       24           A.      Yes.
       25           Q.      Okay.   And --
                            MAGNA LEGAL SERVICES
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                                                                       Page 380
        1                   MR. PLACITELLA:      Can you give
        2    the witness 337?       I'm going to the Elmo.
        3                   THE WITNESS:     Thank you.
        4    BY MR. PLACITELLA:
        5           Q.      337 -- 337 are Johnson &
        6    Johnson's answers to interrogatories in the
        7    Selby case.
        8                   Do you see that?
        9           A.      Yes.
       10           Q.      You've seen these before,
       11    correct?
       12           A.      Yes.
       13           Q.      Okay.   And if you go to the
       14    final page, which is interrogatory answer
       15    No. 36.     It says:
       16                   "Do you have any knowledge of
       17    any tests and/or studies conducted
       18    concerning the health effects of asbestos
       19    on humans."
       20                   And your response is:
       21                   "There has been no asbestos in
       22    the product during the time plaintiff
       23    claims to have used it.        Accordingly, the
       24    information sought by this interrogatory is
       25    neither relevant to the subject matter of
                            MAGNA LEGAL SERVICES
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                                                                       Page 381
        1    this action as to JJCPI nor is it
        2    reasonably calculated to lead to
        3    discoverable evidence."
        4                   Do you see that?
        5           A.      I see that it says that, yes.
        6           Q.      Okay.   And it says:
        7                   If plaintiff has evidence that
        8    the product has contained asbestos at any
        9    time that you, Johnson & Johnson, will
       10    reconsider whether you're going to turn
       11    over the information, right?
       12                   MR. BERNARDO:     Object to the
       13    form of the question.
       14                   THE WITNESS:     That's not what
       15    it says.
       16    BY MR. PLACITELLA:
       17           Q.      It says, "Will reconsider this
       18    response."
       19           A.      Yes.
       20           Q.      That's what it says, right?
       21           A.      Yes.
       22           Q.      And who was Thomas Pulliam?
       23           A.      I do not know.
       24           Q.      Okay.
       25                   MR. PLACITELLA:      Can you give
                            MAGNA LEGAL SERVICES
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                                                                       Page 382
        1    Ms. Musco J&J-326?       Give a copy to Counsel.
        2                   MR. BERNARDO:     Thank you.
        3    BY MR. PLACITELLA:
        4           Q.      J&J-326 is a June 27th, 1995
        5    memo entitled, "CTFA Response to Cancer
        6    Prevention Coalition Citizen's Petition."
        7                   Did you see that?
        8           A.      Yes.
        9           Q.      And on here you're copied?
       10           A.      Yes.
       11           Q.      Right?    Mr. O'Shaughnessy
       12    copied?
       13           A.      Yes.
       14           Q.      Right?    Mr. -- Dr. Hopkins is
       15    copied, correct?
       16           A.      Yes.
       17           Q.      Do you recall this?
       18           A.      A long time ago.
       19           Q.      Okay.    Down at the bottom, also
       20    is copied Mr. Ashton, Mr. Chudkowski and A.
       21    Winner.
       22                   Do you see that?
       23           A.      Yes.
       24           Q.      Okay.    And who is A. Winner, do
       25    you know?
                            MAGNA LEGAL SERVICES
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                                                                       Page 383
        1           A.      I don't remember exactly.        I
        2    remember the name, but I don't remember --
        3           Q.      Okay.   These are pretty much
        4    the same people who were working on the
        5    litigation for talc around the same time,
        6    right?
        7           A.      These are people who were
        8    involved, yes.
        9           Q.      Okay.   And in this particular
       10    response, which went to the FDA, correct?
       11           A.      Yes.
       12           Q.      Okay.   In this particular
       13    response you asserted that, again to the
       14    FDA, that there's no evidence of asbestos
       15    in your talc, correct?
       16                   MR. BERNARDO:     Object to the
       17    form of the question.       The question is on
       18    an FDA submissions by the witness who was
       19    not put up for that topic.
       20                   She can answer in her
       21    individual capacity if she can.
       22                   THE WITNESS:     That's what it
       23    says, yes.
       24    BY MR. PLACITELLA:
       25           Q.      Okay.   Now, these were all the
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                                                                       Page 384
        1    same people that were involved, other than
        2    yourself, in actually defending the Coker
        3    case, correct?
        4            A.     I don't remember who was
        5    involved specifically in the Coker case.
        6            Q.     Okay.     Now, am I correct
        7    that -- do you know anything about the
        8    Coker case?
        9            A.     I know that there was a
       10    complaint.     I don't remember which one it
       11    was.
       12            Q.     Okay.   Last time when we were
       13    together --
       14                   MR. PLACITELLA:      Give me a
       15    second.
       16    BY MR. PLACITELLA:
       17            Q.     I asked you about the Coker
       18    case.    I said:
       19                   "What about the Coker case?"
       20                   You said it's one of the ones
       21    listed on your notice.
       22                   I said:
       23                   "And what do you know about the
       24    Coker case:
       25                   And your response was:
                            MAGNA LEGAL SERVICES
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                                                                       Page 385
        1                   "The Coker case was (sic)
        2    alleged injury was peritoneal mesothelioma
        3    and it was filed in 1997."
        4                   Do you recall that?
        5             A.    I see that, yes.
        6             Q.    Does that refresh your memory?
        7             A.    Uh-huh.
        8             Q.    And it says:
        9                   "What else do you know about
       10    it?"
       11                   And you said:
       12                   "That is all I know about it.
       13                   "What do you know about the
       14    discovery responses provided in the Coker
       15    case?"
       16                   And your response was:
       17                   "I do not know if there were
       18    discovery responses."
       19                   Do you recall that?
       20            A.     Yes.
       21            Q.     Okay.   Now, can you look at
       22    your P-9, please?      And if you flip about
       23    halfway through P-9, there is an exhibit
       24    entitled J&J-318.      See if you can find
       25    that.    I put it up here to help you.
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                                                                       Page 386
        1             A.    Can you give me an idea of
        2    where it is?
        3                   MR. PLACITELLA:      Do you want to
        4    find it for her, Jared?
        5    BY MR. PLACITELLA:
        6             Q.    So in your binder, P-9, is, in
        7    fact, a copy of court and discovery
        8    materials from the Coker file, correct?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     It looks like a
       12    lot of court material.
       13    BY MR. PLACITELLA:
       14           Q.      Right.    So you did have
       15    material in the Coker case?
       16           A.      I'm not seeing any discovery.
       17                   MR. BERNARDO:     Object to the
       18    form of the question.
       19    BY MR. PLACITELLA:
       20           Q.      Okay.    Well, we're going to get
       21    there.
       22                   You see there is something in
       23    the file called Deposition Upon Written
       24    Questions in the Coker case?         And I put it
       25    up here on the screen.
                            MAGNA LEGAL SERVICES
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                                                                       Page 387
        1                   MR. BERNARDO:     Object to the
        2    form of the question.       That's not the
        3    document that's on the screen.
        4                   MR. PLACITELLA:      I'm putting it
        5    up.   Let me see if I can help her out.
        6    Wait, hold on.
        7                   Why don't we do it this way and
        8    we'll come back to try to save some time.
        9    BY MR. PLACITELLA:
       10           Q.      You see that the material here,
       11    there's a lot of material here related to
       12    the Coker case, correct?
       13           A.      Yeah, I'm seeing a lot of
       14    medical records or requests for them.
       15           Q.      Right.    And I'm going to come
       16    back to that in a minute, but can you go to
       17    your book 8B and go to tab 76, please?
       18                   In your book at tab 76 is a
       19    letter from Alice Blount, April 23rd, 1998,
       20    to your lawyers.
       21                   Do you see that?
       22                   MR. BERNARDO:     Object to the
       23    form of the question, beyond the scope.
       24                   The witness can answer in her
       25    individual capacity with respect to this
                            MAGNA LEGAL SERVICES
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                                                                       Page 388
        1    document.
        2                   THE WITNESS:     I see that it's a
        3    letter signed by an Alice Blount.
        4    BY MR. PLACITELLA:
        5             Q.    You've seen this letter before,
        6    right?
        7             A.    Yes.
        8             Q.    Okay.
        9             A.    At the last deposition.
       10           Q.      Right.    And in this letter
       11    that -- Alice Blount told you that she had
       12    analyzed Johnson & Johnson's Vermont talc,
       13    right?    That's what she told you, right?
       14           A.      That's what it seems to say,
       15    yes.
       16           Q.      And it says:
       17                   "As I told you, I believe that
       18    Johnson & Johnson's Vermont talc contains
       19    trace amounts of asbestos which are well
       20    below those specified by OSHA."
       21                   Do you see that?
       22           A.      I see that sentence, yes.
       23           Q.      Okay.    And so that was part of
       24    the Coker file that was available to you as
       25    part of your review in this case, correct?
                            MAGNA LEGAL SERVICES
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                                                                       Page 389
        1                   MR. BERNARDO:     Object to the
        2    form of the question.
        3                   THE WITNESS:     This letter was
        4    part of the files that I sent to
        5    Dr. Hopkins after our first deposition.
        6    BY MR. PLACITELLA:
        7           Q.      Yes, ma'am.     And so this letter
        8    was one of the letters that was available
        9    to you in preparing for today's deposition,
       10    correct?
       11           A.      It was in the binder, yes.
       12           Q.      Right.    And this is about
       13    what -- in essence what your expert was
       14    telling you in the Coker case about what
       15    she found in the baby powder, right?
       16                   MR. BERNARDO:     Object to the
       17    form of the question.
       18                   THE WITNESS:     I see that it's a
       19    letter from her.      I don't know anything
       20    else other than that.
       21    BY MR. PLACITELLA:
       22           Q.      Well, you're here -- this is
       23    not about Nancy Musco, whether she knows.
       24    This came from Johnson & Johnson's files.
       25    Johnson & Johnson was certainly aware that
                            MAGNA LEGAL SERVICES
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                                                                       Page 390
        1    Dr. Alice Blount right here from Rutgers
        2    University told them in the context of the
        3    Coker case she found asbestos in Johnson's
        4    Baby Powder.     Johnson & Johnson was
        5    certainly aware of that, correct?
        6                   MR. BERNARDO:     Object to the
        7    form of the question, beyond the scope of
        8    the notice.
        9                   THE WITNESS:     I see that what
       10    she has said in the letter here.
       11    BY MR. PLACITELLA:
       12            Q.     Okay.   And --
       13                   MR. PLACITELLA:      Where is my
       14    book.    Can you give me 216?
       15                   MR. BERNARDO:     I'll also put an
       16    objection on the record with respect to the
       17    use of this document beyond the scope of
       18    the notice.
       19    BY MR. PLACITELLA:
       20            Q.     In preparing your -- being
       21    prepared for today's deposition to testify
       22    about information that was available to
       23    Johnson & Johnson when responding to
       24    discovery, did you review this file from
       25    the Johnson -- from Johnson & Johnson's
                            MAGNA LEGAL SERVICES
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                                                                       Page 391
        1    records dated (sic) J&J-216?
        2                   Did you review this?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5                   THE WITNESS:     I have not seen
        6    this, no.
        7    BY MR. PLACITELLA:
        8           Q.      Okay.   So in preparing you for
        9    today's deposition concerning what
       10    information was available to Johnson &
       11    Johnson when preparing responses to
       12    discovery, this document was not provided
       13    to you, correct?
       14                   MR. BERNARDO:     Object to the
       15    form of the question.
       16                   THE WITNESS:     I had not seen
       17    this before, but my understanding was that
       18    I was here to talk about the answers to the
       19    interrogatories.
       20    BY MR. PLACITELLA:
       21           Q.      We're going to get to it.
       22                   Ma'am, this was not provided to
       23    you, correct?
       24           A.      No.   As I said, I had -- this
       25    is the first I've seen it.
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                                                                       Page 392
        1           Q.      Okay.   And if we go to the
        2    second page, you see the paragraph that
        3    talks about reports of patients with
        4    mesothelioma.
        5                   Do you see that?
        6           A.      I see that it says that, yes.
        7           Q.      And then it talks about,
        8    "Mesothelioma can be caused by non-
        9    occupational exposure to mineral fibers is
       10    not in doubt."
       11                   Do you see that?
       12           A.      I see the sentences you're
       13    highlighting, yes.
       14           Q.      And it says:
       15                   "In addition, communities built
       16    around natural sources of tremolite have
       17    experienced incidents of the disease
       18    through non-occupational exposure."
       19                   Do you see that?
       20           A.      I see that sentence, yes.
       21           Q.      You go on to state:
       22                   "Mesothelioma may occur after
       23    brief or indirect exposure to asbestos."
       24                   Do you see that yes?
       25           A.      Yes, I see these sentences,
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                                                                       Page 393
        1    yes.   I don't know who wrote this.
        2           Q.      Well, do you have any doubt
        3    that it came from your files and it was
        4    written on behalf or for Johnson & Johnson?
        5           A.      I don't know that it was.
        6           Q.      Okay.   Then we go to the next
        7    section on talc.
        8                   By the way, there's no question
        9    it's labeled Coker versus Johnson &
       10    Johnson, right?
       11           A.      It says that, yes.
       12           Q.      Okay.   So let's go onto the
       13    section about talc, and it says:
       14                   "However, in several
       15    mesothelioma patients studied, both talc
       16    fibers and tremolite were detected.           In
       17    fact, the majority of asbestos bodies
       18    isolated from the lungs of women in the
       19    general population have tremolite or
       20    anthophyllite, and because tremolite and
       21    anthophyllite are known contaminants of
       22    talc, this data suggests that rare cases of
       23    mesothelioma among women with no other
       24    identifiable exposure might be related to
       25    exposure to cosmetic talc."
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                                                                       Page 394
        1                   Did you see that?
        2            A.     I see it says that, yes.
        3            Q.     And then underneath that it
        4    says:
        5                   "Environmental factors must be
        6    given a mayor consideration in the
        7    incidents of mesothelioma."
        8                   Do you see that?
        9            A.     I see these sentences, yes.
       10            Q.     And it talks about one of the
       11    environmental factors being talc miners.
       12    It says:
       13                   "Tremolite asbestos is a known
       14    contaminant of some deposits of talc."
       15                   Do you see that?
       16            A.     I see it says that, yes.
       17            Q.     And my question to you is:
       18    When you were relying upon the experts in
       19    verifying answers to interrogatories, was
       20    any of this information in this internal
       21    Johnson & Johnson memo ever made known to
       22    you?
       23            A.     I was not the one supplying the
       24    answers.     The appropriate person for that
       25    particular issue would be supplying it, and
                            MAGNA LEGAL SERVICES
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                                                                       Page 395
        1    I do know that our scientists were very
        2    much aware of any data or specifically any
        3    proof and evidence of the issues.
        4           Q.      Okay.    So -- but my question to
        5    you was:    When you were verifying the
        6    interrogatories as true and accurate, was
        7    this information shared with you, Nancy
        8    Musco?
        9           A.      No, it was not my job to be
       10    reviewing these.       And frankly, I -- I'm not
       11    an expert at this and I really wouldn't
       12    know how to comment on this.
       13           Q.      Okay.    Now --
       14                   MR. PLACITELLA:      Can you give
       15    me 217?
       16    BY MR. PLACITELLA:
       17           Q.      217 is a memo from William
       18    Ashton.
       19                   Do you see that?
       20           A.      Yes, it says that, yes.
       21           Q.      Is this the same William Ashton
       22    who executed the affidavit we went through
       23    earlier, correct?
       24           A.      I would assume so, yes.
       25           Q.      And he talks about a recent
                            MAGNA LEGAL SERVICES
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                                                                       Page 396
        1    publication that became important in the
        2    Abraham Coker case alleging dusting powder
        3    contains fibrous talc particles.
        4                   Do you see that?
        5           A.      Yes.
        6           Q.      And he copies Dr. Hopkins.
        7                   Do you see that?
        8           A.      Yes.
        9           Q.      Did you know that Dr. Hopkins
       10    was involved in defending the Coker case?
       11           A.      I don't know specifically what
       12    cases Dr. Hopkins has been called for.
       13           Q.      Okay.    These were some of the
       14    same people who in the very same year were
       15    part of the citizens petition that we went
       16    through a little bit earlier, the response
       17    to the citizens petition, correct?
       18           A.      These people worked with
       19    Johnson's Baby Powder and talc, yes.
       20           Q.      Okay.    And who was Lusenac, do
       21    you know?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24                   THE WITNESS:     Lusenac I believe
       25    was a supplier.       I don't know exactly.
                            MAGNA LEGAL SERVICES
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                                                                       Page 397
        1                   MR. PLACITELLA:      Okay.    Can you
        2    give me 219?
        3    BY MR. PLACITELLA:
        4             Q.    219 is a memo, Ray (sic) Coker
        5    versus Johnson & Johnson.
        6                   Do you see that?
        7             A.    That's what it says, yes.
        8             Q.    And it's from Lusenac to John
        9    O'Shaughnessy at Johnson & Johnson who was
       10    in charge of the talc litigation at this
       11    point in time, correct?
       12           A.      Yes.
       13           Q.      And was Lusenac says is:
       14                   "I'm just coming back from
       15    Italy where I met two scientists are (sic)
       16    preparing documents to help solve your
       17    case."
       18                   Do you see that?
       19           A.      I see that sentence, yes.
       20           Q.      Okay.
       21                   MR. PLACITELLA:      Sorry.    Put it
       22    up here.
       23    BY MR. PLACITELLA:
       24           Q.      Do you see that?
       25                   What information did Lusenac
                            MAGNA LEGAL SERVICES
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                                                                       Page 398
        1    give you, Johnson & Johnson, to help you
        2    fight the Coker case, if you know?
        3            A.     I do not know.
        4            Q.     It talks in here something
        5    about the Rabino -- something about Rabino.
        6                   Do you know anything about
        7    that?
        8            A.     No.
        9            Q.     Okay.   Now, in our last
       10    deposition, I asked you specifically
       11    whether you, Johnson & Johnson, ever
       12    refused to turn over asbestos testing data
       13    based upon an assertion of privilege.
       14                   Do you recall that?
       15            A.     I recall some conversations
       16    about that, yes.
       17            Q.     Okay.   Let's go to it so we're
       18    on the same page.      On page 95 -- blow it
       19    up.   I asked you:
       20                   "Now, in your preparation and
       21    knowledge of Johnson & Johnson, do you have
       22    a record of any information of a single
       23    case where Johnson & Johnson turned over
       24    asbestos testing data prior to 2017?"
       25                   Mr. Bernardo objects.       You
                            MAGNA LEGAL SERVICES
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                                                                       Page 399
        1    asked for me to repeat it, I do.          And then
        2    I go on and I say:
        3                   "When does your research or
        4    when does Johnson & Johnson maintain is the
        5    first time that it turned over testing data
        6    concerning asbestos in Johnson & Johnson
        7    talc in litigation?       When is the first time
        8    that happened?"
        9                   And you say:
       10                   "I -- again, it will be
       11    whenever it was requested."
       12                   And I asked you again:
       13                   "But from your knowledge, so
       14    you believe the first time it was requested
       15    it was turned over?"
       16                   And you -- after an objection,
       17    you say:
       18                   "If there were specific
       19    documents requested, they would have been
       20    if I were talking generally, so I don't
       21    know the answer to this."
       22                   And then I asked you:
       23                   "Well, you know, for example
       24    when lawyers in cases involving cancer and
       25    baby powder asked for testing data, Johnson
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                                                                       Page 400
        1    & Johnson took the position that they
        2    weren't going to turn it over because it
        3    was privileged."
        4                   And there's an objection.        And
        5    you said:
        6                   "I don't know this, no."
        7                   And I said:
        8                   "Well, that would be wrong,
        9    wouldn't you say?"
       10                   And you said:
       11                   "I can't comment on that."
       12                   Now, in your review of the
       13    materials in relation to the Coker case,
       14    you're aware, are you not, that you
       15    defended the Coker case exactly the same
       16    way that you defended every other case,
       17    which is, it was your position that there
       18    was no evidence of any asbestos in any
       19    Johnson & Johnson Baby Powder or Shower to
       20    Shower, correct?
       21                   MR. BERNARDO:     Object to the
       22    form of the question.
       23                   THE WITNESS:     I don't know.
       24    You know, I can't comment on the legal
       25    basis for it, but I do know that there is
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                                                                       Page 401
        1    no asbestos in the cosmetic talc for
        2    Johnson's Baby Powder.
        3    BY MR. PLACITELLA:
        4           Q.      Right.    So in the context of
        5    the Coker case, you didn't change your
        6    position from prior cases, your position
        7    still was there was no evidence, correct?
        8           A.      Correct.
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11    BY MR. PLACITELLA:
       12           Q.      Okay.    And that's what was
       13    related (sic) to the plaintiffs' lawyers,
       14    correct?
       15           A.      Yes.
       16           Q.      Okay.    Now, if I go back to
       17    319.   I want to make sure I get this right.
       18                   MR. PLACITELLA:      I'm sorry,
       19    give her 319.      That's part of the --
       20                   MR. BERNARDO:     I'm sorry?     Can
       21    I just see what it is?
       22                   MR. PLACITELLA:      Sure.    It was
       23    in the binder.
       24                   MR. BERNARDO:     That's what I
       25    was going to ask.
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                                                                       Page 402
        1                   MR. PLACITELLA:      It's in the
        2    binder.
        3    BY MR. PLACITELLA:
        4           Q.      I'm -- I am referring
        5    specifically in -- to the document in the
        6    Coker case that says, "Defendants'
        7    Objections to Plaintiff's Deposition on
        8    Written Questions to the Commission of Nell
        9    McCallum & Associates."
       10                   Do you see that?
       11           A.      I see that it says that, yes.
       12           Q.      And it says:
       13                   "Comes now Johnson & Johnson
       14    Companies, a defendant in the above
       15    lawsuit, and files this objection to
       16    depositions on written questions to the
       17    Colorado School of Mines Research Institute
       18    and to the Commission of Nell McCallum &
       19    Associates."
       20                   You've seen testing results in
       21    the binders that you sent to Dr. Hopkins
       22    related to Colorado School of Mines,
       23    correct?
       24           A.      I believe there were some, yes.
       25           Q.      Right.    And on the next page,
                            MAGNA LEGAL SERVICES
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                                                                       Page 403
        1    we're looking at --
        2                   MR. BERNARDO:     While you are
        3    looking at -- I'm going to object to the
        4    form of the question.
        5                   But I'm also going to object --
        6    I'm sorry.     I'm not going to object to the
        7    form of the question, I'm going to object
        8    to the use of this document as beyond the
        9    scope of the notice.
       10                   MR. PLACITELLA:      Okay.
       11    BY MR. PLACITELLA:
       12           Q.      On the next page, it -- let's
       13    start with question 3 that you were
       14    objecting to.
       15                   I'm sorry.     Let's look at 4.
       16    I'm sorry.     It says:
       17                   "Please state if you found the
       18    presence of asbestos or asbestiform
       19    materials" -- "minerals."
       20                   Do you see that?
       21           A.      I see it says that, yes.
       22           Q.      And you -- and Johnson &
       23    Johnson's response is, after saying it's
       24    vague and ambiguous and assumes facts not
       25    in evidence:
                            MAGNA LEGAL SERVICES
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                                                                       Page 404
        1                   "Furthermore, the question
        2    requires witness to speculate and provide
        3    an expert opinion that witness is not
        4    qualified to express.       Finally, the
        5    information requested from the witness is
        6    subject to proprietary and trade secret
        7    privileges of the defendant."
        8                   Do you see that?
        9           A.      Yes, I see that.
       10           Q.      And then when it asks you to
       11    produce documents, you further state that
       12    the request violates the Texas Rules of
       13    Civil Procedure, and you complain about the
       14    subpoena, and then you say:
       15                   "Finally, the information
       16    requested from the witness is subject to
       17    propriety" -- "proprietary and trade secret
       18    privileges of the defendant."
       19                   Do you see that?
       20           A.      I see it says that, yes.
       21           Q.      Okay.   And in the same group of
       22    documents, you filed similar objections as
       23    it relates to getting discovery from
       24    McCrone and Associates.
       25                   Do you see that?
                            MAGNA LEGAL SERVICES
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                                                                       Page 405
        1                   MR. BERNARDO:     Object to the
        2    form of the question.       Same objection with
        3    respect to the scope of the notice.
        4                   THE WITNESS:     I see it says
        5    that.
        6    BY MR. PLACITELLA:
        7            Q.     Right.    And this is in the
        8    Coker case, and you know from your review
        9    of the binders you gave to Dr. Hopkins,
       10    that there is testing information in those
       11    binders related to work that was done by
       12    McCrone and Associates, correct?
       13            A.     Yes, I believe so.
       14            Q.     Okay.    And Johnson & Johnson's
       15    position in the Coker case as related to
       16    getting information from McCrone and
       17    Associates was that that information was
       18    proprietary and a trade secret according to
       19    your responses, correct?
       20            A.     That's what the sentence says,
       21    yes.
       22            Q.     Now, as you sit here, do you
       23    have any evidence that any information
       24    related to McCrone or Colorado School of
       25    Mines was ever turned over to the plaintiff
                            MAGNA LEGAL SERVICES
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                                                                       Page 406
        1    in the Coker case?
        2            A.     I don't know what was turned
        3    over.
        4            Q.     As you sit here, do you have
        5    any evidence to prove that you turned over
        6    any evidence to the plaintiff in the Coker
        7    case related to the testing of asbestos?
        8                   MR. BERNARDO:     Object to the
        9    form of the question.
       10                   THE WITNESS:     I don't know what
       11    was turned over.      If it was appropriate to
       12    be turned over, I would assume it would be.
       13    BY MR. PLACITELLA:
       14            Q.     But you don't know?
       15            A.     No, I do not.
       16            Q.     So Johnson & Johnson, as it
       17    sits here, does not know what evidence it
       18    turned over in the Coker case?
       19                   MR. BERNARDO:     Object to the
       20    form of the question, beyond the scope of
       21    the notice.
       22                   The witness can answer in her
       23    individual capacity.
       24                   THE WITNESS:     I don't know.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 407
        1           Q.      Okay.   And do you have any
        2    evidence, as you sit here, today that the
        3    information that Alice Blount gave you
        4    during the Coker case was ever turned over
        5    to the plaintiff in that case?
        6                   MR. BERNARDO:     Same objections.
        7                   THE WITNESS:     Again, I do not
        8    know what was turned over.
        9    BY MR. PLACITELLA:
       10           Q.      Does that mean that Johnson &
       11    Johnson does not know or you don't know?
       12           A.      Since it's not within the scope
       13    of the notice, I can't comment on it and I
       14    don't know.
       15           Q.      Ma'am, with all due respect, I
       16    move to strike your answer, "It's not
       17    within the scope of the notice."          That's
       18    what the judge will decide.
       19                   My question to you was:        Do you
       20    have any evidence, as you sit here today,
       21    that Johnson & Johnson turned over any
       22    evidence concerning asbestos testing to the
       23    plaintiff in the Coker case?
       24           A.      I do not know what was turned
       25    over and what was not.
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                                                                       Page 408
        1            Q.     Okay.    And when you say you do
        2    not know, does that mean you do not know,
        3    Nancy Musco, or Johnson & Johnson does not
        4    know?
        5                   MR. BERNARDO:     Object to the
        6    form of the question.
        7                   THE WITNESS:     Since I'm right
        8    now answering for myself, I do not know.
        9    BY MR. PLACITELLA:
       10            Q.     No, ma'am, with all due
       11    respect, you're here answering for Johnson
       12    & Johnson, but somebody else will make that
       13    determination, and I strike -- I move to
       14    strike your response.
       15                   Now, let's talk about a case,
       16    we spent a couple minutes on it, so I'm not
       17    going to spend a lot of time on it here.
       18    The next case after 1998 -- by the way, do
       19    you know what happened to the Coker case?
       20            A.     No, I do not.
       21            Q.     Okay.
       22                   MR. PLACITELLA:      Can you give
       23    me 482?
       24    BY MR. PLACITELLA:
       25            Q.     482.    Marked J&J-482 is an
                            MAGNA LEGAL SERVICES
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                                                                       Page 409
        1    article that recently appeared in the
        2    Reuters -- by Reuters entitled, "Johnson &
        3    Johnson knew for decades that asbestos
        4    lurked in its baby powder."
        5                   Have you ever seen this before?
        6           A.      Yes, I have.
        7           Q.      Okay.   And when?
        8           A.      Soon after it came out.
        9           Q.      Did you ever read it in
       10    preparation for today's deposition?
       11           A.      No.
       12           Q.      Okay.   I just want to ask you
       13    one question just in terms of information
       14    on the Coker case.       I don't want to ask you
       15    about the article itself.
       16                   MR. BERNARDO:     Object to the
       17    question --
       18    BY MR. PLACITELLA:
       19           Q.      In the section --
       20                   MR. BERNARDO:     -- as beyond the
       21    scope of the notice.
       22    BY MR. PLACITELLA:
       23           Q.      Herschel Hobson, who was the
       24    lawyer in the Coker case, is quoted in this
       25    article and he said that he asked Johnson &
                            MAGNA LEGAL SERVICES
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                                                                       Page 410
        1    Johnson for any research it had into the
        2    health of mine workers, top production
        3    records from the mid-'40s through the '80s,
        4    depositions from managers of three labs
        5    that tested talc for J&J, and any documents
        6    related to testing for fibrous or
        7    asbestiform materials.
        8                   Do you have any information, as
        9    you sit here today, to say that that is
       10    incorrect?
       11                   MR. BERNARDO:     Object to the
       12    form of the question.       Object, beyond the
       13    scope of the notice.
       14                   THE WITNESS:     As I already told
       15    you, I do not know what was or wasn't
       16    handed over.
       17    BY MR. PLACITELLA:
       18           Q.      Okay.   And -- sorry, my last
       19    question on this and I'll move on.
       20                   According to the article
       21    Mr. Hobson said that:
       22                   "Without the evidence from
       23    Johnson & Johnson and no hope of getting
       24    any, he advised Coker to drop the suit."
       25                   Do you see that?
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                                                                       Page 411
        1                   MR. BERNARDO:     Same objection.
        2                   THE WITNESS:     That's what it
        3    says here.
        4    BY MR. PLACITELLA:
        5            Q.     Do you have any information, as
        6    you sit here today, on behalf of Johnson &
        7    Johnson to rebut that statement by Mr.
        8    Hobson that he dismissed the case because
        9    he just didn't have the proof and Johnson &
       10    Johnson didn't turn anything over?
       11            A.     Sounds like it would be kind of
       12    a legal conclusion and I can't comment on
       13    that.
       14            Q.     I'm just saying, do you have
       15    any evidence, as you sit here today, to
       16    disprove what Mr. Hobson is saying here is
       17    that he dropped the case because you didn't
       18    turn any evidence over?
       19                   MR. BERNARDO:     Beyond the scope
       20    of the notice.
       21                   The witness can answer in her
       22    individual capacity.
       23                   THE WITNESS:     As I said, I
       24    can't comment.      I don't know his reasonings
       25    or what he did or didn't do.
                            MAGNA LEGAL SERVICES
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                                                                       Page 412
        1    BY MR. PLACITELLA:
        2            Q.     Okay.    And now I want to just
        3    talk to you hopefully about something
        4    because we went through this, I just want
        5    to put it in context.
        6                   You actually certified the
        7    answers to interrogatories in the
        8    Krushinski case, correct?
        9            A.     That's correct.
       10            Q.     Okay.    And came -- that case
       11    was filed right after the Coker case was
       12    dismissed, correct?
       13            A.     I don't remember the dates.
       14            Q.     Okay.    Do you remember it was
       15    filed sometime in the late 1990s?
       16            A.     Again, I would not say for
       17    sure.    Whatever --
       18            Q.     Do you remember that you
       19    certified answers to interrogatories in the
       20    year 2000 in those cases?
       21            A.     I know I certified them.        I
       22    guess that's the date, yes.
       23            Q.     Right.    And --
       24                   MR. PLACITELLA:      Do you have
       25    277?
                            MAGNA LEGAL SERVICES
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                                                                       Page 413
        1    BY MR. PLACITELLA:
        2           Q.      Okay.   277, and I think you
        3    have these in your binders, are the answers
        4    to interrogatories that you certified.
        5                   Do you recognize those?
        6           A.      Yes.
        7           Q.      Okay.   And specifically -- and
        8    let me just go to the end.
        9                   This is your signature?
       10           A.      Yes, it is.
       11           Q.      Correct?    Make sure I got it.
       12                   And you say:
       13                   "The foregoing answers are true
       14    and accurate to the best of my knowledge.
       15    I am aware that if any of the foregoing
       16    statements made by me are willfully false,
       17    I may be subject to punishment."
       18                   Correct?
       19                   MR. BERNARDO:     Object to the
       20    form of the question.
       21                   THE WITNESS:     Yes, that's what
       22    it says.
       23    BY MR. PLACITELLA:
       24           Q.      And I'm not going to go over
       25    all of the things, we asked you about them
                            MAGNA LEGAL SERVICES
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                                                                       Page 414
        1    the last time, just in context, and answer
        2    to Interrogatory 17, says:
        3                   "Describe in detail all
        4    processes, procedures and testing performed
        5    upon talc used" -- "the talc used in the
        6    manufacture of Johnson's Baby Powder to
        7    reduce or eliminate the existence of
        8    asbestos, tremolite or other contaminants
        9    in Johnson's Baby Powder."
       10                   Correct?
       11           A.      Yes.
       12           Q.      And what you state specifically
       13    in the beginning of that answer is:
       14                   "To the best of defendant's
       15    knowledge, talc used in the manufacture of
       16    Johnson & Johnson's Baby Powder never
       17    contained asbestos in any form or
       18    tremolite."
       19                   Correct?
       20                   MR. BERNARDO:     Object to the
       21    form of the question.
       22                   THE WITNESS:     That's what it
       23    says, yes.
       24    BY MR. PLACITELLA:
       25           Q.      Okay.   Now, I forgot to ask you
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                                                                       Page 415
        1    last time and then I'm going to move off of
        2    these.
        3                   Did you ever -- before signing
        4    these interrogatories, did you ever
        5    actually read the questions and answers
        6    before signing them?
        7             A.    Yes, I did.
        8             Q.    Okay.   Now --
        9                   MR. PLACITELLA:      Can you give
       10    me 230?
       11                   I'll just do this one and maybe
       12    we'll break, Rich?
       13                   MR. BERNARDO:     Sure.
       14                   MR. PLACITELLA:      So you can do
       15    lunch.
       16    BY MR. PLACITELLA:
       17           Q.      230 is an affidavit filed by
       18    John Hopkins in the Durham case.
       19                   Do you see this?
       20           A.      Yes.
       21           Q.      In preparation and in
       22    discussing -- let's just go to the -- and
       23    you see on the last page, the affidavit is
       24    signed by John Hopkins.
       25                   Do you see that?
                            MAGNA LEGAL SERVICES
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                                                                       Page 416
        1           A.      Yes.
        2           Q.      And he concludes saying:
        3                   "It may be concluded that there
        4    has never been asbestos contamination of
        5    the talc used by Johnson & Johnson in the
        6    United States from the period in question,
        7    1955 to 2002."
        8                   Correct?
        9           A.      Yes.
       10           Q.      And that's essentially what
       11    Roger Miller signed in his affidavits,
       12    correct?
       13                   MR. BERNARDO:     Object to the
       14    form of the question, beyond the scope.
       15                   The witness may answer in her
       16    individual capacity with respect to the
       17    affidavit.
       18                   THE WITNESS:     Yes, this is the
       19    position that there is no asbestos.
       20    BY MR. PLACITELLA:
       21           Q.      And it's consistent with the
       22    affidavit signed by Mr. Ashton as well,
       23    correct?
       24           A.      This is the general statement,
       25    yes.
                            MAGNA LEGAL SERVICES
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                                                                       Page 417
        1           Q.      And in preparing for today's
        2    deposition, did Dr. Hopkins ever tell you
        3    that he, himself, certified under oath that
        4    there was no evidence of any asbestos at
        5    any time in Johnson -- in Johnson &
        6    Johnson's cosmetic talc?
        7           A.      Yes, we did discuss that.
        8           Q.      Okay.
        9           A.      And I know that is what is his
       10    understanding.
       11           Q.      All right.     So he told you
       12    about this affidavit?
       13           A.      Not specifically about the
       14    affidavit, no, but I know that that is his
       15    understanding, but we did not discuss the
       16    specific affidavit.
       17           Q.      Did he tell you that based upon
       18    this affidavit, the Durham case was
       19    dismissed?
       20                   MR. BERNARDO:     Object to the
       21    form of the question, beyond the scope of
       22    the notice.
       23                   You can answer in your
       24    individual capacity if you know.
       25                   THE WITNESS:     No, we did not
                            MAGNA LEGAL SERVICES
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                                                                       Page 418
        1    discuss that.
        2    BY MR. PLACITELLA:
        3            Q.     Okay.   Now -- and then we're
        4    going to break for lunch.        I just want to
        5    make sure I kind of -- I have some
        6    questions.
        7                   Currently there is an appeal
        8    before the New Jersey Appellate Division
        9    related to Johnson & Johnson's Baby Powder
       10    and talc.
       11                   Do you -- do you know about
       12    that?
       13                   MR. BERNARDO:     Object to the
       14    form of the question.
       15                   THE WITNESS:     I don't know what
       16    specifically there is, no.
       17    BY MR. PLACITELLA:
       18            Q.     Do you know anything about the
       19    appeal?
       20            A.     No.
       21            Q.     There's an issue before the
       22    Appellate Division as to when or if Johnson
       23    & Johnson ever told anybody before 2017
       24    that they had testing evidence related to
       25    Johnson & Johnson's talc or cosmetic talc
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                                                                       Page 419
        1    products.     What's the answer?      Did you ever
        2    give to any plaintiff in any case prior to
        3    2017 any testing evidence related to the
        4    Johnson & Johnson's Baby Powder or its
        5    sources?
        6                   MR. BERNARDO:     Object to the
        7    form of the question.
        8                   THE WITNESS:     I can't answer
        9    that, no.
       10    BY MR. PLACITELLA:
       11           Q.      Well, you're Johnson & Johnson,
       12    how could you not know?
       13                   MR. BERNARDO:     Objection.
       14    BY MR. PLACITELLA:
       15           Q.      You either did or you didn't.
       16           A.      If it was requested and it was
       17    appropriate to give the answers and -- or
       18    the evidence, it was given.
       19           Q.      So you know that for a fact
       20    that's what happened?
       21           A.      If it was appropriate, yes.
       22           Q.      So as you sit here today, can
       23    you point to a single case, do you have any
       24    evidence in front of you, can you point to
       25    a single case where you turned over the
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                                                                       Page 420
        1    evidence of a testing related to Johnson's
        2    Baby Powder before 2017?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5    BY MR. PLACITELLA:
        6             Q.    Can you point to a single
        7    case --
        8                   MR. BERNARDO:     Object.
        9    BY MR. PLACITELLA:
       10           Q.      -- you Johnson & Johnson.
       11                   MR. BERNARDO:     Objection to the
       12    form of the question, beyond the scope of
       13    the notice, and asked and answered multiple
       14    times.
       15                   You can answer in your
       16    individual capacity if you know.
       17                   THE WITNESS:     No, I cannot.
       18    BY MR. PLACITELLA:
       19           Q.      Okay.   So as you sit here
       20    today, Johnson & Johnson, to be clear,
       21    cannot point to a single case prior to 2017
       22    where it turned over evidence related to
       23    the testing of Johnson & Johnson's talc,
       24    baby powder or sources of that baby powder
       25    related to asbestos, correct?
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                                                                       Page 421
        1                   MR. BERNARDO:     Same objections.
        2                   THE WITNESS:     No, I cannot.
        3                   MR. PLACITELLA:      Okay.    We can
        4    take a break for lunch now.         Thank you.
        5                   THE VIDEOGRAPHER:        The time is
        6    now 12:40 PM.      We're going off the record.
        7                   (Lunch recess.)
        8                   THE VIDEOGRAPHER:        The time is
        9    now 1:34 PM.     We are back on the record.
       10    BY MR. PLACITELLA:
       11           Q.      Okay.   Do you have all of those
       12    binders in front of you?        Okay.    I'm just
       13    going to approach you for -- just help
       14    organize some of this stuff.
       15                   So this P-8A, right?
       16           A.      Correct.
       17           Q.      And this is P-8B, correct?
       18           A.      Correct.
       19           Q.      Okay.   This is the evidence you
       20    sent to Dr. Hopkins?
       21           A.      Correct.
       22           Q.      Okay.   This is evidence,
       23    correct?
       24                   MR. BERNARDO:     Object to the
       25    form of the question.
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                                                                       Page 422
        1                   THE WITNESS:     It's not
        2    evidence, it's lots -- just different
        3    documents.
        4    BY MR. PLACITELLA:
        5            Q.     Well, it's evidence we used
        6    today, correct?
        7            A.     Okay.
        8            Q.     And there's testing evidence in
        9    here?
       10            A.     There's some, yes.
       11                   MR. BERNARDO:     Object to the
       12    form of the question.
       13    BY MR. PLACITELLA:
       14            Q.     And this is Musco-2.       Do you
       15    remember this from the last time?
       16                   Okay.   This is all the tests,
       17    remember?
       18            A.     I know it was a big book.
       19            Q.     All right.     Do you want -- do
       20    you want to look through it again to make
       21    sure?    This is the testing evidence --
       22            A.     Uh-huh.
       23            Q.     -- from Dr. Hopkins'
       24    deposition.
       25                   Do you recall that?
                            MAGNA LEGAL SERVICES
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                                                                       Page 423
        1           A.      Okay.     Are you trying to block
        2    me?
        3           Q.      No.     This is the testing
        4    evidence from Dr. Hopkins?
        5                   MR. BERNARDO:     Object to the
        6    form of the question.
        7                   THE WITNESS:     It seems to be a
        8    mixture of a lot of things from
        9    Dr. Hopkins.
       10    BY MR. PLACITELLA:
       11           Q.      Okay.    Am I correct that none
       12    of this evidence, to your knowledge, he was
       13    ever turned over to any plaintiff or you
       14    have no evidence that any of this was ever
       15    turned over to any plaintiff before 2017,
       16    correct?
       17                   MR. BERNARDO:     Object to the
       18    form of the question.
       19                   THE WITNESS:     I do not know.
       20    BY MR. PLACITELLA:
       21           Q.      As you sit here today, do you
       22    have any evidence to prove that any of this
       23    was ever turned over to any plaintiff
       24    before 2017?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 424
        1    form of the question.
        2                   THE WITNESS:     I do not know
        3    what was turned over or not turned over.
        4    BY MR. PLACITELLA:
        5           Q.      As you sit here today, do you
        6    have any contemporaneous evidence to prove
        7    that any of this was ever turned over to
        8    any plaintiff before 2017?
        9                   MR. BERNARDO:     Object to the
       10    form of the question, beyond the scope of
       11    the notice.
       12                   THE WITNESS:     I do not know
       13    what was turned over.
       14    BY MR. PLACITELLA:
       15           Q.      So Johnson & Johnson does not
       16    know whether any of this evidence was ever
       17    turned over to any plaintiff before 2017?
       18                   MR. BERNARDO:     Object to the
       19    form of the question, beyond the scope of
       20    the notice.
       21                   You can answer in your
       22    individual capacity if you can.
       23                   THE WITNESS:     I don't know.
       24    It's not something I had prepared for
       25    within the scope for today.
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                                                                       Page 425
        1                   MR. PLACITELLA:      I'll pass the
        2    witness and reserve the right for redirect.
        3                   MR. BERNARDO:      All right.
        4    Could we go off the record?
        5                   THE VIDEOGRAPHER:      The time is
        6    now 1:37 PM.     We are going off the record.
        7                   (Discussion held with the
        8    Court.)
        9                   THE VIDEOGRAPHER:      The time is
       10    now 1:44 PM.     We are back on the record.
       11                          -   -   -
       12                  E X A M I N A T I O N
       13                          -   - -
       14    BY MR. BERNARDO:
       15            Q.     Good afternoon, Ms. Musco.         We
       16    obviously already know each other, but let
       17    me just introduce myself for the record
       18    here.
       19                   I'm Rich Bernardo, and I'm
       20    going to ask you some questions on behalf
       21    of the Johnson & Johnson defendants.
       22                   And first, I appreciate you've
       23    been here for now this is the second day
       24    and there's been a passage of some time
       25    between your first day and your second day,
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                                                                       Page 426
        1    so if I ask you something that you don't
        2    recall, let me know and I can help you
        3    refresh your recollection perhaps with a
        4    transcript or otherwise.
        5           A.      Okay.
        6           Q.      First, we didn't really get an
        7    opportunity for you to introduce yourself
        8    to the jury, Ms. Musco.        Just if you
        9    wouldn't mind, tell the jury a little about
       10    yourself, where you grew up, where you went
       11    to school?
       12           A.      Born and raised in New Jersey
       13    so I'm a Jersey girl.
       14                   I went to college in
       15    Connecticut, University of Bridgeport in
       16    Connecticut.
       17                   I am a registered nurse.        That
       18    is something I always wanted to be ever
       19    since I was a little girl, so my first jobs
       20    all revolved around that from volunteering
       21    to working in the hospital.
       22                   I went from my clinical
       23    experience taking care of severely burned
       24    patients in St. Barnabas in Livingston.            So
       25    I had skin trauma to taking care of healthy
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                                                                       Page 427
        1    skin when I joined Johnson & Johnson in
        2    1982, and I started out with Johnson's baby
        3    products.
        4             Q.      Okay.
        5             A.      And then I had various
        6    positions with Johnson & Johnson for
        7    30 years, and then after that, I am now a
        8    program manager for Dress For Success,
        9    Central New Jersey, it's a nonprofit, where
       10    I teach job development and life skills.
       11                     MR. PLACITELLA:    Move to
       12    strike.       Beyond the scope of the
       13    deposition.       Move to strike, nonresponsive
       14    to the question.
       15    BY MR. BERNARDO:
       16           Q.        And how long were you a
       17    practicing nurse, Ms. Musco?
       18           A.        Well, I'm still a practicing
       19    nurse.
       20                     MR. PLACITELLA:    Excuse me.
       21                     Objection, beyond the scope of
       22    the deposition.
       23                     She's being here -- produced
       24    here, as you told me, so the record is
       25    clear, as a representative of Johnson &
                             MAGNA LEGAL SERVICES
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                                                                       Page 428
        1    Johnson and not a practicing nurse for
        2    litigation veracity.
        3                   You can answer the question
        4    now.
        5                   THE WITNESS:     I have been a
        6    registered nurse since 1975, and my
        7    capacity in my positions both in the
        8    hospital and Johnson & Johnson were that of
        9    a registered nurse.
       10    BY MR. BERNARDO:
       11           Q.      Okay.   And -- and why did you
       12    stop nursing practice?
       13           A.      I never stopped nursing
       14    practice.
       15                   MR. PLACITELLA:      Excuse me,
       16    before you start.
       17                   Objection, beyond the scope.
       18                   You can answer now.
       19                   MR. BERNARDO:     And you can have
       20    a continuing objection to all of them if
       21    you chose or you can raise it at each one.
       22    That's fine with me.
       23                   MR. PLACITELLA:      I have to make
       24    sure I articulate it.       Thank you.
       25                   MR. BERNARDO:     Okay.
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                                                                       Page 429
        1                   THE WITNESS:     I have just
        2    practiced nursing in different capacities.
        3    BY MR. BERNARDO:
        4           Q.      Okay.   And I'm sorry, what year
        5    did you go to Johnson & Johnson?
        6           A.      I started at Johnson & Johnson
        7    in 1982.
        8           Q.      Okay.   And -- and tell me about
        9    your experience at Johnson & Johnson.
       10                   MR. PLACITELLA:      Objection to
       11    the form.
       12                   You can answer.
       13                   THE WITNESS:     I had many
       14    different positions at Johnson & Johnson.
       15    I enjoyed them all.       I was able to work
       16    with many talented, fantastic people.           It
       17    was a very positive experience.
       18    BY MR. BERNARDO:
       19           Q.      Let's talk about why you're
       20    here today and why you were testifying a
       21    few weeks ago, which this deposition is the
       22    continuation of.
       23                   Ms. Musco, what is your
       24    understanding of what this deposition would
       25    be about?
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                                                                       Page 430
        1                   MR. PLACITELLA:      Objection to
        2    form.
        3                   THE WITNESS:     My understanding
        4    is that I am here today to talk about the
        5    process of the obtaining the answers and
        6    supplying the answers to specific
        7    interrogatories for cases involving
        8    Johnson's Baby Powder.
        9    BY MR. BERNARDO:
       10            Q.     And where did you get that
       11    understanding?
       12            A.     Well, it was my interpretation
       13    of the notice and then also working with
       14    Counsel.
       15            Q.     Okay.   Did you do anything to
       16    prepare for your testimony today and the
       17    last day you were here on behalf of Johnson
       18    & Johnson?
       19            A.     Yes, I definitely did.
       20            Q.     Can you tell us what you did?
       21            A.     Well, after reading the notice
       22    and understanding the notice, I first spoke
       23    to the people -- one of the people who was
       24    responsible for doing the searches to
       25    understand the process, understanding
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                                                                       Page 431
        1    better where the requested information may
        2    be found, did we search everywhere possible
        3    for it, where was there even the
        4    information that was requested, did it even
        5    exist.    I did that.
        6                   I asked to look at some of the
        7    complaint files really just to remind
        8    myself.    I wasn't familiar with all the
        9    cases.    I wanted to see what the complaints
       10    were.
       11                   I read different documents.         In
       12    particular, the last time I was deposed
       13    there were a number of documents, a lot of
       14    them that Mr. Placitella had presented to
       15    me, that I had not seen before and I wasn't
       16    familiar with, so I did ask that they be
       17    sent to Dr. John Hopkins, who is the expert
       18    on these matters, to make sure that he had
       19    seen them.
       20                   And then I followed that up and
       21    I had about an hour conversation with
       22    Dr. Hopkins.     He went through specific
       23    tests or allegations that had been
       24    presented and explained them to me, not
       25    that I remember them, because a little
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                                                                       Page 432
        1    highly scientific, but it reassured what
        2    I've always known.        So you know, I felt
        3    much more comfortable after that.
        4            Q.     Let me back up.
        5                   Ms. Musco, the documents that
        6    you sent or asked to be sent to
        7    Dr. Hopkins, can you identify them for the
        8    record by exhibit number so we're clear
        9    here?
       10            A.     Oh, yes.    That would be
       11    Exhibit 8 -- P-8A and P-8B.
       12            Q.     Okay.   Thank you.
       13                   And Ms. Musco, did you
       14    personally review each of the documents in
       15    Exhibits 8A and 8B?
       16            A.     No.
       17            Q.     Did you -- did you conduct any
       18    review of them?
       19            A.     I looked at them to see what
       20    they were.     There were a lot of things that
       21    I don't understand so I certainly could not
       22    tell you everything that was in there, but
       23    because a lot of them had been brought up,
       24    that's why I asked that they be sent to
       25    Dr. Hopkins because he would be the most
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                                                                       Page 433
        1    familiar with them.
        2           Q.      And during the deposition,
        3    Mr. Placitella referred to Exhibit 8A and
        4    8B as reliance materials.
        5                   Do you agree with that
        6    characterization?
        7                   MR. PLACITELLA:      Objection to
        8    the form of the question.
        9                   THE WITNESS:     I didn't agree
       10    with the word "reliance."        They were a
       11    basis, but I did not rely on them for my
       12    responses.     As I said, those were the
       13    documents that I asked to be shared with
       14    Dr. Hopkins because I wanted to feel
       15    comfortable that he was familiar with them,
       16    that this was nothing new.
       17    BY MR. BERNARDO:
       18           Q.      Okay.   During your deposition,
       19    you discussed the fact that from time to
       20    time you signed or certified or verified, I
       21    think different words were used, responses
       22    to interrogatories.
       23                   Do you recall that?
       24           A.      Yes.
       25           Q.      I'd like to take a step back
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                                                                       Page 434
        1    and can you explain in your own
        2    understanding what an interrogatory is in
        3    case the jury is not familiar with that
        4    term?
        5            A.     My understanding is that
        6    interrogatories are questions asked when a
        7    complaint has been filed.
        8            Q.     And do you have an
        9    understanding of the process through which
       10    interrogatory responses that are the
       11    subject of the deposition notice were
       12    prepared?
       13            A.     Well, yes, I know that -- the
       14    process that we used.       I was not always
       15    involved in the process, but if there were
       16    questions that Counsel needed direction who
       17    the best person to speak with was, I would
       18    direct them to that appropriate person.
       19            Q.     Why -- why were you in
       20    particular involved, if you know,
       21    Ms. Musco?
       22            A.     I was really involved because
       23    throughout my tenure, I had the opportunity
       24    to work with just about every department in
       25    the company and the different experts that
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                                                                       Page 435
        1    would be the best ones to answer.          So it's
        2    a big company, and I would help make that
        3    process easier and direct Counsel to those
        4    appropriate people.
        5           Q.      Did you interview the
        6    individuals yourself?
        7           A.      No.
        8           Q.      Why not?
        9           A.      Because it wouldn't make sense,
       10    you know, it was best that they speak
       11    directly to Counsel because I -- I couldn't
       12    relay their message.       It was a conversation
       13    that needed to happen between Counsel and
       14    the expert.
       15           Q.      Why is that?
       16           A.      Because I knew that the people
       17    that I was choosing were the experts.           I --
       18    as I said before, I wasn't just going down
       19    the hall and grabbing somebody, you know,
       20    Hey, can you answer this?        I carefully
       21    chose the people that could best answer and
       22    could best supply that answer to Counsel,
       23    and my position was not to interview them.
       24    That wasn't my responsibility.
       25           Q.      We discussed from time to time
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                                                                       Page 436
        1    you -- you signed or certified or verified.
        2    What does that mean to you to have done
        3    that?
        4            A.     It means that I did read every
        5    answer -- every question, every answer to
        6    help ensure that they had all been
        7    answered, that I had directed Counsel to
        8    the appropriate person.
        9            Q.     How do you know the individuals
       10    that you identified were providing accurate
       11    information or do you know that?
       12            A.     Because again, I knew the
       13    people that I was directing Counsel to
       14    speak with.     These were people I worked
       15    with again throughout 30 years, and I knew
       16    that they were the appropriate people.            I
       17    got to work with them, I got to listen to
       18    them.    I'd hear them at internal meetings,
       19    I'd hear them at professional meetings.            So
       20    I trusted that they had the complete
       21    answers.
       22            Q.     I want -- I want to move
       23    forward to the present time as opposed to
       24    talking now -- I think we've been talking
       25    about your time when you were assisting
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                                                                       Page 437
        1    in -- in providing information or providing
        2    access to individuals for the responses.
        3                    So when you were preparing for
        4    this deposition, did you do anything to
        5    ascertain the basis of the responses that
        6    you identified that were responsive to the
        7    notice?
        8            A.      Well, again, you know, the
        9    conversations that I had reviewing them,
       10    the conversations that I had with
       11    Dr. Hopkins to just solidify what I always
       12    knew, that these were the correct
       13    responses.
       14            Q.      Did -- did you make any efforts
       15    to identify if there were any compilations
       16    of documents linked to these responses?
       17                    MR. PLACITELLA:     Objection to
       18    form.
       19                    THE WITNESS:    Yes, that was
       20    part of my original conversation with one
       21    of the people who was responsible for the
       22    searches.      I didn't think there were, but I
       23    wanted to make sure that there was no pile
       24    anywhere that was responsible for each
       25    answer.      These were what people did every
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                                                                       Page 438
        1    day in their work, so it's not like they
        2    opened a drawer and said, you know, Here's
        3    the page that answers that.
        4    BY MR. BERNARDO:
        5           Q.      Let me -- let me take an aside
        6    here for a minute.
        7                   At the end of your questioning
        8    by Mr. Placitella before I began, he asked
        9    you a number of questions about whether you
       10    have any knowledge of any documents that
       11    were produced or when they were produced.
       12                   Do you recall those questions?
       13           A.      Yes, I do.
       14           Q.      In connection with preparing
       15    for this deposition, did you make any
       16    efforts to determine what documents were
       17    produced by Johnson & Johnson in response
       18    to discovery requests, to document
       19    requests?
       20           A.      No, I specifically looked at
       21    the notice and stayed within the scope of
       22    the notice.     So my understanding of that
       23    was it had to do with the discovery
       24    responses.
       25           Q.      Go back to, you mentioned you
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                                                                       Page 439
        1    looked for or asked somebody to look for
        2    documents.     Who did you ask, by the way, to
        3    understand if there were documents that
        4    were linked up to these responses?
        5           A.      Well, the person I spoke to, I
        6    can't right now think of her last name,
        7    it's Pam.     As I said, she was one of the
        8    people responsible for the searches, and in
        9    understanding, you know, how she did the
       10    searches, was there anything else, was
       11    there any other file to understand that
       12    better.     So that's the person I spoke with.
       13           Q.      Okay.   Mr. Placitella asked you
       14    a number of specific document -- I'm sorry,
       15    specific questions about documents that you
       16    couldn't answer, in particular documents in
       17    binders 8A and 8B.
       18                   Do you recall that?
       19           A.      Yes, I do.
       20           Q.      Why didn't you conduct a
       21    further review of those once you sent them
       22    to Dr. Hopkins?
       23                   MR. PLACITELLA:      Objection,
       24    mischaracterizes her prior testimony.
       25    Object to form.
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                                                                       Page 440
        1                   THE WITNESS:     Well, some of
        2    them that he asked I didn't feel were in
        3    the scope because they had to do with
        4    industrial talc, and my understanding was
        5    that the notice had to do with cosmetic
        6    talc and Johnson's Baby Powder and Shower
        7    to Shower.
        8    BY MR. BERNARDO:
        9             Q.    Okay.   Also, Mr. Placitella
       10    raised with you a number of affidavits.
       11                   Do you recall that?
       12           A.      Yes.
       13           Q.      Did you review those?
       14           A.      No, I did not.
       15           Q.      And why hadn't you reviewed
       16    those?
       17           A.      For the reason that I just
       18    said, that these had to do with cases with
       19    industrial talc and I didn't believe they
       20    were within the scope.
       21           Q.      Do you have any understanding
       22    of why only a few sets of responses that
       23    discuss the issue of asbestos and talc were
       24    located?
       25           A.      No, but my understanding is
                            MAGNA LEGAL SERVICES
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                                                                       Page 441
        1    that there may not have been -- in the
        2    first place there may not have been
        3    discovery responses, or they may have been
        4    with an outside counsel and we didn't know
        5    where they were.      So you know, and I
        6    believe that we had agreed that we weren't
        7    going to search outside counsels, but every
        8    attempt was made to find whatever was
        9    available.
       10           Q.      On the first day of your
       11    testimony, Ms. Musco, a number of times you
       12    testified that documents were not available
       13    in one case or another other than the
       14    complaint.
       15                   Do you -- do you recall --
       16    first, do you recall that testimony?
       17           A.      Yes.
       18           Q.      And what -- what did you mean
       19    by that?
       20           A.      I meant the spec- -- I mean,
       21    there may have been documents, but the
       22    specific documents that had been requested
       23    in the notice, which were answers to
       24    interrogatories in discovery.
       25           Q.      Do you have any knowledge one
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                                                                       Page 442
        1    way or the other if there were documents
        2    pertaining to those cases other than
        3    whether there were discovery responses or
        4    discovery correspondence?
        5            A.     The other documents, no.
        6            Q.     Did you make any efforts to
        7    look for that?
        8            A.     Other than discovery responses,
        9    no, I did not.
       10            Q.     Why not?
       11            A.     Because, again, my
       12    interpretation of the notice was that we
       13    were talking about discovery responses.
       14            Q.     Okay.   And do you have any
       15    knowledge as to whether there were searches
       16    that were done in addition to the searches
       17    of the company files of the cases
       18    specifically cited in the notices to see if
       19    there were discovery responses?
       20                   MR. PLACITELLA:      Object to the
       21    form.
       22                   THE WITNESS:     Could you ask
       23    that again, please?
       24    BY MR. BERNARDO:
       25            Q.     Sure.
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                                                                       Page 443
        1                   MR. PLACITELLA:      Do you object,
        2    too?
        3                   MR. BERNARDO:     She objects,
        4    too.
        5                   MR. PLACITELLA:      Okay.
        6    BY MR. BERNARDO:
        7             Q.    Ms. -- Ms. Musco, you testified
        8    during your deposition that searches were
        9    made with respect to the specific cases
       10    listed in the notice.
       11                   Do you recall that?
       12           A.      Yes.
       13           Q.      Okay.   Do you have knowledge as
       14    to whether there were searches done for
       15    discovery -- responsive discovery responses
       16    other than with respect to ones in those
       17    cases?
       18                   MR. PLACITELLA:      Objection to
       19    the form.
       20                   THE WITNESS:     No, I do not.
       21    BY MR. BERNARDO:
       22           Q.      Okay.   I'm going to switch
       23    gears a little bit.
       24                   On the first day of your
       25    deposition, Mr. Placitella asked you about
                            MAGNA LEGAL SERVICES
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                                                                       Page 444
        1    the Johnson mine and whether talc from the
        2    Johnson mine was used in Johnson's Baby
        3    Powder.
        4                   Do you recall that testimony?
        5            A.     Yes, I do.
        6            Q.     And you said you believed it
        7    did.
        8                   Do you recall that?
        9            A.     Yes.
       10            Q.     What did you mean by that?
       11            A.     Well, now I -- my understanding
       12    at the time was that when Mr. Placitella
       13    said Johnson's mine, I thought he meant the
       14    mines owned by Johnson's under the
       15    Johnson's umbrella, you know, the
       16    numerous -- the different ones that were
       17    owned by Johnson & Johnson or used by
       18    Johnson & Johnson.
       19            Q.     Are you aware that there's a
       20    mine that's actually called the Johnson
       21    mine?
       22            A.     I am now.
       23            Q.     When did you first become aware
       24    that there's a mine called the Johnson
       25    mine?
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                                                                       Page 445
        1            A.     Yesterday.
        2            Q.     And how did you become aware of
        3    that?
        4            A.     In discussions with you.
        5                   MR. PLACITELLA:      What?
        6                   MR. BERNARDO:     In discussions
        7    with Counsel.
        8                   MR. PLACITELLA:      Can you mark
        9    that, please?
       10    BY MR. BERNARDO:
       11            Q.     Do you have an understanding of
       12    whether the Johnson mine supplied talc for
       13    Johnson Baby Powder?
       14            A.     No, I don't.     I'm not really
       15    familiar which mine supplied what.           I'm not
       16    an expert on the mines, and I think that's
       17    why I just heard Johnson's, you know,
       18    thinking like we say Johnson's Baby Powder,
       19    it's Johnson's mine.
       20            Q.     And last, Ms. Musco, you talked
       21    about a number of discovery interrogatory
       22    responses, I think there were a couple in
       23    the Selby case and some in the Krushinski
       24    case during your deposition.
       25                   Do you recall that?
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                                                                       Page 446
        1           A.      Yes.
        2           Q.      As you sit here today, do you
        3    believe that those responses are truthful
        4    and accurate?
        5           A.      Yes.
        6                   MR. BERNARDO:      I don't have any
        7    further questions.
        8                   MR. PLACITELLA:      Okay.    I'm
        9    going to need five to ten minutes.
       10                   THE VIDEOGRAPHER:      The time is
       11    now 2:02 PM.     We are going off the record.
       12                   (Recess.)
       13                   THE VIDEOGRAPHER:      The time is
       14    now 2:16 PM.     We are back on the record.
       15                          -   -   -
       16                  E X A M I N A T I O N
       17                          -   - -
       18    BY MR. PLACITELLA:
       19           Q.      Ma'am, do you have an
       20    understanding of what the penalty of
       21    perjury is in the state of New Jersey?
       22                   MR. BERNARDO:      Object to --
       23    BY MR. PLACITELLA:
       24           Q.      What it is?
       25                   MR. BERNARDO:      Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 447
        1    form of the question.
        2                   THE WITNESS:     I don't know the
        3    exact punishment, no.
        4    BY MR. PLACITELLA:
        5           Q.      And you, in fact, signed
        6    certifications indicating that you knew
        7    that if you told a non-truth, you were
        8    subject to punishment and could go to jail,
        9    correct?
       10                   MR. BERNARDO:     Object to the
       11    form of the question.
       12                   THE WITNESS:     Yes.
       13    BY MR. PLACITELLA:
       14           Q.      And you knew that when you were
       15    testifying here under oath that if you
       16    perjured yourself, you could be subject to
       17    penalties, correct?
       18           A.      That's my understanding, yes.
       19           Q.      Now, do you recall that when we
       20    started this deposition, I was very
       21    specific with you and I asked you questions
       22    about whether you had spoken with anybody,
       23    including your lawyers, and whether, based
       24    on that discussion, you were going to
       25    change your testimony in any way.
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                                                                       Page 448
        1                   Do you recall me asking those
        2    questions?
        3                   MR. BERNARDO:     Object to the
        4    form of the question, mischaracterizes the
        5    question, mischaracterizes the statement.
        6    BY MR. PLACITELLA:
        7           Q.      Do you recall me asking that
        8    question?
        9           A.      I know you asked me whether I
       10    had conversations, yes.
       11                   MR. PLACITELLA:      Okay.    Can you
       12    please, Court -- Madam Court Reporter, read
       13    back the question and answer I asked you to
       14    find in the -- that we started this
       15    deposition with?
       16                   (Pertinent portion of the
       17    record is read.)
       18    BY MR. PLACITELLA:
       19           Q.      Do you recall giving that
       20    testimony under oath, ma'am --
       21           A.      That's what I said.
       22           Q.      -- here on the witness stand in
       23    Middlesex County?
       24           A.      That's what I said, yes.
       25           Q.      Okay.   I'm going to show you
                            MAGNA LEGAL SERVICES
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                                                                       Page 449
        1    your testimony from the last time.
        2                   MR. PLACITELLA:      Are you ready?
        3                   THE VIDEOGRAPHER:      There's no
        4    speakers hooked up to it.
        5                   MR. PLACITELLA:      Right.    Why
        6    are we getting no sound?
        7                   THE VIDEOGRAPHER:      The time is
        8    now 2:18 PM.     We're going off the record.
        9                   (Recess.)
       10                   THE VIDEOGRAPHER:      The time is
       11    now 2:22 PM.     We are back on the record.
       12    BY MR. PLACITELLA:
       13           Q.      This is your testimony from
       14    last time.     I want to play it for you.
       15                   (Audio played.)
       16                   Okay.   That was your testimony
       17    before you had a conversation with your
       18    lawyer and you changed your testimony,
       19    correct?
       20                   MR. BERNARDO:     Object to the
       21    form of the question, and object to not
       22    showing the witness the transcript in which
       23    there is obviously important testimony
       24    right before what you just showed her.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 450
        1           Q.      Ma'am, do you recall giving
        2    that testimony?
        3                   Here, I'll play it again?
        4                   (Audio played.)
        5                   MR. BERNARDO:     Same objection.
        6    BY MR. PLACITELLA:
        7           Q.      Do you recall giving that
        8    testimony, ma'am?
        9           A.      That is my voice there.        I also
       10    remember saying that I really don't know
       11    much about the mines at all.
       12           Q.      Ma'am, do you recall giving --
       13    let me play it again for the record.
       14                   (Audio played.)
       15                   MR. BERNARDO:     Object to the
       16    continued playing of the testimony in --
       17    BY MR. PLACITELLA:
       18           Q.      Do you recall giving that
       19    testimony, ma'am?
       20                   MR. BERNARDO:     -- that is not
       21    the prior statement.
       22    BY MR. PLACITELLA:
       23           Q.      Do you recall giving that
       24    testimony under oath, ma'am?
       25           A.      Yes, I -- that's what I said.
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                                                                       Page 451
        1            Q.     Okay.   Now --
        2                   MR. PLACITELLA:      Can you give
        3    me J&J-294, please?
        4    BY MR. PLACITELLA:
        5            Q.     I'm going to show you up on the
        6    screen the deposition from your -- the
        7    president of your company, Roger Miller, in
        8    the Westfall case.
        9                   Do you remember we went through
       10    this the last time and I showed it to you?
       11            A.     Yes.
       12            Q.     Okay.   And you see on page 16
       13    Mr. Miller is asked about the different
       14    grades of talc that came out of the Johnson
       15    mine.
       16                   Do you see that?
       17            A.     I'm reading that now because
       18    this is the first I've seen this.
       19                   MR. BERNARDO:     Object to the
       20    form of the question, beyond the scope of
       21    the notice.
       22                   You can answer in your
       23    individual capacity.
       24                   MR. PLACITELLA:      Well, it's not
       25    beyond the scope of the conversation you
                            MAGNA LEGAL SERVICES
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                                                                       Page 452
        1    had with her off the record.
        2                    MR. BERNARDO:    To correct what
        3    was --
        4                    MR. PLACITELLA:     Okay.    Don't
        5    even --
        6                    MR. BERNARDO:    -- beyond the
        7    scope of the notice.
        8                    MR. PLACITELLA:     Don't even go
        9    there.      Don't even go there, okay?       Just
       10    don't go there.
       11                   THE WITNESS:     I see it.     You've
       12    highlighted this, yes.
       13    BY MR. PLACITELLA:
       14           Q.      And you see where it says that
       15    one of the grades from the Johnson mine is
       16    the No. 500?
       17                   Here, I'll blow it up for you.
       18           A.      I see --
       19           Q.      "Was given the No. 500, and the
       20    products of the floatation process of the
       21    refining process are the 500 series
       22    products."
       23                   Do you see that?
       24           A.      I see it says that, yes.
       25           Q.      Okay.   Now, go to your binder,
                            MAGNA LEGAL SERVICES
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                                                                       Page 453
        1    8A.   8A-1, the very first document in your
        2    binder that you sent to Dr. Hopkins, the
        3    very first document.
        4                   Do you see that?
        5           A.      Yes.
        6           Q.      Do you have it in front of you?
        7           A.      Yes.
        8           Q.      You see where it says
        9    Cosmetics?
       10           A.      Yes, I do.
       11           Q.      Okay.   You go to the second
       12    page, see where it talks about Emtals for
       13    cosmetics?
       14           A.      That's what it says, yes.
       15           Q.      Do you see where it talks about
       16    Emtal 500 for cosmetics coming from the
       17    Vermont -- Johnson, Vermont mine?
       18                   MR. BERNARDO:     Object to the
       19    form of the question, beyond the scope of
       20    the notice.
       21                   You can answer in your
       22    individual capacity.
       23                   THE WITNESS:     That's what it
       24    says, yes.
       25    BY MR. PLACITELLA:
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                                                                       Page 454
        1           Q.      And it also talks about the
        2    Windsor 66 product being used in -- in
        3    cosmetic, too, correct?
        4                   MR. BERNARDO:     Object to the
        5    form of the question.
        6                   THE WITNESS:     I see those
        7    numbers and I see that.        I don't know what
        8    any of this means.
        9    BY MR. PLACITELLA:
       10           Q.      Yes, ma'am.     And can you tell
       11    me, as you sit here today, everything else
       12    you discussed with your lawyers in
       13    preparation for today's deposition and the
       14    deposition the first time?
       15                   MR. BERNARDO:     Object to the
       16    form of the question, instruct the witness
       17    not to answer.      Calls for privileged
       18    communications.      We can certainly call
       19    Judge Viscomi if you like.
       20                   MR. PLACITELLA:      I'll file a
       21    motion.
       22    BY MR. PLACITELLA:
       23           Q.      Ma'am, you had conversations
       24    with your lawyers about the substance of
       25    your testimony, correct?
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                                                                       Page 455
        1                   MR. BERNARDO:     Object to the
        2    form of the question.
        3                   THE WITNESS:     As I told you
        4    earlier, we discussed my deposition
        5    generally, yes.
        6    BY MR. PLACITELLA:
        7            Q.     Okay.   Now -- and just so the
        8    record is clear, and based upon those
        9    discussions with your lawyers, you have
       10    changed your testimony here today?
       11                   MR. BERNARDO:     Object to the
       12    form.
       13    BY MR. PLACITELLA:
       14            Q.     True or false?
       15                   MR. BERNARDO:     Object to the
       16    form of the question.
       17                   THE WITNESS:     False.
       18    BY MR. PLACITELLA:
       19            Q.     You haven't changed your
       20    testimony?
       21            A.     No.
       22                   MR. BERNARDO:     Objection to
       23    form of the question.
       24                   MR. PLACITELLA:      Okay.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 456
        1           Q.      So let's have the record clear.
        2    On the record, tell me everything you
        3    discussed with your lawyers about your
        4    testimony --
        5                   MR. BERNARDO:     Object --
        6    BY MR. PLACITELLA:
        7           Q.      -- that you gave the last time?
        8                   MR. BERNARDO:     Object to the
        9    form of the question and instruct the
       10    witness not to answer.        I'm asking that
       11    this stop and that we call in Judge Viscomi
       12    right now.     I'm making that request.
       13                   MR. PLACITELLA:      Well, I'm
       14    not -- I'm done.      I'm going to file a
       15    motion.
       16                   MR. BERNARDO:     No, no.
       17                   MR. PLACITELLA:      There's no
       18    reason to do it now.
       19                   MR. BERNARDO:     No, no, no.
       20                   MR. PLACITELLA:      No, I'm not
       21    doing it now.
       22                   MR. BERNARDO:     Mr. Placitella,
       23    I'm asking --
       24                   MR. PLACITELLA:      I'm sorry.
       25    It's my -- you can do whatever you want
                            MAGNA LEGAL SERVICES
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                                                                       Page 457
        1    when I'm done with my questioning.            I'm
        2    done.
        3                   MR. BERNARDO:     That's fine.
        4                   MR. PLACITELLA:      I'm done.
        5    Okay?     All right?   I'm done with asking the
        6    question.     You've directed her not to
        7    answer it and -- and we're going to deal
        8    with it --
        9                   MR. BERNARDO:     No, we're going
       10    to --
       11                   MR. PLACITELLA:      -- in a motion
       12    practice.     Yes, we are.
       13                   MR. BERNARDO:     We're going
       14    to --
       15                   MR. PLACITELLA:      It's my
       16    motion.    No, we're not dealing with it now.
       17                   MR. BERNARDO:     And I'm going to
       18    ask if I'm allowed to redirect the witness,
       19    and I'm planning to do that.         And in
       20    connection with that, I'm going to ask for
       21    Judge Viscomi.
       22                   And in fact, before I redirect
       23    the witness, I think I'm going to take a
       24    brief break and try to find the judge.
       25                   THE VIDEOGRAPHER:      The time is
                            MAGNA LEGAL SERVICES
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                                                                       Page 458
        1    now 2:29 PM.
        2                   We're going off the record.
        3                   MR. PLACITELLA:      I'm not done.
        4                   MR. BERNARDO:     You just said
        5    you were.
        6                   MR. PLACITELLA:      I'm not done
        7    with my questions.       I have a lot more
        8    questions.     I'm not done.     I'm done with
        9    this line of questioning.        You directed her
       10    not to answer and I'll file a motion and
       11    I'm going to keep asking my questions.
       12                   MR. BERNARDO:     I'm going to ask
       13    for Judge Viscomi in any event.
       14                   (Discussion held with the
       15    Court.)
       16                   THE VIDEOGRAPHER:      The time is
       17    now 2:48 PM.     We are back on the record.
       18    BY MR. PLACITELLA:
       19           Q.      Okay.   We had a conversation
       20    with the judge so I'm going to ask you this
       21    question:     Did you understand it was a
       22    material issue as to whether -- well,
       23    scratch that.
       24                   When we started the deposition,
       25    do you recall giving the following
                            MAGNA LEGAL SERVICES
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                                                                       Page 459
        1    testimony, and I'm going to play it out
        2    loud because the video doesn't work, okay?
        3    In terms of scope of the deposition.
        4                   Do you recall this?
        5                   (Audio played.)
        6                   Do you recall giving that
        7    testimony?
        8           A.      Yes, I do.
        9           Q.      Okay.   Now, you recall from the
       10    affidavits that I showed you from
       11    Mr. Miller where he said under oath that
       12    the cosmetic talc and the industrial talc
       13    came from the same mine.
       14                   Do you recall that?
       15                   MR. BERNARDO:     Object to the
       16    form of the question.
       17                   THE WITNESS:     I don't recall
       18    that he said that, no.
       19    BY MR. PLACITELLA:
       20           Q.      Okay.   We went through this, do
       21    you remember the Edley affidavit from this
       22    morning?
       23                   MR. PLACITELLA:      Can I --
       24                   THE WITNESS:     I remember the
       25    name, yes.
                            MAGNA LEGAL SERVICES
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                                                                       Page 460
        1    BY MR. PLACITELLA:
        2            Q.     Do you recall --
        3                   THE VIDEOGRAPHER:      The time is
        4    now 2:51 PM.     We're going off the record.
        5    BY MR. PLACITELLA:
        6            Q.     I'll read -- I'll read it while
        7    you're trying to figure it out.
        8                   The affidavit that's in your
        9    book --
       10                   MR. BERNARDO:     I'm sorry, are
       11    we on the record, Chris?
       12                   MR. PLACITELLA:      Yes.
       13                   MR. BERNARDO:     I thought he
       14    just said we're going off the record.
       15                   MR. PLACITELLA:      I'm trying to
       16    finish this.     The judge told me I had an
       17    hour.
       18                   MR. BERNARDO:     I know, Chris.
       19    I'm not trying to be argumentative, but I
       20    thought he said we're off the record.           I
       21    thought you wanted to be on the record.
       22                   THE WITNESS:     He did say that.
       23                   THE VIDEOGRAPHER:      The time is
       24    now 2:52 PM.     We are back on the record.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 461
        1           Q.      This is the affidavit from the
        2    president of your company we went through
        3    this morning.
        4                   Do you see that?
        5           A.      Yes, president of the mine,
        6    yes.
        7           Q.      Right.
        8                   MR. PLACITELLA:      This is --
        9    BY MR. PLACITELLA:
       10           Q.      And in the affidavit,
       11    Mr. Miller states:
       12                   "The mining district is
       13    exclusive source of talc for all Johnson's
       14    Baby Powder sold in the United States.            In
       15    addition to supplying the talc for
       16    Johnson's Baby Powder, Windsor Minerals
       17    also sells a portion of its products to
       18    independent industrial users."
       19                   Do you see that?
       20           A.      Yes, I see that.
       21                   MR. BERNARDO:     Objection.
       22    BY MR. PLACITELLA:
       23           Q.      On the back he says:
       24                   "All of the talc mined by
       25    Windsor Minerals, Inc., whether it is
                            MAGNA LEGAL SERVICES
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                                                                       Page 462
        1    ultimately sold to industrial users or used
        2    in Johnson's Baby Powder, is sampled and
        3    tested for presence of asbestos."
        4                   Right?
        5           A.      Yes.
        6           Q.      Okay.    Now, you have binders --
        7    your attorney asked you about binders 8A
        8    and 8B.
        9                   Do you see them in front of
       10    you?
       11           A.      Yes.
       12           Q.      Who selected what was going to
       13    be put in those binders, you or your
       14    lawyers?
       15           A.      Well, a lot of it was based on
       16    my first deposition with you.         I had asked
       17    that those things be sent to Dr. Hopkins so
       18    that I would understand them, and as I
       19    explained earlier, to make sure that he was
       20    well aware of them.       So that's really what
       21    a lot of it is.
       22           Q.      I'm not asking -- who made the
       23    selection, ma'am, as to what was going to
       24    go in those binders?
       25           A.      My attorneys and myself.
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                                                                       Page 463
        1            Q.     So your lawyers made the
        2    selection with you and that was what was
        3    sent to Dr. Hopkins, correct?
        4                   MR. BERNARDO:     Object to the
        5    form of the question.
        6    BY MR. PLACITELLA:
        7            Q.     Correct?
        8            A.     This is what was sent, yes.
        9            Q.     And it did not include all of
       10    the information that was -- is in Musco-2,
       11    does it?
       12            A.     What's Musco-2?
       13            Q.     The big fat binder in front of
       14    you.    All of that information is not in the
       15    binders you sent to Dr. Hopkins, is it?
       16            A.     You mean all of this
       17    information?
       18            Q.     Yes, ma'am.
       19            A.     I don't believe so.       I don't
       20    know.
       21            Q.     So what happened was your
       22    lawyers determined what was going -- what
       23    you were going to review, they put it in 8A
       24    and 8B, and then you sent that off to
       25    Dr. Hopkins, correct?
                            MAGNA LEGAL SERVICES
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                                                                       Page 464
        1                   MR. BERNARDO:     Object to the
        2    form of the question.
        3                   THE WITNESS:     Based -- based on
        4    our understanding of the notice, that
        5    material was sent to Mr. -- Dr. Hopkins.
        6    BY MR. PLACITELLA:
        7           Q.      And that included the very
        8    first document in your binder that talked
        9    about the Johnson mine talc being used in
       10    cosmetic talc, right?
       11                   MR. BERNARDO:     Object to the
       12    form of the question.
       13                   THE WITNESS:     What's in 8A and
       14    8B was sent to Dr. Hopkins.
       15    BY MR. PLACITELLA:
       16           Q.      Right.    And it's the very first
       17    document in your binder that talks about
       18    talc from the Johnson mine, we just went
       19    through this, used in cosmetic talc, right?
       20    Very first document.
       21           A.      That's in here, yes.
       22           Q.      Okay.    And then you called
       23    Dr. Hopkins after you sent the material,
       24    correct?
       25           A.      Correct.
                            MAGNA LEGAL SERVICES
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                                                                       Page 465
        1           Q.      Okay.   And Dr. Hopkins is not a
        2    Johnson & Johnson employee, correct?
        3           A.      Not at this time, no.
        4           Q.      And he never worked with you
        5    personally in answering any discovery
        6    related to lawsuits involving talc that you
        7    were involved with, correct?
        8           A.      Not directly, no.
        9           Q.      All right.     You never had a
       10    single conversation with him about lawsuits
       11    involving talc until Johnson & Johnson
       12    arranged for you to call him in preparation
       13    for this deposition, correct?
       14                   MR. BERNARDO:     Object to the
       15    form of the question.
       16                   THE WITNESS:     We had had
       17    conversations through the course of my
       18    tenure at Johnson & Johnson, but not
       19    directly related to any particular
       20    complaints.
       21    BY MR. PLACITELLA:
       22           Q.      My question was, ma'am:        You
       23    never had a conversation with Dr. Hopkins
       24    about any lawsuit whatsoever until such
       25    time that counsel for Johnson & Johnson put
                            MAGNA LEGAL SERVICES
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                                                                       Page 466
        1    in touch with Dr. Hopkins, correct?
        2                   MR. BERNARDO:     Object to the
        3    form of the question.
        4                   THE WITNESS:     That's correct.
        5    BY MR. PLACITELLA:
        6            Q.     And Dr. Hopkins is not an
        7    employee of Johnson & Johnson, is he?
        8            A.     Not at this time, no.
        9            Q.     And what happened was that
       10    Johnson & Johnson then paid Dr. Hopkins to
       11    look at the material that you sent him and
       12    then have a conversation to tell you what
       13    he thinks the material means, correct?
       14                   MR. BERNARDO:     Object to the
       15    form of the question.
       16                   THE WITNESS:     I don't know.
       17    I'm sure he was paid for his time like all
       18    of us, but I -- I don't know anything about
       19    that.
       20    BY MR. PLACITELLA:
       21            Q.     Well, how much was he getting
       22    paid in order to brief you for this
       23    deposition?
       24                   MR. BERNARDO:     Object to the
       25    form of the question.
                            MAGNA LEGAL SERVICES
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                                                                       Page 467
        1                   THE WITNESS:     I have no idea.
        2    BY MR. PLACITELLA:
        3           Q.      And as a result of -- as a
        4    result of your conversation, you took down
        5    notes, correct?
        6           A.      That's correct.
        7           Q.      Okay.
        8                   MR. PLACITELLA:      Do you have
        9    her notes?
       10                   MR. BERNARDO:     And I'm going to
       11    object for the record.        This is not
       12    something new that came up on her direct.
       13    This is something that could have been
       14    asked before and should have been asked
       15    before.
       16                   Go ahead.
       17                   MR. PLACITELLA:      Okay.    Give
       18    the witness a copy of her notes.
       19    BY MR. PLACITELLA:
       20           Q.      Okay.   You have in front of you
       21    your notes?
       22           A.      Yes.
       23           Q.      Okay.   I have them here under
       24    the Elmo.
       25                   These are your notes, correct?
                            MAGNA LEGAL SERVICES
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                                                                       Page 468
        1           A.      Yes.
        2           Q.      And they're P-14, correct?
        3           A.      Yes.
        4           Q.      And they're taken on Drinker,
        5    Biddle & Reath station -- notepads?
        6           A.      Yes, they are.
        7           Q.      So did you take these while you
        8    were at the law firm of Drinker, Biddle &
        9    Reath?
       10           A.      Yes, I did.
       11           Q.      And was anybody in the room
       12    with you while you were taking these notes?
       13           A.      Yes.
       14           Q.      And who was in the room with
       15    you while you were taking these notes?
       16           A.      Both my attorneys, Mr. Karp and
       17    Mr. Bernardo.
       18           Q.      So Mr. Bernardo and Mr. Karp
       19    were in the room while you were speaking to
       20    Dr. Hopkins and he was briefing you on his
       21    perceptions of what was in the documents
       22    you sent him, correct?
       23                   MR. BERNARDO:     Object to form
       24    of the question.
       25                   THE WITNESS:     They were both in
                            MAGNA LEGAL SERVICES
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                                                                       Page 469
        1    the room at the other end of the table, but
        2    I was having a conversation with
        3    Dr. Hopkins.
        4    BY MR. PLACITELLA:
        5           Q.      Right.    And did your lawyers at
        6    any point in time during your conversation
        7    with Dr. Hopkins provide any additional
        8    information or input?
        9           A.      No, they did not.
       10           Q.      So they sat there quietly the
       11    whole time and listened?
       12           A.      They were talking amongst
       13    themselves.
       14           Q.      Okay.    So did they have any --
       15    did they say anything to Dr. Hopkins?
       16           A.      No, they did not.
       17           Q.      Okay.    And so -- and the
       18    information you received from Dr. Hopkins
       19    with the lawyers in the room was part of
       20    the basis for the testimony that you've
       21    given in this deposition, correct?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24                   THE WITNESS:     I don't know that
       25    I would call it the basis for the
                            MAGNA LEGAL SERVICES
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                                                                       Page 470
        1    testimony.     I -- the reason that I spoke to
        2    Dr. Hopkins is because I wanted, as I've
        3    said before, to make sure that this was
        4    nothing new, that he had reviewed -- he was
        5    familiar with all the allegations and I
        6    wanted to make sure of that.
        7    BY MR. PLACITELLA:
        8             Q.    Okay.   But then you wrote down
        9    notes based on your conversation with
       10    Dr. Hopkins while your lawyer was in the
       11    room and you brought them to the -- to the
       12    deposition to -- if I asked you questions,
       13    you were going to refer to the notes,
       14    right?
       15                   MR. BERNARDO:     Object to the
       16    form of the question.
       17                   THE WITNESS:     No, I was told
       18    that they had to be brought to the
       19    deposition so they're here.
       20    BY MR. PLACITELLA:
       21           Q.      Okay.   So whatever is in these
       22    notes is not the basis for anything you had
       23    to say in this deposition?
       24           A.      I really took notes.       I do this
       25    every time I'm on the phone automatically.
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                                                                       Page 471
        1    It's just to focus myself in the
        2    conversation.      So I heard a lot from
        3    Dr. Hopkins, a lot of it was science.            As I
        4    said, I'm not the expert in that, so I
        5    couldn't repeat back really what he said.
        6           Q.      So do you remember what you
        7    said about your notes the last time we were
        8    together?
        9           A.      Not exactly, no.
       10           Q.      Okay.   And -- well, let's just
       11    look at your notes.       Okay?    Let's -- so
       12    let's look at your notes where it talks
       13    about No. 6.
       14                   Do you see that?
       15                   MR. PLACITELLA:      Can you give
       16    me book 6?
       17    BY MR. PLACITELLA:
       18           Q.      You see No. 6?
       19           A.      Yes.
       20           Q.      Okay.   And what that does is
       21    that refers to Exhibit 6 in tab 5, correct?
       22           A.      No, I -- this was numbers that
       23    Dr. Hopkins was using on the phone, so
       24    perhaps it was just his way of referring.
       25    I don't know exactly what he was tying it
                            MAGNA LEGAL SERVICES
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                                                                       Page 472
        1    into.     I just wrote it down as he said it.
        2            Q.       Well, here, I'm looking at it.
        3    Here's 1971, Colorado mine, right?            Your
        4    notes.       And there's an Exhibit No. 6,
        5    right?       Your notes say No. 6, 1971, and you
        6    wrote down Colorado mine, correct?
        7            A.       As I said, I wrote down what
        8    Dr. Hopkins said, which was No. 6.
        9            Q.       And then tell me what your
       10    notes say about what Dr. Hopkins said.
       11            A.      I have, "Colorado mine, trace
       12    tremolite 1971.      Ashton, one sample that
       13    Langer found.      Several labs.     Princeton,
       14    MIT, FDA, Dartmouth all confirmed no
       15    asbestos."
       16            Q.      Okay.    And --
       17                    MR. PLACITELLA:     Sorry.
       18    J&J-65.      My fault.    I'm sorry.    I should
       19    let you know that I -- hold on.          It's still
       20    not here.      Let's go to 22.
       21    BY MR. PLACITELLA:
       22            Q.      Can you go to your tab 8A-19?
       23                    MR. BERNARDO:     I'm sorry, 8A-
       24    19?
       25                    MR. PLACITELLA:     Uh-huh.
                             MAGNA LEGAL SERVICES
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                                                                       Page 473
        1    BY MR. PLACITELLA:
        2           Q.      November 5th, 1975.
        3                   MR. PLACITELLA:      That's what
        4    I'm missing, I'm doing this wrong.           I'm
        5    back in sync.
        6    BY MR. PLACITELLA:
        7           Q.      All right.      So in your -- in
        8    your notes you have a No. 25, "Don't know
        9    if industrial or cosmetic."
       10                   Do you see that?
       11           A.      Yes.
       12           Q.      And 25 is at 8A-19, correct?
       13           A.      It says Exhibit 25.
       14           Q.      Correct?    And so I'm clear that
       15    this exhibit under the Elmo, 25,
       16    corresponds to your notes with Dr. Hopkins,
       17    correct?
       18           A.      As I said earlier, these were
       19    the numbers that Dr. Hopkins gave me, so I
       20    do not know for sure if it's -- that's what
       21    it relates to.
       22           Q.      Okay.   Let's go to -- let's go
       23    to your notes 22.      Okay?    No. 22 talks
       24    about what?     What does that say, 22?
       25           A.      It says, "Imerys 1976, Vermont.
                            MAGNA LEGAL SERVICES
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                                                                       Page 474
        1    Don't know what the sample is.          Sediment
        2    returned to test tube.        No baby powder
        3    talc."
        4           Q.      Right.    And is that your tab
        5    No. 17, Exhibit 22?
        6           A.      As I said earlier, I don't know
        7    specifically.      These numbers were given to
        8    me by Dr. Hopkins.
        9           Q.      So although -- well, maybe I
       10    can shortcut all this.
       11                   Although you wrote down notes
       12    based on your conversations with
       13    Dr. Hopkins, you have no idea what exhibits
       14    in the binder you sent him they actually
       15    refer to, correct?
       16           A.      As I said earlier, these were
       17    his numbers.     He specifically talked about
       18    these kind of testing where there were
       19    allegations to make it a little clearer to
       20    me and reassure me, but I can't say for
       21    sure what his numbering system was.
       22           Q.      Okay.    So you don't know what
       23    he was going through having a conversation
       24    with him -- just so we're clear, you have
       25    no idea from looking at anything in 8A or
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                                                                       Page 475
        1    8B what he was talking about, correct?
        2           A.      I don't know specifically his
        3    numbering system, but you know, as you have
        4    pointed out, the number, the place, it
        5    seems to it, but it's Dr. Hopkins numbers,
        6    you know, he gave me.
        7           Q.      Right.    But you never connected
        8    the two?
        9           A.      No.
       10           Q.      Okay.    So all you did was
       11    basically listen to Dr. Hopkins, he gave
       12    you a number, he told you what he thought
       13    about that number and you wrote it down,
       14    correct?
       15           A.      Yes.    I asked for his
       16    interpretation of the different allegations
       17    and that's what he gave me.
       18           Q.      Okay.    But you have no idea,
       19    just so we're clear, what tab in either one
       20    of these binders those notes even refer to,
       21    correct?
       22           A.      I don't know specifically.         He
       23    gave me these numbers, yes.
       24           Q.      Okay.    So we'd have to ask
       25    Dr. Hopkins?
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                                                                       Page 476
        1           A.      Yes.
        2           Q.      Okay.   So did you ever ask
        3    Dr. Hopkins whether the -- by the way,
        4    did -- did -- were your lawyers taking
        5    notes while this was going on?
        6           A.      I don't think so.      As I said,
        7    they were at the other end of the table
        8    talking amongst themselves.         They were not
        9    part of the conversation.
       10           Q.      Okay.   And -- okay.
       11                   MR. PLACITELLA:      So give me the
       12    Hopkins chart.
       13    BY MR. PLACITELLA:
       14           Q.      This is a big copy of the
       15    Hopkins chart, J&J-414, Hopkins-28 that was
       16    in your binder.
       17                   Do you see that?
       18           A.      Yes.
       19           Q.      Okay.   Will you take the big
       20    copy out?     And let's just talk about it.
       21                   You see -- first of all, can
       22    you look through this chart and you see how
       23    the chart is headed, it's date, exhibit
       24    number, testing entity, author, recipient,
       25    purpose stated, test method, mine, what was
                            MAGNA LEGAL SERVICES
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                                                                       Page 477
        1    tested, special preparation, what test
        2    revealed, Hopkins comments.
        3                   Do you see that?
        4           A.      I see that, yes.
        5                   MR. BERNARDO:     Object to the
        6    form of the question.
        7    BY MR. PLACITELLA:
        8           Q.      And can you tell me -- so for
        9    example, under J&J-257, it talks about
       10    McCrone.
       11                   Do you see that?
       12           A.      I see that, yes.
       13           Q.      And by the way, when you talked
       14    to Dr. Hopkins about this chart, did he
       15    tell you how he created this chart?
       16                   MR. BERNARDO:     Object to the
       17    form of the question.
       18                   THE WITNESS:     I did not talk to
       19    him about this chart.       I don't know if he
       20    created it or you created it based on his
       21    comments, so I didn't talk to him
       22    specifically about this.
       23    BY MR. PLACITELLA:
       24           Q.      So where he talks about find --
       25    where the chart talks about chrysotile
                            MAGNA LEGAL SERVICES
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                                                                       Page 478
        1    being found in Shower to Shower, you don't
        2    know anything about that, correct?
        3                   MR. BERNARDO:     Object to the
        4    form of the question.
        5                   THE WITNESS:     I don't know what
        6    this is referring to here, no.
        7    BY MR. PLACITELLA:
        8           Q.      Okay.   So maybe I can get us
        9    out of here early.
       10                   Am I correct that you don't
       11    have any evidence, as you sit here today,
       12    on behalf of Johnson & Johnson that a
       13    single one of the tests that are set forth
       14    in this chart were ever supplied to any
       15    plaintiff before 2017 as part of discovery,
       16    correct?
       17                   MR. BERNARDO:     Object to the
       18    form of the question.
       19    BY MR. PLACITELLA:
       20           Q.      Take a look at it --
       21                   MR. BERNARDO:     Asked and
       22    answered.
       23    BY MR. PLACITELLA:
       24           Q.      -- 'cause I don't -- I don't
       25    want you -- I don't want you to do it
                            MAGNA LEGAL SERVICES
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                                                                       Page 479
        1    haphazardly.     Take a look at the chart,
        2    please.
        3           A.      I don't know what was supplied
        4    to the plaintiffs.
        5           Q.      Please take a look at the
        6    chart.
        7           A.      I don't have to look at it
        8    because I really do not know what was
        9    supplied to the plaintiff.
       10           Q.      As you sit here today
       11    testifying on behalf of Johnson & Johnson,
       12    am I correct that you don't have any
       13    evidence that you can show the court that
       14    any of the tests that are set forth in this
       15    chart were ever provided to a single
       16    plaintiff before 2017, correct?
       17                   MR. BERNARDO:     Object to the
       18    form of the question, beyond the scope of
       19    the notice.
       20                   You can answer in your
       21    individual capacity.
       22                   THE WITNESS:     I don't know
       23    because my understanding was that was not
       24    what I was here to talk about today.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 480
        1           Q.      Okay.   And would you agree that
        2    all of the test results, whether you agree
        3    with them or not, on this chart are
        4    evidence?
        5                   MR. BERNARDO:     Object to the
        6    form of the question.
        7                   THE WITNESS:     That's kind of
        8    hard for me to answer because I think of
        9    evidence as proof, but if it was
       10    appropriate for them to be given to the
       11    plaintiffs and discussed, then I would
       12    think they would be.
       13    BY MR. PLACITELLA:
       14           Q.      But you have no proof to that
       15    effect at all, correct?
       16           A.      No, I do not.
       17           Q.      All right.     And you were the
       18    one that was here produced by Johnson &
       19    Johnson to testify under oath as to what
       20    was in the possession of Johnson & Johnson
       21    and what was turned over to the plaintiffs
       22    as part of discovery?       That's the part I
       23    just read you in the first question I asked
       24    you in the deposition, correct?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 481
        1    form of the question.
        2                   THE WITNESS:     My understanding
        3    that I was here today to discuss the
        4    discovery responses.
        5    BY MR. PLACITELLA:
        6           Q.      Ma'am, do you remember the
        7    first question I asked you and I just
        8    played it for you again, that you are here
        9    to testify about what information was in
       10    possession of Johnson & Johnson and what
       11    was turned over in the course of discovery?
       12                   Do you recall that?
       13           A.      The specific discovery
       14    responses.
       15           Q.      Yes, ma'am.     And as you sit
       16    here today, you don't have a single piece
       17    of evidence to indicate that you ever
       18    turned any test over related to the testing
       19    of asbestos in Johnson & Johnson talc to a
       20    single plaintiff, correct?
       21                   MR. BERNARDO:     Object to the
       22    form of the question.
       23                   THE WITNESS:     My understanding
       24    if it was appropriate to be turned over,
       25    that it would have been, but I do not know
                            MAGNA LEGAL SERVICES
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                                                                       Page 482
        1    what was or was not turned over.
        2    BY MR. PLACITELLA:
        3           Q.      Ma'am, I'm going to ask the
        4    question again:      As you sit here today, you
        5    do not have any evidence to prove that you
        6    ever turned over a single test concerning
        7    asbestos and Johnson & Johnson talc to any
        8    plaintiff before 2017, correct?
        9                   MR. BERNARDO:     Object to the
       10    form of the question.
       11                   THE WITNESS:     Again, I do not
       12    know what was turned over or what was not
       13    turned over.
       14    BY MR. PLACITELLA:
       15           Q.      Ma'am, I promise you you'll get
       16    out of here on time.       Just please try to
       17    answer my question.
       18                   MR. BERNARDO:     I believe she
       19    has a couple times.
       20    BY MR. PLACITELLA:
       21           Q.      As you sit here today, you do
       22    not have any evidence that any test related
       23    to asbestos and Johnson & Johnson talc was
       24    ever turned over to any plaintiff in any
       25    case before 2017.      You have no evidence
                            MAGNA LEGAL SERVICES
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                                                                       Page 483
        1    with you, do you?
        2                    MR. BERNARDO:    Object to the
        3    form of the question.
        4                    THE WITNESS:    I'm trying to
        5    answer it.      I don't know what was or
        6    wasn't.      I did not come today prepared to
        7    show you evidence of what was or was not
        8    turned over.
        9    BY MR. PLACITELLA:
       10            Q.     Ma'am, all I'm asking you, as
       11    you sit here today, do you have any
       12    evidence that you turned over a single one
       13    of these tests set forth in Musco-2 or on
       14    this chart to any plaintiff before 2017?
       15    That's my question.
       16            A.     And my answer is still the
       17    same:    I don't know what was or was not
       18    turned over.
       19            Q.     But, ma'am, you're here on
       20    behalf of Johnson & Johnson as the person
       21    to testify about what was and what was not
       22    turned over.     And are you saying that you,
       23    Johnson & Johnson, have no idea what was
       24    turned over or not?
       25                   MR. BERNARDO:     Object to the
                            MAGNA LEGAL SERVICES
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                                                                       Page 484
        1    form of the question.
        2                   THE WITNESS:     My understanding
        3    is that I'm here today to discuss the
        4    discovery responses.
        5    BY MR. PLACITELLA:
        6             Q.    Ma'am, yes or no:      Do you have
        7    any evidence that you ever turned over a
        8    single test for asbestos in Johnson &
        9    Johnson talc before 2017?        Do you have any
       10    evidence whatsoever?
       11                   MR. BERNARDO:     Object to the
       12    form of the question.
       13                   THE WITNESS:     I can't answer
       14    that because I don't know what was handed
       15    over or what was not.
       16                   I'm trying to be helpful, but
       17    I -- I do not have any knowledge of that
       18    and I was not prepared to discuss that
       19    today.
       20    BY MR. PLACITELLA:
       21           Q.      Okay.   Ma'am, in the
       22    interrogatory responses that you signed,
       23    and you said you verified a number of them,
       24    do you have any evidence that when you
       25    signed answers to interrogatories, that you
                            MAGNA LEGAL SERVICES
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                                                                       Page 485
        1    turned over, you, Johnson & Johnson, any
        2    evidence related to the testing of Johnson
        3    & Johnson talc for asbestos?
        4                   MR. BERNARDO:     Object to the
        5    form of the question.
        6                   THE WITNESS:     If it was
        7    requested and it was appropriate to send,
        8    then it would have been sent.         So I do not
        9    know if it was sent or not.
       10    BY MR. PLACITELLA:
       11           Q.      Ma'am, you certified answers to
       12    interrogatories under oath, under penalty
       13    of perjury in numerous cases, did you not?
       14           A.      Yes.   There were different
       15    ones, yes.
       16           Q.      And what I'm asking you is:         Do
       17    you have any proof, as you sit here today,
       18    that when you did that, you ever turned
       19    over a single document in conjunction with
       20    those responses related to the testing of
       21    Johnson Baby Powder for asbestos?
       22                   MR. BERNARDO:     Object to the
       23    form of the question.
       24                   THE WITNESS:     I don't remember
       25    turning it over.      I don't remember what was
                            MAGNA LEGAL SERVICES
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                                                                       Page 486
        1    turned over.     Again, that was not my
        2    responsibilities.      I'm not here to discuss
        3    that.    I don't know what was turned over or
        4    not.
        5    BY MR. PLACITELLA:
        6            Q.     Ma'am, do you have any
        7    evidence, as you sit here today, that in
        8    any of the discovery responses that you
        9    certified as true and accurate ever turned
       10    over testing evidence related to Johnson &
       11    Johnson Baby Powder for asbestos?          It's a
       12    simple yes or no question.
       13                   MR. BERNARDO:     Object to the
       14    form of the question.       She's answered it
       15    multiple times.
       16    BY MR. PLACITELLA:
       17            Q.     Do you have any evidence?
       18                   MR. BERNARDO:     And she's
       19    answered why she can't answer it yes or no
       20    as well.
       21                   MR. PLACITELLA:      Please don't
       22    do that.     That is not a form objection.
       23    Please don't do that.
       24                   MR. BERNARDO:     Then please
       25    don't harass the witness.
                            MAGNA LEGAL SERVICES
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                                                                       Page 487
        1                    MR. PLACITELLA:     Please don't
        2    do that.      I'm just trying to get an answer
        3    to my question.
        4                    THE WITNESS:    And I'm really
        5    trying to answer it.       I don't believe it's
        6    a yes or no.      I don't know one way or the
        7    other.
        8    BY MR. PLACITELLA:
        9             Q.     Okay.   So as you sit here
       10    today, Johnson & Johnson does not know
       11    whether, when they were responding to
       12    discovery -- because this is not Nancy
       13    Musco.    I'm asking you, Johnson & Johnson,
       14    as you sit here today, Johnson & Johnson
       15    cannot produce any evidence that they ever
       16    turned over a single test concerning
       17    asbestos in Johnson & Johnson talc at any
       18    point in time to any plaintiff, correct?
       19                   MR. BERNARDO:     Object to the
       20    form of the question.
       21                   THE WITNESS:     Again, I can't
       22    answer because my it's understanding today
       23    that I was here to discuss the discovery
       24    interrogatory responses.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 488
        1           Q.      Yes, 'ma'am, and in conjunction
        2    with the discovery responses, even under
        3    your understanding, no discovery response
        4    ever attached a single test that you
        5    certified, a single test related to testing
        6    of Johnson & Johnson Baby Powder for
        7    asbestos, correct?
        8                   MR. BERNARDO:     Object to the
        9    form of the question.
       10                   THE WITNESS:     At this point, I
       11    don't even know what the question is.
       12    BY MR. PLACITELLA:
       13           Q.      Ma'am, when you signed
       14    interrogatories, did you ever attach to any
       15    of the interrogatories that you certified
       16    as true and accurate under oath, did you
       17    ever attach or supply a single test of
       18    Johnson & Johnson talc for asbestos?
       19                   Did you ever do it?
       20           A.      It wasn't my responsibility to
       21    do that.    The questions were given to the
       22    appropriate person, and if there was an
       23    appropriate response that required testing
       24    to be sent and it felt it was appropriate
       25    to answer and send, it would have been.
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                                                                       Page 489
        1           Q.      Ma'am --
        2           A.      But I do not know whether they
        3    were sent or not.
        4           Q.      Ma'am, I'm not asking you,
        5    Nancy Musco, I'm asking you, Johnson &
        6    Johnson.
        7                   You, Johnson & Johnson, have no
        8    idea whether you ever sent a single test to
        9    any plaintiff concerning testing for
       10    asbestos in Johnson & Johnson talc,
       11    correct?
       12                   MR. BERNARDO:     Object to the
       13    form of the question.
       14    BY MR. PLACITELLA:
       15           Q.      You, Johnson & Johnson.        Not
       16    Nancy Musco.
       17                   MR. BERNARDO:     Object to the
       18    form of the question, beyond the scope of
       19    the notice.
       20                   You can answer it if you can.
       21                   THE WITNESS:     I have -- because
       22    I'm answering as Johnson & Johnson, it's
       23    beyond the scope of what we're here to talk
       24    about --
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 490
        1            Q.     Ma'am --
        2            A.     -- so I do not know.
        3            Q.     Ma'am, you believe that it was
        4    your determination to figure out what the
        5    scope of this deposition was?         You thought
        6    that was your role?
        7            A.     That was part of my role, yes.
        8            Q.     Not your lawyers?      You didn't
        9    think your lawyers made that determination?
       10    In preparing for this deposition, you made
       11    the determination what the scope of the
       12    deposition notice was.
       13                   MR. BERNARDO:     Object to the
       14    form.
       15    BY MR. PLACITELLA:
       16            Q.     Is that -- is that your
       17    testimony under oath?
       18                   MR. BERNARDO:     Object to the
       19    form of the question.
       20                   THE WITNESS:     We both did.
       21    BY MR. PLACITELLA:
       22            Q.     So you decided what -- you,
       23    based upon this notice -- is this marked by
       24    the way?
       25                   MS. CALLAHAN:     P-2 I believe.
                            MAGNA LEGAL SERVICES
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                                                                       Page 491
        1                   MR. PLACITELLA:      Okay.
        2    BY MR. PLACITELLA:
        3           Q.      Based upon P-1 -- P-1 says,
        4    you're the person -- the representative of
        5    Johnson & Johnson with the most knowledge
        6    concerning discovery responses historically
        7    provided by Johnson & Johnson and Windsor
        8    Minerals concerning the asbestos content of
        9    talc, Johnson's Baby Powder, Shower to
       10    Shower sold by Johnson & Johnson, Windsor
       11    Minerals and Eastern Magnesia Talc Company.
       12                   Do you see that?
       13           A.      Yes, I do.
       14           Q.      And you understand that
       15    discovery responses involve more than just
       16    interrogatory answers, correct?
       17           A.      My understanding is that
       18    they're the direct responses to the
       19    interrogatories in discovery.
       20           Q.      Ma'am, you understand that
       21    discovery responses are more than answers
       22    to interrogatories, correct?
       23           A.      My understanding is that these
       24    were direct responses that was requested.
       25           Q.      Well, you see on the very next
                            MAGNA LEGAL SERVICES
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                                                                       Page 492
        1    page it actually details information that
        2    you were asked to bring and consider.           It
        3    included correspondence related to
        4    discovery, correct?
        5           A.      For the specific complaints,
        6    yes.
        7           Q.      Okay.   Discovery responses,
        8    ma'am, correct?
        9           A.      For the specific cases, yes.
       10           Q.      All right.     Affidavits, ma'am?
       11           A.      Yes.
       12           Q.      All right.     Certifications,
       13    correct?
       14           A.      Yes.
       15           Q.      Okay.   And just so the record
       16    is clear, although Johnson & Johnson was
       17    involved based upon what we went through
       18    last time in litigation involving baby
       19    powder from 1971 to the present, you only
       20    reviewed two sets of interrogatories in
       21    order to prepare for your deposition,
       22    correct?
       23                   MR. BERNARDO:     Object to the
       24    form of the question.
       25    BY MR. PLACITELLA:
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                                                                       Page 493
        1           Q.      That's it?
        2           A.      My understanding is that I was
        3    to review and respond to discovery
        4    responses and they were not available to me
        5    any other discovery responses.
        6           Q.      Okay.   Ma'am, let me ask the
        7    question again.
        8                   Although Johnson & Johnson was
        9    involved in litigation based on what we did
       10    from 1971 to the present involving
       11    Johnson's Baby Powder, you only reviewed
       12    two interrogatory responses in preparation
       13    for the -- this deposition, correct?
       14           A.      That's correct.
       15           Q.      Okay.
       16                   MR. BERNARDO:     Object to the
       17    form of the question.
       18    BY MR. PLACITELLA:
       19           Q.      And you -- and out of all of
       20    the interrogatory responses that you
       21    certified yourself, you only reviewed one
       22    set of interrogatory responses, correct?
       23                   MR. BERNARDO:     Object to the
       24    form of the question.
       25                   THE WITNESS:     I believe there
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        1    was only one specific one that I did
        2    certify myself.
        3    BY MR. PLACITELLA:
        4             Q.    You told me that you certified
        5    multiple --
        6             A.    Of the baby powder.
        7             Q.    Right.    I'm sorry, what did you
        8    say?
        9             A.    Of the baby powder, yes.
       10           Q.      Right.
       11           A.      There's one.
       12           Q.      Right.
       13           A.      There's one.     And there may
       14    have been others throughout the years that
       15    I did.
       16           Q.      Right.    And that --
       17           A.      But they weren't necessarily
       18    baby powder.
       19           Q.      You don't have any
       20    recollection?
       21           A.      No, I don't.
       22           Q.      Okay.    All right.    Well, then,
       23    how do you know if they're baby powder or
       24    not?
       25           A.      Because I know that these were
                            MAGNA LEGAL SERVICES
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                                                                       Page 495
        1    the ones that were discussed.         I mean,
        2    30 years, there was a lot of products, a
        3    lot of cases.
        4           Q.      Okay.   So let me ask you the
        5    following questions on behalf of Johnson &
        6    Johnson.
        7                   Did Johnson & Johnson make any
        8    mistakes in how they supplied discovery
        9    responses in lawsuits involving baby powder
       10    from your perspective on behalf of Johnson
       11    & Johnson?
       12                   MR. BERNARDO:     Object to the
       13    form of the question, beyond the scope of
       14    the notice.
       15                   You can answer in your
       16    individual capacity.
       17                   THE WITNESS:     I don't know what
       18    you mean by mistakes.
       19    BY MR. PLACITELLA:
       20           Q.      Well, did they -- should they
       21    have provided certain information that they
       22    didn't -- did they make any mistakes?
       23                   MR. BERNARDO:     Same objection.
       24    BY MR. PLACITELLA:
       25           Q.      Here's what I'm trying to
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                                                                       Page 496
        1    avoid, ma'am, to be clear.         I don't want to
        2    see your lawyer get up in a -- in a -- in a
        3    trial and say mistakes were made, but they
        4    were innocent mistakes, and so I'm just
        5    asking you:     From your -- from the
        6    perspective of Johnson & Johnson, were any
        7    mistakes made in how you responded to
        8    discovery in terms of the information you
        9    supplied related to Johnson's Baby Powder
       10    and testing for asbestos?        Were any
       11    mistakes made?
       12                   MR. BERNARDO:     Object to the
       13    form of the question, beyond the scope of
       14    the notice.
       15                   THE WITNESS:     I can't answer
       16    that.
       17    BY MR. PLACITELLA:
       18            Q.     You can't answer it?
       19            A.     No.
       20            Q.     Okay.
       21                   MR. PLACITELLA:      Just give me
       22    two minutes to look at my notes.
       23                   THE VIDEOGRAPHER:      Off the
       24    record?
       25                   MR. PLACITELLA:      Yeah, you can
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                                                                       Page 497
        1    go off the record.
        2                   THE VIDEOGRAPHER:      The time is
        3    now 3:29 PM.     We are going off the record.
        4                   (Brief recess.)
        5                   THE VIDEOGRAPHER:      The time is
        6    now 3:31 PM.     We are back on the record.
        7    BY MR. PLACITELLA:
        8           Q.      Okay.   Do you have 8A-32 in
        9    front of you?
       10           A.      From where?
       11           Q.      From your books.
       12           A.      8A you said?
       13           Q.      8A, No. 32.     This is from the
       14    books that you and your counsel selected to
       15    send to Dr. Hopkins, correct?
       16           A.      This is the book sent to
       17    Dr. Hopkins, yes.
       18           Q.      Okay.   And 8A-32 is entitled,
       19    "What did testing reveal?"
       20                   Do you see that?
       21           A.      I see it says that, yes.
       22           Q.      And over here on the left side
       23    is a date and on the right is a result.
       24                   Do you see that?
       25           A.      That's what it says, yes.
                            MAGNA LEGAL SERVICES
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                                                                       Page 498
        1           Q.      And over here it says, for
        2    example, date, 12/4/70, and the result is 5
        3    to 10 percent fibrous talc, tremolite,
        4    actinolite.
        5                   Do you see that?
        6           A.      That's what it says, yes.
        7           Q.      Were these results ever
        8    provided to any plaintiff, to your
        9    knowledge?
       10                   MR. BERNARDO:     Objection to the
       11    form of the question.
       12                   THE WITNESS:     I do not know.
       13    BY MR. PLACITELLA:
       14           Q.      Okay.   Next, 7/7/71 under "What
       15    did the testing reveal?        Tremolite and
       16    actinolite."
       17                   Do you see that?
       18           A.      I see it says that, yes.
       19           Q.      Okay.   The next one, it says,
       20    7/29/71, Johnson & Johnson.         Fibrous
       21    minerals, tremolite, actinolite in terms of
       22    what did the testing reveal.
       23                   Do you see that?
       24           A.      I see it says that, yes.
       25           Q.      Do you have any evidence that
                            MAGNA LEGAL SERVICES
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                                                                       Page 499
        1    this test was turned over to any plaintiff
        2    at any point in time?
        3                   MR. BERNARDO:     Object to the
        4    form of question, beyond the scope of the
        5    notice.
        6                   You can answer in your
        7    individual capacity if you know.
        8                   THE WITNESS:     I don't know what
        9    this is and what it was from and who wrote
       10    it.
       11    BY MR. PLACITELLA:
       12           Q.      Ma'am, this is in your book
       13    that you sent to Dr. Hopkins, so you and
       14    your lawyers put this together.          You must
       15    have thought it was important or you
       16    wouldn't have sent it.        So let me ask you
       17    the questions.
       18                   Let's go to 2/26/73.       This
       19    talks about from Colorado to Ashton,
       20    tremolite, actinolite, asbestos-type
       21    materials.
       22                   Was this test ever sent to any
       23    plaintiff?
       24           A.      I don't know.
       25           Q.      Okay.   Next is a report -- I'll
                            MAGNA LEGAL SERVICES
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                                                                       Page 500
        1    skip down.
        2                   Reference, 4/24/74, McCrone.
        3    On the chart What the tests reveal, and it
        4    talks about chrysotile, Argonaut.
        5                   Do you see that?
        6             A.    I see it says that.
        7             Q.    Does -- was this test ever
        8    supplied to any plaintiff?
        9             A.    I don't know.
       10           Q.      Okay.   And the next is a --
       11    under "What did the test reveal" chart,
       12    there is a mention of a report from
       13    McCrone.
       14                   Do you see that?      10/10/74?
       15           A.      I see it says that, yes.
       16           Q.      And it says chrysotile fibers.
       17                   Do you have any evidence that
       18    this report was ever supplied to a single
       19    plaintiff?
       20                   MR. BERNARDO:     Same objection
       21    with respect to this entire document and
       22    scope.
       23                   You may answer.
       24                   THE WITNESS:     I don't know.
       25    BY MR. PLACITELLA:
                            MAGNA LEGAL SERVICES
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                                                                       Page 501
        1           Q.      Okay.    Next is 2/2/75, entitled
        2    Cyprus.     Result:    Asbestos mineral
        3    tremolite, possibly chrysotile.
        4                   Do you have any evidence that
        5    this test result --
        6                   MR. BERNARDO:     Object to the
        7    form --
        8    BY MR. PLACITELLA:
        9           Q.      -- was supplied to any
       10    plaintiff?
       11                   MR. BERNARDO:     Object to the
       12    form of the question.
       13                   THE WITNESS:     I do not know.
       14    BY MR. PLACITELLA:
       15           Q.      Okay.   Next is a listing
       16    10/8/65, Miller to McCrone, under Result:
       17    Fibers of asbestos.
       18                   Do you have any evidence that
       19    the test that was sent from Miller to
       20    McCrone talking about fibers of asbestos
       21    was ever turned over to a single plaintiff?
       22           A.      I don't know.
       23           Q.      Okay.   Next is 1/15/75 from
       24    McCrone to Zeitz.      Under Result:      Fibers of
       25    asbestos 10 times.
                            MAGNA LEGAL SERVICES
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                                                                       Page 502
        1                   Do you have any evidence that
        2    this test was ever turned over to a single
        3    plaintiff?
        4           A.      I --
        5                   MR. BERNARDO:     Same objection.
        6                   THE WITNESS:     I do not know.
        7    BY MR. PLACITELLA:
        8           Q.      Okay.   Next is a date, 1/25/77,
        9    Pooley to Roll (ph).       Under Result:      Fibers
       10    of antigorite.
       11                   Do you have any evidence that
       12    this test was ever turned over to a single
       13    plaintiff?
       14           A.      I do not know.
       15           Q.      Okay.   Next -- I'm skipping a
       16    little bit because I was told by the judge
       17    I had to get done by quarter of, so let's
       18    just go from -- to -- skip up to 1978.
       19                   10/6/78, McCrone to Windsor.
       20    Result:     Chrysotile fibers.
       21                   Do you have any evidence that
       22    this test was ever turned over to a single
       23    plaintiff?
       24           A.      I do not, no.
       25           Q.      Okay.   Next is a -- well, the
                            MAGNA LEGAL SERVICES
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                                                                       Page 503
        1    next two say mine unknown, so I'm going to
        2    skip those.
        3                   Then it says 9/1/83, McCrone,
        4    and under Result, it says:         Fibers at
        5    Argonaut.
        6                   Do you know Argonaut was a mine
        7    that was used for Johnson Baby Powder?
        8                   MR. BERNARDO:     Object to the
        9    form of the question.
       10                   THE WITNESS:     As I said
       11    earlier, I am not familiar with all the
       12    names of the mines.
       13    BY MR. PLACITELLA:
       14           Q.      Do you have any evidence that
       15    this test was ever turn over to a single
       16    plaintiff?
       17           A.      I do not know.
       18           Q.      Okay.   There's another test
       19    here, 11/2/84 from McCrone.         Chrysotile
       20    fibers.
       21                   Do you see that result?
       22           A.      I see it says that.
       23           Q.      Is that the same McCrone that
       24    you filed discovery responses saying that
       25    the information that they had was a trade
                            MAGNA LEGAL SERVICES
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                                                                       Page 504
        1    secret?
        2                   MR. BERNARDO:     Object to the
        3    form of the question.
        4                   THE WITNESS:     I -- again, I
        5    don't know what this is and what it relates
        6    to.
        7    BY MR. PLACITELLA:
        8            Q.     But McCrone, that's the company
        9    that you filed discovery responses in the
       10    Coker case and said that information from
       11    McCrone was a trade secret, right?
       12                   MR. BERNARDO:     Object to the
       13    form of the question.
       14    BY MR. PLACITELLA:
       15            Q.     That's what you said, you
       16    Johnson & Johnson.
       17                   Do you remember that?
       18            A.     I don't believe -- I don't know
       19    that that was said.
       20            Q.     Okay.   You don't remember that
       21    document?
       22            A.     I remember there were
       23    documents.     I don't remember what they
       24    said.
       25            Q.     All right.     A few more.
                            MAGNA LEGAL SERVICES
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                                                                       Page 505
        1                   8/22/85, test from McCrone.
        2    Result:     Chrysotile asbestos.
        3                   Do you have any evidence that
        4    this test was ever sent to a single
        5    plaintiff?
        6                   MR. BERNARDO:     Object to the
        7    form of the question.
        8                   THE WITNESS:     I do not know.
        9    BY MR. PLACITELLA:
       10           Q.      Okay.   And 4/26/86, McCrone to
       11    Miller, chrysotile asbestos.         Do you have
       12    any evidence this test was ever sent to a
       13    single plaintiff?
       14           A.      I do not know.
       15           Q.      Okay.   The next test, 9/8/86,
       16    McCrone to Miller, Windsor Hammonsville,
       17    Goodrock exposed to -- George Goodrock
       18    exposed to fibers.
       19                   Do you know who that is --
       20           A.      No.
       21           Q.      -- who worked for you?
       22                   Okay.   And then the last one,
       23    3/30/1987, tremolite, correct?
       24           A.      That's what it says.
       25           Q.      All right.     One more question,
                            MAGNA LEGAL SERVICES
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                                                                       Page 506
        1    ma'am.       One more question and I'm done.
        2                     MR. PLACITELLA:    Tab 33 and 34.
        3    BY MR. PLACITELLA:
        4            Q.       All of these tests that we just
        5    went through, ma'am, every one of them
        6    predated the affidavit signed by the
        7    president of your company in July 1987
        8    where you said that there was no testing
        9    evidence ever showing asbestos in any
       10    Johnson & Johnson product, correct?
       11                    MR. BERNARDO:    Object to the
       12    form.
       13    BY MR. PLACITELLA:
       14            Q.      Every one of the tests we just
       15    went through?
       16                    MR. BERNARDO:    Object to the
       17    form of the question, beyond the scope of
       18    the notice.
       19                    You can answer in your
       20    individual capacity if you know.
       21                    THE WITNESS:    The dates seem to
       22    be before, yes.
       23                    MR. PLACITELLA:     Okay.    That's
       24    all the questions I have.        Thank you.
       25                    THE VIDEOGRAPHER:     The time is
                             MAGNA LEGAL SERVICES
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                                                                       Page 507
        1    now 3:39 PM.     This concludes today's
        2    deposition.
        3                   (Witness excused.)
        4                   (Deposition concluded at
        5    approximately 3:39 PM.)
        6
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                                                                       Page 508
        1                        CERTIFICATE
        2                I, CONSTANCE S. KENT, a Notary
        3    Public and Certified Court Reporter of the
        4    State of New Jersey, do hereby certify that
        5    prior to the commencement of the
        6    examination, NANCY MUSCO, was duly sworn by
        7    me to testify to the truth, the whole truth
        8    and nothing but the truth.
        9                I DO FURTHER CERTIFY that the
       10    foregoing is a verbatim transcript of the
       11    testimony as taken stenographically by and
       12    before me at the time, place and on the
       13    date hereinbefore set forth, to the best of
       14    my ability.
       15                I DO FURTHER CERTIFY that I am
       16    neither a relative nor employee nor
       17    attorney nor counsel of any of the parties
       18    to this action, and that I am neither a
       19    relative nor employee of such attorney or
       20    counsel, and that I am not financially
       21    interested in the action.
       22             _________________________________
       23             CONSTANCE S. KENT, CCR, RPR, CLR
                      Notary Number:     2325233
       24             Notary Expiration:      1/13/2020
                      CCR Number:     30XI00118300
       25             Dated:    March 13, 2019
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       25    ____   ____    _______________________________
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   1                 SUPERIOR COURT OF NEW JERSEY
                     LAW DIVISION - MIDDLESEX COUNTY
   2                 DOCKET NO. MID-1809-17AS
                     APPELLATE DOCKET NO._______________
   3
   4     DOUGLAS AND ROSALYN BARDEN,     )
                                         )          TRIAL
   5                Plaintiff,           )
                                         )
   6                v.                   )
                                         )          (VOLUME 1 OF 2)
   7     BRENNTAG NORTH AMERICA, et al., )
                    Defendants.          )
   8     ------------------------------ )
         DAVID CHARLES ETHERIDGE AND     )
   9     DARLENE PASTORE ETHERIDGE,      )          MID-L-0932-17AS
                                         )
  10                Plaintiffs,          )
                                         )
  11                v.                   )
                                         )
  12     BRENNTAG NORTH AMERICA, et al., )
                                         )
  13                Defendants.          )
         ------------------------------ )
  14     D'ANGELA McNEILL-GEORGE,        )
                                         )          MID-L-7049-16AS
  15                Plaintiff,           )
                                         )
  16                v.                   )
                                         )
  17     BRENNTAG NORTH AMERICA, et al., )
                                         )
  18                Defendants.          )
         ------------------------------ )
  19     WILLIAM AND ELIZABETH RONNING, )
                                         )          MID-L-6040-17AS
  20                Plaintiffs,          )
                                         )
  21                v.                   )
                                         )
  22     BRENNTAG NORTH AMERICA, et al., )
                                         )
  23                Defendants.          )
  24
  25     Job No. NJ3446610

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       1                                                             1               INDEX
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                     56 Paterson Street                              4              EXHIBITS
       3             New Brunswick, New Jersey 08903                 5 NO              DESCRIPTION     PAGE
       4                                                             6 Plaintiff's Exhibit 2064    190
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       8                                                            10 Plaintiff's Exhibit 2381    199
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      17 TRANSCRIPT ORDERED BY:                                     16 Plaintiff's Exhibit 2738    72
      18     MOSHE MAIMON ESQ.                                         Plaintiff's Exhibit 2836    90
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      24           E-mail: P1steno@veritext.com                     24
      25                                                            25

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       1 A P P E A R A N C E S:
       2                                                             1           THE COURT: Good morning, Dr.
             CHRISTOPHER PLACITELLA, ESQ                             2 Hopkins.
       3     COHEN PLACITELLA & ROTH
             127 Maple Avenue                                        3           THE WITNESS: Good morning, your
       4     Red Bank, New Jersey 07701
             -and-                                                   4 Honor.
       5     MOSHE MAIMON, ESQ
             LEVY KONIGSBERG
                                                                     5           (Sidebar.)
       6     800 Third Avenue                                        6           THE COURT: So we are at sidebar and
             11th Floor
       7     New York, New York 10022                                7 we began argument on Friday. I think all the
             -and-
       8     CHRIS J PANATIER, ESQ                                   8 arguments were in relative to --
             SIMON GREENSTONE PANATIER                               9          (There is a discussion off the
       9     1201 Elm Street
             Suite 3400                                             10      record.)
      10     Dallas, Texas 75270
             Attorneys for Plaintiffs, Douglas and                  11           THE COURT: I don't know. Was there
      11     Rosalyn Barden, Charles Etheridge and
             Darlene Pastore Etheridge, D'Angela
                                                                    12 additional argument that counsel wanted to make or
      12     McNeill-George, William and Elizabeth                  13 are we done with argument? (INAUDIBLE.)
             Ronning
      13                                                            14           MS. SULLIVAN: And just to emphasize,
      14     DIANE P SULLIVAN, ESQ
             JACK NOLAN, ESQ                                        15 your Honor, Evidence Rule 701 and lay opinion from
      15     WEIL GOTSCHAL & MANGES LLP
             17 Hulfish Street
                                                                    16 fact witnesses can be permitted, if it's consistent
      16     Suite 201                                              17 with your experience in product -- particularly, in
             Princeton, New Jersey 08542
      17     -and-                                                  18 product liability case.
             JOHN C GARDE, ESQ
      18     JOHN FLAHERTY, ESQ
                                                                    19           And, specifically, citing the
             McCARTER & ENGLISH                                     20 Appellate Division's decision in Navarro v. George
      19     Four Gateway Center
             100 Mulberry Street                                    21 Koch & Sons, 512 -- I'm sorry, 211 N.J. Super. 558
      20     Newark, New Jersey 07102
             Attorneys for Defendants Johnson & Johnson,            22 and, actually, the Court held it might be reversible
      21     and Johnson & Johnson Consumer, Inc
      22
                                                                    23 to not permit that kind of testimony.
      23                                                            24           MR. MAIMON: Just a moment, your
      24
      25                                                            25 Honor.

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       1            THE COURT: Sure.                           1 had personal knowledge.
       2            MR. MAIMON: So Rule 701 does allow         2           THE COURT: Okay. So here where this
       3 lay opinion testimony. But that has to be based on    3 is going to come in is the whole issue with his
       4 the perception of the witness. And so the classic     4 cross-examination and so I previously ruled so
       5 example is that a witness can say how fast was a car  5 there's no personal use testimony coming in.
       6 going but, for instance, the Appellate Division and   6 There's no expert testimony going to come in because
       7 the Supreme Court has held that it would be error to  7 he's not an expert. There is no hearsay testimony
       8 let a police officer say the car was going so fast    8 coming in unless it meets one of the exceptions.
       9 and the car was speeding based on the statements of   9           With regard to this whole area, I
      10 others because that's just a vehicle to admit        10 believe, this is going to -- from what you've --
      11 hearsay. And I'm just looking at the commentary on 11 Counsel advised really kind of come up during
      12 Rule 701.                                            12 cross-examination of the witness.
      13             Very clearly, the commentary makes       13            So I've previously allowed testimony
      14 that a nonexpert may give his opinions on matters of 14 within, I believe, the confines of 602 and 701. We
      15 common knowledge and observation but not on areas 15 have to remember his role at the company was as the
      16 that would usurp the function of expert opinion.     16 head of product safety for the time period that he
      17             The discussion of products liability     17 was there. And so if it's within his personal
      18 cases has been restricted to people who were         18 knowledge in that role, the Court will allow that
      19 involved in the design so that the designers of      19 testimony.
      20 products such as a chair, and that's the Navarro     20           This is going to be the situation
      21 case, could say that providing an undersized chair,  21 where, I mean, Counsel, if you feel that he's going
      22 this is the reason it was designed that way, so      22 outside that role and not testifying within his
      23 that's somewhat of an opinion, but it's not an       23 personal knowledge, then we can come to sidebar.
      24 opinion where it goes to the product defect. It's    24           MR. PANATIER: Yes, your Honor.
      25 not an opinion that's an expert opinion. It's        25           THE COURT: Okay?
                                                       Page 7                                                  Page 9
       1 opinion within not only the knowledge but the         1           MR. MAIMON: Understood.
       2 perception of somebody. And I think that we get --    2           MS. SULLIVAN: Yes, your Honor.
       3 we get confused when we say that a person's personal 3            THE COURT: Thank you.
       4 knowledge is based on what other people have told     4           MR. MAIMON: Thank you, your Honor.
       5 them. And our courts have said that the party         5           (Sidebar ends.)
       6 opponent exception is -- is allowed to have those     6           THE COURT: So let's get the Jurors
       7 statements. But the same way in which we could        7 in. Everything is working here now.
       8 offer in the Answers to Interrogatories of Johnson & 8            I'll step out so we can bring in the
       9 Johnson, they could not offer in their own Answers    9 Jurors.
      10 to Interrogatories.                                  10           (Recess taken 9:32 a.m.)
      11            We could offer the corporate              11           (Jury enters.)
      12 representative deposition of Johnson & Johnson. The 12            THE COURT: Good morning. Please be
      13 rule on admissibility of depositions makes it clear  13 seated. Make sure cell phones are turned off.
      14 as well as the case law they could not offer their   14 Officer, you can just give the envelopes to the
      15 own. And so we do not believe that Dr. Hopkins can 15 Jurors, they'll pass them around to the correct
      16 offer any opinions where he lacks personal           16 individuals.
      17 knowledge.                                           17           THE WITNESS: May I approach?
      18            MS. SULLIVAN: And, your Honor, just       18           THE COURT: Yes, please. Have a
      19 to follow up on the Navarro case, it wasn't the      19 seat, Dr. Hopkins.
      20 chair case. It actually involves the design of       20            Good morning, everyone. Today is
      21 latches and the Court held that the employee there   21 July 22, 2019. This is the trial in the matter of
      22 who was familiar with design manufacturer testing    22 Douglas and Rosalyn Barden versus Johnson &
      23 issues should be able to testify consistent with his 23 Johnson -- Counsel, you may be seated -- Darlene and
      24 knowledge and experience with the company.           24 David Etheridge versus Johnson & Johnson, D'Angela
      25            MR. PLACITELLA: And that employee         25 McNeill versus Johnson & Johnson and William and

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       1 Elizabeth Ronning versus Johnson & Johnson.                 1          MR. PANATIER: And there's already a
       2            May I have appearances please for                2 binder there and I've provided Counsel with a binder
       3 the Plaintiffs.                                             3 of Dr. Hopkins's prior testimony. And we'll be
       4           MR. MAIMON: Thank you, your Honor.                4 tendering exhibits to Defense Counsel as they come.
       5 Good morning. Good morning, everyone. Moshe                 5 Dr. Hopkins has an exhibit binder there. And here
       6 Maimon, Chris Panatier and Chris Placitella for the         6 is...
       7 Bardens, the Etheridges, the Ronnings and Ms.               7          THE COURT: Thank you.
       8 McNeill.                                                    8          MR. PANATIER: There may be more
       9           THE COURT: Thank you.                             9 volumes but we're going to start on Volume 1.
      10           And on behalf of the Defendant,                  10 DIRECT EXAMINATION BY MR. PANATIER:
      11 Johnson & Johnson and Johnson & Johnson Consumer,          11       Q.   Good morning, everybody.
      12 Incorporated.                                              12          So please introduce yourself.
      13           MS. SULLIVAN: Thank you, your Honor,             13       A.   John -- yes, John Hopkins.
      14 good morning. Hi, Jurors. Good morning, everyone.          14       Q.   Okay. Now, you are here as the
      15 Diane Sullivan and Jack Nolan for J&J.                     15 corporate representative for Johnson & Johnson and
      16           MR. NOLAN: Good morning.                         16 Johnson & Johnson Consumer, Inc., correct?
      17           THE COURT: Welcome back, Members of              17       A.   Yes.
      18 the Jury. As you may recall, we have not finished          18       Q.   You don't work for us, we have not
      19 the testimony of Dr. Compton who started his               19 paid you to come here and testify, correct?
      20 testimony on Friday. Similarly, we have not                20       A.   That is correct.
      21 completed the testimony of Dr. Webber.                     21       Q.   Alright. You currently do not work
      22           In order to accommodate witnesses'               22 for Johnson & Johnson, correct?
      23 schedule, we're now going to move to a different           23       A.   Correct.
      24 witness.                                                   24       Q.   You are a consultant?
      25            Plaintiffs may call their next                  25       A.   Correct.
                                                          Page 11                                                     Page 13
       1 witness.                                                    1      Q.    And the last year that you worked at
       2            MR. PANATIER: Thank you, your Honor.             2 Johnson & Johnson was, approximately, 2000?
       3            At this time Plaintiffs call the                 3      A.    Correct.
       4 corporate representative of Johnson & Johnson, John         4      Q.    So, since 2000, you have been a
       5 Hopkins, who is already standing at the witness             5 consultant, a paid consultant, right?
       6 stand.                                                      6      A.    Yes.
       7            DR. HOPKINS: Thank you. Good                     7      Q.    To Johnson & Johnson and its other
       8 morning, Jury. Good morning, your Honor.                    8 companies, right?
       9            THE COURT: Good morning.                         9      A.    To Johnson & Johnson, yes.
      10            Could you please remain seated,                 10      Q.    Well, here, for instance, you're
      11 Dr. Hopkins, momentarily, while you are administered       11 being paid by both Johnson & Johnson and Johnson &
      12 the oath. If you could remain standing, I'm sorry.         12 Johnson Consumer, Inc., even though you might get
      13 If I said "seated," I apologize.                           13 just one check; fair?
      14            THE CLERK: State your full name and             14      A.    Fair.
      15 spell your last name, please.                              15      Q.    Okay, alright. And what is the rate
      16            THE WITNESS: John Hopkins,                      16 that you are charging them per hour?
      17 H-O-P-K-I-N-S.                                             17      A.    My company bills my time at 300 US
      18 J O H N H O P K I N S,                   SWORN.            18 per hour.
      19            THE COURT: Officer, if you could                19      Q.    Now, you've said your company.
      20 just remove the bible from there.                          20       Your company is a company that you run with
      21            Please be seated. Thank you.                    21 your wife, correct?
      22            MR. PANATIER: And, your Honor, just             22      A.    Yes, and we employ some people as
      23 by way of organization, I have a testimony binder.         23 well, yes.
      24 Can I give this to your Honor?                             24      Q.    Alright. How many people do you
      25            THE COURT: Yes, please.                         25 employ?

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       1      A.     Besides my wife and myself, there's      1      Q.     And they still sell -- they sell it
       2 two full-time and one part-time.                     2 worldwide, correct?
       3      Q.     So the two full-time are you and your    3      A.     Yes.
       4 wife and one part-time?                              4      Q.     Until about the early 1960s, the talc
       5      A.     No. Besides my wife and myself, two      5 that was used in Johnson & Johnson's Baby Powder was
       6 full-time and one part-time.                         6 Italian talc for the most part, right?
       7      Q.     That company is called Innova?           7      A.     Until around about '67, yes.
       8      A.     Innovant Research Limited, yes.          8      Q.     It was Italian?
       9      Q.     Okay. And that is the company that       9      A.     It was from a mine in Italy, yes.
      10 then bills for your time and then pays you?         10      Q.     The Val Chisone region, correct?
      11      A.     Correct.                                11      A.     The Fontana mine in the Val Chisone
      12      Q.     Okay. So, even though you are not       12 region, a particular mine, yes.
      13 currently an employee of Johnson & Johnson, you are 13      Q.     Prior to 1967 or some time in the
      14 the face of Johnson & Johnson at this trial. Do you 14 '30s and '40s, they also used some domestic talcs
      15 understand that?                                    15 and California talc, correct?
      16      A.     I am today, yes.                        16      A.     The only time it used domestic was
      17      Q.     And do you understand that what you     17 during the war when Nazi u-boats were sinking
      18 say are the words of Johnson & Johnson, correct?    18 shipments going from Italy. That was around about
      19      A.     Yes.                                    19 from 1941 to end of '45. So there was that time
      20      Q.     You have served in this capacity on,    20 window when a domestic source was being used.
      21 can we say, numerous occasions now?                 21      Q.     The Nazis were looking for the talc
      22      A.     Yes.                                    22 boats and sinking the talc boats?
      23      Q.     In fact, next week you're going to      23      A.     The Nazis were sinking all boats.
      24 Kentucky to do it again, correct?                   24      Q.     Okay. And they used California talc
      25      A.     Yes.                                    25 during the '40s, correct?
                                                        Page 15                                                       Page 17
       1       Q.    You've already testified this year            1      A.    That is my understanding. A
       2 several times in the same capacity at trial; isn't        2 particular -- I don't know which mine, but a
       3 that true?                                                3 particular California talc was used during the war,
       4       A.    Yes.                                          4 during World War II.
       5       Q.    You have done it last year at trial           5      Q.    Does the Grantham mine, a mine sound
       6 several times, correct?                                   6 familiar to you?
       7       A.    Yes.                                          7      A.    The Grantham mine was a mine that was
       8       Q.    And the year before?                          8 evaluated but never used by Johnson & Johnson in the
       9       A.    Yes.                                          9 1970s. I have no...
      10       Q.    Now, let's talk a little -- let's get        10      Q.    You don't believe Grantham was ever
      11 our bearings a little bit about Johnson & Johnson        11 used prior to --
      12 and baby powder.                                         12      A.    No. There's no evidence whatsoever
      13            Now Johnson & Johnson started selling         13 that Grantham was ever used and it has ever been
      14 baby powder in the 1800s, correct?                       14 used. It was evaluated briefly during the early
      15       A.    18 -- 1894, as I recollect, yes.             15 1970s along with 50 other mines as an alternative
      16       Q.    In fact, they were giving it away in         16 source of domestic talc. None of those were ever
      17 maternity kits, right?                                   17 approved, including the Grantham mine.
      18       A.    Originally, no, it was sold where            18      Q.    Okay. We'll come back to the '40s
      19 they -- a large giant dis-bandage to take away an        19 then. We don't have anybody who was exposed in the
      20 irritation and then later it became a mom's product.     20 '40s here, so we might just address it briefly.
      21       Q.    That's fine.                                 21           After '67, Johnson & Johnson had
      22       At some point early on they were putting the       22 purchased a mine in Vermont, correct?
      23 Johnson's Baby Powder into maternity kits in             23      A.    They did, yes.
      24 hospitals, correct?                                      24      Q.    Well, they purchased it prior to
      25       A.    Yes.                                         25 1967, right?

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                                                         Page 18                                                     Page 20
       1      A.     They did, yes.                                 1      Q.     And in 2012, we all know the Shower
       2      Q.     And they ran --                                2 to Shower product, that was sold by Johnson &
       3      A.     Three or four years before.                    3 Johnson to a company called Valeant, right?
       4      Q.     Okay. And they ran that mine through           4      A.     It was, yes.
       5 a company called Windsor Minerals, right?                  5      Q.     So Johnson & Johnson no longer owns
       6      A.     The company that purchased the mine            6 the Shower to Shower product line, right?
       7 was a subsidiary of Johnson & Johnson. It was              7      A.     Not since 2012, no.
       8 purchased, I think, around about 1964, Windsor             8      Q.     It, obviously, still owns Johnson's
       9 Minerals did. And it was not actually fully                9 Baby Powder, correct?
      10 approved and set in motion as a baby talc source          10      A.     Yes.
      11 until the mid '60s, '67 and it was phased in and          11      Q.     Johnson & Johnson Corporate in New
      12 Italian talc was phased out. But the company that         12 Brunswick made all health and safety policy
      13 owned the mine was a subsidiary called Windsor            13 decisions with regard to asbestos and talc products,
      14 Minerals.                                                 14 correct?
      15      Q.     Right. And Johnson & Johnson used             15      A.     The -- yes, the company in New Jersey
      16 the Vermont sourced talc for its -- all of its            16 is the parent company for all the global companies
      17 domestic talc in the United States from,                  17 made those decisions, yes.
      18 approximately, 1967 or so until 2003; is that             18      Q.     And testing results between Johnson &
      19 correct?                                                  19 Johnson and, for instance, Johnson & Johnson
      20      A.     Correct.                                      20 Consumer, Inc., which I'm just going to call JJCI,
      21      Q.     Alright. Now, there was some overlap          21 test results, health and safety information were
      22 with the Italian talc and the Vermont talc, correct?      22 freely exchanged between those two companies,
      23      A.     Yes. One was phased in and the other          23 correct?
      24 was phased out during the 1967, '68 time frame.           24      A.     I've not seen any evidence that it
      25      Q.     Okay. In 1980 there was a mine                25 was not. So, I guess, the answer is going to be,
                                                         Page 19                                                     Page 21
       1 strike in Vermont, correct?                                1 yes. But I've not seen evidence that anything was
       2      A.    There was. And that was December                2 withheld.
       3 1980 and the mine was closed, so for about three           3      Q.     Right. Because you wouldn't want
       4 months until February '81.                                 4 Johnson & Johnson getting health and safety
       5      Q.    Are you sure it wasn't --                       5 information that was important to the products being
       6      A.    Sorry.                                          6 made and sold by JJCI and not given to them,
       7      Q.    -- December 1979?                               7 correct?
       8      A.    Sorry. December 1979 there was a                8      A.     Correct, yes. Like I say, I've not
       9 mine strike which ran into -- from 1980, January,          9 seen evidence that it was ever -- there was any ever
      10 February, it was sourced from Italy.                      10 data withheld.
      11      Q.    Right. And they went back to the               11      Q.     In fact, the evidence you've seen is
      12 00000 Italian Val Chisone talc?                           12 that any evidence -- any health and safety
      13      A.    Which is the same talc that they were          13 information that Johnson & Johnson had was given to
      14 using in Europe at the same time, yes.                    14 JJCI and vice versa, correct?
      15      Q.    After 2003 all the talc that's been            15      A.     Yes.
      16 sourced for Johnson's Baby Powder and Shower to           16      Q.     Now, you have reviewed many thousands
      17 Shower sold here in the US is China, Guangxi,             17 of documents, correct?
      18 correct?                                                  18      A.     Yes.
      19      A.    There is a mine in China, the Guangxi          19      Q.     And in this litigation, this talc
      20 mine, which is a, like a high grade cosmetic talc,        20 asbestos litigation, you have reviewed, I think,
      21 yes.                                                      21 you've told me, 10 to 15,000 documents?
      22      Q.    Johnson & Johnson owned the Vermont            22      A.     I guess it is, yes, yes.
      23 mine until 1989 when it sold it to a company called       23      Q.     Now, you know that Johnson & Johnson
      24 Cyprus, correct?                                          24 has turned over around a million documents in this
      25      A.    Yes.                                           25 litigation, correct?

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                                                         Page 22                                                   Page 24
       1      A.    So you tell me, yes.                       1       Q.    Okay. And if you can turn please,
       2      Q.    Well, so my question is -- so I'm a        2 sir, to Page 18. Are you there?
       3 lawyer, right? Well, presumably.                      3       A.    We have it, yes.
       4      A.    I'll give you that.                        4       Q.    Alright. On Line 6, starting on
       5      Q.    Okay. I don't work at Johnson &            5 Line 6 you were asked this. "In the year and a half
       6 Johnson as far as you know, do I?                     6 since I first -- or not year and a half. In the
       7      A.    Correct.                                   7 13 months since I first deposed you in August of
       8      Q.    The best person to tell us whether or      8 2017, do you know whether you've looked at all the
       9 not you've looked at all the documents would be       9 documents?"
      10 Johnson & Johnson, right?                            10       Your answer was, "Since 2017 I've looked at
      11      A.    Yes.                                      11 many many thousands of documents, many binders, each
      12      Q.    And that's you?                           12 four or five inches thick.
      13      A.    Yes.                                      13       Okay. And you continue.
      14      Q.    So have you looked at all their           14       I've certainly gone through many, many
      15 documents?                                           15 thousands of documents. I've looked -- have I
      16      A.    I've not looked at a million              16 looked at every one? I don't know. But I've looked
      17 documents. I reckon I've looked at between 10 and 17 at every one that was provided to and by the
      18 15,000, which from my understanding are pertinent to 18 attorneys which were considered relevant to the
      19 the topic we're talking about today; in other words, 19 cases in question."
      20 the documents that support the safety of talc.       20            My follow-up question, "Well, just a
      21      Q.    Now, some of the questions we heard       21 minute ago you said 'hundreds'; is it thousands?
      22 last week of our experts were, they got the          22       Answer: It's many thousands. I can see in
      23 documents from us, from the lawyers, okay.           23 my office several binders. Each may be four inches
      24       Didn't you get the documents from the          24 thick and there are many of those. So it must run
      25 Johnson & Johnson lawyers?                           25 into the thousands, yes."
                                                         Page 23                                                   Page 25
       1      A.     Not necessarily. As part of my job             1           And my last question there. "Did you
       2 when I first joined the company in 1976, I met with        2 receive the binders there from the Johnson & Johnson
       3 the then medical director, Dr. Semple, and he              3 lawyers?
       4 regularly appraised me of the history because I was        4       Answer: Yes."
       5 the only toxicologist outside of the United States.        5           Was that all read correctly?
       6 So I was responsible for Europe. And he apprised me        6      A.    Yes. One does not exclude the other.
       7 of the recent history of talc, talc safety and talc        7      Q.    Let me ask you this question.
       8 issues in the early '70s, late '60s, early '70s.           8       As the person who is the embodiment of
       9 And we went through several binders of documentation       9 Johnson & Johnson here and as the person who has
      10 that Dr. Semple reviewed with me to get me up to          10 done this numerous times over the past couple of
      11 speed. So not all of those, certainly, did not come       11 years, do you have freedom to go through Johnson &
      12 from the attorneys.                                       12 Johnson's database to look at the documents?
      13       I was -- had a whole file of those in my            13      A.    Yes.
      14 office in the UK, right back from the mid '70s.           14      Q.    Okay. And how often have you done
      15      Q.     So, if you will turn -- there is the,         15 that?
      16 I believe, the black notebook there.                      16      A.    Very simply, let's look at this in
      17      A.     Uh-huh.                                       17 the --
      18      Q.     That one should have some of your             18      Q.    Can you answer the question? How
      19 past testimony in it.                                     19 often have you done that?
      20      A.     Okay.                                         20           MS. SULLIVAN: Your Honor, I'm going
      21      Q.     Okay. If you would turn to the page           21 to object to interrupting the witness in the middle
      22 marked 2018-10-23. So they're in date order from          22 of an answer.
      23 earliest to latest and there is a deposition in           23           THE COURT: You can answer the
      24 there that is 2018-10-23.                                 24 question, Dr. Hopkins.
      25      A.     It's in the middle, okay.                     25           THE WITNESS: I will, your Honor,

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                                                         Page 26                                                   Page 28
       1 yes.                                                       1 and there about six or eight people copied in on it.
       2      A.     I have not had the occasion to                 2       Did I get each of those six or eight
       3 because I have many thousands of documents which           3 people's? No, I got one copy and that was identical
       4 together provide me with the data that I need to           4 no doubt to each of the copies that the other six or
       5 answer any question you may have.                          5 eight people got.
       6      Q.     Do you -- I'm sorry, did you say that          6           So we look in a scenario where many
       7 the "many thousand of documents" you looked at have        7 of those 990,000 or whatever it may be are totally
       8 given you the information to answer all the                8 redundant. They're duplicates.
       9 questions I might have?                                    9      Q.     If you haven't looked at them, how
      10      A.     That is my understanding, yes. I'm            10 can you testify to this jury that they're
      11 not aware --                                              11 "duplicates"?
      12      Q.     How do you know that?                         12      A.     What I can say is that if you look at
      13      A.     Because the documentation I have is a         13 any of those documents in here, you will see that
      14 very complex and full record and story that tells         14 there's half a dozen, six, eight, ten different
      15 that the story of the evaluation of talc, all the         15 people copied in on the same document. Each of
      16 various experts who are looking at it, the                16 those people will have had their own file and that
      17 correspondence with the Food and Drug Administration      17 can well be part of your million documents.
      18 here in the United States.                                18       What I'm saying is that the 10 or 15,000
      19       I have a -- I have binders and binders of           19 that I have reviewed provides me with enough
      20 these in my office in the UK. I don't think there's       20 information to answer any question you may have.
      21 any more that I don't have.                               21      Q.     I'm sure there are some duplicates.
      22      Q.     Okay. Do you even know whether you            22 You and I have probably looked at duplicates before,
      23 looked at 1 percent of all the documents that have        23 right?
      24 been turned over by Johnson & Johnson in this             24      A.     Yeah. There's often ten people
      25 litigation?                                               25 copied in on the same document.
                                                         Page 27                                                   Page 29
       1      A.     I believe I've looked at -- I say              1      Q.     Is it your testimony here under oath
       2 between 10 and 15,000, which I don't know what             2 that the other 990,000 documents are all duplicates
       3 percent that is, because I don't know whether that         3 of the first 10,000?
       4 million that you talk about are even relevant. They        4      A.     The answer is, I do not know. What I
       5 may be comments from someone. I visited someone            5 have told you is of the 10 or 15,000 --
       6 last week and this is what we talked about. I don't        6            MR. PANATIER: Your Honor, I'm just
       7 know that's relevant. That could be part of the            7 going to object to nonresponse. He answered but he
       8 million.                                                   8 did not --
       9           What I am saying is that the 10 to               9            MS. SULLIVAN: Your Honor, I'm going
      10 15,000 that I've looked at provide me with the            10 to object to the objection, to the interruption.
      11 evidence to say this product is safe and I can            11 Also, this has been covered.
      12 answer any question you may have.                         12            THE COURT: Let's move on. Thank
      13      Q.     Well, first of all, 10,000 documents          13 you.
      14 would be 1 percent of a million, right?                   14 BY MR. PANATIER:
      15      A.     Yeah.                                         15      Q.     Let me ask you this question.
      16      Q.     Okay. And how can you know whether            16       Has Johnson & Johnson put all of those
      17 or not the other 990,000 documents are relevant, if       17 documents on-line for the public to see?
      18 you haven't looked at them?                               18      A.     I don't know.
      19      A.     Well, like I say, if you have a               19      Q.     You don't know?
      20 situation where you've got the information, I have        20      A.     I mean, you have documents that
      21 the information. Getting duplicates or replicates         21 are -- many are attorney/client privileged, you'll
      22 of the same ones from -- where three or four people       22 have copies of those. If you've been given a
      23 or five or six people are copied in, do I get all of      23 million documents, then you have those. And they're
      24 their individual copies? If one suffices. Because         24 between you and the company.
      25 that's very often the case, that you send a document      25      Q.     So you don't know if the documents

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       1 have been put on-line by Johnson & Johnson's for all 1       A.     You have, yes. You have, yeah.
       2 people to see?                                        2      Q.     And Johnson & Johnson was aware of
       3      A.     I don't know whether they have or         3 asbestos disease going back to the turn of the last
       4 whether they have not. What I can say is that I       4 century, correct?
       5 have read probably between 10 and 15,000, which are 5        A.     When you say, "Johnson & Johnson,"
       6 pertinent to the topic we're talking about. Whether   6 there are no doubt people in the medical department
       7 the other --                                          7 who got a medical training or a toxicology training
       8      Q.     I'm not asking you about that             8 who worked in the medical department who would have
       9 anymore. Now I'm asking you about something           9 knowledge of asbestos toxicology --
      10 specific.                                            10      Q.     Sure. And Johnson & Johnson --
      11            You don't know whether or not Johnson     11      A.     -- whenever -- worldwide.
      12 & Johnson has put those documents on-line for all to 12      Q.     Yes. And Johnson & Johnson was aware
      13 see, do you?                                         13 that in the 1930s, asbestos was associated with
      14      A.     No.                                      14 cancer, correct?
      15      Q.     Because we have heard that -- you        15      A.     I'm sure there were individuals in
      16 know Ms. Sullivan, right, correct?                   16 the medical department who would have that knowledge
      17      A.     Yes, I know Ms. Sullivan.                17 as part of their medical training.
      18      Q.     Ms. Sullivan has put you on the stand    18      Q.     And you've testified before, sir,
      19 before, correct?                                     19 that the knowledge of asbestos inhalation as a cause
      20      A.     Yes.                                     20 of lung cancer and mesothelioma was known way before
      21      Q.     Did Ms. Sullivan tell you that she       21 1968, correct?
      22 told this jury that Johnson & Johnson's documents    22      A.     Yeah, as a toxicologist, you're
      23 were free for all to see on-line? Did you even know 23 taught that people who worked in World War I and gas
      24 that that existed?                                   24 mask manufacturing, it was not a healthy profession.
      25      A.     No.                                      25      Q.     Okay. But it wasn't just "gas
                                                       Page 31                                                  Page 33
       1      Q.     To the extent that it does, can you     1 masks," was it?
       2 tell us when they put them on-line?                 2       A.    Well, that was -- I gave that as one
       3      A.     Well, like I say, you're telling me     3 example of why people are aware that asbestos is not
       4 or asking me something that I do not have knowledge 4 a healthy material.
       5 of. So I cannot answer that question.               5       Q.    Johnson & Johnson being already a
       6      Q.     Johnson & Johnson had a big medical     6 large company in the 1960s was well aware of the
       7 library, right?                                     7 hazard of asbestos, correct?
       8      A.     They had a library, yes, certainly,     8       A.    I'm sure that there were one or two
       9 when I was working there.                           9 medically qualified individuals, as we said, in the
      10      Q.     They had subscriptions to journals     10 medical department who would have had that
      11 like Journal of the American Medical Association,  11 knowledge. Johnson & Johnson has not been in the
      12 right?                                             12 asbestos business, so it would not be widely
      13      A.     We did, yes.                           13 disseminated throughout the whole company.
      14      Q.     New England Journal of Medicine        14       Q.    Well, Johnson & Johnson has patented
      15 right?                                             15 asbestos containing products, correct?
      16      A.     Uh-huh, yep.                           16       A.    An individual has patented, I
      17      Q.     The Lancet --                          17 believe, it was an ironing board cover, which was --
      18      A.     Yes.                                   18 -- yeah, or something like that, but it was not part
      19      Q.     -- right?                              19 -- it was never sold. The company has not sold
      20       The New York Academy of Sciences, correct? 20 asbestos products.
      21      A.     Probably, yes. I can't remember that   21       Q.    You and I have gone through about
      22 one but, yes.                                      22 four patents that Johnson & Johnson patented
      23      Q.     And I'll tell you for most of these,   23 asbestos-containing products before, have we not?
      24 if you want to see your testimony, I've asked you  24       A.    We have and there were people in the
      25 these questions before.                            25 surgical dressings division who were looking at

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       1 asbestos materials as heat resistant, yes.              1       Your answer, "Yes."
       2       Q.     Now, let's talk about baby powder.         2       "I mean, it happens?"
       3        Johnson & Johnson understands -- first of        3       Your answer, "It happens, yes."
       4 all, talc is a mineral, is it not?                      4       Do you still agree with your prior
       5       A.     Talc is a mineral. It's mined out          5 testimony?
       6 the ground, yes.                                        6      A.     Yes, that's what I said. It's a
       7       Q.     Correct. And Johnson & Johnson,            7 possibility.
       8 actually, had their own mine and they mine and they     8      Q.     By the way, that was the Herford
       9 mined it out of the ground, correct?                    9 case, right?
      10       A.     They did, yes.                            10      A.     Yeah, probably.
      11       Q.     Okay. Baby powder, when it is used        11      Q.     If you could just look at the cover
      12 on a baby, okay, that baby will inhale some of that    12 page.
      13 talc, correct?                                         13      A.     Yes.
      14       A.     It's theoretically possible. If you       14      Q.     Sir --
      15 put the powder on your hand and run it on baby's       15      A.     Yes.
      16 bottom, it's theoretically possible.                   16      Q.     -- baby powder is an extremely dusty
      17       Q.     Will you turn please, sir, to the tab     17 product, correct?
      18 that is 2017, 8/15. It should be the first tab.        18      A.     I disagree. It's not "dusty." You
      19              Because, sir, it's not                    19 put it on your hands, it spreads all over your skin.
      20 "theoretically possible," right, it happens,           20 It doesn't -- you're not getting clouds of dust.
      21 correct?                                               21      Q.     So, for any of us who have done this
      22       A.     Show me where you're referring.           22 with a squeeze, that squeezing motion --
      23       Q.     Page 66.                                  23      A.     You're not meant to do that. You're
      24             MS. SULLIVAN: I'm sorry, which page?       24 meant to put it on your hand and spread it on the
      25             MR. PANATIER: I'm sorry, hold on one       25 kin.
                                                      Page 35                                                      Page 37
       1 second.                                               1      Q.    Oh, does the bottle say, don't
       2 BY MR. PANATIER:                                      2 squeeze it?
       3      Q.     It is going to be Page 67, sorry,         3      A.    The bottle tells you how to use it.
       4 bottom of the page, Line 25.                          4 The bottle tells you to put it on your hands and
       5      A.     Sorry. Would you give me the              5 spread it over baby's -- baby's bottom and legs.
       6 reference again?                                      6      Q.    So, for any of us who might have seen
       7      Q.     Yes, sir.                                 7 dust come out, were we hallucinating?
       8      A.     2017...                                   8           MS. SULLIVAN: Objection, your Honor,
       9      Q.     This is 2017, 8/15, August 15, 2017.      9 argument, lawyer argument.
      10 That's when I came to London to take your            10           THE COURT: Please rephrase.
      11 deposition. Do you remember that?                    11 And no speaking objections, thank you.
      12      A.     Yes. So Page 60...                       12 BY MR. PANATIER:
      13      Q.     Seven.                                   13      Q.    Sir -- sir, are you saying -- let's
      14      A.     We have that, yes.                       14 go back to the initial question. We're in 2017.
      15      Q.     Okay. Down at Line 25. Sir --            15 You said, yes, a child will inhale some of the talc,
      16 sorry, have you found it?                            16 right?
      17      A.     Yes.                                     17      A.    Yes.
      18      Q.     "Sir, Johnson & Johnson has              18      Q.    Do you still agree with that?
      19 understood for decades that when talc powder is used 19      A.    We breathe in dust from the
      20 on an infant or a child, they will inhale some of    20 atmosphere in this room. Whether it's talc or
      21 the talc into their lungs?"                          21 whatever, we can still inhale. We inhale. We
      22       Your answer, "there is always the              22 exhale. That's what we do.
      23 possibility when talc is used, we will inhale talc." 23      Q.    I'm not talking about dust in this
      24       My question, "and it's not really a            24 room. I'm talking about Johnson's Baby Powder,
      25 possibility, right?"                                 25 right?

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       1       A.    Yes.                                      1      Q.     Do you remember that in October of
       2       Q.    Okay. So let's stick to the product       2 2018 you and I went through a series of documents
       3 that your company made.                               3 about Baby Center where Johnson & Johnson was,
       4            When a parent or a sibling or              4 actually, talking about posting content on
       5 somebody in the family powders a child, a baby from 5 BabyCenter.com? Do you remember that?
       6 birth until whenever they're diaper trained,          6      A.     No, you'd need to remind me. What
       7 diaper -- potty trained or out of diapers whether     7 I've said, I believe in 2018, was that Johnson &
       8 it's age two or three or whatever, whenever they are  8 Johnson doesn't have the responsibility for the text
       9 powdered, they breathe in some of that talc, do they  9 that goes on to that domain name.
      10 not, sir?                                            10      Q.     Johnson & Johnson owns it, right?
      11       A.    We all do, yes.                          11      A.     They own the domain name, but not the
      12       Q.    The baby does?                           12 content. The content is written by people who are
      13       A.    The baby does, adults do, yes.           13 not part of Johnson & Johnson.
      14       Q.    Anybody who is powdered with             14      Q.     Right. And you and I talked about
      15 Johnson's Baby Powder, especially, as a child, is    15 this?
      16 going to breathe in some of that dust, are they not? 16      A.     We did. And I tried to make that
      17       A.    Yeah, we breathe in, we breathe out,     17 clear. It is -- what goes on to that website is not
      18 yes.                                                 18 the responsibility of Johnson & Johnson. It's done
      19       Q.    Alright. Johnson & Johnson               19 by outside group.
      20 understood that it would be very, very bad for       20      Q.     Johnson & Johnson owns and controls
      21 business and J&J's representation if it ever came    21 the website, correct?
      22 out that baby powder or any of its talc products     22      A.     They own the domain name. They do
      23 ever contained asbestos, correct?                    23 not control what goes onto that website.
      24       A.    If the baby powder did contain           24      Q.     They own it but they have no control
      25 asbestos, it would be bad for business, if it did,   25 on what goes on the website?
                                                       Page 39                                                       Page 41
       1 yes.                                                     1      A.     Sounds crazy. That's my
       2       Q.     Now, it's still your testimony here         2 understanding, that they own the domain name but
       3 almost two years after I first took your deposition      3 they do not control what goes onto the website.
       4 that there has never been any asbestos in Johnson's      4      Q.     I agree with you, it does sound
       5 Baby Powder, right?                                      5 crazy. Because you're saying --
       6       A.     Not in the baby powder that's sold,         6           MS. SULLIVAN: Objection, your Honor,
       7 no, no.                                                  7 lawyer argument.
       8       Q.     Was it in the baby powder that wasn't       8           MR. PANATIER: It does sound crazy.
       9 sold?                                                    9           THE COURT: Objection sustained.
      10       A.     No, not in the baby powder, no.            10           No speaking objections. That's the
      11       Q.     Okay. Sir, isn't it true that              11 second time.
      12 Johnson & Johnson knows that baby powder shouldn't      12 BY MR. PANATIER:
      13 be used on children at all?                             13      Q.     Dr. Hopkins, your testimony to this
      14       A.     I don't agree with that.                   14 jury is that Johnson & Johnson -- by the way, this
      15       Q.     Now, Johnson & Johnson owns a website      15 is a huge company, right, everybody knows that?
      16 called BabyCenter.com, right?                           16      A.     Yes.
      17       A.     There is a website which is not --         17      Q.     Okay. That Johnson & Johnson owns a
      18 it's not -- the web -- the web -- the link and the      18 website domain name and they conceded all control of
      19 web domain name is owned by Johnson & Johnson.          19 that domain name to somebody else; is that correct?
      20       Q.     Johnson & Johnson owns and runs            20      A.     I've not seen the terms of the
      21 BabyCenter.com, right?                                  21 agreement. But what I do know is that the content
      22       A.     It does not run it. It is -- it's          22 of what is written on that website is not approved
      23 run by a separate independent group. It's not part      23 or disapproved by Johnson & Johnson. They don't
      24 of Johnson & Johnson. They own the domain name, but     24 take responsibility for what is written on that
      25 they have no --                                         25 website.

                                                                                    11 (Pages 38 - 41)
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                                                          Page 42                                                   Page 44
       1      Q.     Let's take a look at BabyCenter.com.            1 "non-detect" means.
       2            MS. SULLIVAN: Your Honor, based on               2           MS. SULLIVAN: Objection, your Honor.
       3 the testimony, objection as to hearsay.                     3           THE COURT: Overruled.
       4            THE COURT: I'm going to allow him to             4      Q.    There shouldn't be any asbestos in
       5 try to establish foundation for it.                         5 baby powder, period, correct?
       6            Go ahead.                                        6      A.    Yes.
       7            MR. PANATIER: We'll get the                      7      Q.    It should be asbestos-free, correct?
       8 document. We'll move ahead and do that.                     8      A.    Yes.
       9            THE COURT: Okay.                                 9      Q.    "Asbestos-free" means zero, correct?
      10 BY MR. PANATIER:                                           10      A.    Yes.
      11      Q.     We'll come back to Baby Center, okay.          11      Q.    As you have said before, any amount
      12            We can bookmark this with this                  12 of tremolite in the form of asbestos, quote, "those
      13 question.                                                  13 needles," like you say, any amount is not allowed,
      14            Johnson & Johnson, certainly, doesn't           14 correct?
      15 put on its baby powder or any of its talc a warning        15      A.    Tremolite -- I know what I said.
      16 that says, this may contain asbestos, does it?             16 Tremolite asbestos is not allowed. Tremolite is a
      17      A.     No, it doesn't.                                17 relatively harmless mineral in its block or rock
      18      Q.     It doesn't put a warning on it that            18 form.
      19 says, do not use on babies?                                19      Q.    You have stated before that asbestos
      20      A.     No, it doesn't.                                20 in the form of needles such as tremolite shouldn't
      21      Q.     Right. Because it's, specifically,             21 be in the baby powder?
      22 marketed for babies, right?                                22      A.    Asbestos should not be in baby
      23      A.     Yes.                                           23 powder. Tremolite can occur -- most tremolite
      24      Q.     Johnson & Johnson has always stated            24 occurs in the form of a nonasbestos form or rod
      25 that it has a zero tolerance policy for asbestos,          25 form.
                                                          Page 43                                                   Page 45
       1 correct?                                                    1      Q.    Has Johnson & Johnson always
       2       A.    Yes.                                            2 internally believed in a zero tolerance policy for
       3       Q.    And Johnson & Johnson has always told           3 asbestos?
       4 the public that there's never been a single fiber of        4      A.    That is my understanding, yes.
       5 asbestos in any of its talc for Johnson's Baby              5      Q.    You agree any asbestos in baby powder
       6 Powder or Shower to Shower, correct?                        6 is too much?
       7       A.    Yes.                                            7      A.    Yeah, that's what we just said, yes.
       8       Q.    It told that to customers, nurses,              8      Q.    The reason is that no mother or
       9 doctors and regulators and hospitals, correct?              9 father would ever buy any baby powder if it even had
      10       A.    Yes.                                           10 one fiber of asbestos in it, correct?
      11       Q.    Johnson & Johnson has stated that              11      A.    Well, you're asking me to speculate.
      12 there should never ever ever be asbestos in baby           12 But if the product had asbestos in it, I wouldn't
      13 powder, not a single fiber, zero, correct?                 13 buy it.
      14       A.    I can't remember the exact                     14      Q.    Right.
      15 phraseology, but the principle is the same. I'll           15           And Johnson & Johnson's expectation
      16 agree with the principle, correct.                         16 would be that no one else would buy it either,
      17       Q.    Well, okay. And just to separate               17 right?
      18 that out, Johnson & Johnson agrees today now in 2019       18      A.    Well, it's speculative, but it's a
      19 that baby powder should never have any asbestos in         19 reasonable speculation.
      20 it, correct?                                               20      Q.    And Johnson & Johnson knows that
      21       A.    Yes.                                           21 asbestos in its talc could make people sick because
      22       Q.    That means zero asbestos, correct?             22 Johnson & Johnson knows that asbestos is a
      23       A.    Yeah, it's non-detected. You can't             23 carcinogen and causes mesothelioma, correct?
      24 find it. There's none there, yes.                          24      A.    Several questions there.
      25       Q.    We're going to get into what                   25           Asbestos causes -- can cause

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                                                     Page 46                                                Page 48
       1 mesothelioma, correct, yes.                           1     A.     Yeah. That's what I said five
       2      Q.     Well, let's just go to -- go to           2 minutes ago.
       3 8/15/17, it's the first one, Page 33.                 3     Q.     You said -- when I asked you the
       4           MS. SULLIVAN: What line, Counsel?           4 question, you said, yes, asbestos is a carcinogen.
       5           MR. PANATIER: Give me a second.             5 This was a slightly different question, but we can
       6 BY MR. PANATIER:                                      6 move on.
       7      Q.     Okay. First of all, Johnson &             7      Johnson & Johnson knows there is no safe
       8 Johnson agrees asbestos is a carcinogen, correct?     8 level of asbestos exposure, correct?
       9      A.     Yes.                                      9     A.     Scientists have not shown a safe
      10      Q.     And Johnson & Johnson agrees that no     10 level. So, yeah, I would not disagree.
      11 carcinogen should be contained in the Johnson's Baby 11     Q.     There is no known safe level of
      12 Powder, correct?                                     12 asbestos exposure, especially, for children,
      13      A.     Yes.                                     13 correct?
      14      Q.     Okay. Go to 4/11/2018 on Page 108.       14     A.     Again, same answer. There's no -- no
      15 Are you there?                                       15 evidence to say otherwise, so we'll assume it's
      16      A.     Yes.                                     16 correct.
      17      Q.     Okay. On Line 18, you were asked         17     Q.     Well, in fact, your answer, if you
      18 this question.                                       18 could go right below on Page 108, you were asked
      19           MS. SULLIVAN: Objection, your Honor, 19 this question. "Okay, and Johnson & Johnson knows
      20 in terms of the procedure. This is not (INAUDIBLE). 20 there's no safe level of asbestos exposure,
      21 I'm not sure --                                      21 especially for children, correct, sir?"
      22           MR. PANATIER: It is.                       22            And your answer was again, "There is
      23           THE COURT: Sidebar.                        23 no known safe level," correct?
      24           (Sidebar.)                                 24     A.     Yes. That's what I said.
      25           THE COURT: Okay. Page, what are            25     Q.     And then the followup question was,
                                                     Page 47                                                Page 49
       1 we --                                                1 "That's right, especially, for children, correct?"
       2            MR. PANATIER: 108, Line 18 through        2      And you said, "yes," correct?
       3 22. This is the exact question I asked him before    3      A.    That's right. That's what I agree,
       4 and he didn't answer. He said, I agree it's a        4 yeah.
       5 carcinogen, but that's not the question. He said, I  5      Q.    Alright. Johnson & Johnson
       6 agree it's a carcinogen --                           6 understands that if you had just 1 percent by weight
       7            THE COURT: Well, this time the same       7 of asbestos in a four-ounce bottle of the Johnson's
       8 question. You said it's a compound question. So      8 Baby Powder, you don't know if it would be trillions
       9 I'll allow it. Go ahead.                             9 or millions or billions of fibers, but it would be a
      10            MR. PANATIER: Thank you, your Honor. 10 very large number, correct?
      11            MS. SULLIVAN: Thank you.                 11      A.    Yes.
      12            (Sidebar ends.)                          12      Q.    In eight ounces of Johnson's Baby
      13 BY MR. PANATIER:                                    13 Powder there would be tens to hundreds of trillions
      14       Q.     Doctor, you were asked this question,  14 of particles, correct?
      15 "Johnson & Johnson knows that asbestos in its talc  15      A.    I don't think anyone has ever counted
      16 could make people sick because Johnson & Johnson 16 them. But you could estimate that would be many,
      17 knows asbestos is a carcinogen and can cause        17 many trillions, yes.
      18 mesothelioma?"                                      18      Q.    Okay. And we can look at your
      19            And what was your answer?                19 testimony from 2017 --
      20       A.     What page are you on, again?           20      A.    Yeah.
      21       Q.     Same Page, 108.                        21      Q.    -- but, I believe, you said there
      22       A.     108. Beg your pardon, I was on a       22 could be tens to hundreds of trillions of particles?
      23 different page.                                     23      A.    Yes.
      24       Q.     Line 18 through 22. Your answer was,   24      Q.    Okay. And if we just wanted to get
      25 "That is correct."                                  25 an understanding of what that would mean in terms of

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                                                        Page 50                                                       Page 52
       1 how much asbestos was present, you and I did this         1             THE COURT: You may proceed.
       2 calculation.                                              2 BY MR. PANATIER:
       3       If you had .00001 percent chrysotile and            3       Q.     Dr. Hopkins, do you see this document
       4 there are only a trillion particles in the whole          4 from 1955 where -- let me zoom in on this a little
       5 bottle, not tens or hundreds, you would still have        5 bit. It's from W.B. Birchfield. "You recently
       6 10 million fibers per container, correct?                 6 asked Mr. Quackenboss" -- that's a name -- "what we
       7      A.     That's the math, yes.                         7 were doing along the lines of providing educational
       8      Q.     Okay. Alright. Do you know whether            8 material to clinics conducting new mother classes.
       9 or not Johnson & Johnson has put together an              9 In addition to rather extensive use of our bathing
      10 official good rocks, bad rocks company policy?           10 time for baby film, we have been providing
      11      A.     I've not seen any such company               11 quantities of a special occasional chart, a sample
      12 policy. The company policy is very clear on the          12 of which is attached. This chart was first produced
      13 quality of talc and what specification a talc must       13 in early 1954 and has been reprinted several times.
      14 meet, absence of asbestos minerals.                      14 It is authentic and has enjoyed wide acceptance,
      15      Q.     Is there a good rocks, bad rocks list        15 okay."
      16 that they keep?                                          16        So have you seen this now?
      17      A.     I've not seen such a document that's         17       A.     Yes.
      18 kept.                                                    18       Q.     Okay. Now, do you know when, for
      19      Q.     Alright. So Johnson & Johnson                19 instance, do you know when Mr. Etheridge was born,
      20 understood, of course, that not only would parents       20 David Ethridge?
      21 be diapering their children, but that siblings would     21       A.     I don't.
      22 help out, too, correct?                                  22       Q.     Do you know who that is?
      23      A.     Well, that's speculation. I don't            23       A.     I believe it's one of the -- your
      24 ever recollect my kids diapering their younger           24 Plaintiffs.
      25 brothers and sisters, but maybe some people do.          25       Q.     Right.
                                                        Page 51                                                       Page 53
       1      Q.     If you would turn please, sir, to --          1      A.     Clients, yes.
       2 in the exhibit binder there, it should be                 2      Q.     And you understand he has
       3 chronological and you should be looking for a             3 mesothelioma?
       4 document that is -- the tab should say "1955" on it.      4      A.     I do, yes.
       5 And you've already turned one tab, sir, so you might      5      Q.     Do you know when his sister started
       6 be missing it. Is that it?                                6 powdering him?
       7      A.     Yes.                                          7      A.     I do not.
       8      Q.     1955, February 22nd?                          8      Q.     So let's take a peak at one of these
       9      A.     Yeah. Yeah.                                   9 brochures. You can see that they have a "How a Baby
      10      Q.     Okay. Do you see that that is a              10 Grows" brochure. Do you see that?
      11 document dated February 22, 1955 on Johnson &            11      A.     I do, yes.
      12 Johnson letterhead?                                      12      Q.     And then if you turn the page,
      13      A.     It is.                                       13 there's this document "How to Bathe a Baby." Do you
      14      Q.     Okay.                                        14 see that?
      15            MR. PANATIER: Your Honor, I offer             15      A.     Yes.
      16 this into evidence as Plaintiffs Exhibit 3695-8.         16      Q.     We can zoom in a little bit on it.
      17            MS. SULLIVAN: Your Honor, just a              17 And you see it looks like a mother and older
      18 second, please.                                          18 daughter, right?
      19      A.     Okay.                                        19      A.     Yeah, it looks 17, 18, yeah, yeah.
      20            THE COURT: Hold on.                           20      Q.     Well, look just right here. "A
      21            MS. SULLIVAN: No objection, your              21 visual chart for students who have baby brothers and
      22 Honor.                                                   22 sisters at home or who serve as mother's helper or
      23            THE COURT: So admitted.                       23 babysitters or for those who are studying childcare
      24           (Plaintiff's Exhibit 3695-8 was moved          24 or may soon start families of their own."
      25       into evidence.)                                    25            So Johnson & Johnson certainly

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       1 understood that brothers and sisters might be            1      Q.    Okay. Because I just want to be
       2 helping out mom, right? Right, I mean, this is --        2 clear. The word "brothers and sisters" is on this
       3      A.     Well, it talks -- it talks about             3 document, right?
       4 those who are about to start families of their own       4      A.    Yes.
       5 so -- yeah.                                              5      Q.    Okay. So it wouldn't be speculation
       6      Q.     Well, that's the last part.                  6 to say that brothers and sisters would help out at
       7      A.     But the photograph you're hiding             7 home because Johnson & Johnson published a document
       8 there is just -- if you can move it along, the jury      8 called "How to Bathe a Baby" that deals,
       9 can see it, is a girl who is maybe an older brother      9 specifically, with brothers and sisters helping out
      10 or older sister, but she looks about 16, 17.            10 at home, right?
      11      Q.     Okay. Well, I'm not an expert in            11      A.    Yeah. On the picture they show is a
      12 dating people.                                          12 girl who looks like 17.
      13            But what it says is that it's a              13      Q.    Is Johnson & Johnson saying there's a
      14 visual chart for students who have baby brothers and    14 cutoff age?
      15 sisters at home, does it not?                           15      A.    No. The picture they show and that
      16      A.     Yes, for students, yeah.                    16 they talk about students and childcare, it is of
      17      Q.     Or who serve as mother's helpers or         17 that age. They are not saying here's, you know,
      18 babysitters or for those who are studying childcare,    18 here's something for a four-year old, go and bathe
      19 right?                                                  19 or diaper your two-year old brother. It's a picture
      20      A.     Yes.                                        20 of a girl who is in her teens and they talk about
      21      Q.     It's not just for students, it's for        21 students getting into childcare.
      22 brothers and sisters as well as, correct?               22      Q.    They talk about a number of different
      23      A.     Those who are studying childcare,           23 scenarios, right?
      24 yes.                                                    24      A.    But the theme here is about older
      25      Q.     Okay.                                       25 children.
                                                       Page 55                                                    Page 57
       1      A.     Like I say, the picture typifies a        1      Q.    Does it say "older children"?
       2 typical teenager who's maybe learning not baby care, 2       A.    Well, the picture is clearly one of a
       3 childcare.                                            3 17-year-old, 16 or 17-year-old.
       4      Q.     Sure. And she's got a bottle of           4      Q.    How old was Linda Etheridge when she
       5 something in her hand, right?                         5 started powdering David Etheridge?
       6      A.     Yes.                                      6      A.    I don't know.
       7      Q.     Okay. Let's go over to this little        7      Q.    Have you read any of the depositions
       8 square up at the top. You see, "place bath needs      8 of the actual people that are involved in this case?
       9 within reach," and you see the fourth one to the      9           MS. SULLIVAN: Objection to the form.
      10 last is "baby powder," right?                        10 Sorry.
      11      A.     Yes, uh-huh.                             11           THE COURT: Overruled.
      12      Q.     And then if we go down to the            12           You can answer.
      13 bottom -- I turned up the brightness on this thing.  13 BY MR. PANATIER:
      14 Let me see if I can. There we go. There we go.       14      Q.    Have you read any of the depositions
      15            And do you see where it says,             15 of Mr. Etheridge, his sister, have you read those?
      16 "Sprinkle baby powder on cotton ball, pat lightly    16      A.    No.
      17 over large areas of body," right?                    17      Q.    What about -- what about the
      18      A.     Yes.                                     18 Ronnings?
      19      Q.     So, as of 1955, Johnson & Johnson        19      A.    No.
      20 understands that brothers and sisters are going to   20      Q.    How about the Bardens?
      21 help out diapering, bathing the children, correct?   21      A.    No.
      22      A.     Well, as you say, in the very first      22      Q.    What about the D'Angela McNeill and
      23 paragraph, it talks about students, people who were 23 her brother and her mother?
      24 going into childcare or child baby care management 24        A.    No.
      25 who could well be brothers and sisters.              25      Q.    If you'll turn to -- it should be --

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       1 here you go, 2003, which I think is in Binder 4.     1 document.
       2 I'll bring you Binder 4.                             2           THE COURT: Okay. Sidebar.
       3            MR. PANATIER: And, your Honor, I'll       3           (Sidebar.)
       4 bring you Binder 4 as well. There it is, your        4           MS. SULLIVAN: Your Honor, I object
       5 Honor.                                               5 on hearsay. It's from a public relations firm. It
       6            THE COURT: Thank you, very much.          6 doesn't have a J&J Bates number on it. The
       7            MR. PANATIER: Sure.                       7 changeovers --
       8 BY MR. PANATIER:                                     8           MR. PANATIER: The native Power
       9       Q.    Do you need help finding that one?       9 Points when they produced them natively, so this is
      10       A.    2003?                                   10 the actual file.
      11       Q.    2003.                                   11           THE COURT: Wait. What do you mean
      12       A.    Yes.                                    12 by "native"?
      13       Q.    That's all it says. That's it right     13           MR. PANATIER: So they produce
      14 there. That's it right there.                       14 documents in two ways. One is like when you've seen
      15            Sir, do you see that this is a           15 a document like the previous one where they put a
      16 presentation, "reactive usage for oil and powder of 16 Bates Stamp on it. "Native" means instead of
      17 Johnson's Baby Powder, a beauty essential"? Do you 17 producing a printout, they produced the actual Power
      18 see that?                                           18 Point and the file has the Bates Stamp that was
      19       A.    Yes.                                    19 produced by Johnson & Johnson in this case. Counsel
      20       Q.    Let me ask you this.                    20 knows that. It is a Johnson & Johnson document.
      21        Johnson & Johnson understood that people     21           MS. SULLIVAN: It's a public
      22 would also sprinkle baby powder on the sheets of    22 relations worldwide document. I object on hearsay.
      23 their bed, correct?                                 23           MR. PANATIER: They have documents
      24       A.    That's what -- yeah, I've heard that.   24 that they have produced by third parties all the
      25 I've never heard of anyone doing it but, yeah.      25 time. The documents are full of those. This is a
                                                        Page 59                                                       Page 61
       1      Q.     Do you know whether or not D'Angela           1 Johnson & Johnson document. If Counsel is making a
       2 McNeill did it?                                           2 representation that it's not Johnson & Johnson --
       3      A.     I don't, no.                                  3            MS. SULLIVAN: I'm not saying -- if
       4      Q.     So go ahead and turn --                       4 you're representing we produced it, I have no
       5            MR. PANATIER: Oh, your Honor, this             5 evidence to dispute it, except I don't see a Bates
       6 is Exhibit 3695-15. And we offer it into evidence.        6 number. But it's clearly not their document.
       7            MS. SULLIVAN: No objection.                    7            MR. PANATIER: They contract with
       8            THE COURT: I'm sorry?                          8 third parties all the time to produce information
       9            MS. SULLIVAN: No objection, your               9 for them. That's what this is.
      10 Honor.                                                   10            THE COURT: Okay. I just need -- if
      11            THE COURT: So admitted.                       11 Counsel is asserting that this was not produced by
      12            (Plaintiff's Exhibit 3695-15 was              12 Johnson & Johnson, I just need the authentication.
      13 moved into evidence.)                                    13            MR. PANATIER: I'll get the Bates
      14      Q.     If you will turn to the last page,           14 Stamp and come back to it. That's fine.
      15 sir. It says, "reactive usage for oil and powder         15            MS. SULLIVAN: And, your Honor, I
      16 alternative uses for Johnson's powder."                  16 just ask that he point out that this is from a
      17            THE COURT: Counsel, the word is not           17 public relations. This is really misleading to say
      18 "reactive."                                              18 it's Johnson & Johnson. He should say it's public
      19            MS. SULLIVAN: I apologize, your               19 relations.
      20 Honor. I didn't realize this is not a J&J document.      20            THE COURT: If Johnson & Johnson
      21            MR. PANATIER: Oh, I'm sorry,                  21 hired PR firms to prepare advertisements for them
      22 "reactivate."                                            22 whether it be TV, print, et cetera, then I just need
      23            MS. SULLIVAN: I do object --                  23 the foundation on that. I need the authentication
      24            THE COURT: Hold on.                           24 on that and then you can use it.
      25            MS. SULLIVAN: -- this is not a J&J            25            Alright. Do you have it?

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                                                       Page 62                                                   Page 64
       1           MR. PANATIER: Yes. But we are going            1 descriptor, but it doesn't mean it's harmful.
       2 to have to pull it up, because we didn't think that      2           MR. PANATIER: Your Honor, I would
       3 they were going to object to their own document.         3 move to strike everything after the initial answer
       4 But we'll have to pull up the file --                    4 as non-responsive. He's opining on whether or not
       5           THE COURT: You can take that up on             5 it's harmless --
       6 cross-examination.                                       6           THE COURT: Objection is sustained.
       7           So do you have it or do you want to            7 Jury will disregard anything after the initial
       8 move and --                                              8 response.
       9           MR. PANATIER: Well, we'll have to --           9           Continue.
      10 we'll have to look it up.                               10           MR. PANATIER: Thank you, your Honor.
      11           THE COURT: Okay. Fine. Thank you.             11 BY MR. PANATIER:
      12           (Sidebar ends.)                               12       Q.   Sir, if you'll go ahead and turn to
      13 BY MR. PANATIER:                                        13 the depositions' notebook there to 2017, 8-17, so
      14      Q.     Alright, let me ask you this                14 August 17, 2017. Okay.
      15 question: Johnson & Johnson hired PR firms to put       15       A.   What page?
      16 together information for them, correct?                 16       Q.   It will be 1037, 1,037. That was a
      17      A.     Public relations --                         17 long deposition.
      18      Q.     On different subjects.                      18       A.   Uh-huh. We have it, yes.
      19      A.     Advertising firms and public                19       Q.   I'm going to jump ahead here briefly
      20 relations firms, they were often involved, say, come    20 and I'm going to ask you to confirm that we've heard
      21 in, give us some ideas.                                 21 about XRD, X-ray diffraction, that detection
      22      Q.     Okay. So you said you had never             22 technique. You're familiar with that?
      23 heard of people putting baby powder in their sheets?    23       A.   Yes, sir.
      24      A.     I've heard of it. But it's not              24       Q.   XRD is not a microscope, correct?
      25 something that I've ever heard Johnson & Johnson        25       A.   No, it's a piece of equipment.
                                                       Page 63                                                   Page 65
       1 saying this is something that you should do.             1       Q.    Right. And all it tells you is
       2      Q.     Johnson & Johnson knows people did           2 whether or not a mineral is present. It doesn't
       3 that, right?                                             3 tell you what it looks like, right?
       4      A.     Well, I know that people have done           4       A.    No.
       5 that. I've heard of that. But it's not something         5       Q.    Correct?
       6 that I've ever seen in Johnson & Johnson                 6       A.    Correct, yes.
       7 correspondence that we're aware that people have         7       Q.    It doesn't tell you whether it's in
       8 this use for it.                                         8 fibers or whether it's in chunks, correct?
       9      Q.     Is it possible that you haven't seen         9       A.    Yes. You to have look at other
      10 it because it's in the 990,000 documents you haven't    10 techniques.
      11 looked at?                                              11       Q.    Right. So, if you could look,
      12      A.     It's possible, yes.                         12 please, sir, at Page 1037. You were asked this
      13      Q.     Alright. We'll come back to that,           13 question.
      14 okay.                                                   14            MS. SULLIVAN: Can I have the line,
      15            (There is a discussion off the               15 Counsel?
      16       record.)                                          16            MR. PANATIER: Yeah, Line 8.
      17 BY MR. PANATIER:                                        17 BY MR. PANATIER:
      18      Q.     Dr. Hopkins, Johnson & Johnson              18       Q.    And to the --
      19 understood that any presence of amphibole mineral       19            MS. SULLIVAN: I'm sorry, your Honor.
      20 whether in the form of asbestos as you say or not,      20 If I can just have a minute.
      21 should not have been in the powder, correct?            21            MR. PANATIER: Counsel, are you
      22      A.     I don't -- I don't agree with that.         22 ready?
      23 Amphibole -- amphiboles are present in just about       23            MS. SULLIVAN: (INAUDIBLE)
      24 every county in the United States. They're              24 impeachment is concerned.
      25 invariably quite harmless. It's a geological            25            THE COURT: How about we do that at

                                                                                    17 (Pages 62 - 65)
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                                                      Page 66                                                   Page 68
       1 sidebar.                                                1 had polarized light" there?
       2           (Sidebar.)                                    2      A.      No, but I'm asking --
       3           THE COURT: So it's Line 8 through             3      Q.      Okay. Let's go to the next question.
       4 what?                                                   4       "So, if a lot was positive just by XRD, it
       5           MR. PANATIER: Line 8 through 24.              5 would have been rejected?"
       6           THE COURT: Okay. I'll hear you.               6            And your answer was, "That was my
       7           MR. PANATIER: 1037.                           7 belief," correct?
       8           THE COURT: Go ahead.                          8      A.      Yeah, and that is the case. It is
       9           MS. SULLIVAN: What are you                    9 correct. It would have been rejected until it had
      10 impeaching him on, saying it's inconsistent with       10 come out of rejection by validated whether or not
      11 this? What are you impeaching him on?                  11 polarized light showed a problem or not.
      12           MR. PANATIER: He said the presence           12      Q.      So you didn't say that here, did you?
      13 of the minerals is fine. And I'm impeaching him        13      A.      You didn't ask me.
      14 because here he says it should have been rejected.     14      Q.      I didn't ask you here either and you
      15 That's direct impeachment.                             15 volunteered it, didn't you?
      16           MS. SULLIVAN: Where is that?                 16            MS. SULLIVAN: Objection, you Honor,
      17           MR. PANATIER: Right here. That's             17 that's argument.
      18 grounds for rejection.                                 18            THE COURT: Objection sustained.
      19           MS. SULLIVAN: I don't think it's             19            Let's not argue with the witness,
      20 impeachment, your Honor.                               20 please.
      21           THE COURT: It does qualify for               21 BY MR. PANATIER:
      22 impeachment based upon his response relative to the    22      Q.      Sir, look, let's look at what you
      23 distinction whether or not with any amphiboles.        23 said. "So if a lot was positive just by XRD" --
      24           So go ahead.                                 24 that's just the mineral, correct, sir?
      25           MS. SULLIVAN: Okay. Thank you, your          25      A.      XRD would pick up amphibole.
                                                      Page 67                                                   Page 69
       1 Honor.                                                1       Q.    "It would have been rejected, that is
       2              (Sidebar ends.)                          2 my belief," correct?
       3 BY MR. PANATIER:                                      3       A.    It would have been rejected until it
       4      Q.     Sir, it was Johnson & Johnson's           4 was de-rejected or un-rejected. It would have been
       5 policy, correct, to reject any talc that had the      5 held until you had done the test. So you reject
       6 presence of the mineral at all, correct?              6 it -- you can't fill it until you've clarified what
       7      A.     Sorry, the mineral, what mineral?         7 the problem was.
       8      Q.     Amphibole mineral.                        8       Q.    Did you say that here?
       9      A.     Amphibole, right. The step is that        9       A.    Here -- just now? No.
      10 you look at X-ray diffraction and if you get a       10       Q.    No. We know you said it just now;
      11 positive result for an amphibole, you reject it      11 here?
      12 until you've done the next step, which is polarized  12       A.    No, but you didn't ask me to go on
      13 light microscopy so that you can actually see what   13 and explain it any further when you asked me that
      14 kind of amphibole it is, whether it's a harmless     14 question back in 2017.
      15 material or an asbestiform material.                 15       Q.    Well, I asked you right after --
      16      Q.     Let's look and see what you said,        16            MS. SULLIVAN: Objection, your Honor,
      17 okay. Line 8. "And to the extent that any, any       17 this is argument.
      18 lots of talc were tested and there was a positive    18            THE COURT: Overruled.
      19 XRD for amphiboles minerals at anytime, was that lot 19 BY MR. PANATIER:
      20 placed on hold before it used?"                      20       Q.    "And by XRD, you're just detecting
      21       And your answer was, "The way the testing      21 the mineral presence, correct?"
      22 would have been done, it was -- it would not have    22        Answer: "Correct."
      23 been -- it was not have been filled," correct?       23        And I asked you again, "but that was grounds
      24      A.     Until it had polarized light, yes.       24 of J&J for rejection; is that true?"
      25      Q.     Oh, I'm sorry. Did you say "until it     25        Answer: "That is the specification,"

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                                                     Page 70                                                 Page 72
       1 correct?                                          1             MS. SULLIVAN: No objection.
       2      A.     Yes.                                  2             THE COURT: So admitted.
       3      Q.     So I asked it you about it again and  3             What is the numbering on this one?
       4 you didn't say anything about, well, until it's   4 I'm sorry.
       5 un-rejected, did you?                             5             MR. PANATIER: 2738, your Honor.
       6      A.     I didn't give you that additional     6             THE COURT: Thank you.
       7 information because you didn't ask for it.        7             (Plaintiff's Exhibit 2738 was moved
       8      Q.     I didn't ask for it either and you    8        into evidence.)
       9 did, correct? Correct?                            9       Q.     So let's go back to January 22, 1996.
      10      A.     You -- okay. I think I've explained  10 This is from Bill Ashton to you, right?
      11 that you reject it until you've got reasons to   11       A.     Yes.
      12 un-reject it.                                    12       Q.     Okay. And here it says, "From Bill,
      13           (There is a discussion off the         13 attached is Page 11 of the current issue of a CTPA
      14        record.)                                  14 guide wherein Fred Pooley makes the suggestion that
      15 BY MR. PANATIER:                                 15 any batch of cosmetic talc which reads positive for
      16      Q.     You know Fred Pooley, right?         16 the presence of amphiboles should be rejected even
      17      A.     Yes, I do. I know him well.          17 if subsequent examination establishes whether or not
      18      Q.     We've heard a lot about Fred Pooley 18 the mineral is fibrous or non-fibrous."
      19 in this case.                                    19             Now, I've shown you this before,
      20           So, in 1996, you were at the company, 20 correct?
      21 you were at Johnson & Johnson, right?            21       A.     Yes.
      22      A.     Yes.                                 22       Q.     "We need clarification on this since
      23      Q.     Okay. If you will turn please, sir,  23 it is in conflict in all the work here in US based
      24 to the tab for 1996. And we might be going into 24 primarily on the mineral tremolite, which is present
      25 another binder. Nope. I think it's in Binder 4. 25 in trace amounts in many high grade talcs, including
                                                     Page 71                                                 Page 73
       1 It should be January 29, 1996.                        1 Johnson & Johnson's," right?
       2      A.    Yes.                                       2      A.    Yes.
       3      Q.    Okay. And, sir, this is a memo that        3      Q.    Okay. "The mineral tremolite is
       4 is a Johnson & Johnson memo, correct?                 4 chemically a calcium silicate and occurs in two
       5      A.    It is, yes.                                5 crystallographic habits, fibrous, which is called
       6      Q.    There's really two communications          6 tremolite asbestos and prismatic or non-fibrous,
       7 here. The page before is a communication from Bill 7 which is non-asbestiform." Did I read that, right?
       8 Ashton to you, correct?                               8      A.    You did.
       9      A.    Yes.                                       9      Q.    Okay. So let's get our definitions
      10      Q.    And then there's a follow-up from you     10 straight.
      11 to Ian Philipson, the head of scientific services at 11           You agree with what Bill Ashton said
      12 the Cosmetic, Toiletry and Perfume Association       12 here --
      13 Limited, correct?                                    13           MS. SULLIVAN: Your Honor, I'm sorry.
      14      A.    Yes.                                      14           THE COURT: Wait, wait, wait.
      15      Q.    Now, we've heard of CTFA, that was        15 Counsel, sidebar.
      16 the Cosmetics, Toiletries and Fragrances Association 16           MR. PANATIER: I'm sorry?
      17 here in the States, right?                           17           MS. SULLIVAN: I was going to ask him
      18      A.    Yes.                                      18 to read the line for completion.
      19      Q.    And Great Britain had a similar           19           MR. PANATIER: Sure.
      20 version called the CTPA, correct?                    20 BY MR. PANATIER:
      21      A.    Yes.                                      21      Q.    "Here in the US, a controversy has
      22      Q.    Alright.                                  22 been under way for the past 25 years."
      23           MR. PANATIER: Your Honor, at this          23           MS. SULLIVAN: And then the next one.
      24 time we offer Plaintiff's Exhibit 2738 into          24           MR. PANATIER: I'll read the whole
      25 evidence.                                            25 paragraph.

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                                                        Page 74                                                    Page 76
       1           MS. SULLIVAN: No, just the next one.            1 Does that look like 5.2?
       2           MR. PANATIER: No, I'll read the                 2      A.     Yes.
       3 whole paragraph.                                          3      Q.     Fiber minerals amphiboles. And it
       4           MS. SULLIVAN: Okay.                             4 says, "as the description of the mineralogical
       5 BY MR. PANATIER:                                          5 processes involved in the formation of talc may have
       6      Q.     "All agencies and health oriented             6 shown, amphiboles are possible contaminants. These
       7 groups have accepted the view that only the rare          7 include tremolite, anthophyllite, actinolite, et
       8 fibrous tremolite might be hazard as opposed to the       8 cetera. Tremolite, the most common amphibole
       9 harmless prismatic form. This has been fought at          9 contaminant occurs only rarely as the fibrous form
      10 many meetings of science groups and in the courts        10 and the varieties of massive tremolite which under
      11 mainly spearheaded by the RT Vanderbilt Company who      11 the microscope appear to contain fibers commonly
      12 sells large tonnage of trimellitic talc to the           12 comprise mainly thick fibers or cleavage fragments
      13 ceramic industries here and abroad."                     13 which do not present the same health hazard."
      14           And, Dr. Hopkins, you know that                14 "However --
      15 Johnson & Johnson actually attended some meetings        15            MS. SULLIVAN: And you left out "as
      16 with RT Vanderbilt, right?                               16 asbestos."
      17      A.     I believe RT Vanderbilt attended             17            MR. PANATIER: "As asbestos."
      18 meetings with the Food and Drug Administration at        18 BY MR. PANATIER:
      19 which Johnson & Johnson was also present.                19      Q.     "However, in order to eliminate any
      20      Q.     So in this memo, Bill Ashton says            20 hazard to the consumer which might arise from the
      21 "fibrous tremolite," right? It says "fibrous             21 need to interpret fiber shape and dimensions and to
      22 tremolite." "Fibrous," which is called tremolite         22 facilitate routine screening the CTPA view is that
      23 asbestos, right? Correct, sir?                           23 if an amphibole is detected by X-ray diffraction
      24      A.     Yeah, if it meets the definition of          24 that batch of talc is unacceptable for cosmetic use
      25 tremolite asbestos, it would be asbestos.                25 whether or not subsequent examination by optical or
                                                        Page 75                                                    Page 77
       1       Q.    And what Bill Ashton says here is,            1 electromicroscopy shows that the contaminant is not
       2 "Fibrous which is called tremolite asbestos,"             2 fibrous. In this respect, the CTPA specification is
       3 correct?                                                  3 even more stringent than others which refer only to
       4       A.    That's what is written.                       4 fibrous amphiboles."
       5       Q.    Okay. And you agree with that,                5            Now that's consistent with what you
       6 right?                                                    6 testified to about if there was a presence of
       7       A.    Well, as I said, tremolite asbestos           7 amphiboles by XRD at J&J, it was to be rejected,
       8 is a fibrous form as opposed to a rod form or like        8 correct?
       9 my pencil.                                                9      A.     No. It's not consistent. What I
      10       Q.    And let's look at what he quotes what        10 said in the J&J specification, and you know this, is
      11 Dr. Pooley said in the CTPA.                             11 that if you find amphibole by X-ray diffraction, you
      12       So Dr. Pooley was, actually, writing the           12 put the whole thing on hold. You reject it until
      13 CTPA guide in England, correct?                          13 you can show that the amphibole was the harmless
      14       A.    He was part of a -- several people           14 form or the rod form of tremolite or whatever it may
      15 who were writing a first draft, yes.                     15 be, but not the fibrous one that looks flexible like
      16       Q.    Oh, was this just a first draft?             16 human hair, that's asbestos. But in rod or cleavage
      17       A.    Well, I don't know on that date              17 form, it looks like, than it's not asbestos. So you
      18 whether it was a draft or what. I don't -- yeah, my      18 do the microscope piece. You look at it under a
      19 cover letter said I showed bill a draft of the CPTA      19 microscope.
      20 guide for his comment.                                   20      Q.     We will get to all that. Well, let's
      21       Q.    Okay. My question was, is it a first         21 compare what you said with this.
      22 draft, what you said?                                    22       Here's what you said. "If it's positive by
      23       A.    Well, I don't know whether it was a          23 XRD, it would be rejected. That is your belief,
      24 first draft or second draft. It was a draft.             24 right?
      25       Q.    So under section -- is that 5.2?             25       And I asked, "And by 'XRD,' you're just

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                                                      Page 78                                                   Page 80
       1 detecting the mineral, correct?                   1      Q.     Okay. Great. So just so we can get
       2       "Yes, that was grounds for rejection.       2 our bearings a little bit, if you'll just turn to
       3 That's the specification."                        3 the first page.
       4            Now we're looking at what Dr. Pooley 4              MS. SULLIVAN: Your Honor, I'm going
       5 said. "Presence of XRD should be grounds for 5 to object because of the time frame here.
       6 rejection," correct?                              6            THE COURT: Objection overruled.
       7       A.     In this draft that you're referring  7            You can go, proceed.
       8 to --                                             8 BY MR. PANATIER:
       9            MR. PANATIER: Your Honor, at this 9           Q.     Do you see under "Acknowledgment,"
      10 time I would object to non-responsive.           10 sir?
      11            THE WITNESS: I'm sorry.               11      A.     Yes.
      12            MR. PANATIER: I would just like a 12          Q.     It says, "The Cosmetic, Toiletry and
      13 yes or no.                                       13 Perfumery Association wishes to thank members of the
      14            THE COURT: Please answer the          14 CTPA talc task force for their time and enthusiasm
      15 question.                                        15 in preparing the latest revision of this document."
      16       A.     Yeah. Would you rephrase the        16            And who is the last person listed?
      17 question. I'm getting lost.                      17      A.     Myself.
      18       Q.     Yes. Dr. Pooley is saying that the  18      Q.     You?
      19 presence of the mineral at all is grounds for    19      A.     Yes.
      20 rejection, correct?                              20      Q.     John Hopkins?
      21       A.     That's what he is saying on that    21      A.     Yes.
      22 draft -- first draft, yes.                       22      Q.     Innovant Research, right?
      23       Q.     Well, you know that's the current   23      A.     Yes.
      24 specification for the CTPA, don't you?           24            MR. PANATIER: Your Honor, we offer
      25       A.     No, it isn't.                       25 this into evidence.
                                                      Page 79                                                   Page 81
       1      Q.    When did it change?                          1            MS. SULLIVAN: It's for 2016.
       2      A.    I don't know. But I looked more              2            THE COURT: Sidebar.
       3 recently and it's not the current specification.        3            (Sidebar.)
       4      Q.    What's "the current specification"?          4            THE COURT: The purpose for which
       5      A.    You would have to go on their website        5 you're seeking admission?
       6 and look it up.                                         6            MR. PANATIER: Yes, it's to impeach
       7      Q.    Aren't you on the committee that             7 the witness for purposes of what he just said, that
       8 helps with that specification?                          8 it's not part of the -- it's not of the protocol.
       9      A.    Yes. I'm on -- I'm on a scientific           9 He's trying to fight it. In 2016 he tried to fight
      10 committee, yes.                                        10 it, in 2017 in his depo.
      11      Q.    Well, let's look at the 2016 version,       11            MS. SULLIVAN: The protocol in 2016
      12 okay?                                                  12 has nothing to do with this case, your Honor.
      13      A.    Well, why don't we look at 2018 or          13            MR. PANATIER: There was exposure in
      14 '19 version.                                           14 2016.
      15      Q.    This was the only one I as able to          15            THE COURT: Okay. Well, even if
      16 get, but we can look at -- we can look and see if      16 there wasn't exposure, for the sake of argument, in
      17 they changed it after 2016, okay?                      17 2016, I'm allowing its admission for purposes of
      18      A.    Okay.                                       18 impeaching credibility based upon the testimony of
      19           (There is a discussion off the               19 this witness relative to that Bill Ashton memo to
      20        record.)                                        20 him referencing the CTPA guide and the language at
      21      Q.    It should be right in the back of           21 issue.
      22 your Binder 4. It should be dated 2016. It should      22            MS. SULLIVAN: I don't see where the
      23 be entitled "Cosmetic Talc a CTPA Guide." Do you       23 impeachment is. I don't understand. All he showed
      24 have that?                                             24 was the acknowledgment.
      25      A.    I do, yes.                                  25            THE COURT: Do you want to show

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                                                        Page 82                                                  Page 84
       1 Counsel?                                            1      Q.     Let's see if the rest is consistent.
       2            MR. PANATIER: Yeah. I haven't gone       2 "However, in order to eliminate any hazard to the
       3 into it further yet; Page 13 and Page 16, where it  3 consumer, which might arise from the need to
       4 says the exact same thing.                          4 interpret fiber shape and dimensions and to
       5            MS. SULLIVAN: This is consistent,        5 facilitate routine screening, the CTPA view is that
       6 your Honor. It says, tremolite occurs only rarely   6 if an amphibole is detected by X-ray diffraction,
       7 in fibrous forms. It's not inconsistent and I'll    7 that batch of talc is unacceptable for cosmetic use
       8 object because it's not proper impeachment.         8 whether or not subsequent examination by optical or
       9            MR. PANATIER: Your Honor, amphibole 9 electromicroscopy shows that the contaminant is not
      10 detected by X-ray diffraction that matches         10 fibrous." Did I read that right?
      11 unacceptable or cosmetic uses --                   11      A.     You did.
      12            THE COURT: As for impeachment           12      Q.     And look here's from the previous
      13 purposes. Thank you.                               13 exhibit. Can you see that up on the screen, sir?
      14            (Sidebar ends.)                         14      A.     Yes.
      15 BY MR. PANATIER:                                   15      Q.     It says the same thing.
      16       Q.    Doctor, is it your --                  16      A.     It does. But there is an explanation
      17            THE COURT: Hold on a second.            17 and I'm happy to give it.
      18            MR. PANATIER: I'm sorry.                18      Q.     Sir, this is 20 consistent years from
      19            THE COURT: This document has been       19 1996 to 2016 where they're saying the same thing,
      20 offered into admission. The Court now accepts it   20 correct?
      21 into admission.                                    21      A.     They're saying the same thing and
      22           (Plaintiff's Exhibit 3695-14 was moved   22 there is an explanation and I'm happy to give it.
      23          into evidence.)                           23 If you --
      24            MR. PANATIER: Thank you, your Honor. 24         Q.     And you gave that explanation --
      25 It's Exhibit 3695-14.                              25      A.     -- if you will allow me.
                                                        Page 83                                                  Page 85
       1 BY MR. PANATIER:                                          1            THE COURT: Hold on.
       2      Q.     Now, Dr. Hopkins, barring some                2            THE WITNESS: Sorry.
       3 C-change in the CTPA between 2016 and now, let's          3            THE COURT: It's okay.
       4 look at this.                                             4            MS. SULLIVAN: I object to the
       5      Let's take a look at Page 14. Okay. Tell             5 interruption.
       6 me when you're there. And if it's helpful, it's up        6            THE COURT: There is no question
       7 there, too.                                               7 pending.
       8      A.     It's okay. No, I got Page 14, yeah.           8            Proceed.
       9      Q.     Alright. Now, it says, "As the                9            MR. PANATIER: Thank you, your Honor.
      10 description of the mineralogical processes involved      10 BY MR. PANATIER:
      11 in the formation of talc may have shown, amphiboles      11       Q.    You gave that explanation for the
      12 are possible contaminants, these include tremolite,      12 first time today, you did not give that explanation
      13 anthophyllite, actinolite, et cetera. Tremolite the      13 when I deposed you in 2017, did you?
      14 most common amphibole contaminant occurs only rarely     14       A.    I have given the explanation -- the
      15 as the fibrous form and the varieties of massive         15 test methodology requires you to do X-ray
      16 tremolite, which under the microscope appear to          16 diffraction followed by polarized light microscopy
      17 contain fibers, commonly comprise mainly thick           17 and, if necessary, by other microscope methods.
      18 fibers or cleavage fragments which do not present        18            (There is a discussion off the
      19 the same hazard as asbestos."                            19         record.)
      20           Now, first of all, that's exactly              20       Q.    We know this. Johnson & Johnson
      21 what he said in 1996 in the letter you got, isn't        21 never rejected a single lot for the presence of
      22 it?                                                      22 amphibole or amphibole asbestos, correct? Correct?
      23      A.     Yes.                                         23       A.    If a lot had failed the
      24      Q.     Okay.                                        24 specification, which is the test using X-ray
      25      A.     Yes. Yes --                                  25 diffraction for amphibole followed by polarized

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                                                        Page 86                                                    Page 88
       1 light microscopy and transmission electron                1       A.    Yes. And I explained until you've
       2 microscopy, if it had failed those tests, which           2 done otherwise.
       3 would have picked up asbestos, it would have been         3       Q.    Okay. Well, if you would turn to the
       4 rejected.                                                 4 tab. Actually, I think it's there already. I
       5      Q.     No lot was ever rejected, correct?            5 turned it there for you.
       6      A.     I don't know whether a lot was                6            December 28, 2016, you got that tab?
       7 rejected or not. It could well have gone into             7 The title is the, "The Process for Qualification and
       8 industrial talc. I'm not going to speculate. But          8 Approval of a New or Alternate Source of Cosmetic
       9 any lot that fails those three tests would not have       9 Talc"?
      10 been used to make baby powder.                           10       A.    Yes.
      11            THE COURT: This would be a good time          11       Q.    Okay. That's a document you authored
      12 for a break, Counsel.                                    12 correct?
      13            MR. PANATIER: That's fine.                    13       A.    Yes, I gave guidance to an affiliate
      14            THE COURT: Alright. So Members of             14 in, I think, it's Indonesia as to their thinking
      15 the Jury, we're going to take a 15-minute break. No      15 process, yes.
      16 discussions with regard to this case, including the      16       Q.    The title is, "The Process for
      17 testimony you've just heard. No research of any          17 Qualification and Approval of a New Or Alternate
      18 kind whatsoever.                                         18 Source of Cosmetic Talc" and it regards the global
      19            Please be ready to come back upstairs         19 specification, correct?
      20 at five after. Enjoy your break.                         20       A.    I don't see that title.
      21            (Jury exits.)                                 21       Q.    Okay. Well --
      22            THE COURT: And we're off the record.          22       A.    Let me read it.
      23 Dr. Hopkins, you may step down.                          23       Q.    We'll look at it together.
      24            THE WITNESS: Thank you.                       24            MR. PANATIER: You Honor, I offer
      25            (Recess taken 10:50 to 11:12 a m.)            25 this in evidence.
                                                        Page 87                                                    Page 89
       1           (Jury enters.)                              1            THE COURT: Any objection?
       2           THE COURT: Please be seated. Make           2            MS. SULLIVAN: Your Honor, just a
       3 sure cell phones are turned off.                      3 sidebar on this.
       4           You may continue.                           4            THE COURT: Sure.
       5           MR. PANATIER: Thank you, your Honor. 5                   MS. SULLIVAN: Thank you.
       6      Q.     So, Dr. Hopkins, at this point we         6            THE COURT: Just to be clear, this is
       7 have documentation, a policy to reject anything with 7 2836 being offered?
       8 amphiboles. We have that from 1996 CTPA, correct? 8                MR. PANATIER: 2836.
       9      A.     That's the British --                     9            THE COURT: Okay.
      10      Q.     Yes.                                     10            (Sidebar.)
      11      A.     -- document. That is their document,     11            MS. SULLIVAN: Your Honor, I'm just
      12 yes. But, as I said, I'm happy to give an            12 going to object. The last document was a London
      13 explanation why but --                               13 2016 standard that has been (INAUDIBLE). This is an
      14           MR. PANATIER: Your Honor, I'm going 14 Indonesian, you know, again post-dating the time
      15 to object at this time to nonresponsive and move to  15 frame at issue in this case and the recommendations.
      16 strike.                                              16 It's not relevant under the time period at issue and
      17      A.     The answer is, yes.                      17 we would object to the document.
      18           THE COURT: Thank you, Dr. Hopkins.         18            THE COURT: And the basis for which
      19      Q.     We also saw 2016 CTPA, same policy,      19 you're seeking to introduce this?
      20 correct?                                             20            MR. PANATIER: Right here. Dr.
      21      A.     We did, yes.                             21 Hopkins stated there are certain parameters for
      22      Q.     Also, we have your testimony from        22 which a minimum standard must be maintained on a
      23 2017 where you said presence by XRD, which only 23 global basis. These consist of freedom from
      24 detects the amphiboles would be grounds for          24 asbestos and amphibole minerals.
      25 rejection, correct?                                  25            MR. MAIMON: We also have evidence,

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                                                      Page 90                                                       Page 92
       1 your Honor, this document was used by J&J for its       1      Q.     The truth is there is a robust
       2 specification for Johnson's Baby Powder everywhere      2 history of amphibole minerals in Johnson & Johnson's
       3 in the world including the United States and I          3 talc that they used for baby powder, correct?
       4 deposed one of their officials on this based just on    4      A.     You can find nonasbestos amphibole
       5 the document's fact.                                    5 minerals in pretty well every county in the United
       6           THE COURT: Based on the document and          6 States and you will find nonasbestos amphibole
       7 how it reads, I'm going to admit it into evidence.      7 material in many talc sources from around the world.
       8 It does not exceed use; in other words, it's not        8            MR. PANATIER: Your Honor, I'm going
       9 just looking outside of the country. It's also          9 to move to strike.
      10 being what's specified on a global basis.              10      A.     Sorry, didn't I answer the question?
      11           MS. SULLIVAN: Thank you, your Honor.         11            THE COURT: No. Doctor, if you could
      12           (Sidebar ends.)                              12 please listen to the question and answer that
      13           THE COURT: This document is now              13 question only.
      14 admitted into evidence.                                14            Why don't we do it one more time.
      15           You may proceed.                             15      Q.     If you'll turn, please, sir, back to
      16           (Plaintiff's Exhibit 2836 was moved          16 the deposition binder, the first deposition
      17        into evidence.)                                 17 8/15/2017, Page 311. It's, actually, 312. Sorry,
      18           MR. PANATIER: Thank you, your Honor.         18 these print over a page. Page 312, starting with
      19 BY MR. PANATIER:                                       19 Line 8.
      20      Q.     This is a document you John Hopkins        20            MS. SULLIVAN: I'm just going to
      21 offered, right?                                        21 object because it's not inconsistent with what he
      22      A.     Yes, in response to a question, yes.       22 just said.
      23      Q.     And it says, "Cosmetic grades of talc      23            THE COURT: I'm sorry, beginning
      24 to be used in Johnson & Johnson products must meet     24 where?
      25 standards for both mineralogical and microbial         25            MR. PANATIER: Page 312/Line 8
                                                      Page 91                                                       Page 93
       1 purity," correct?                                       1 through 12.
       2      A.    Yes.                                         2            THE COURT: Objection overruled.
       3      Q.    That's true for the whole world,             3            You may proceed.
       4 correct?                                                4 MR. PANATIER:
       5      A.    Yes.                                         5     Q.      Okay. Doctor, I asked you this
       6      Q.    Let's go down here to your bullet            6 question. "We were discussing a document at the
       7 point. "There are, however, certain parameters for      7 time.
       8 which a minimum standard must be maintained on a        8      Well, he probably mentioned tremolite
       9 global basis."                                          9 because as we know there's a very robust record of
      10           "Global" includes the United States,         10 the mineral tremolite being present in the ores that
      11 correct?                                               11 Johnson & Johnson uses, correct?"
      12      A.    Yes.                                        12      And what was your answer?
      13      Q.    Okay. "These consist of No. 1               13     A.      I'm sorry, what page are we on?
      14 freedom from asbestos and amphibole minerals,"         14     Q.      Page 312.
      15 correct?                                               15     A.      What line?
      16      A.    Yes, that's what I wrote. And I'm           16     Q.      Line 8 through 12.
      17 happy to explain why I wrote that.                     17     A.      Okay. Sorry. The print is blurred.
      18      Q.    Well, I just want to talk about what        18 Yeah.
      19 you wrote.                                             19     Q.      Is your print "blurred"?
      20           You wrote in 2005, on a global basis,        20     A.      Yeah, yeah. It says, "As we know,
      21 no asbestos and no amphibole minerals, correct, did    21 there is a very robust record of the mineral," and
      22 you write that?                                        22 then there's nothing.
      23      A.    I wrote that. And I'm happy to              23     Q.      Let me give you mine, if it's
      24 explain why I wrote that to that individual in, I      24 blurred.
      25 believe, Indonesia.                                    25     A.      Yeah, we can swap then.

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                                                     Page 94                                                    Page 96
       1      Q.    Hold on.                                    1      Q.     And you know that Battel found
       2      A.    See there's nothing there?                  2 tremolite in the Italian source or for Johnson's
       3      Q.    Yeah, here, look at my copy.                3 baby powder several hundred times, correct?
       4      A.    Okay.                                       4      A.     They found tremolite, not asbestos
       5      Q.    So, when I asked you, if there was a        5 tremolite. They found tremolite, yes.
       6 robust record of tremolite in the source talc for      6           MR. PANATIER: Your Honor, I move to
       7 Johnson's Baby Powder, your answer was what?           7 strike. I asked whether they found tremolite.
       8      A.    Yeah, correct, yeah. I just said            8      A.     The answer is, yes.
       9 that a few minutes ago.                                9           THE COURT: Thank you, Doctor.
      10      Q.    There was a robust record, correct?        10      Q.     Alright. Alright. Several hundred
      11      A.    Of tremolite, yes.                         11 times, correct?
      12      Q.    Okay. For CTPA in 1996, 2016 your          12      A.     They found tremolite.
      13 global specification they all said no amphibole       13      Q.     There is extensive testing
      14 minerals.                                             14 demonstrating tremolite in both the Italian and
      15       My question is tremolite is an amphibole        15 Vermont ore, correct?
      16 mineral, correct?                                     16      A.     Yeah.
      17      A.    My global specification was not a          17      Q.     And by the early 1970s Johnson &
      18 global specification.                                 18 Johnson had numerous reports of tremolite in both,
      19           MR. PANATIER: Your Honor, I'm going         19 correct?
      20 to object as nonresponsive.                           20      A.     Yes.
      21           MS. SULLIVAN: He didn't even answer         21      Q.     So I brought up Bill Ashton before
      22 before you decided it's nonresponsive.                22 and I wrote down last night a series of people which
      23           MR. PANATIER: I asked if tremolite          23 might help us speed this up, okay. So can you see
      24 was an amphibole.                                     24 my list of people here?
      25           THE COURT: That response is stricken        25      A.     I need my driving glasses.
                                                     Page 95                                                    Page 97
       1 from the record.                                 1      Q.    Yeah. Can you --
       2           Can you ask the question one more      2      A.    Yes.
       3 time.                                            3      Q.    Can you read them okay?
       4           MR. PANATIER: Yes.                     4      A.    I can read them, yes.
       5           THE COURT: Please listen to the        5      Q.    So, as documents come up, this might
       6 question, Dr. Hopkins.                           6 help us keep track of the cast of characters, okay?
       7      Q.     Is tremolite an amphibole?           7      A.    Yes.
       8      A.     Tremolite is an amphibole.           8      Q.    And I've entitled this, "J&J People
       9      Q.     Okay. Anthophyllite is an amphibole, 9 Involved in Talc Asbestos," with the caveat that
      10 right?                                          10 there are others, right?
      11      A.     Yes.                                11      A.    Probably.
      12      Q.     Actinolite is an amphibole?         12      Q.    You're not on there, right, you
      13      A.     They all are, yes.                  13 weren't?
      14      Q.     Chrysotile is a different type of   14      A.    Yeah, yeah.
      15 mineral, it's serpentine, correct?              15      Q.    So, just to get straight -- and I'd
      16      A.     It is serpentine, yes.              16 love if you correct me if any of these are incorrect
      17      Q.     Chrysotile -- anytime you see a     17 and we can mark it out and we can make an
      18 reference to chrysotile, we don't have to talk  18 adjustment. But let's just go through them. This
      19 whether it's good rock or a bad rock, that's    19 will save us time moving forward as we go through
      20 asbestos always, correct?                       20 the documents, okay?
      21      A.     Yes.                                21      A.    Okay.
      22      Q.     Sir, we have heard a little bit in  22      Q.    Is that alright?
      23 this case about the Battel Memorial Altitudes. 23        Alright. Bill Ashton, senior science, head
      24       You're familiar with Battel, correct?     24 of talc, someone who you said was regarded as
      25      A.     I am, yes, yes.                     25 Mr. Talc, correct?

                                                                                   25 (Pages 94 - 97)
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                                                      Page 98                                                    Page 100
       1       A.    Yes, he's an expert geologist, yes.         1       Q.   Roger Miller he was the President of
       2       Q.    David R. Clare, he was the President        2 Windsor Minerals. That was the company that Johnson
       3 of J&J?                                                 3 & Johnson owned that mined the Vermont talc?
       4       A.    He was at one time, yes.                    4       A.   The mining company, yes.
       5       Q.    In the '70s?                                5       Q.   W. Nashed, now, do you know what his
       6       A.    Generally around '76, as I recollect,       6 first name was?
       7 yes.                                                    7       A.   I've forgotten. I do know, but it's
       8       Q.    Al Goudie was a J&J physician,              8 slipped my mind.
       9 correct?                                                9       Q.   If I knew it, I would have written
      10       A.    As a scientist.                            10 it.
      11       Q.    Was he not a physician?                    11       But Dr. Nashed, correct?
      12       A.    No.                                        12       A.   Yes.
      13       Q.    He was not?                                13       Q.   And he was the Director of Science
      14       A.    I don't believe he was. I think he         14 Information, true?
      15 was a scientist.                                       15       A.   Yes.
      16       Q.    Okay. Well, we'll -- I'm not going         16       Q.   Okay. He had a big role when it came
      17 to mark it up. I'm going to put that in parentheses    17 to talc and asbestos, did he not?
      18 because I think we might see a document on that, but   18       A.   He was a coordinator. He was kind of
      19 I'm going to write "scientist" and we'll put a         19 a central point and correspondence would go in and
      20 little question mark over "physician."                 20 go out.
      21        DD Johnston, President of J&J Baby Products     21       Q.   D.R. Petterson medical director baby
      22 Company, correct?                                      22 products, right?
      23       A.    Yes.                                       23       A.   He was, yes.
      24       Q.    Gavin Hildick-Smith was the Director       24       Q.   Robert Rolle, Assistant Director
      25 of Medical Affairs?                                    25 Analytical Research Baby Powder Products, true?
                                                      Page 99                                                    Page 101
       1      A.    Yes, he was an MD, yeah.                     1      A.     Yes.
       2      Q.    And he was an MD, okay. We'll put            2      Q.     John Scheltz he was the CTPA task
       3 "MD."                                                   3 force chairman on the committee to develop J4-1,
       4      General Johnson, there was actually -- so          4 correct?
       5 was he a general, had he been a general?                5      A.     He was 1 of 20 people on that
       6      A.    He was a World War II general, yes.          6 committee, yes.
       7      Q.    Did he have a first name?                    7      Q.     He was the chairperson?
       8      A.    I can't remember. He did, obviously.         8      A.     He was chairperson, yes.
       9      Q.    Yeah. I don't know it.                       9      Q.     Bruce Semple, he's more recent,
      10      A.    I can't remember it now.                    10 correct?
      11      Q.    But they always refer to him General        11      A.     Yeah, he's an MD.
      12 Johnson.                                               12      Q.     And he was a medical director?
      13      But he's not like Johnson & Johnson Johnson,      13      A.     He was at one point, yes.
      14 is he?                                                 14      Q.     T.H. Shelley Research Director,
      15      A.    He was the grandson of the founder,         15 right?
      16 yes, or great grandson.                                16      A.     He was, yeah.
      17      Q.    He was an executive, correct?               17      Q.     Lorena Telofski more recent again,
      18      A.    Yes.                                        18 she's the scientific engagement leader, correct?
      19      Q.    And George Lee was the Director of          19      A.     Well, that's the title you've got
      20 Applied Research, true?                                20 there. I don't know what the current title is but,
      21      A.    Yes.                                        21 yes. I'll not argue.
      22      Q.    Tim McCarthy, he's more recent. He          22      Q.     In fairness, there's some documents
      23 was the Director of Toxicology for baby R&D and        23 in the mid 2000s that she's uses the NATRA title at
      24 products stewardship, correct?                         24 the time, okay?
      25      A.    Yes.                                        25      A.     Okay, yeah.

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                                                       Page 102                                                  Page 104
       1      Q.     Charles -- I can't say that --                1       Q.    They referred to it as the
       2 W-a-h-s-c-z-u-k?                                          2 cornerstone of their baby products franchise,
       3      A.     I think it's pronounced Wajsczuk, but         3 correct?
       4 I don't know him.                                         4       A.    It was the first baby product, yes.
       5      Q.     Okay, great; medical Safety Officer,          5       Q.    They've even referred to it as the
       6 right?                                                    6 sacred cow, right?
       7      A.     Yeah.                                         7       A.    I've heard that expression from one
       8      Q.     Okay. Alright. So this might help             8 individual.
       9 us keep our bearings as we move forward.                  9       Q.    Right; in the Johnson & Johnson
      10       Now, sir, Johnson & Johnson understands that       10 documents, true?
      11 talc, specifically, for use on babies but really for     11       A.    Yes.
      12 all purposes has no medicinal benefit, right?            12       Q.    Okay. So let's look at this document
      13      A.     It's not a therapeutic medicinal, no,        13 it's dated 1966. It is from W.H. Steinberg to Gavin
      14 there's no --                                            14 Hildick-Smith, okay, Director of Medical Affairs,
      15      Q.     It doesn't have --                           15 correct?
      16      A.     It doesn't treat nor cure disease.           16       A.    Yes.
      17      Q.     It doesn't have any health benefits?         17            MR. PANATIER: Alright. I'm going to
      18      A.     It helps cool the skin and keeps the         18 offer this into evidence, your Honor, Exhibit 2360.
      19 skin from chaffing. It's -- call it dry lubricant.       19            MS. SULLIVAN: Your Honor, this was
      20 The talc particles slide over each other so they         20 in limine issue and it's also --
      21 help stop chaffing but --                                21            THE COURT: Sidebar.
      22      Q.     Okay. Other than that --                     22            (Sidebar.)
      23      A.     -- it's not medicinal, I don't know.         23            THE COURT: What's the in limine
      24      Q.     Other than chaffing, does it have any        24 issue?
      25 health benefits, sir?                                    25            MS. SULLIVAN: This was other adverse
                                                       Page 103                                                  Page 105
       1      A.    I'm not aware of any curative --          1 -- it's like a cancer -- this is the asphyxiation
       2 disease curative benefits, no. It's a skin dry       2 issue. It has nothing to do with mesothelioma.
       3 lubricant.                                           3 These are the kids that choked or asphyxiated
       4      Q.    You can turn, please, sir, it's going     4 because of the blocking air, yeah, from the powder.
       5 to be in the big binder to June 17, 1966. It should  5 It's a 403 issue and it's also hearsay, of course.
       6 be near the front. Here it is.                       6             MR. PANATIER: First of all, it's
       7      Now, first of all, Johnson & Johnson refers     7 here to -- to address hearsay within hearsay goes to
       8 to the baby powder. It's an important product to     8 notice.
       9 Johnson & Johnson, right?                            9             Second of all, as far as the overall
      10      A.    Yes, it's been sold for over hundred     10 safety --
      11 years.                                              11             THE COURT: Wait a minute. One
      12      Q.    It's not one that they ever made -- I    12 person at a time.
      13 mean, they ever made a ton of money from relatively 13             MR. PANATIER: Overall safety Counsel
      14 speaking, right?                                    14 for Johnson & Johnson brought this up in opening
      15      A.    No, virtually none.                      15 statement. She said the product is safe and it goes
      16      Q.    It was far more important to Johnson     16 to the fact that if they had heeded the doctor's
      17 & Johnson in terms of reputation, correct?          17 warnings for whatever reason and they stopped
      18      A.    Yes, it was a historical product.        18 selling the product, we don't have this case.
      19      Q.    Johnson & Johnson?                       19             MS. SULLIVAN: This is --
      20      A.    From the 1890s.                          20             THE COURT: So that's the issue?
      21      Q.    I'm sorry?                               21             MR. PANATIER: That's correct.
      22      A.    From the 1890s.                          22             THE COURT: Thank you.
      23      Q.    Johnson & Johnson referred to the        23             MS. SULLIVAN: This is notice as
      24 baby powder as their flagship product, correct?     24 asphyxiation from blocking. It has nothing to do
      25      A.    I've seen that expression, yes.          25 with cancer and mesothelioma.

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                                                     Page 106                                                      Page 108
       1           MR. PANATIER: Great point. It's             1 Vermont mine, correct?
       2 actually --                                           2      A.     Yes.
       3           MS. SULLIVAN: And it's hearsay.             3      Q.     So "the cornerstone of our baby
       4 This is hearsay within hearsay.                       4 powder's franchise" and "we have a large investment
       5           MR. PANATIER: Actually, in opening          5 in talc mine," Mr. Steinberg felt were important to
       6 Counsel argued that they put warnings on because      6 state when discussing this article about the
       7 babies would poured it over their faces.              7 aspiration of talc for children, correct?
       8           THE COURT: Okay. I'm going to allow         8      A.     Yeah, you read what was written.
       9 it. It goes to the issue of notice.                   9      Q.     And he quotes the article. "In
      10           Now having said that, this is not          10 conclusion, it is strongly urged that talcum powder
      11 what you pointed to Ms. Sullivan's opening statement 11 be removed from the environment of children and that
      12 but it does not open the door --                     12 the traditional association of talcum powder and
      13           MR. PANATIER: To anything. No, not         13 babies be abandoned. It has no medicinal value
      14 I'm not doing that.                                  14 wherever placed. It serves as a foreign body and,
      15           THE COURT: I want to be clear on           15 at least, three deaths in an unknown morbidity of
      16 that.                                                16 resulted from this talcum powder."
      17           And in terms of the hearsay upon           17       Now "morbidity" means sickness or illness,
      18 hearsay, so this is commenting upon an article in    18 correct?
      19 (INAUDIBLE) corporate of spokesperson what issue 19          A.     Yes.
      20 that you are looking to point out is, is what?       20      Q.     Okay. He writes, "Would it be
      21           MR. PANATIER: Is the hazard that           21 possible for us to initiate basic work to explore
      22 they were aware of, your Honor.                      22 this phenomenon either to obtain data to refute this
      23           MS. SULLIVAN: Which had nothing to         23 problem or to develop mechanisms to reduce the
      24 do with cancer.                                      24 hazard?" Is that what he writes?
      25           MR. PANATIER: It has no health             25      A.     Yes. He commented on what was
                                                     Page 107                                                      Page 109
       1 benefit, which we are talking about.                    1 written in the American Journal of Disease of
       2            MR. SULLIVAN: Which he's already             2 Children and then wrote what you read, yeah.
       3 testified --                                            3       Q.    Okay, okay. So Johnson & Johnson was
       4            THE COURT: Thank you.                        4 aware that doctors were recommending against the use
       5            MS. SULLIVAN: Thank you, your Honor.         5 of baby powder as of 1966, true?
       6            MR. PANATIER: Thank you.                     6       A.    Well, these particular doctors
       7            (Sidebar ends.)                              7 responding to cases where children had choked or got
       8            MR. PANATIER: It's 2360, your Honor.         8 powder on their nose would breathe that comet. So
       9            THE COURT: Yes, now admitted into            9 that is noted in the Johnson's files, yes.
      10 evidence.                                              10       Q.    When did Johnson & Johnson first add
      11            (Plaintiff's Exhibit 2360 was moved         11 a safety lid to prevent that to its baby powder?
      12         into evidence.)                                12       A.    A safety lid?
      13      Q.      Now, sir, let's take a peak at this       13       Q.    A safety cap to prevent from children
      14 together. It says, "subject Johnson's baby powder      14 opening it and pouring on their faces and aspiring
      15 talc aspiration." That means breathing in, right?      15 talc?
      16      A.      In context, it's blocking your nose,      16       A.    Well, there's always been a lid with
      17 yes.                                                   17 little holes in. The issue is the size of the
      18      Q.      "Reference is made to the attached        18 holes.
      19 note from Mr. J. Detry forwarding an article by Drs.   19       Q.    Yeah.
      20 Hughes and Colmer which appeared in June 1966          20       A.    Yeah.
      21 American Journal of Diseases of Children. Baby         21       Q.    So is there a safety lid?
      22 powder represents the cornerstone of our baby          22       A.    As of today?
      23 products franchise. In addition we have a large        23       Q.    Yes.
      24 investment in the talc mine."                          24       A.    Well, there's -- the holes are
      25       At this point they had already bought the        25 structured in a certain way that getting a large

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       1 amount tipped on your face shouldn't happen. The            1      A.     Yes.
       2 holes are certain tiny size and you have to turn it.        2      Q.     Okay. Let's skip down here. "She
       3     Q.      All there is the twisty we're all               3 then asked him about asbestos and he said that this
       4 familiar with?                                              4 was a different problem and that he would not
       5     A.      Yeah, yeah.                                     5 recommend using talc on babies because of the
       6     Q.      Let's skip ahead to 1976. That one              6 possibility of asbestos inhalation regardless of the
       7 was 1966. If you'll turn to March 22, 1976, it              7 contamination level. He felt that this would
       8 might be in Binder 2. Here you go.                          8 constitute an unnecessary risk."
       9            MR. PANATIER: Your Honor, I have the             9           MS. SULLIVAN: Can I just ask in the
      10 bad news of delivering you another binder.                 10 interest of completeness, your Honor, that Counsel
      11     Q.      Dr. Hopkins, let me just find this             11 read the next two lines as well.
      12 one for you.                                               12      Q.     "He seemed quite surprised when I
      13      Dr. Hopkins, this is a document that you and          13 informed him that there was no asbestos in JBP and
      14 I have gone over before, true?                             14 that Langer himself agreed. We then discussed the
      15     A.      Yes.                                           15 safety of pure talc and he affirmed that at the
      16     Q.      Okay. That is dated March 22, 1976             16 cosmetic use exposure levels he did not believe that
      17 and it's a memo from Bruce Semple, Medical Director.       17 there would be a safety problem." Did I read that
      18 And it is to D.R. Petterson or Petterson, yeah,            18 right?
      19 medical director of, correct, baby products?               19      A.     You did, yes.
      20     A.      Yeah.                                          20      Q.     Now, we're going to get to Dr.
      21     Q.      And it is about a phone dialogue with          21 Langer. And Dr. Langer -- are you here to say that
      22 someone at NIOSH, correct?                                 22 Dr. Langer retracted his results about asbestos in
      23     A.      Yes.                                           23 Johnson's Baby Powder, or have you changed that
      24     Q.      NIOSH is the National Institute for            24 opinion?
      25 Occupational Safety and Health, true?                      25      A.     Dr. Langer published a paper with his
                                                         Page 111                                                   Page 113
       1       A.    Yes.                                            1 colleague Dr. Rolle in 1976 where he gave the
       2            MR. PANATIER: Your Honor, at this                2 results of his studies on Johnson's powder and many
       3 time, we offer this into evidence 2594.                     3 other powders.
       4            MS. SULLIVAN: No objection.                      4      Q.     We'll discuss that.
       5            THE COURT: So admitted.                          5       Bottom line is Dr. Groth, NIOSH, 1976 says,
       6            (Plaintiff's Exhibit 2594 was moved              6 talcum powder shouldn't be used on babies, right?
       7        into evidence.)                                      7      A.     That's what he said based on his
       8       Q.    So this phone call they had was with            8 misunderstanding.
       9 D.H. Groth, Doctor -- chief of the pathology                9      Q.     "Based on his misunderstanding"?
      10 section, correct?                                          10      A.     Yeah, because he thought mistakenly
      11       A.    Yes.                                           11 that the possibility of asbestos inhalation.
      12       Q.    And to get our bearings, the J&J               12           (There is a discussion off the
      13 person, this was Bruce Semple, says, "I identified         13 record.)
      14 myself and the reason for phoning. He was pleasant         14           THE COURT: Let's go off the record.
      15 and cooperative. He recalled being phoned around           15           (Recess taken 11:38 to 11:40 p.m.)
      16 Wednesday, March 17th, '76 by a woman who he thought       16           THE COURT: Let's go back on the
      17 was a Cincinnati newspaper. She said that she had          17 record.
      18 called Dr. Arthur Langer to inquire about nickel in        18           Whenever you're ready to continue.
      19 talk. He used the Christian name Tom for Langer and        19           MR. PANATIER: Sure.
      20 first and then corrected it in the manner that would       20 BY MR. PANATIER:
      21 lead one to suspect that he does not know Langer.          21      Q.     Doctor, you're aware that Dr. Langer
      22 Langer had referred her to Groth as an expert in           22 tested Johnson's Baby Powder a number of times,
      23 trace medical toxicology. So we're talking about a         23 right?
      24 phone call that this reporter had with brother at          24      A.     Yes.
      25 NIOSH, right?                                              25      Q.     And you're saying that in 1976 he

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                                                         Page 114                                                  Page 116
       1 published a paper where he did not report Johnson -- 1            (Sidebar.)
       2 asbestos in Johnson & Johnson's, true?                2           MS. SULLIVAN: Your Honor, this is
       3      A.     Yes, his peer reviewed scientific         3 the Reuters article from last year. It's written by
       4 publication with Dr. Rolle did not report asbestos    4 both -- the New York Times were speaking to the
       5 in baby powder.                                       5 Plaintiffs' lawyers. It has a picture of Martin
       6      Q.     You know that earlier he actually         6 Lear (phonetic) attached to it. It is -- he's going
       7 brought Johnson & Johnson to his offices in Mount     7 to ask about hearsay. It's not an ancient document.
       8 Sinai and showed him the asbestos in earlier          8 He's going to ask what was said (INAUDIBLE) --
       9 samples, correct?                                     9 what's in the article. It is completely improper
      10      A.     Well, what I'm saying is when he did     10 and I believe it's inadmissible (INAUDIBLE).
      11 his earlier experiments, he mistakenly claimed to    11           MR. PANATIER: Your Honor, if I can,
      12 have found asbestos. When he learned how to do his 12 first of all, this isn't Reuters. This is the New
      13 test methods properly, he did not find it and that   13 York Times.
      14 was the data he published.                           14           Second of all, Dr. Langer -- Dr.
      15      Q.     So you're saying that he retracted       15 Hopkins just quoted saying Dr. Langer in the New
      16 his results?                                         16 York Times was quoted as saying that he was
      17      A.     I'm not using the word retraction.       17 mistaken. The quote that I'm interested right
      18 You're putting words there.                          18 here -- I'm not going to show pictures of Mark
      19       What I'm saying is that when he published      19 Lear -- is right here.
      20 his final publication in a peer reviewed scientific  20           THE COURT: "In a recent interview,
      21 journal, he did not claim to have found asbestos in  21 Mr. Langer told the Times that Dr. Chalmers only
      22 Johnson's Baby Powder.                               22 spoke for himself and for the institution, not our
      23      Q.     You know that those were two             23 research group. He reiterated that his team had
      24 different samples, two bottles, different samples,   24 detected asbestos in Johnson's Baby Powder. I stand
      25 than what he tested in '71, correct?                 25 by that today absolutely."
                                                         Page 115                                                  Page 117
       1      A.     What he tested in '71 was when he was           1            MR. PANATIER: That's all.
       2 developing his methodologies, by the time he had            2            MS. SULLIVAN: That's hearsay, your
       3 learned how to do his technique correctly. He was           3 Honor. There's no exception. It's 2018.
       4 not finding asbestos in -- not only Johnson's               4            THE COURT: Well -- right. The
       5 powders, but others he was looking at.                      5 witness testified with regard to the New York Times
       6      Q.     Is it your testimony that Dr. Langer            6 article referring to a letter to the editor --
       7 maintained that he did not find asbestos then in            7            MS. SULLIVAN: It's during the '70s.
       8 Johnson's Baby Powders?                                     8            THE COURT: -- that the Jury has
       9      A.     He wrote to -- an article to the, I             9 already seen.
      10 think, it was the New York Times where he claimed he       10            MR. PANATIER: That's correct.
      11 was mistaken and he did not find it.                       11            THE COURT: The same could be made by
      12      Q.     If you can turn please, sir, to the            12 the Court, admitted by the Court. And based upon
      13 tab December 12, 2018. It should be in the thin            13 his response, the Court will allow only this portion
      14 binder. Hold on. I'll find it.                             14 of it to be shown.
      15       Okay. Yep. Here it is, right here. It's              15            MR. PANATIER: So we'll offer it
      16 that tab right there.                                      16 subject to redaction.
      17       And I just want you to turn to the page              17            THE COURT: Yes.
      18 marked 6-10. See at the bottom, bottom right, they         18            MS. SULLIVAN: And, your Honor, this
      19 say page number, out of ten?                               19 is not -- the prior argument is to hearsay
      20      A.     Yes, yes, I have that.                         20 statements, such as ancient document and statement
      21      Q.     Go to 6 of 10.                                 21 against interest. This meets neither.
      22      A.     Yes.                                           22            MR. PANATIER: This is to impeach the
      23            MS. SULLIVAN: Your Honor, can we                23 witness's statement.
      24 have a sidebar on this?                                    24            THE COURT: I'll allow it for
      25            THE COURT: Yeah, sure.                          25 impeachment purposes only. Thank you.

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                                                      Page 118                                                   Page 120
       1           (Sidebar ends.)                                1      Q.     It just says "1959" on it. So just
       2 BY MR. PANATIER:                                         2 the tab should just say -- there you go, right
       3     Q.     Have you found Page 6 of 10, sir?             3 there. Well, that's my fault. You don't have one.
       4           THE COURT: Sir, subject to the                 4 Here, I'm going to let you look at it briefly and
       5 Court's ruling, this document, portions of it, are       5 then we'll --
       6 now admitted into evidence.                              6            THE COURT: I'll give the witness
       7           (Plaintiff's Exhibit 3162 was moved            7 mine.
       8       into evidence.)                                    8            MR. PANATIER: Okay. Thank you, your
       9           THE WITNESS: Yes.                              9 Honor. I'm sorry, sometimes they don't get copied
      10 BY MR. PANATIER:                                        10 over.
      11     Q.     Okay. And just for purposes of               11            THE COURT: That's alright.
      12 understanding what we're looking at, this is a New      12            Here you go, Dr. Hopkins.
      13 York Times article --                                   13            THE WITNESS: Thank you, your Honor.
      14           THE COURT: I'm sorry. What was the            14 BY MR. PANATIER:
      15 marking of this? I apologize.                           15      Q.     Thank you.
      16           MR. PANATIER: This one is 3162, your          16       Alright. Dr. Hopkins, I'm sorry for that.
      17 Honor.                                                  17       This is a February 17, 1959 memo that you
      18           THE COURT: Thank you.                         18 and I have gone over before, correct?
      19 BY MR. PANATIER:                                        19      A.     Yes.
      20     Q.     This is a New York Times article from        20      Q.     It's about a trip that Johnson &
      21 December of 2018, right, if you look at the front       21 Johnson took to Italy to the mine where they got the
      22 page?                                                   22 Italian talc, right?
      23     A.     Yes.                                         23      A.     Yes.
      24     Q.     Okay. And let's go here to Page 6 of         24      Q.     Okay.
      25 10. You see where it says, "In a recent interview,      25            MR. PANATIER: Your Honor, at this
                                                      Page 119                                                   Page 121
       1 Mr. Langer told the times that Dr. Chalmers spoke        1 time we offer Plaintiff's Exhibit 2345 into
       2 for himself and for the institution not our research     2 evidence.
       3 group. He reiterated that his team had detected          3            MS. SULLIVAN: No objection.
       4 asbestos in Johnson's Baby Powder. I stand by that       4            THE COURT: So admitted.
       5 today absolutely, he said." Do you see that?             5            (Plaintiff's Exhibit 2345 was moved
       6      A.     I see what is written in that                6         into evidence.)
       7 discussion with the New York Times.                      7      Q.      Okay. So here we go. This is the
       8      Q.     Do you accept that Mr. Langer gave           8 memo and it says, "Important persons interviewed
       9 this interview to the New York Times and he stated       9 titles and organizations represented: Nick Massey,
      10 that?                                                   10 Johnson & Johnson; Dr. Stefano, MD, son-in-law of
      11      A.     Look, I said you read what was              11 Charles Matthew, Matthew & Company is sole North
      12 written in an interview with the New York Times.        12 American agent for Balcizone."
      13      Q.     And what Dr. Langer said was that           13       So Charles Matthew isn't a person, at least,
      14 they had found asbestos in the baby powder and that     14 here, it's a company, correct?
      15 he stands by it today, right?                           15      A.      Yes.
      16      A.     That's what he said.                        16      Q.      And they imported the Italian talc
      17      Q.     Okay.                                       17 that Johnson & Johnson was using in the US, true?
      18      A.     Yes.                                        18      A.      Yes.
      19      Q.     If you'll turn to the document marked       19      Q.      Now, we're going to talk about Dr.
      20 1959. It's in the big fat one right towards the         20 Stefano later, so I want to make sure we know who he
      21 front. It just says "1959" on it. So it should be       21 is.
      22 fairly early. Here, let me help you.                    22            He's the son-in-law of the owner of
      23      A.     I've got it. No worry.                      23 Charles Matthew, correct?
      24      Q.     That's not it.                              24      A.      That's what it says.
      25      A.     That's not it.                              25      Q.      His wife is the chief stockholder in

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                                                      Page 122                                                   Page 124
       1 the company, true?                                       1      A.    Yes.
       2      A.     That's what it says.                         2      Q.    (Continuing.) "Explained that our
       3      Q.     Okay. Now, we're going to talk about         3 problem was not a matter of dissatisfaction but that
       4 some of these studies, these Battelle studies. So I      4 about one-third of the doctors are presently
       5 want to get our bearings on what was being looked        5 advising against the use of baby talc in as much
       6 at.                                                      6 starches and oils have a greater purity and there is
       7       So, if you go to synopsis, it says, "The           7 no dangerous dust to inhale." Now, let's stop
       8 owners, mills and high grade mine of the Society         8 there.
       9 Talco Val Chisone were visited. It was learned that      9       We have now this is 1959. They're reporting
      10 all of the high grade talc comes from one mine with     10 that one-third of doctors are recommending against
      11 rare exception. It was also learned that Grade 2 is     11 baby talc, true?
      12 the same of run of mine and that Grade 1 is not a       12      A.    Well, that's what's written.
      13 specifically hand selected product."                    13      Q.    Well, that's what the Johnson &
      14       So Grade 1 and 2 are both coming from --          14 Johnson person said, true?
      15            MS. SULLIVAN: It's not                       15      A.    Yes, that's what's written, yes.
      16 "specifically."                                         16      Q.    Okay. We saw that again in 1966,
      17      Q.     "It's not especially a hand selected        17 seven years after this, right?
      18 product."                                               18      A.    Well, we saw that three -- two
      19            MR. PANATIER: Thank you.                     19 doctors had written into the American Baby Journal
      20      Q.     Correct?                                    20 not to use talc, yes.
      21      A.     That's what's written, yes.                 21      Q.    I'm just asking if we saw that in
      22      Q.     And they're coming from the same            22 '66?
      23 mine, correct?                                          23      A.    We did, yes.
      24      A.     One is run of mine, which means it's        24      Q.    And we saw it again in 1976 with
      25 kind of the end of the day stuff that's coming off      25 NIOSH, true?
                                                      Page 123                                                   Page 125
       1 that's supposedly the premium. "Run of mine" is a   1       A.     You need to refresh my mind on that.
       2 manufacturing term.                                 2       Q.     That was the growth conversation.
       3      Q.     Okay.                                   3       A.     The growth, yeah -- well, he then --
       4      A.     They're different.                      4 I did a little more in that paragraph where you had
       5      Q.     They're both coming out of the same     5 not yellow highlighted where he explained that he
       6 mine?                                               6 was not so concerned and you read that out to me.
       7      A.     Yes.                                    7       Q.     And then we established what Langer
       8      Q.     Go ahead and turn the page, if you      8 still maintains, correct?
       9 will, sir.                                          9       A.     You established what he wrote or
      10            It says, "The Val Chisone company       10 spoke in an interview to the New York Times,
      11 brings in millions of dollars per year, much of    11 correct.
      12 which goes to the personal fortunes of the         12       Q.     "Massey explained that J&J has no
      13 stockholders."                                     13 desire to get into the mining business." And that
      14       And is it, in Italian, do you know if it's   14 was true for another five years, right?
      15 villa or villa?                                    15       A.     Yes, yes.
      16      A.     Villa.                                 16       Q.     Because they did get into the mining
      17      Q.     "The Villa family is very wealthy and  17 business, right?
      18 holds a unique position in the modern world. It    18       A.     Yes.
      19 controls the Germanasca Valley in an almost futile 19       Q.     "Its objective is to produce a
      20 sense. The Val Chisone miners were worried lest we 20 superior powder to reverse the present market trend,
      21 had found poisonous minerals in the talc or had    21 which is away from talc," right?
      22 otherwise been displeased. When told we merely had 22       A.     Yes.
      23 a scheme for improving their excellent talc, they  23       Q.     So they wanted to strengthen the
      24 were most anxious to cooperate."                   24 position of talc in the market, true?
      25       "Massey" -- now he's with J&J, right?        25       A.     Well, you can only comment on what it

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                                                      Page 126                                                   Page 128
       1 says. The objective is to produce a superior             1      Q.     So let's see what they found in this.
       2 powder.                                                  2 And can you just look up here. This is Table 1.
       3      Q.    Okay. If you will, sir, turn to               3      A.     Yeah.
       4 Page 4. It's at the top. And they discuss this           4      Q.     Do you see here, sir, where they look
       5 whole run of mine and all of this. "When the whole       5 in the Italian No. 2 and No. 1 and they find
       6 run of mine ore both chunks and fine is ground, it       6 anywhere from 1 to less than 1 percent to trace
       7 is designated Grade 2. Grade 2, therefore, is the        7 tremolite?
       8 same as run of mine. When primarily coarse chunks        8      A.     Tremolite, yes.
       9 are grounded, it's designated Grade 1. The logic in      9      Q.     Right, the mineral, correct?
      10 the operation appears to be that whereas the coarse     10      A.     The mineral tremolite, yes.
      11 contaminants have been removed at the picking shed      11      Q.     Yes. And, of course, there are many
      12 at the mine, the contaminants which are in the fine     12 many many minerals, accessory minerals associated
      13 particles are necessarily overlooked. Hence,            13 with talc, correct?
      14 milling primarily coarse run of mine ore produces a     14      A.     Yes, in the mine you get carbonates,
      15 slightly purer product Grade 1 than does the milling    15 chalk.
      16 of the whole run of mine ore both chunks and fines      16      Q.     Yes.
      17 Grade 2."                                               17      A.     Yeah, magnesium carbonate, calcium
      18       Okay. So we've got Grade 1, Grade 2?              18 carbonate.
      19      A.    Yes.                                         19      Q.     There's dozens of accessory minerals
      20      Q.    Let's look at some test results.             20 that are present often in the talc, correct?
      21 This one will be in the big binder May 23, 1958.        21      A.     Not sure about "dozens." But,
      22           MR. PANATIER: Your Honor, this is             22 certainly, probably into double figures you can
      23 Exhibit 2344. It's already in evidence.                 23 get --
      24           THE COURT: What was the date of?              24      Q.     Okay, double figures.
      25           MR. PANATIER: This one is May 23,             25      A.     -- different minerals, yes. It
                                                      Page 127                                                   Page 129
       1 1958.                                                    1 depends on the mine.
       2 BY MR. PANATIER:                                         2      Q.     The three -- well, it looks like
       3      Q.     You found that, sir?                         3 three are picked out by the talc to focus on. The
       4      A.     Uh-huh, yes.                                 4 talc, the carbonates and tremolite, right?
       5      Q.     Alright. This is a Battelle report,          5      A.     Yes.
       6 right? What it looks like they're doing -- they're       6      Q.     Now, they didn't include all the
       7 studying the talc ores, right?                           7 other potential accessory minerals, right, they only
       8      A.     Yeah, it's a study on floatation.            8 focused on these three, true?
       9      Q.     Right. "Floatation" is the process           9      A.     Well, if you add up 48, 43, 5 and 4
      10 that Johnson & Johnson was using only on the baby       10 that's pretty well everything.
      11 powder, not on its industrial products, correct?        11      Q.     Let me ask you this.
      12      A.     Yes.                                        12       Was the finding of tremolite something that
      13      Q.     Okay. You can see here they say,            13 was good news to Johnson & Johnson?
      14 "Italian No. 2 talc likewise responded favorably to     14      A.     It wasn't bad news cause the other
      15 floatation. The two methods were developed which        15 studies had shown that the tremolite was the
      16 yielded products that contained 96 to 97 percent        16 harmless block form, the rod form.
      17 platy talc and 2 to 3 percent fibrous talc.             17      Q.     This should have been rejected,
      18 Mineralogically, these products are superior to the     18 right, because there was amphibole, right?
      19 Italian No. 1 talc, which is being used by J&J for      19      A.     Not necessarily. Because back in --
      20 baby powder," correct?                                  20 even as far back as the late 1940s, the company was
      21      A.     Yes.                                        21 using optical microscopy methods to look at the
      22      Q.     So floating the No. 2 they've got           22 talc. It wasn't just X-ray diffraction. In fact,
      23 something that was better than what J&J was already     23 I'm not even sure X-ray diffraction was being used
      24 using, right?                                           24 much at that time. The results, of course --
      25      A.     Better than non-floated, yes, yes.          25            MR. PANATIER: I'm going to object as

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                                                      Page 130                                                   Page 132
       1 nonresponsive, your Honor, move to strike.               1      Q.     Alright, sir. We're just going to
       2           MS. SULLIVAN: Your Honor, he's                 2 look at this one briefly. This is from 1958,
       3 answering the question.                                  3 May 9th. And it says that, "In the grit from this
       4           THE COURT: Objection overruled.                4 talc," they say, "it occurs as aggregates of talc
       5 BY MR. PANATIER:                                         5 and contaminants as acicular" -- and "acicular"
       6      Q.     Page 4, Table 2. They find more              6 means needlelike, correct?
       7 tremolite, right, in Italian 2 and Italian 1,            7      A.     Yes.
       8 correct?                                                 8      Q.     (Continuing.) "And fibrous particles
       9      A.     Oh, I got the wrong page. What page          9 of talc and amphibole as shards of granules of
      10 is this?                                                10 amphibole or carbonate and titanite, rutile, zircon,
      11      Q.     Page 4.                                     11 apatite and other accessory minerals."
      12      A.     Yes.                                        12           Those would be some of those other
      13      Q.     Okay. I'm just going to go through          13 minerals that sometimes appear in the talc, true?
      14 this. You probably -- you can just look at the page     14      A.     Yes.
      15 up here, if it will be quicker for you.                 15      Q.     And then down at the bottom it says,
      16       Page 7, Table 5, they find more tremolite in      16 "The Italian No. 1 contains from less than 1 percent
      17 the Italian No. 11 and Italian No. 2, right?            17 to about 3 percent of contaminants. The
      18      A.     Yes.                                        18 contamination is natural and consists mostly of
      19      Q.     That's -- the Italian 1 is the stuff        19 carbonate with minor amphibole and rare accessory
      20 they are then using, right?                             20 minerals."
      21      A.     Yes.                                        21       And down here you can see it says, "The
      22      Q.     We know from the visit to the mine          22 amphibole component has been established to be the
      23 that both Italian 1 and Italian 2 are coming from       23 variety tremolite," right?
      24 the same source ore, correct?                           24      A.     Yes.
      25      A.     From the Fontana mine, yes.                 25      Q.     And, of course, if you look in the
                                                      Page 131                                                   Page 133
       1      Q.     Yes. If you turn to Page 10, four     1 introduction page here, it says, "This is Russell's
       2 more results with tremolite, correct?             2 copy," okay. And I don't think that I have R.S.
       3      A.     Yes.                                  3 Russell up here.
       4      Q.     If you turn to Page 14, there is      4            But who is R. Russell? Who is Robert
       5 another result for tremolite for Italian 1 and    5 Russell?
       6 Italian 2, true?                                  6       A.    Bob Russell was a scientist in the
       7      A.     Yes. There is trace of tremolite in   7 research department.
       8 Italian talc, yeah.                               8       Q.    Okay. I'm just going to but Russell
       9      Q.     Well, there it's full 2 percent and   9 as a scientist.
      10 under 1 percent, correct?                        10       So it says this is his copy. So he's
      11      A.     On floated talc, it's less than one  11 received this, right?
      12 per -- less than one, yes.                       12       A.    Yes.
      13      Q.     And then if you turn to the Appendix 13       Q.    Okay. You can set that aside, sir,
      14 A1 and A2, they run a bunch of tests on these, 14 or if you're ready to turn to the next page.
      15 right?                                           15       Let's do July 31st, 1959. This was
      16      A.     Yes.                                 16 discussed last week. This one is in evidence and
      17      Q.     And they find tremolite numerous     17 it's 2346.
      18 times. Can we agree on that?                     18       This is, again, another Battelle study from
      19      A.     They do. They find a mineral called 19 July 31st, 1959, correct?
      20 tremolite, yes.                                  20       A.    Yes.
      21      Q.     Okay. Sir, if you'll turn to         21       Q.    And, again, sir, you're testing the
      22 May 9th, 1958.                                   22 floatation and they're finding tremolite again and
      23            MR. PANATIER: This is in evidence, 23 again, correct?
      24 your Honor. This is Exhibit 2343.                24       A.    Yeah, you find tremolite, yeah.
      25 BY MR. PANATIER:                                 25       Q.    Okay. You see here they find it and
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                                                        Page 134                                                    Page 136
       1 they note that it's largely fine acicular particles.       1 horizontally, that pretty well comes to a hundred.
       2       "Acicular" means needlelike, right?                  2      Q.    Okay.
       3      A.     Well, it's like the old Greek word,            3      A.    Between platy, non-platy, yeah.
       4 yeah, I mean, it's like the shape of my pen.               4 That's pretty well everything there. So it doesn't
       5      Q.     Okay. If you go to Page 32, although           5 mean you're going to get apatite or rutile or any of
       6 you can just look up here.                                 6 the minerals in those particular samples.
       7       There's many more results finding tremolite          7      Q.    Next one -- go to -- this says
       8 over and over and over again, correct?                     8 March 8th, 1960. And this one is in evidence as
       9      A.     You will find trace of tremolite in            9 2350.
      10 Italian talc.                                             10           You see this is pilot plant
      11      Q.     Johnson & Johnson absolutely knew             11 beneficiation of Italian run of mine talc,
      12 that tremolite was a consistent mineral that was          12 March 8th, 1960, right?
      13 present in the Italian talc, correct?                     13      A.    Yes.
      14      A.     Yes, it's one of several minerals             14      Q.    Okay. Let's just go to one of their
      15 that are present in talc.                                 15 tables where they do characteristics of talc
      16      Q.     Right, I mean, we can look through            16 products. Tremolite, they find it in every single
      17 this. We are going to find it more often than not,        17 one, right?
      18 aren't we?                                                18      A.    What table is that?
      19      A.     You'll find it occasionally, yeah.            19      Q.    This is Table 8.
      20      Q.     Okay. Here it is, again, okay.                20      A.    Yes, they report tremolite.
      21 Johnson & Johnson received these tests and knew           21      Q.    And, of course, they find it in a
      22 about them, correct?                                      22 Johnson & Johnson shelf product that was a sample
      23      A.     Yes.                                          23 from 1958, right?
      24      Q.     Let's go to December 31st, 1959.              24      A.    August '58, yes.
      25            MR. PANATIER: This will be                     25      Q.    Okay. So we know -- they know by
                                                        Page 135                                                    Page 137
       1 Exhibit 2349. This is already in evidence, your            1 now, this is 1960, certainly, that even if they
       2 Honor.                                                     2 benefitiate, they float the talc, that tremolite
       3 BY MR. PANATIER:                                           3 makes it through that process and even into the
       4      Q.     Another Battelle study and I'm almost          4 final product, right?
       5 done with the Battelle studies. You see that,              5       A.     Yes, if they -- yes.
       6 December 31st, '59?                                        6       Q.     Johnson & Johnson knew there was
       7      A.     Yeah.                                          7 tremolite unequivocally in the source ore and in the
       8      Q.     And, again, sir, they found more and           8 final product, correct?
       9 more results for tremolite in the ore, correct?            9       A.     Tremolite, yes, tremolite.
      10      A.     Yeah, yes, tremolite.                         10       Q.     Yes, I understand.
      11      Q.     If you go to the very last page,              11       A.     Yeah.
      12 again, it's kind of small type. But you can see           12       Q.     If you will turn, sir, to -- it
      13 over and over again -- by the way, when it says,          13 should just be marked 2,000. So it's probably in
      14 less than one, that's not the same as trace,              14 that final binder. It should be marked 2,000 and
      15 correct, because when they find trace, they mark          15 it's in that last binder. Let me know when you have
      16 trace, true?                                              16 it.
      17      A.     Sometimes they mark trace, yeah. And          17       A.     Yeah, we have it.
      18 sometimes they mark less than one.                        18       Q.     Can you see, sir -- you know what
      19      Q.     Okay.                                         19 interrogatories are, right?
      20      A.     Yeah.                                         20       A.     Yes.
      21      Q.     And they're not reporting on all              21       Q.     Interrogatories are questions in a
      22 those other accessory minerals, the apatite, the          22 lawsuit where one person asks questions of the other
      23 titanite, the other ones, they're reporting on            23 and the other has to answer them under oath, just
      24 tremolite, dolomite and talc?                             24 like you've taken the oath in a courtroom, right?
      25      A.     They are. But when you add up                 25       A.     Yes.

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                                                       Page 138                                                      Page 140
       1      Q.     Okay. And these are Johnson &                 1 tremolite or other contaminants in Johnson's baby
       2 Johnson's answers to interrogatories filed here in        2 powder."
       3 Middlesex County, right?                                  3       And what Johnson & Johnson wrote here in
       4      A.     Yes.                                          4 2000 and verified was, "To the best of Defendant's
       5      Q.     Okay. In the Krishinsky case, do you          5 knowledge, talc used in the manufacture of Johnson &
       6 see that?                                                 6 Johnson's Baby Powder never contained asbestos in
       7      A.     Yes.                                          7 any form or tremolite." Did I read that right?
       8      Q.     And if you go to the end, go to very          8      A.     You read what was written, yes.
       9 end, the last page, you'll see that there's a             9      Q.     And that's sworn answer was false,
      10 certification by the person from Johnson & Johnson       10 correct?
      11 who answered those interrogatories, Nancy Musco. Do      11      A.     I'm not going to speculate it was
      12 you see that?                                            12 intended to be false. It is not correct.
      13      A.     I see that, yes.                             13      Q.     Let's parse that out, right. It's
      14      Q.     And this is signed May 23, 2000,             14 false, correct?
      15 right?                                                   15      A.     It is not correct.
      16      A.     Yes, it is, yeah.                            16      Q.     And it was certified -- it was
      17      Q.     That's 40 years give or take after           17 certified by Nancy Musco who is someone that you
      18 most of the Battelle studies we saw, right?              18 have actually worked with in this litigation,
      19      A.     Yes.                                         19 correct?
      20      Q.     Okay.                                        20      A.     I never actually met Nancy Musco. I
      21            MR. PANATIER: Your Honor, we offer            21 think I may have spoken to her once on the phone,
      22 these into evidence, Exhibit 3173.                       22 but she was -- when I was based here in New Jersey,
      23            MS. SULLIVAN: I believe your Honor            23 she was in the same building, but I don't believe I
      24 has already ruled on this.                               24 ever actually met her.
      25            THE COURT: Can I see you at sidebar.          25      Q.     Have you met with any individuals
                                                       Page 139                                                      Page 141
       1           (Sidebar.)                                      1 with Johnson & Johnson to help them prepare for
       2           MS. SULLIVAN: Your Honor, we have --            2 their depositions in this litigation?
       3           THE COURT: Wait, wait, wait. I                  3      A.    I don't really understand the
       4 didn't hear you. Just get closer.                         4 question.
       5           MS. SULLIVAN: Sure.                             5      Q.    Sure. Did you help prepare any
       6           THE COURT: Go ahead.                            6 Johnson & Johnson employees or former employees for
       7           MS. SULLIVAN: We had a continuing               7 their depositions?
       8 objection to the line of lawsuits. But your Honor         8      A.    I've not been involved in this
       9 already ruled on that so...                               9 particular deposition, no.
      10           THE COURT: I did. Okay. Thank you.             10      Q.    I'm not asking about this case.
      11           (Sidebar ends.)                                11      A.    Oh, right.
      12           THE COURT: It's now admitted into              12      Q.    I'm asking for any depositions, have
      13 evidence.                                                13 you helped prepare any people whether it be Ms.
      14           (Plaintiff's Exhibit 3173 was moved            14 Musco or Nicholson or anybody else for their
      15      into evidence.)                                     15 depositions?
      16           MR. PANATIER: Thank you.                       16           MS. SULLIVAN: Your Honor, sidebar.
      17 BY MR. PANATIER:                                         17           THE COURT: Sure.
      18      Q.    Sir, will you turn to Question 17,            18           Don't answer.
      19 please.                                                  19           (Sidebar.)
      20      A.    Yes.                                          20           MS. SULLIVAN: Your Honor, I don't
      21      Q.    The question that Johnson & Johnson           21 know what the answer is, but he's a consultant for
      22 was asked was, "Describe in detail all processes,        22 Johnson & Johnson. And if the company had him
      23 procedures and testing performed upon the talc used      23 prepare employees, that's privileged and work
      24 in the manufacture of Johnson's Baby Powder to           24 product.
      25 reduce or eliminate the existence of asbestos,           25           THE COURT: One person at a time.

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       1            MS. PLACITELLA: I was at the                   1      A.     Not in this litigation, no.
       2 deposition, your Honor. She testified under oath as       2      Q.     You did not, not this case or any
       3 I recall that she spoke to Dr. Hopkins and that was       3 other cases?
       4 part of the basis for being prepared to testify as a      4      A.     Wait a minute. This litigation --
       5 corporate representative for Johnson & Johnson in         5 today, you mean in this particular case we're doing
       6 these cases. Dr. Nicholson and Nancy Musco, I             6 today?
       7 believe, said the exact same thing, not only that         7      Q.     Let me back up. I'm trying to make
       8 but they were on the phone going over all the tests       8 this simple. Let's back up.
       9 and what they meant.                                      9      A.     Yeah, I'd appreciate that.
      10            MR. MAIMON: By designating this               10      Q.     Have you ever met and helped prepare
      11 gentleman as the corporate representative, your          11 Ms. Nicholson or Ms. Musco for their testimony?
      12 Honor, they've waived attorney-client privilege.         12      A.     The answer to that question is, yes.
      13 He's no longer -- he's not -- by evoking the rule        13 Ms. -- Dr. Nicholson I spoke to last year and she
      14 what -- the Federal equivalent 30(b)(6) to designate     14 asked me a question and I -- or some questions and I
      15 him, to educate him and so forth, they've waived any     15 explained a little bit of background, yes.
      16 attorney-client privilege with regard to him.            16      Q.     Let's read this answer a little bit
      17            MS. SULLIVAN: Not for preparation of          17 further. "Defendant sources of talc were selected
      18 other witnesses.                                         18 for their lack of contaminants and further testing
      19            MR. PLACITELLA: I, actually, recall           19 was performed over a significant number of years by
      20 Dr. Nicholson -- and I can probably find it -- bring     20 outside laboratories which verified the talc sources
      21 in the notes from her conversation, which were           21 did not contain asbestos or tremolite."
      22 marked at her deposition and she said she actually       22            Did I read that right?
      23 relied upon them in her testimony.                       23      A.     Yes, you read what was written.
      24            THE COURT: Okay.                              24      Q.     That's entirely wrong, isn't it?
      25            MR. PANATIER: Right now the question          25      A.     Yeah, and, you know, I'm not going to
                                                       Page 143                                                  Page 145
       1 is, did you help prepare them.                        1 explain or speculate on whether she understood
       2            THE COURT: That's not privileged and       2 asbestos in tremolite or did it mean asbestos
       3 I'll allow it. Thank you.                             3 tremolite, yeah.
       4            (Sidebar ends.)                            4      Q.    Let's see what she says about how she
       5            (There is a discussion off the             5 got these answers. She says, "I'm employed by
       6        record.)                                       6 Johnson & Johnson Consumer Companies, Inc."
       7            THE COURT: You can answer the              7           THE COURT: Where are you reading
       8 question, Doctor.                                     8 from, Counsel?
       9            THE WITNESS: Would you repeat it? I        9           MR. PANATIER: The same -- sorry, the
      10 just want to make sure it's top of mind.             10 interrogatories, your Honor.
      11 BY MR. PANATIER:                                     11           THE COURT: Thank you.
      12       Q.     Did you help in this litigation meet    12           MR. PANATIER: This is the same
      13 with via in person or on the phone prepare Ms. Musco 13 exhibit. I was reading from before, the 2000
      14 or Ms. Nicholson for their testimony?                14 Krishinsky Exhibit 3173.
      15       A.     In this litigation?                     15 BY MR. PANATIER:
      16       Q.     In this litigation.                     16      Q.    "The foregoing Answers to
      17       A.     The answer is, no, not in this          17 Interrogatories were prepared with the assistance
      18 litigation.                                          18 and advice of Counsel for JJCI and upon whose advice
      19            THE COURT: No, wait, wait. The            19 and information JJCI and I relied."
      20 witness was pointing to the Answers to               20       So the lawyers helped her put this together,
      21 Interrogatories. So please be clear with what        21 right?
      22 you're asking.                                       22      A.    They used the word "Counsel," did
      23 BY MR. PANATIER:                                     23 they?
      24       Q.     This presently, me and you, this        24      Q.    Yes.
      25 litigation?                                          25      A.    Counsel, that was...

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                                                    Page 146                                                  Page 148
       1      Q.     That's lawyers, right?                   1 go.
       2      A.     Yes. It says "Counsel," yes.             2            THE COURT: Thank you.
       3      Q.     Okay. So Ms. Musco with the help of      3 BY MR. PANATIER:
       4 the J&J lawyers said that there had never been       4       Q.     Now, some of the tabs you'll see are
       5 tremolite in Johnson & Johnson's source ore and      5 just marked 78, because there's no other date given.
       6 that's false, correct?                               6 But this one does have a date. This is one is
       7      A.     No, we know that there is tremolite,     7 December 4, 1978.
       8 has been reported in the Italian talc many, many     8       A.     Okay.
       9 times, yes.                                          9       Q.     Okay. And do you see, sir, that this
      10      Q.     And we know that the extensive          10 is a letter from George Lee, the Director of Applied
      11 testing they refer to showed the tremolite to be    11 Science -- where is he? There he is. Director of
      12 there, right?                                       12 Applied Research, sorry, December 4th, 1978. And
      13      A.     Yes, I'm not disputing that.            13 he's writing to NIOSH, correct?
      14      Q.     And these answers were provided to      14       A.     Yes. Yes.
      15 someone who is representing someone with a disease, 15            MR. PANATIER: And, your Honor, I'll
      16 correct?                                            16 offer this into evidence.
      17      A.     Well, the interrogatory is what it      17            THE COURT: What's the marking on it?
      18 is.                                                 18            MR. PANATIER: 3624, your Honor.
      19      Q.     Right.                                  19            MS. SULLIVAN: No objection.
      20      A.     It states what it is.                   20            THE COURT: So admitted. Proceed.
      21      Q.     And you understand that people rely     21            (Plaintiff's Exhibit 3624 was moved
      22 upon those statements that are made by the company, 22         into evidence.)
      23 correct?                                            23       Q.     Okay. Doctor, it says, "Dear Dr.
      24      A.     Yes.                                    24 Rose," who was at NIOSH. "It was a privilege to
      25      Q.     When they are trying to decide do I     25 serve as the American Industrial Hygiene Association
                                                    Page 147                                                  Page 149
       1 have a case, they're relying on your answers, you      1 reviewer for the working draft of the criteria for a
       2 know that, right?                                      2 recommended standard occupational exposure to talc.
       3       A.     Yeah, and she did say or the person       3 Please find enclosed my comments and reply to the
       4 who wrote it said, no asbestos.                        4 list of questions furnished by NIOSH."
       5       Q.     Right. And no tremolite?                  5       So NIOSH asked some questions and this
       6       A.     And they said that as well.               6 fellow from Johnson & Johnson answered them,
       7       Q.     And those -- that verification, that      7 correct?
       8 is done under oath, correct?                           8       A.    Yes.
       9       A.     Well, it is what it is. It says what      9       Q.    Really all I want to talk about is
      10 it says. It says, no asbestos or tremolite.           10 the next page. He discusses asbestos. Know the
      11       Q.     You have answered interrogatories,       11 terms non-asbestiform and asbestiform, as they have
      12 have you not?                                         12 been used through the criteria document, are
      13       A.     Yes.                                     13 technically imprecise and were further confused by
      14       Q.     And those were under oath, you know      14 interchangeable use of terms such as fibrous talc,"
      15 it's just like being here?                            15 et cetera, et cetera.
      16       A.     Yes.                                     16       Here's what I want to get to.
      17       Q.     I have good news. I am going to skip     17            "If the ultimate purpose is to
      18 some Battelle stuff. We've done a lot of that.        18 categorize the tac bearing mineral dust according to
      19             Let's go to December 4, 1978. It          19 associated health affects, the following grouping
      20 should be in the -- it may be in the third binder     20 should be made on the basis of knowledge of their
      21 that I haven't given you yet.                         21 compositions: High purity grade of talcs, cosmetic
      22             MR. PANATIER: Here you go.                22 and pharmaceutical grades, which do not contain
      23       Q.     Yeah, here's 78.                         23 detectable asbestos and do not contain detectable
      24             Okay, last binder. Here you go.           24 quartz according to present commercial analytical
      25             MR. PANATIER: Your Honor, here you        25 methods," and it has an asterisk, right?

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                                                       Page 150                                                   Page 152
       1       A.    Uh-huh.                                       1 baby powder, right?
       2       Q.    And then he gives the definition of           2      A.    Yes.
       3 asbestos, correct?                                        3      Q.    Okay. They define asbestos again
       4       A.    Yes.                                          4 under CTFA J4 and TM7024. So one of those is
       5       Q.    "Asbestos is defined as the finally           5 XRD/optical and one of those electro microscope,
       6 fibrous form of serpentine known as chrysotile and        6 right?
       7 five fibrous forms of the amphibole group amosite,        7      A.    Yes.
       8 anthophyllite, crocidolite, tremolite and                 8      Q.    Right?
       9 actinolite." Did I read that right?                       9       They say, it has to be none detected, true?
      10       A.    You did, yes.                                10      A.    Yes.
      11       Q.    Okay. And so the definition of               11      Q.    And then they define it, "Asbestos is
      12 asbestos that Johnson & Johnson gives to NIOSH           12 defined to be the fibrous serpentine chrysotile and
      13 doesn't say anything about how it grew in the            13 the fibrous forms of the amphibole group as
      14 ground, just that it is fibrous, correct?                14 represented by amosite, anthophyllite, crocidolite,
      15       A.    It talks about the fibrous form means        15 tremolite and actinolite," right?
      16 it's asbestos.                                           16      A.    Yes.
      17       Q.    Right, if it's fibrous, true?                17      Q.    They don't say anything about having
      18       A.    As opposed to the broad form.                18 a geologist tell you how it grew in the ground, do
      19       Q.    Yes. Right, it says if it's fibrous,         19 they?
      20 it's asbestos, right?                                    20      A.    No, they describe whether it's
      21       A.    That's what that definition says,            21 fibrous or not fibrous.
      22 yes.                                                     22      Q.    So I took those two documents and I
      23       Q.    Okay. So that's Exhibit 3624. Now,           23 made us a poster, because we're going to start
      24 let's look at -- this is January 10, '94, yeah.          24 looking through some documents probably at the
      25            MR. PANATIER: This is already in              25 break -- after the break and we're going to compare
                                                       Page 151                                                   Page 153
       1 evidence, your Honor. This is Exhibit 2729.               1 what those documents say to the definitions that
       2 BY MR. PANATIER:                                          2 Johnson & Johnson has provided, okay? Do you see
       3      Q.     And, sir, I'll just show you this             3 those?
       4 one. It will be a little quicker, because it's            4      A.     Yes.
       5 already in evidence.                                      5      Q.     Can you read them okay?
       6       January 10, '94, do you see that? You can           6      A.     Well, let me get my driving glasses.
       7 look on the screen if it's easier or struggle to          7      Q.     Because I want to double-check with
       8 find the right binder.                                    8 you that these are what we just looked at before we
       9      A.     It's a different binder.                      9 go into a series of documents.
      10      Q.     Yes.                                         10       Are those quotations accurate from what we
      11      A.     Okay.                                        11 just looked at?
      12      Q.     You see this where it says, "Summary         12      A.     Those are from two documents, yes.
      13 of raw material and finished product testing for         13 One is the specification and the other is a
      14 baby powder talc," right?                                14 memorandum written by an employee to NIOSH.
      15      A.     Yes.                                         15      Q.     To NIOSH. The one we looked at just
      16      Q.     So this is the testing protocol, what        16 before this, true?
      17 they do for the different things they're testing for     17      A.     Yes.
      18 as of '94, right?                                        18      Q.     Okay. So Johnson & Johnson
      19      A.     Yes.                                         19 internally has defined asbestos as the fibers of any
      20      Q.     Okay. And we're going to turn to             20 of these minerals, chrysotile, amosite,
      21 this page. And you can see this is the                   21 anthophyllite, crocidolite, tremolite or actinolite,
      22 specification -- at this time Cyprus owned the mine      22 correct, sir?
      23 that Johnson & Johnson used to own, correct?             23      A.     No. The fibrous form, not "fibers,"
      24      A.     Yes.                                         24 fibrous form need to be -- that's what you've
      25      Q.     And, by the way, Windsor 66, that's          25 written on the yellow highlight, "fibrous form."

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                                                       Page 154                                                  Page 156
       1       Q.     Is a fiber fibrous, sir?                     1 their documents is a particle with parallel sides
       2       A.     It may or may not be. It depends on          2 and an aspect ratio greater or equal to three times
       3 the -- on the -- how the microscopist is defining         3 as long as it is wide, right?
       4 it. So, for constancy, we should use the word             4       A.   Well, that's a definition.
       5 fibrous. There's a definition for fibrous.                5       Q.   That is "the" definition that they've
       6       Q.     Well, let me just ask you.                   6 given in their very method --
       7       Is a fiber fibrous?                                 7       A.   That is a definition in that
       8       A.     It can be. But it may not be.                8 particular methodology.
       9       Q.     So you can have a fiber that is              9       Q.   This was always their definition in
      10 fibrous and a fiber that's not fibrous?                  10 7024, correct?
      11       A.     Yes. And that's -- you have to talk         11       A.   Yes.
      12 to geologist and microscopist to explain the fibrous     12       Q.   In fact, it's the definition today,
      13 form of those minerals is the asbestos form.             13 isn't it?
      14       Q.     Okay. Hold on. Let's see how --             14       A.   That is the same test effort today,
      15 let's see how Johnson & Johnson defines fiber then,      15 yes.
      16 one second, and then we'll take a break.                 16       Q.   And that is an individual fiber that
      17            This will be 1995, sir.                       17 is being described, correct?
      18            (There is a discussion off the                18       A.   It is, yes.
      19         record.)                                         19       Q.   Okay.
      20       Q.     Have you found it?                          20           MR. PANATIER: Your Honor, this is
      21       A.     I'm sorry, what is the year?                21 probably a good time to break.
      22       Q.     1995.                                       22           THE COURT: Okay. Members of the
      23       A.     I thought you were going to put it on       23 Jury, we're going to take the lunch break now.
      24 the screen.                                              24 Please be ready to come back upstairs at 1:30.
      25       Q.     Yep. It just says 1995 on it because        25 Remember to wear your juror badges where they are
                                                       Page 155                                                  Page 157
       1 that's the only date that's on the document.              1 visible.
       2            (There is a discussion off the                 2       No discussions with regard to this case,
       3         record.)                                          3 including the testimony you just heard. No research
       4      Q.     Okay. This is in evidence already as          4 of any kind whatsoever.
       5 Plaintiff's Exhibit 2736. And I'll just show it to        5           Enjoy your lunch. You can please
       6 you since it's already in evidence.                       6 leave your notebooks here. At 1:30 be ready to come
       7      A.     Okay. I was to have found it                  7 back upstairs.
       8 otherwise.                                                8           (Jury exits.)
       9      Q.     This here is Johnson & Johnson's              9           THE COURT: And we're off the record.
      10 TM7024, correct?                                         10           (Lunch recess taken 12:26 p.m. to
      11      A.     Yes.                                         11        1:28 p m.)
      12      Q.     This is the test method that Johnson         12           (Jury enters.)
      13 & Johnson had for electron microscopy, the testing       13           THE COURT: Please be seated. Make
      14 of powder talc, right?                                   14 sure cell phones are turned off. Whenever you are
      15      A.     Yes.                                         15 ready you may continue.
      16      Q.     For asbestiform minerals, true?              16           MR. PANATIER: Thank you, your Honor.
      17      A.     Yes.                                         17 Good afternoon, everybody.
      18      Q.     If we go to how they define it,              18 BY MR. PANATIER:
      19 definition of a fiber, "any elongated particle with      19      Q.    Okay. Dr. Hopkins, let's come back
      20 parallel sides and an aspect ratio greater than or       20 to BabyCenter.com. Do you remember we started to
      21 equal 3-to-1," right?                                    21 talk about that earlier this morning?
      22      A.     The definition may vary with needs of        22      A.    Yes.
      23 the client, yes.                                         23      Q.    And you said that was a website that
      24      Q.     Right. So the only definition of             24 Johnson & Johnson owned, right?
      25 fiber that Johnson & Johnson has given us using          25      A.    It's a domain name, yes.

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       1      Q.    Is that their only involvement?           1 not sure where the rest of it is.
       2      A.    As far as I know, they're not             2            MR. PANATIER: It's an excerpt for
       3 responsible for the content, the written content.    3 just this purpose.
       4      Q.    Do you recall in October of 2018 when     4            THE COURT: Okay. Subject to -- hold
       5 I questioned you about Baby Center and we went over 5 on. Sidebar.
       6 a Johnson & Johnson press release about trying to    6            MS. SULLIVAN: I'm sorry.
       7 reach millennial moms?                               7            (Sidebar.)
       8      A.    Yes.                                      8            THE COURT: Okay. So it's
       9      Q.    And do you recall in that press           9 incomplete. You say it's an excerpt. What else?
      10 release where Johnson & Johnson said we're going to 10            MS. SULLIVAN: This is -- it's not
      11 use Baby Center as the engine to get our word out? 11 relevant and proper for (INAUDIBLE) on its message
      12           Do you recall that?                       12 on its face and it has this little Trump summation
      13      A.    I do, yes.                               13 to baby powder, the financial numbers.
      14      Q.    Okay. Let me know if you need to see     14            MR. PANATIER: I'm not going to use
      15 it. But what we went over was someone named at      15 that. I'm only going to use this page, this page
      16 Alison Lewis at J&J had said digital -- let's see.  16 about Baby Center. So we'll redact that.
      17 "Digital marketing and communications will play an 17             MS. SULLIVAN: Okay.
      18 important role in the relaunch and the company will 18            THE COURT: And subject to then the
      19 use its Baby Center On-line Parenting Community as 19 entire document unless, of course, there's other
      20 the engine. Alison Lewis, the Global Chief          20 issues with the rest of it, we'll deal with it at
      21 Marketing Officer at J&J told analysts earlier this 21 sidebar.
      22 month."                                             22            MS. SULLIVAN: No objection. Thank
      23           Do you recall that?                       23 you.
      24      A.    Yes. They use the on-line community,     24            (Sidebar ends.)
      25 yes.                                                25            THE COURT: So that's admitted into
                                                       Page 159                                                  Page 161
       1      Q.     It's Baby Center as the engine,           1 evidence subject to the Court's specific ruling.
       2 correct?                                              2           MR. PANATIER: Thank you, your Honor.
       3      A.     Read that again, because it's             3           (Plaintiff's Exhibit 3695-23 was
       4 important. They talk about the on-line community.     4      moved into evidence.)
       5      Q.     Sure. "Digital marketing and              5 BY MR. PANATIER:
       6 communications will play an important role in the     6     Q.     Alright. So here's our Power Point
       7 relaunch and the company will use its Baby Center     7 and you see here this would be on the page marked 31
       8 On-Line Parenting Community as the engine. Alison 8 which is the last page, "Johnson's CRM efforts." Do
       9 Lewis the Global Chief Marketing Officer at J&J       9 you know what "CRM" means?
      10 consumer told analysts earlier this month."          10     A.     No, sorry, no.
      11       Is that what you wanted to hear again?         11     Q.     I didn't either until I saw right
      12      A.     Yes, the on-line community, yes, yes.    12 down here; customer relationship marketing, right?
      13      Q.     Okay.                                    13     A.     Well, there you go then.
      14            (There is a discussion off the            14     Q.     Right? You see here where it says,
      15         record.)                                     15 "Johnson CRM efforts." And the first one is
      16            MR. PANATIER: This will be 3695-23.       16 reaching 90 percent of mommies through Baby Center.
      17      Q.     Do you see that this is a Power Point    17 Do you see that?
      18 entitled "Leadership and Insight" dated 2007 Johnson 18     A.     Yes.
      19 & Johnson Baby GBU?                                  19     Q.     And do you see where they say they
      20      A.     Yes.                                     20 own BabyCenter.com?
      21            MR. PANATIER: Okay. And, your             21     A.     That's what they said, they own --
      22 Honor, at this time we offer this exhibit into       22 yeah, that's a website name, BabyCenter.com.
      23 evidence.                                            23     Q.     Right. They run their consumer
      24            MS. SULLIVAN: Your Honor, it looks        24 customer relationship marketing through Baby Center
      25 like it stops at Page 4 and goes to Page 31. So I'm  25 as well as other on-line places, correct?

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                                                      Page 162                                                  Page 164
       1      A.     Yes, they say -- they say they sent          1      A.    It's run by an external organization.
       2 6.7 million e-mails in 2007.                             2      Q.    What are they called?
       3      Q.     The fact that they own                       3      A.    I don't know what they're called.
       4 BabyCenter.com, the fact that the director of            4      Q.    Who at Johnson & Johnson is the
       5 marketing said, we're going to use that as an engine     5 liaison with this third party?
       6 to get out information about our products and this       6      A.    Again, I do not know who that
       7 together, sir, can you accept the fact that Johnson      7 individual is. It is run as an external system for
       8 & Johnson is active in Baby Center and does control      8 educating moms with babies.
       9 it?                                                      9      Q.    What meetings did you go to about
      10      A.     They're certainly "active" in it.           10 BabyCenter.com?
      11 But the point I made was that they were not             11      A.    I personally have not been to
      12 responsible for every text that's written on the        12 meetings with -- about BabyCenter.com.
      13 website.                                                13      Q.    What pamphlets or information did you
      14      Q.     So are you saying that even though          14 receive about what they vet; what they don't vet;
      15 they own this website that they actively use to try     15 how much control they exercise over it?
      16 to promote their products, that they just ignore the    16      A.    I have not received pamphlets as to
      17 content, they don't vet the content; is that what       17 what they vet or do not vet.
      18 they're saying?                                         18      Q.    What about any correspondence?
      19      A.     That is true, they do not vet the           19      A.    Well, I've not seen correspondence in
      20 content. There are things on there that may or may      20 the recent years.
      21 not agree, but they do not vet it. It's written by      21      Q.    Can you point to one thing you've
      22 external pediatricians and others who play a role in    22 actually seen that can back up what you're telling
      23 putting the text together.                              23 the jury today about how they have no control over
      24      Q.     So they don't actually vet what goes        24 the content, over BabyCenter.com?
      25 on this website that they own? Doesn't that sound       25      A.    Yes. I've discussed this with --
                                                      Page 163                                                  Page 165
       1 irresponsible?                                           1           MR. PANATIER: Your Honor, I'm going
       2            MS. SULLIVAN: Objection, your Honor,          2 to object to hearsay.
       3 that's argument.                                         3           THE COURT: Objection sustained.
       4            THE COURT: Objection sustained.               4           The question was, have you seen
       5            Please rephrase.                              5 anything?
       6 BY MR. PANATIER:                                         6 BY MR. PANATIER:
       7      Q.     So they don't vet anything that goes         7      Q.     Have you seen anything?
       8 on this domain name they own, Johnson & Johnson?         8      A.     No.
       9      A.     They don't -- they don't control it.         9           MR. PANATIER: Your Honor, at this
      10 They don't say, take that off, whatever. They may       10 time we're going to ask to put up BabyCenter.com on
      11 have a dialogue. But it sounds difficult to explain     11 its current form on the Internet.
      12 and it is difficult to explain, but they don't fully    12           MS. SULLIVAN: And, you Honor, I'm
      13 own the text that goes on there.                        13 just going to object to all the hearsay statements
      14      Q.     So let's explore -- let's vet, if you       14 from outside of J&J.
      15 will, some of your foundation for these statements,     15           MR. PANATIER: They own it, your
      16 okay?                                                   16 Honor.
      17      A.     Yes.                                        17           THE COURT: Objection overruled.
      18      Q.     When was BabyCenter.com purchased by        18           You can go right ahead.
      19 Johnson & Johnson?                                      19           What's the marking for that?
      20      A.     Several years ago. I don't remember         20           MR. PANATIER: We would print this
      21 the exact year. It was maybe early 2000s from my        21 out and we would make it 3695-24.
      22 recollection.                                           22           THE COURT: Thank you.
      23      Q.     Early 2000s?                                23           MR. PANATIER: Whenever you shut your
      24      A.     I think it was the early 2000s.             24 laptop, you have to go back on-line.
      25      Q.     Who runs it?                                25           (There is a discussion off the

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       1         record.)                                         1 powder or cornstarch at all on children,
       2 BY MR. PANATIER:                                         2 specifically, because the particles can be harmful
       3      Q.      Let's see if I'm on-line. There we          3 to their lungs, right?
       4 go. It looks like it. Can you see Baby Center up         4      A.     If inhaled, yes. And we talked about
       5 there?                                                   5 that. If you look on the pack, it talks about
       6      A.      Yes.                                        6 avoiding tipping a powder on your face and blocking
       7      Q.      Okay. Let's go to babies. Let's see         7 your nose.
       8 -- there we go. Okay. We'll go down here. Let's          8      Q.     So the only way that a baby inhales
       9 see here. Diaper, diapering and bottom care.             9 powder is if you dump it in their face?
      10 That's probably where we will find baby powder,         10      A.     No. But that's the one that causes
      11 right? Right above "poop 101"?                          11 most concern is if a baby grabs a carton of baby
      12      A.      Yes, it's a good place as any.             12 powder, tips it on its face, blocks the nose and
      13      Q.      Let's go to "diaper rash." Alright.        13 mouth, that's dangerous.
      14 Let's see here. "Diaper rash," let's click on this      14      Q.     This doesn't say that, though, does
      15 article.                                                15 it?
      16            It actually says here that --                16      A.     It's only saying it in a -- five
      17 underneath there it says, "written by Baby Center       17 words in a sentence.
      18 staff, reviewed by Baby Center Medical Advisory         18      Q.     Right. It says, "don't use it."
      19 Board updated February 2017," right?                    19 Pretty simple, right?
      20      A.      Yes.                                       20      A.     That's what it says.
      21      Q.      So it is, certainly, vetted by the         21      Q.     And let me ask, does Johnson &
      22 Board as referenced right there, correct?               22 Johnson on its baby powder that it sells say, don't
      23      A.      Well, the Baby Center Medical              23 use this on your children?
      24 Advisory Board is what I was talking about, the         24      A.     No, it's baby powder.
      25 external advisors, medical physicians and others,       25      Q.     It still doesn't have anything but
                                                      Page 167                                                  Page 169
       1 nurses.                                                  1 the twisty lid, right?
       2      Q.    How do you know that's who you were           2      A.     If you look at the cap.
       3 talking about? When I asked you who you were             3      Q.     Just can you just answer that
       4 talking about, you said, I didn't know.                  4 question?
       5      A.    I thought I did. I thought I said it          5      A.     It has a twist --
       6 was an external group.                                   6           MS. SULLIVAN: Your Honor --
       7      Q.    And you're telling us now that's the          7      A.     What am I about to say --
       8 group?                                                   8           THE COURT: Wait, wait. Hold on. I
       9      A.    Well, that's one of the names of it,          9 can't have three people talking at the same time.
      10 yes.                                                    10           The question was?
      11      Q.    So let's look and see what they say          11      Q.     All that the bottle currently has is
      12 about diaper rashes. Let's go to how do I -- let's      12 the twist lid at the top that opens and shuts the
      13 see. How do I treat it? Let's see if that works.        13 holes, correct?
      14           There we go. You see this right               14      A.     It has twist lid which opens and
      15 here? "Don't use powders or cornstarch because the      15 closes holes which are around the perimeter which
      16 particles can be harmful to a child's lungs if          16 retard or reduce the amount of powder that can come
      17 inhaled. Also some experts think cornstarch can         17 out and cause a nasal blockage.
      18 make a yeast diaper rash worse." Do you see that?       18      Q.     As opposed to just taking off and
      19      A.    Yes.                                         19 having the full mouth of the container?
      20      Q.    And I've shown you that before,              20      A.     Well, they've never had the full
      21 haven't I?                                              21 mouth of the container. They always had a series of
      22      A.    You have, yes. And I don't disagree          22 ten or seven holes in there.
      23 with it.                                                23      Q.     Alright. So we were talking about
      24      Q.    So Baby Center, the website that             24 tremolite earlier today. Do you recall that?
      25 Johnson & Johnson owns says that you shouldn't use      25      A.     Yes, yes.

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                                                        Page 170                                                   Page 172
       1       Q.    I'm sure you do.                               1      Q.    Now, Johnson & Johnson would from
       2       A.    Yes.                                           2 time to time vet other talc sources, correct?
       3       Q.    One of the documents that we saw last          3      A.    I wouldn't use the word "vet." This
       4 week from defense Counsel was Defense Exhibit 7044.        4 Project 101 was to look at some like 50 different
       5 It's in evidence. That's this document right here.         5 talc sources in the United States as options for
       6        And this is Fred Pooley, right? We've               6 when the Vermont mine ran of talc.
       7 talked about Fred Pooley, you and I already, haven't       7      Q.    Okay.
       8 we?                                                        8      A.    So they looked at that particular
       9       A.    Yes.                                           9 mine, yes.
      10       Q.    And Fred Pooley in 1972 he reported           10      Q.    They looked at alternative sources?
      11 that he had looked at some samples going back to          11      A.    They looked at about 50 different
      12 1949 as well as in the 00000 talc, that's the             12 mines.
      13 Italian, right?                                           13      Q.    Right. North Carolina never ended up
      14       A.    Yes.                                          14 being a source that they used, right?
      15       Q.    And you can see he says that, "No             15      A.    They never ever use any source other
      16 chrysotile was found at the mine or in samples            16 than in Vermont.
      17 taken. Some tremolite was located but was not             17      Q.    Now, if you will turn to the page
      18 asbestiform in character and has not been detected        18 that he signed, the page marked three. Do you see
      19 in 00000 talc imported into Great Britain for the         19 that?
      20 past year nor in shipments dating back to 1949."          20      A.    Yes.
      21            When Johnson & Johnson received this,          21      Q.    Right. They decided not to use the
      22 did they send to Dr. Pooley all of those Battelle         22 North Carolina, correct?
      23 memorial reports that you and I had showing               23      A.    Yes, correct.
      24 tremolite again and again and again in the Italian        24      Q.    Right. And you see under
      25 talc?                                                     25 "conclusions" they've got some complaints. One they
                                                        Page 171                                                   Page 173
       1      A.     I don't know. But I can tell you               1 said it's badly off color, but they say, also the
       2 that Dr. --                                                2 presence of tremolitic amphibole is "bad," right?
       3           MR. PANATIER: Your Honor, I would                3      A.     That's what is written, yes.
       4 object as to nonresponsive.                                4      Q.     We know that tremolitic amphibole was
       5      A.     I don't know then.                             5 all throughout the Italian and in Vermont, correct?
       6           THE COURT: Just -- thank you, thank              6      A.     We know that tremolite is present in
       7 you.                                                       7 the Italian talc, yes.
       8           MR. PANATIER: This will be                       8      Q.     Literally tremolitic amphibole is
       9 Exhibit 3127.                                              9 present --
      10      Q.     This is dated March 3rd, '72. So it           10      A.     Well, amphibole is a --
      11 should be in your first binder. Does that one go to       11      Q.     Let me finish the question first.
      12 March 3rd, '72?                                           12 Sorry.
      13      A.     Give me a second.                             13       Tremolitic amphibole is in the Vermont and
      14      Q.     Sure.                                         14 the Italian talc, correct?
      15      A.     Yep.                                          15      A.     There was amphibole in the Italian
      16      Q.     Yep, you found it.                            16 and Vermont talc, which can be in the form of
      17      A.     Yep.                                          17 tremolite.
      18      Q.     Okay, great.                                  18      Q.     Okay. And that's what he's saying
      19      Do you see that this is a Johnson & Johnson          19 here. They decide not to use it for two reasons,
      20 memo. It is from, I believe, it's from Mr. Russell.       20 the color and the fact that there's tremolitic
      21 Yes, R.S. Russell dated March 3rd, 1972?                  21 amphibole?
      22      A.     Yes.                                          22      A.     Yes, it's unpleasant on the skin. If
      23      Q.     And the subject is "domestic talc             23 you have a lot, it's very prickly.
      24 sources 101, North Carolina"?                             24      Q.     Oh, that's why, because it doesn't
      25      A.     Yes.                                          25 feel good on the skin?

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                                                      Page 174                                                  Page 176
       1      A.     It, certainly, does not. If it's             1           MR. SULLIVAN: Your Honor, I'm just
       2 needlelike and prickly, it does not feel good on the     2 going to object. Counsel keeps interrupting Dr.
       3 skin.                                                    3 Hopkins.
       4      Q.     Let's take a peak at it. Go ahead            4           MR. PANATIER: I'm going to object.
       5 and look at the second page where it says,               5           THE COURT: Okay. The Court Reporter
       6 "tremolitic amphibole." "The amphibole appears to        6 can't take multiple people speaking at the same
       7 be tremolitic and occurs in columnar bundles and         7 time.
       8 individual long, thin prismatic crystals," correct?      8           Dr. Hopkins you are not answering the
       9      A.     Yes.                                         9 question. The objection is overruled.
      10      Q.     And we know that that description,          10           MR. PANATIER: I'll move to strike,
      11 right, if you have long thin, whatever you want to      11 your Honor.
      12 call it, bundles or prismatic crystals, that's going    12           THE COURT: Stricken.
      13 to meet the definition that Johnson & Johnson has       13           The Jury is not to consider that last
      14 set out for asbestos, correct?                          14 response.
      15      A.     No. To meet the definition for              15           One more time.
      16 asbestos, it has to be what's called asbestiform.       16 BY MR. PANATIER:
      17 That's a geological and mineralogical definition.       17      Q.    Dr. Hopkins, testing method 7024 put
      18      Q.     Hold on. Let us step back to Johnson        18 together by J&J, right, they're TEM method, defines
      19 & Johnson's own definitions. That's the                 19 asbestiform as a fiber of 3-to-1, does it not?
      20 asbestiform?                                            20      A.    The definition of fiber is 3-to-1.
      21      A.     No, but I did.                              21 Yes, we saw that this morning.
      22      Q.     Yeah, I know you did. Did J&J?              22      Q.    And they don't say anything about
      23      A.     They talk about the fibrous forms of        23 what it means from a geological perspective or what
      24 those minerals.                                         24 it might mean from a commercial perspective, do
      25      Q.     Is that the asbestiform?                    25 they?
                                                      Page 175                                                  Page 177
       1       A.    No, it's defining asbestos.              1      A.     Not in that short sentence version,
       2       Q.    Right.                                   2 no.
       3       A.    Which has to be the asbestiform          3      Q.     But that's the protocol that people
       4 version.                                             4 are supposed to use to determine whether asbestos is
       5       Q.    Wait. Okay. I don't want to keep         5 present when they test J&J talc by TEM, right?
       6 going back and forth. But the reason I put these up  6      A.     People who test it use that protocol,
       7 here was so we can see exactly how J&J defines them. 7 correct.
       8 And you keep saying "asbestiform."                   8      Q.     Okay. So let's go back to this
       9       That word doesn't appear in Johnson &          9 document. He finds some "long thin prismatic
      10 Johnson's own definition, does it?                  10 crystals of tremolitic amphibole," correct?
      11       A.    It doesn't appear on those              11      A.     You read what is written.
      12 definitions. It does appear in other definitions on 12      Q.     Right? And he says it's "bad."
      13 the specification of the product.                   13       Now you said, well, it's bad because it
      14       Q.    It appears -- right, in 7024 the word   14 feels prickly on the skin, right?
      15 "asbestiform" appears, correct?                     15      A.     It does feel prickly on the skin.
      16       A.    The word "asbestiform" appears where    16 You wouldn't simulate nice soft baby powder, which
      17 it's used to describe a mineral in the -- of the    17 is prickly.
      18 asbestos character.                                 18      Q.     You know that Johnson & Johnson
      19       Q.    Right. And it describes it as a         19 actually admits in documents that I've shown you
      20 fiber that's 3-to-1, doesn't it?                    20 that that was never the case? You know that, right?
      21       A.    Well, that's one definition.            21           MS. SULLIVAN: Objection, your Honor,
      22       Q.    That's the only definition in 7024.     22 foundation and argumentative.
      23       A.    But geologists give a bigger -- okay.   23           MR. PANATIER: I'm just asking if he
      24       Q.    Just try to -- just answer the          24 knows.
      25 question.                                           25           THE COURT: Objection is overruled.

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                                                      Page 178                                                  Page 180
       1            You can answer.                               1       A.   Paper, paper, letters you mean?
       2      A.     No, I don't -- I stand by my answer,         2       Q.   Paper, yeah.
       3 that if you've got prickly particles, it doesn't         3       A.   No, I tended to use the phone and
       4 feel good on the skin.                                   4 e-mail but, yeah, the idea of using paper, no. I
       5      Q.     I would agree, generally, with you.          5 didn't have an inbox and outbox. I mean, I would
       6 Right, if something is prickly, you don't want that      6 have seen documents. But I, personally, avoided
       7 on your skin?                                            7 writing letters on paper when I could pick up the
       8      A.     Yeah, and, therefore, you consider it        8 phone.
       9 "bad," as he said.                                       9       Q.   You know what an inbox in?
      10      Q.     Does he mention that at all as the          10       A.   Yes, I do recollect that.
      11 reason they didn't want tremolite?                      11       Q.   When something comes in, it goes in
      12      A.     Not in that letter, no.                     12 the inbox, right?
      13      Q.     And, in fact, sir, by '72, Johnson &        13       A.   Yes. It's like on my e-mail.
      14 Johnson was well into the issue of asbestos in talc,    14       Q.   Right. Outbox would be the reverse,
      15 correct?                                                15 it is when something goes out, right?
      16      A.     The company was fully aware of the          16       A.   Yes.
      17 controversy and the discussions on asbestos in talc     17       Q.   So, as we go forward, what I want to
      18 by '72.                                                 18 do is, I want to kind of examine what was in Johnson
      19            MR. PANATIER: We offer this document         19 & Johnson's inbox, okay, what information they were
      20 into evidence, 3127, your Honor.                        20 receiving and then what information was in their
      21            MS. SULLIVAN: No objection.                  21 outbox, what they were sending out to people, okay?
      22            THE COURT: Okay. So admitted.                22       A.   Sure.
      23          (Plaintiff's Exhibit 3695-27 was               23       Q.   Alright. And so we can kind of keep
      24       moved into evidence.)                             24 this organized, I actually made an inbox, you see,
      25 BY MR. PANATIER:                                        25 right?
                                                      Page 179                                                  Page 181
       1      Q.     He doesn't say anything about skin,      1      Okay. And what we're going to put in this
       2 true?                                                2 inbox is any information --
       3      A.     No, it's a very short memo talking       3           MS. SULLIVAN: I'm sorry, Counsel,
       4 about a particular mine in the State of North        4 can I just see what you put in there?
       5 Carolina.                                            5           MR. PANATIER: Yeah.
       6      Q.     The question I asked is, does he say     6 BY MR. PANATIER:
       7 anything about tremolite being "bad" because of how 7       Q.     Any information to Johnson & Johnson
       8 it feels on the skin?                                8 about asbestos fibers, needles or amphiboles, okay.
       9      A.     He does not specify that, no.            9 And so we're going to put -- we'll put the inbox
      10      Q.     Alright. So here's a thing I wanted     10 right there.
      11 to talk to you about, which is when you were at     11           And then so we can evaluate what
      12 Johnson & Johnson up until 2000, at some point were 12 Johnson & Johnson sent out to other people, we have
      13 you an executive there?                             13 an outbox, okay. And this one says, out to
      14      A.     Yes.                                    14 customers, nurses, doctors, regulators, employees
      15      Q.     An executive, I guess, did you have     15 and the public, okay? Is that okay with you?
      16 your own desk?                                      16      A.     If that's the game you want to play.
      17      A.     Yes.                                    17           THE COURT: Can you show it to
      18      Q.     Okay. And on your desk, I guess,        18 Counsel.
      19 part of this era was an e-mail era and part of it   19           MR. PANATIER: Yeah.
      20 was probably in the more analog era, correct?       20           MS. SULLIVAN: Okay.
      21      A.     Yes.                                    21 BY MR. PANATIER:
      22      Q.     So we think inbox/outbox now as being   22      Q.     I'm sorry, if that's "the game" I
      23 e-mail, but did you, actually, have an inbox and an 23 want to play?
      24 outbox on your desk where people would bring you 24         A.     Yeah.
      25 documents or you might send something out?          25      Q.     You think it's a "game"?

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       1      A.    Well, it's a lot of props there.              1 Musco and Counsel?
       2      Q.    Well, if you think inbox and outbox           2      A.     Yeah.
       3 are "props," do you have an objection to us              3      Q.     Anyway, we know this is what was said
       4 demonstrating?                                           4 publically, correct?
       5      A.    No, I have no objection. I have no            5      A.     It was said in an interrogatory, yes.
       6 objection. You carry on with your demonstration.         6      Q.     Right. In a lawsuit, correct?
       7      Q.    Do you have an objection showing the          7      A.     I believe so.
       8 jury what Johnson & Johnson had at its disposal          8      Q.     Okay. We talked this morning about
       9 about what might be in the talc it was selling for       9 how Dr. Langer maintained that there was asbestos in
      10 babies? Do you have any objection to that?              10 the baby powder, correct?
      11      A.    None whatsoever.                             11      A.     That's what he said, yeah.
      12      Q.    Do you have an objection to my               12           THE COURT: Counsel, if you are
      13 showing the jury what Johnson & Johnson told other      13 placing documents in certain categories, you need to
      14 people about what was in their products, such as        14 specify for the record that cannot see what you're
      15 nurses, doctors, regulators and their own employees     15 doing.
      16 and the public?                                         16           MR. PANATIER: Okay. I will say it.
      17      A.    None whatsoever.                             17 I will say it.
      18      Q.    Alright. So our first entry into the         18           THE COURT: Thank you.
      19 outbox is going to be those interrogatories that we     19 BY MR. PANATIER:
      20 went over for the year 2000 earlier this morning        20      Q.     In the Russell memo, "tremolite is
      21 that Ms. Musco signed. Do you remember that?            21 bad" we're going to put that in the inbox, too.
      22      A.    Yes. I do, yes.                              22           So let's come back to this concept of
      23      Q.    Where they said, after decades and           23 the use of Johnson's Baby Powder and how people will
      24 decades, they said no tremolite, right?                 24 use it.
      25      A.    Yes.                                         25       Johnson & Johnson recommended all sorts of
                                                      Page 183                                                      Page 185
       1      Q.    What they had in the inbox, of                1 uses for the baby powder outside of just putting it
       2 course, was lots of tremolite from Battelle,             2 on babies, right?
       3 correct?                                                 3      A.    Well, you need to be a bit more
       4      A.    Yes. There's never been any denial            4 specific. I'm happy to comment, if I have some
       5 of that.                                                 5 sentence to comment on.
       6      Q.    Except for right here?                        6      Q.    I can do that.
       7      A.    Well, I think she made a mistake              7      A.    Thank you.
       8 there, by the way.                                       8           MR. PANATIER: This will be
       9      Q.    Well, it would have to be not just            9 Exhibit 3695-25. Here you go, your Honor.
      10 she making a mistake, right, because she answered       10           THE COURT: Thank you.
      11 the questions based on help from the lawyers, right?    11 BY MR. PANATIER:
      12      A.    Well, we saw the word "Counsel," yes.        12      Q.    There you go, sir.
      13      Q.    Right. So let me ask you this                13      A.    Thank you.
      14 question.                                               14      Q.    Sir, do you see that this is a memo
      15      At this time do you remember the millions of       15 with the Johnson's baby logo at the top?
      16 documents you and I have talked about, have they        16      A.    Yes.
      17 been released by Johnson & Johnson in 2000?             17      Q.    And you see that it has Johnson's
      18      A.    I don't know.                                18 Baby Oil, Johnson's Baby Powder and then a series of
      19      Q.    Had Johnson & Johnson released those         19 uses for these products, correct, that are
      20 Battelle studies before 2016?                           20 recommended?
      21      A.    I don't know.                                21      A.    You're showing me a memo, but it
      22      Q.    Because what you said was, yes, it's         22 doesn't say whose written it or when it was written.
      23 wrong, but I don't know whether it was intentional.     23 What was this done by a press release agency or is
      24 That would have to be, at least, assuming only one      24 this from Johnson & Johnson?
      25 lawyer, at least, two people, right, if you have        25      Q.    Well, that's a great question, but I

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       1 got the documents from you. So this one is not --           1 understand this.
       2 this one is not dated, but this is a Johnson &              2           MR. PANATIER: Yeah.
       3 Johnson -- for the record, it's Bates range J&J Talc        3           THE COURT: When you go and print out
       4 000628263 produced by Johnson & Johnson.                    4 these documents that are produced, quote, unquote,
       5            MS. SULLIVAN: I'll just note,                    5 in their "native" --
       6 Counsel, the one you gave me has no Bates number on         6           MR. PANATIER: Right.
       7 it. It is J&J ine.                                          7           THE COURT: -- whatever that
       8            MR. PANATIER: It was produced in                 8 terminology is --
       9 native format, your Honor. I had to go look up the          9           MR. PANATIER: Right.
      10 Bates range?                                               10           THE COURT: -- A Bates number does
      11            Is there anything else.                         11 not come out?
      12            MS. SULLIVAN: I don't know why he               12           MR. PANATIER: Correct. That's a
      13 can't use the Bates numbers.                               13 Power Point, an Excel spreadsheet, a Word document,
      14            THE COURT: Sidebar.                             14 if they produce them in native, they're not going to
      15            (Sidebar.)                                      15 add a Bates stamp to the original file. Now, if
      16            MR. PANATIER: If Counsel doesn't                16 they produce -- for instance, a lot of these memos
      17 understand how their own production works, I can't         17 are old, old memos, they are photocopies, they put
      18 work with that. This is -- they produced a certain         18 the Bate Stamp right on them. So they produce them
      19 number of documents in their, quote, unquote,              19 in two ways.
      20 "native" format, which means, not a copy of the            20           MS. SULLIVAN: Counsel has the Bates
      21 document, it's in the actual -- like, for instance,        21 numbers. They've been given them. I don't know why
      22 in a Power Point, they would produce the actual            22 he just doesn't use them.
      23 Power Point, not a copy of the Power Point.                23           THE COURT: He's indicated now what
      24            THE COURT: So they never Bates                  24 the Bates number is. I would ask your office to
      25 range?                                                     25 verify this information, if you're concerned.
                                                         Page 187                                                      Page 189
       1            MR. PANATIER: So they don't Bates                1            MR. PANATIER: I'd like to come back
       2 range native documents.                                     2 to it. If they want to verify it, it's not a big
       3            THE COURT: So how did J&J Bates                  3 deal.
       4 numbers become created?                                     4            MS. SULLIVAN: I mean, I just don't
       5            MR. PANATIER: I have to go look up               5 know if it's from a third party. I have no idea
       6 on the document management software what Bates label        6 where it's coming from.
       7 they gave to the native. But when you print the             7            MR. PANATIER: How about this. I'll
       8 native because it's native and they don't want it           8 set it aside, if Counsel wants to check and verify,
       9 messed with, it doesn't print with the Bates Stamp.         9 if they have issues with it, that's fine, I'll just
      10 It's not on the native. But I am telling the Court         10 come back to it.
      11 that this is the correct Bates number for this             11            THE COURT: Okay. Definitely, that's
      12 document.                                                  12 what we'll do.
      13            THE COURT: JJ0006286 what was after             13            MR. PANATIER: We'll come back to
      14 that?                                                      14 this.
      15            MR. PANATIER: Three.                            15 BY MR. PANATIER:
      16            MS. SULLIVAN: Your Honor, just for              16       Q.    Okay. You should have a document
      17 the record, we have given Bates numbers to every           17 that has a tab that says "1985" on it. So, if you
      18 single document we've produced. In every other             18 go into that range, it's probably the second or
      19 trial people are using the Bates stamp numbers so we       19 third notebook.
      20 can tell whose file it comes from. I'm not sure why        20            (There is a discussion off the
      21 Counsel can't just use the Bates numbers.                  21         record.)
      22            MR. PANATIER: This is not a Bates               22       Q.    You found that, sir?
      23 stamped document. Counsel can go look at her own           23       A.    Yes.
      24 documents.                                                 24       Q.    Okay, great. This will be
      25            THE COURT: So I'm trying to                     25 Exhibit 2064.

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                                                     Page 190                                                   Page 192
       1            And do you see, Doctor, that is a            1 this year which, I believe, is '84, '85, they have
       2 document called "Technological Forecast Powders"?       2 Johnson's Baby Powder and they have the amount of
       3 Do you see that?                                        3 money. They have market share and then the ounces,
       4      A.     Yes.                                        4 total ounces sold. Do you see that?
       5            MR. PANATIER: Okay. Your Honor, at           5      A.     Yes.
       6 this time I would offer this into evidence.             6      Q.     So, if you look at the talc and
       7            THE COURT: Any objection?                    7 cornstarch section that they have there, the market
       8            MS. SULLIVAN: A second, your Honor,          8 share for that was 115 million; is that right?
       9 until I look at it. No objection.                       9 Right here.
      10            THE COURT: So admitted.                     10      A.     I see, yeah, yeah, yeah.
      11            (Plaintiff's Exhibit 2064 was               11      Q.     And they got, approximately, oh, 41
      12       moved into evidence.)                            12 percent of that, right?
      13            THE COURT: What does the cover sheet        13      A.     Yes.
      14 say on that, Counsel?                                  14      Q.     Okay. And they got about -- they got
      15            MR. PANATIER: "Technological                15 218 million ounces out of the 564 million ounces
      16 Forecast."                                             16 sold, true?
      17            THE COURT: From 1984. Okay,                 17      A.     Yes.
      18 proceed.                                               18      Q.     Under "Major Issue," "Major Issue is
      19 BY MR. PANATIER:                                       19 the future of a category under a safety cloud and
      20      Q.     Okay. Sure.                                20 without an alternate reason for being."
      21            Alright. So this is the type of             21           Okay. Now, when you got to the
      22 document that a company will do to talk about how      22 company in '76 -- right, that was when you got
      23 their products are doing, what they forecast them to   23 there?
      24 doing in coming years, correct?                        24      A.     Yes.
      25      A.     Yes.                                       25      Q.     At some point did you have a
                                                     Page 191                                                   Page 193
       1      Q.    If we go to the third page under             1 responsibility for evaluating the safety of the baby
       2 "Safety Factors." Can you see that, sir?                2 powder?
       3      A.    Yes.                                         3      A.     Yes.
       4      Q.    "Safety of cosmetic powders has been         4      Q.     In fact, it became -- by the '90s,
       5 a concern especially among health professionals.        5 were you the head person in charge of the safety of
       6 They have decided that powders provide no health        6 the baby powder?
       7 benefit. Therefore, the potential for harm from         7      A.     In the UK, certainly, yes, until I
       8 respirables or accidental overexposure should be        8 moved here to the US in '90 -- end of '94.
       9 avoided. Mothers are now being advised not to use       9      Q.     Okay. And at the end of '94, did you
      10 baby powder especially talc baby powders."             10 continue in that same role here?
      11      Okay. Did I read that right?                      11      A.     Yes.
      12      A.    You did, yes.                               12      Q.     Alright. So what do they mean when
      13      Q.    Okay. If you'll turn please, sir, to        13 they say "a safety cloud"?
      14 the page marked eight. They have a section called      14      A.     Well, because if you -- and I'm sure
      15 "Market Dynamics." You can see there it says,          15 you're going to show it. There are -- there have
      16 "Second, baby care professionals now sometimes         16 been in the early '70s a number of reports, later
      17 recommend against the use of talcum or cornstarch      17 shown to be erroneous, were people claimed they
      18 powders" -- and then they give some statistics --      18 found asbestos in the product. And that like a bad
      19 "because perceived risk exists that there are no       19 smell, it doesn't blow away, that was kind of
      20 health benefits."                                      20 hanging around. So there was an issue, although, in
      21      Now you've confirmed for us, there are no         21 reality the company was confident that there was no
      22 health benefits, correct?                              22 asbestos. But there is that cloud.
      23      A.    Well, there are no medical benefits,        23      Q.     When you say, that were later -- what
      24 yeah.                                                  24 did you say later disproven?
      25      Q.    And then they have, at least, for           25      A.     Yeah.

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       1      Q.     We're not talking about Dr. Langer,          1          MR. PANATIER: Here's your copy. I'm
       2 though, right?                                           2 using the July 30th and then I'll use that one.
       3      A.     Yes, Dr. Langer published a paper            3          MS. SULLIVAN: I don't see an exhibit
       4 back in '76 with Dr. Rolle.                              4 number.
       5      Q.     Are you just going to ignore what he         5          MR. PANATIER: This will be
       6 said six months ago?                                     6 Exhibit 2614.
       7            MS. SULLIVAN: Objection, your Honor,          7 BY MR. PANATIER:
       8 that's argument.                                         8      A.    Well, there you go, because I'm not
       9            THE COURT: Overruled.                         9 sure which volume that is in.
      10            You can answer.                              10      Q.    Probably -- this one, July 30, '71.
      11      A.     What he said is what he said, but it        11      A.    Yeah, here it is.
      12 was not what he wrote in a peer reviewed published      12      Q.    Okay. So that's a memo from
      13 literature of scientific literature.                    13 Hildick-Smith. There is a stamp over his name on
      14      Q.     You're aware that he tested more than       14 the bottom, but that's from Hildick-Smith received
      15 two bottles of baby powder ever, correct?               15 by Nashed and it's to Dr. Fuller regarding a
      16      A.     Yes, he tested a lot of bottles.            16 conversation with Dr. Clark Cooper at the School of
      17      Q.     Then you see here it says, "It is           17 Public Health University of California, right?
      18 possible to hypothesize that pursuit of technologies    18      A.    Yes.
      19 which would create talc based powders of higher         19      Q.    Okay. 1971, true?
      20 interest than JPB to adults could be profitable.        20      A.    Yes.
      21 Major effort should be expended to prove a health       21      Q.    Okay.
      22 benefit for cosmetic dusting powders," right?           22          MR. PANATIER: I offer this into
      23      A.     Well, that's what someone has written       23 evidence, your Honor, Exhibit 2614.
      24 they're suggesting, yeah.                               24          MS. SULLIVAN: No objection.
      25      Q.     "Someone" at Johnson & Johnson,             25          THE COURT: So admitted.
                                                      Page 195                                                   Page 197
       1 correct?                                                 1            (Plaintiff's Exhibit 2614 was
       2     A.      Well, that's why I'm puzzled, because        2       moved into evidence.)
       3 I'm not sure who wrote this.                             3 BY MR. PANATIER:
       4     Q.      Are you saying that someone else is          4      Q.     He says, "At Dr. Crowley's
       5 doing all this analysis and writing about all these      5 suggestion, conversation was held with Dr. Clark
       6 issues other than Johnson & Johnson in a document        6 Cooper of the School of Public Health University of
       7 with a Johnson & Johnson Bates Stamp that you            7 California Berkeley. Dr. Cooper had worked at the
       8 produced to us?                                          8 National Center for Urban and Industrial Health and
       9     A.      I don't know. But what I'm saying is         9 later moved to the School of Public Health at
      10 there is no author. So I don't know -- you asked me     10 Berkeley. Dr. Cooper was chairman of the National
      11 who wrote it or who the -- if it was a Johnson &        11 Research Council, review of asbestos and its
      12 Johnson, but I said there's no author. But the          12 potential health hazards which published an
      13 document speaks to itself. I'm not disputing what       13 excellent review on the subject. Dr. Cooper was
      14 is written.                                             14 called in the hope that he might be able to attend
      15           (There is a discussion off the                15 the FDA meeting on August 3rd. He is in a position
      16        record.)                                         16 to oversee epidemiological studies, conduct
      17     Q.      So they said they wanted to try to          17 analytical studies on talc and allied materials and
      18 provide a health benefit, right?                        18 conduct animal studies on appropriate materials. He
      19     A.      Well, the person who is writing this        19 would be pleased to discuss this area at anytime.
      20 document, whoever he or she is, is going down that      20       In asking Dr. Cooper his thoughts concerning
      21 route, yeah.                                            21 the asbestos content of talc and the use of talcs
      22           (There is a discussion off the                22 for cosmetics, he indicated that in his opinion
      23        record.)                                         23 there is no place for asbestos in cosmetic talcs and
      24     Q.      Alright. This document is                   24 would withdraw from the market any talcs that
      25 Exhibit 2614 and it is dated July 30, 1971.             25 contained asbestos."

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                                         718-983-1234
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       1       IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY
       2                      - - -
              IN RE: JOHNSON &       : MDL NO.
       3      JOHNSON TALCUM POWDER : 16-2738 (FLW)
              PRODUCTS MARKETING,    : (LHG)
       4      SALES PRACTICES AND    :
              PRODUCTS LIABILITY     :
       5      LITIGATION             :
                                     :
       6      This Document Relates :
              to: All Cases          :
       7
                       IN THE CIRCUIT COURT
       8            OF THE CITY OF ST. LOUIS
                        STATE OF MISSOURI
       9                     - - -
             VICKIE FORREST, et al, :
      10                            : CASE NO.
                   Plaintiffs,      : 1522-CC00419-
      11                            : 02
                   vs.              :
      12                            : Division 1
             JOHNSON & JOHNSON, et :
      13     al.,                   :
                                    :
      14           Defendants.      :
      15                     - - -
                       September 27, 2021
      16                     - - -
      17           Videotaped remote deposition of
            JOHN McKEEGAN, taken pursuant to notice,
      18    was held via Zoom Videoconference,
            beginning at 10:02 a.m. EST, on the above
      19    date, before Michelle L. Gray, a
            Registered Professional Reporter,
      20    Certified Shorthand Reporter, Certified
            Realtime Reporter, and Notary Public.
      21
                                 - - -
      22               GOLKOW LITIGATION SERVICES
                      877.370.3377 ph| 917.591.5672
      23                     deps@golkow.com
      24



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                                 John      Filed 08/14/23 Page 613 of 691 PageID:
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       1 ZOOM APPEARANCES:                             1
                                                                    - - -
                                                                   INDEX
       2                                               2
         LEVIN PAPANTONIO RAFFERTY PROCTOR             3
                                                                    - - -
       3 BUCHANAN, O'BRIEN, BARR, MOUGEY, PA           4
         BY: CHRISTOPHER V. TISI, ESQ.
       4 CAMERON STEPHENSON, ESQ.
                                                        5
                                                          Testimony of:      JOHN McKEEGAN
         316 South Baylen Street
       5 Suite 600
                                                        6
                                                              By Mr. Tisi      11, 273
         Pensacola, Florida 32502
       6 (888) 435-7001                                       By Ms. Frazier       261
         ctisi@levinlaw.com                             7
       7 Cstephenson@levinlaw.com                       8
         Representing the Plaintiffs                    9
       8                                               10
       9 LUNDY LUNDY SOILEAU & SOUTH LLP
           BY: KRISTIE M. HIGHTOWER, ESQ.              11
                                                                    - - -
      10 NICHOLAS J. KOHRS, ESQ.
           501 Broad Street                            12
                                                                  EXHIBITS
      11 Lake Charles, Louisiana 70601
           (337) 439-0707                              13
                                                                    - - -
      12 Khightower@lundylawllp.com
           Nkohrs@lundylawllp.com
                                                       14
                                                          NO.      DESCRIPTION        PAGE
      13 Representing the Plaintiffs                   15
                                                          P1.446    Memo, 2/4/94    116
      14
                                                                 Subject, Talc
         ROBINSON CALCAGNIE
      15 BY:
                                                       16
                                                                 Symposium Followup
              GENEVIEVE OUTLAW, ESQ.                             JNJ 000022605
         19 Corporate Plaza Drive                      17
      16 Newport Beach, California 92660
         (949) 720-8855                                   P1.603    E-mail Thread   166
      17 Goutlaw@robinsonfirm.com
                                                       18
                                                                 12/7/02
         Representing the Plaintiffs                             Subject, Talc
      18
                                                       19
                                                                 Assessment/Nichols
      19                                                         Dezenhall
      20
                                                       20
                                                       21
                                                                 JNJ 000019592-94
      21
      22                                               22
      23                                               23
      24                                               24

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       1
         ZOOM APPEARANCES: (Cont'd.)                    1
                                                                    - - -
       2                                                2
                                                               E X H I B I T S (Cont'd.)
       3
         SHOOK HARDY BACON                              3
                                                                    - - -
         BY: KATHLEEN FRAZIER, ESQ.                     4
       4
         JP Morgan Chase Tower                          5
                                                          NO.      DESCRIPTION             PAGE
         600 Travis Street, Suite 3400                  6
                                                          P1.605    E-mail Thread        19
       5
         Houston, Texas 77002                                    9/1/99
         (713) 546-5611                                 7
                                                                 Subject, Confidential
       6
         Kfrazier@shb.com                                        Article Genital Talc
         Representing the Defendants, Johnson &         8
                                                                 Exposure and Risk of
       7
       8
         Johnson entities                                        Ovarian Cancer
         SEYFARTH SHAW, LLP
                                                        9
                                                                 JNJ 000020043-45
       9
         BY: THOMAS T. LOCKE, ESQ.
                                                       10
                                                          P1.610    E-mail Thread        246
         975 F Street, NW                                        12/15/00
      10
         Washington, D.C. 20004
                                                       11
                                                                 Subject, Ken Rothman
         (202) 463-2400                                          JNJ 000404480-81
      11
         tlocke@seyfarth.com                           12
         Representing the Defendant, PCPC                 P1.626    CTFA Memorandum          220
      12                                               13
                                                                 10/27/00
      13
         TUCKER ELLIS, LLP                                       Subject, Proposal
         BY: ELIZABETH J. CUMMINGS, ESQ.               14
                                                                 From Nichols/Dezenhall
      14
         100 South Fourth Street                                 On Talc
         Suite 600                                     15
                                                                 PCPC_MDL00144426-35
      15
         St. Louis, Missouri 63102                     16
                                                          P1.637    E-mail Thread        59
         (314) 571-4963                                          2/13/98
      16
         Elizabeth.cummings@tuckerellis.com            17
                                                                 Subject, Talc
         Representing the Defendants, PTI Royston,               JNJ 000038708
      17
      18
         LLC and PTI Union, LLC                        18
                                                                 Statement on Talcum
         ALSO PRESENT:                                           Powder
      19                                               19
                                                                 JNJ 000020045
      20
         VIDEOTAPE TECHNICIAN:
                                                       20
                                                          P1.640    E-mail Thread        158
         Carolin de la Rosa                                      2/4/00
      21                                               21
                                                                 Subject, FYI HealthScout
      22
         LITIGATION TECHNICIAN:                                  Article
      23
         Dan Lawlor                                    22
                                                       23
                                                                 JNJTALC000440752-56
      24                                               24




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      5
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      6
         P1.643    E-mail Thread        68      5
                                                  Direction to Witness Not to Answer
                3/10/00                           PAGE LINE PAGE LINE PAGE LINE
       7
                Subject, Stockholders           6

                Meeting Powder Questions          None.
       8
                JNJ 000404539                   7
                Annual Stockholders Meeting 8 Request for Production of Documents
       9
                Powder Questions
      10        JNJ 000020073                   9
                                                  PAGE LINE PAGE LINE PAGE LINE
                                                  247 14
      11 P1.645    E-mail Thread        97        259 6
                11/28/00                       10

                Subject, Talc                  11
      12
                JNJ 000576337                     Stipulations
                National Toxicology
                Program Draft Reaction
      13                                       12

                Statement                         PAGE LINE PAGE LINE PAGE LINE
      14
                JNJ 000576338                  13
                                                  None.
      15
         P1.646    E-mail Thread        83
                12/5/00
                                               14
      16
                Subject, Talc -                   Questions Marked
                Not for Further                15
      17
                Distribution                      PAGE LINE PAGE LINE PAGE LINE
                JNJ 000563635-38
      18                                       16
                                                  None.
      19 P1.647    E-mail Thread        86     17
                10/11/01                       18
                Subject, Expanded
      20
                Talc Q&A                       19

      21        JNJ 000562923-25               20
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      22 P1.655    E-mail Thread        31
                7/1/99                         22
                Subject, Talc Review           23
      23
      24        JNJ 000564698-99               24

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       1
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                                                                - - -
       2
              E X H I B I T S (Cont'd.)
       3
       4           - - -                        2
                                                            THE VIDEOGRAPHER: We are
       5
         NO.      DESCRIPTION             PAGE 4
                                                3
                                                        now on the record.
       6
         P1.658    E-mail Thread        191                 My name is Carolin De La
                11/14/00                        5
                                                        Rosa, the videographer for Golkow
       7
                Subject, Talc Nov 9th
       8        JNJ 000404424-29                6
                                                        Litigation Services.
       9 P1.663    E-mail Thread        176     7
                                                            Today's date is
                11/17/00                        8
                                                        September 27, 2021, and the time
                Subject, Monday 11/20
      10
                Talc Meeting                    9
                                                        is 10:02 a.m.
      11        JNJ 00368160-63                10
                                                            This deposition is being
      12 P1.665    E-mail Thread        74              held in the matter of In Re talcum
                                               11
                12/4/00                        12
                                                        powder litigation.
                Subject, Talc
      13
                JNJ 000404553                  13
                                                            The deponent today is John
      14
         P1.667    Curriculum Vitae      12             McKeegan.
                John McKeegan
                                               14
      15
                McKeegan-00000001-2            15
                                                            All parties are noted on the
      16
         P1.669    FDA's Cosmetics       133
                Program                        16
                                                        stenographic record.
      17
                2/10/98                        17
                                                            Will the court reporter
                PCPC 0058604-654
      18                                       18
                                                        please swear in the witness.
      19 P1.670    Talc: Consumer Uses 59 19                     - - -
                And Health Perspectives
      20        JNJ 00039511-15                20
                                                            ... JOHN McKEEGAN, having
      21 P2.6     Genital Talc Exposure 26
                                               21
                                                        been first duly sworn, was
                And Risk of Ovarian            22
                                                        examined and testified as follows:
                Cancer
      22
      23        (Cramer)                       23
                                                                 - - -
      24
                                                   24
                                                            MR. TISI: Just a couple of


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                                 John      Filed 08/14/23 Page 615 of 691 PageID:
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      1
            preliminary things before we           1
                                                           Q. Please state your name for
       2
            actually start the deposition.         2
                                                      the record, sir.
       3
                First of all, I do                  3
                                                           A. John McKeegan.
       4
            understand that I asked this            4
                                                           Q. And would you go to the
       5
            question, that this was noted --        5
                                                      Exhibit Tab 75 in the binder we provided
       6
            this is supposed to also be noted       6
                                                      you?
       7
            in the Missouri cases.                  7
                                                           A. 75, you said?
       8
                I'll be representing the            8
                                                           Q. Correct.
       9
            plaintiffs in both the Missouri         9
                                                               MR. TISI: You can bring
      10
            and the MDL litigation.                10
                                                           that up as well, Dan.
      11
                I understand that there was        11
                                                               TRIAL TECH: Okay.
      12
            no notice of deposition in the         12
                                                               MR. TISI: I'm sorry,
      13
            Missouri cases, but for all            13
                                                           Exhibit 1.667.
      14
            intents and purposes, I've never       14
                                                               (Document marked for
      15
            had this before, we will agree         15
                                                           identification as Exhibit
      16
            that this is a New Jersey -- a         16
                                                           P1.667.)
      17
            Missouri deposition as well.           17
                                                               THE WITNESS: Okay. My
      18
                Kat, are you okay with that?       18
                                                           resumé?
      19
                MS. FRAZIER: I'm okay with         19
                                                      BY MR. TISI:
      20
            that.                                  20
                                                           Q. Yeah. We're going to ask
      21
                MR. TISI: Okay. I don't            21
                                                      you to look at P1.667. Is this a copy of
      22
            know what happened with the            22
                                                      your CV, sir?
      23
            notice, but I did notice that as       23
                                                           A. Yes.
      24
            well.                                  24
                                                           Q. Is this your current CV or
                                         Page 11                                         Page 13
      1
                 Secondly, we provided you         1
                                                      resumé?
       2
            with documents ahead of time, as       2
                                                           A. Yes.
       3
            we had agreed to do. There are          3
                                                           Q. If you go to Page 2, on
       4
            some documents that either were         4
                                                      page -- it indicates between 1997 and
       5
            incomplete, so we've substituted        5
                                                      2001 you were the manager of corporate
       6
            them, that won't be in his binder       6
                                                      communications for Johnson & Johnson; is
       7
            or some additional documents. And       7
                                                      that correct?
       8
            we'll just have to use them on the      8
                                                           A. Yes.
       9
            screen. We did our best effort to       9
                                                           Q. Okay. What was role and
      10
            try to provide you stuff ahead of      10
                                                      responsibilities of your job as corporate
      11
            time as we had agreed, just so you     11
                                                      communications for Johnson & Johnson?
      12
            know that.                             12
                                                           A. The main job was to respond
      13
                 And you can certainly open        13
                                                      to questions that would come into Johnson
      14
            your binders as well. Open your        14
                                                      & Johnson from the media.
      15
            documents as well.                     15
                                                               In terms of areas of
      16
                 Okay? With that, may we           16
                                                      responsibility, I was kind of the
      17
            start the deposition?                  17
                                                      secondary corporate spokesman working for
      18
                 MS. FRAZIER: John, you okay       18
                                                      Jeff Leebaw who was the -- I think at the
      19
            to start?                              19
                                                      time that I started he was director of
      20
                 THE WITNESS: Sure.                20
                                                      media relations.
      21
                    - - -                          21
                                                               And I also had a secondary
      22
                  EXAMINATION                      22
                                                      responsibility to answer media questions
      23
                    - - -                          23
                                                      based on Johnson & Johnson Consumer
      24
         BY MR. TISI:                              24
                                                      Products. At least for those products


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                                 John      Filed 08/14/23 Page 616 of 691 PageID:
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                                             Page 14                                         Page 16
      1
         where the operating company did not have    I'm referring to Johnson & Johnson Baby
                                                       1
      2
         its own spokesperson.                     2
                                                     Powder or Shower to Shower?
       3
              Q. Okay. And you kind of raise       3
                                                          A. You know, I don't remember
       4
         a point that I was going to make later.   4
                                                     if Shower to Shower was one of our
       5
                  You work for Johnson &           5
                                                     products at that time.
       6
         Johnson corporate, correct?               6
                                                          Q. Okay. But certainly --
       7
              A. Correct.                          7
                                                          A. But, yes, certainly
       8
              Q. Okay. And Johnson & Johnson       8
                                                     Johnson's Baby Powder.
       9
         has several -- Johnson & Johnson is the   9
                                                          Q. And I think you testified in
      10
         parent and there are several other       10
                                                     a prior deposition that you understood
      11
         companies that are affiliates of Johnson 11
                                                     that Johnson's Baby Powder was an
      12
         & Johnson, including J&J Consumer        12
                                                     important legacy product for Johnson &
      13
         Products, correct?                       13
                                                     Johnson overall, correct?
      14
                  MS. FRAZIER: Object to          14
                                                          A. As more of an indicator of
      15
              form.                               15
                                                     responsibility -- I'm sorry, not
      16
                  THE WITNESS: I don't think      16
                                                     responsibility.
      17
              that was the name of the operating  17
                                                              As an indication of the
      18
              company.                            18
                                                     reputation of the company, because it was
      19
         BY MR. TISI:                             19
                                                     one of the few companies that had the
      20
              Q. Okay. What was the               20
                                                     Johnson & Johnson name on it at that
      21
         operating company, if you can recall?    21
                                                     time. I think they've changed things
      22
                  MS. FRAZIER: Object to          22
                                                     since.
      23
              form.                               23
                                                              So in terms of baby
      24
                  THE WITNESS: It was a           24
                                                     products, they were a legacy brand that
                                             Page 15                                         Page 17
      1
              Consumer Products companies. I           1
                                                          had a great deal to do with the corporate
      2
              think there were a few underneath        2
                                                          reputation.
       3
              the umbrella.                             3
                                                                Q. And you mentioned your boss
       4
         BY MR. TISI:                                   4
                                                          at Johnson & Johnson corporate was
       5
              Q. Okay. The company that --              5
                                                          Mr. Leebaw?
       6
         okay. Let's move forward.                      6
                                                                A. Yes.
       7
                  In your capacity for -- as            7
                                                                Q. And do you understand or
       8
         manager for corporate communication for        8
                                                          know or recall that Mr. Leebaw was part
       9
         Johnson & Johnson corporate in the late        9
                                                          of a joint committee with Johnson &
      10
         '90s to 2001, did you have occasion to        10
                                                          Johnson Consumer called the Worldwide
      11
         communicate both internally and               11
                                                          Talc Screening Committee?
      12
         externally about the safety of talcum         12
                                                                A. I do not.
      13
         powder products manufactured by Johnson &     13
                                                                    MS. FRAZIER: Object to
      14
         Johnson Consumer?                             14
                                                                form.
      15
                  MS. FRAZIER: Object to               15
                                                          BY MR. TISI:
      16
              form.                                    16
                                                                Q. Now, we mentioned you were
      17
                  THE WITNESS: I was not on            17
                                                          primarily involved with J&J corporate on
      18
              safety, per se. I would be               18
                                                          behalf of the J&J family of companies.
      19
              answering media questions about          19
                                                                    A couple questions about the
      20
              talc as one of my                        20
                                                          J&J family, if I could broaden it a
      21
              responsibilities.                        21
                                                          little bit.
      22
         BY MR. TISI:                                  22
                                                                    Was there a subsidiary
      23
              Q. And when we say talcum, talc          23
                                                          called Johnson & Johnson Consumer, Inc.?
      24
         or talcum powder products, you understand     24
                                                                    MS. FRAZIER: Object to


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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 617 of 691 PageID:
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                                            Page 18                                          Page 20
      1
             form.                                    1
                                                         "Genital Talc Exposure and the Risk of
      2
                  THE WITNESS: I don't know           2
                                                         Ovarian Cancer"?
       3
             if that was the exact name of the         3
                                                              A. Yes.
       4
             operating company. But I do               4
                                                              Q. Okay. And in the middle of
       5
             remember that, you know, Consumer         5
                                                         the page, there is an e-mail from Nancy
       6
             Products did have their own               6
                                                         Musco. Do you remember Ms. Musco?
       7
             operating company.                        7
                                                              A. No.
       8
         BY MR. TISI:                                  8
                                                              Q. And she indicates with
       9
             Q. Okay. And were you actively            9
                                                         respect to an article, it says, "No
      10
         involved with JJCI or Consumer Products      10
                                                         response was prepared by us or the CFTA."
      11
         on a talc committee to assert the            11
                                                                  You know who the CFTA is,
      12
         position with respect to articles that       12
                                                         correct?
      13
         might appear in the press or medical         13
                                                              A. C-T-F-A.
      14
         journals?                                    14
                                                              Q. Yes, correct. That's --
      15
                  MS. FRAZIER: Object to              15
                                                              A. It was an association of
      16
             form.                                    16
                                                         companies that had various consumer
      17
                  THE WITNESS: I think I              17
                                                         products, as I recall.
      18
             was -- I don't remember being on a       18
                                                              Q. Okay. And it's in response
      19
             committee at the beginning. I            19
                                                         to a 1999 study. Do you see that?
      20
             think when we got -- when the            20
                                                              A. Yes.
      21
             issue was raised about whether           21
                                                              Q. And she indicates that
      22
             talc was going to be part of a           22
                                                         within her company that contact be made
      23
             listing by the national toxicology       23
                                                         with "John McKeegan, corporate PR, for
      24
             program, that I was representing         24
                                                         any response to the media. John is
                                            Page 19                                          Page 21
      1
              what the media questions would be       actively involved with ... us on the talc
                                                      1
      2
              to a group on that. I don't           2
                                                      committee."
       3
              remember how many times they met      3
                                                               Do you see that?
       4
              or anything like that.                4
                                                           A. I do.
       5
                  MR. TISI: Actually, Dan,          5
                                                           Q. Okay. Does that help
       6
              would you please take the CV down. 6 refresh your recollection at least as to
       7
              Thank you.                            7
                                                      the time frame in which you were on a
       8
         BY MR. TISI:                               8
                                                      talc committee?
       9
              Q. Would you go to Tab                9
                                                           A. No.
      10
         Number 13, if I -- if you could,          10
                                                           Q. Okay. And your response
      11
         Mr. Leebaw (sic).                         11
                                                      says, "This is the statement we have been
      12
                  And that's Exhibit P1.605.       12
                                                      using to respond to inquiries based upon
      13
                  (Document marked for             13
                                                      previous studies. Can someone fax me a
      14
              identification as Exhibit            14
                                                      copy of the study?" And you provide your
      15
              P1.605.)                             15
                                                      fax.
      16
                  MR. TISI: And that's             16
                                                               Do you see that?
      17
              Exhibit P1.605.                      17
                                                           A. Yes.
      18
                  THE WITNESS: Okay.               18
                                                           Q. And attached to this, which
      19
         BY MR. TISI:                              19
                                                      we'll talk about in a moment, is a -- and
      20
              Q. Okay. Do you see that this        20
                                                      this is not in your binder, this was one
      21
         is an e-mail string in September of 1999? 21 of those incomplete documents. But I'll
      22
              A. I do see the e-mail.              22
                                                      bring it up on the screen. It's
      23
              Q. And it's a -- the subject         23
                                                      P1.605.3.
      24
         matter is Confidential: Article:          24
                                                               MR. TISI: Could you go to


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                                 John      Filed 08/14/23 Page 618 of 691 PageID:
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                                            Page 22                                          Page 24
      1
            the third page in this document,          1
                                                         response to inquiries based on previous
       2
            Dan?                                      2
                                                         studies."
       3
                MS. FRAZIER: Hey, Chris,               3
                                                                  And then you asked that
       4
            just so that we don't get confused         4
                                                         somebody fax you a copy of the study
       5
            with exhibits, is this -- is               5
                                                         entitled "Genital Talc Exposure and Risk
       6
            Tab 13 Exhibit Number 2 for you?           6
                                                         of Ovarian Cancer."
       7
                MR. TISI: No. It's 605.3.              7
                                                                  Is that correct?
       8
                MS. FRAZIER: So, I know.               8
                                                              A. Yes.
       9
            But in terms of --                         9
                                                              Q. Okay. And attached on
      10
                TRIAL TECH: I'll change the           10
                                                         Page 3 is a statement that you have been
      11
            marking to match the P number.            11
                                                         using on talcum powder.
      12
                MS. FRAZIER: Okay. Okay.              12
                                                                  Do you see that?
      13
            That -- that's going to be tricky         13
                                                              A. Yes.
      14
            for me, but that's okay. I'll             14
                                                              Q. Okay. And is this the
      15
            figure it out.                            15
                                                         statement that corporate, J&J corporate
      16
                MR. TISI: Okay. I'm sorry.            16
                                                         PR had been using to respond to media
      17
            I will try to use -- we were              17
                                                         inquiries and other inquiries relating to
      18
            trying -- we're trying, Kat, and          18
                                                         talcum powder during the time of this
      19
            just kind of take a quick break           19
                                                         e-mail?
      20
            here. We're trying to use a               20
                                                                  MS. FRAZIER: Object to
      21
            common set of exhibits across             21
                                                              form.
      22
            depositions, and so we're using --        22
                                                                  THE WITNESS: I couldn't say
      23
                THE VIDEOGRAPHER: I'm sorry           23
                                                              with any specificity whether this
      24
            to interrupt, Counselor, would you        24
                                                              is what we were using at the time
                                            Page 23                                          Page 25
      1
               like to go off the record?             1
                                                              of this e-mail. But it looks to
       2
                   MR. TISI: Sure.                    2
                                                              be consistent with the statements
       3
                   THE VIDEOGRAPHER: Okay.             3
                                                              that we may have been using.
       4
               The time is 10:14 a.m. Off the          4
                                                         BY MR. TISI:
       5
               record.                                 5
                                                              Q. Okay. Well, it indicates,
       6
                   (Short break.)                      6
                                                         if you look at your e-mail, it indicates
       7
                   THE VIDEOGRAPHER: The time          7
                                                         that attached is the statement that you
       8
               is 10:16 a.m., on the record.           8
                                                         have been using.
       9
         BY MR. TISI:                                  9
                                                                  So I mean, would you have
      10
               Q. Okay. Mr. McKeegan, we had          10
                                                         been correct when you wrote that?
      11
         a little housekeeping thing to take care     11
                                                              A. Like I said, I don't have
      12
         of over the break. But let me see if I       12
                                                         any ideas since we don't have file
      13
         can reorient us if I could.                  13
                                                         Talc1197.doc to say that this is at the
      14
                   MR. TISI: Dan, would you           14
                                                         top. But this looks like it's consistent
      15
               please bring up Exhibit 605 from       15
                                                         with statements that we would have been
      16
               his Binder Tab 13 again. And if        16
                                                         making around that time.
      17
               you go to Page 1.                      17
                                                              Q. Okay. Okay. And the second
      18
         BY MR. TISI:                                 18
                                                         thing that you say is somebody asked --
      19
               Q. Mr. McKeegan, at the very           19
                                                         you asked that somebody fax you a copy of
      20
         top of this e-mail from September 1st,       20
                                                         the study, correct?
      21
         1999, entitled Confidential: Article:        21
                                                              A. Yes.
      22
         "Genital Talc Exposure and Risk of           22
                                                              Q. And do you have any reason
      23
         Ovarian Cancer," you state that "This is     23
                                                         to believe that you would not have been
      24
         a statement we have been using in            24
                                                         faxed a copy of the study that was the


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                                 John      Filed 08/14/23 Page 619 of 691 PageID:
                                  156394
                                           Page 26                                      Page 28
      1
         subject of this e-mail?                   relationship is weak but improved by
                                                     1
      2
              A. No.                             2
                                                   considering factors such as closure of
       3
                   MS. FRAZIER: Object to        3
                                                   the female tract, ovulation and exposure
       4
              form.                              4
                                                   prior to pregnancy, and we have outlined
       5
                   MR. TISI: For the record,     5
                                                   a possible biologic rationale for this
       6
              I'm going to attach Exhibit        6
                                                   association. We estimate that avoidance
       7
              P-20 -- P2.6. If you would bring   7
                                                   of talc in genital hygiene might reduce
       8
              that up.                           8
                                                   the occurrence of highly lethal form of
       9
                   (Document marked for          9
                                                   cancer by at least 10 percent. Balanced
      10
              identification as Exhibit         10
                                                   against what are primarily aesthetic
      11
              P2.6.)                            11
                                                   reasons for using talc in genital
      12
         BY MR. TISI:                           12
                                                   hygiene, the risk/benefit is not complex.
      13
              Q. And that's not in your         13
                                                   Appropriate warnings should be provided
      14
         binder.                                14
                                                   to women about the potential of regular
      15
                   MR. TISI: Would you bring    15
                                                   use of talc in the genital area.
      16
              that up, Dan?                     16
                                                            Did I read that correctly?
      17
                   No, not that one, please.    17
                                                        A. No.
      18
              It's P2.6.                        18
                                                        Q. Okay. How was it incorrect?
      19
         BY MR. TISI:                           19
                                                        A. In the second sentence,
      20
              Q. Now, Mr. McKeegan, as you      20
                                                   dose-response relationship sentence, you
      21
         will see here, this is a 1999 article  21
                                                   did not use the word "have outlined a
      22
         entitled Genital Talc Exposure and Risk plausible biologic rationale." You
                                                22
      23
         of Ovarian Cancer. Do you see that?    23
                                                   missed the word "plausible."
      24
              A. Yes.                           24
                                                        Q. Okay. Fair. I wanted to
                                           Page 27                                      Page 29
      1
              Q. Okay. And this matches the          1
                                                      focus on the last sentence for a moment.
      2
         subject matter of the e-mail we just       2
                                                               "Appropriate warnings should
       3
         looked at?                                 3
                                                      be provided to women about the potential
       4
              A. Yes.                               4
                                                      risks of regular use of talc in the
       5
              Q. And if you would go to the         5
                                                      genital area?"
       6
         back of the article on page -- if you ask  6
                                                               Do you see that?
       7
         for an article and it is sent to you,      7
                                                           A. Yes.
       8
         would you -- can we agree that you likely 8       Q. That was something that you
       9
         would have read it?                        9
                                                      understood was being discussed at
      10
                  MS. FRAZIER: Object to           10
                                                      about -- in 1999, correct?
      11
              form.                                11
                                                               MS. FRAZIER: Object to
      12
                  THE WITNESS: Yes. Yes.           12
                                                           form.
      13
         BY MR. TISI:                              13
                                                               THE WITNESS: I don't
      14
              Q. In the back of the article        14
                                                           actually get that from the e-mail
      15
         on page -- Page 6 of the article, which   15
                                                           string that you sent me. So I
      16
         we'll bring up on the screen. And this    16
                                                           can't answer that.
      17
         would have been in 1999.                  17
                                                      BY MR. TISI:
      18
                  MR. TISI: Would you blow up 18           Q. Okay. Is this -- since this
      19
              the last paragraph, please, Dan.     19
                                                      was in the published medical literature,
      20
         BY MR. TISI:                              20
                                                      can we agree that the question about
      21
              Q. It says, We have                  21
                                                      whether or not appropriate warnings
      22
         demonstrated a consistent that appears    22
                                                      should be on the talcum powder products
      23
         unlikely to be explained by recall and    23
                                                      was something that was at least in the
      24
         confounding. The dose-response            24
                                                      public domain at that time?

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                                 John      Filed 08/14/23 Page 620 of 691 PageID:
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                                            Page 30                                         Page 32
      1
                  MS. FRAZIER: Object to              1
                                                          A. Yes.
      2
              form. Foundation.                    2
                                                          Q. And the memo says, "A
       3
                  THE WITNESS: That would          3
                                                     meeting was held on June 29, 1999."
       4
              have been outside my area of         4
                                                              Do you see that?
       5
              expertise. I would have been         5
                                                          A. Yes.
       6
              dealing with questions from the      6
                                                          Q. Okay. And you were actually
       7
              media.                               7
                                                     listed in this document, correct?
       8
         BY MR. TISI:                              8
                                                          A. Yes.
       9
              Q. All right. But you agree          9
                                                          Q. Okay. John McKeegan, you
      10
         that this article likely would have been 10
                                                     are the third person listed there?
      11
         sent to you since you requested it,      11
                                                          A. I am the fourth person
      12
         correct?                                 12
                                                     listed there.
      13
              A. Yes.                             13
                                                          Q. Oh, okay. Correct.
      14
                  MS. FRAZIER: Object to          14
                                                              And the meeting was held in
      15
              form.                               15
                                                     1999 to review the history of talc and
      16
         BY MR. TISI:                             16
                                                     publicity circulated about talc and
      17
              Q. Now, at the time you were        17
                                                     Johnson's Baby Powder. Do you see that?
      18
         with J&J corporate communications in the 18
                                                          A. Yes.
      19
         late 1990s, you also attended meetings   19
                                                          Q. And it says that
      20
         where the questions about talc and       20
                                                     "Representatives of medical, regulatory,
      21
         ovarian cancer were raised and the       21
                                                     toxicology, marketing, packaging, and
      22
         questions of warnings were discussed.    22
                                                     public relations and legal presented
      23
                  Do you remember that?           23
                                                     information and data."
      24
              A. No.                              24
                                                              Do you see that?
                                            Page 31                                         Page 33
      1
                  MS. FRAZIER: Object to              1
                                                              A. Yes.
      2
              form.                                   2
                                                              Q. Okay. And it further says,
       3
                  MR. TISI: Would you go to            3
                                                         "The controversial issues raised in the
       4
              Exhibit Number P1.655.                   4
                                                         media are identified as allegations of
       5
                  (Document marked for                 5
                                                         inhalation disease and ovarian cancer.
       6
              identification as Exhibit                6
                                                         There are many sources alleging these
       7
              P1.655.)                                 7
                                                         disease processes from the use of talc,
       8
                  MS. FRAZIER: Is that a tab,          8
                                                         as well as many sources refuting these
       9
              Chris?                                   9
                                                         allegations."
      10
                  MR. TISI: I'm about ready           10
                                                                  Do you see that?
      11
              to give it to you. That is Tab          11
                                                              A. Yes.
      12
              Number 63.                              12
                                                              Q. Okay. And it uses the word
      13
         BY MR. TISI:                                 13
                                                         "controversial issues." Did you
      14
              Q. This is an e-mail from               14
                                                         understand -- does this indicate to you
      15
         Ms. Musco to, among other people, you.       15
                                                         that there was discussion at meetings in
      16
         Do you see that?                             16
                                                         which you attended about the controversy
      17
              A. Yes.                                 17
                                                         surrounding talc and ovarian cancer?
      18
              Q. Okay. And it says,                   18
                                                                  MS. FRAZIER: Object to
      19
         "Attached please find minutes from the       19
                                                              form.
      20
         talc review held in June of 1999. Please     20
                                                                  THE WITNESS: I actually
      21
         call with any questions."                    21
                                                              have no memory of the content of
      22
              A. Yes.                                 22
                                                              these meetings.
      23
              Q. And do you see that there's          23
                                                         BY MR. TISI:
      24
         actually a memo attached?                    24
                                                              Q. Okay. I understand that


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                                 John      Filed 08/14/23 Page 621 of 691 PageID:
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                                             Page 34                                     Page 36
      1
         sitting here in 2021, that you may not        1
                                                                Wait a minute, John. Let
      2
         have precise memory of the contents of         2
                                                            me --
       3
         these meetings, but this appears -- do         3
                                                                THE WITNESS: Sure.
       4
         you have any reason to believe that you        4
                                                                MS. FRAZIER: -- let me
       5
         were not informed of a controversy             5
                                                            object real quick.
       6
         surrounding talc and ovarian cancer since      6
                                                                Object to form. Misstates
       7
         your name is on this document?                 7
                                                            the document.
       8
                  MS. FRAZIER: Object to                8
                                                                MR. TISI: I think, Kat,
       9
              form.                                     9
                                                            your objections really are limited
      10
                  THE WITNESS: According to            10
                                                            to form, and we have been --
      11
              this memo, these are the things          11
                                                                MS. FRAZIER: Not in
      12
              that would have been discussed.          12
                                                            Missouri.
      13
         BY MR. TISI:                                  13
                                                                Wait a minute, Chris. Not
      14
              Q. Okay. And one of the things           14
                                                            in Missouri.
      15
         that was discussed was the controversial      15
                                                                MR. TISI: Wait, wait, wait,
      16
         issues raised about ovarian cancer and        16
                                                            wait. Let me finish.
      17
         talc, correct?                                17
                                                                I think including in
      18
                  MS. FRAZIER: Object to               18
                                                            depositions that were
      19
              form.                                    19
                                                            cross-noticed in Missouri with
      20
                  THE WITNESS: That looks to           20
                                                            experts, the question of how we
      21
              be correct.                              21
                                                            object was squarely decided by
      22
         BY MR. TISI:                                  22
                                                            Judge Schneider and we have all
      23
              Q. Okay. And the next                    23
                                                            been adhering to that.
      24
         paragraph says, "We discussed the impact      24
                                                                Are you telling me it
                                             Page 35                                     Page 37
      1
         of issues on professional marketing."         1
                                                            doesn't apply to depositions that
      2
         And it says, "Healthcare providers         2
                                                            are cross-noticed? Because I
       3
         caution against the use of these           3
                                                            understood that was the case.
       4
         products."                                 4
                                                                 MS. FRAZIER: Well, first of
       5
                   Do you see that?                 5
                                                            all, the expert depositions are
       6
              A. Yes.                               6
                                                            taking place only in the MDL, as I
       7
              Q. Okay. Now, remember before         7
                                                            understand it --
       8
         I asked you whether or not there was       8
                                                                 MR. TISI: They are not.
       9
         any -- any questions being raised about    9
                                                                 MS. FRAZIER: Okay. Well --
      10
         whether or not caution or warnings should 10
                                                                 MR. TISI: They are not.
      11
         be provided. And I showed you Cramer      11
                                                            They are cross-noticed.
      12
         article from 1999.                        12
                                                                 MS. FRAZIER: Okay. Well,
      13
                   Do you remember that?           13
                                                            then it would be related to, you
      14
              A. Yes.                              14
                                                            know, that expert. This is a fact
      15
              Q. So this -- in this document,      15
                                                            witness who has been noticed in
      16
         this meeting, would you agree with me     16
                                                            the -- in a state court case, and
      17
         that at least the issue was raised as to  17
                                                            so I don't want to waive any
      18
         whether or not healthcare providers would 18       objections by not giving a full
      19
         provide a caution against the use of talc 19
                                                            basis.
      20
         products?                                 20
                                                                 MR. TISI: You're not. I
      21
              A. I have no memory of this          21
                                                            will tell you as -- and we can
      22
         meeting --                                22
                                                            certainly get Judge Schneider on
      23
                   MS. FRAZIER: Object to          23
                                                            the phone because he has been
      24
              form. Misstates the document.        24
                                                            overseeing this for both the MDL

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                                 John      Filed 08/14/23 Page 622 of 691 PageID:
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                                          Page 38                                         Page 40
      1
           and for Missouri.                        1
                                                                 So I will agree that all of
       2
               I'm quite certain he will            2
                                                            your objections are preserved if
       3
           instruct you to object only as to         3
                                                            you simply say objection to form.
       4
           form and that would encompass all         4
                                                                 MS. FRAZIER: All right.
       5
           of the other objections that we're        5
                                                                 MR. TISI: All right. So
       6
           making here.                              6
                                                            let's see if we can go back on and
       7
               If you want to do that, we            7
                                                            start questioning and see if we
       8
           can even do it by agreement or we         8
                                                            can get moving through this
       9
           can take a break and call Judge           9
                                                            deposition.
      10
           Schneider.                               10
                                                                 Go ahead.
      11
               MS. FRAZIER: Let's take a            11
                                                       BY MR. TISI:
      12
           break and I want to talk to Susan        12
                                                            Q. Mr. McKeegan, we were
      13
           Sharko and we'll see about talking       13
                                                       talking about Exhibit 552 which is Tab
      14
           to Judge Schneider.                      14
                                                       Number 63 in your notebook, Page 2, which
      15
               MR. TISI: Mm-hmm.                    15
                                                       is the memo from the June 29, 1999
      16
               THE VIDEOGRAPHER: The time           16
                                                       meeting.
      17
           is 10:29 a.m. Off the record.            17
                                                                 And just to recap, since
      18
               (Short break.)                       18
                                                       there was a break between our prior
      19
               THE VIDEOGRAPHER: The time           19
                                                       discussion and this question, this
      20
           is 10:40 a.m.                            20
                                                       meeting discussed controversial issues
      21
               MS. FRAZIER: Okay. So                21
                                                       regarding, among other things, talc and
      22
           we're -- okay. So we're back on          22
                                                       ovarian cancer, correct?
      23
           the record after a brief                 23
                                                            A. That is very close to what
      24
           discussion about objections.             24
                                                       the memo says.
                                          Page 39                                         Page 41
      1
                 And I want to note on the          1
                                                       Q. And this was a meeting where
       2
            record that this is a deposition    2
                                                  it indicates you were at, correct?
       3
            that was noticed in a Missouri      3
                                                       A. I was actually looking for
       4
            case, that being Forrest/Giese,     4
                                                  that. It doesn't say I was there.
       5
            and was cross-noticed in the MDL. 5        Q. Okay.
       6
                 Under Missouri law, if you     6
                                                       A. It doesn't say who was
       7
            don't state the basis for your      7
                                                  there.
       8
            objections, they are waived.        8
                                                           It says who the memo was
       9
                 And so having spoken with      9
                                                  sent to.
      10
            Mr. Tisi, he is in agreement that  10
                                                       Q. Well, it says
      11
            my objections are preserved going  11
                                                  representatives from medical, regulatory
      12
            forward in this deposition as long 12
                                                  toxicology, marketing, packaging, and
      13
            as I object to form only and that  13
                                                  public relations --
      14
            I won't be waiving anything        14
                                                       A. Yeah.
      15
            otherwise.                         15
                                                       Q. -- were there. And you were
      16
                 Chris, are you in agreement?  16
                                                  with public relations, correct?
      17
                 MR. TISI: I agree             17
                                                       A. That is true.
      18
            100 percent. In fact, that's how   18
                                                       Q. Okay. Now, the other
      19
            I think we've been instructed to   19
                                                  thing -- and you were certainly provided
      20
            proceed in depositions that have   20
                                                  with a copy of this as well, correct; you
      21
            been cross-noticed in both         21
                                                  saw the cover e-mail?
      22
            Missouri and in federal court.     22
                                                       A. That is correct.
      23
                 And I think it makes things   23
                                                       Q. Okay. As part of this, it
      24
            go a lot quicker.                  24
                                                  indicates not only there was a

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                                 John      Filed 08/14/23 Page 623 of 691 PageID:
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                                             Page 42                                          Page 44
      1
         controversy about ovarian cancer, but it      1
                                                               form.
      2
         indicates that "marketing informed us         2
                                                                  THE WITNESS: I would agree
       3
         that adult women is the big user of talc       3
                                                               with that.
       4
         products and that J&J is the largest           4
                                                          BY MR. TISI:
       5
         manufacturer of talc products."                5
                                                               Q. Okay. Now, you know that I
       6
                 Do you see that?                       6
                                                          represent women -- and I didn't get a
       7
              A. Yes.                                   7
                                                          chance to truly introduce myself. You
       8
              Q. And do you have any reason             8
                                                          know that I represent women who claim
       9
         to disbelieve that?                            9
                                                          that J&J failed to take steps for decades
      10
              A. I would have no                       10
                                                          that would prevent exposure to talc which
      11
         information --                                11
                                                          they claim cause ovarian cancer.
      12
                 MS. FRAZIER: Object to                12
                                                                  Do you understand that?
      13
              form.                                    13
                                                                  MS. FRAZIER: Object to
      14
                 THE WITNESS: I'm sorry.               14
                                                               form.
      15
                 I would have no information           15
                                                          BY MR. TISI:
      16
              about that at all.                       16
                                                               Q. Do you understand that, sir?
      17
         BY MR. TISI:                                  17
                                                               A. Yes.
      18
              Q. And this provides -- this             18
                                                               Q. And do you understand that
      19
         also provides notice that there was a         19
                                                          ovarian cancer is a serious and deadly
      20
         discussion about the impact of the issues     20
                                                          disease?
      21
         on professional marketing. Do you see         21
                                                                  MS. FRAZIER: Object to
      22
         that?                                         22
                                                               form.
      23
              A. Yes.                                  23
                                                                  THE WITNESS: Yes.
      24
              Q. And it also indicates, there          24
                                                          BY MR. TISI:
                                             Page 43                                          Page 45
      1
         is a statement here, "Healthcare              1
                                                               Q. And it's something you
      2
         providers caution against the use of talc     2
                                                          understood while you were working for J&J
       3
         products," correct?                            3
                                                          in the '90s and 2000s, correct?
       4
              A. Yes.                                   4
                                                                   MS. FRAZIER: Object to
       5
              Q. And previously we looked at            5
                                                               form.
       6
         the statement in the 1999 article where        6
                                                                   THE WITNESS: I would agree
       7
         Dr. Cramer and his colleagues at Harvard       7
                                                               that -- that it was a serious
       8
         indicated that women should be warned          8
                                                               disease, but my role had nothing
       9
         against the use of talc products as well,      9
                                                               to do with -- with medicine.
      10
         correct?                                      10
                                                                   My role was strictly to deal
      11
                   MS. FRAZIER: Object to              11
                                                               with questions from media.
      12
              form.                                    12
                                                                   MR. TISI: Understood. And
      13
                   THE WITNESS: We did see the         13
                                                               move to strike as being
      14
              memo from, yeah, from that study.        14
                                                               nonresponsive.
      15
         BY MR. TISI:                                  15
                                                          BY MR. TISI:
      16
              Q. And you would agree with me,          16
                                                               Q. You understood in the 2000s
      17
         and since both of those -- both of these      17
                                                          when you were speaking to the media that
      18
         documents are in 1999, the question about     18
                                                          ovarian cancer is a serious disease,
      19
         whether or not talc is implicated in          19
                                                          correct?
      20
         ovarian cancer and whether or not women       20
                                                                   MS. FRAZIER: Object to
      21
         should be warned against using the            21
                                                               form.
      22
         product were at least on the radar screen     22
                                                                   THE WITNESS: Yes.
      23
         based upon these two documents, correct?      23
                                                                   MS. FRAZIER: Foundation.
      24
                   MS. FRAZIER: Object to              24
                                                          BY MR. TISI:


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                                 John      Filed 08/14/23 Page 624 of 691 PageID:
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                                            Page 46                                       Page 48
      1
              Q. Okay. And you also                   being recorded and it may be shown to a
                                                      1
      2
         understood, since you were speaking to     2
                                                      judge and jury, correct?
       3
         the media on issues relating to talc and   3
                                                           A. Yes.
       4
         ovarian cancer, that Johnson's Baby        4
                                                           Q. And you understand that you
       5
         Powder is a cosmetic and not a medicine,   5
                                                      have an obligation, being under oath, to
       6
         correct?                                   6
                                                      answer my questions to the best of your
       7
                   MS. FRAZIER: Object to           7
                                                      ability, correct?
       8
              form. Foundation.                     8
                                                           A. Yes.
       9
                   THE WITNESS: I don't             9
                                                           Q. And you have an
      10
              understand the question actually.    10
                                                      understanding that it is not -- it is not
      11
         BY MR. TISI:                              11
                                                      appropriate to try to avoid answering
      12
              Q. Okay. Do you understand           12
                                                      questions, true?
      13
         that you don't need a prescription from a 13
                                                               MS. FRAZIER: Object to
      14
         doctor to get Johnson's Baby Powder?      14
                                                           form.
      15
              A. Yes.                              15
                                                               THE WITNESS: I'm not sure
      16
              Q. Okay. And you understand          16
                                                           what you're asking.
      17
         anybody can go into any drugstore, at     17
                                                      BY MR. TISI:
      18
         least at the time, can go in any          18
                                                           Q. Well, you understand that
      19
         drugstore or Kmart or Walmart and buy     19
                                                      even if you don't have a precise
      20
         Johnson's Baby Powder?                    20
                                                      recollection, as good a recollection as
      21
              A. Yes.                              21
                                                      you have, you have an obligation to
      22
              Q. Okay. Now, before I ask you       22
                                                      provide me with information if I ask you
      23
         questions about your involvement with the 23 a question, true?
      24
         issues, let me ask you a couple of        24
                                                           A. With the best information
                                            Page 47                                       Page 49
      1
         questions about how you and I got to this    that I have --
                                                      1
      2
         deposition. You are not here               2
                                                               MS. FRAZIER: Object to
       3
         voluntarily, are you?                      3
                                                           form.
       4
              A. No.                                4
                                                      BY MR. TISI:
       5
              Q. And we had to subpoena you         5
                                                           Q. Correct. And you were
       6
         to come for deposition, correct?           6
                                                      deposed before by another lawyer who
       7
              A. Correct.                           7
                                                      represented people who claimed they had
       8
              Q. And you fought the subpoena        8
                                                      lung disease from talc and asbestos. Do
       9
         in front of a judge in New Jersey, you're  9
                                                      you recall that?
      10
         aware of that, correct?                   10
                                                           A. Yes.
      11
              A. Well, my attorneys --             11
                                                           Q. Okay. And have you re-read
      12
                  MS. FRAZIER: Object to           12
                                                      that deposition in preparation for your
      13
              form.                                13
                                                      testimony here today?
      14
                  THE WITNESS: -- would have       14
                                                           A. Yes.
      15
              done that.                           15
                                                           Q. You recall that you were
      16
         BY MR. TISI:                              16
                                                      shown a lot of documents in that
      17
              Q. Correct.                          17
                                                      deposition but testified that you could
      18
                  And although you don't           18
                                                      not remember many of the things that were
      19
         currently work for J&J, J&J's lawyers are 19 being asked of you?
      20
         representing you in this deposition       20
                                                           A. That is correct.
      21
         today, correct?                           21
                                                               MS. FRAZIER: Object to
      22
              A. Correct.                          22
                                                           form.
      23
              Q. And you understand that the       23
                                                               Wait a second, John, let --
      24
         testimony that you are giving today is    24
                                                           pause for just a minute and let me


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                                 John      Filed 08/14/23 Page 625 of 691 PageID:
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                                             Page 50                                         Page 52
      1
              object before you answer. Thanks.        1
                                                           Q. Do you see that?
      2
         BY MR. TISI:                               2
                                                               And if you would go to the
       3
              Q. Between July and today, and        3
                                                      attached statement which you indicated
       4
         we are in late September, did you do       4
                                                      was consistent with the statements that
       5
         anything to try and refresh your           5
                                                      you recall sending out at that time.
       6
         recollection on the issues relating to     6
                                                               Could you take a look at
       7
         talc and ovarian cancer so that you could  7
                                                      that, please?
       8
         try and give full and complete answers to 8           Would you please read it?
       9
         my questions here today?                   9
                                                           A. "Johnson's Baby Powder has
      10
                  MS. FRAZIER: Object to           10
                                                      been used safely for more than 100 years.
      11
              form.                                11
                                                      It contains pure, high-grade cosmetic
      12
                  THE WITNESS: Besides             12
                                                      talc that is free of impurities and is
      13
              discussion with Kat Frazier and      13
                                                      not carcinogenic. A number of studies to
      14
              another attorney about the --        14
                                                      investigate a possible association
      15
              about this deposition --             15
                                                      between talc use and ovarian tumors were
      16
                  MS. FRAZIER: Wait a minute,      16
                                                      reviewed in 1994 at a workshop sponsored
      17
              wait, wait, wait, John. Okay. Go     17
                                                      by the FDA. The workshop concluded no
      18
              ahead.                               18
                                                      hazards to health had been demonstrated
      19
                  Wait a second. Let me just       19
                                                      in connection with the normal use of
      20
              remind Mr. McKeegan not to           20
                                                      cosmetic talc. We continue to review new
      21
              disclose any substance of any        21
                                                      research that is in the public domain."
      22
              communications we would have had,    22
                                                           Q. And this is the statement
      23
              but other than that, that's okay.    23
                                                      that you recall and the message you
      24
         BY MR. TISI:                              24
                                                      recall giving to the press at about that
                                             Page 51                                         Page 53
      1
               Q. Did you -- and I'm not               1
                                                          time in the late '90s, 2000 time frame
      2
         asking any discussions you may have had,      2
                                                          with respect to talc and ovarian cancer,
       3
         but did you actually review documents          3
                                                          true?
       4
         before today's deposition?                     4
                                                               A. Like I had said before, this
       5
               A. No.                                   5
                                                          is consistent with what I remember that
       6
               Q. All right. Let's talk                 6
                                                          we would have told to the media at that
       7
         first -- the first thing that I would          7
                                                          time. But I don't know if there was, you
       8
         like to talk to you about Mr. McKeegan         8
                                                          know, specific statements that we made
       9
         are the corporate statements and messages      9
                                                          that included answers to specific
      10
         that were sent out to the public or to        10
                                                          questions or something like that.
      11
         the media or to other groups to defend        11
                                                               Q. Okay. And it specifically
      12
         talc products in the 1990s. Okay?             12
                                                          refers to a 1994 workshop co-sponsored by
      13
                    MS. FRAZIER: Object to             13
                                                          the FDA. Do you see that?
      14
               form.                                   14
                                                               A. Yes.
      15
                    THE WITNESS: Okay.                 15
                                                               Q. And you specifically -- the
      16
         BY MR. TISI:                                  16
                                                          statement that was being provided for
      17
               Q. Okay. All right. I would             17
                                                          discussions with the press specifically
      18
         ask that --                                   18
                                                          focused on the FDA. True?
      19
                    MR. TISI: Dan, bring up            19
                                                                   MS. FRAZIER: Object to
      20
               Exhibit 1.605 which is Tab 13 of        20
                                                               form.
      21
               your binder. And I believe this         21
                                                                   THE WITNESS: That is --
      22
               is the e-mail we discussed earlier      22
                                                               that is what this statement says.
      23
               with the attached statement.            23
                                                          BY MR. TISI:
      24
         BY MR. TISI:                                  24
                                                               Q. Okay. And this statement --


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                                 John      Filed 08/14/23 Page 626 of 691 PageID:
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                                             Page 54                                         Page 56
      1
         and the purpose for including the FDA,       by you, and, in fact, you produced it in
                                                       1
      2
         would you agree with me, is to assure the 2 response to an e-mail by -- by Ms. Musco,
       3
         public that the FDA had also concluded 3 correct?
       4
         that talc was safe?                        4
                                                                MS. FRAZIER: Objection to
       5
                  MS. FRAZIER: Object to            5
                                                           form.
       6
              form.                                 6
                                                                THE WITNESS: I did provide,
       7
         BY MR. TISI:                               7
                                                           according to these e-mails and
       8
              Q. That was the implication,          8
                                                           your statement that this is what
       9
         true?                                      9
                                                           was attached, that this is what I
      10
                  MS. FRAZIER: Object to           10
                                                           would have provided to Ms. Musco.
      11
              form.                                11
                                                      BY MR. TISI:
      12
                  THE WITNESS: I don't recall 12           Q. Right. And in addition to
      13
              why that was put in here.            13
                                                      that, and then we're going to see, this
      14
              Certainly 1994 workshop was before statement is repeated over and over and
                                                   14
      15
              my time.                             15
                                                      over again. But this would have been the
      16
         BY MR. TISI:                              16
                                                      statement that would have been provided
      17
              Q. Okay. But including it in a       17
                                                      by J&J corporate to any of the media
      18
         statement to the press and in responding  18
                                                      that -- that requested information on
      19
         to the press, you were responsible as a   19
                                                      talc, right?
      20
         spokesperson for understanding the        20
                                                                MS. FRAZIER: Objection to
      21
         statements that you were giving, true?    21
                                                           form.
      22
                  MS. FRAZIER: Object to           22
                                                                THE WITNESS: I don't recall
      23
              form.                                23
                                                           if these statements changed over
      24
                  THE WITNESS: I -- like I         24
                                                           time during this period that I was
                                             Page 55                                         Page 57
      1
             said, I have no memory of this            1
                                                               there. But this would have been
      2
             1994 workshop or why it would have        2
                                                               consistent.
       3
             been included in here.                     3
                                                          BY MR. TISI:
       4
         BY MR. TISI:                                   4
                                                               Q. We're going to look at that.
       5
             Q. I understand. My question               5
                                                          We're going to look at that.
       6
         is more broad than that.                       6
                                                                   But my question more broadly
       7
                  Why would this statement              7
                                                          is, even though the 1994 workshop
       8
         contain information, we agreed before in       8
                                                          happened before your time, this is a
       9
         response to one of my questions, the           9
                                                          statement that was consistent with
      10
         purpose for including the FDA is to give      10
                                                          statements that were provided to the
      11
         some credibility to the assertion that        11
                                                          media, or anybody that would make an
      12
         there is no risk associated with talc and     12
                                                          inquiry, to public -- corporate public
      13
         ovarian cancer. True?                         13
                                                          relations for Johnson & Johnson in 1999.
      14
                  MS. FRAZIER: Object to               14
                                                          True?
      15
             form.                                     15
                                                                   MS. FRAZIER: Object to
      16
                  THE WITNESS: Like I said, I          16
                                                               form.
      17
             don't know why this would have            17
                                                                   THE WITNESS: I believe I
      18
             been included in this statement.          18
                                                               already said that this looks
      19
             This workshop was going to be             19
                                                               consistent.
      20
             before my time at Johnson &               20
                                                          BY MR. TISI:
      21
             Johnson.                                  21
                                                               Q. Okay. And one of the things
      22
         BY MR. TISI:                                  22
                                                          that would have included in 1999, if the
      23
             Q. Right. But this statement              23
                                                          press told you, would be reference to a
      24
         was in 1999. It was supposed to be given      24
                                                          workshop co-sponsored by the FDA. True?


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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 627 of 691 PageID:
                                  156402
                                           Page 58                                     Page 60
      1
                  MS. FRAZIER: Objection to          1
                                                           that one please, Dan?
      2
              form.                                 2
                                                               MS. FRAZIER: Hey, Chris, do
       3
                  THE WITNESS: According to         3
                                                           you -- are you done with the
       4
              this statement on the screen, that    4
                                                           exhibit that's up on the screen
       5
              is what was included in this          5
                                                           right now?
       6
              statement.                            6
                                                               MR. TISI: Correct. I am
       7
         BY MR. TISI:                               7
                                                           done with it.
       8
              Q. And the purpose of                 8
                                                               MS. FRAZIER: Okay.
       9
         specifically referencing the FDA would be  9
                                                               TRIAL TECH: Chris, can you
      10
         to give reassurance that it was safe,     10
                                                           say the number one more time for
      11
         that talc was safe, true?                 11
                                                           me?
      12
                  MS. FRAZIER: Objection to        12
                                                               MR. TISI: Yeah, it's 637 --
      13
              form.                                13
                                                           I'm sorry, 670.
      14
                  THE WITNESS: Like I said, I      14
                                                               I'm sorry, it's 637. Yeah.
      15
              don't know why this was in there.    15
                                                      BY MR. TISI:
      16
              I don't know.                        16
                                                           Q. Now, Mr. McKeegan, this is
      17
         BY MR. TISI:                              17
                                                      an e-mail, have you seen this -- you've
      18
              Q. Okay. All right. So let's         18
                                                      seen -- take a look at this document.
      19
         go to --                                  19
                                                               This is an e-mail from you
      20
                  MR. TISI: I'm going to           20
                                                      to a gentleman by the name of Michael
      21
              attach for purposes of -- and this   21
                                                      Chudkowski dated February 13, 1998.
      22
              is not in your binder.               22
                                                               Do you see that?
      23
                  But I will attach Exhibit        23
                                                           A. Yes.
      24
              Number P1.670, and ask that you      24
                                                           Q. And it's entitled Talc, do
                                           Page 59                                     Page 61
      1
              just take a look at it.              you see that?
                                                     1
      2
                  (Document marked for           2
                                                        A. Yes.
       3
              identification as Exhibit          3
                                                        Q. And it's forwarding an
       4
              P1.670.)                           4
                                                   e-mail between you and Johns Hopkins --
       5
         BY MR. TISI:                            5
                                                   John Hopkins and John O'Shaughnessy. Do
       6
              Q. And this is an article by       6
                                                   you see that?
       7
         Carr in 1994. It's an article entitled 87
                                                        A. Yes.
       8
         Talc: Consumer Uses and Health                 Q. And this is an e-mail in
       9
         Perspectives.                           9
                                                   which you say you got a call from the
      10
                  And you'll see it's a 1994    10
                                                   CTFA, which is the industry trade group,
      11
         document, correct?                     11
                                                   correct?
      12
              A. Yes.                           12
                                                        A. Correct.
      13
              Q. And I will represent to you 14 13
                                                        Q. That a -- CBS Morning News
      14
         that this is the document to which        and  a producer named Doug Longine about
      15
         this -- and meeting, to which this     15
                                                   talc and ovarian cancer.
      16
         refers, this statement refers.         16
                                                            Do you see that?
      17
                  MR. TISI: With that, let me 1817
                                                        A. Yes.
      18
              go to exhibit number -- and               Q. And it said, "Irene called
      19
              Tab 45, which is Exhibit          19
                                                   us to alert us and get our statement on
      20
              Number P1.367 [sic].              20
                                                   talc before they responded back. She is
      21
                  (Document marked for          21
                                                   doing the same with other manufacturers."
      22
              identification as Exhibit         22
                                                            Do you see that?
      23
              P1.637.)                          23
                                                        A.   Yes.
      24
                  MR. TISI: Can you go to       24
                                                        Q. It says, "CBS apparently


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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 628 of 691 PageID:
                                  156403
                                            Page 62                                         Page 64
      1
         talked to John Bailey at the FDA who         1
                                                          correct?
      2
         expressed to them concern about talc and     2
                                                                 MS. FRAZIER: Objection to
       3
         ovarian cancer. We do not know much more     3
                                                              form.
       4
         and certainly don't know exactly what he      4
                                                                 THE WITNESS: That is the
       5
         said."                                        5
                                                              e-mail that -- that is what it
       6
                  Do you see that?                     6
                                                              says in the e-mail.
       7
              A. Yes.                                  7
                                                         BY MR. TISI:
       8
              Q. And so this indicates to you          8
                                                              Q. Okay. And, again, this
       9
         and provides you with some notice that        9
                                                         statement refers to the 1994 workshop
      10
         John Bailey at the FDA expressed concern     10
                                                         co-sponsored by the FDA.
      11
         about the risk of talc and ovarian           11
                                                              A. Yes.
      12
         cancer. Do you see that?                     12
                                                              Q. And it indicates, the e-mail
      13
                  MS. FRAZIER: Objection to           13
                                                         that you wrote, indicates that we may
      14
              form.                                   14
                                                         need to tweak this statement. Do you see
      15
                  THE WITNESS: I do see that          15
                                                         that?
      16
              that is here in this e-mail.            16
                                                              A. Yes.
      17
         BY MR. TISI:                                 17
                                                              Q. Okay. And asked that the
      18
              Q. Okay. And, again, this is            18
                                                         company lawyer and John Hopkins call you
      19
         an e-mail from you to, among others, the     19
                                                         individually to discuss that issue. Do
      20
         company lawyer, true?                        20
                                                         you see that?
      21
              A. Yeah --                              21
                                                              A. Yes.
      22
              Q. John O'Shaughnessy --                22
                                                              Q. Do you have any reason to
      23
              A. I believe John O'Shaughnessy         23
                                                         believe that when the head of corporate
      24
         was an attorney at J&J.                      24
                                                         communications, the manager of corporate
                                            Page 63                                         Page 65
      1
              Q. Okay. And it says, "We have          communications as you were at that time
                                                      1
      2
         not gotten a call from CBS yet, but we     2
                                                      asks --
       3
         should be prepared in case we need to      3
                                                           A. I was not the head of
       4
         tweak our statement at all. If you could   4
                                                      corporate communications.
       5
         each call me next week, we can talk more   5
                                                           Q. Okay. You were the -- I'm
       6
         about what we know and what we may need 6 sorry, you were the manager, correct?
       7
         to do."                                    7
                                                      Mr. Leebaw --
       8
                  Do you see that?                  8
                                                           A. That's correct.
       9
              A. Yes.                               9
                                                           Q. Okay. That when you made
      10
              Q. And you say, "The most            10
                                                      this request, that people would not have
      11
         recent statement is attached."            11
                                                      responded to you?
      12
              A. Okay.                             12
                                                               MS. FRAZIER: Objection to
      13
              Q. Do you see that?                  13
                                                           form.
      14
              A. Yes.                              14
                                                               THE WITNESS: I'm sorry, I
      15
              Q. Okay. And if you look, if         15
                                                           don't understand your question.
      16
         you look at Page 2 of this document, the  16
                                                      BY MR. TISI:
      17
         statement that we just reviewed from your 17      Q. Yeah. You asked two people
      18
         1999 e-mail is exactly the same statement 18
                                                      to call you about the statement by
      19
         that is attached to this e-mail. True?    19
                                                      Dr. Bailey at the FDA that he had a
      20
              A. That is correct.                  20
                                                      concern about the risk of ovarian cancer
      21
              Q. So this 1999 e-mail to,           21
                                                      and talc, right?
      22
         among others, the company -- the J&J      22
                                                           A. Yes.
      23
         corporate lawyer, says that this is the   23
                                                               MS. FRAZIER: Objection to
      24
         statement that you have been using,       24
                                                           form.

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                                 John      Filed 08/14/23 Page 629 of 691 PageID:
                                  156404
                                             Page 66                                        Page 68
      1
         BY MR. TISI:                                  1
                                                            that John Bailey was at the FDA.
      2
              Q. You indicate that the              2
                                                      BY MR. TISI:
       3
         statement may need to be tweaked,          3
                                                            Q. Okay. And the FDA was
       4
         correct?                                   4
                                                      actually referred to in your statement,
       5
              A. That is what is in the             5
                                                      correct?
       6
         e-mail.                                    6
                                                            A. That is the statement that
       7
              Q. And just to be clear, the          7
                                                      would have been used by corporate
       8
         statement would be one that would be used 8 communications at that time.
       9
         to communicate with the media and through 9        Q. And it had the phrase "FDA"
      10
         the media to the public, correct?         10
                                                      in it, correct?
      11
                  MS. FRAZIER: Objection to        11
                                                            A. That is correct.
      12
              form.                                12
                                                                MR. TISI: Would you go to
      13
                  THE WITNESS: According to        13
                                                            Exhibit Number 51.
      14
              this e-mail, specifically with       14
                                                                (Document marked for
      15
              CBS.                                 15
                                                            identification as Exhibit
      16
         BY MR. TISI:                              16
                                                            P1.643.)
      17
              Q. Right. And CBS broadcasts         17
                                                                MR. TISI: Tab 51. That's
      18
         to the public, correct?                   18
                                                            Exhibit 643.
      19
              A. Yes.                              19
                                                      BY MR. TISI:
      20
              Q. Okay. And this statement          20
                                                            Q. Now we're marching ahead to
      21
         was one that you indicate was being used, 21
                                                      2000. And this is an e-mail to a Fritz
      22
         correct?                                  22
                                                      Grutzner from a Gordon Rawlston.
      23
              A. Yes.                              23
                                                                Do you see that?
      24
              Q. And it's the same statement       24
                                                            A. Yes.
                                             Page 67                                        Page 69
      1
         that was used the following year, in          1
                                                               Q. Okay. And it says
      2
         1999, that you attached to the e-mail         2
                                                          Stockholders Meeting - Powder Questions,
       3
         that we just talked about before,              3
                                                          correct?
       4
         correct?                                       4
                                                               A. Yes.
       5
              A. It does have the same name,            5
                                                               Q. Okay. And, "Attached are
       6
         yes.                                           6
                                                          two draft questions and answers. The
       7
              Q. And you asked that people              7
                                                          answers are based on approved responses
       8
         contact you in case this information           8
                                                          from our Info Center and corporate PR.
       9
         needed to be tweaked, correct?                 9
                                                          John McKeegan has given his okay."
      10
                  MS. FRAZIER: Objection to            10
                                                                    Do you see that?
      11
              form.                                    11
                                                               A. Yes.
      12
                  THE WITNESS: That is                 12
                                                               Q. Okay. Do you have any
      13
              what -- that is what the e-mail          13
                                                          reason to believe that you did not give
      14
              says.                                    14
                                                          your approval for the statement provided
      15
         BY MR. TISI:                                  15
                                                          to -- at the stockholders meeting as
      16
              Q. Okay. Now, John Bailey at             16
                                                          indicated in this e-mail?
      17
         the FDA, this document indicates John         17
                                                                    MS. FRAZIER: Objection to
      18
         Bailey is at the FDA. The FDA is              18
                                                               form.
      19
         specifically referred to in the statement     19
                                                                    THE WITNESS: Based on how
      20
         that you are using with the press,            20
                                                               things would go on, that at that
      21
         correct?                                      21
                                                               time I would only be commenting on
      22
                  MS. FRAZIER: Objection to            22
                                                               whether this was consistent with
      23
              form.                                    23
                                                               statements that we would have been
      24
                  THE WITNESS: It does say             24
                                                               making.


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                                 John      Filed 08/14/23 Page 630 of 691 PageID:
                                  156405
                                            Page 70                                         Page 72
      1
         BY MR. TISI:                                 1
                                                              A. Oh, I see what you're
      2
               Q. Okay.                               2
                                                         saying. It does not -- it looks to be
       3
               A. That had already been prior          3
                                                         the same statement. And this was what
       4
         approved by the experts at Johnson &          4
                                                         year?
       5
         Johnson.                                      5
                                                              Q. 2000.
       6
               Q. Okay. So let's go to the             6
                                                              A. 2000. So this does seem --
       7
         second page. And it says, "Why does           7
                                                         appear to be the same statement.
       8
         Johnson's Baby Powder still sell talcum       8
                                                              Q. Okay. And so just to be
       9
         powder when it's been proven to cause         9
                                                         clear, this statement was a statement
      10
         ovarian cancer?"                             10
                                                         that was being used in 1998, 1999, and,
      11
                  Do you see that question?           11
                                                         again, it's being used in 2000, true?
      12
               A. Yes.                                12
                                                              A. That is correct.
      13
               Q. And underneath is a                 13
                                                              Q. And it refers specifically
      14
         statement, which is exactly the same         14
                                                         to the workshop co-sponsored by the FDA,
      15
         statement we've been talking about from      15
                                                         correct?
      16
         1999 and 1998. Do you see that?              16
                                                              A. Yes.
      17
               A. Yes.                                17
                                                              Q. Now, just to back up for a
      18
               Q. And it specifically refers          18
                                                         second. You would agree with me that it
      19
         to the FDA, correct?                         19
                                                         is J&J's -- J&J corporate responsibility
      20
               A. Yes.                                20
                                                         not to be misleading in any fashion with
      21
               Q. And it does not appear that         21
                                                         the public or, in this case, the
      22
         that statement was tweaked at all, does      22
                                                         shareholders?
      23
         it, from the 1990 --                         23
                                                                  MS. FRAZIER: Form.
      24
                  MS. FRAZIER: Objection to           24
                                                                  THE WITNESS: It would be
                                            Page 71                                         Page 73
      1
              form.                                   1
                                                              our role in corporate
      2
         BY MR. TISI:                                 2
                                                              communications be making sure that
       3
              Q. From the 1998 e-mail that             3
                                                              the statements that we provide are
       4
         you indicated that the statement might        4
                                                              accurate to the best of our
       5
         need to be tweaked?                           5
                                                              information, according to the
       6
                  MS. FRAZIER: Objection to            6
                                                              experts at Johnson & Johnson.
       7
              form.                                    7
                                                         BY MR. TISI:
       8
                  THE WITNESS: As I recall             8
                                                              Q. Let's go -- now I looked in
       9
              from the earlier e-mail, it was a        9
                                                         the documents that were produced. Do you
      10
              question as to whether it would         10
                                                         ever remember Mr. O'Shaughnessy or
      11
              need to be tweaked. This does           11
                                                         Mr. Hopkins getting back to you to ask
      12
              seem to be the same statement in        12
                                                         you questions about whether or not the
      13
              Question 1.                             13
                                                         statement needed to be tweaked in 1998
      14
         BY MR. TISI:                                 14
                                                         when you asked them to?
      15
              Q. Okay. And so it does not             15
                                                                  MS. FRAZIER: Objection to
      16
         appear that the statement was tweaked at     16
                                                              form.
      17
         all with respect to any aspect of this,      17
                                                                  THE WITNESS: No, that was
      18
         including the FDA and the comments that      18
                                                              20 years ago.
      19
         allegedly Dr. Bailey had made, correct?      19
                                                         BY MR. TISI:
      20
              A. Dr. Bailey?                          20
                                                              Q. That's -- so the answer to
      21
              Q. Dr. Bailey. In the e-mail            21
                                                         the question is you do not recall?
      22
         we looked at before, Dr. Bailey from the     22
                                                              A. I do not recall.
      23
         FDA indicated a concern about talc and       23
                                                              Q. If you did have a
      24
         ovarian cancer. Do you remember that?        24
                                                         conversation with the corporate lawyer


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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 631 of 691 PageID:
                                  156406
                                            Page 74                                          Page 76
      1
         about the statements of -- in this           1
                                                              A. Yes, it does. Colleen
      2
         statement or Mr. Hopkins or Dr. Hopkins,     2
                                                         Goggins though, as an example, was CPCUS.
       3
         would that have been something that in        3
                                                              Q. Okay. All right. And it
       4
         your corporate -- in your practice you        4
                                                         says, "These are the finals of the
       5
         would have made note of by writing it         5
                                                         statements and Q&A."
       6
         down somewhere either in an e-mail --         6
                                                                  Do you see that?
       7
                  MS. FRAZIER: Objection to            7
                                                              A. Yes.
       8
              form.                                    8
                                                              Q. Okay. Now, this is slightly
       9
                  MR. TISI: I'm sorry, I'm             9
                                                         different, if you look at Page 2. "Does
      10
              not finished.                           10
                                                         perineal talc use cause ovarian cancer?"
      11
         BY MR. TISI:                                 11
                                                                  Do you see that?
      12
              Q. Either in a memo or form in          12
                                                              A. Yes.
      13
         some fashion?                                13
                                                              Q. Okay. It says, "In
      14
                  MS. FRAZIER: Objection to           14
                                                         conventional animal dosing studies, there
      15
              form.                                   15
                                                         is no evidence of ovarian cancer. Based
      16
                  THE WITNESS: I don't recall         16
                                                         on available scientific data, no cause
      17
              that I ever would have done that,       17
                                                         and effect ... has been established
      18
              no.                                     18
                                                         showing that the use of talc can cause
      19
         BY MR. TISI:                                 19
                                                         ovarian cancer."
      20
              Q. Now, I'd like you to go to           20
                                                                  Do you see that?
      21
         Tab Number 73 which would be 655 -- 665,     21
                                                              A. Yes.
      22
         excuse me.                                   22
                                                              Q. Okay. And it goes on to
      23
                  (Document marked for                23
                                                         say, "The 1994 panel, co-sponsored by the
      24
              identification as Exhibit               24
                                                         FDA concluded" -- and then it
                                            Page 75                                          Page 77
      1
              P1.665.)                                1
                                                         indicates -- it quotes from the document.
      2
         BY MR. TISI:                                 2
                                                                   Do you see that?
       3
              Q. We're fast forwarding to              3
                                                              A. Yes.
       4
         December of 2000. Do you see that?            4
                                                              Q. Do you know -- and this
       5
              A. Yes.                                  5
                                                         document, again in use in late 2000,
       6
              Q. And this is an e-mail from            6
                                                         refers specifically to the 1994 workshop,
       7
         you?                                          7
                                                         correct?
       8
              A. Yes.                                  8
                                                              A. Yes.
       9
              Q. And this is to mostly people          9
                                                              Q. And this is the final
      10
         who are in J&J corporate, correct?           10
                                                         statement of the Q&A that was being used
      11
              A. Does not appear to be.               11
                                                         for talc.
      12
              Q. Do you know who Colleen              12
                                                                   Do you see that?
      13
         Goggins was?                                 13
                                                                   MS. FRAZIER: Object to
      14
              A. I believe at this time she           14
                                                              form.
      15
         was the head of the Consumer Products        15
                                                                   THE WITNESS: That is what
      16
         companies.                                   16
                                                              is stated in the e-mail.
      17
              Q. Okay. For Johnson & Johnson          17
                                                         BY MR. TISI:
      18
         corporate, correct?                          18
                                                              Q. Now, in the cover e-mail
      19
              A. That is not correct. That            19
                                                         here, your boss Jeff Leebaw is listed,
      20
         was a separate operating company.            20
                                                         correct?
      21
              Q. Okay. What about any of              21
                                                              A. Yes.
      22
         the -- if there's an e-mail that says        22
                                                              Q. And is John O'Shaughnessy on
      23
         JJCUS, Doesn't that indicate that they       23
                                                         here as well?
      24
         were with J&J corporate?                     24
                                                              A. Yes, he is.


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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 632 of 691 PageID:
                                  156407
                                            Page 78                                         Page 80
      1
              Q. And this is called a                 1
                                                         BY MR. TISI:
      2
         reactive statement, correct?                 2
                                                              Q. You don't know whether or
       3
              A. Well, the e-mail, no.                 3
                                                         not you would have said anything about a
       4
              Q. Okay.                                 4
                                                         risk that women might need to know that
       5
              A. The Q&A, no. But on the               5
                                                         there was a controversy surrounding talc
       6
         fourth page, there does seem to be a          6
                                                         and a deadly disease?
       7
         draft of a reaction statement.                7
                                                              A. The --
       8
              Q. And what is a reactive                8
                                                                  MS. FRAZIER: Objection to
       9
         statement?                                    9
                                                              form. Foundation.
      10
              A. This would be a statement            10
                                                                  THE WITNESS: The
      11
         that we are providing in case somebody       11
                                                              information that I would be
      12
         called us for our reaction to some sort      12
                                                              providing would be the information
      13
         of event.                                    13
                                                              that I could get from our experts
      14
              Q. Okay. On Page 3, the                 14
                                                              so that we could provide the most
      15
         question is asked: "Are women at risk if     15
                                                              accurate information to them -- to
      16
         they have used talc?"                        16
                                                              the public, through the media, and
      17
                  Do you see that?                    17
                                                              we'd be responding to media
      18
              A. Yes.                                 18
                                                              questions.
      19
              Q. Okay. It says that "there            19
                                                         BY MR. TISI:
      20
         is no convincing evidence that cosmetic      20
                                                              Q. Okay. And so if I was with
      21
         talc, when used as intended, presents a      21
                                                         CBS News, and I looked at this question
      22
         health risk to consumers."                   22
                                                         and answer and said, you know, I am
      23
                  Do you see that?                    23
                                                         reading in the medical literature, and
      24
              A. I see that.                          24
                                                         I'm just a reporter, and I'm reading in
                                            Page 79                                         Page 81
      1
              Q. Okay. Is it your                    the medical literature there are some
                                                      1
      2
         understanding, do you have any            2
                                                     doctors like Dr. Cramer, we looked at the
       3
         understanding as to whether or not        3
                                                     article before, who thought women should
       4
         evidence has to be convincing to J&J      4
                                                     be told of the potential risk with a
       5
         before women are warned?                  5
                                                     product that you can buy on the shelves
       6
                  MS. FRAZIER: Objection to        6
                                                     of any Kmart or Walmart, that women have
       7
              form. Foundation.                    7
                                                     a right to know, what would you have
       8
                  THE WITNESS: That would          8
                                                     said?
       9
              have been well beyond my role as     9
                                                              MS. FRAZIER: Objection to
      10
              somebody who was answering media    10
                                                          form. Foundation.
      11
              questions.                          11
                                                              THE WITNESS: I would have
      12
         BY MR. TISI:                             12
                                                          been providing a statement that
      13
              Q. If I was with the media and      13
                                                          was based on the best information
      14
         I said, Well, Dr. -- Mr. McKeegan, there 14
                                                          that I was able to gather from our
      15
         is evidence out there. You may not be    15
                                                          experts at Johnson & Johnson.
      16
         convinced of it. But don't you think     16
                                                     BY MR. TISI:
      17
         women have the right to know. What would 17      Q. And what would you have
      18
         your answer have been?                   18
                                                     said?
      19
                  MS. FRAZIER: Objection to       19
                                                              MS. FRAZIER: Same
      20
              form.                               20
                                                          objection.
      21
                  THE WITNESS: I can't say        21
                                                              THE WITNESS: It looks like
      22
              what my answer would have been      22
                                                          I would have said -- it looks like
      23
              20 years ago, because I'm not just  23
                                                          I would have said, you know, what
      24
              that close to these issues.         24
                                                          was in these statements or Q&A.


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                                 John      Filed 08/14/23 Page 633 of 691 PageID:
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                                            Page 82                                          Page 84
      1
         BY MR. TISI:                                 1
                                                              A. Based on her e-mail address,
      2
             Q. Okay. And so what would --            2
                                                         that appears to be correct.
       3
             A. According to what we have              3
                                                              Q. And she's forwarding your
       4
         here in front of us.                          4
                                                         final talc statement to folks, other
       5
             Q. Okay. And so what you would            5
                                                         folks on December 5, 2000, correct?
       6
         have done in response to that question,       6
                                                              A. Yes.
       7
         you would have simply said, well, we're       7
                                                              Q. And it says, "As previously
       8
         not convinced?                                8
                                                         requested, you are to direct all outside
       9
                  MS. FRAZIER: Objection to            9
                                                         inquiries to John McKeegan at corporate."
      10
             form. Foundation.                        10
                                                              A. Yes.
      11
         BY MR. TISI:                                 11
                                                              Q. And -- so all media
      12
             Q. The evidence isn't                    12
                                                         questions relating to talc and ovarian
      13
         convincing to us?                            13
                                                         cancer, I'm going to separate this into
      14
                  MS. FRAZIER: Same                   14
                                                         two questions, were referred to J&J
      15
             objection.                               15
                                                         corporate, correct?
      16
                  THE WITNESS: I would have           16
                                                              A. All media questions,
      17
              been providing information that         17
                                                         correct.
      18
             was based on the information that        18
                                                              Q. And within J&J corporate,
      19
             I had gathered from the experts at       19
                                                         they were directed to you, correct?
      20
             Johnson & Johnson, and they would        20
                                                              A. That is correct.
      21
             have reviewed those answers before       21
                                                              Q. And so J&J corporate would
      22
             I provided them.                         22
                                                         have been in charge of interfacing with
      23
         BY MR. TISI:                                 23
                                                         the public and the media about talc
      24
             Q. Right. And if I was with              24
                                                         questions, correct?
                                            Page 83                                          Page 85
      1
         the media and I asked you the question,      1
                                                                   MS. FRAZIER: Objection to
      2
         do -- shouldn't women be told about a        2
                                                              form.
       3
         potential risk, your response would have      3
                                                                   THE WITNESS: We would have
       4
         been, we are not convinced?                   4
                                                              been answering questions that were
       5
                  MS. FRAZIER: Objection to            5
                                                              presented to us by the media.
       6
              form. Foundation.                        6
                                                         BY MR. TISI:
       7
                  THE WITNESS: I can't                 7
                                                              Q. Okay. And when we say we,
       8
              speculate on what we would have          8
                                                         we're talking about J&J corporate,
       9
              said. I don't recall getting that        9
                                                         correct?
      10
              question.                               10
                                                              A. That's correct.
      11
         BY MR. TISI:                                 11
                                                              Q. And attached to this
      12
              Q. Please go to exhibit -- Tab          12
                                                         document is the Q&A statement that we
      13
         Number 54.                                   13
                                                         talked about -- we've been talking about,
      14
                  (Document marked for                14
                                                         about talc and ovarian cancer, correct?
      15
              identification as Exhibit               15
                                                                   MS. FRAZIER: Objection to
      16
              P1.646.)                                16
                                                              form.
      17
         BY MR. TISI:                                 17
                                                                   THE WITNESS: There do
      18
              Q. Now this is a Lorena                 18
                                                              appear to be some edits here.
      19
         Telofski. Do you remember who                19
                                                         BY MR. TISI:
      20
         Ms. Telofski was?                            20
                                                              Q. Okay. And -- but it does
      21
              A. No.                                  21
                                                         also indicate, in response to the
      22
              Q. She's forwarding -- she's            22
                                                         question about talc and ovarian cancer,
      23
         with the consumer product company,           23
                                                         it refers to the panel meeting
      24
         correct, based upon her e-mail address?      24
                                                         co-sponsored by the FDA, correct?


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                                 John      Filed 08/14/23 Page 634 of 691 PageID:
                                  156409
                                            Page 86                                       Page 88
      1
            A.      Yes, it does.                     1
                                                           Q. And so this e-mail was going
      2
                   MR. TISI: Go to Tab              2
                                                      to both you in corporate, your boss at
       3
              Number 55.                            3
                                                      corporate, and Sarah Colamarino at the
       4
                   (Document marked for             4
                                                      consumer products company. True?
       5
              identification as Exhibit             5
                                                           A. True.
       6
              P1.647.)                              6
                                                           Q. And it indicates, it's
       7
         BY MR. TISI:                               7
                                                      forwarding a Q&A to, among other people,
       8
              Q. And this is forwarding an          8
                                                      other companies that manufacture talc,
       9
         e-mail from Mike Chudkowski to, among Avon, Unilever, et cetera, correct?
                                                    9
      10
         other people, you?                        10
                                                           A. I don't know actually if
      11
              A. Yes.                              11
                                                      they -- I mean there's some on here that
      12
              Q. And attached to that e-mail       12
                                                      I don't know that they would have. Like
      13
         is an e-mail from Irene Malbin, who I'll  13
                                                      Dow Corning.
      14
         represent to you is with the CFTA, which  14
                                                               But there are a number of
      15
         is the industry trade group. If you look  15
                                                      consumer products companies as well as
      16
         on Page 2?                                16
                                                      apparently some pharmaceutical companies
      17
              A. Okay.                             17
                                                      on this e-mail list.
      18
              Q. Do you see that?                  18
                                                           Q. Okay. So, sir, just to be
      19
              A. Yes.                              19
                                                      clear so that the jury understands what's
      20
              Q. And if you look in the -- on      20
                                                      going on here is, this is an e-mail from
      21
         the list of people that were being copied 21 the consumer trade group CFTA, which I'll
      22
         on this e-mail, among other people were 22 later represent to you later became PCPC.
      23
         you, correct?                             23
                                                           A. C-T-F-A.
      24
              A. Yes.                              24
                                                           Q. CTFA. I always switch
                                            Page 87                                       Page 89
      1
              Q. Okay. And your boss Jeff         those, and I apologize ahead of time for
                                                      1
      2
         Leebaw, correct?                       2
                                                  doing that.
       3
              A. Correct.                       3
                                                           CTFA which later became
       4
              Q. And a woman by the name of 4 PCPC. This is the industry trade group
       5
         Sarah Colamarino. Do you see that?     5
                                                  that represents talc manufacturers among
       6
              A. Hold on please, I'm sorry.     6
                                                  other things, correct?
       7
                  MR. TISI: You can highlight   7
                                                       A. Yes.
       8
              that if you don't mind, Dan.      8
                                                       Q. And this is dated
       9
         BY MR. TISI:                           9
                                                  December 12, 2000 and -- 2000.
      10
              Q. You can look at the screen    10
                                                       A. Yes.
      11
         if you'd like. Do you see Sarah       11
                                                       Q. And it provides questions
      12
         Colamarino?                           12
                                                  and  answers  like we've been discussing
      13
              A. Yes.                          13
                                                  you used internally, correct?
      14
              Q. Okay. And who is Sarah        14
                                                       A. Yes.
      15
         Colamarino?                           15
                                                       Q. Okay. And Number 6, does --
      16
              A. Sarah was -- I guess around   16
                                                  the question is, "Does perineal talc
      17
         this time she had moved over to the   17
                                                  use" -- "use cause ovarian cancer?"
      18
         consumer products companies to lead   18
                                                           Do you see that?
      19
         public relations at those companies.  19
                                                       A. Yes.
      20
              Q. Okay. And so she would have 20        Q. And it looks like this is
      21
         been your counterpart at the consumer 21 the exact same language that was drafted
      22
         products company and you were at      22
                                                  at J&J corporate for communications to
      23
         corporate, true?                      23
                                                  the media if J&J was contacted directly,
      24
              A. Yes.                          24
                                                  correct?

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                                 John      Filed 08/14/23 Page 635 of 691 PageID:
                                  156410
                                           Page 90                                          Page 92
      1
                  MS. FRAZIER: Objection to          1
                                                        BY MR. TISI:
      2
              form.                                  2
                                                             Q. I'm sorry, say it again,
       3
                  THE WITNESS: It does appear         3
                                                        sir.
       4
              to be very similar. I don't know        4
                                                             A. Very similar.
       5
              that it's exact. It seems to be         5
                                                             Q. So now we've looked at the
       6
              some things missing at the end.         6
                                                        J&J and industry message on talc and
       7
              More talc use than anything else.       7
                                                        ovarian cancer over time, from 1998,
       8
         BY MR. TISI:                                 8
                                                        1999, and now we are in late 2000.
       9
              Q. Okay. All right. And it              9
                                                                And you would agree that all
      10
         specifically refers to a 1994 workshop      10
                                                        of those statements refer to the 1994
      11
         co-sponsored by the FDA. Do you see         11
                                                        conference co-sponsored by the FDA?
      12
         that?                                       12
                                                             A. Yes.
      13
              A. Yes.                                13
                                                             Q. And as somebody in PR, you
      14
              Q. And it specifically again           14
                                                        would agree that words matter and need to
      15
         talks about the FDA, correct?               15
                                                        be chosen carefully, correct?
      16
              A. Yes.                                16
                                                                MS. FRAZIER: Objection to
      17
              Q. Okay. This is the                   17
                                                             form.
      18
         year 2000, correct?                         18
                                                                THE WITNESS: I agree that
      19
              A. Yes.                                19
                                                             we have to be accurate with what
      20
              Q. And Question Number 8 is the        20
                                                             we are saying, yes.
      21
         question: "Are women at risk for using      21
                                                        BY MR. TISI:
      22
         talc?"                                      22
                                                             Q. And you can't be if you omit
      23
                  The same question and answer       23
                                                        information, that could be -- that could
      24
         that was provided, that we talked about     24
                                                        be misleading, true?
                                           Page 91                                          Page 93
      1
         internally that was developed at J&J,       1
                                                                 MS. FRAZIER: Objection to
      2
         correct?                                    2
                                                             form.
       3
                  MS. FRAZIER: Object to              3
                                                                 THE WITNESS: I'm not sure
       4
              form.                                   4
                                                             what your question is.
       5
                  THE WITNESS: It does appear         5
                                                        BY MR. TISI:
       6
              to be the same.                         6
                                                             Q. Well, would you -- if you
       7
         BY MR. TISI:                                 7
                                                        miss -- if you -- if in response to a
       8
              Q. And so would you agree with          8
                                                        media question, you do not include all of
       9
         me that what was being used by the           9
                                                        the relevant information, it can be
      10
         industry appears to be, in large part,      10
                                                        misleading, true?
      11
         what was being drafted at J&J, and          11
                                                                 MS. FRAZIER: Objection to
      12
         specifically J&J corporate?                 12
                                                             form.
      13
                  MS. FRAZIER: Objection to          13
                                                                 THE WITNESS: I'm not sure
      14
              form.                                  14
                                                             what you're trying to ask.
      15
                  THE WITNESS: I really have         15
                                                        BY MR. TISI:
      16
              no way of knowing that at this         16
                                                             Q. Well, one of the reasons, if
      17
              point. This was 20 years ago.          17
                                                        you go back to your 1998 reason where you
      18
         BY MR. TISI:                                18
                                                        indicated your statement may need to
      19
              Q. Okay. Well, it appears to           19
                                                        be tweaked based upon what Dr. Bailey
      20
         be the same -- or virtually identical       20
                                                        said, that there was concern at the FDA
      21
         language, true?                             21
                                                        about talc and ovarian cancer. You put
      22
              A. Very similar, yes.                  22
                                                        that in your e-mail for the reason of
      23
                  MS. FRAZIER: Objection to          23
                                                        saying, you know, we may need to tweak
      24
              form.                                  24
                                                        this to make sure it's accurate. We


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                                 John      Filed 08/14/23 Page 636 of 691 PageID:
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                                            Page 94                                      Page 96
      1
         don't want to mislead the public as to     see that?
                                                      1
      2
         what the FDA was saying, correct?        2
                                                         A. That was apparently what was
       3
                  MS. FRAZIER: Objection to       3
                                                    in the e-mail.
       4
              form.                               4
                                                         Q. All right. So now my
       5
                  THE WITNESS: The only thing     5
                                                    question is, did Dr. -- and it was
       6
              I know is what you showed me in     6
                                                    specifically addressed to doctor -- to
       7
              that e-mail.                        7
                                                    Mr. -- to Dr. Hopkins, if you can recall,
       8
         BY MR. TISI:                             8
                                                    and Mr. O'Shaughnessy, correct?
       9
              Q. Correct. And what would be       9
                                                         A. Yes.
      10
         the reason why you would reach out and 10       Q. And you asked that they
      11
         suggest that your media statement might 11
                                                    actually call you, true?
      12
         need to be tweaked based upon what      12
                                                         A. That is in the e-mail.
      13
         Dr. Bailey was saying?                  13
                                                         Q. Okay. And based upon our
      14
                  MS. FRAZIER: Objection to      14
                                                    looking at the statement, the statements
      15
              form.                              15
                                                    over time, there was no adjustment that
      16
                  THE WITNESS: My --             16
                                                    would account for the FDA had concern
      17
              according to that e-mail, my       17
                                                    about the risk of talc and ovarian
      18
              question would have been whether   18
                                                    cancer. Was there --
      19
              the statement needed to be         19
                                                             MS. FRAZIER: Objection to
      20
              adjusted or tweaked in any way.    20
                                                         form.
      21
         BY MR. TISI:                            21
                                                             THE WITNESS: I don't recall
      22
              Q. Based upon what Dr. Bailey      22
                                                         exactly what the circumstances
      23
         was talking about concerning talc and   23
                                                         around this would have been.
      24
         ovarian cancer, true?                   24
                                                    BY MR. TISI:
                                            Page 95                                      Page 97
      1
                   MS. FRAZIER: Objection to          1
                                                           Q. Would you go to exhibit
      2
              form.                                 2
                                                      number -- Tab 53 which is Exhibit 645.
       3
                   THE WITNESS: Who was             3
                                                               (Document marked for
       4
              Dr. Bailey?                           4
                                                           identification as Exhibit
       5
         BY MR. TISI:                               5
                                                           P1.645.)
       6
              Q. Dr. Bailey was at the FDA.         6
                                                               MR. TISI: I'm sorry, can
       7
              A. Okay. Who was he?                  7
                                                           you go to Exhibit 645, Dan?
       8
              Q. All right. We can go back          8
                                                      BY MR. TISI:
       9
         to the document if you'd like. I'm happy   9
                                                           Q. This was an e-mail from you
      10
         to do that.                               10
                                                      dated November 28, 2000, while you were
      11
              A. Yeah, I don't know what -- I      11
                                                      drafting the final Q&A.
      12
         have not seen these e-mails in years and  12
                                                               Do you see that?
      13
         years and years.                          13
                                                           A. Yes.
      14
                   So who was Dr. Bailey?          14
                                                           Q. And you indicated in -- this
      15
              Q. Dr. Bailey was the head of        15
                                                      is an e-mail from you?
      16
         the -- I'll represent to you Dr. Bailey   16
                                                           A. Yes.
      17
         at the time was the head of the division  17
                                                           Q. It indicates to you, "These
      18
         involving cosmetics and colors at the FDA 18
                                                      are prepared based upon where we left off
      19
         that had responsibility for talc. And he  19
                                                      at our last meeting, that we would have
      20
         got on TV apparently and indicated there  20
                                                      outside experts review this again."
      21
         was concern at the FDA about talc and     21
                                                               Do you see that?
      22
         ovarian cancer.                           22
                                                           A. Yes.
      23
                   Okay? Your question was, do     23
                                                           Q. Do you know what outside
      24
         we need to tweak our statement? Do you    24
                                                      experts reviewed your Q&A?


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                                 John      Filed 08/14/23 Page 637 of 691 PageID:
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                                            Page 98                                       Page 100
      1
                  MS. FRAZIER: Objection to           1
                                                         specifically refer to the FDA, true?
      2
              form.                                   2
                                                              A. Yes.
       3
                  THE WITNESS: I have no               3
                                                              Q. And it asks the question we
       4
              idea.                                    4
                                                         love talking about: "Are women at risk
       5
         BY MR. TISI:                                  5
                                                         if they use talc?" And it again talks
       6
              Q. Do you know if they would be          6
                                                         about no convincing evidence.
       7
         paid experts by Johnson & Johnson?            7
                                                                  Do you see that?
       8
                  MS. FRAZIER: Objection to            8
                                                              A. Yes.
       9
              form.                                    9
                                                              Q. And when you say no
      10
                  THE WITNESS: Since I would          10
                                                         convincing evidence, do you know who
      11
              not have been any -- involved in        11
                                                         you're referring to here as to who needs
      12
              hiring anybody, I would have no         12
                                                         to be convinced?
      13
              idea.                                   13
                                                                  MS. FRAZIER: Objection to
      14
         BY MR. TISI:                                 14
                                                              form.
      15
              Q. It says you "consciously             15
                                                                  THE WITNESS: I really don't
      16
         here left out the names of the products      16
                                                              understand what you're trying to
      17
         to shield them as much as possible."         17
                                                              ask.
      18
                  Do you see that?                    18
                                                         BY MR. TISI:
      19
              A. I do.                                19
                                                              Q. I'm asking you convincing
      20
              Q. Why would you want to shield         20
                                                         evidence. Who is the -- who is the
      21
         any discussion about Johnson's Baby          21
                                                         people making the decision about what
      22
         Powder or Shower to Shower in connection     22
                                                         evidence is convincing or not?
      23
         with the issues relating to talc and         23
                                                                  MS. FRAZIER: Objection to
      24
         ovarian cancer?                              24
                                                              form.
                                            Page 99                                       Page 101
      1
                   MS. FRAZIER: Objection to          1
                                                             THE WITNESS: At this point
      2
              form.                                2
                                                        20 years ago, I have no idea how
       3
                   THE WITNESS: Since this is      3
                                                        this language came about.
       4
              nearly 21 years ago, I do not        4
                                                     BY MR. TISI:
       5
              know.                                5
                                                        Q. I'm going to --
       6
         BY MR. TISI:                              6
                                                             MR. TISI: This is probably
       7
              Q. And attached to this              7
                                                        a good time to take a quick break,
       8
         draft -- this article is a draft of the   8
                                                        unless you want to keep going,
       9
         two questions that we talked about which 9     Mr. McKeegan, I have no problem
      10
         is does perineal use of talc -- use --   10
                                                        keeping going. I just -- this is
      11
         I'm sorry.                               11
                                                        a -- if we're going to take a
      12
                   It says "Does perineal talc    12
                                                        break, this is probably a good
      13
         use cause ovarian cancer?" on Page 3.    13
                                                        time to do it.
      14
                   Do you see that?               14
                                                             THE WITNESS: That sounds
      15
              A. Yes.                             15
                                                        good.
      16
              Q. And it doesn't have any          16
                                                             MR. TISI: Kat, do you want
      17
         reference to Johnson's Baby Powder or 17       to do five minutes just so
      18
         Shower to Shower, does it?               18
                                                        everyone can stretch their legs.
      19
                   MS. FRAZIER: Objection to      19
                                                             MS. FRAZIER: That sounds
      20
              form.                               20
                                                        good to me. Is that enough time
      21
                   THE WITNESS: I do not see      21
                                                        for you, John?
      22
              any reference to those products.    22
                                                             THE WITNESS: I do need to
      23
         BY MR. TISI:                             23
                                                        make a quick phone call so if I'm
      24
              Q. Any -- to the -- but it does     24
                                                        a little late, I'll be back very

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                                 John      Filed 08/14/23 Page 638 of 691 PageID:
                                  156413
                                            Page 102                                        Page 104
      1
             quickly.                                  1
                                                               making an inquiry based on some
      2
                  MR. TISI: How about we make          2
                                                               statements that somebody at the
       3
             it ten so you don't feel like you          3
                                                               FDA had made.
       4
             have to kill yourself to get off           4
                                                          BY MR. TISI:
       5
             the phone.                                 5
                                                               Q. Right. And if -- again, if
       6
                  THE WITNESS: Okay.                    6
                                                          we can go to Exhibit Number 637, which is
       7
                  MR. TISI: All right?                  7
                                                          Tab 45 of your notebook, the statement
       8
                  MS. FRAZIER: Sounds good.             8
                                                          was "John Bailey at the FDA expressed to
       9
                  THE VIDEOGRAPHER: The time            9
                                                          them some concern about the risk of talc
      10
             is 11:35 a.m. Off the record.             10
                                                          and ovarian cancer. We do not know much
      11
                  (Short break.)                       11
                                                          more than that and certainly don't know
      12
                  THE VIDEOGRAPHER: It's               12
                                                          exactly what he said."
      13
             11:52 a.m. On the record.                 13
                                                                   Do you see that?
      14
         BY MR. TISI:                                  14
                                                               A. Yes.
      15
             Q. Okay. All right. So,                   15
                                                               Q. Okay. And that was a
      16
         Mr. McKeegan, I'm going to ask you a          16
                                                          statement that -- that was of some
      17
         couple questions now.                         17
                                                          interest and why you were forwarding it
      18
                  We talked before about the           18
                                                          to Mr. O'Shaughnessy and Mr. Hopkins with
      19
         media statement that was prepared by J&J      19
                                                          a cc to your boss Jeff Leebaw.
      20
         corporate, and to be used with, among         20
                                                                   Do you see that?
      21
         other things, the media and shareholders.     21
                                                               A. Yes.
      22
         Do you remember that?                         22
                                                                   MS. FRAZIER: Objection to
      23
                  MS. FRAZIER: Objection to            23
                                                               form.
      24
             form.                                     24
                                                          BY MR. TISI:
                                            Page 103                                        Page 105
      1
                  THE WITNESS: Yes, I                  1
                                                           Q. And the question was, you
      2
              remember.                             2
                                                      wanted to speak to both Mr. Hopkins and
       3
         BY MR. TISI:                               3
                                                      Mr. O'Shaughnessy about whether or not
       4
              Q. Okay. And, again, to set           4
                                                      what you were telling the public through
       5
         the table for the questions that I'm       5
                                                      the media and your shareholders needed to
       6
         about ready to ask you, it referred        6
                                                      be tweaked, right?
       7
         specifically to the FDA and the FDA        7
                                                                MS. FRAZIER: Objection to
       8
         conference. Do you remember that?          8
                                                           form.
       9
              A. Yes.                               9
                                                                THE WITNESS: Incorrect.
      10
                  MS. FRAZIER: Objection to        10
                                                           This is 1998.
      11
              form.                                11
                                                      BY MR. TISI:
      12
         BY MR. TISI:                              12
                                                           Q. Okay.
      13
              Q. And you became aware, at          13
                                                           A. And this was a question
      14
         least in 1998, there was some suggestion  14
                                                      about  whether this statement was still
      15
         that that media statement might need to   15
                                                      accurate to use in terms of a potential
      16
         be tweaked to reflect what the FDA, and   16
                                                      inquiry from CBS News.
      17
         specifically a Dr. Bailey at the FDA, was 17           And from this e-mail, I
      18
         saying about the concern about talc and   18
                                                      can't tell whether we actually ever
      19
         ovarian cancer, correct?                  19
                                                      received a call or not.
      20
                  MS. FRAZIER: Objection to        20
                                                           Q. Okay. And you specifically
      21
              form.                                21
                                                      say, "If you could each call me next
      22
                  THE WITNESS: I was made          22
                                                      week," referring to Mr. Hopkins,
      23
              aware of a media inquiry from        23
                                                      Dr. Hopkins, and Mr. O'Shaughnessy,
      24
              the -- by the CTFA about CBS News correct?
                                                   24




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                                 John      Filed 08/14/23 Page 639 of 691 PageID:
                                  156414
                                           Page 106                                      Page 108
      1
              A. Correct.                             Mr. O'Shaughnessy, we have your boss
                                                      1
      2
              Q. Okay. "And we can talk more        2
                                                      Jeffrey Leebaw, and we have the trade
       3
         about what we know and what we may need 3 organization through Ms. Malbin, correct?
       4
         to do," correct?                           4
                                                               MS. FRAZIER: Objection to
       5
              A. Correct.                           5
                                                           form.
       6
              Q. And it says, and                   6
                                                               THE WITNESS: When you are
       7
         specifically the statement before is that  7
                                                           talking about that, you are
       8
         your statement to the media may need to    8
                                                           talking about the people that
       9
         be tweaked. And you attached the           9
                                                           would have been made aware based
      10
         statement, correct?                       10
                                                           on my e-mail?
      11
                   MS. FRAZIER: Objection to       11
                                                      BY MR. TISI:
      12
              form.                                12
                                                           Q. Yes.
      13
                   THE WITNESS: The question       13
                                                           A. Irene is not on this.
      14
              is, to them, is "in case we need     14
                                                           Q. Well, Irene, you had gotten
      15
              to tweak our statement at all."      15
                                                      a call from Irene so she was aware of it.
      16
         BY MR. TISI:                              16
                                                      That's what you said?
      17
              Q. Okay. And this statement is       17
                                                           A. Right. But I was making
      18
         the one that is attached to this          18
                                                      John Hopkins, John O'Shaughnessy, and
      19
         document, which you had indicated is the  19
                                                      Jeff Leebaw aware of this, according to
      20
         one that is consistent with what you had  20
                                                      this e-mail.
      21
         been telling the media in this time       21
                                                           Q. Correct. Okay. And so my
      22
         frame, correct?                           22
                                                      point is, there are three different
      23
              A. Correct.                          23
                                                      entities that are involved in this,
      24
                   MS. FRAZIER: Objection to       24
                                                      what's going on at the time in 1998.
                                           Page 107                                      Page 109
      1
              form.                                   There's J&J corporate through corporate
                                                      1
      2
         BY MR. TISI:                               2
                                                      communications, through you and
       3
              Q. And so, this, you know, just       3
                                                      Mr. Leebaw, correct?
       4
         from a real practical standpoint, a        4
                                                           A. Okay.
       5
         statement from the FDA expressing concern  5
                                                           Q. Right. There's the CTFA who
       6
         about the risk of talc and ovarian cancer  6
                                                      called you about this, correct?
       7
         was enough to make you make this inquiry   7
                                                           A. Okay.
       8
         of both the -- Dr. Hopkins and the         8
                                                           Q. Am I incorrect or no?
       9
         company lawyer, right?                     9
                                                           A. I'm waiting for your
      10
                  MS. FRAZIER: Objection to        10
                                                      question.
      11
              form.                                11
                                                           Q. Well, no, how about
      12
                  THE WITNESS: The potential       12
                                                      answering the question I posed.
      13
              for a question to Johnson &          13
                                                           A. I said okay.
      14
              Johnson based -- from CBS News,      14
                                                           Q. You got a call from CTFA,
      15
              was the impetus for the e-mail       15
                                                      right?
      16
              based on what I'm reading here.      16
                                                           A. Okay.
      17
         BY MR. TISI:                              17
                                                           Q. Is that a yes or no?
      18
              Q. Correct. Okay. So now --          18
                                                           A. I'm only going based on what
      19
         and you were made aware of this through   19
                                                      this e-mail says.
      20
         the CTFA, right?                          20
                                                              MS. FRAZIER: Objection to
      21
              A. Correct.                          21
                                                           form.
      22
              Q. Right. And what we have           22
                                                      BY MR. TISI:
      23
         here are four different people or groups, 23
                                                           Q. Right. And the e-mail says
      24
         we have Dr. Hopkins and                   24
                                                      you got a call from the CTFA.

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                                 John      Filed 08/14/23 Page 640 of 691 PageID:
                                  156415
                                           Page 110                                         Page 112
      1
              A. And I said okay.                     1
                                                         speaking to Mr. Leebaw about this?
      2
              Q. Does "okay" mean yes or no?          2
                                                              A. No specific memory, no.
       3
              A. It means, apparently,                 3
                                                              Q. Would you agree that if any
       4
         according to this e-mail, I received a        4
                                                         one of these people told you that the FDA
       5
         call from Irene Malbin at the CTFA.           5
                                                         believed in 1994, even after the
       6
              Q. Okay. So we've got CTFA at            6
                                                         co-sponsorship of the symposium on talc,
       7
         one end, we've got J&J corporate,             7
                                                         that the evidence supported the
       8
         corporate communications through              8
                                                         possibility that talc could pose a risk
       9
         yourself, and you are forwarding this on      9
                                                         of ovarian cancer, you most likely would
      10
         to the company lawyer and to Johns           10
                                                         have suggested that the -- that the
      11
         Hopkins, who as you understand was with      11
                                                         statement be tweaked to reflect that?
      12
         consumer products, true?                     12
                                                                  MS. FRAZIER: Objection to
      13
              A. I actually have no memory of         13
                                                              form.
      14
         John --                                      14
                                                                  THE WITNESS: My -- the way
      15
                  MS. FRAZIER: Objection to           15
                                                              that we would do things in
      16
              form.                                   16
                                                              corporate communications, we would
      17
                  THE WITNESS: I'm sorry.             17
                                                              reach back to the people with the
      18
         BY MR. TISI:                                 18
                                                              most direct knowledge of this and
      19
              Q. Okay.                                19
                                                              ask them the questions about
      20
                  MS. FRAZIER: Object to              20
                                                              whether these statements needed to
      21
              form.                                   21
                                                              be changed. That is apparently
      22
                  THE WITNESS: I have no              22
                                                              what happened here.
      23
              memory of John Hopkins.                 23
                                                         BY MR. TISI:
      24
         BY MR. TISI:                                 24
                                                              Q. And if it turned out that
                                           Page 111                                         Page 113
      1
              Q. I'll represent to you that           the FDA still had concerns, that would be
                                                      1
      2
         he was a consultant, a former employee 2 material to what you were telling
       3
         but consulting with J&J on talc issues at 3 shareholders in the media, true?
       4
         the time.                                  4
                                                               MS. FRAZIER: Objection to
       5
                  MS. FRAZIER: Objection to         5
                                                           form. Foundation.
       6
              form. Look at the -- hey, Chris,      6
                                                               THE WITNESS: Johnson &
       7
              just look at the year on that.        7
                                                           Johnson -- Johnson & Johnson
       8
                  MR. TISI: Okay. All right.        8
                                                           experts would have instructed if
       9
         BY MR. TISI:                               9
                                                           we needed to change these
      10
              Q. Anyway, let's move on. I          10
                                                           statements in any way.
      11
         don't want to get bogged down on this.    11
                                                      BY MR. TISI:
      12
                  And you notified your boss       12
                                                           Q. Well, as somebody involved
      13
         Dr. -- Mr. Leebaw, correct?               13
                                                      in corporate communications and public
      14
              A. Yes.                              14
                                                      relations, you don't want to be
      15
              Q. And we indicated you do not       15
                                                      misleading, do you?
      16
         recall Mr. O'Shaughnessy or Dr. Hopkins   16
                                                               MS. FRAZIER: Objection to
      17
         ever contacting you as you requested that 17      form.
      18
         they do, right?                           18
                                                               THE WITNESS: Apparently
      19
                  MS. FRAZIER: Objection to        19
                                                           according to this e-mail, I did
      20
              form.                                20
                                                           reach back to them to make sure
      21
                  THE WITNESS: I have no           21
                                                           that our statement was still going
      22
              memory.                              22
                                                           to be accurate or whether it
      23
         BY MR. TISI:                              23
                                                           needed to be changed in any way.
      24
              Q. Did you ever remember             24
                                                      BY MR. TISI:

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                                 John      Filed 08/14/23 Page 641 of 691 PageID:
                                  156416
                                            Page 114                                         Page 116
      1
              Q. Right. Because what                   1
                                                               adjustments to our statement.
      2
         Dr. Bailey had apparently talked about        2
                                                          BY MR. TISI:
       3
         openly was that there was still a concern      3
                                                               Q. And you don't recall them
       4
         at the FDA about talc and ovarian cancer.      4
                                                          ever contacting you about that, correct?
       5
         And that would have been a material fact,      5
                                                                   MS. FRAZIER: Objection to
       6
         true or not true?                              6
                                                               form.
       7
                  MS. FRAZIER: Objection to             7
                                                                   THE WITNESS: According to
       8
              form.                                     8
                                                               the e-mail, this is 23 years ago,
       9
                  THE WITNESS: I have no idea           9
                                                               and I have no memory of the -- if
      10
              what Dr. Bailey would have said.         10
                                                               we ever spoke of that.
      11
         BY MR. TISI:                                  11
                                                                   MR. TISI: I'd like to go to
      12
              Q. I'm asking you from the               12
                                                               exhibit number -- this is not in
      13
         perspective of corporate PR, it raised a      13
                                                               your notebook because I put this
      14
         question in your mind as to whether or        14
                                                               in late. But it's a very short
      15
         not the corporate statement should            15
                                                               memorandum. P1.0446.
      16
         reflect a concern about talc and ovarian      16
                                                                   Could you please bring that
      17
         cancer.                                       17
                                                               up please, Dan.
      18
                  MS. FRAZIER: Objection to            18
                                                                   (Document Marked for
      19
              form.                                    19
                                                               identification as Exhibit
      20
         BY MR. TISI:                                  20
                                                               P1.446.
      21
              Q. That's why you wrote the --           21
                                                          BY MR. TISI:
      22
         that's why you wrote this e-mail, right?      22
                                                               Q. Let me ask you to take a
      23
                  MS. FRAZIER: Objection to            23
                                                          look at this. First of all, this is a
      24
              form.                                    24
                                                          fax from Stephen Gettings. I'll
                                            Page 115                                         Page 117
      1
                  THE WITNESS: It looks like           1
                                                          represent to you he is with CTFA. And
      2
              I sent this e-mail to ask for            2
                                                          the date is February 4, 1994. And if you
       3
              their input to see whether we             3
                                                          look at the top left-hand corner, it's
       4
              needed to make any changes in our         4
                                                          sent to some of the very same people who
       5
              statement about talc.                     5
                                                          you made your inquiry about in 1998,
       6
         BY MR. TISI:                                   6
                                                          specifically Mr. Hopkins,
       7
              Q. Correct. And the reason why            7
                                                          Mr. O'Shaughnessy, and your boss
       8
         you did that is because this statement by      8
                                                          Mr. Leebaw.
       9
         somebody at the FDA communicated to your       9
                                                                   Do you see that?
      10
         trade organization, at least in your          10
                                                                   MS. FRAZIER: Objection to
      11
         mind, created a question as to whether or     11
                                                               form.
      12
         not the statement needed to be tweaked,       12
                                                                   THE WITNESS: I do see their
      13
         using your phrase?                            13
                                                               names on the to list of the memo.
      14
                  MS. FRAZIER: Objection to            14
                                                          BY MR. TISI:
      15
              form.                                    15
                                                               Q. Okay. And these are the
      16
                  THE WITNESS: The question            16
                                                          people who you specifically made a
      17
              is about a potential media inquiry       17
                                                          request to about the FDA's concerns about
      18
              that could come to us from CBS           18
                                                          ovarian cancer.
      19
              News, and so we asked that the           19
                                                                   Do you see that?
      20
              opinion of the people who would be       20
                                                                   MS. FRAZIER: Object.
      21
              closest to the issue to see              21
                                                               Objection to form.
      22
              whether this would have been             22
                                                                   THE WITNESS: According to
      23
              anything that we would need to           23
                                                               this timeline of events, I would
      24
              change our statement or make any         24
                                                               have asked -- been asking them


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                                 John      Filed 08/14/23 Page 642 of 691 PageID:
                                  156417
                                            Page 118                                        Page 120
      1
              four years later --                      1
                                                          Follow-up. Do you see that?
      2
         BY MR. TISI:                                  2
                                                               A. Yes.
       3
              Q. Correct.                               3
                                                               Q. And we agree that the
       4
              A. -- than what this memo was             4
                                                          corporate statement that you said was in
       5
         indicating.                                    5
                                                          use cite to talc symposium co-sponsored
       6
              Q. Right. So this would have              6
                                                          by the FDA, correct?
       7
         been presumably -- and I asked                 7
                                                               A. Chris, let me read the
       8
         Mr. O'Shaughnessy about this. This would       8
                                                          document. Okay.
       9
         have been a document that would have been      9
                                                               Q. Now, so then my question to
      10
         received at the time you made the inquiry     10
                                                          you is, when you reached out -- did
      11
         to, among others, Mr. O'Shaughnessy,          11
                                                          Dr. -- let's take them one at a time.
      12
         about the FDA's position, correct?            12
                                                                   Did Mr. Leebaw, your boss,
      13
                  MS. FRAZIER: Objection to            13
                                                          tell you that the FDA had a concern after
      14
              form. Foundation.                        14
                                                          that meeting of the possibility of a risk
      15
                  THE WITNESS: I have no -- I          15
                                                          of ovarian cancer could not be dismissed,
      16
              have no knowledge of this                16
                                                          did he tell you that at any time that you
      17
              memorandum.                              17
                                                          can recall?
      18
         BY MR. TISI:                                  18
                                                                   MS. FRAZIER: Objection to
      19
              Q. Okay.                                 19
                                                               form. Foundation.
      20
              A. At all.                               20
                                                                   THE WITNESS: I have no
      21
              Q. That's because -- that's              21
                                                               memory of any discussion like
      22
         because Mr. O'Shaughnessy, Mr. Leebaw and     22
                                                               that.
      23
         Mr. Hopkins never told you about it, did      23
                                                          BY MR. TISI:
      24
         they?                                         24
                                                               Q. Did Mr. O'Shaughnessy, to
                                            Page 119                                        Page 121
      1
                  MS. FRAZIER: Objection to          whom you sent your inquiry in 1998, say,
                                                       1
      2
              form.                                2
                                                     you know, we had this follow-up with the
       3
                  THE WITNESS: I didn't even       3
                                                     FDA and the possibility of the risk of
       4
              start at J&J until three years       4
                                                     ovarian cancer could not be totally
       5
              after this.                          5
                                                     dismissed?
       6
         BY MR. TISI:                              6
                                                              MS. FRAZIER: Objection to
       7
              Q. Correct. And when you             7
                                                         form. And I'll instruct the
       8
         reached back to them and said, we saw 8         witness not to respond to the
       9
         something that Dr. Bailey had said, this  9
                                                         extent that responding to
      10
         would have been -- assuming the date is  10
                                                         questions about what
      11
         correct in 1994 -- this would have been  11
                                                         Mr. O'Shaughnessy, who was inhouse
      12
         in their possession for some four years, 12
                                                         counsel at Johnson & Johnson said
      13
         correct?                                 13
                                                         to Mr. McKeegan is attorney/client
      14
                  MS. FRAZIER: Objection to       14
                                                         privileged.
      15
              form.                               15
                                                              And to the extent it
      16
                  THE WITNESS: I have no          16
                                                         requires him to disclose such
      17
              knowledge --                        17
                                                         communications, I'll instruct him
      18
         BY MR. TISI:                             18
                                                         not to answer.
      19
              Q. Okay. Let's see what it --       19
                                                              MR. TISI: Well, I don't
      20
              A. I have no knowledge about        20
                                                         think that it does, but let me see
      21
         that document.                           21
                                                         if I can --
      22
              Q. Let's see -- let's see what      22
                                                     BY MR. TISI:
      23
         it says.                                 23
                                                         Q. Do you ever remember
      24
                  It says Talc Symposium          24
                                                     Mr. O'Shaughnessy calling you and talking


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                                 John      Filed 08/14/23 Page 643 of 691 PageID:
                                  156418
                                            Page 122                                        Page 124
      1
         about his involvement with the talc           1
                                                               form.
      2
         symposium?                                    2
                                                                   THE WITNESS: I do not
       3
                  MS. FRAZIER: You're just              3
                                                               recall any specific conversations
       4
              asking -- wait a minute. You're           4
                                                               I had with Irene Malbin during
       5
              just asking about the fact of,            5
                                                               that time.
       6
              rather than the content?                  6
                                                          BY MR. TISI:
       7
                  MR. TISI: Correct.                    7
                                                               Q. But in any event, your
       8
              Correct.                                  8
                                                          statement was never changed to include
       9
                  MS. FRAZIER: Okay.                    9
                                                          this information, was it?
      10
                  MR. TISI: Let's just take            10
                                                                   MS. FRAZIER: Objection to
      11
              it one piece at a time, Kat.             11
                                                               form.
      12
         BY MR. TISI:                                  12
                                                                   THE WITNESS: Our statement
      13
              Q. Do you ever remember                  13
                                                               would have been evaluated by the
      14
         Mr. O'Shaughnessy, in response to your        14
                                                               experts at Johnson & Johnson and
      15
         question that he contact you in 1998,         15
                                                               they would have used their
      16
         call you and say -- tell you that he was      16
                                                               knowledge to provide information
      17
         at the talc symposium and received            17
                                                               back to me that I could then use
      18
         information about the FDA following that      18
                                                               to answer questions from the
      19
         symposium?                                    19
                                                               media.
      20
                  MS. FRAZIER: Object to               20
                                                          BY MR. TISI:
      21
              form.                                    21
                                                               Q. Okay. That wasn't my
      22
                  THE WITNESS: I have no               22
                                                          question.
      23
              memory of any such discussions.          23
                                                               A. That was my answer.
      24
         BY MR. TISI:                                  24
                                                               Q. No, it's not -- you need to
                                            Page 123                                        Page 125
      1
              Q. Do you ever remember                  1
                                                          answer my question.
      2
         Mr. Hopkins or Dr. Hopkins calling you        2
                                                                   My question is, was the
       3
         and telling you that the FDA's impression      3
                                                          statement that you prepared or that was
       4
         after the meeting that you used in your        4
                                                          being used in 1998, 1999 and 2000, ever
       5
         statement to the press and to the              5
                                                          tweaked, to use your phrase, to indicate
       6
         shareholders is that the possibility of        6
                                                          that the FDA continued to have concerns
       7
         risk of ovarian cancer cannot be totally       7
                                                          about the possibility of the risk of
       8
         dismissed?                                     8
                                                          ovarian cancer?
       9
                  MS. FRAZIER: Objection to             9
                                                                   MS. FRAZIER: Objection to
      10
              form.                                    10
                                                               form.
      11
                  THE WITNESS: I have no               11
                                                          BY MR. TISI:
      12
              memory of any discussions with           12
                                                               Q. Was it ever --
      13
              John Hopkins at all.                     13
                                                                   MS. FRAZIER: Objection to
      14
         BY MR. TISI:                                  14
                                                               form.
      15
              Q. And we -- and do you know             15
                                                                   THE WITNESS: We would have
      16
         whether or not, in 1998, when you spoke       16
                                                               had these statements evaluated
      17
         to the CTFA representative Ms. Malbin,        17
                                                               periodically based on things that
      18
         whether or not she said, you know, we         18
                                                               would have been occurring at the
      19
         received a call -- we made a call to the      19
                                                               time. That was the usual
      20
         FDA and they raised that there was a          20
                                                               practice.
      21
         possibility of a risk of ovarian cancer       21
                                                                   From what you've just shown
      22
         in 1994 that could not be totally             22
                                                               me about the statement between
      23
         dismissed?                                    23
                                                               '98, '99 and 2000, the statements
      24
                  MS. FRAZIER: Objection to            24
                                                               appear to be largely the same.


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                                 John      Filed 08/14/23 Page 644 of 691 PageID:
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                                            Page 126                                     Page 128
      1
         BY MR. TISI:                                 correct, to reflect this information?
                                                       1
      2
              Q. Okay. And they did not             2
                                                               MS. FRAZIER: Objection to
       3
         include any suggestion the FDA had         3
                                                           form.
       4
         concern about the risk of ovarian cancer 4            Same objection.
       5
         either as reflected in the e-mail that     5
                                                               THE WITNESS: The statement
       6
         you had from 1998 or as reflected in this 6       appears to be largely the same
       7
         memorandum to the people who you           7
                                                           during those time frames.
       8
         requested information from, true?          8
                                                      BY MR. TISI:
       9
                  MS. FRAZIER: Objection to         9
                                                           Q. Now, do you know, were you
      10
              form.                                10
                                                      ever told as a result of this
      11
                  THE WITNESS: According to 11 communication that what apparently John
      12
              the -- what you showed me from the 12 Bailey at the FDA had with -- in the
      13
              statements, the statements only      13
                                                      media about --
      14
              talk about the FDA in the specific   14
                                                               MR. TISI: You could take
      15
              context.                             15
                                                           that off the screen.
      16
         BY MR. TISI:                              16
                                                               Actually, bring up Exhibit
      17
              Q. Right. About the talc             17
                                                           637.1 again.
      18
         symposium, true?                          18
                                                      BY   MR.  TISI:
      19
              A. That's correct.                   19
                                                           Q. As a result of this
      20
                  MS. FRAZIER: Objection to        20
                                                      statement that was important enough for
      21
              form.                                21
                                                      you to forward by the FDA official
      22
         BY MR. TISI:                              22
                                                      expressing concern about the risk of
      23
              Q. It doesn't talk about any         23
                                                      ovarian cancer, do you know whether or
      24
         follow-up statements that the FDA made    24
                                                      not anybody ever followed up with the FDA
                                            Page 127                                     Page 129
      1
         expressing concern about the possibility     or made an inquiry of the FDA as to what
                                                       1
      2
         of the risk of ovarian cancer, correct?    2
                                                      their current thinking was, so that you
       3
                   MS. FRAZIER: Objection to        3
                                                      could amend, if necessary, the -- what
       4
              form.                                 4
                                                      you were telling the press and your
       5
                   THE WITNESS: When those          5
                                                      shareholders?
       6
              experts evaluated those documents, 6             MS. FRAZIER: Objection to
       7
              if they had concerns about the        7
                                                           form. Foundation.
       8
              current wording of it, they would     8
                                                               THE WITNESS: The -- ask
       9
              have provided that to me --           9
                                                           your question again, please.
      10
         BY MR. TISI:                              10
                                                      BY MR. TISI:
      11
              Q. Right.                            11
                                                           Q. Yeah. My question was, as a
      12
              A. -- and we would have              12
                                                      result of this statement by the FDA in
      13
         adjusted it appropriately.                13
                                                      the press about concerns of talc and
      14
              Q. Right. But you don't even         14
                                                      ovarian cancer, do you know of anybody at
      15
         remember whether they even got back to    15
                                                      the company who reached out to find out
      16
         you, do you?                              16
                                                      exactly what Dr. Bailey said or meant
      17
              A. No, that was 20-something         17
                                                      about his concerns?
      18
         years ago.                                18
                                                               MS. FRAZIER: Objection to
      19
                   MS. FRAZIER: Objection to       19
                                                           form. Foundation.
      20
              form.                                20
                                                               THE WITNESS: I would have
      21
         BY MR. TISI:                              21
                                                           no memory of that, since it was so
      22
              Q. Okay. And we all -- we            22
                                                           long ago.
      23
         agree, I think we can, that the statement 23 BY MR. TISI:
      24
         wasn't tweaked at all in 1998, 1999,      24
                                                           Q. Okay. And would you agree


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                                 John      Filed 08/14/23 Page 645 of 691 PageID:
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                                           Page 130                                     Page 132
      1
         with me that that would have been one of     1
                                                           who presumably would have had
      2
         the things that you would have expected    2
                                                           knowledge of this issue and asked
       3
         as somebody who is the face of J&J         3
                                                           them if we needed to adjust this
       4
         corporate with the media?                  4
                                                           statement.
       5
                  MS. FRAZIER: Objection to         5
                                                      BY MR. TISI:
       6
              form. Foundation.                     6
                                                           Q. Well, it's not just two
       7
                  THE WITNESS: I can't say          7
                                                      people. You copied your boss, Dr. --
       8
              what I would have expected. I         8
                                                      Mr. Leebaw, correct, to whom that prior
       9
              don't think -- I don't remember if    9
                                                      statement by the FDA that I showed you
      10
              we received this call from CBS       10
                                                      from 1994 was sent, correct?
      11
              News.                                11
                                                               MS. FRAZIER: Objection to
      12
         BY MR. TISI:                              12
                                                           form.
      13
              Q. Right. Doesn't matter             13
                                                               THE WITNESS: No. The --
      14
         whether you received it directly from CBS 14      this was to John Hopkins and John
      15
         News, or you received it from CTFA. What 15       O'Shaughnessy. Jeff would have
      16
         is important, wouldn't you agree, is      16
                                                           been copied as my supervisor.
      17
         whether the FDA had concerns about the    17
                                                      BY MR. TISI:
      18
         risk of talc and ovarian cancer, right,   18
                                                           Q. Right. And you got the call
      19
         as a subject matter?                      19
                                                      from CTFA, who is the trade organization,
      20
                  MS. FRAZIER: Objection to        20
                                                      right?
      21
              form. Foundation.                    21
                                                           A. Yes.
      22
                  THE WITNESS: Whether the         22
                                                               MR. TISI: I'm going to show
      23
              FDA had concerns about talc          23
                                                           you exhibit number -- and this is
      24
              products, or specifically Johnson    24
                                                           not -- again, this is a document
                                           Page 131                                     Page 133
      1
               & Johnson products, would not have     1
                                                           that is not in your stack, so I'm
      2
               been within my area.                 2
                                                           going to ask you to bear with me
       3
         BY MR. TISI:                               3
                                                           for a moment.
       4
               Q. Right.                            4
                                                               This is a document dated
       5
               A. I was specifically charged        5
                                                           February 10, 1998.
       6
         with answering questions that we would 6              Would you please bring up
       7
         have received from the media.              7
                                                           P1.669.
       8
               Q. Right. So -- so that being        8
                                                               (Document marked for
       9
         the case, and I'm accepting you as you --  9
                                                           identification as Exhibit
      10
         accepting your answer as you just gave 10         P1.669.)
      11
         it -- you being the interface with the    11
                                                      BY MR. TISI:
      12
         media, would you have expected J&J, the 12        Q. Now, just for timeline
      13
         scientists and regulatory people at J&J,  13
                                                      purposes, the e-mail that we have been
      14
         to speak to the people at the FDA so that 14
                                                      talking about with -- from you to
      15
         when you are asked these questions, you   15
                                                      Mr. Hopkins and John O'Shaughnessy, was
      16
         can give accurate answers?                16
                                                      February 13, 1988, correct?
      17
                   MS. FRAZIER: Objection to       17
                                                           A. Yes.
      18
               form. Foundation.                   18
                                                           Q. Okay. So this document is
      19
                   THE WITNESS: I can't say        19
                                                      dated February 10, 1988, three days
      20
               what I would have expected at this  20
                                                      before, correct?
      21
               time.                               21
                                                           A. Correct.
      22
                   I can say that based on what    22
                                                           Q. Okay. And this is a
      23
               you're showing me in this e-mail,   23
                                                      document -- it was not in your file so
      24
               that I reached back to two people   24
                                                      I'm not suggesting you would have seen


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                                 John      Filed 08/14/23 Page 646 of 691 PageID:
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                                            Page 134                                        Page 136
      1
         it. I'm just going to ask you a question      1
                                                          statement to the press refers to the
      2
         about this.                                   2
                                                          workshop on talc safety from 1994,
       3
                  It says the FDA's Cosmetics           3
                                                          correct?
       4
         Program. Do you see that?                      4
                                                               A. Yes.
       5
               A. Yes.                                  5
                                                               Q. Okay. And it says,
       6
               Q. And it's prepared by, if you          6
                                                          "Additional data ... since then further
       7
         look at the bottom left, it's prepared by      7
                                                          suggests a health hazard."
       8
         the FDA, correct?                              8
                                                                   Do you see that?
       9
                  MS. FRAZIER: Objection to             9
                                                                   MS. FRAZIER: Objection to
      10
               form. Foundation.                       10
                                                               form. Foundation.
      11
         BY MR. TISI:                                  11
                                                                   THE WITNESS: I see that
      12
               Q. The Office of Cosmetics and          12
                                                               sentence.
      13
         Color.                                        13
                                                          BY MR. TISI:
      14
               A. That's apparently what this          14
                                                               Q. And did anybody -- now we
      15
         says.                                         15
                                                          have -- we talked about before, the 1994
      16
               Q. And I'm going to show you a          16
                                                          fax memorandum sent to Mr. Leebaw and
      17
         very specific page. And I will suggest        17
                                                          Mr. O'Shaughnessy and Mr. Hopkins from
      18
         to you this came from the PCPC, or CTFA,      18
                                                          CTFA about a call with the FDA expressing
      19
         the folks who called you, to let you know     19
                                                          concern, still expressing concern after
      20
         about Dr. Bailey's FDA statement.             20
                                                          that meeting at that workshop about talc
      21
                  If you go to page -- the             21
                                                          and ovarian cancer.
      22
         document that has exhibit -- 509 Bates at     22
                                                                   You remember that, right?
      23
         the end.                                      23
                                                                   MS. FRAZIER: Objection to
      24
                  MR. TISI: I think it's               24
                                                               form.
                                            Page 135                                        Page 137
      1
              about six pages in, Dan. Seven           1
                                                                    THE WITNESS: I remember
      2
              pages.                                   2
                                                                that memo.
       3
                  Go back. Back. Right                  3
                                                          BY MR. TISI:
       4
              there. Next page.                         4
                                                                Q. Okay. And now we have in
       5
         BY MR. TISI:                                   5
                                                          1998, the FDA referring to that workshop
       6
              Q. It has a statement on talc             6
                                                          in 1994 and saying, "Additional data
       7
         in this FDA document, do you see that?         7
                                                          obtained since then further suggests a
       8
              A. Yes, I see that.                       8
                                                          health hazard," correct?
       9
              Q. It says, and we'll read it             9
                                                                    MS. FRAZIER: Objection to
      10
         together. "Talc is a commonly used            10
                                                                form. Foundation.
      11
         ingredient used in a variety of cosmetic,     11
                                                                    THE WITNESS: I see that
      12
         drugs, and medical device preparations."      12
                                                                sentence in this document.
      13
                  Do you see that?                     13
                                                          BY MR. TISI:
      14
              A. Yes.                                  14
                                                                Q. Right. And you were made
      15
              Q. Okay. Next statement:                 15
                                                          aware of a statement that the FDA through
      16
         "Perineal talc has been linked to             16
                                                          Dr. Bailey made to CBS that there was
      17
         increased risk of ovarian cancer."            17
                                                          still a concern about talc and ovarian
      18
                  Do you see that?                     18
                                                          cancer, true?
      19
              A. I see that.                           19
                                                                    MS. FRAZIER: Objection to
      20
              Q. It says, "FDA sponsored a             20
                                                                form.
      21
         workshop on talc safety in 1994."             21
                                                          BY MR. TISI:
      22
                  Do you see that?                     22
                                                                Q. At the FDA?
      23
              A. Yes.                                  23
                                                                A. I recall that in the e-mail
      24
              Q. Okay. And, of course, your            24
                                                          you showed me.


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                                 John      Filed 08/14/23 Page 647 of 691 PageID:
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                                            Page 138                                         Page 140
      1
             Q. All right. And these three             1
                                                          interfacing with the media and approving
      2
         documents, the one from 1994, your e-mail     2
                                                          statements to the shareholders, where in
       3
         from 1998, and this document, would            3
                                                          this statement that it indicates that the
       4
         suggest, at least would you agree with         4
                                                          FDA continued to have concerns about talc
       5
         me, suggests that FDA still had concerns?      5
                                                          and ovarian cancer and that there is a
       6
                 MS. FRAZIER: Objection to              6
                                                          suggestion of a health hazard?
       7
             form. Foundation.                          7
                                                                   MS. FRAZIER: Objection to
       8
                 THE WITNESS: I can't                   8
                                                               form.
       9
             speculate on what the FDA was              9
                                                          BY MR. TISI:
      10
             doing.                                    10
                                                               Q. Is there anything in here
      11
         BY MR. TISI:                                  11
                                                          that would suggest that to you?
      12
             Q. You can't read -- that's               12
                                                                   MS. FRAZIER: Objection to
      13
         exactly what the e-mail you wrote said,       13
                                                               form. Foundation.
      14
         right?                                        14
                                                                   THE WITNESS: This statement
      15
                 MS. FRAZIER: Objection to             15
                                                               would have been based on the best
      16
             form. Foundation.                         16
                                                               information we had from the
      17
                 THE WITNESS: I can only go            17
                                                               experts at Johnson & Johnson.
      18
             by what you're showing me here. I         18
                                                          BY MR. TISI:
      19
              cannot remember exactly what was         19
                                                               Q. I'm not asking --
      20
             going on at this time. I would            20
                                                               A. If the FDA was going to be
      21
             have no idea what would have been         21
                                                          making information available about how
      22
             going on within the FDA.                  22
                                                          they felt about talc, I presume that they
      23
         BY MR. TISI:                                  23
                                                          would have done so.
      24
             Q. My question to you, Mr. --             24
                                                               Q. Okay. Well, you are
                                            Page 139                                         Page 141
      1
         Mr. McKeegan, in public statements you      referring to the FDA and that workshop in
                                                       1
      2
         made until you left the company, you left this statement, correct?
                                                   2
       3
         this position in 2001, did not tell the   3
                                                          A. As we've stated before, that
       4
         public that the FDA still had concerns    4
                                                     is in this statement.
       5
         about talc and ovarian cancer, did it?    5
                                                          Q. Okay. And so my question
       6
                  MS. FRAZIER: Objection to        6
                                                     is, having referred to the 1994 workshop
       7
              form.                                7
                                                     and the FDA, you now -- I have now shown
       8
                  THE WITNESS: Our statements 8 you three pieces of information that the
       9
              would have been based on the best    9
                                                     FDA was -- still remained concerned.
      10
              information that we would have had  10
                                                               So if you wanted to be
      11
              from the Johnson & Johnson          11
                                                     complete, that information about the
      12
              experts.                            12
                                                     FDA's concern is not in your corporate
      13
                  MR. TISI: Okay. Move to         13
                                                     statement, was it?
      14
              strike.                             14
                                                               MS. FRAZIER: Objection to
      15
         BY MR. TISI:                             15
                                                          form. Foundation.
      16
              Q. My question is, you looking      16
                                                               THE WITNESS: Our corporate
      17
         at that statement, and we can bring --   17
                                                          statement would have been based on
      18
                  MR. TISI: Let's bring up        18
                                                          the best information available to
      19
              exhibit -- let's bring up           19
                                                          us from Johnson & Johnson's
      20
              Exhibit 637. Look at Page 2, the    20
                                                          experts.
      21
              Statement on Talcum Powder.         21
                                                     BY MR. TISI:
      22
         BY MR. TISI:                             22
                                                          Q. Sir, with all due respect,
      23
              Q. Can you tell me where, as        23
                                                     you are not answering my question. Okay?
      24
         the guy who was responsible for          24
                                                     I'm not asking you what it's based on.


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                                 John      Filed 08/14/23 Page 648 of 691 PageID:
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                                            Page 142                                         Page 144
      1
         I'm asking you what it says.                  1
                                                               form. Foundation.
      2
                   Is there anything -- can you        2
                                                                    THE WITNESS: It provides
       3
         point to me a statement in this statement      3
                                                               the best information that we had
       4
         on talcum powder that was being used by        4
                                                               available to us from the experts
       5
         you and J&J corporate in 2000 -- between       5
                                                               at Johnson & Johnson.
       6
         1998 and earlier and 2000, that reflects       6
                                                          BY MR. TISI:
       7
         any suggestion that the FDA had concern        7
                                                               Q. And so if the FDA -- if
       8
         about the risk?                                8
                                                          you're referring to the FDA and the
       9
                   MS. FRAZIER: Objection to            9
                                                          workshop in this statement, you don't
      10
               form. Foundation.                       10
                                                          think it's fair that -- that the media
      11
         BY MR. TISI:                                  11
                                                          and the public also needs to know that
      12
               Q. And if your answer is yes,           12
                                                          the FDA continued to have concerns, you
      13
         I'd like you to tell me where it says         13
                                                          don't think that that's necessary?
      14
         that.                                         14
                                                                    MS. FRAZIER: Objection to
      15
                   MS. FRAZIER: Objection to           15
                                                               form. Foundation.
      16
               form. Foundation.                       16
                                                                    THE WITNESS: This again is
      17
                   THE WITNESS: Our statement          17
                                                               a statement from Johnson &
      18
               would have been based on the best       18
                                                               Johnson, based on the best
      19
               available information that we had       19
                                                               information that we had available
      20
               to us from the Johnson & Johnson        20
                                                               to us from Johnson & Johnson's
      21
               experts who would have reviewed         21
                                                               experts.
      22
               these statements and provided any       22
                                                          BY MR. TISI:
      23
               input to us.                            23
                                                               Q. Sir, who were those experts?
      24
         BY MR. TISI:                                  24
                                                               A. I can only go by what you
                                            Page 143                                         Page 145
      1
              Q. That's not my question. My            1
                                                          are showing me in terms of the e-mails
      2
         question is not what it's based on. I'm       2
                                                          that would have been coming from those
       3
         asking you what it says.                       3
                                                          times.
       4
                  Would you agree with me that          4
                                                                   So the people on those
       5
         this statement doesn't -- which refers to      5
                                                          e-mails presumably would have been --
       6
         the FDA, does not reflect any concern          6
                                                          included the experts who had helped to
       7
         that the FDA had about talc and ovarian        7
                                                          develop this statement originally and who
       8
         cancer and the science?                        8
                                                          would have been reviewing it after this.
       9
                  MS. FRAZIER: Objection to             9
                                                               Q. Okay. So that would have
      10
              form. Foundation.                        10
                                                          been, among other people, the company
      11
                  THE WITNESS: Our statement           11
                                                          lawyer, right?
      12
              would have been a statement from         12
                                                                   MS. FRAZIER: Objection to
      13
              Johnson & Johnson. It would have         13
                                                               form.
      14
              been a statement based on the best       14
                                                                   THE WITNESS: John
      15
              information we had available to us       15
                                                               O'Shaughnessy is copied on these
      16
              from the experts at Johnson &            16
                                                               for review, as well as other
      17
              Johnson.                                 17
                                                               people.
      18
         BY MR. TISI:                                  18
                                                          BY MR. TISI:
      19
              Q. Okay. And it makes no                 19
                                                               Q. Okay. And you saw, I showed
      20
         reference to the documents or the             20
                                                          you, an e-mail where these other people
      21
         communications that -- that we just           21
                                                          knew and understood that J -- the
      22
         talked about, that the FDA continued to       22
                                                          company -- that the FDA still had concern
      23
         have concerns, does it?                       23
                                                          of the possibility of talc and ovarian
      24
                  MS. FRAZIER: Objection to            24
                                                          cancer even after the 1994 workshop


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                                 John      Filed 08/14/23 Page 649 of 691 PageID:
                                  156424
                                          Page 146                                         Page 148
      1
         referred to in this document, true?         1
                                                             form. Foundation.
      2
                  MS. FRAZIER: Objection to          2
                                                                 THE WITNESS: I would have
       3
              form. Foundation.                       3
                                                             no direct knowledge about what
       4
                  THE WITNESS: I was not at           4
                                                             information the Johnson & Johnson
       5
              J&J at that time. And I have no         5
                                                             experts would have used to
       6
              knowledge of that document.             6
                                                             evaluate these statements.
       7
         BY MR. TISI:                                 7
                                                        BY MR. TISI:
       8
              Q. I didn't ask you that                8
                                                             Q. Sir, I didn't ask you that.
       9
         question.                                    9
                                                                 I'm asking you as the guy
      10
                  I'm asking you, you reached        10
                                                        who provided these statements, spoke to
      11
         out to the people who did get that          11
                                                        the press, who approved information for
      12
         document and they never told you that,      12
                                                        the shareholders, who participated with
      13
         did they?                                   13
                                                        the CTFA on crafting their statement on
      14
                  MS. FRAZIER: Objection to          14
                                                        talc and ovarian cancer. There is
      15
              form. Foundation.                      15
                                                        nothing in any of the materials that we
      16
                  THE WITNESS: Any statements        16
                                                        reviewed that you were involved with that
      17
              that we would have made from           17
                                                        reflect -- that reflected after the 1994
      18
              corporate communications would         18
                                                        workshop the FDA continued to have
      19
              have gone back to the experts for      19
                                                        concerns, there is nothing, isn't there?
      20
              their review, and if there was         20
                                                                 MS. FRAZIER: Objection to
      21
              changes to be made, they would         21
                                                             form. Foundation.
      22
              have provided that information         22
                                                                 THE WITNESS: Johnson &
      23
              back to us.                            23
                                                             Johnson's experts, I'm sure, would
      24
         BY MR. TISI:                                24
                                                             have been using a great many
                                          Page 147                                         Page 149
      1
              Q. And they didn't do that, did        1
                                                           things in order to evaluate the
      2
         they? They provided no --                  2
                                                           accuracy of the statements. But I
       3
                  MS. FRAZIER: Objection to         3
                                                           would have no direct knowledge of
       4
              form.                                 4
                                                           what they were being used to
       5
         BY MR. TISI:                               5
                                                           evaluate.
       6
              Q. They provided no tweaks to         6
                                                      BY MR. TISI:
       7
         your corporate statement that would have   7
                                                           Q. But in any event, your media
       8
         reflected that the FDA not only had        8
                                                      statements to the media upon inquiry by
       9
         concerns, but they thought that            9
                                                      anybody would be talc is safe and the
      10
         information gained since the 1994         10
                                                      workshop convened by the FDA in 1994
      11
         workshop suggested a health hazard,       11
                                                      showed there was no connection. True?
      12
         correct?                                  12
                                                               MS. FRAZIER: Objection to
      13
                  MS. FRAZIER: Objection to        13
                                                           form.
      14
              form. Foundation.                    14
                                                               THE WITNESS: We had gone
      15
                  THE WITNESS: Based on what       15
                                                           through the statement several
      16
              you've shown me here, the            16
                                                           times. So the statement is what
      17
              statement appears to be the same     17
                                                           the statement is.
      18
              from '98 through 2000.               18
                                                      BY MR. TISI:
      19
         BY MR. TISI:                              19
                                                           Q. Okay. But you --
      20
              Q. And doesn't reflect the           20
                                                           A. And it doesn't appear to
      21
         documents that I showed you about the FDA 21 have changed between '98 and 2000.
      22
         having concern about talc being a health  22
                                                           Q. It sounds like you refuse to
      23
         hazard. True?                             23
                                                      say what the statement says.
      24
                  MS. FRAZIER: Objection to        24
                                                               The statement says that

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                                           Page 150                                         Page 152
      1
         there is no hazards to health that have      1
                                                             whether -- I'm asking whether it's
      2
         been demonstrated in connection with the     2
                                                             there or not there. Okay? And
       3
         normal use of talc. True?                     3
                                                             it's --
       4
                  MS. FRAZIER: Objection to            4
                                                                  MS. FRAZIER: No, you're
       5
             form.                                     5
                                                             asking him whether or not FDA had
       6
                  THE WITNESS: It says, "The           6
                                                             concerns --
       7
             workshop concluded" --                    7
                                                                  MR. TISI: All right. Let
       8
         BY MR. TISI:                                  8
                                                             me --
       9
             Q. Right.                                 9
                                                                  MS. FRAZIER: -- and showing
      10
             A. -- "no hazards to health has          10
                                                             him the documents and trying to
      11
         been demonstrated in connection with the     11
                                                              get him to agree. That is not the
      12
         normal use of cosmetic talc."                12
                                                             same thing.
      13
             Q. And you saw -- we just                13
                                                                  MR. TISI: Let me -- okay.
      14
         showed you three pieces of information,      14
                                                             Let me rephrase.
      15
         including one that you got in real time      15
                                                                  MS. FRAZIER: He does not
      16
         in 1998, that would suggest that the FDA     16
                                                             have that background. Move on.
      17
         didn't agree with what the workshop          17
                                                                  MR. TISI: Let me rephrase
      18
         concluded, true?                             18
                                                              the statement.
      19
                  MS. FRAZIER: Objection to           19
                                                         BY MR. TISI:
      20
             form. Foundation.                        20
                                                             Q. Okay. In this statement, is
      21
                  THE WITNESS: I would have           21
                                                         there anything that would reflect what
      22
             no direct knowledge about what the       22
                                                         the FDA believed after the 1994 workshop?
      23
             FDA was considering or anything          23
                                                                  MS. FRAZIER: Objection to
      24
              like that --                            24
                                                             form. Foundation.
                                           Page 151                                         Page 153
      1
         BY MR. TISI:                                 1
                                                                  THE WITNESS: The statement
      2
             Q. I didn't ask you --                   2
                                                              says that the workshop concluded
       3
             A. -- so I can't answer your              3
                                                              no hazards to health had been
       4
         question.                                     4
                                                              demonstrated in connection with
       5
                  MS. FRAZIER: Hey. Hey,               5
                                                              the normal use of cosmetic talc.
       6
             Chris, Chris, let's stop here.            6
                                                         BY MR. TISI:
       7
             You are badgering the witness.            7
                                                              Q. And it doesn't reflect any
       8
             He's told you --                          8
                                                         information about what the FDA was doing
       9
                  MR. TISI: How?                       9
                                                         or telling the companies between 1994 and
      10
                  MS. FRAZIER: He's told you          10
                                                         2000?
      11
             numerous times that he does not          11
                                                                  MS. FRAZIER: Objection to
      12
             have the background to be able to        12
                                                              form. Foundation.
      13
             interpret --                             13
                                                                  THE WITNESS: These
      14
                  MR. TISI: Kat --                    14
                                                              statements would have been
      15
                  MS. FRAZIER: -- the                 15
                                                              reviewed by experts at Johnson &
      16
             documents you're putting up and          16
                                                              Johnson. If there was changes to
      17
             trying to have him agree with you.       17
                                                              be made to these statements, I'm
      18
             It's not going to happen.                18
                                                              sure they would have made them.
      19
                  MR. TISI: Kat, I'm not --           19
                                                         BY MR. TISI:
      20
             I'm not asking -- Kat, I am not          20
                                                              Q. And so you're refusing to
      21
             asking him to interpret --               21
                                                         say whether the statement has any
      22
                  MS. FRAZIER: You are asking         22
                                                         information after 1994?
      23
             him to interpret the documents.          23
                                                                  MS. FRAZIER: Objection to
      24
                  MR. TISI: I'm asking him            24
                                                              form. Foundation.


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                                           Page 154                                         Page 156
      1
                  THE WITNESS: I would have           1
                                                          giving you the sound bites you
       2
              no knowledge about anything that     2
                                                          want doesn't mean --
       3
              would have happened after 1994.      3
                                                               MR. TISI: It's not a sound
       4
         BY MR. TISI:                              4
                                                          bite --
       5
              Q. I guess you --                    5
                                                               MS. FRAZIER: -- he should
       6
              A. I started at Johnson &            6
                                                          answer it the way you want him to.
       7
         Johnson in 1997.                          7
                                                               MR. TISI: I think the sound
       8
              Q. I did not ask you whether         8
                                                          bite of him being evasive on this
       9
         you had any information after 1994. I'm   9
                                                          question is better than if simply
      10
         asking you whether this statement that   10
                                                          asked the question -- answered the
      11
         you would read or communicate to people, 11      question.
      12
         has any information after 1994. I'm not  12
                                                               MS. FRAZIER: No, no.
      13
         asking what that information would have  13
                                                          You're asking him to answer
      14
         been. I'm asking you, is there any       14
                                                          something he has no knowledge of.
      15
         reference to information between 1994 and BY MR. TISI:
                                                  15
      16
         2000.                                    16
                                                          Q. I'm asking is there any --
      17
                  MS. FRAZIER: Objection to       17
                                                     this is a statement that you would have
      18
              form. Foundation.                   18
                                                     given to the media had a request been
      19
                  We're getting into the same     19
                                                     given, correct?
      20
              territory, Chris. You're heading    20
                                                          A. If a media request came in,
      21
              the same direction, asking him      21
                                                     this appears to be what we were using
      22
              about knowledge of what the FDA     22
                                                     from 1998 through 2000, according to what
      23
              thinks and what they are doing,     23
                                                     you have shown me.
      24
              when he's already said a million    24
                                                          Q. And is there anything in
                                           Page 155                                         Page 157
      1
             times he doesn't have the                1
                                                         here that refers to any information after
       2
             knowledge.                               2
                                                         1994?
       3
                  MR. TISI: I'm not asking             3
                                                              A. I have no idea --
       4
             that -- I am not asking that at           4
                                                                  MS. FRAZIER: Objection to
       5
             all, Kat, and you know it full            5
                                                              form. Foundation.
       6
             well.                                     6
                                                         BY MR. TISI:
       7
                  MS. FRAZIER: I can hear it           7
                                                              Q. Okay.
       8
             too. I do know that.                      8
                                                              A. I have no idea what people
       9
                  MR. TISI: I'm asking                 9
                                                         who would have reviewed this would have
      10
             whether --                               10
                                                         used in order to determine that this
      11
                  MS. FRAZIER: You are                11
                                                         statement was an accurate representation
      12
             badgering him.                           12
                                                         of Johnson & Johnson, and the best
      13
                  MR. TISI: I am asking --            13
                                                         information that the corporation at its
      14
                  MS. FRAZIER: You're                 14
                                                         disposal.
      15
             bullying him and you're badgering        15
                                                              Q. Now, I'm going to turn to --
      16
             him. You need to move on.                16
                                                         change my -- to a different topic.
      17
                  MR. TISI: He's not                  17
                                                                  Number -- in your role you
      18
             answering -- he is not answering         18
                                                         became aware as an employee of J&J
      19
             the question.                            19
                                                         corporate that the medical and scientific
      20
                  MS. FRAZIER: He's -- he's           20
                                                         community in this time frame, that there
      21
             answering it to the best of his          21
                                                         was some that were suggesting that women
      22
             ability. Just because --                 22
                                                         either be told of a potential risk, or
      23
                  MR. TISI: He is not.                23
                                                         that they be -- it's suggested that they
      24
                  MS. FRAZIER: -- he's not            24
                                                         not use talcum powder products or that


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                                            Page 158                                         Page 160
      1
         the product even -- they switch to            1
                                                          says that there is an increase in
      2
         cornstarch. You aware of that?                2
                                                          perineal talc use may increase the risk
       3
                  MS. FRAZIER: Objection to             3
                                                          of invasive serious ovarian cancer in
       4
              form.                                     4
                                                          quotes.
       5
                  THE WITNESS: I do recall              5
                                                                    Do you see that?
       6
              some articles about things like           6
                                                                    MS. FRAZIER: Objection to
       7
              that.                                     7
                                                                form.
       8
                  MR. TISI: Let's go to                 8
                                                                    THE WITNESS: I see that.
       9
              exhibit number -- Tab Number 48,          9
                                                          BY MR. TISI:
      10
              which is Exhibit 640.                    10
                                                                Q. And on the second page, the
      11
                  (Document Marked for                 11
                                                          first full paragraph it says women who
      12
              identification as Exhibit                12
                                                          used talc had invasive cancer 1.4 times
      13
              P1.640.)                                 13
                                                          larger -- higher than that of women who
      14
         BY MR. TISI:                                  14
                                                          never used it. Do you see that?
      15
              Q. Okay. Is this an e-mail               15
                                                                    I'm just asking you whether
      16
         from you to John O'Shaughnessy, the           16
                                                          you see it, sir.
      17
         company lawyer, again?                        17
                                                                A. I'm reading the paragraph.
      18
              A. It is to John O'Shaughnessy,          18
                                                          Sorry, Chris.
      19
         Catherine Murphy, Michael Chudkowski,         19
                                                                Q. That's okay.
      20
         Nancy Musco, Gary Noble, and Jeff Leebaw.     20
                                                                A. I'm confused by this.
      21
              Q. And it reflects a                     21
                                                                    It says, "We did not observe
      22
         communication that you had with a media       22
                                                          an overall association with the use of
      23
         outlet regarding talc and ovarian cancer,     23
                                                          talc and epithelial ovarian cancer.
      24
         and this is in February of 2000, correct?     24
                                                          There was also no elevation in risk among
                                            Page 159                                         Page 161
      1
                   MS. FRAZIER: Objection to          daily users of perineal talc."
                                                       1
      2
              form.                                 2
                                                               And then it paraphrases,
       3
                   THE WITNESS: It looks like       3
                                                      "But women who used talc had a risk of
       4
              it's an article from February 3rd     4
                                                      invasive cancer 1.4 times higher than
       5
              of 2000.                              5
                                                      that of women who never used it."
       6
         BY MR. TISI:                               6
                                                           Q. Right. So I -- I read that
       7
              Q. Okay. And the article              7
                                                      statement in correctly, true?
       8
         begins on Page 2, and it concerns the      8
                                                           A. That's the statement that's
       9
         risk of ovarian cancer.                    9
                                                      here, yes.
      10
                   Do you see that?                10
                                                           Q. Okay. And if you go to the
      11
              A. Yes.                              11
                                                      prior page, it was a recommendation by a
      12
                   MS. FRAZIER: Objection to       12
                                                      Dr. Cramer, do you see that?
      13
              form.                                13
                                                               And it's the same Dr. Cramer
      14
         BY MR. TISI:                              14
                                                      we talked about in the article from 1999
      15
              Q. And underneath it says, "A        15
                                                      where he says women who apply such
      16
         small but significant association between 16
                                                      products to the perineal genital area to
      17
         the use of talc-containing products and 17 avoid or reduce sweating, Cramer says.
      18
         one of a kind ovarian cancer has emerged 18 "We're talking about an exposure that has
      19
         from a long-term study Harvard Medical 19 aesthetic benefits only, he says. So for
      20
         School researchers report."               20
                                                      people who say the relationship is not
      21
                   Do you see that? First          21
                                                      strong enough to warrant a warning, I
      22
         paragraph?                                22
                                                      come back and say, what's the benefit of
      23
              A. Yes, I see that.                  23
                                                      continued use? My advice is, don't use
      24
              Q. In the second paragraph it        24
                                                      it?"

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                                            Page 162                                       Page 164
      1
                  Do you see that?                     1
                                                          form.
      2
              A. I see that.                       2
                                                              THE WITNESS: I'm aware that
       3
              Q. And then there's a back and       3
                                                          those statements were being made.
       4
         forth in this article where you and       4
                                                     BY MR. TISI:
       5
         Dr. Cramer kind of respond and they       5
                                                          Q. Okay.
       6
         summarize what you both said.             6
                                                              THE WITNESS: Can we take a
       7
                  It says, "Cramer recommends      7
                                                     break?
       8
         that women switch from products           8
                                                              MR. TISI: I'm sorry?
       9
         containing talc to those with starch,     9
                                                              THE WITNESS: Can we take a
      10
         which he says have the same benefits and 10      break?
      11
         carry no risks."                         11
                                                              MR. TISI: Absolutely.
      12
                  MR. TISI: Next page please,     12
                                                              THE VIDEOGRAPHER: The time
      13
              Dan. Very bottom of the page.       13
                                                          is 12:44 p.m. Off the record.
      14
              Yeah. Third paragraph up.           14
                                                                 - - -
      15
         BY MR. TISI:                             15
                                                              (Whereupon, a luncheon
      16
              Q. "Cramer recommends that          16
                                                          recess was taken.)
      17
         women switch from products containing    17
                                                                 - - -
      18
         talc to those with starch, which he says 18
                                                              THE   VIDEOGRAPHER: The time
      19
         carry" -- "have the same benefits and    19
                                                          is 1:02 p.m. We're on the record.
      20
         carry no risk."                          20
                                                     BY MR. TISI:
      21
                  Do you see that?                21
                                                          Q. So, Mr. McKeegan, let's see
      22
              A. Yes.                             22
                                                     if we can kind of summarize where we were
      23
              Q. Okay. And you respond by         23
                                                     just before we took the break, and then
      24
         saying, "John McKeegan, a spokesman for  24
                                                     hopefully complete this deposition in the
                                            Page 163                                       Page 165
      1
         Johnson & Johnson, which makes the            1
                                                          most efficient way that we can.
      2
         talc-containing products, says the            2
                                                                   Before the deposition --
       3
         company 'is taking a very close look at        3
                                                          before the break, I asked you some
       4
         the study.'"                                   4
                                                          questions about whether or not at the
       5
              A. I see that.                            5
                                                          time you were the PR -- involved in PR
       6
              Q. And it says, What to do. It            6
                                                          for J&J corporate, you were aware of
       7
         says, "It's your call. Overall, the            7
                                                          recommendations that had been floated in
       8
         study says, the risk is small. But if          8
                                                          the press, in the medical community,
       9
         you use a talc product, ask yourself is        9
                                                          about either warning women, instructing
      10
         it worthwhile and whether another product     10
                                                          women not to use talcum powder, or
      11
         may do the trick."                            11
                                                          perhaps switching to cornstarch or even
      12
                  Do you see that?                     12
                                                          replacing cornstarch.
      13
              A. It looks like it's                    13
                                                                   Do you remember that
      14
         presumably from the author.                   14
                                                          testimony?
      15
              Q. Correct.                              15
                                                               A. I do.
      16
                  So now my question is, would         16
                                                                   MS. FRAZIER: Objection to
      17
         you agree with me that, at least this is      17
                                                               form.
      18
         consistent with what you told me before,      18
                                                          BY MR. TISI:
      19
         that there was some of the medical            19
                                                               Q. And we showed you an
      20
         community who were suggesting that women      20
                                                          example, Exhibit Number 640, which is an
      21
         be told of a potential risk, that they be     21
                                                          article that you commented on that
      22
         told not to use talc, and that they           22
                                                          discussed some of those things, correct?
      23
         switch to cornstarch?                         23
                                                               A. Yes.
      24
                  MS. FRAZIER: Objection to            24
                                                                   MS. FRAZIER: Objection to


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                                            Page 166                                        Page 168
      1
             form.                                     1
                                                          there was a meeting of what was called
      2
         BY MR. TISI:                                  2
                                                          the National Toxicology Program which was
       3
             Q. Okay. I'd like to show you              3
                                                          considering listing talc as a possible
       4
         Tab 11 which is a document, it's Exhibit       4
                                                          human carcinogen, correct?
       5
         Number 603. It's an e-mail from                5
                                                              A. I believe --
       6
         Ms. Malbin at CTFA, to, among other            6
                                                                  MS. FRAZIER: Objection to
       7
         people, yourself, dated December 7th.          7
                                                              form.
       8
                 (Document marked for                   8
                                                                  THE WITNESS: I believe it
       9
             identification as Exhibit                  9
                                                              was not possible but potential,
      10
             P1.603.)                                  10
                                                              was the -- is the correct thing,
      11
         BY MR. TISI:                                  11
                                                              but it's been a while.
      12
             Q. Do you see that?                       12
                                                          BY MR. TISI:
      13
             A. Yes.                                   13
                                                              Q. I think the word is
      14
             Q. And this is an e-mail to you           14
                                                          "reasonably expected." But we'll talk
      15
         and Ms. Colamarino at Consumer Products,      15
                                                          about that in a moment.
      16
         as well as other people in different          16
                                                                  But in any event, this is
      17
         companies that fall under the PCPC or         17
                                                          December 7th. And I believe that meeting
      18
         CTFA umbrella, correct?                       18
                                                          was the 13th or 14th of December, so this
      19
             A. Yes.                                   19
                                                          would have been before that, true?
      20
             Q. Luzenac, Avon, Unilever,               20
                                                              A. Yes.
      21
         L'Oreal, et cetera. Is that true?             21
                                                                  MS. FRAZIER: Objection to
      22
             A. Yeah, apparently also                  22
                                                              form.
      23
         Bristol-Myers Squibb is on this.              23
                                                          BY MR. TISI:
      24
             Q. Correct.                               24
                                                              Q. All right. So -- and CTFA,
                                            Page 167                                        Page 169
      1
                  The point being -- the point         1
                                                          you were aware were -- was involved in
      2
         being this was distributed to those           2
                                                          preparing for that meeting in mid
       3
         members of CTFA that were involved in          3
                                                          December of 2020 (sic), correct?
       4
         talc issues, correct?                          4
                                                                   MS. FRAZIER: Objection to
       5
                  MS. FRAZIER: Objection to             5
                                                               form.
       6
              form.                                     6
                                                                   THE WITNESS: It -- I'm kind
       7
                  THE WITNESS: I haven't read           7
                                                               of reading this as we're
       8
              this yet so I will take what you          8
                                                               discussing, so I'm --
       9
              say about it.                             9
                                                          BY MR. TISI:
      10
         BY MR. TISI:                                  10
                                                               Q. Yeah, I'm sorry, maybe --
      11
              Q. Okay. Well, the subject               11
                                                          maybe -- you can read it certainly for
      12
         matter is talc                                12
                                                          sure, but I'm just trying to set the
      13
         assessment/Nichols-Dezenhall.                 13
                                                          table as to where this kind of fits in in
      14
              A. Okay, yes.                            14
                                                          the -- kind of the constellation of what
      15
              Q. Okay. And it says, "I think           15
                                                          we are talking about here, right?
      16
         you will fine" -- I think that means          16
                                                                   So this document was sent to
      17
         find -- "the Nichols-Dezenhall assessment     17
                                                          you and others on -- as the National
      18
         of the talc 'landscape' very helpful and      18
                                                          Toxicology Program was considering --
      19
         informative. Irene."                          19
                                                          whatever question you were considering,
      20
                  Do you see that?                     20
                                                          we'll get the exact language in a moment,
      21
              A. Yes.                                  21
                                                          about talc and ovarian cancer.
      22
              Q. And just for context, this            22
                                                               A. That sounds right.
      23
         is on the eve of -- and we'll talk about      23
                                                                   MS. FRAZIER: Objection to
      24
         this in a moment. In mid December 2000        24
                                                               form.

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                                            Page 170                                        Page 172
      1
         BY MR. TISI:                                  1
                                                          substituting cornstarch-based products
      2
               Q. All right. And it's dated            2
                                                          that contain no talc.'"
       3
         December 7, 2000, and it kind of tries to      3
                                                                   Do you see that?
       4
         summarize the kinds of things that were,       4
                                                               A. I see that.
       5
         at that point, being said, the landscape,      5
                                                               Q. Okay. And it says -- and
       6
         do you see that?                               6
                                                          referring to the study, I think, that we
       7
               A. Yes.                                  7
                                                          were talking about before in the article
       8
               Q. Okay. And for example, and            8
                                                          that you commented on, it says, "The most
       9
         it talks about -- and you can certainly        9
                                                          recent publication on this topic, a
      10
         read it for sure, but I'm going to pick       10
                                                          prospective study (considered to
      11
         you out some things and ask you some          11
                                                          generally be the most informative) found
      12
         questions.                                    12
                                                          no effect on ovarian cancer overall but a
      13
                   But it's consistent with            13
                                                          40 percent increase ... in one type,
      14
         what you told me before, that at the time     14
                                                          invasive serous cancer."
      15
         in 2000, there were various suggestions       15
                                                                   Do you see that?
      16
         about what to do to protect women             16
                                                                   MS. FRAZIER: Objection to
      17
         prophylactically on the possibility or        17
                                                               form.
      18
         probability, or however you want to           18
                                                                   THE WITNESS: I see that.
      19
         characterize it, of talc and ovarian          19
                                                          BY MR. TISI:
      20
         cancer.                                       20
                                                               Q. Okay. And let's -- on the
      21
                   And it includes the kinds of        21
                                                          next page it says the Colorado Ovarian
      22
         things we have been talking about.            22
                                                          Cancer Resource at the very top of the
      23
         Switching to cornstarch. Warnings.            23
                                                          page. It says, "Several studies have
      24
         Instructions. Those kinds of things.          24
                                                          examined the relationship between talcum
                                            Page 171                                        Page 173
      1
                   True?                              powder and cancer of the ovary. Findings
                                                       1
      2
                   MS. FRAZIER: Objection to        2
                                                      are mixed, with some studies reporting a
       3
               form. Foundation.                    3
                                                      slightly increased risk and some
       4
                   THE WITNESS: There were          4
                                                      reporting no association. Until
       5
               discussions along those lines, I'm   5
                                                      additional information is available,
       6
               sure.                                6
                                                      women may wish to consider avoiding these
       7
         BY MR. TISI:                               7
                                                      products or substituting cornstarch-based
       8
               Q. Okay. So for example, the         8
                                                      powders with no talc."
       9
         first one is a doctor who we've been       9
                                                               Do you see that?
      10
         talking about periodically, is            10
                                                           A. I see that.
      11
         Dr. Cramer, Harvard professor of          11
                                                               MS. FRAZIER: Objection to
      12
         obstetrics and gynecology, member of the 12       form.
      13
         research team whose study appeared in the 13 BY MR. TISI:
      14
         2/1/2000 issue of the National Cancer     14
                                                           Q. Okay. The Gilda Radner
      15
         Institute, recommends that women switch   15
                                                      Familial Ovarian Cancer Registry. "The
      16
         from talc to cornstarch. Do you see       16
                                                      website states, 'The following things may
      17
         that?                                     17
                                                      increase your chances of getting ovarian
      18
               A. I see that.                      18
                                                      cancer.'"
      19
               Q. All right. The advocacy          19
                                                               And it lists use of talcum
      20
         community, if you go down three or four,  20
                                                      powder on the genital area. Do you see
      21
         it says the American Cancer Society,      21
                                                      that?
      22
         "Website states, 'Until additional        22
                                                               MS. FRAZIER: Objection to
      23
         information is available, women may wish 23       form.
      24
         to consider avoiding these products or    24
                                                               THE WITNESS: I see that.


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                                 John      Filed 08/14/23 Page 656 of 691 PageID:
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                                            Page 174                                        Page 176
      1
         BY MR. TISI:                                  1
                                                               MS. FRAZIER: Objection to
      2
              Q. Okay. But the point being,         2
                                                          form. Foundation.
       3
         and I think we agreed before, that these   3
                                                               THE WITNESS: That is -- you
       4
         are the kinds of things that were being    4
                                                          know, it would have been a true
       5
         actively discussed in a community that at  5
                                                          statement.
       6
         least you were aware of at the time,       6
                                                      BY MR. TISI:
       7
         correct?                                   7
                                                          Q. And -- just give me a
       8
                  MS. FRAZIER: Objection to         8
                                                      second. I apologize. Having a document
       9
              form.                                 9
                                                      issue.
      10
                  THE WITNESS: I'm not aware 10                MR. TISI: Would you go to
      11
              of these things specifically. But    11
                                                          Tab 71.
      12
              I was aware of the general issues.   12
                                                               (Document marked for
      13
         BY MR. TISI:                              13
                                                          identification as Exhibit
      14
              Q. Okay. Okay. So -- okay.           14
                                                          P1.663.)
      15
                  MR. TISI: Let's put that         15
                                                      BY MR. TISI:
      16
              document aside for a moment.         16
                                                          Q. And this is 6 -- P1.663.1.
      17
         BY MR. TISI:                              17
                                                               Okay. Now this is an e-mail
      18
              Q. And let's talk about the          18
                                                      from  a person by the name of Owen Rankin
      19
         NTP, which is the National Toxicology     19
                                                      at Consumer Products dated November 17,
      20
         Program that we mentioned before that     20
                                                      2000, to among other people, Sarah
      21
         was -- there was a meeting in mid         21
                                                      Colamarino who was the PR person at
      22
         December in 2000 -- in 2000. Do you       22
                                                      Consumer Products and John McKeegan who
      23
         recall that?                              23
                                                      was the media person for corporate.
      24
              A. I recall the meeting. I           24
                                                      True?
                                            Page 175                                        Page 177
      1
         don't recall the date.                        1
                                                               A. Among other people, yes.
      2
              Q. Okay. We'll find that out             2
                                                               Q. Okay. Among other people,
       3
         in a moment. I think -- I think you'll         3
                                                          including John O'Shaughnessy, the company
       4
         find it is the 13th or 14th of December.       4
                                                          lawyer, true?
       5
                   But this was something               5
                                                                   MS. FRAZIER: Objection to
       6
         that -- as -- and we'll look at                6
                                                               form.
       7
         documents.                                     7
                                                                   THE WITNESS: John
       8
                   But, generally speaking, you         8
                                                               O'Shaughnessy is -- John
       9
         understood that the National Toxicology        9
                                                               O'Shaughnessy is there. John
      10
         Program, talc had been nominated by the       10
                                                               Crisan is there. Colleen Goggins.
      11
         national -- nominated, that was a             11
                                                               Someone named Fritz Grutzner --
      12
         substance that was reasonably anticipated     12
                                                          BY MR. TISI:
      13
         to be a human carcinogen. Do you              13
                                                               Q. Colleen Goggins -- Colleen
      14
         remember that?                                14
                                                          Goggins was a high ranking executive
      15
                   MS. FRAZIER: Objection to           15
                                                          within the company?
      16
              form.                                    16
                                                               A. I believe -- and I could be
      17
                   THE WITNESS: I recall that          17
                                                          wrong -- but I believe at this time she
      18
              they were going to be evaluating         18
                                                          was the executive in charge of all -- the
      19
              that question.                           19
                                                          entire consumer products group of
      20
         BY MR. TISI:                                  20
                                                          companies worldwide.
      21
              Q. Okay. And that was                    21
                                                               Q. Okay. And you aware at one
      22
         something that both J&J corporate and the     22
                                                          point Ms. Goggins was kind of in line to
      23
         talc industry through the CTFA were           23
                                                          become chairman of the board of J&J?
      24
         concerned about, true?                        24
                                                                   MS. FRAZIER: Objection to


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                                 John      Filed 08/14/23 Page 657 of 691 PageID:
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                                            Page 178                                        Page 180
      1
              form.                                    1
                                                               know what U.S. Positioning
      2
                  THE WITNESS: I am not aware          2
                                                               Statement is, but that's what
       3
              of that.                                  3
                                                               Sarah is down as.
       4
         BY MR. TISI:                                   4
                                                          BY MR. TISI:
       5
              Q. All right. So in the -- in             5
                                                               Q. We'll certainly be talking
       6
         this e-mail, it says, "Attached is an          6
                                                          about that in a moment.
       7
         agenda background document for Monday's        7
                                                                   The next page is a
       8
         discussion on talc. Please review the          8
                                                          background on the National Toxicology
       9
         backgrounder before the meeting."              9
                                                          Program, which is the topic you were
      10
                  Do you see that?                     10
                                                          presenting on. Do you see that?
      11
              A. Yes. I see that.                      11
                                                               A. I see that.
      12
              Q. And this refers -- and one            12
                                                               Q. It says, if you go down to
      13
         of the things I'm going to try to do is       13
                                                          the middle of the page, and this is why I
      14
         try to keep track of dates here because I     14
                                                          said we're going to get into what they
      15
         think for this next series of questions,      15
                                                          exactly were considering, the NTP.
      16
         dates may matter.                             16
                                                                   "The Report groups entries
      17
                  So this is an e-mail dated           17
                                                          in two categories:
      18
         November 17th, and it's circulating a         18
                                                                   "Known to be a human
      19
         background document for a meeting of          19
                                                          carcinogen."
      20
         these corporate officials for both J&J        20
                                                                   And, "Reasonably anticipated
      21
         corporate and J&J Consumer Products, that     21
                                                          to be a human carcinogen."
      22
         was going to occur on Monday, the 20th of     22
                                                                   And, "Talc is under
      23
         November.                                     23
                                                          consideration for the latter category
      24
                  Is that correct?                     24
                                                          based on inhalation studies and perineal
                                            Page 179                                        Page 181
      1
             A. I see that, yes.                      use studies," correct?
                                                       1
      2
             Q. If you go to the next page,         2
                                                          A. That is what the document
       3
         there was an agenda. And the agenda        3
                                                      says, yes.
       4
         would be "Background on NTP," which is     4
                                                          Q. Okay. And it says talc --
       5
         something you were going to be presenting  5
                                                      when we say perineal use, we're talking
       6
         on.                                        6
                                                      about for feminine hygiene correct?
       7
                 Do you see that?                   7
                                                              MS. FRAZIER: Objection to
       8
             A. I see that.                         8
                                                          form.
       9
             Q. Okay. And at the very               9
                                                              THE WITNESS: I actually
      10
         bottom, Number 5, is a U.S. Positioning   10
                                                          have no idea.
      11
         Statement by Sarah Colamarino who is your 11 BY MR. TISI:
      12
         counterpart at Consumer Products.         12
                                                          Q. Okay. Well, we'll talk
      13
             A. I see that.                        13
                                                      about that in a minute.
      14
             Q. Okay. So both you and              14
                                                              And it says -- it says, if
      15
         Ms. Colamarino were both going to be      15
                                                      you go down to the bottom, the "NTP Board
      16
         presenting both on the background of the  16
                                                      of Scientific Counselors, Report on
      17
         NTP and what the positioning would be     17
                                                      Carcinogens Subcommittee" was being held
      18
         about talc and -- talc issues, correct?   18
                                                      on December 14th, 15th, and 16th in
      19
                 MS. FRAZIER: Objection to         19
                                                      Washington D.C.
      20
             form.                                 20
                                                              MS. FRAZIER: Chris, you got
      21
                 THE WITNESS: According to         21
                                                          the dates wrong. Not that it
      22
             this agenda, I was presenting on      22
                                                          matters, but --
      23
             the background of the National        23
                                                              MR. TISI: 13th, 14th, and
      24
             Toxicology Program, and I don't       24
                                                          15th, excuse me. I apologize.


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                                 John      Filed 08/14/23 Page 658 of 691 PageID:
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                                          Page 182                                    Page 184
      1
                  THE WITNESS: I see that.          include that information, does it?
                                                     1
      2
         BY MR. TISI:                             2
                                                             MS. FRAZIER: Objection to
       3
              Q. Okay. So we asked before         3
                                                         form. Foundation.
       4
         whether or not there was -- the meeting  4
                                                             THE WITNESS: It does talk
       5
         was scheduled for mid December and we    5
                                                         in the last paragraph there of the
       6
         have three dates here, 13, 14, and 15.   6
                                                         2000 -- February 2000 study.
       7
                  Would you agree, because        7
                                                    BY MR. TISI:
       8
         this would have been the topic you were 8       Q. Right.
       9
         presenting on, that would have been the  9
                                                         A. And the modest elevation of
      10
         time frame?                             10
                                                    risk for ever talc use.
      11
                  MS. FRAZIER: Objection to      11
                                                         Q. Okay. All right. And so --
      12
              form.                              12
                                                    and so it was, just to kind of capsulize
      13
                  THE WITNESS: That              13
                                                    where we are right now.
      14
              appears -- that -- it looks like   14
                                                             This is -- you were
      15
              the dates, according to this       15
                                                    preparing for a meeting of
      16
              document, yes.                     16
                                                    representatives of both J&J corporate and
      17
         BY MR. TISI:                            17
                                                    J&J Consumer Products on the 20th of
      18
              Q. And on the back page, it        18
                                                    November for an NTP meeting that was
      19
         indicates the Impact Report on          19
                                                    happening in mid December. True?
      20
         Carcinogens.                            20
                                                             MS. FRAZIER: Objection to
      21
                  Actually the brief summary     21
                                                         form.
      22
         of the scientific data is below, do you 22
                                                             THE WITNESS: That appears
      23
         see that?                               23
                                                         to be the timeline.
      24
              A. Yes.                            24
                                                    BY MR. TISI:
                                          Page 183                                    Page 185
      1
               Q. And you'll see again, if you       1
                                                          Q. Okay. And among other
      2
         look at the second -- feel free to read   2
                                                     things, there was going to be a
       3
         it if you -- if you want.                 3
                                                     presenting by Ms. Colamarino a
       4
                   It talks about the 1974         4
                                                     position -- U.S. positioning statement.
       5
         (sic) panel review co-sponsored by the    5
                                                              MS. FRAZIER: Objection to
       6
         FDA?                                      6
                                                          form.
       7
               A. Yes, I see that.                 7
                                                     BY MR. TISI:
       8
               Q. It doesn't -- it doesn't         8
                                                          Q. Correct?
       9
         talk at all about the FDA's evolving      9
                                                          A. That is according to the
      10
         position since 1994 that we talked about 10 agenda.
      11
         before the break, does it?               11
                                                              Can I ask who wrote this
      12
                   MS. FRAZIER: Objection to      12
                                                     background on the National Toxicology
      13
               form. Foundation.                  13
                                                     Program? I don't remember ever
      14
                   THE WITNESS: This only         14
                                                     writing this --
      15
               appears to be talking about the    15
                                                          Q. I don't know. But it
      16
               unanimous conclusion after the     16
                                                     says -- it says you were actually
      17
               1994 panel review.                 17
                                                     presenting on the question.
      18
         BY MR. TISI:                             18
                                                          A. Right, but I don't ever
      19
               Q. Okay. So it doesn't include     19
                                                     remember writing this.
      20
         for example -- I showed you a document 20        Q. Okay. I understand. But
      21
         from 1998 where the FDA had concluded 21 you are -- it says this is something you
      22
         that -- that information since the       22
                                                     were prepared to present, right?
      23
         meeting indicated that talc was a        23
                                                          A. That's what the agenda says,
      24
         potential health hazard, it doesn't      24
                                                     yeah. I don't remember writing this

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                                 John      Filed 08/14/23 Page 659 of 691 PageID:
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                                           Page 186                                       Page 188
      1
         document at all.                             discussion on talc. Please review the
                                                      1
      2
              Q. And attached -- and attached       2
                                                      backgrounder before the meeting."
       3
         is a document that says background on the  3
                                                           A. Okay. So I did not write
       4
         National Toxicology Program, right?        4
                                                      this. But this is being provided as
       5
              A. This may have been provided        5
                                                      background.
       6
         by somebody else. I don't remember ever 6         Q. I don't know whether you --
       7
         writing it.                                7
                                                      John. Mr. McKeegan, I don't know whether
       8
              Q. Okay. But in any event,            8
                                                      or not you wrote it or not.
       9
         whether you wrote it or not, this was      9
                                                               I'm asking you whether this
      10
         part of your -- this was part of the      10
                                                      was a topic that you were assigned to
      11
         topic upon which you were presenting to 11 discuss at a meeting of --
      12
         senior executives at both J&J corporate   12
                                                               MS. FRAZIER: Hey, Chris,
      13
         and Consumer Products, true?              13
                                                           he's trying to understand the
      14
                   MS. FRAZIER: Objection to       14
                                                           document. Let him get his feel
      15
              form.                                15
                                                           for the document. You're kind of
      16
                   THE WITNESS: I actually         16
                                                           arguing with him before he can
      17
              don't have any memory about what I   17
                                                           even --
      18
              would have used to discuss about     18
                                                               MR. TISI: I'm not arguing
      19
              it. I don't know that I would        19
                                                           with him.
      20
              have been using this, because my     20
                                                               MS. FRAZIER: -- put it in
      21
              role was more about answering        21
                                                           context.
      22
              questions from the media.            22
                                                               MR. TISI: I think he's
      23
         BY MR. TISI:                              23
                                                           anticipating my questions, and
      24
              Q. Well, at least --                 24
                                                           candidly, he's had three,
                                           Page 187                                       Page 189
      1
              A. I don't know who wrote this.         1
                                                             four months since his last
      2
              Q. Well, at least the agenda            2
                                                             deposition to review documents,
       3
         indicates you were tasked with that,          3
                                                             and he clearly didn't do it.
       4
         right?                                        4
                                                                 MS. FRAZIER: Chris, Chris,
       5
                  MS. FRAZIER: Objection to            5
                                                             you know that that's not his duty
       6
              form.                                    6
                                                             to get up to speed on everything.
       7
                  THE WITNESS: The agenda              7
                                                             He's been gone from the company
       8
              says I would be talking about this       8
                                                             for 20 years --
       9
              in general. But I don't know             9
                                                                 MR. TISI: So refresh --
      10
              exactly what I would have been          10
                                                                 MS. FRAZIER: He's moved
      11
              talking about for National              11
                                                             on --
      12
              Toxicology Program.                     12
                                                                 MR. TISI: So you prep
      13
         BY MR. TISI:                                 13
                                                             him --
      14
              Q. And before the meeting the           14
                                                                 MS. FRAZIER: He is not
      15
         background on the National Toxicology        15
                                                             working for J&J. That is not his
      16
         Program, the topic on -- upon which were     16
                                                             job.
      17
         you presenting, was circulated to you on     17
                                                                 MR. TISI: So when you
      18
         that Friday before the Monday meeting?       18
                                                             prepare him, you show him
      19
              A. Oh, did this come from Owen          19
                                                             documents. But we won't -- we
      20
         Rankin?                                      20
                                                             won't go there.
      21
              Q. I'm asking you -- yes, we            21
                                                         BY MR. TISI:
      22
         just discussed that. An e-mail from Owen     22
                                                             Q. Okay. I'm not going to fuss
      23
         Rankin attaches "the agenda and a            23
                                                         with you, doctor -- Mr. McKeegan, here.
      24
         background document for Monday's             24
                                                                 The truth of the matter is,

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                                 John      Filed 08/14/23 Page 660 of 691 PageID:
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                                            Page 190                                        Page 192
      1
         just to again put it on a timeline. We       meeting on the 20th, dating November --
                                                       1
      2
         have Mr. Rankin at Consumer Products       2
                                                      it's dated November 9th, actually. It's
       3
         sending you backgrounder information for   3
                                                      an e-mail from Kate Triggs at
       4
         both -- with a talc agenda and a document 4 Branston-Marsettler, which is a public
       5
         on the NTP background, on Friday,          5
                                                      relations firm, correct?
       6
         November 17th, for a meeting of what we 6          A. Burson-Marsteller.
       7
         both agree are high officials within J&J   7
                                                            Q. Burson. Yes. They are a
       8
         and -- corporate and J&J Consumer          8
                                                      public relations firm, right?
       9
         Products that were meeting on Monday for 9         A. That is correct.
      10
         talc. True?                               10
                                                            Q. Fair enough. And it's an
      11
                  MS. FRAZIER: Objection to        11
                                                      e-mail from the public relations firm --
      12
              form.                                12
                                                      and they are involved in things like
      13
                  THE WITNESS: That appears        13
                                                      crisis management, those kinds of things
      14
              to be what is in this e-mail, yes.   14
                                                      for companies, correct?
      15
         BY MR. TISI:                              15
                                                                MS. FRAZIER: Objection to
      16
              Q. Okay. And this was in             16
                                                            form. Foundation.
      17
         anticipation of an NTP meeting in mid     17
                                                                THE WITNESS: That is, I
      18
         December where the scientific advisors    18
                                                            believe, one of the things that
      19
         were going to answer the question of      19
                                                            Burson-Marsteller was known for.
      20
         whether or not in their view, looking at  20
                                                            I don't know what else they were
      21
         all the evidence, talc was, according to  21
                                                            doing.
      22
         the backgrounder, reasonably anticipated  22
                                                      BY MR. TISI:
      23
         to be a human carcinogen.                 23
                                                            Q. Okay. And so you were
      24
                  MS. FRAZIER: Objection to        24
                                                      meeting with these public relations
                                            Page 191                                        Page 193
      1
              form.                                    1
                                                          crisis management people, and they
      2
                  THE WITNESS: That is                 2
                                                          provided -- they actually had a telephone
       3
              correct according to the                  3
                                                          call with you and Ms. Colamarino on the
       4
              documents, yes.                           4
                                                          8th, correct?
       5
         BY MR. TISI:                                   5
                                                                   And if we go to the second
       6
              Q. Okay. So this meeting was              6
                                                          page of the document, there's an e-mail
       7
         occurring somewhere in the range of three      7
                                                          to Sarah Colamarino, Owen Rankin, and
       8
         to four weeks before the meeting of the        8
                                                          John McKeegan. Do you see that?
       9
         NTP, right?                                    9
                                                               A. Yes.
      10
                  MS. FRAZIER: Objection to            10
                                                               Q. It's dated November 9th. Re
      11
              form.                                    11
                                                          the talc issue.
      12
                  THE WITNESS: That appears            12
                                                                   "Further to our conference
      13
              to be the correct timeline.              13
                                                          call on November 8th."
      14
         BY MR. TISI:                                  14
                                                                   Do you see that?
      15
              Q. Okay. Now let's -- let's              15
                                                               A. I do see that.
      16
         back up the timeline a bit.                   16
                                                               Q. Okay. And who was Owen
      17
                  MR. TISI: Please go to               17
                                                          Rankin, by the way?
      18
              Tab 66, Exhibit 658.                     18
                                                               A. I think Owen was the head of
      19
                  (Document Marked for                 19
                                                          the consumer products companies in the
      20
              identification as Exhibit                20
                                                          U.S. at this time.
      21
              P1.658.)                                 21
                                                               Q. And so, you, the public
      22
         BY MR. TISI:                                  22
                                                          relations person for J&J corporate, Sarah
      23
              Q. Okay. This is an e-mail --            23
                                                          Colamarino, the head of public relations
      24
         actually an e-mail string before the          24
                                                          for Consumer Products, and Owen Rankin


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                                 John      Filed 08/14/23 Page 661 of 691 PageID:
                                  156436
                                           Page 194                                     Page 196
      1
         who was the head of consumer products        1
                                                         with. I don't --
      2
         were meeting with Burson-Marsteller, who BY MR. TISI:
                                                   2
       3
         is involved in crisis management, on      3
                                                         Q. Well, let's again go back to
       4
         November 8th, and this memo was           4
                                                     Exhibit 663, if we could. It's Tab 71.
       5
         November 9th regarding talc. True?        5
                                                             And this is for a meeting on
       6
              A. I'm just trying to                6
                                                     Monday regarding talc, right?
       7
         double-check. You said our conference     7
                                                         A. So you're talking about
       8
         call itself was on the 8th?               8
                                                     Colleen Goggins as being senior
       9
              Q. Well, it says, "Further to        9
                                                     management?
      10
         our conference call on November 8th" --  10
                                                         Q. Well, I mean, you said Owen
      11
         "November 8th," correct?                 11
                                                     Rankin was the head of consumer products,
      12
              A. Yes, that's true. I missed       12
                                                     right? John Mc -- I mean, these are
      13
         that, sorry.                             13
                                                     senior people, right?
      14
              Q. Okay. And "we've developed       14
                                                         A. I remember Colleen. I
      15
         the following documents."                15
                                                     remember Owen. I remember Sarah. And I
      16
                   So the documents that are      16
                                                     don't know that I remember the rest of
      17
         attached here are developed by this      17
                                                     these people.
      18
         crisis management public relations firm  18
                                                         Q. Okay.
      19
         after having spoken to the head of       19
                                                         A. So that's why I'm asking.
      20
         consumer products, the PR person at      20
                                                         Q. Okay. But these are -- the
      21
         consumer products, and the PR person for 21 ones that you know are senior people,
      22
         corporate. True?                         22
                                                     true?
      23
                   MS. FRAZIER: Objection to      23
                                                         A. That's true.
      24
              form.                               24
                                                         Q. Okay. And if you notice,
                                           Page 195                                     Page 197
      1
                  THE WITNESS: That is true.         again, going to the second page of this
                                                      1
      2
         BY MR. TISI:                              2
                                                     document, there was going to be a
       3
              Q. Okay. And there are three         3
                                                     presentation of a positioning statement
       4
         things that are attached:                 4
                                                     by Sarah Colamarino.
       5
                  "A positioning brief for         5
                                                          A. That is what the agenda
       6
         discussion with senior management.        6
                                                     says.
       7
                  "A summary document for          7
                                                          Q. Okay. So now if you go back
       8
         quick briefing."                          8
                                                     to the e-mail that we were talking about
       9
                  And, "A draft holding            9
                                                     with Burson-Marstettler from November
      10
         statement for use in the U.S."           10
                                                     9th --
      11
              A. I see that.                      11
                                                          A. Burson.
      12
              Q. Okay. So the positioning         12
                                                          Q. Burson. I mean I'm going to
      13
         brief was for discussion with senior     13
                                                     mispronounce it every time.
      14
         management. True?                        14
                                                              From Burson-Marsteller on
      15
              A. I see that.                      15
                                                     November 9th, they include a positioning
      16
              Q. Okay. And, in fact, as we        16
                                                     brief to aid in discussion with senior
      17
         just outlined before, Owen Rankin sent 17 management.
      18
         you an e-mail on the 17th, a week later, 18      A. Okay.
      19
         for a meeting on the 20th with senior    19
                                                          Q. All right.
      20
         management, true?                        20
                                                          A. I see that.
      21
                  MS. FRAZIER: Objection to 21            Q. And on the agenda for the
      22
              form.                               22
                                                     meeting on the 20th is Sarah Colamarino
      23
                  THE WITNESS: I don't know 23 discussing a positioning brief, right?
      24
              who the meeting on the 20th was 24              MS. FRAZIER: Objection to

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                                 John      Filed 08/14/23 Page 662 of 691 PageID:
                                  156437
                                            Page 198                                        Page 200
      1
              form.                                    1
                                                          forwarded to Consumer Products, this
      2
         BY MR. TISI:                                  2
                                                          Nancy Musco, reflects the current
       3
              Q. Am I correct? There -- that            3
                                                          thinking, right?
       4
         is on the agenda, right?                       4
                                                                   MS. FRAZIER: Objection to
       5
              A. For the 20th meeting.                  5
                                                               form. Foundation.
       6
              Q. Correct.                               6
                                                                   THE WITNESS: I see that in
       7
              A. Yes.                                   7
                                                               the e-mail.
       8
                  MS. FRAZIER: Same                     8
                                                          BY MR. TISI:
       9
              objection.                                9
                                                               Q. Okay. All right. So let's
      10
         BY MR. TISI:                                  10
                                                          talk about what is in this position
      11
              Q. And Sarah Colamarino then             11
                                                          statement.
      12
         forwards this document and she says,          12
                                                                   What is a positioning --
      13
         "Here is the current thinking."               13
                                                          actually, let's -- let's -- let me back
      14
                  Do you see that?                     14
                                                          up for a minute.
      15
              A. I see that e-mail.                    15
                                                                   If you go to Page 3 of the
      16
              Q. And so, just kind of again            16
                                                          document, it includes Johnson & Johnson
      17
         to set the table, okay, you met with the      17
                                                          Consumer NTP talc positioning brief. See
      18
         crisis management team at                     18
                                                          that?
      19
         Burson-Marsteller on the 8th of November.     19
                                                               A. I see that.
      20
         As a result of those discussions, they        20
                                                               Q. It starts out by saying, "A
      21
         developed and sent to you, among other        21
                                                          controversy" -- and again, this was
      22
         things, a position paper to discuss with      22
                                                          developed after speaking to you and
      23
         senior management. So far so good,            23
                                                          Ms. Colamarino and Mr. Owen on the 8th,
      24
         right?                                        24
                                                          right?
                                            Page 199                                        Page 201
      1
                  MS. FRAZIER: Objection to            1
                                                               MS. FRAZIER: Objection to
      2
              form.                                 2
                                                           form.
       3
                  THE WITNESS: I see that in        3
                                                      BY MR. TISI:
       4
              this e-mail, yes.                     4
                                                           Q. That's what the document
       5
         BY MR. TISI:                               5
                                                      says --
       6
              Q. Okay. A week later on the          6
                                                           A. It appears to be the dates,
       7
         17th an agenda is circulated for a         7
                                                      yes.
       8
         meeting on the 20th with, among other      8
                                                           Q. Okay. So they didn't send
       9
         things, a presentation about a             9
                                                      you this out of the blue. They sent you
      10
         positioning brief to senior management, 10 this after actually speaking to you,
      11
         correct?                                  11
                                                      right?
      12
              A. I saw that.                       12
                                                               MS. FRAZIER: Objection to
      13
                  MS. FRAZIER: Objection to        13
                                                           form.
      14
              form.                                14
                                                               THE WITNESS: That appears
      15
         BY MR. TISI:                              15
                                                           to be the timeline.
      16
              Q. Okay. So let's kind of --         16
                                                      BY MR. TISI:
      17
         and this document says -- and this was in 17      Q. Okay. And so now there is a
      18
         anticipation of a meeting of the NTP in   18
                                                      background. "A controversy surrounding
      19
         mid December, I think we said the 13th, 19 talc has arisen in connection with a
      20
         14th, and 15th, correct?                  20
                                                      review of the National Toxicology
      21
              A. I believe that is correct.        21
                                                      Program, a program within the U.S.
      22
              Q. Okay. So what we have here,       22
                                                      Department of Health & Human Services.
      23
         and the statement by Ms. Colamarino is 23 The NTP has added talc to its list of
      24
         that the information that was being       24
                                                      Carcinogenic Agents, Substances Or


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                                 John      Filed 08/14/23 Page 663 of 691 PageID:
                                  156438
                                           Page 202                                        Page 204
      1
         Mixtures in a preliminary draft of its       1
                                                              Q. Okay. And so the proposal
      2
         Report on Carcinogens."                      2
                                                         is that "while we stand by the safety of
       3
                   Okay. And it goes on to say         3
                                                         talc, J&J in the U.S. has made a decision
       4
         this is the first step of a lengthy           4
                                                         to switch manufacturing entirely to
       5
         review process. Do you see that?              5
                                                         cornstarch to ensure commercial viability
       6
              A. I see that.                           6
                                                         of its powder products and to ensure
       7
              Q. Again, this is in                     7
                                                         consumer peace of mind."
       8
         anticipation of a meeting in mid              8
                                                                  It says, "This switch will
       9
         December, right?                              9
                                                         take place by December 1st, 2000."
      10
                   MS. FRAZIER: Objection to          10
                                                                  Do you see that?
      11
              form. Foundation.                       11
                                                              A. I see that.
      12
                   THE WITNESS: That appears          12
                                                              Q. Okay. It indicates, does it
      13
              to be the timeline, yes.                13
                                                         not, that the switch would take place
      14
         BY MR. TISI:                                 14
                                                         that was being proposed by, among other
      15
              Q. Okay. Proposed Position.             15
                                                         people, Mr. Owen, the head of consumer
      16
                   "J&J believes that the             16
                                                         products, the switch would take place
      17
         science shows talc is safe."                 17
                                                         before the NTP ever considers the
      18
                   That's J&J's belief,               18
                                                         question?
      19
         correct?                                     19
                                                                  MS. FRAZIER: Objection to
      20
              A. That is being stated in this         20
                                                              form. Foundation.
      21
         draft positioning brief.                     21
                                                                  THE WITNESS: This appears
      22
              Q. Well, it's not a draft               22
                                                              to be something that was being
      23
         positioning brief. It says positioning       23
                                                              floated as a potential action to
      24
         brief. Doesn't say draft. It says a          24
                                                              take.
                                           Page 203                                        Page 205
      1
         brief that is going to be discussed with    BY MR. TISI:
                                                      1
      2
         senior management, right?                 2
                                                          Q. Okay. And the switch would
       3
              A. That means it's a draft.          3
                                                     take  place, not as a contingency based
       4
         Until it's approved, it's still a draft.  4
                                                     upon what the NTP decides to do in mid
       5
              Q. Okay. But involved in this        5
                                                     December, but before we know what the NTP
       6
         is the head of consumer product, this     6
                                                     was doing in mid December. True?
       7
         Mr. Owen, right?                          7
                                                               MS. FRAZIER: Objection to
       8
              A. Yes.                              8
                                                          form. Foundation.
       9
                   MS. FRAZIER: Objection to       9
                                                               THE WITNESS: That --
      10
              form.                               10
                                                     BY MR. TISI:
      11
         BY MR. TISI:                             11
                                                          Q. Well, just in terms -- just
      12
              Q. Okay. And it says,               12
                                                     in terms of the timeline, that would be
      13
         Controversy surrounding the product in 13 correct, true?
      14
         some markets may reflect our consumer's 14       A. That --
      15
         peace of mind, right:                    15
                                                               MS. FRAZIER: Same
      16
              A. "Affect our customer's peace     16
                                                          objection.
      17
         of mind."                                17
                                                               THE WITNESS: That timeline
      18
              Q. Correct. If I misstated, I       18
                                                          of  December   1st, 2000 is listed as
      19
         apologize.                               19
                                                          a proposed position.
      20
                   "This in turn could impact     20
                                                               But I'm sure we'll get to
      21
         the commercial viability of the product  21
                                                          it, whether this was ever adopted.
      22
         in that market."                         22
                                                     BY   MR.   TISI:
      23
                   Do you see that?               23
                                                          Q. Okay. I understand.
      24
              A. I see that.                      24
                                                               So on the table by this


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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 664 of 691 PageID:
                                  156439
                                            Page 206                                        Page 208
      1
         time, by both you as the PR person, as        1
                                                          discussions with senior management.
      2
         the PR person for consumer products, and      2
                                                          That's what it says, right?
       3
         the head of consumer products, was that        3
                                                               A. That is what these documents
       4
         there would be a switch to cornstarch by       4
                                                          say.
       5
         December 1st, 2000, before the NTP makes       5
                                                               Q. Okay.
       6
         a decision one way or the other, right?        6
                                                                   MS. FRAZIER: Objection to
       7
              A. That is incorrect.                     7
                                                               form. Late objection.
       8
                  MS. FRAZIER: Objection to             8
                                                          BY MR. TISI:
       9
              form.                                     9
                                                               Q. And the positioning brief
      10
         BY MR. TISI:                                  10
                                                          says that J&J -- the proposed position is
      11
              Q. Why --                                11
                                                          that J&J has made a decision to switch
      12
              A. Any decision about what they          12
                                                          manufacturing entirely to cornstarch to
      13
         would do with the product was going to be     13
                                                          ensure the commercial viability of its
      14
         specifically done by the company itself.      14
                                                          powder products and ensure customer peace
      15
         It was -- certainly was not going to be       15
                                                          of mind, correct?
      16
         anything in my position where I would         16
                                                               A. That is incorrect. That is
      17
         be --                                         17
                                                          a proposed position.
      18
              Q. Understood.                           18
                                                               Q. Correct.
      19
              A. -- able to comment on that,           19
                                                               A. And it looks like it's being
      20
         whether that was a good thing to do or        20
                                                          floated at that time.
      21
         not.                                          21
                                                               Q. With senior management.
      22
              Q. Okay.                                 22
                                                                   MS. FRAZIER: Objection to
      23
              A. I was only going to be                23
                                                               form.
      24
         involved in necessarily answering             24
                                                          BY MR. TISI:
                                            Page 207                                        Page 209
      1
         questions to the media if we did do this,     1
                                                           Q. Right?
      2
         about why we did this.                     2
                                                           A. Certainly it seems to be
       3
              Q. Okay. So again, I'm simply         3
                                                      something that would have been under
       4
         trying to get the timeline here. So the    4
                                                      discussion at this November 20th date.
       5
         timeline is this, and maybe you can        5
                                                           Q. Okay. And this is
       6
         follow me, so far.                         6
                                                      consistent with, and why I asked you the
       7
                  We have a meeting between         7
                                                      questions, with some of the other things
       8
         yourself, Sarah Colamarino, who is the     8
                                                      that are being said outside the company
       9
         head of public relations for the consumer  9
                                                      by doctors like Dr. Cramer, et cetera,
      10
         products -- you were public relations for 10 about switching to cornstarch, right?
      11
         corporate, right? And Mr. Owen, who was 11            MS. FRAZIER: Objection to
      12
         the head of consumer products. And the 12         form.
      13
         crisis management group on the 8th.       13
                                                               THE WITNESS: No.
      14
                  True?                            14
                                                      BY MR. TISI:
      15
                  MS. FRAZIER: Objection to        15
                                                           Q. Okay.
      16
              form.                                16
                                                           A. This would be a positioning
      17
                  THE WITNESS: That is,            17
                                                      statement, because if the National
      18
              according to these documents, what   18
                                                      Toxicology Program made a decision that
      19
              happened.                            19
                                                      said the use of talc was a -- I can't
      20
         BY MR. TISI:                              20
                                                      remember what we said the exact language
      21
              Q. Okay. On the 9th, based           21
                                                      is, but had the potential to cause
      22
         upon what you discussed with the crisis   22
                                                      cancer.
      23
         management group, they develop a          23
                                                           Q. Okay.
      24
         positioning brief for use with            24
                                                           A. That would impact the


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                                 John      Filed 08/14/23 Page 665 of 691 PageID:
                                  156440
                                            Page 210                                        Page 212
      1
         reputation of Johnson & Johnson as well       1
                                                          Q. Okay. And the draft holding
      2
         as the potential viability of these       2
                                                     statement, which is the last page -- now
       3
         products.                                 3
                                                     this is a draft.
       4
                   So what we were reading         4
                                                               The other document that we
       5
         here, it appears to be, you know, what we looked at doesn't say it's a draft, does
                                                   5
       6
         should be looking at considering as a     6
                                                     it?
       7
         potential business option, or at least,   7
                                                          A. No, but it's a positioning
       8
         you know, the business people doing it.   8
                                                     statement. And if it has not been
       9
              Q. And for consumer's peace of       9
                                                     adopted by the company, then it is a
      10
         mind, right?                             10
                                                     draft.
      11
              A. Yes.                             11
                                                          Q. Okay. This one says a
      12
              Q. That's what it says. Okay.       12
                                                     draft. And it says, "This is a draft
      13
         And the switch would take place before 13 holding statement which is prepared,"
      14
         the -- before the NTP even considers the 14 which would be -- tell us what a holding
      15
         question. True?                          15
                                                     statement is.
      16
              A. That looks to be --              16
                                                          A. This would be a statement
      17
                   MS. FRAZIER: Objection to      17
                                                     that we would be providing to the media
      18
              form.                               18
                                                     anticipating that something could occur.
      19
                   THE WITNESS: That looks to 19          Q. Okay.
      20
              be what the proposal was that this  20
                                                          A. It would be just getting
      21
              action take place before the NTP    21
                                                     everybody's thinking in line so that if
      22
              made any evaluation.                22
                                                     that thing does come to pass, then we are
      23
         BY MR. TISI:                             23
                                                     ready to provide a statement to the
      24
              Q. Now, if you look at the next     24
                                                     media.
                                            Page 211                                        Page 213
      1
         page, it's the NTP talc Johnson & Johnson     1
                                                               Q. Okay.
      2
         Consumer.                                     2
                                                               A. It's always done in advance.
       3
                  It says, "A draft report,"            3
                                                               Q. Okay. Right. And so this
       4
         the second paragraph, "is to be presented      4
                                                          is, as a result of your communications
       5
         on the 13, 14 of December to the NTP           5
                                                          and the head of consumer products and the
       6
         Board of Scientific Counselors, report         6
                                                          people of -- you, on behalf of corporate,
       7
         on" -- the Report on Carcinogens               7
                                                          and Sarah Colamarino, who is PR for
       8
         Committee.                                     8
                                                          consumer products, as a result of your
       9
                  Do you see that?                      9
                                                          discussions, the recommendation would be
      10
              A. I see that.                           10
                                                          to withdraw the product. True?
      11
              Q. So again, you know, in our            11
                                                                    MS. FRAZIER: Objection to
      12
         time frame here, the proposed switch to       12
                                                               form.
      13
         cornstarch would be made for, among other     13
                                                                    THE WITNESS: I cannot say
      14
         things, consumer peace of mind, the           14
                                                               that I would have been proposing
      15
         proposal was made for it to be done           15
                                                               that, because that would not be my
      16
         before the NTP ever takes up the              16
                                                               position -- in my position as
      17
         question, the Board of Scientific             17
                                                               somebody who would respond to
      18
         Counselors?                                   18
                                                               media, that would not be part of
      19
                  MS. FRAZIER: Objection to            19
                                                               my responsibilities. That would
      20
              form.                                    20
                                                               have to be the decision of the
      21
                  THE WITNESS: That appears            21
                                                               consumer products companies
      22
              to be the timeline that we were          22
                                                               themselves.
      23
              discussing.                              23
                                                          BY MR. TISI:
      24
         BY MR. TISI:                                  24
                                                               Q. Right. But the consumer


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                                 John      Filed 08/14/23 Page 666 of 691 PageID:
                                  156441
                                            Page 214                                        Page 216
      1
         products companies were actually involved     1
                                                                   THE WITNESS: This is a
      2
         in input in the information that resulted     2
                                                               proposed positioning and a
       3
         in both the positioning document for use       3
                                                               potential draft statement.
       4
         with senior management, and the holding        4
                                                                   So they are providing a
       5
         statement, true?                               5
                                                               suggestion to, I guess, Owen
       6
                  MS. FRAZIER: Objection to             6
                                                               Rankin and others as to how
       7
              form.                                     7
                                                               something could potentially go.
       8
                  THE WITNESS: We would be              8
                                                          BY MR. TISI:
       9
              there -- as public relations              9
                                                               Q. Okay.
      10
              people, we would be there to, you        10
                                                               A. So it is not that they've
      11
              know, talk about, you know, how          11
                                                          made a decision. They are making a
      12
              these actions would be perceived         12
                                                          proposal.
      13
              in media.                                13
                                                               Q. I understand.
      14
         BY MR. TISI:                                  14
                                                                   But again, when you say
      15
              Q. Correct. It's how to -- how           15
                                                          they, okay, Burson-Marsteller are simply
      16
         to present it in the most palatable way,      16
                                                          trying to help you craft the document.
      17
         correct?                                      17
                                                          They are getting the information from the
      18
              A. It's how to portray it and            18
                                                          head of consumer products, Mr. Rankin,
      19
         providing the best information that we        19
                                                          right?
      20
         can to the public.                            20
                                                                   MS. FRAZIER: Objection to
      21
              Q. Okay. But also involved in            21
                                                               form. Foundation.
      22
         drafting this holding statement was           22
                                                                   THE WITNESS: They would
      23
         Mr. Owen, who is the head of consumer         23
                                                               have had input and they would have
      24
         products, right?                              24
                                                               been drafting the document. I
                                            Page 215                                        Page 217
      1
                  MS. FRAZIER: Objection to            1
                                                           believe that would be accurate.
      2
              form.                                 2
                                                      BY MR. TISI:
       3
                  THE WITNESS: Mr. Rankin.          3
                                                           Q. Okay. And this would be in
       4
         BY MR. TISI:                               4
                                                      anticipation of a December 1st switch
       5
              Q. Mr. Rankin. Owen Rankin.           5
                                                      from talc to cornstarch before the NTP
       6
         Excuse me, I'm sorry.                      6
                                                      ever lays eyes on that report in mid
       7
              A. Drafting it, no. Evaluating        7
                                                      December, true?
       8
         it, yes.                                   8
                                                           A. That is the proposal --
       9
              Q. Well, inputting to what            9
                                                               MS. FRAZIER: Objection to
      10
         would go in -- in fact, just to be clear, 10
                                                           form.
      11
         there was a meeting with the three of you 11 BY MR. TISI:
      12
         on the 8th. Based upon the information    12
                                                           Q. Okay. Let's go back further
      13
         that was gleaned during that meeting,     13
                                                      in time.
      14
         Burson-Marsteller drafted these documents 14      A. I'm sorry, I do need to take
      15
         and sent them on the 9th, right?          15
                                                      a short break. I -- you know, if we can
      16
              A. That is correct.                  16
                                                      just do this in three minutes --
      17
              Q. All right. So the                 17
                                                               MR. TISI: No, no, no. Take
      18
         information -- I mean                     18
                                                           your break. I'm going to work on
      19
         Burson-Marsteller -- if it isn't your     19
                                                           a new document --
      20
         job, it certainly isn't their job to talk 20
                                                               THE WITNESS: Okay.
      21
         about withdrawing the product, is it?     21
                                                               MR. TISI: -- that's totally
      22
              A. This was --                       22
                                                           fine. And this is -- we're
      23
                  MS. FRAZIER: Objection to        23
                                                           actually moving fast so I
      24
              form. Foundation.                    24
                                                           appreciate that. I've got two

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Case 3:16-md-02738-MAS-RLS Document 26640McKeegan
                                 John      Filed 08/14/23 Page 667 of 691 PageID:
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                                            Page 218                                        Page 220
      1
              more pages left of my outline. So        1
                                                               A. I believe that's true, yes.
      2
              go ahead, take your -- do what you       2
                                                               Q. Okay. Let's go back in
       3
              need to do and we'll be right             3
                                                          time, even before you met with
       4
              back.                                     4
                                                          Burson-Marsteller on the 8th.
       5
                  THE VIDEOGRAPHER: The time            5
                                                                    I'd like to go to late
       6
              is 1:51 p.m. Off the record.              6
                                                          October of 2000.
       7
                  (Short break.)                        7
                                                                    MR. TISI: If you would go
       8
                  THE VIDEOGRAPHER: The time            8
                                                               to Tab 34 in your binder.
       9
              is 1:58 p.m. On the record.               9
                                                                    (Document marked for
      10
         BY MR. TISI:                                  10
                                                               identification as Exhibit
      11
              Q. All right. Mr. McKeegan, we           11
                                                               P1.626.)
      12
         talked about, again, before the break,        12
                                                          BY MR. TISI:
      13
         just to kind of give a sense of where we      13
                                                               Q. This is a document from the
      14
         are, we talked about a meeting that was       14
                                                          CFTA, which again for the members of the
      15
         occurring on the 20th with senior             15
                                                          jury, is the trade organization
      16
         management, and we talked about a             16
                                                          representing all of the member talc
      17
         proposal that was drafted after               17
                                                          manufacturers, right?
      18
         consulting you and Consumer Products,         18
                                                                    MS. FRAZIER: Objection to
      19
         Mr. Rankin, on the 8th and 9th.               19
                                                               form. Foundation.
      20
                  I've looked in vain for any          20
                                                                    THE WITNESS: I don't -- I
      21
         documents relating to the meeting on the      21
                                                               couldn't tell you if all the talc
      22
         20th.                                         22
                                                               manufacturers were part of this
      23
                  Have you ever seen any               23
                                                               organization. But it does -- it
      24
         documents relating to the meeting, senior     24
                                                               is a representation and
                                            Page 219                                        Page 221
      1
         management meeting on the 20th where the      1
                                                               association that was involved with
      2
         proposal was presented to withdraw talc?      2
                                                               many consumer products companies,
       3
                  MS. FRAZIER: Objection to             3
                                                               including Johnson & Johnson.
       4
              form.                                     4
                                                          BY MR. TISI:
       5
                  THE WITNESS: I don't recall           5
                                                               Q. Okay. And including -- and
       6
              any summary document of it. And I         6
                                                          specifically they were involved with
       7
              don't have any specific memory of         7
                                                          dealing with the talc issue on behalf of
       8
              the meeting itself.                       8
                                                          not just J&J, but other companies who
       9
         BY MR. TISI:                                   9
                                                          produced talcum powder products as well,
      10
              Q. But an agenda on that                 10
                                                          true?
      11
         meeting was -- we agreed the presenting       11
                                                                   MS. FRAZIER: Objection to
      12
         of this position to senior management for     12
                                                               form. Foundation.
      13
         a decision, correct?                          13
                                                                   THE WITNESS: According to
      14
                  MS. FRAZIER: Objection to            14
                                                               these documents, that appears to
      15
              form.                                    15
                                                               be true.
      16
                  THE WITNESS: I presume that          16
                                                          BY MR. TISI:
      17
              Sarah was presenting this                17
                                                               Q. Okay. And this is a
      18
              document, but I don't remember the       18
                                                          memorandum from your trade organization
      19
              specifics of what the -- occurred        19
                                                          to, among others, you, Bristol-Myers
      20
              at this meeting.                         20
                                                          Squibb, Luzenac, and Unilever from the
      21
         BY MR. TISI:                                  21
                                                          vice -- to -- from Irene Malbin who is
      22
              Q. Okay. In any event, we know           22
                                                          the person who we've spoken to -- spoken
      23
         that talc was not withdrawn and replaced      23
                                                          about before, who you communicated with,
      24
         with cornstarch, correct?                     24
                                                          right?


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                                 John      Filed 08/14/23 Page 668 of 691 PageID:
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                                            Page 222                                     Page 224
      1
             A. That is true.                          1
                                                          the chair of the PAC. Do you see that?
      2
             Q. And this is dated                      2
                                                               A. I see that.
       3
         October 27, 2000. And it's the proposal        3
                                                               Q. That stands for public
       4
         from Nichols-Dezenhall on talc.                4
                                                          affairs committee?
       5
             A. That is what the document               5
                                                                   MS. FRAZIER: Objection to
       6
         says.                                          6
                                                               form. Foundation.
       7
             Q. And you recognize                       7
                                                                   THE WITNESS: I see that.
       8
         Nichols-Dezenhall also as a crisis             8
                                                          BY MR. TISI:
       9
         management firm. True?                         9
                                                               Q. Okay. Is that correct,
      10
                  MS. FRAZIER: Objection to            10
                                                          public affairs committee, is that what
      11
             form.                                     11
                                                          PAC stands for?
      12
                  THE WITNESS: I believe that          12
                                                               A. I would have no idea.
      13
             is -- I believe that is accurate.         13
                                                                   MS. FRAZIER: Same
      14
         BY MR. TISI:                                  14
                                                               objections.
      15
             Q. And they were making a                 15
                                                          BY MR. TISI:
      16
         proposal. And, in fact, if you remember,      16
                                                               Q. Well, okay. Then let's see
      17
         they were the authors of the talc             17
                                                          if we can refresh your recollection.
      18
         landscape article -- e-mail, that was         18
                                                                   MR. TISI: Let's go to
      19
         forwarded to you on December 7th which is     19
                                                               Page 7.
      20
         Exhibit 603 in Tab 11, correct?               20
                                                          BY MR. TISI:
      21
             A. That is correct.                       21
                                                               Q. There's a document, CFTA
      22
             Q. And the article, the                   22
                                                          public affairs list. Johnson & Johnson
      23
         memorandum says, "Attached is the             23
                                                          had two members on that list. Both you
      24
         proposal from Nichols-Dezenhall on the        24
                                                          for Johnson & Johnson corporate, and
                                            Page 223                                     Page 225
      1
         Talc issue."                                Sarah Colamarino for Johnson & Johnson
                                                       1
      2
              A. Yes.                              2
                                                     Consumer Products, correct?
       3
              Q. And Ms. Malbin is asking for      3
                                                          A. I see that.
       4
         comments immediately, within three days, 4       Q. Okay. And it says public
       5
         correct?                                  5
                                                     affairs. Does this appear to be a
       6
              A. That is correct.                  6
                                                     committee, a public affairs committee?
       7
              Q. And this would have been          7
                                                              MS. FRAZIER: Objection to
       8
         about a week or so before you met with    8
                                                          form.
       9
         your own crisis management team at        9
                                                              THE WITNESS: I don't know
      10
         Burson-Marsteller on the 8th, correct?   10
                                                          what this is. I don't know what
      11
                   MS. FRAZIER: Objection to      11
                                                          the public affairs committee is.
      12
              form.                               12
                                                          This looks just to have our fax
      13
                   THE WITNESS: That appears      13
                                                          numbers to share information with
      14
              to be the correct timeline, yes.    14
                                                          us.
      15
         BY MR. TISI:                             15
                                                     BY MR. TISI:
      16
              Q. Okay. Now, if you will go        16
                                                          Q. Right. And -- but the memo
      17
         to the second page, which is the         17
                                                     from Kathleen Walas, the chair of the
      18
         confidential memorandum from             18
                                                     PAC, which would correspond with public
      19
         Nichols-Dezenhall.                       19
                                                     affairs committee says, "My attached
      20
                   Oh, actually before we do      20
                                                     cover memo went to public affairs people
      21
         that, let's go to the back of the        21
                                                     from the four companies that have given
      22
         document. Page 626.9.                    22
                                                     money to the Interested Party Talc Task
      23
                   There is an e-mail fax         23
                                                     Force. Irene."
      24
         transmission from Irene Malbin, to Avon, 24
                                                              Do you see that?


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                                 John      Filed 08/14/23 Page 669 of 691 PageID:
                                  156444
                                            Page 226                                      Page 228
      1
              A. I see that.                         with CTFA and its members in unbending
                                                       1
      2
              Q. Okay. So this indicates --        2
                                                     defense of the safety of several
       3
         this tells Ms. Walas, the chair of the    3
                                                     cosmetics ingredients. More often than
       4
         committee, that four other people on the  4
                                                     not, together, we've prevailed."
       5
         committee, including yourself and Sarah   5
                                                               Do you see that?
       6
         Colamarino, were sent this document,      6
                                                          A. I see that.
       7
         true?                                     7
                                                          Q. "Like you, we have never
       8
                   MS. FRAZIER: Objection to       8
                                                     shied away from a tough battle, and we're
       9
              form.                                9
                                                     not going to start now. We're with you
      10
                   THE WITNESS: Actually the      10
                                                     100 percent of the way."
      11
              document that says we received the  11
                                                               See that?
      12
              document is the first page of       12
                                                          A. I see that.
      13
              this. I don't know who Kathleen     13
                                                          Q. Okay. And, again, the date
      14
              Walas is or what the public         14
                                                     is October 27, 2000. This is before the
      15
              affairs committee did.              15
                                                     NTP ever got the question of whether
      16
         BY MR. TISI:                             16
                                                     talc -- the NTP scientific committee ever
      17
              Q. Okay. But this, again, is        17
                                                     got the question about whether or not
      18
         the -- is the list -- this provides a    18
                                                     talc was a human carcinogen or
      19
         confidential memorandum. This is a week 19 anticipated to be a human carcinogen,
      20
         ahead of your meeting with               20
                                                     right?
      21
         Burson-Marsteller, your own crisis       21
                                                               MS. FRAZIER: Objection to
      22
         management team, and this is a proposal  22
                                                          form. Foundation.
      23
         to the entire -- to the public affairs   23
                                                               THE WITNESS: It is
      24
         committee of CTFA, right?                24
                                                          definitely before their meeting to
                                            Page 227                                      Page 229
      1
                   MS. FRAZIER: Objection to           1
                                                          make those decisions, but I would
      2
              form.                               2
                                                          have no idea if they had received
       3
                   THE WITNESS: I don't know      3
                                                          any information to review
       4
              anything about a public affairs     4
                                                          beforehand.
       5
              committee. I know that our name     5
                                                    BY MR. TISI:
       6
              is on here because we would be      6
                                                          Q. There comes -- it goes on to
       7
              interested members --               7
                                                    say, "There comes a time, however, when
       8
         BY MR. TISI:                             8
                                                    it is essential that - together - we
       9
              Q. Okay.                            9
                                                    fully assess and appreciate what we're up
      10
              A. -- based on having talc as a    10
                                                    against."
      11
         product. But I don't know what a public 11
                                                              Do you see that?
      12
         affairs committee of the CTFA was. We 12         A. I see that.
      13
         would have dealt with Irene Malbin.     13
                                                          Q. "While the objective of our
      14
              Q. Okay. So -- and, again, it      14
                                                    forthcoming    effort - to vigorously defend
      15
         shows that this was faxed to you,       15
                                                    the safety of talc use in cosmetics
      16
         correct?                                16
                                                    products - is not in question, we need to
      17
                   If you look at the --         17
                                                    be mindful of the following."
      18
              A. Yes, it does appear to be       18
                                                              Do you see that?
      19
         faxed to me, yes.                       19
                                                          A. I see that.
      20
              Q. Okay. Now, if you go to the     20
                                                          Q. And I read that correctly,
      21
         document, the confidential memorandum 21 true?
      22
         itself, let's go through it.            22
                                                          A. Yes.
      23
                   "As you know, over the        23
                                                          Q. And this is something you
      24
         years, we've stood shoulder-to-shoulder 24
                                                    most likely would have received before


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                                 John      Filed 08/14/23 Page 670 of 691 PageID:
                                  156445
                                            Page 230                                        Page 232
      1
         meeting with your own PR folks. True?         1
                                                          entirely by December 1st, 2000, right?
      2
                   MS. FRAZIER: Objection to           2
                                                                    MS. FRAZIER: Objection to
       3
              form.                                     3
                                                               form.
       4
                   THE WITNESS: Well, it says           4
                                                                    THE WITNESS: That is what
       5
              on the first page of this document        5
                                                               Burson-Marsteller proposed.
       6
              that this was sent to me, correct?        6
                                                          BY MR. TISI:
       7
         BY MR. TISI:                                   7
                                                               Q. It says, "The legal
       8
              Q. Yes.                                   8
                                                          liabilities of continuing sales of talc
       9
              A. Okay.                                  9
                                                          products, not to mention Prop 65
      10
              Q. Okay. And it goes to say,             10
                                                          implications, are profound."
      11
         "A federally funded scientific                11
                                                                    Do you see that?
      12
         organization may declare that cosmetic        12
                                                               A. I see that.
      13
         talc is 'reasonably anticipated to be a       13
                                                               Q. And it says, "Pediatricians
      14
         human carcinogen.'"                           14
                                                          and gynecologists have been advocating
      15
                   The draft report on talc use        15
                                                          the use of cornstarch powder for years
      16
         in the perineal and on sanitary napkins.      16
                                                          and will now become more vocal in their
      17
         This is alarming if scientifically flimsy     17
                                                          concerns about talc."
      18
         declaration, according to the PR folks,       18
                                                                    Do you see that?
      19
         right?                                        19
                                                               A. I see that.
      20
              A. I see that.                           20
                                                               Q. That's kind of consistent
      21
              Q. "Potential consumer outrage           21
                                                          with what we talked about before with
      22
         over its continued use in products with       22
                                                          Dr. Cramer saying, you know, in light of,
      23
         babies and for female hygiene purposes        23
                                                          you know, the evidence, why would you
      24
         may go off the charts."                       24
                                                          even use talc, switch to cornstarch,
                                            Page 231                                        Page 233
      1
                  Do you see that?                    right?
                                                       1
      2
              A. I see that.                        2
                                                                MS. FRAZIER: Objection to
       3
              Q. It says, "Consumer groups,         3
                                                           form.
       4
         media, and potentially regulatory          4
                                                                THE WITNESS: And Johnson &
       5
         pressure to transition out of talc, given  5
                                                           Johnson offered both products, as
       6
         that there is an alternative, may be       6
                                                           I think we just discussed.
       7
         overwhelming."                             7
                                                      BY MR. TISI:
       8
                  Do you see that?                  8
                                                           Q. Correct, correct.
       9
              A. I see that.                        9
                                                                Okay. They go on to say,
      10
              Q. And you understood that the       10
                                                      "We could go on and on in laying out the
      11
         alternative, and we've talked about this  11
                                                      negatives, but the bottom line - except
      12
         several times today, was cornstarch,      12
                                                      for a very few number of recruited
      13
         right?                                    13
                                                      scientific experts - the cosmetics
      14
                  MS. FRAZIER: Objection to        14
                                                      industry will be a lone voice in handling
      15
              form. Foundation.                    15
                                                      a very tough issue," correct?
      16
                  THE WITNESS: That was            16
                                                           A. I see that.
      17
              actually another product that        17
                                                           Q. Can you think of a single
      18
              Johnson & Johnson was selling I      18
                                                      scientific expert that you -- you said
      19
              believe at this time.                19
                                                      that you deferred to the expert in terms
      20
         BY MR. TISI:                              20
                                                      of the drafting of your statements. Can
      21
              Q. All right. And it was             21
                                                      you think of any scientific expert,
      22
         ultimately proposed, at least after you   22
                                                      either who worked for J&J, or who was
      23
         met with your own crisis management team, 23 recruited by J&J, who advocated that
      24
         the proposal was made to get out of talc  24
                                                      women should use talc instead of


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                                 John      Filed 08/14/23 Page 671 of 691 PageID:
                                  156446
                                            Page 234                                         Page 236
      1
         cornstarch?                                   1
                                                          their concerns about talc, true?
      2
                 MS. FRAZIER: Objection to             2
                                                               A. That's what this document
       3
             form. Foundation.                          3
                                                          says.
       4
                 THE WITNESS: I think that              4
                                                               Q. Okay. It also says "It
       5
             question is incorrect. I think             5
                                                          serves to remind us of the relative
       6
             there would not have been a                6
                                                          regulatory freedom of the cosmetics
       7
             recommendation from experts as to          7
                                                          industry depends, in large part, on the
       8
             whether people should use one              8
                                                          hard won perception it takes
       9
             product over another. Both                 9
                                                          self-policing action when confronted with
      10
             products were being offered in the        10
                                                          credible information about ingredient
      11
             market.                                   11
                                                          safety issue."
      12
                 If your question is if                12
                                                                   Do you see that?
      13
             they -- am I aware of any J&J             13
                                                               A. I see that.
      14
             experts who felt there was a risk         14
                                                               Q. Okay. So what these crisis
      15
             of using talc products, I am not          15
                                                          management said -- is saying, and I'm
      16
             aware of anybody who --                   16
                                                          paraphrasing is, is people rely on, the
      17
         BY MR. TISI:                                  17
                                                          public relies on, the cosmetic industry
      18
             Q. Okay. That was not my                  18
                                                          to police itself when confronted with
      19
         question. That was not my question so I       19
                                                          information about a safety issue, true?
      20
         move to strike.                               20
                                                                   MS. FRAZIER: Objection to
      21
                 My question was: Other than           21
                                                               form. Foundation.
      22
         J&J employees and recruited scientific        22
                                                                   THE WITNESS: It does say
      23
         experts by J&J or the talc industry, can      23
                                                               that the cosmetic industry
      24
         you think of anybody who recommended that     24
                                                               performs self-policing action when
                                            Page 235                                         Page 237
      1
         people use talc instead of cornstarch for     1
                                                               confronted with credible
      2
         feminine hygiene?                             2
                                                               information about an ingredient
       3
                 MS. FRAZIER: Objection to              3
                                                               safety issue.
       4
             form. Foundation.                          4
                                                          BY MR. TISI:
       5
                 THE WITNESS: That's a -- I             5
                                                               Q. And the failure to act on
       6
             just can't answer a question like          6
                                                          talc may threaten that, correct?
       7
             that. That's too broad a                   7
                                                                    MS. FRAZIER: Objection to
       8
             question. I have no way of                 8
                                                               form.
       9
             knowing if there was people out            9
                                                                    THE WITNESS: I think I
      10
             there, or if there is an                  10
                                                               would agree with that statement,
      11
             assumption that women should use          11
                                                               if the National Toxicology Program
      12
             one product or another for                12
                                                               had taken an action and said that
      13
             feminine hygiene.                         13
                                                               there was a reasonable expectation
      14
                 So if you're asking if                14
                                                               of -- that a product could be
      15
             there's anybody in the universe of        15
                                                               conceived of causing cancer, that
      16
             experts who might recommend one or        16
                                                               there would be a risk of
      17
             the other, I have no -- no idea           17
                                                               continuing to sell such a product.
      18
             and no way of answering the               18
                                                          BY MR. TISI:
      19
             question.                                 19
                                                               Q. Going on to the next page,
      20
         BY MR. TISI:                                  20
                                                          it said -- it says, it would -- last
      21
             Q. Well, this document says               21
                                                          paragraph, last sentence in the first
      22
         pediatricians and gynecologists have been     22
                                                          paragraph. It says, "It would not be" --
      23
         advocating use of cornstarch powder for       23
                                                          "it would not be unwise for companies
      24
         years and will now become more vocal in       24
                                                          marketing talc-based products for use

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                                 John      Filed 08/14/23 Page 672 of 691 PageID:
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                                           Page 238                                         Page 240
      1
         with babies and infants to consider ways     1
                                                         use cornstarch and not talc, in light of
      2
         to reformulate if necessary."                2
                                                         the fact that your -- the CFTA crisis
       3
                  Do you see that?                     3
                                                         management folks said, you know, the time
       4
              A. I see that.                           4
                                                         may be right to consider reformulating
       5
              Q. So in fairness -- so now you          5
                                                         the product, it would not be unwise, the
       6
         have two crisis management firms, one         6
                                                         proposal of Burson-Marsteller to switch
       7
         with CFTA, the talc industry trade            7
                                                         out of talc by December 1st, who made the
       8
         representative who does lobbying and          8
                                                         decision not to do that in early
       9
         those kinds of things, recommending the       9
                                                         December?
      10
         company should look to reformulate the       10
                                                                    MS. FRAZIER: Objection to
      11
         product, true?                               11
                                                              form. Foundation.
      12
                  MS. FRAZIER: Objection to           12
                                                                    THE WITNESS: I have -- I
      13
              form.                                   13
                                                              don't have any idea as to who
      14
                  THE WITNESS: No, that's not         14
                                                              specifically would have made the
      15
              the case. You know, they were           15
                                                              decision.
      16
              saying that -- they were saying         16
                                                                    You know, it would have been
      17
              there is a potential here that          17
                                                              a business decision as much as a
      18
              must be considered.                     18
                                                              reputational decision as to
      19
                  And if that -- if it does           19
                                                              whether to do it.
      20
              come about, then it should be           20
                                                                    And then when the National
      21
              considered to reformulate.              21
                                                              Toxicology Program met, they
      22
                  And Burson-Marsteller made a        22
                                                              decided not to add talc to that
      23
              recommendation for a proposal --        23
                                                              list.
      24
              because I don't know if it was a        24
                                                         BY MR. TISI:
                                           Page 239                                         Page 241
      1
              recommendation -- that the talc         1
                                                          Q. Well, we'll talk about that
      2
              products be moved out of consumer    2
                                                     in a moment. But let's kind of freeze
       3
              products before the National         3
                                                     frame in early December of 2000, before
       4
              Toxicology Program met.              4
                                                     the National Toxicology Program did
       5
         BY MR. TISI:                              5
                                                     anything, right?
       6
              Q. Right. And we also looked         6
                                                              There was a meeting of
       7
         at other organizations and doctors that   7
                                                     senior management on the 20th. We've
       8
         said that perhaps maybe women should be 8 never seen any meeting minutes relating
       9
         using cornstarch instead of talc, right?  9
                                                     to that. You've never seen any meeting
      10
                  MS. FRAZIER: Objection to       10
                                                     minutes, but you were at the meeting,
      11
              form.                               11
                                                     true?
      12
                  THE WITNESS: There were         12
                                                              MS. FRAZIER: Objection to
      13
              other -- I'm not even sure they     13
                                                          form.
      14
              were organizations. There were      14
                                                     BY MR. TISI:
      15
              other people who were saying that   15
                                                          Q. You were -- let me rephrase
      16
              women should not use talc. I'm      16
                                                     the question.
      17
              not even sure that they were        17
                                                              You were slated to present
      18
              saying they should use one product  18
                                                     at a meeting on the 20th, true?
      19
              or another product.                 19
                                                          A. That is true.
      20
         BY MR. TISI:                             20
                                                              MS. FRAZIER: Objection to
      21
              Q. So in light of these facts,      21
                                                          form.
      22
         the fact that outside organizations and  22
                                                     BY MR. TISI:
      23
         doctors, and according to this doctor,   23
                                                          Q. Colamarino -- Colamarino was
      24
         gynecologist, were suggesting that women 24
                                                     set to present the proposal that was

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                                          Page 242                                        Page 244
      1
         drafted in conjunction with you and         1
                                                             form.
      2
         Burson-Marsteller that the talc be          2
                                                                  THE WITNESS: I don't know
       3
         discontinued within ten days, by             3
                                                             if I have. I don't -- I don't
       4
         December 1st, correct?                       4
                                                             remember any.
       5
                  MS. FRAZIER: Objection to           5
                                                        BY MR. TISI:
       6
              form.                                   6
                                                             Q. And you don't remember that
       7
                  THE WITNESS: That is, as I          7
                                                        meeting, true?
       8
              recall from what we've looked at        8
                                                             A. I mean, it was 20-something
       9
              before, what was on the agenda,         9
                                                        years ago. I don't have any specific
      10
              yes.                                   10
                                                        recollection of that meeting.
      11
         BY MR. TISI:                                11
                                                             Q. And in the end of the day,
      12
              Q. And that would have been --         12
                                                        the recommendation that it would not be
      13
         I think we can both agree, that would       13
                                                        unwise to switch, that the company should
      14
         have been a pretty important business       14
                                                        discontinue and just sell cornstarch,
      15
         decision, correct?                          15
                                                        that women should switch to cornstarch,
      16
                  MS. FRAZIER: Objection to          16
                                                        all those recommendations that were in
      17
              form. Foundation.                      17
                                                        the ether in 2000, never came to pass,
      18
                  THE WITNESS: I'm sure it           18
                                                        did they?
      19
              would have been a very important       19
                                                                  MS. FRAZIER: Objection to
      20
              business issue.                        20
                                                             form.
      21
         BY MR. TISI:                                21
                                                                  THE WITNESS: Johnson &
      22
              Q. I mean this wasn't a                22
                                                             Johnson continued -- continued to
      23
         decision about whether to use powdered      23
                                                             sell talc products.
      24
         creamer or half and half in the coffee,     24
                                                        BY MR. TISI:
                                          Page 243                                        Page 245
      1
          was it?                                    1
                                                             Q. Without a warning that said
      2
                 MS. FRAZIER: Objection to           2
                                                        they are a potential for cancer, true?
       3
             form. Foundation.                        3
                                                                 MS. FRAZIER: Objection to
       4
         BY MR. TISI:                                 4
                                                             form. Foundation.
       5
             Q. This is a big deal,                   5
                                                                 THE WITNESS: The National
       6
         withdrawing a product. And the proposal      6
                                                             Toxicology Program never
       7
         was made that this be done on                7
                                                             determined that there was
       8
         December 1st, 2000, correct?                 8
                                                             potential to cause cancer and
       9
                 MS. FRAZIER: Objection to            9
                                                             there was never any action that
      10
             form.                                   10
                                                             I'm aware of that said that such a
      11
                 THE WITNESS: This proposal          11
                                                             warning would need to be placed on
      12
             was made by a crisis public             12
                                                             the product.
      13
             relations firm, and it was up to        13
                                                                 MR. TISI: Move to strike.
      14
             the business unit to decide             14
                                                        BY MR. TISI:
      15
             whether this was something that         15
                                                             Q. The question is: The
      16
             they thought should be done.            16
                                                        information was never provided by J&J to
      17
         BY MR. TISI:                                17
                                                        women that would allow them to make the
      18
             Q. And you were at that                 18
                                                        decision, do I want to use cornstarch, or
      19
         meeting, Ms. Colamarino was at that         19
                                                        do I want to use talc. They were never
      20
         meeting, and all these high level folks     20
                                                        given that information, were they?
      21
         were at that meeting on November 20,        21
                                                                 MS. FRAZIER: Objection to
      22
         2000. And you have never seen any           22
                                                             form. Foundation.
      23
         minutes of that meeting, have you?          23
                                                                 THE WITNESS: Johnson &
      24
                 MS. FRAZIER: Objection to           24
                                                             Johnson provided both products,


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                                            Page 246                                        Page 248
      1
             cornstarch and talc, to the market        1
                                                               A. I see that, yes.
      2
             and it was up to the consumers to         2
                                                               Q. And it forwards an e-mail
       3
             decide whether they wanted to use          3
                                                          that you received on the 14th, following
       4
             one or the other.                          4
                                                          the decision of the NTP, do you see that?
       5
                 There was no regulatory                5
                                                               A. I see that, yes.
       6
             action that I'm aware of that              6
                                                               Q. Now, it says, "I'm sure
       7
             would have made a determination            7
                                                          you've heard that the panel voted 7 to 3
       8
             that any kind of warning label             8
                                                          not to list non-asbestiform talc."
       9
             should have been put on the                9
                                                                   Do you see that?
      10
             product, or that one product or           10
                                                               A. I see that.
      11
             the other should have been removed        11
                                                               Q. Okay. But they indicate
      12
             from the market.                          12
                                                          what the decision was based on. Do you
      13
         BY MR. TISI:                                  13
                                                          see that?
      14
             Q. Let's go to what the NTP               14
                                                                   "The decision was primarily
      15
         actually did.                                 15
                                                          due to the fact there was no consensus as
      16
                 MR. TISI: Let's look at               16
                                                          to the definition of asbestiform or
      17
             Exhibit Number 610.                       17
                                                          non-asbestiform talc."
      18
                 (Document Marked for                  18
                                                                   Do you see that?
      19
             identification as Exhibit                 19
                                                               A. I see that.
      20
             P1.610.)                                  20
                                                               Q. It was not -- and I think
      21
                 THE WITNESS: Which tab is             21
                                                          there's been testimony in this case, the
      22
             that?                                     22
                                                          NTP deferred the question about whether
      23
                 MR. TISI: Sorry. Tab 18.              23
                                                          talc can cause ovarian cancer. Do you
      24
                 First of all, while we were           24
                                                          remember that?
                                            Page 247                                        Page 249
      1
              on a break, while we're just             1
                                                                    MS. FRAZIER: Objection to
      2
              looking at that -- Kat, I will           2
                                                               form.
       3
              tell you I looked up and down for         3
                                                                    THE WITNESS: I actually --
       4
              anything related to the meeting on        4
                                                               I actually don't remember the
       5
              the 20th. And I would ask that            5
                                                               specifics of that. I just
       6
              you -- I know we've asked you on          6
                                                               remember the outcome, that it was
       7
              occasion to go back and take a            7
                                                               not added to the list.
       8
              look for things that very                 8
                                                          BY MR. TISI:
       9
              specifically we believe exists or         9
                                                               Q. And I will represent to you
      10
              not.                                     10
                                                          that the issue was deferred, the question
      11
                   But any documents                   11
                                                          was deferred to a later time.
      12
              surrounding the meeting on the           12
                                                                    But there were three members
      13
              20th, I would ask that you take a        13
                                                          of the committee who did vote and thought
      14
              look at and I'll follow up with a        14
                                                          that it should be listed then, correct?
      15
              letter on that.                          15
                                                                    MS. FRAZIER: Objection to
      16
                   MS. FRAZIER: That's fine.           16
                                                               form. Foundation.
      17
              We'll do that.                           17
                                                          BY MR. TISI:
      18
                   MR. TISI: Okay. Thank you.          18
                                                               Q. That's what it says, right?
      19
         BY MR. TISI:                                  19
                                                               A. I am looking at your e-mail,
      20
              Q. All right. Mr. McKeegan,              20
                                                          and that is -- the e-mail that you
      21
         before you is Exhibit Number 610, is an       21
                                                          forwarded, and that is -- the count was 7
      22
         e-mail dated December 15th from Gary          22
                                                          to 3 --
      23
         Noble to yourself and John McKeegan --        23
                                                               Q. Okay.
      24
         I'm sorry, and Sarah Colamarino, correct?     24
                                                               A. -- not to list


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                                           Page 250                                    Page 252
      1
         non-asbestiform talc.                        1
                                                           A. So consumers could make an
      2
             Q. Right. So there are                 2
                                                      informed decision as to which product
       3
         three -- there are -- this again           3
                                                      they preferred.
       4
         represents what we've started our          4
                                                           Q. How could they be -- how
       5
         deposition about today, that there         5
                                                      could they be informed, sir, if there is
       6
         were -- remember, we looked at those       6
                                                      no information on the bottle or in your
       7
         meeting notes from 1995, which had         7
                                                      advertising or in your public relations
       8
         some -- excuse me, 1998, where some        8
                                                      that gives anybody any suggestion that
       9
         evidence went one way, some evidence went there is a question about whether talc is
                                                    9
      10
         another way, there was a question, do you 10
                                                      safe or not?
      11
         remember that?                            11
                                                               MS. FRAZIER: Objection to
      12
                  MS. FRAZIER: Objection to        12
                                                           form. Foundation.
      13
             form.                                 13
                                                               THE WITNESS: I'm only going
      14
                  THE WITNESS: Yes.                14
                                                           by what you've presented here
      15
         BY MR. TISI:                              15
                                                           today.
      16
             Q. And this indicates that            16
                                                      BY MR. TISI:
      17
         there was still an open question, true;   17
                                                           Q. Okay.
      18
         some people thought there were, some      18
                                                           A. There have been a number of
      19
         people thought there weren't based upon a 19
                                                      articles and studies that you've
      20
         definitional question, true?              20
                                                      presented that say that this was a
      21
                  MS. FRAZIER: Objection to        21
                                                      question.
      22
             form.                                 22
                                                               There is also the vote here
      23
                  THE WITNESS: I am not aware      23
                                                      by the National Toxicology Program panel
      24
             of how the National Toxicology        24
                                                      that says it is not a potential
                                           Page 251                                    Page 253
      1
              Program makes its decisions, but      carcinogen. And I apologize if I'm not
                                                      1
      2
              it seems to, from this e-mail,      2
                                                    getting the wording correctly.
       3
              that they make decisions based on   3
                                                         Q. Well, do you know that
       4
              a vote of a majority of the panel.  4
                                                    the -- subsequently IARC concluded that
       5
              And that decision of the panel was  5
                                                    it was a possible carcinogen?
       6
              not to list it as a -- as --        6
                                                         A. I'm not aware --
       7
              non-asbestiform talc as a -- on     7
                                                             MS. FRAZIER: Objection to
       8
              the list of potential carcinogens.  8
                                                         form -- wait a second, John. Wait
       9
         BY MR. TISI:                             9
                                                         a second, John. Let me object.
      10
              Q. But ultimately you know and     10
                                                             Objection to form.
      11
         understand, just as we talked about     11
                                                         Foundation.
      12
         before, the decision whether to switch  12
                                                    BY MR. TISI:
      13
         from talc to -- from talc to cornstarch 13
                                                         Q. My question though -- my
      14
         for example, lied solely within the     14
                                                    question though, Doctor, is taking --
      15
         company, true?                          15
                                                         A. Doctor?
      16
                   MS. FRAZIER: Objection to     16
                                                         Q. Doctor, I'm sorry. I just
      17
              form.                              17
                                                    promoted you, Mr. McKeegan.
      18
                   THE WITNESS: The company -- 18            Taking NTP out of it, the
      19
                   MS. FRAZIER: Foundation.      19
                                                    decision about whether to market
      20
              Go ahead.                          20
                                                    cornstarch exclusively and remove talc
      21
                   THE WITNESS: The company at 21 products from the market was something
      22
              this time sold both products.      22
                                                    that was being considered independent of
      23
         BY MR. TISI:                            23
                                                    what NTP ultimately did. You agree with
      24
              Q. Right.                          24
                                                    that, right?


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                                            Page 254                                        Page 256
      1
                  MS. FRAZIER: Objection to            1
                                                                  MS. FRAZIER: Okay. Well,
      2
              form. Foundation.                        2
                                                              because I lost audio and so I've
       3
                  THE WITNESS: I can't -- I             3
                                                              missed the last, I don't know how
       4
              can't remember what if any                4
                                                              long, probably 30, 45 seconds
       5
              business decision was made about          5
                                                              worth. So I object to everything
       6
              that --                                   6
                                                              that you asked, Chris, on form.
       7
         BY MR. TISI:                                   7
                                                                  MR. TISI: Okay. And I will
       8
              Q. I didn't ask that --                   8
                                                              accept your objection in the dark.
       9
              A. -- you had asked something             9
                                                          BY MR. TISI:
      10
         before -- you had made something before       10
                                                              Q. Okay. One other question.
      11
         about it being added to another list.         11
                                                          You left J&J in January within -- or
      12
         And I have no information about that.         12
                                                          February 1st, I think, you know, within
      13
         And I left Johnson & Johnson more than        13
                                                          six weeks of the NTP decision, true?
      14
         20 years ago, approximately 20 years ago.     14
                                                              A. What?
      15
              Q. That really isn't my                  15
                                                              Q. You left your J -- you left
      16
         question. Maybe my question was               16
                                                          your position as --
      17
         inartfully worded. So I'll either move        17
                                                              A. Oh.
      18
         to strike it or withdraw the question.        18
                                                              Q. -- I think it was director
      19
                  But my question was, we went         19
                                                          of public relations, and I probably am
      20
         through a series of documents, including      20
                                                          mangling the title.
      21
         from Burson-Marsteller,                       21
                                                                  But you left the position
      22
         Nichols-Dezenhall, CFTA, Mr. Rankin, and      22
                                                          you were in in January or early February
      23
         yourself, and Ms. Colamarino, the             23
                                                          of 2001, correct?
      24
         positioning statement, and all those          24
                                                              A. February 2001 I did move
                                            Page 255                                        Page 257
      1
         things we just talked about, that talked    over to a Johnson & Johnson operating
                                                       1
      2
         about withdrawing talc products in favor  2
                                                     company, Johnson & Johnson Healthcare
       3
         of cornstarch products.                   3
                                                     Systems, taking the position that Sarah
       4
                 First of all, do you              4
                                                     Colamarino had had when she moved over to
       5
         remember that?                            5
                                                     the Consumer Products company.
       6
              A. Yes, I remember those.            6
                                                          Q. Okay. Did your -- do you
       7
              Q. And all of those things were      7
                                                     typically  have -- when you have to switch
       8
         done independent of NTP and could have companies, or switch positions, like
                                                   8
       9
         been done at any time, true?              9
                                                     this, or switch companies like you did,
      10
              A. Not true.                        10
                                                     are you typically -- do you do any kind
      11
              Q. Okay. You don't think that       11
                                                     of -- did you have to interview for that?
      12
         the company could have withdrawn the 12          A. Yes.
      13
         product?                                 13
                                                          Q. Were there any evaluations
      14
              A. The company could have           14
                                                     or recommendations    done of your work with
      15
         withdrawn the product, but those         15
                                                     talc that immediately preceded your
      16
         considerations were being brought up     16
                                                     leaving that position and going over to
      17
         because of the potential for a decision  17
                                                     Ms. Colamarino's old job?
      18
         by the NTP.                              18
                                                               MS. FRAZIER: Objection to
      19
              Q. Okay. All right. Let me          19
                                                          form.
      20
         ask you this -- a couple more questions. 20
                                                               THE WITNESS: Not that I'm
      21
                 MS. FRAZIER: Excuse me.          21
                                                          aware of.
      22
              Can you -- can you guys hear me?    22
                                                               MR. TISI: Can I ask you,
      23
                 MR. TISI: Yes.                   23
                                                          Kat, had you looked for any
      24
                 THE WITNESS: Yes.                24
                                                          evaluations relating to, as we


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                                 John      Filed 08/14/23 Page 677 of 691 PageID:
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                                            Page 258                                        Page 260
      1
              talked about before, has been our        1
                                                                  MR. TISI: If you don't mind
       2
              agreement? Because I didn't get           2
                                                             taking a ten-minute -- are you
       3
              any, and I didn't know if there           3
                                                             going to have any redirect at all?
       4
              were any such.                            4
                                                                  MS. FRAZIER: Yeah, just a
       5
                  MS. FRAZIER: Yeah. I                  5
                                                             little bit.
       6
              think, I'm pretty sure that Rich          6
                                                                  MR. TISI: Okay. All right.
       7
              or somebody that is working with          7
                                                                  So if you don't mind, just
       8
              him let you know that there               8
                                                             to keep things moving, if you
       9
              weren't any. We sent you what we          9
                                                             don't mind me just taking a break
      10
              were able to locate.                     10
                                                             and speaking to Nick and Cameron,
      11
                  MR. TISI: Okay.                      11
                                                             I appreciate it.
      12
         BY MR. TISI:                                  12
                                                                  MS. FRAZIER: I'm sure,
      13
              Q. Did your leaving J&J                  13
                                                             that's fine. So do you want to
      14
         corporate have anything to do with your       14
                                                             come back at 2:50?
      15
         experience dealing with the talc issue        15
                                                                  MR. TISI: Sure.
      16
         that immediately preceded your leaving?       16
                                                                  THE VIDEOGRAPHER: The time
      17
              A. Not that I'm aware.                   17
                                                             is 2:37 p.m. Off the record.
      18
              Q. Were you asked to change              18
                                                                  (Short break.)
      19
         positions or was it something you sought?     19
                                                                  THE VIDEOGRAPHER: The time
      20
              A. I was asked to fill this              20
                                                             is 2:54 p.m. On the record.
      21
         position from Sarah. It was a promotion       21
                                                                  MS. FRAZIER: Chris, are you
      22
         that was offered to me, and I was being       22
                                                             done? I want to make sure.
      23
         asked to take this by Rud Nielsen, the        23
                                                                  MR. TISI: Oh, yeah, yeah,
      24
         head of the department.                       24
                                                             yeah, I apologize. Yes.
                                            Page 259                                        Page 261
      1
                  MR. TISI: I don't think I            1
                                                                   At this point we rest,
       2
             have any other questions. But if           2
                                                               subject to our request for
       3
             you don't mind taking a break, I'd         3
                                                               additional documents. But go
       4
             like to speak to some of my                4
                                                               ahead.
       5
             colleagues here and see what we            5
                                                                   MS. FRAZIER: Okay.
       6
             can do.                                    6
                                                                     - - -
       7
                  But I would reiterate for             7
                                                                    EXAMINATION
       8
             sure my request, Kat, on documents         8
                                                                     - - -
       9
             related -- because I think it is           9
                                                          BY MS. FRAZIER:
      10
             surprising to us that we saw no           10
                                                               Q. Good afternoon,
      11
             documents related to that                 11
                                                          Mr. McKeegan.
      12
             November 20th meeting. And                12
                                                               A. Hello.
      13
             just -- I'm not saying that               13
                                                               Q. When -- so you've been asked
      14
             it's -- that there are documents.         14
                                                          a lot of questions today about your time
      15
             I don't know. But it surprises us         15
                                                          when you were at Johnson & Johnson.
      16
             that there aren't.                        16
                                                          About how long were you at the company
      17
                  So if you would check on             17
                                                          total?
      18
             that, I would appreciate that.            18
                                                               A. I think it was five years
      19
                  MS. FRAZIER: Okay. That's            19
                                                          total.
      20
             the same request you made just a          20
                                                               Q. Okay. And how long have you
      21
             few minutes ago, right?                   21
                                                          been gone from the company?
      22
                  MR. TISI: Correct.                   22
                                                               A. About 20 years.
      23
                  MS. FRAZIER: Yeah, let me            23
                                                               Q. Okay. And you've had --
      24
             see if I can --                           24
                                                          have you had a number of different


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                                 John      Filed 08/14/23 Page 678 of 691 PageID:
                                  156453
                                           Page 262                                     Page 264
      1
         positions, job positions, since you left    among the people who would know the
                                                      1
      2
         Johnson & Johnson?                        2
                                                     information best, and we would then draft
       3
              A. Yes, I have.                      3
                                                     a statement after discussing it with
       4
              Q. Did any of those positions        4
                                                     them, send it back to them for their
       5
         require you to engage on any issues       5
                                                     review. And once it had received the
       6
         involving talc?                           6
                                                     necessary approvals, then we would be
       7
              A. No.                               7
                                                     free to use it.
       8
              Q. And have you followed the         8
                                                          Q. And were the people that
       9
         science on talc since you left the        9
                                                     you're talking about who reviewed those
      10
         company 20 years ago?                    10
                                                     statements, were they subject matter
      11
              A. No.                              11
                                                     experts?
      12
              Q. And have you followed even       12
                                                          A. Yes.
      13
         the news stories on talc in the last     13
                                                          Q. In science?
      14
         20 years?                                14
                                                          A. Yes, they were.
      15
              A. I've seen the occasional         15
                                                          Q. Okay.
      16
         story that's come across.                16
                                                              MR. TISI: Objection -- let
      17
              Q. Okay. But it's not               17
                                                          me just place an objection. Go
      18
         something -- is it something that you    18
                                                          ahead.
      19
         would follow up on from time to time to 19 BY MS. FRAZIER:
      20
         make sure that you're up on talc issues? 20      Q. Okay. Okay. And were
      21
              A. No.                              21
                                                     you -- did you make sure that all of the
      22
              Q. Okay. And even when you          22
                                                     scientific statements were accurate --
      23
         were at the company, was following the 23 let me reword that.
      24
         science of talc something that you would 24          Was it your job to ensure
                                           Page 263                                     Page 265
      1
         have done?                                  that the scientific statements that were
                                                      1
      2
              A. No. I was strictly in media       2
                                                     issued were accurate from a scientific
       3
         relations.                                3
                                                     standpoint?
       4
              Q. And to the extent that you        4
                                                          A. Let me just correct it. We
       5
         were going to issue a statement that      5
                                                     did not issue scientific statements. We
       6
         pertained to talc, from a scientific      6
                                                     issued statements to media. And we would
       7
         standpoint, including talc safety, how    7
                                                     have gone back to the scientists and the
       8
         would that statement have come about?     8
                                                     subject matter experts to make sure that
       9
                  MR. TISI: I'm sorry -- I'm       9
                                                     we were providing accurate information to
      10
              sorry, Kat, I don't mean to         10
                                                     the media.
      11
              interrupt. I'm not objecting to     11
                                                          Q. So you would have relied on
      12
              the question. I didn't hear it.     12
                                                     others rather than interpreting them
      13
              It got cut off so if you would      13
                                                     yourself?
      14
              just restate the question, I'd      14
                                                          A. Yes.
      15
              appreciate it.                      15
                                                              MR. TISI: Objection to
      16
                  MS. FRAZIER: Okay.              16
                                                          form.
      17
         BY MS. FRAZIER:                          17
                                                              I'm sorry, Mr. McKeegan,
      18
              Q. So when you were at the          18
                                                          you've  got to give me a chance to
      19
         company, Mr. McKeegan, and if you were   19
                                                          object.
      20
         going to issue a statement on talc as it 20
                                                              THE WITNESS: Sorry.
      21
         pertained to safety and scientific       21
                                                              MR. TISI: It's okay. We
      22
         issues, how would that statement have    22
                                                          all do it.
      23
         come about?                              23
                                                     BY MS. FRAZIER:
      24
              A. There would be a discussion      24
                                                          Q. When you were at the


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                                 John      Filed 08/14/23 Page 679 of 691 PageID:
                                  156454
                                            Page 266                                     Page 268
      1
         company, was -- and by company, I mean       BY MS. FRAZIER:
                                                       1
      2
         Johnson & Johnson -- was Baby Powder the   2
                                                           Q. Okay. You were asked many
       3
         only product that you had responsibility   3
                                                      times about an e-mail where you made a
       4
         for?                                       4
                                                      comment about possibly needing to tweak a
       5
              A. No. I was -- my                    5
                                                      statement. Do you remember that?
       6
         responsibilities included a number of      6
                                                           A. Yes.
       7
         consumer products for a number of          7
                                                           Q. Do you have any recollection
       8
         different operating companies, especially  8
                                                      about what tweaking the statement was in
       9
         those that did not have their own inhouse  9
                                                      context to, what the purpose of
      10
         public relations person.                  10
                                                      potentially tweaking the statement was?
      11
                  So if a question came in on      11
                                                               MR. TISI: Objection.
      12
         a, you know, whole variety of different   12
                                                               THE WITNESS: According to
      13
         consumer products, I would -- they would  13
                                                           the e-mail that we saw, that was
      14
         come to me and then I would get the       14
                                                           in relation to a CBS News report
      15
         appropriate answers.                      15
                                                           that was being done about talc and
      16
              Q. So about how many products,       16
                                                           asking -- and something that had
      17
         if you can estimate, would you say that   17
                                                           been stated by somebody at the
      18
         you would have been responsible for in    18
                                                           FDA. I don't remember who that
      19
         terms of responding to media questions?   19
                                                           was.
      20
              A. I would have no way of            20
                                                      BY MS. FRAZIER:
      21
         answering that. Many, many products, but 21       Q. And did you rely on others
      22
         I couldn't give you even a guesstimate.   22
                                                      to determine whether or not any
      23
         It was a lot of them.                     23
                                                      statements would need to be tweaked?
      24
              Q. Okay. Fair enough.                24
                                                           A. Yes, I did.
                                            Page 267                                     Page 269
      1
                  And you were asked some              1
                                                           Q. And who did you rely on
      2
         questions about whether you had tried to   2
                                                      generally?
       3
         refresh your memory by reviewing           3
                                                           A. The -- generally it was
       4
         documents. Do you remember that question   4
                                                      going to be the scientists with direct
       5
         or those questions?                        5
                                                      knowledge of that product.
       6
              A. Yes.                               6
                                                           Q. You were shown a page, a
       7
              Q. If you had been provided           7
                                                      single page, actually it was two pages, a
       8
         with every single document that you had    8
                                                      cover page that was entitled FDA's
       9
         ever seen while you were at the company,   9
                                                      Cosmetics Program, and then you were
      10
         every single e-mail that you were on or   10
                                                      shown a specific page that appeared to be
      11
         drafted, and you had reviewed those for   11
                                                      something from the FDA. Do you recall
      12
         weeks and weeks, day in and day out,      12
                                                      that?
      13
         would that have refreshed your memory and 13
                                                           A. This was the -- are you
      14
         put you back in the place where you       14
                                                      talking about the 1994 memo from CTFA?
      15
         remembered exactly what was going on      15
                                                           Q. No. It was a document where
      16
         during the time you were at the company? 16 you were shown the cover page and then
      17
                  MR. TISI: Let me just            17
                                                      you were shown something. We can put it
      18
              object to form. Thank you.           18
                                                      back up there.
      19
                  THE WITNESS: No. You know,       19
                                                              But my question is, would
      20
              I would not have been able to put    20
                                                      you have ever reviewed a document that
      21
              those within context within my       21
                                                      described FDA's cosmetics program during
      22
              mind and remember all of the         22
                                                      the course of your work at J&J?
      23
              events that would have been going    23
                                                           A. I can't imagine that I would
      24
              on 20 years ago.                     24
                                                      have. I don't see how that would have


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                                 John      Filed 08/14/23 Page 680 of 691 PageID:
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                                            Page 270                                       Page 272
      1
         pertained to the job that I was supposed     issues from a scientific standpoint?
                                                       1
      2
         to do.                                     2
                                                               MR. TISI: Objection.
       3
              Q. Okay. You were asked a lot         3
                                                               THE WITNESS: No. They --
       4
         of questions about a Burson-Marsteller     4
                                                           they don't.
       5
         document authored by Kate Triggs that      5
                                                      BY MS. FRAZIER:
       6
         contained a proposal, and part of that     6
                                                           Q. And from your experience, do
       7
         proposal was to remove talc-based powder   7
                                                      these companies tend to advise from a PR
       8
         from the market. Do you remember that? 8 standpoint, rather than a scientific
       9
              A. Yes.                               9
                                                      standpoint?
      10
              Q. Do you recall whether or          10
                                                               MR. TISI: Objection.
      11
         not, first of all, that proposal was ever 11
                                                               THE WITNESS: That is what
      12
         presented at a meeting, whether it was    12
                                                           they are hired to do. That is
      13
         the November meeting or otherwise, to     13
                                                           what they are experts in.
      14
         senior management at Johnson & Johnson? 14 BY MS. FRAZIER:
      15
                   MR. TISI: Objection.            15
                                                           Q. And from your review of the
      16
                   THE WITNESS: I have no          16
                                                      Nichols-Dezenhall     document, and I think
      17
              recollection as to whether that      17
                                                      you said you don't recall it
      18
              was discussed or not.                18
                                                      specifically; is that right?
      19
         BY MS. FRAZIER:                           19
                                                           A. I do not recall it.
      20
              Q. Do you recall whose idea          20
                                                           Q. And from your brief review
      21
         this proposal was?                        21
                                                      of the Nichols-Dezenhall document, and we
      22
              A. No.                               22
                                                      can pull it back up if we need to.
      23
              Q. You were also shown a             23
                                                               But was there any question
      24
         Nichols-Dezenhall proposal that had       24
                                                      in your mind as to whether or not
                                            Page 271                                       Page 273
      1
         bullet points on -- containing several        1
                                                          Nichols-Dezenhall's proposals was based
      2
         recommendations. Do you remember that?        2
                                                          on the idea that talc is not safe?
       3
              A. Yes.                                   3
                                                                     MR. TISI: Objection.
       4
              Q. Okay. And                              4
                                                                     THE WITNESS: Just from what
       5
         Nichols-Dezenhall, I think you mentioned,      5
                                                                little I read of that, that does
       6
         was a public relations company; is that        6
                                                                not seem to be what they were
       7
         right?                                         7
                                                                basing their document on. It was
       8
              A. As I recall that, that is              8
                                                                more about public -- potential
       9
         what they did for a living.                    9
                                                                public perception.
      10
              Q. Okay. And companies like              10
                                                                     MS. FRAZIER: Okay. That's
      11
         that are -- you've worked for companies       11
                                                                all the questions I have. Thank
      12
         similar in nature, in terms of working on     12
                                                                you, Mr. McKeegan.
      13
         media relations and things like that,         13
                                                                     MR. TISI: I just have -- I
      14
         public relations -- let me -- let me          14
                                                                just have a couple of very quick
      15
         start over here.                              15
                                                                questions.
      16
                  You've worked for companies          16
                                                                        - - -
      17
         who work with other companies on media        17
                                                                       EXAMINATION
      18
         relations; is that right?                     18
                                                                        - - -
      19
              A. Yes.                                  19
                                                          BY MR. TISI:
      20
                  MR. TISI: Objection.                 20
                                                                Q. First of all, with regard to
      21
         BY MS. FRAZIER:                               21
                                                          the media statements that you had --
      22
              Q. Okay. And from your                   22
                                                          first of all, can you hear me?
      23
         experience, do these media relations          23
                                                                A. Yes.
      24
         companies generally advise on scientific      24
                                                                Q. Okay. We went through

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                                 John      Filed 08/14/23 Page 681 of 691 PageID:
                                  156456
                                           Page 274                                     Page 276
      1
         several media statements that you had.       1
                                                               THE WITNESS: I'm not trying
      2
         And in fairness to you, when you got that  2
                                                           to get information about science.
       3
         note from CTFA about Dr. Bailey at the     3
                                                           My job would be to respond to
       4
         FDA expressing concern about talc and      4
                                                           media questions.
       5
         ovarian cancer, your first reaction, as I  5
                                                      BY MR. TISI:
       6
         read it, is you reached out to both the    6
                                                           Q. Correct. And you want to
       7
         company lawyer and the company doctor,     7
                                                      have accurate information, and you
       8
         Dr. Hopkins, and informed your boss, I     8
                                                      reached out to people who could provide
       9
         mean that's what you do, right?            9
                                                      you that information, right?
      10
                   MS. FRAZIER: Object to          10
                                                           A. That's correct.
      11
              form.                                11
                                                           Q. Okay. And when I asked you
      12
                   THE WITNESS: I would have       12
                                                      whether or not you had done any follow-up
      13
              been looking to these people, not    13
                                                      to see if you could answer some questions
      14
              just to inform them, but also to     14
                                                      from the last deposition, I wouldn't ask
      15
              get their input.                     15
                                                      you to look at every document that you'd
      16
         BY MR. TISI:                              16
                                                      ever done for the thousands of products.
      17
              Q. Correct.                          17
                                                      But that was a document that actually you
      18
              A. And Jeff Leebaw as my boss,       18
                                                      were shown at your prior deposition,
      19
         he would have been -- he would have known 19
                                                      right?
      20
         about this beforehand because he and I    20
                                                           A. That is correct.
      21
         spoke many times informally during the    21
                                                           Q. Okay. And did you reach out
      22
         day.                                      22
                                                      and say, you know, look, I'd like to
      23
              Q. Correct. And my questions         23
                                                      know, did anybody ever respond to me when
      24
         to you were -- in fact, you asked them to 24
                                                      I reached out and asked them, did
                                           Page 275                                     Page 277
      1
         call you, right? You asked them to say,      Mr. O'Shaughnessy or Mr. Hopkins ever get
                                                      1
      2
         you know, the position -- we may have to back to me, because I'd like to know
                                                    2
       3
         tweak this, this strikes me as important   3
                                                      because I want to answer Mr. Tisi's
       4
         that we got this FDA person on there       4
                                                      questions as accurately as possible?
       5
         saying it's a concern, what do you guys    5
                                                              MS. FRAZIER: Objection to
       6
         think, that's what you were doing, right? 6      form.
       7
                   MS. FRAZIER: Objection to        7
                                                              THE WITNESS: I don't know
       8
              form.                                 8
                                                          how I would do that. I don't --
       9
                   THE WITNESS: I was               9
                                                      BY MR. TISI:
      10
              forwarding the statement back        10
                                                          Q. You ask your lawyer --
      11
              to -- according to this e-mail, I    11
                                                          A. I haven't talked to John
      12
              don't have any direct recollection   12
                                                      O'Shaughnessy in many years. And I don't
      13
              of it. But according to the          13
                                                      remember who John Hopkins is.
      14
              e-mail I was forwarding it back to   14
                                                          Q. Right. But you would ask --
      15
              them to see if there was any need    15
                                                      you would ask your lawyer, say give me
      16
              to adjust the statement in any       16
                                                      any documents that would refer to what I
      17
              way.                                 17
                                                      did with talc, right?
      18
         BY MR. TISI:                              18
                                                              MS. FRAZIER: Objection to
      19
              Q. Right. And that's what            19
                                                          form.
      20
         somebody who is good at their job and     20
                                                      BY MR. TISI:
      21
         trying to get information about science, 21      Q. Did you do that?
      22
         that they try to do, right?               22
                                                          A. No, I didn't do that.
      23
                   MS. FRAZIER: Objection to       23
                                                              MS. FRAZIER: Same
      24
              form.                                24
                                                          objection.


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                                 John      Filed 08/14/23 Page 682 of 691 PageID:
                                  156457
                                            Page 278                                        Page 280
      1
         BY MR. TISI:                                  1
                                                          well, by different lawyers for J&J.
      2
              Q. Okay. So did you understand           2
                                                               Q. Okay. So let me ask you
       3
         that I would have requested that you look      3
                                                          this. Do you remember at any time
       4
         at the thousands of documents for the          4
                                                          anybody ever -- you reached out. You
       5
         thousands of products that you had, or         5
                                                          said we may need to tweak the statement.
       6
         that information that you may have didn't      6
                                                          You reached out. You asked them. Do you
       7
         know in June or July, that you might have      7
                                                          remember anyone ever getting back to you
       8
         been asked in September when we're             8
                                                          and saying, you know, the FDA did or did
       9
         sitting here asking you questions under        9
                                                          not change its opinion with respect to
      10
         oath?                                         10
                                                          the 1994 co-sponsored meeting?
      11
                  MS. FRAZIER: Objection to            11
                                                                   MS. FRAZIER: Objection to
      12
              form.                                    12
                                                               form.
      13
                  THE WITNESS: I can't answer          13
                                                                   THE WITNESS: I have no
      14
              what would have been in your mind.       14
                                                               recollection of these discussions.
      15
              So I can't answer your question.         15
                                                               These were so long ago.
      16
         BY MR. TISI:                                  16
                                                          BY MR. TISI:
      17
              Q. All right. So my question,            17
                                                               Q. Okay. But at least in your
      18
         then, what I asked you earlier was, did       18
                                                          mind, when you saw that an FDA employee
      19
         you do anything to refresh your               19
                                                          got on television or spoke to a
      20
         recollection, even about the questions        20
                                                          television reporter and --
      21
         you were asked and you didn't remember in     21
                                                                   MR. TISI: It is my aunt.
      22
         June, so that you could answer my             22
                                                               I'm sorry, I knew she was going to
      23
         questions here today?                         23
                                                               do that.
      24
                  MS. FRAZIER: Objection to            24
                                                          BY MR. TISI:
                                            Page 279                                        Page 281
      1
              form.                                    1
                                                               Q. At least in your mind, your
      2
                   THE WITNESS: I reviewed the         2
                                                          immediate reaction when you saw an FDA
       3
              transcript of the deposition in           3
                                                          employee get on -- get on television or
       4
              June.                                     4
                                                          speak to a reporter about concerns about
       5
         BY MR. TISI:                                   5
                                                          talc, your immediate reaction was, we may
       6
              Q. And you saw the transcript,            6
                                                          need to tweak the statement, right?
       7
         a lot of times you couldn't answer             7
                                                                   MS. FRAZIER: Objection to
       8
         questions, right?                              8
                                                               form.
       9
              A. That's --                              9
                                                                   THE WITNESS: My immediate
      10
                   MS. FRAZIER: Same                   10
                                                               reaction according to the e-mail
      11
              objection.                               11
                                                               that we read was to ask them
      12
         BY MR. TISI:                                  12
                                                               whether there was a need to review
      13
              Q. And now, in this deposition,          13
                                                               and adjust the statement.
      14
         unlike the last deposition, you're being      14
                                                          BY MR. TISI:
      15
         represented by Johnson & Johnson lawyers,     15
                                                               Q. It didn't take somebody with
      16
         right?                                        16
                                                          a scientific degree to figure that out,
      17
                   MS. FRAZIER: Objection to           17
                                                          did it?
      18
              form.                                    18
                                                                   MS. FRAZIER: Objection to
      19
                   THE WITNESS: That is                19
                                                               form.
      20
              incorrect.                               20
                                                                   THE WITNESS: I'm a media
      21
         BY MR. TISI:                                  21
                                                               relations, you know, person at
      22
              Q. Are you being represented by          22
                                                               that point in time. So my concern
      23
         Ms. Frazier?                                  23
                                                               would have been the potential to
      24
              A. I was represented in June as          24
                                                               receive a call from CBS News.


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                                 John      Filed 08/14/23 Page 683 of 691 PageID:
                                  156458
                                           Page 282                                    Page 284
      1
         BY MR. TISI:                                 BY MR. TISI:
                                                      1
      2
              Q. Okay. Now the other thing          2
                                                           Q. The question was: This was
       3
         is, you were asked some questions about    3
                                                      a meeting that you and the head of
       4
         the proposals of Nichols-Dezenhall and     4
                                                      consumer products and the head of public
       5
         Burson-Marsteller by your lawyer.          5
                                                      relations for that consumer products
       6
                  Do you remember that, those       6
                                                      company got together and there was an
       7
         questions?                                 7
                                                      exchange of information. And coming out
       8
              A. Yes.                               8
                                                      of that meeting was the proposal that
       9
              Q. At least with respect to the       9
                                                      they wrote up, true?
      10
         Burson-Marsteller, they didn't just come  10
                                                               MS. FRAZIER: Objection to
      11
         to you with a draft proposal to withdraw  11
                                                           form.
      12
         the product, did they?                    12
                                                               THE WITNESS: That is --
      13
                  MS. FRAZIER: Objection to        13
                                                           that does appear to be the
      14
              form.                                14
                                                           timeline of what happened, from
      15
                  THE WITNESS: I did not read      15
                                                           what we saw today.
      16
              the entire -- the memo. And they     16
                                                               MR. TISI: I don't have any
      17
              did not come to us at all. They      17
                                                           other questions.
      18
              went to the CTFA.                    18
                                                               Thank you very much, sir, I
      19
         BY MR. TISI:                              19
                                                           appreciate your time.
      20
              Q. Did I say -- I meant to say       20
                                                               MS. FRAZIER: I don't have
      21
         Burson-Marsteller. I meant to say them. 21        anything else either.
      22
                  Burson-Marsteller didn't         22
                                                               MR. TISI: Thank you.
      23
         come to you and say, you know, I think we 23          Kat, always good to see you.
      24
         ought to consider withdrawing talc. They  24
                                                           Have a good day everybody.
                                           Page 283                                    Page 285
      1
         actually had a meeting with you, with        1
                                                              MS. FRAZIER: We've got to
      2
         Ms. Colamarino, and the head of consumer 2       get off the record, Chris.
       3
         products, and after spending time with     3
                                                              THE VIDEOGRAPHER: The time
       4
         you and them, you came up with this joint 4      is 3:16 p.m. Off the record.
       5
         proposal. They came up with this           5
                                                              (Excused.)
       6
         joint -- they wrote up the proposal,       6
                                                              (Deposition concluded at
       7
         right?                                     7
                                                          approximately 3:16 p.m.)
       8
                   MS. FRAZIER: Objection to        8
       9
              form.                                 9
      10
                   THE WITNESS: That seems to      10
      11
              be the basis of the memo, yes.       11
      12
         BY MR. TISI:                              12
      13
              Q. Right. So any suggestion          13
      14
         that out of the blue a crisis management  14
      15
         firm came to Johnson & Johnson and said, 15
      16
         you know, I think we ought to think       16
      17
         about, in the current environment, think  17
      18
         about withdrawing the product. That's     18
      19
         not how that happened, right?             19
      20
                   MS. FRAZIER: Objection to       20
      21
              form.                                21
      22
                   THE WITNESS: I don't            22
      23
              understand your question,            23
      24
              actually.                            24




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                                                    Page 286                                                 Page 288
      1                                                         1           - - - - - -
      2             CERTIFICATE
      3                                                                      ERRATA
      4                                                         2           - - - - - -
      5          I HEREBY CERTIFY that the                      3
         witness was duly sworn by me and that the              4 PAGE  LINE CHANGE
       6 deposition is a true record of the
                                                                5 ____ ____ ____________________________
         testimony given by the witness.
       7                                                        6   REASON: ____________________________
                   It was requested before                      7 ____ ____ ____________________________
       8 completion of the deposition that the
                                                                8   REASON: ____________________________
           witness, JOHN McKEEGAN, have the                     9 ____ ____ ____________________________
       9 opportunity to read and sign the
           deposition transcript.                              10   REASON: ____________________________
      10                                                       11 ____ ____ ____________________________
      11
      12       __________________________________
                                                               12   REASON: ____________________________
                                                               13 ____ ____ ____________________________
               MICHELLE L. GRAY,
      13       A Registered Professional                       14   REASON: ____________________________
               Reporter, Certified Shorthand                   15 ____ ____ ____________________________
      14       Reporter, Certified Realtime
               Reporter and Notary Public
                                                               16   REASON: ____________________________
                                                               17 ____ ____ ____________________________
      15       Dated: October 13, 2021
      16                                                       18   REASON: ____________________________
      17
                                                               19 ____ ____ ____________________________
      18           (The foregoing certification
      19 of this transcript does not apply to any              20   REASON: ____________________________
      20 reproduction of the same by any means,                21 ____ ____ ____________________________
      21 unless under the direct control and/or
      22 supervision of the certifying reporter.)
                                                               22   REASON: ____________________________
                                                               23 ____ ____ ____________________________
      23
      24                                                       24   REASON: ____________________________
                                                    Page 287                                                 Page 289
       1
                 INSTRUCTIONS TO WITNESS                        1

       2                                                        2       ACKNOWLEDGMENT OF DEPONENT
                                                                3
       3
                  Please read your deposition                   4           I,_____________________, do
       4
         over carefully and make any necessary                  5 hereby certify that I have read the
       5
         corrections. You should state the reason               6 foregoing pages, 1 - 290, and that the
       6
         in the appropriate space on the errata                 7 same is a correct transcription of the
       7
         sheet for any corrections that are made.               8 answers given by me to the questions
       8
                  After doing so, please sign                   9 therein propounded, except for the
       9
         the errata sheet and date it.                         10 corrections or changes in form or
      10
                  You are signing same subject                 11 substance, if any, noted in the attached
      11
         to the changes you have noted on the                  12 Errata Sheet.
      12
         errata sheet, which will be attached to               13
      13
         your deposition.                                      14
      14
                  It is imperative that you
                                                               15   _______________________________________
      15
         return the original errata sheet to the
                                                               16   JOHN McKEEGAN              DATE
                                                               17
      16
         deposing attorney within thirty (30) days             18
      17
         of receipt of the deposition transcript               19 Subscribed and sworn
      18
         by you. If you fail to do so, the                          to before me this
      19
         deposition transcript may be deemed to be             20 _____ day of ______________, 20____.
      20
         accurate and may be used in court.                    21 My commission expires:______________
      21
                                                               22
      22
                                                                    ____________________________________
      23                                                       23 Notary Public
      24                                                       24




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                                         Page 290
      1         LAWYER'S NOTES
      2 PAGE   LINE
       3 ____ ____ ____________________________
       4 ____ ____ ____________________________
       5 ____ ____ ____________________________
       6 ____ ____ ____________________________
       7 ____ ____ ____________________________
       8 ____ ____ ____________________________
       9 ____ ____ ____________________________
      10 ____ ____ ____________________________
      11 ____ ____ ____________________________
      12 ____ ____ ____________________________
      13 ____ ____ ____________________________
      14 ____ ____ ____________________________
      15 ____ ____ ____________________________
      16 ____ ____ ____________________________
      17 ____ ____ ____________________________
      18 ____ ____ ____________________________
      19 ____ ____ ____________________________
      20 ____ ____ ____________________________
      21 ____ ____ ____________________________
      22 ____ ____ ____________________________
      23 ____ ____ ____________________________
      24 ____ ____ ____________________________




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                         Exhibit 10
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